 Case 3:21-cv-00842-B Document 43 Filed 07/13/21         Page 1 of 852 PageID 1906



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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

 CHARITABLE DAF FUND, L.P., AND CLO               §
 HOLDCO LTD.                                      §
                                                  § Case No. 3:21-cv-00842-B
                                 Plaintiff,       §
                                                  §
 vs.                                              §
                                                  §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,               §
 HIGHLAND HCF ADVISOR, LTD., AND                  §
 HIGHLAND CLO FUNDING, LTD.                       §
                                                  §
                                 Defendants.      §

 APPENDIX IN SUPPORT OF DEBTOR’S REPLY IN SUPPORT OF THE DEBTORS’
            MOTION TO ENFORCE THE ORDER OF REFERENCE




DOCS_NY:43656.1 36027/002
    Case 3:21-cv-00842-B Document 43 Filed 07/13/21                           Page 2 of 852 PageID 1907



           Highland Capital Management, L.P., a defendant in the above-captioned case (the “Debtor”

or “Highland”), hereby files this Appendix in Support of Debtor’s Reply in Support of the Debtors’

Motion to Enforce the Order of Reference (the “Reply”). 1

                                            TABLE OF CONTENTS

    Appx.                                                 Description
               Defendant Highland Capital Management, L.P.’s Memorandum of Law in Support of
       1       Motion for an Order to Enforce the Order of Reference, Case No. 3:21-cv-00842-B,
               D.I. 23 (N.D. Tex. May 19, 2021)
       2       Hearing Transcript, June 8, 2021
               Debtor’s Second Amended Witness and Exhibit List with Respect to Evidentiary
       3
               Hearing to Be Held on June 8, 2021, [Docket No. 2423] 2
               Order Confirming the Fifth Amended Plan of Reorganization of Highland Capital
       4
               Management, L.P. (as Modified) and (ii) Granting Related Relief [Docket No. 1943]
       5       Summary of Dondero Entity Litigation
       6       Hearing Transcript, June 25, 2021
               Second Amended and Restated Investment Advisory Agreement, effective from January
       7
               1, 2017
               Commission Interpretation Regarding Standard of Conduct for Investment Advisers,
       8
               Release No. IA-5248; File No. S7-07-18, Effective July 12, 2019
               In re Acis Capital Management, L.P., et al, Case No. 18-30264-sgj11, D.I. 497 (Bankr.
       9
               N.D. Tex. Aug. 13, 2018)
               Plaintiffs’ Response to Defendant Highland Capital Management, L.P.’s Motion for
      10       an Order to Enforce the Order of Reference, Case No. 3:21-cv-00842-B, D.I. 36 (N.D.
               Tex. June 29, 2021)
      11       Original Complaint, Case No. 3:21-cv-00842-B, D.I. 1 (N.D. Tex. Apr. 12, 2021)
               Prohibition of Fraud by Advisers to Certain Pooled Investment Vehicles, Release No.
      12
               2628 (Aug. 3, 2007)



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1
    All capitalized terms used but not defined herein have the meanings given to them in the Reply.
2
    Unless otherwise indicated, all docket reference numbers refer to the docket maintained by the Bankruptcy Court.


DOCS_NY:43656.1 36027/002
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 3 of 852 PageID 1908


 Dated: July 13, 2021.           PACHULSKI STANG ZIEHL & JONES LLP

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DOCS_NY:43656.1 36027/002
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 4 of 852 PageID 1909



                             EXHIBIT 1




000001
 Case
  Case3:21-cv-00842-B
       3:21-cv-00842-B Document
                        Document43
                                 23 Filed
                                     Filed07/13/21
                                           05/19/21 Page
                                                     Page51ofof852
                                                                31 PageID 1910
                                                                          181



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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                   §
 CHARITABLE DAF FUND, L.P., AND CLO
                                                   §
 HOLDCO LTD.
                                                   §
                                                   §
                                  Plaintiff,
                                                   § Case No. 3:21-cv-00842-B
                                                   §
 vs.
                                                   §
                                                   §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                   §
 HIGHLAND HCF ADVISOR, LTD., AND
                                                   §
 HIGHLAND CLO FUNDING, LTD.
                                                   §
                                                   §
                                  Defendants.

                DEFENDANT HIGHLAND CAPITAL MANAGEMENT, L.P.’S
                 MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
                 AN ORDER TO ENFORCE THE ORDER OF REFERENCE



000002
DOCS_NY:43079.11 36027/002
 Case
  Case3:21-cv-00842-B
       3:21-cv-00842-B Document
                        Document43
                                 23 Filed
                                     Filed07/13/21
                                           05/19/21 Page
                                                     Page62ofof852
                                                                31 PageID 1911
                                                                          182



                                                   TABLE OF CONTENTS


PRELIMINARY STATEMENT .....................................................................................................1

FACTUAL BACKGROUND ..........................................................................................................4
          A.         Plaintiffs’ Ownership and Control ...........................................................................4
          B.         HarbourVest’s Investment and Claims against the Debtor ......................................5
          C.         The HarbourVest Settlement and Objections ..........................................................6
          D.         Plaintiffs Knew of the Transfer, and Plaintiff CLOH Objected to the
                     Settlement ................................................................................................................7
          E.         The Dondero Parties Exercised their Right to Take Discovery ...............................8
          F.         The Bankruptcy Court Approves the Settlement .....................................................9
          G.         The DAF and CLOH Sue the Debtor and Others in This Court ............................11
          H.         Counsel for the DAF and CLOH Willfully Ignore the Gatekeeper Orders ...........12

ARGUMENT .................................................................................................................................15
          A.         Plaintiffs Violated Local Rule 3.3(a) By Failing to Disclose the
                     Bankruptcy Case ....................................................................................................15
          B.         The Complaint Should Be Automatically Referred to the Bankruptcy
                     Court ......................................................................................................................16
                     i.      The Complaint Should Be Heard in the Bankruptcy Court. ......................16
                     ii.     The Order of Reference is Mandatory. ......................................................17
                     iii.    Any Disputes Over the Settlement or the Transfer Arise Under,
                             Arise In, and Relate to Title 11 and are Core Proceedings. .......................18
                     iv.     Any Disputes Over the Gatekeeper Orders Arise Under, Arise In,
                             and Relate to Title 11 and Are Core Proceedings. .....................................19
                     v.      The Complaint Impacts Creditor Recoveries. ............................................20
                     vi.     Mr. Seery Will Have Indemnification Claims Against the Estate. ............20
          C.         There is No Basis for a Mandatory Withdrawal of the Reference .........................21
          D.         The Complaint Is Barred by the Doctrine of Res Judicata ....................................23
          E.         This Court Should Consider Mr. Dondero’s Litigious Nature ..............................24

CONCLUSION ..............................................................................................................................25




                                                                        i
000003
DOCS_NY:43079.11 36027/002
 Case
  Case3:21-cv-00842-B
       3:21-cv-00842-B Document
                        Document43
                                 23 Filed
                                     Filed07/13/21
                                           05/19/21 Page
                                                     Page73ofof852
                                                                31 PageID 1912
                                                                          183



                                               TABLE OF AUTHORITIES

Cases
Angel v. Tauch
  (In re Chiron Equities, LLC),
  552 B.R. 674 (Bankr. S.D. Tex. 2016)..................................................................................... 19

Beta Operating Co., LLC v. Aera Energy, LLC
   (In re Memorial Prod. Partners),
   2018 U.S. Dist. LEXIS 161159, at *9 (S.D. Tex. Sept. 20, 2018) ........................................... 22

Burch v. Freedom Mortgage Corp.
  (In re Burch),
  385 Fed. Appx. 741 (5th Cir. 2021) ............................................................................. 17, 18, 25

Celotex Corp. v. Edwards,
  514 U.S. 300 (1995) ................................................................................................................. 17

Centrix Fin. Liq. Trust v. Sutton,
  2019 U.S. Dist. LEXIS 154083 (D. Colo. Sept. 10, 2019) ...................................................... 20

Collins v. Sidharthan
  (In re KSRP, Ltd.),
  809 F.3d 263 (5th Cir. 2015).................................................................................................... 21

Comer v. Murphy Oil USA,
  718 F.3d 460 (5th Cir. 2013).................................................................................................... 23

Feld v. Zale Corp.
   (In re Zale Corp.),
   62 F.3d 746 (5th Cir. 1995)...................................................................................................... 20

Fid. Standard Life Ins. Co. v. First Nat’l Bank & Trust Co.,
   510 F. 2d 272 (5th Cir. 1975)................................................................................................... 23

Houston Baseball Partners, LLC v. Comcast Corp.
  (In re Houston Reg’l Sports Network),
  2014 Bankr. LEXIS 2274, at *15-25 (Bankr. S.D. Tex. May 22, 2013) ................................. 21

In re Galaz,
   841 F.3d 316 (5th Cir. 2016).................................................................................................... 19

In re G-I Holdings, Inc.,
   295 B.R. 211 (D. N.J. 2003) .................................................................................................... 22



                                                                    ii
000004
DOCS_NY:43079.11 36027/002
 Case
  Case3:21-cv-00842-B
       3:21-cv-00842-B Document
                        Document43
                                 23 Filed
                                     Filed07/13/21
                                           05/19/21 Page
                                                     Page84ofof852
                                                                31 PageID 1913
                                                                          184



In re Idearc, Inc.,
   423 B.R. 138 (Bankr. N.D. Tex. 2009) .................................................................................... 18

In re Margaux City Lights Partners, Ltd.,
   2014 Bankr. LEXIS 4841 at *6 (Bankr. N.D. Tex. Nov. 24, 2014) ........................................ 18

In re Margulies,
   476 B.R. 393 (Bankr. S.D.N.Y. 2012) ..................................................................................... 24

In re National Gypsum,
   14 B.R. 188 (N.D. Tex. 1991) .................................................................................................. 22

In re Republic Supply Co. v. Shoaf,
   815 F.2d 1046 (5th Cir. 1987).................................................................................................. 24

Manila Indus., Inc. v. Ondova Ltd.
  (In re Ondova Ltd.),
  2009 U.S. Dist. LEXIS 102134, at *6 (N.D. Tex. Oct. 1, 2009) ............................................. 22

Mich. Emp’t Sec. Comm’n v. Wolverine Radio Co.
  (In re Wolverine Radio Co.),
  930 F.2d 1132, 1143 (6th Cir. 1991)........................................................................................ 24

Miller v. Meinhard-Commercial Corp.,
  462 F.2d 358 (5th Cir. 1972).................................................................................................... 24

Refinery Holdings Co., L.P. v. TRMI Holdings, Inc.
   (In re El Paso Refinery, L.P.),
   302 F.3d 343 (5th Cir. 2002).................................................................................................... 21

Rodriguez v. EMC Mortgage Corp.
  (In re Rodriguez),
  2001 U.S. App. LEXIS 30564, at *5 (5th Cir. Mar. 15, 2001) ................................................ 19

See Kuzmin v. Thermaflo, Inc.,
   2:07-CV-00554-TJW, 2009 U.S. Dist. LEXIS 42810,
   at *4-7 (E.D. Tex. May 20, 2009) ............................................................................................ 16

Southern Pac. Transp. v. Voluntary Purchasing Groups,
  252 B.R. 373 (E.D. Tex. 2000) ................................................................................................ 22

UPH Holdings, Inc. v. Sprint Nextel Corp.,
  2013 U.S. Dist. LEXIS 189349, at *4 (W.D. Tex. Dec. 10, 2013) .......................................... 22

Uralkali Trading, S.A. v. Sylvite Southeast, LLC,
  2012 U.S. Dist. LEXIS 40455, at *3 (M.D. Fla. Mar. 26, 2012) ............................................. 17


                                                                 iii
000005
DOCS_NY:43079.11 36027/002
 Case
  Case3:21-cv-00842-B
       3:21-cv-00842-B Document
                        Document43
                                 23 Filed
                                     Filed07/13/21
                                           05/19/21 Page
                                                     Page95ofof852
                                                                31 PageID 1914
                                                                          185



Villegas v. Schmidt,
   788 F.3d 156, 159 (5th Cir. 2015)............................................................................................ 18

Welch v. Regions Bank,
  2014 U.S. Dist. LEXIS 96175, at *5 (M.D. Fla. July 15, 2014) .............................................. 17

Wood v. Wood
  (In re Wood),
  825 F.2d 90 (5th Cir. 1987)................................................................................................ 17, 18

Statutes
11 U.S.C. § 1334 ........................................................................................................................... 16

28 U.S.C. § 157 ...................................................................................................................... passim

28 U.S.C. § 1927 ........................................................................................................................... 25

Rules
Bankr. N.D.Tex. R. 3.3 ........................................................................................................... 15, 16

Bankr. N.D.Tex. R. 9014 ................................................................................................................ 8




                                                                      iv
000006
DOCS_NY:43079.11 36027/002
Case
 Case3:21-cv-00842-B
       3:21-cv-00842-BDocument
                       Document4323Filed
                                     Filed
                                         07/13/21
                                           05/19/21 Page
                                                     Page106of
                                                             of852
                                                                31 PageID
                                                                   PageID186
                                                                          1915



        Highland Capital Management, L.P., a defendant in the above-captioned case (the “Debtor”

or “Highland”), submits this memorandum of law (the “Memorandum”) in support of the Debtor’s

Motion for an Order to Enforce the Order of Reference (the “Motion”). In support of its Motion,

the Debtor states as follows:

                                     PRELIMINARY STATEMENT1

        1.       Highland is the debtor and debtor-in-possession in a bankruptcy case currently

pending in the Bankruptcy Court for the Northern District of Texas, Dallas Division (the

“Bankruptcy Court”), Case No. 19-34054-sgj11 (the “Bankruptcy Case”). The Bankruptcy Case

has been pending since October 16, 2019, having been filed at the direction of James Dondero,

who, on information and belief, is the person controlling and directing the actions of both The

Charitable DAF Fund, L.P. (the “DAF”) and CLO Holdco, Ltd. (“CLOH” and together with the

DAF, “Plaintiffs”) today. Both the DAF and CLOH have appeared and objected multiple times in

the Bankruptcy Case.

        2.       In one of those matters, the Bankruptcy Court approved a settlement between the

Debtor and HarbourVest2 (the “Settlement”) pursuant to 11 U.S.C. §§ 105 and 363 of the

Bankruptcy Code and Rule 9019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) over the objections of CLOH, a Plaintiff in this action, as well as other entities owned

and/or controlled by Mr. Dondero. The Settlement is on appeal.3




1
  Concurrently herewith, the Debtor is filing the Appendix in Support of the Debtor’s Motion to Enforce the Reference
(the “Appendix”). Citations to the Appendix are notated as follows: Appx. #. The Complaint is Appx. 1.
2
  “HarbourVest” collectively refers to the following entities: HarbourVest 2017 Global Fund L.P., HarbourVest 2017
Global AIF L.P., HarbourVest Dover Street IX Investment L.P., HV International VIII Secondary L.P., HarbourVest
Skew Base AIF L.P., and HarbourVest Partners L.P.
3
  The Settlement is being appealed by Mr. Dondero’s two purported family investment trusts: The Dugaboy Investment
Trust (“Dugaboy”) and The Get Good Trust (“Get Good” and together with Dugaboy, the “Trusts”). The Trusts, like
Plaintiffs, are controlled by Mr. Dondero. The appeal and this litigation are just one battle in Mr. Dondero’s
multifaceted litigation assault on the bankruptcy process.


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000007
DOCS_NY:43079.11 36027/002
Case
 Case3:21-cv-00842-B
       3:21-cv-00842-BDocument
                       Document4323Filed
                                     Filed
                                         07/13/21
                                           05/19/21 Page
                                                     Page117of
                                                             of852
                                                                31 PageID
                                                                   PageID187
                                                                          1916



        3.       Plaintiffs filed their Original Complaint (the “Complaint”)4 in this Court seeking

to have this Court undertake a de facto appeal or reconsideration of the Settlement and to assert

monetary claims for actions undertaken in the Bankruptcy Case. However, the Order of Reference

of Bankruptcy Cases and Proceedings Nunc Pro Tunc (the “Order of Reference”) (Appx. 2) in

force in the Northern District of Texas required that this action be filed with the Bankruptcy Court

presiding over the Bankruptcy Case. The Order of Reference was entered in 1984 and directs courts

in this District to refer all proceedings arising under Title 11 and/or arising in or related to a case

under Title 11 to the bankruptcy courts. A mandatory application of the Order of Reference

prevents a race to the courthouse and inconsistent rulings by providing one forum to adjudicate all

aspects of a bankruptcy case. Otherwise, debtors and creditors could blatantly forum shop and

choose whether to file cases or claims in the bankruptcy court or the district court to evade what

may be perceived as an unwelcoming court – which is precisely what has occurred in this case.5

Here, the case for enforcing the Order of Reference is compelling. The Complaint addresses issues

that not only arise in, arise under, and relate to Title 11 but which have already been adjudicated

by the Bankruptcy Court. By this Motion, the Debtor requests that this Court enforce the Order of

Reference and refer the Complaint to the Bankruptcy Court for adjudication

        4.       The reason Plaintiffs filed the Complaint in this Court – rather than in the

Bankruptcy Court – is obvious. Plaintiffs, under the direction of the Debtor’s ousted founder, Mr.




4
  The Complaint contains a number of errors and material omissions, misstatements, misrepresentations, and
mischaracterizations. The Debtor believes the Complaint is frivolous and should be dismissed on numerous grounds.
The Debtor reserves all rights to contest the substance of the Complaint and intends to promptly inform Plaintiffs’
counsel that the Debtor will seek sanctions if the Complaint is not withdrawn.
5
  Plaintiffs justify their conduct by contending that under the 1984 Amendments to the Bankruptcy Code, the
Bankruptcy Court is a “unit” of this Court. Hence, in Plaintiffs’ minds, the courts are indistinguishable and
interchangeable and Plaintiffs can pick and choose where to file. That is not the law and would render the Order of
Reference a nullity.



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000008
DOCS_NY:43079.11 36027/002
Case
 Case3:21-cv-00842-B
       3:21-cv-00842-BDocument
                       Document4323Filed
                                     Filed
                                         07/13/21
                                           05/19/21 Page
                                                     Page128of
                                                             of852
                                                                31 PageID
                                                                   PageID188
                                                                          1917



Dondero, have found little traction in the Bankruptcy Court for the serial, frivolous, and vexatious

litigation positions they have taken in more than a dozen pending matters in the Bankruptcy Case

and their attempts to interfere with the Debtor’s business operations – actions that have cost the

Debtor millions. Plaintiffs therefore determined their best course of action was to engage in blatant

forum shopping with the goal of re-opening settled litigation and closed factual records in a court

Plaintiffs hope will be more hospitable.6 The Debtor will vigorously defend this action as (a) a

flagrant attack on the Bankruptcy Court; (b) a frivolous attempt to avoid settled principals of

bankruptcy jurisdiction through (less than) clever pleading; and (c) barred by res judicata. The

Debtor have also sought to hold Plaintiffs and their counsel, among others, in civil contempt for

attempting to add Mr. James P. Seery, Jr., the Debtor’s independent, Bankruptcy Court-appointed

CEO and CRO, as a defendant in this Case in clear violation of two final Bankruptcy Court orders.7

        5.       The fact that the Complaint was not automatically referred to the Bankruptcy Court

is attributable to a blatant omission by Plaintiffs in Section VIII of their Civil Cover Sheet (Appx.

3). Because this action is undoubtedly “related to” the Bankruptcy Case and the pending appeal of

the Settlement, Plaintiffs’ attorneys were required to disclose that a “related case” to the Complaint

existed – as that term is used in the Local Civil Rules, effective September 1, 2020, of the Northern

District of Texas (the “Local Rules”). Plaintiffs’ failure to make such disclosure could not have


6
  The Complaint is not the first time that Plaintiffs have attempted to disenfranchise the Bankruptcy Court. On March
18, 2021, Mr. Dondero, Plaintiffs, and other entities owned and/or controlled by Mr. Dondero filed James Dondero,
Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P., The Dugaboy Investment Trust, The
Get Good Trust, and NexPoint Real Estate Partners, LLC, f/k/a HCRE Partners, LLC, a Delaware Limited Liability
Company’s Motion to Recuse Pursuant to 28 U.S.C. § 455 [Docket No. 2060] (the “Recusal Motion”) pursuant to
which they sought to recuse the Honorable Stacey Jernigan from the Bankruptcy Case. The Recusal Motion was
denied by the Bankruptcy Court and has been appealed [Docket No. 2149].
7
  On April 19, 2021, filed Plaintiff’s Motion for Leave to File First Amended Complaint in the District Court (the
“Seery Motion”) in this Court seeking leave to add Mr. Seery as a defendant, and, in response, on April 23, 2021, the
Debtor filed Debtor’s Motion for an Order Requiring the Violators to Show Cause Why They Should Not Be Held in
Civil Contempt for Violating Two Court Orders [Docket No. 2247] (the “Contempt Motion”). The Bankruptcy Court
ordered Plaintiffs, among others, to appear at an in person hearing on June 8, 2021, to show cause why they should
not be held in contempt [Docket No. 2255] (the “Show Cause Order”).


                                                         3
000009
DOCS_NY:43079.11 36027/002
Case
 Case3:21-cv-00842-B
       3:21-cv-00842-BDocument
                       Document4323Filed
                                     Filed
                                         07/13/21
                                           05/19/21 Page
                                                     Page139of
                                                             of852
                                                                31 PageID
                                                                   PageID189
                                                                          1918



been inadvertent. And Plaintiffs have also not been candid with the Bankruptcy Court. On May

14, 2021, Plaintiffs filed a response to the Show Cause Order inaccurately claiming they had made

full disclosure to this Court.8

         6.       The Bankruptcy Court is the appropriate tribunal to address the Complaint as it

clearly “arises under, arises in or relates to the Debtor’s Chapter 11 case and the Settlement. The

Court should send Plaintiffs a strong message that (a) such gamesmanship is not acceptable; (b) the

Order of Reference will be enforced; and (c) the Complaint will be immediately sent to the

Bankruptcy Court where it belongs.

                                        FACTUAL BACKGROUND

A.       Plaintiffs’ Ownership and Control

         7.       Plaintiffs are controlled and/or directed by Mr. Dondero, the Debtor’s ousted

founder.9 CLOH is an entity wholly owned and controlled by the DAF. Until at least mid-January

2021, Grant Scott, Mr. Dondero’s life-long friend and college roommate, was the sole director of

the DAF and of CLOH (neither of which otherwise had any officers or employees).10 As found by

the Bankruptcy Court, Mr. Dondero has engaged in a coordinated litigation campaign against the

Debtor both directly and through his related entities, including Plaintiffs, with the goal of




8
  See Response of the Charitable DAF Fund, L.P., CLO Holdco, Ltd., and Sbaiti & Company PLLC to Show Cause
Order [Docket No. 2313], pg. 3 (the “Bankruptcy Response”) (Appx. 28). In the Bankruptcy Response, Plaintiffs
prognosticate about how this Court would rule: “… [the Debtor] seem[s] to have assumed that the Motion for Leave
would be granted, and that the proposed amended complaint naming Seery would be referred to [the Bankruptcy]
Court for a report and recommendation.” Appx. 28 at p. 12. If that were the case, Plaintiffs should have just filed in
the Bankruptcy Court or, at the very least, disclosed the Bankruptcy Case in the Civil Cover Sheet.
9
   Mr. Dondero also controls, and has appeared in the Bankruptcy Case, through, among others, his two family
investment trusts: Dugaboy and Get Good.
10
   Mr. Scott previously testified during a sworn deposition in the Bankruptcy Case that he had little knowledge of the
investment and other activities of the DAF and CLOH and was effectively taking direction from Mr. Dondero with
respect to their activities. Appx. 27, 11:10-25; 12:1-25; 13:1-25; 14:1-25; 15:1-25; 16:1-17.


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000010
DOCS_NY:43079.11 36027/002
Case
 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                23 Filed
                                    Filed07/13/21
                                          05/19/21 Page
                                                    Page14
                                                         10ofof852
                                                                31 PageID 190
                                                                          1919



“burn[ing] down the [Debtor].”11 A list of the litigation caused by Mr. Dondero in the Bankruptcy

Case since September 2020 is Appx. 4.

B.       HarbourVest’s Investment and Claims against the Debtor

         8.       Prior to the commencement of the Bankruptcy Case, HarbourVest invested

approximately $80 million (the “Investment”) in HCLOF, a Guernsey-based limited company

formed and managed by the Debtor and – prior to his ouster – Mr. Dondero. Immediately following

the Investment, CLOH held 49.02% of HCLOF’s interests, HarbourVest held 49.98%, and the

remaining 1% was held by the Debtor and certain current and former Debtor employees. After the

Settlement, in which HarbourVest transferred its interests to a wholly-owned subsidiary of the

Debtor, the Debtor’s interest in HCLOF was 50.18% and CLOH’s interest remained 49.02%.

         9.       HarbourVest filed Claims12 in the Bankruptcy Case in excess of $300 million. The

Claims alleged HarbourVest was fraudulently induced into the Investment based on the material

factual misrepresentations and omissions of Mr. Dondero and certain of his employees, including

that the Debtor: (a) did not disclose it never intended to pay an arbitration award obtained by a

former portfolio manager, Joshua Terry,13 (b) did not disclose that Mr. Dondero and the Debtor



11
   The Bankruptcy Court made substantial findings of facts regarding Mr. Dondero and his related entities’ (including
Plaintiffs’) history of serial litigation in the Order Confirming the Fifth Amended Plan of Reorganization of Highland
Capital Management, L.P. (as Modified) and (ii) Granting Related Relief (the “Confirmation Order”). The
Confirmation Order is Appx. 5. See Appx. 5, ¶¶ 17-19, 77-78. The Confirmation Order approved the Fifth Amended
Plan of Reorganization of Highland Capital Management, L.P. (as Modified) [Docket No. 1808] (as amended, the
“Plan”), which included certain amendments. See Debtor’s Notice of Filing of Plan Supplement to the Fifth Amended
Plan of Reorganization of Highland Capital Management, L.P. (as Modified), Ex. B [Docket No. 1875]. The Plan is
attached to the Confirmation Order.
12
   “Claims” collectively refers: HarbourVest 2017 Global Fund L.P. (Claim No. 143), HarbourVest 2017 Global AIF
L.P. (Claim No. 147), HarbourVest Dover Street IX Investment L.P. (Claim No. 150), HV International VIII
Secondary L.P. (Claim No. 153), HarbourVest Skew Base AIF L.P. (Claim No. 154), and HarbourVest Partners L.P.
(Claim No, 149). The Claims are Appx. 6.
13
   This award was entered in favor of Mr. Terry against a Debtor subsidiary, Acis Capital Management, L.P. (“Acis”).
Instead of satisfying the award, the Dondero-controlled Debtor caused Acis to transfer its assets in an effort to become
judgment proof. Mr. Terry filed an involuntary bankruptcy petition against Acis and, after intense litigation and the
appointment of a chapter 11 trustee, confirmed a chapter 11 plan, which transferred Acis to Mr. Terry. These actions
resulted in Acis filing a claim of not less than $75 million (Claim No. 23) against the estate.


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 Case3:21-cv-00842-B
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                       Document43
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                                          05/19/21 Page
                                                    Page15
                                                         11ofof852
                                                                31 PageID 191
                                                                          1920



engaged in a series of fraudulent transfers for the purpose of preventing Mr. Terry from collecting

on his arbitration award, (c) misrepresented why the investment manager for HCLOF was changed

immediately prior to the Investment, (d) indicated the dispute with Mr. Terry would not impact

investment activities, and (e) expressed confidence in HCLOF’s ability to reset or redeem certain

collateralized loan obligations (“CLOs”). The Claim also asserted causes of action under

Racketeering Influenced Corrupt Organizations Act (“RICO”) and breaches of fiduciary duty

under Guernsey common law.

C.         The HarbourVest Settlement and Objections

           10.      On December 23, 2020, the Debtor filed its Motion for Entry of an Order Approving

Settlement with HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154) and Authorizing Actions

Consistent Therewith [Docket No. 1625]14 (the “Settlement Motion”), pursuant to which the

Debtor sought Bankruptcy Court approval of the Settlement with HarbourVest pursuant to 11

U.S.C. §§ 105(a) and 363 and Bankruptcy Rule 9019. Appx. 7. The Debtor concurrently filed the

proposed Settlement Agreement and Transfer Agreement for Ordinary Shares of Highland CLO

Funding, Ltd. (the “Transfer Agreement”) [Docket No. 1631-1]. Appx. 8. The Settlement

Agreement expressly provided that it was subject to Bankruptcy Court approval. Appx. 7, ¶ 3.

           11.      Among the material terms of the Settlement was that HarbourVest would transfer

its interest in Highland CLO Funding, Ltd. (“HCLOF”) to the Debtor or its nominee (the

“Transfer”). The Transfer was a necessary component of the Settlement. HarbourVest believed the

misrepresentations entitled it to a rescission of its Investment, and HarbourVest wanted to extract

itself from the Highland platform. The Settlement also provided HarbourVest with (a) an allowed,

general unsecured claim in the amount of $45 million, (b) a subordinated, allowed, general



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     Unless otherwise noted, all docket references refer to the docket maintained by the Bankruptcy Court.


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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
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                                    Filed07/13/21
                                          05/19/21 Page
                                                    Page16
                                                         12ofof852
                                                                31 PageID 192
                                                                          1921



unsecured claim in the amount of $35 million, and (c) other consideration more fully described in

the Settlement Agreement. See Appx. 7, ¶ 32.

        12.      The Settlement Motion fully disclosed all aspects of the Transfer, including (a)

what HarbourVest was transferring; (b) the valuation (and method of valuation) of the asset being

transferred to the Debtor; and (c) the method of the Transfer. (Appx. 7, ¶¶ 1(b) 32, 32 n.5; Appx.

8). Three objections were lodged against the proposed Settlement, all of which were filed by Mr.

Dondero or entities controlled by him, including Plaintiff CLOH and Dondero’s Trusts. Each of

those objections was coordinated by Mr. Dondero.15

D.      Plaintiffs Knew of the Transfer, and Plaintiff CLOH Objected to the Settlement

        13.      On January 6, 2021, Mr. Dondero filed his Objection to Debtor’s Motion for Entry

of an Order Approving Settlement with HarbourVest [Docket No. 1697] (Appx. 9) contending,

among other things, that the Settlement: (a) was not “reasonable or in the best interests of the

estate” because the Debtor was grossly overpaying and (b) amounted to “a blatant attempt to

purchase votes in support of the Debtor’s plan.” Id., ¶ 1. Mr. Dondero did not directly challenge

the Transfer but made clear that he knew exactly what was being transferred and the valuation

being placed on it: “As part of the settlement, HarbourVest will [] transfer its entire interest in

[HCLOF] to an entity to be designated by the Debtor. The Debtor states that the value of this

interest is approximately $22 million as of December 1, 2020.” Id., ¶ 1, n.3.

        14.      On January 8, 2021, Dondero’s Trusts filed their Objection to the Debtor’s Motion

for Entry of an Order Approving Settlement with HarbourVest (Claim Nos. 143, 147, 149, 150,

153, 154) and Authorizing Actions Consistent Therewith. [Docket No. 1706]. (Appx. 10) Like Mr.

Dondero, the Trusts made clear that they knew of the proposed Transfer and its valuation. But,


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  See Debtor’s Amended Witness and Exhibit List with Respect to Evidentiary Hearing to be Held on January 8, 2021
[Adv. Proc. 21-03190-sgj, Docket No. 46], Exhibit Q.


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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                23 Filed
                                    Filed07/13/21
                                          05/19/21 Page
                                                    Page17
                                                         13ofof852
                                                                31 PageID 193
                                                                          1922



unlike Mr. Dondero, the Trusts directly questioned (a) whether HarbourVest had the right to

effectuate the Transfer, and (b) the valuation of the HCLOF interests – matters which are directly

at issue in the Complaint.

        15.      Finally, and notably, on January 8, 2021, Plaintiff CLOH – presumably at the

direction of its parent, the DAF – filed its Objection to HarbourVest Settlement [Docket No. 1707].

(Appx. 11) In its objection, CLOH challenged (as it does again in the Complaint) HarbourVest’s

right to implement the Transfer contending, among other things, that: (a) CLOH and the other

members of HCLOF had a “Right of First Refusal” under the Members Agreement (Id., ¶ 3) and

(b) “HarbourVest has no authority to transfer its interest in HCLOF without first complying with

the Right of First Refusal” (Id., ¶ 6). In support of these contentions, CLOH offered a lengthy

analysis of the Members Agreement, including CLOH’s purported “Right of First Refusal” under

Section 6.2 thereof. Id., ¶¶ 9-22.

E.      The Dondero Parties Exercised their Right to Take Discovery

        16.      By objecting to the Settlement Motion, Mr. Dondero, the Trusts, and CLOH

(collectively, the “Dondero Objectors”) initiated a “contested matter” under Bankruptcy Rule

901416 and, accordingly, had the unfettered right to conduct discovery under Bankruptcy Rule

9014(c).17 Thus, for example, the Dondero Objectors had the right to request documents from, and

take the depositions of, the Debtor, HarbourVest, HCLOF, and/or Highland HCF Fund Advisor,




16
   See also Local Bankruptcy Rules of the United States Bankruptcy Court for the Northern District of Texas 9014-
1(a) (“a response is required with respect to a contested matter”).
17
   The Debtor filed the Settlement Motion on December 23, 2020, and set the hearing on the motion for January 14,
2021 [Docket No. 1626]. The DAF and CLOH allege that the Debtor “set the hearing right after the Christmas and
New Year’s holidays, almost ensuring that no party would have the time to scrutinize the underpinnings of the deal.”
Appx. 1, ¶ 30. This is a bald lie (one of many) and absurd. The undisputed facts are that (a) the Settlement Motion
was filed on regular notice; (b) no one requested or moved for an extension of the hearing date; and (c) no one
contended they had insufficient time to “scrutinize the underpinnings of the deal” (at least until the filing of the
Complaint).


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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
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                                    Filed07/13/21
                                          05/19/21 Page
                                                    Page18
                                                         14ofof852
                                                                31 PageID 194
                                                                          1923



Ltd. (“HCFA”)18 concerning the Settlement Motion, their objections thereto, and the Debtor’s

valuation of HarbourVest’s interest in HCLOF and the method of valuation.

         17.      The Dondero Objectors – all sophisticated parties represented by sophisticated

counsel – exercised their discovery rights.19 In particular, Mr. Dondero and CLOH conducted a

three and a half hour deposition of Michael Pugatch, a representative of the HarbourVest claimants

[Docket No. 1705]. (Appx. 12) However, none of the Dondero Objectors, including Plaintiffs,

exercised their right to take discovery from the Debtor, HCLOF, or HCFA in connection with the

Settlement Motion, except for informal requests for documents which were provided.

         18.      Notably, despite the issue of the Transfer being “front and center,” none of the

Dondero Objectors, including Plaintiffs, ever asserted (as Plaintiffs do now) that: (a) the Debtor

had a fiduciary duty to offer the HCLOF interests to CLOH, or (b) the Investment Advisers Act of

1940 (the “Advisers Act”) was implicated in any way by the proposed Settlement, including the

proposed Transfer. Further, although CLOH argued that the Members Agreement gave CLOH a

right of first refusal, CLOH, in connection with the Settlement, never offered to buy the HCLOF

interests or stated that it wanted to purchase those interests.

F.       The Bankruptcy Court Approves the Settlement

         19.      On January 13, 2021, the Debtor filed its Omnibus Reply in Support of Debtor’s

Motion for Entry of an Order Approving Settlement with HarbourVest (Claim Nos. 143, 147, 149,

150, 153, 154) and Authorizing Actions Consistent Therewith [Docket No. 1731] (the “Omnibus




18
   HCLOF, HCFA (in its capacity as the portfolio manager of HCLOF), the Debtor’s designee, HCMLP Investments,
LLC (as transferee), and HarbourVest (as transferors) were parties to the proposed Transfer Agreement pursuant to
which the Transfer would be effectuated. Appx. 7, Ex. A; Appx. 8.
19
   Plaintiffs not only failed to disclose that the Dondero Objectors took discovery, they allege the opposite (“No
discovery had taken place between the parties, and plaintiff did not have any notice of the settlement terms or other
factors prior to the motion’s filing (or even during its pendency) in order to investigate its rights.”). Appx. 1, ¶ 29
(emphasis added).


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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                23 Filed
                                    Filed07/13/21
                                          05/19/21 Page
                                                    Page19
                                                         15ofof852
                                                                31 PageID 195
                                                                          1924



Reply”). Appx. 13. The Omnibus Reply set forth an extensive rebuttal to CLOH’s flawed argument

that the Transfer could not be completed without HCLOF’s other members being offered

HarbourVest’s interest in HCLOF, as allegedly required by the “Right of First Refusal” under

Section 6.2. Id., ¶¶ 26-39. Both HCLOF – which was independently represented – and

HarbourVest agreed with the Debtor’s conclusions that the Members Agreement did not require

HarbourVest to offer its interests to CLOH or any other member of HCLOF. Id., ¶ 37. At the

January 14, 2021, hearing, CLOH voluntarily withdrew its objection after reading the Debtor’s

analysis of the Members Agreement:

        CLO Holdco has had an opportunity to review the reply briefing, and . . . [b]ased
        on our analysis of Guernsey law and some of the arguments of counsel on those
        pleadings and our review of the appropriate documents, I obtained authority from
        my client, Grant Scott, as trustee for CLO Holdco, to withdraw the CLO Holdco
        objection based on the interpretation of the member agreement.

Appx. 14 at 7:20-8:6 (emphasis added). Following CLOH’s withdrawal of its objection, the Trusts

also abandoned their challenge to the Transfer. Id. at 22:5-20.

        20.      The Debtor called two witnesses in support of the Settlement Motion, Mr. Seery

and Mr. Pugatch. Counsel for Mr. Dondero and the Trusts cross-examined the Debtor’s witnesses

but did not inquire about the value of the HCLOF interests, the Debtor’s fiduciary obligations, or

the Transfer (except for a line of questioning concerning which entity would hold the HCLOF

interests on behalf of the Debtor). Id., at 87:18-89:21. At the conclusion of the hearing, the Court

entered an order overruling the remaining objections and approving the Settlement [Docket No.

1788] (the “Settlement Order”). Appx. 15.

        21.      The Settlement Order expressly authorized the transfer of HarbourVest’s interest

in HCLOF providing, in relevant part, that “[p]ursuant to the express terms of the [Members

Agreement] . . . HarbourVest is authorized to transfer its interest in HCLOF . . . without the need

to obtain the consent of any party or to offer such interests first to any other investor in

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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
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                                    Filed07/13/21
                                          05/19/21 Page
                                                    Page20
                                                         16ofof852
                                                                31 PageID 196
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HCLOF.” Id., ¶ 6 (emphasis added). The Bankruptcy Court specifically included this language in

the Settlement Order because of concerns that Mr. Dondero and his entities would “go to a different

court somehow to challenge the transfer.” Appx. 14 at 156:19-20.20 The Settlement Order also

clearly provided that “[t]he [Bankruptcy] Court shall retain exclusive jurisdiction to hear and

determine all matters arising from the implementation of this Order.” Id., ¶ 7 (emphasis added).

         22.      Only the Trusts appealed the Settlement Order [Docket Nos. 1870, 1889]. Appx.

16. Plaintiffs elected not to appeal. However, both the Trust and Plaintiffs are controlled by Mr.

Dondero, and Mr. Dondero is thus both appealing the Settlement Order and seeking

reconsideration of the Settlement Order in this Court.

G.       The DAF and CLOH Sue the Debtor and Others in This Court

         23.      On April 12, 2021, after obtaining new counsel,21 the DAF and CLOH filed the

Complaint against the Debtor, HCFA, and HCLOF in this Court. The Complaint seeks to challenge

the Transfer and Settlement approved by the Bankruptcy Court over Mr. Dondero’s and Plaintiffs’

objections and to re-open the Bankruptcy Court’s factual record. To justify this blatant attempt to

re-litigate the matter, the DAF and CLOH allege they recently learned that (a) the HCLOF interests

were substantially more valuable than Mr. Seery testified, and (b) the Debtor had fiduciary and




20
   Appx. 14 at 156:10-25; 157:1-5 (emphasis added):
    MR. MORRIS: . . . With respect to the order, I just want to make it clear that we are going to include a provision
    that specifically authorizes the Debtor to engage in -- to receive from HarbourVest the asset, you know, the
    HCLOF interest, and that that's consistent with its obligations under the agreement.
    The objection has been withdrawn, I think the evidence is what it is, and we want to make sure that nobody
    thinks that they're going to go to a different court somehow to challenge the transfer. So I just want to put
    the Court on notice and everybody on notice that we are going to put in a specific finding as to that.
    THE COURT: All right. Fair . . . Fair enough. I do specifically approve that mechanism and find it is
    appropriate and supported by the underlying agreements.
    And just so you know, I spent some time noodling this yesterday before I knew it was going to be settled, so
    I’m not just casually doing that. I think it’s fine.
21
   Upon information and belief, Mr. Dondero effectively fired Mr. Scott and his counsel, John Kane of Kane Russell,
after Mr. Scott withdrew CLOH’s objection to the HarbourVest Settlement.


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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                23 Filed
                                    Filed07/13/21
                                          05/19/21 Page
                                                    Page21
                                                         17ofof852
                                                                31 PageID 197
                                                                          1926



other duties requiring it to provide Plaintiffs with the opportunity to acquire HarbourVest’s interest

in HCLOF. See, e.g., Appx. 1, ¶¶ 36, 49. Plaintiffs also assert claims for breach of fiduciary duty,

breach of contract, negligence, violation of RICO, and tortious interference.

         24.      In the Complaint, Plaintiffs recite certain facts relating to HarbourVest’s Claims

and the process by which the Debtor obtained Bankruptcy Court approval (Id., ¶¶ 16-31) but

disclose none of the undisputed facts set forth above. Plaintiffs also do not disclose that they –

through their relationship to Mr. Dondero – had the same information concerning the value of the

HarbourVest interests that Mr. Seery allegedly had. Finally, they do not even attempt to justify

why they are seeking, in this Court, to re-litigate a Bankruptcy Court order.

H.       Counsel for the DAF and CLOH Willfully Ignore the Gatekeeper Orders

         25.      Throughout the Complaint, Plaintiffs threatened to name Mr. Seery as a

defendant,22 and indeed, on April 19, 2021, just four days after filing the Complaint, Sbaiti & Co.

(“Sbaiti”), the newly-retained counsel for the DAF and CLOH, advised the Debtor’s counsel that

they “intend to move for leave today in the district court seeking permission to amend our

complaint to add claims against Mr. Seery. They are the same causes of action. We believe we are

entitled to amend as a matter of course.” Counsel asked whether they could “put your client down

as unopposed?” Appx. 17. In response, the Debtor informed Sbaiti of the two “Gatekeeper Orders”

(defined below), which prohibited this action, provided copies, and told them, among other things,

that “[i]f you proceed to amend the complaint as you suggest [] without first obtaining Bankruptcy

Court approval we reserve all rights to take appropriate action and seek appropriate relief from the




22
  By way of example only, Plaintiffs refer to Mr. Seery as a “potential party” and suggest that he had access to and
wrongfully utilized “superior non-public information” and lied under oath about the value of the asset subject to the
Transfer in his testimony to the Bankruptcy Court. Appx. 1, at Introduction, ¶¶ 6, 43-44.


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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                23 Filed
                                    Filed07/13/21
                                          05/19/21 Page
                                                    Page22
                                                         18ofof852
                                                                31 PageID 198
                                                                          1927



Bankruptcy Court.” Id. Later that evening, Sbaiti confirmed their intention to seek leave from this

Court to sue Mr. Seery and, on April 19, 2021, filed the Seery Motion. Appx. 18.

        26.      Both Gatekeeper Orders are plain, unambiguous, and final. On January 9, 2020, the

Bankruptcy Court, with Mr. Dondero’s consent and agreement, entered the Order Approving

Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor

and Procedures for Operations in the Ordinary Course [Docket No. 339] pursuant to 11 U.S.C.

§§ 105 and 363 and Rule 9019 (the “January Order”). Appx. 19. Pursuant to the January Order,

Mr. Dondero surrendered control of the Debtor and the Independent Board was appointed. To

protect the Independent Board and its agents from frivolous litigation (primarily from Mr. Dondero

and his related entities), the Debtor asked for, and the Bankruptcy Court included in the January

Order (without objection), a “gatekeeper” provision stating in pertinent part:

        No entity may commence or pursue a claim or cause of action of any kind against
        any Independent Director, any Independent Director’s agents, or any Independent
        Director’s advisors relating in any way to the Independent Director’s role as an
        independent director of Strand without the Court (i) first determining the Court (i)
        first determining after notice that such claim or cause of action represents a
        colorable claim of willful misconduct or gross negligence against Independent
        Director, any Independent Director’s agents, or any Independent Director’s
        advisors and (ii) specifically authorizing such entity to bring such claim. The Court
        will have sole jurisdiction to adjudicate any such claim for which approval of the
        Court to commence or pursue has been granted.

Id., ¶ 10. Mr. Seery is protected under the January Order as a member of the Independent Board

and as the Debtor’s CEO and CRO – an agent of the Independent Board. The January Order

provided that the Bankruptcy Court “shall retain jurisdiction over all matters arising from or related

to the interpretation and implementation of this Order. . . .”). Id., ¶ 13.

        27.      Seven months later, the Debtor sought Bankruptcy Court approval to appoint Mr.

Seery as the Debtor’s CEO and CRO. After an evidentiary hearing, the Bankruptcy Court granted

the motion (without objection) and entered its Order Approving Debtor’s Motion Under


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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                23 Filed
                                    Filed07/13/21
                                          05/19/21 Page
                                                    Page23
                                                         19ofof852
                                                                31 PageID 199
                                                                          1928



Bankruptcy Code Sections 105(a) and 363(b) for Authorization to Retain James P. Seery, Jr., as

Chief Executive Officer, Chief Restructuring Officer and Foreign Representative Nunc Pro Tunc

To March 15, 2020 [Docket No. 854] pursuant to 11 U.S.C. §§ 105(a) and 363(b) (the “July Order”

and with the January Order, the “Gatekeeper Orders”). Appx. 20. Like the January Order, the July

Order included a “gatekeeper” provision:

           No entity may commence or pursue a claim or cause of action of any kind against
           Mr. Seery relating in any way to his role as the chief executive officer and chief
           restructuring officer of the Debtor without the Bankruptcy Court (i) first
           determining after notice that such claim or cause of action represents a colorable
           claim of willful misconduct or gross negligence against Mr. Seery, and (ii)
           specifically authorizing such entity to bring such claim. The Bankruptcy Court shall
           have sole jurisdiction to adjudicate any such claim for which approval of the Court
           to commence or pursue has been granted.

Id., ¶ 5. The Bankruptcy Court “retain[ed] jurisdiction over any and all matters arising from or

related to the interpretation and/or implementation of [the July] Order.” Id., ¶ 8.

           28.      The Gatekeeper Orders are final orders, res judicata, and law of the case. See Appx.

5, ¶ 73 (finding that the Gatekeeper Orders “constitute[] law of this case and are res judicata

pursuant to In re Republic Supply Co. v. Shoaf, 815 F.2d 1046 (5th Cir. 1987)”).

           29.      The Gatekeeper Orders also featured heavily at the Plan confirmation hearing.

CLOH initially objected to the Plan, which Mr. Dondero and his proxies, including CLOH,

contested.23 In the Confirmation Order, the Bankruptcy Court provided the rationale for, and

purpose of, the “gatekeeper” provisions in the Gatekeeper Orders (Appx. 5, ¶¶ 12-14) and

expressly found that a “gatekeeper” provision was needed in the Plan because “Mr. Dondero and

his related entities will likely commence ligation . . . after the Effective Date and do so in

jurisdictions other than the Bankruptcy Court in an effort to obtain a forum which Mr. Dondero

perceives will be more hospitable to his claims” (Appx. 5, ¶ 78). Despite this clear finding and


23
     Mr. Dondero and a number of his related entities are currently appealing the Confirmation Order.


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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                23 Filed
                                    Filed07/13/21
                                          05/19/21 Page
                                                    Page24
                                                         20ofof852
                                                                31 PageID 200
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order, Plaintiffs filed the Seery Motion to add Mr. Seery as a defendant and asked this Court to

disregard the Gatekeeper Orders. Although this Court denied the Seery Motion, it stated “Plaintiffs

may renew their motion after Defendants are served and have appeared” leaving open the

possibility that Plaintiffs may still attempt to add Mr. Seery.24 Appx. 21.

         30.      In response, on April 23, 2021, the Debtor filed the Contempt Motion in the

Bankruptcy Court for an order to show cause as to why Plaintiffs should not be held in contempt.

Appx. 24. Plaintiffs then filed a motion in the Bankruptcy Court purporting to seek reconsideration

of the July Order [Docket No. 2248] (the “Motion for Reconsideration”).25 Appx. 25. The

Bankruptcy Court ordered Plaintiffs, among others, to appear at an in person hearing on June 8,

2021,26 to show cause why they should not be held in contempt. Appx. 26.

         31.      Finally, on May 14, 2021, Plaintiffs filed the Bankruptcy Response in which they

argue that they followed the Gatekeeper Orders by filing the Complaint in this Court rather than

the Bankruptcy Court because seeking to amend the Complaint to add Mr. Seery as a defendant

was not “pursuing” a claim (as used in the Gatekeeper Orders). Appx. 28 at 13.

                                                   ARGUMENT

A.       Plaintiffs Violated Local Rule 3.3(a) By Failing to Disclose the Bankruptcy Case

         32.      When Plaintiffs filed the Complaint, thereby initiating the action, their counsel was

required to complete a Civil Cover Sheet, Section VIII of which required them to disclose whether

there were any “related cases.” Local Rule 3.3(a) requires that “[w]hen a plaintiff files a complaint

and there is a related case . . . the complaint must be accompanied by a notice of related case.” A



24
   If Mr. Seery incurs any costs defending or preparing to defend against Plaintiffs’ action, Mr. Seery will be entitled
to indemnification directly from the Debtor under the Debtor’s limited partnership agreement (Appx. 22, § 4.1(h)) and
indirectly through the Strand’s indemnification obligations and the Debtor’s guarantee of such obligations (Appx. 23).
25
   The Contempt Motion and the Motion for Reconsideration were re-docketed on April 27, 2021, without any changes.
26
   The hearing on the Show Cause Order will be the first in person hearing since March 2020.


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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                23 Filed
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                                          05/19/21 Page
                                                    Page25
                                                         21ofof852
                                                                31 PageID 201
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“related case” is defined in pertinent part as a proceeding that “arises from a common nucleus of

operative fact with the case being filed or removed, regardless whether the related case is a pending

case. . . .” Local Rule 3.3(b)(3). As discussed above, although the Complaint asserts claims based

on the same facts as the HarbourVest Settlement approved over Plaintiffs’ objection by the

Bankruptcy Court, the Civil Cover Sheet makes no mention of the Bankruptcy Case as a “related

case.” It merely describes the nature of the Complaint as one arising under RICO. Yet the

Bankruptcy Case is indisputably related to this one.27 Plaintiffs’ failure to disclose the existence

of a related case violates the Local Rules. See Kuzmin v. Thermaflo, Inc., 2:07-CV-00554-TJW,

2009 U.S. Dist. LEXIS 42810, at *4-7 (E.D. Tex. May 20, 2009) (finding party violated court’s

local rules where they failed to indicate on civil cover sheet that case was “related to” other cases).

B.       The Complaint Should Be Automatically Referred to the Bankruptcy Court

         i.       The Complaint Should Be Heard in the Bankruptcy Court.

         33.      Jurisdiction of “all civil proceedings arising under title 11, or arising in or related

to cases under title 11” is conferred on district courts. 11 U.S.C. §§ 1334(a), (b). District courts, in

turn, may refer proceedings to the bankruptcy courts. 28 U.S.C. § 157(a) (“Each district court may

provide that any or all cases under title 11 and any or all proceedings arising under title 11 or

arising in or related to a case under title 11 shall be referred to the bankruptcy judges for the

district.”). On August 3, 1984, this Court entered the Order of Reference, which provides, in

pertinent part: “any or all cases under Title 11 and any or all proceedings arising under Title 11

or arising in or related to a case under Title 11 . . . be and they hereby are referred to the




27
  Under 28 U.S.C. § 1334(a), this Court has original and exclusive jurisdiction over the Bankruptcy Case. Pursuant
to 28 U.S.C. § 157 and the Order of Reference, this Court has referred matters in the Bankruptcy Case to the
Bankruptcy Court. It is thus clear that the Bankruptcy case is pending in this District pursuant to this Court’s
jurisdiction, and as noted above the matters alleged in the Complaint related directly to litigated proceedings involving
Plaintiffs and the Debtor in the Bankruptcy Case. These facts require appropriate disclosure in the Civil Cover Sheet.


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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                23 Filed
                                    Filed07/13/21
                                          05/19/21 Page
                                                    Page26
                                                         22ofof852
                                                                31 PageID 202
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Bankruptcy Judges of this district for consideration and resolution consistent with law.” Appx.

2 (emphasis added). The Order of Reference therefore refers the following proceedings:

              Proceedings “arising under Title 11”: A proceeding “arises under” Title 11 if it is a
               “cause of action created or determined by a statutory provision of title 11.” Wood v.
               Wood (In re Wood), 825 F.2d 90, 96 (5th Cir. 1987).

              Proceedings “arising in. . . a case under Title 11”: A proceeding “arises in” Title 11
               if it deals with “administrative matters that arise only in bankruptcy cases.” Wood, 825
               F.2d at 96 (emphasis in original).28

              Proceedings “related to a case under Title 11”: A proceeding “relates to” a case
               under Title 11 if “the outcome of [the non-bankruptcy] proceeding could conceivably
               have any effect on the estate being administered in bankruptcy.” Burch v. Freedom
               Mortg. Corp. (In re Burch), 835 Fed. Appx. 741, 748 (5th Cir. 2021) (internal citations
               omitted); see also Celotex Corp. v. Edwards, 514 U.S. 300, 308 (1995) (“Congress
               intended to grant comprehensive jurisdiction to the bankruptcy courts so that they
               might deal. . . with all matters connected with the bankruptcy estate”). A proceeding
               “relates to” a proceeding under Title 11 even if it arises from postpetition conduct if “it
               affects the estate, not just the debtor.” Wood, 825 F.2d at 94.

         ii.      The Order of Reference is Mandatory.

         34.      Under the plain language of the Order of Reference, “all proceedings under Title

11 or arising or related to a case under Title 11” are automatically referred to the bankruptcy

courts, and the Debtor respectfully submits that the Order of Reference is mandatory. See Uralkali

Trading, S.A. v. Sylvite Southeast, LLC, 2012 U.S. Dist. LEXIS 40455, at *3 (M.D. Fla. Mar. 26,

2012) (finding that a substantially similar order of reference in the Middle District of Florida

“mandate[d]” referral to the appropriate bankruptcy court); Welch v. Regions Bank, 2014 U.S.

Dist. LEXIS 96175, at *5 (M.D. Fla. July 15, 2014) (“[T]his Court has declared the enforcement

of the Standing Order of Reference mandatory”). The fact that 11 U.S.C. §§ 1334 confers original

jurisdiction on the district court does not change this requirement as district courts and bankruptcy


28
   Proceedings arising under and arising in Title 11 are “core proceedings” under 28 U.S.C. § 157(b). Wood, 825 F.2d
at 96 (“[T]he phrases ‘arising under’ and ‘arising in’ are helpful indicators of the meaning of core proceedings. If the
proceeding involves a right created by the federal bankruptcy law, it is a core proceeding. . . If the proceeding is one
that would arise only in bankruptcy. It is also a core proceeding. . . .”).


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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                23 Filed
                                    Filed07/13/21
                                          05/19/21 Page
                                                    Page27
                                                         23ofof852
                                                                31 PageID 203
                                                                          1932



courts are distinct. Villegas v. Schmidt, 788 F.3d 156, 159 (5th Cir. 2015) (“Additionally, every

other circuit to address the issue has maintained the distinction between the bankruptcy court and

the district court, holding that ‘a debtor must obtain leave of the bankruptcy court before initiating

an action in district court when the action is against the trustee or other bankruptcy-court-appointed

officer, for acts done in the actor’s official capacity’”) (citations omitted).

        iii.     Any Disputes Over the Settlement or the Transfer Arise Under, Arise In, and
                 Relate to Title 11 and are Core Proceedings.

        35.      It is black letter law that the determination of whether to approve a settlement of a

claim is a “core proceeding” and arises in and under Title 11. The statutory predicates for relief

are 11 U.S.C. §§ 105 and 363 and under Rule 9019, which are “created by the federal bankruptcy

law” and “arise only in bankruptcy.” Wood, 825 F.2d at 96; see also, e.g., In re Idearc, Inc., 423

B.R. 138, 177 (Bankr. N.D. Tex. 2009) (finding approval of a settlement under Bankruptcy Rule

9019 was a “core proceeding” under 28 U.S.C. § 157(b)); In re Margaux City Lights Partners,

Ltd., 2014 Bankr. LEXIS 4841 at *6 (Bankr. N.D. Tex. Nov. 24, 2014) (same); Settlement Order,

¶ 2 (same). The HarbourVest Settlement also involved the allowance of HarbourVest’s Claims –

a black letter core proceeding under 28 U.S.C. § 157(b)(2)(B) (“Core proceedings include, but are

not limited to – (B) allowance of disallowance of claims against the estate. . . .”).

        36.      Since the Complaint seeks to re-litigate the HarbourVest Settlement and to re-open

the Bankruptcy Court’s factual record, it is seeking a ruling from this Court as to the merits of the

HarbourVest Settlement and/or to litigate matters that arose from the same operative facts as the

HarbourVest Settlement – in each case, a core proceeding arising in and under Title 11. If the

Settlement Order or the Transfer is to be re-assessed it must be by the Bankruptcy Court under the

Bankruptcy Code and Bankruptcy Rules. This Court should enforce the Order of Reference and

refer the Complaint to the Bankruptcy Court. See Burch, 835 Fed. Appx. at 748 (“Each of Burch’s


                                                  18
000024
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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                23 Filed
                                    Filed07/13/21
                                          05/19/21 Page
                                                    Page28
                                                         24ofof852
                                                                31 PageID 204
                                                                          1933



state-court claims is premised on his interpretation of a Chapter 11 bankruptcy order, and so each

arises from or is related to his Title 11 bankruptcy proceedings.”).

        37.      Further, the Bankruptcy Court specifically retained jurisdiction in the Settlement

Order to adjudicate all disputes arising from the implementation of the Settlement Order, including

the Transfer of the HCLOF interests, and therefore retained jurisdiction to hear the Complaint. Id.

¶7. Even if jurisdiction had not been explicitly retained, the Bankruptcy Court, like all federal

courts, has jurisdiction to interpret and enforce its own orders. Rodriguez v. EMC Mortgage Corp.

(In re Rodriguez), 2001 U.S. App. LEXIS 30564, at *5 (5th Cir. Mar. 15, 2001); In re Galaz, 841

F.3d 316, 322 (5th Cir. 2016); Angel v. Tauch (In re Chiron Equities, LLC), 552 B.R. 674, 684

(Bankr. S.D. Tex. 2016). The Complaint, which seeks to challenge the Transfer and re-litigate the

Settlement Order, is therefore itself a core proceeding arising in and under Title 11 and should be

heard in the Bankruptcy Court.

        iv.      Any Disputes Over the Gatekeeper Orders Arise Under, Arise In, and Relate
                 to Title 11 and Are Core Proceedings.

        38.      The Seery Motion was denied, and Mr. Seery has not been added as a defendant in

this Case. Plaintiffs have also filed the Motion for Reconsideration in the Bankruptcy Court.

However, to the extent Plaintiffs seek to add Mr. Seery as a defendant in this Case, any such

proceedings must be referred to the Bankruptcy Court for the reasons forth in Section B(iii) supra.

Like the Settlement Order, the January Order is the result of a settlement with the Committee

approved under 11 U.S.C. §§ 105 and 363 and Bankruptcy Rule 9019. The “gatekeeper” provision

in the January Order was also a required component of that settlement and the settlement would

not have been approved without it. See Appx. 5, ¶ 12-14. Similarly, the July Order was the result

of a motion seeking authority to appoint Mr. Seery as CEO and CRO under 11 U.S.C. §§ 105(a)

and 363(b), an administrative action that only exists in Title 11 and thus “arises in” and “arises


                                                 19
000025
DOCS_NY:43079.11 36027/002
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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                23 Filed
                                    Filed07/13/21
                                          05/19/21 Page
                                                    Page29
                                                         25ofof852
                                                                31 PageID 205
                                                                          1934



under” Title 11. Like the January Order, the “gatekeeper” provision in the July Order was a

required component of Mr. Seery’s appointment. Id. Any attempt to add Mr. Seery as a defendant

would be re-litigating a core proceeding arising under, arising in, and related to Title 11.

        v.       The Complaint Impacts Creditor Recoveries.

        39.      The Debtor’s Plan provides for the orderly monetization of the Debtor’s assets and

the distribution of the proceeds to creditors. Because the Plan is an asset monetization plan,

distributions depend on two things: (a) the total amount of allowed claims against the estate and

(b) the cash available to pay those claims. Consequently, the Complaint will have a material and

immediate impact on the Debtor’s estate. First, any judgment secured by Plaintiffs against the

Debtor will decrease the cash available to pay the Debtor’s prepetition creditors (which cash is

property of the estate under 11 U.S.C. § 541). Second, any delay in determining the amount owed

to HarbourVest or the amount owed by the Debtor to Plaintiffs will delay payments to creditors

under the Plan as the Debtor will need to reserve against such claims. This impact on creditors and

the Debtor’s ability to satisfy its obligations under the Plan clearly impacts the Debtor’s estate and

should be adjudicated by the Bankruptcy Court. Zale, 62 F.3d at 753 (“Those cases in which courts

have upheld ‘related to’ jurisdiction over third-party actions do so because the subject of the third

party dispute is property of the estate, or because the dispute over the asset would have an effect

on the estate.”); see generally Centrix Fin. Liq. Trust v. Sutton, 2019 U.S. Dist. LEXIS 154083 (D.

Colo. Sept. 10, 2019) (finding that in a liquidating plan, the bankruptcy court has “related to”

jurisdiction over all matters that impact distributions from the liquidating trust).

        vi.      Mr. Seery Will Have Indemnification Claims Against the Estate.

        40.      This Court denied the Seery Motion without prejudice, but if Mr. Seery is ever

added as a defendant or is compelled to retain personal counsel because of the completely

unfounded and false allegations in the Complaint, Mr. Seery will have the right to indemnification

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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                23 Filed
                                    Filed07/13/21
                                          05/19/21 Page
                                                    Page30
                                                         26ofof852
                                                                31 PageID 206
                                                                          1935



from the estate. See ¶ n.24 supra. The cost of this indemnification will immediately decrease the

amount available to creditors and will delay distributions. Again, this clearly “relates to” to the

Debtor’s bankruptcy. See, e.g., Collins v. Sidharthan (In re KSRP, Ltd.), 809 F.3d 263, 266-67

(5th Cir. 2015) (finding that bankruptcy court had jurisdiction because of potential indemnification

claims even though bankruptcy court ultimately determined the indemnification claims were

invalid); Refinery Holdings Co., L.P. v. TRMI Holdings, Inc. (In re El Paso Refinery, L.P.), 302

F.3d 343, 349 (5th Cir. 2002) (finding “related to” jurisdiction when “RHC’s claim against Texaco

could conceivably have an effect on the Estate in light of the chain of indemnification provisions

beginning with Texaco and leading directly to the Debtor.”); Houston Baseball Partners, LLC v.

Comcast Corp. (In re Houston Reg’l Sports Network), 2014 Bankr. LEXIS 2274, at *15-25 (Bankr.

S.D. Tex. May 22, 2013).

C.      There is No Basis for a Mandatory Withdrawal of the Reference

        41.      In the Seery Motion, Plaintiffs cite 28 U.S.C. § 157(d) for the proposition that

bankruptcy courts are “prohibit[ed] . . . absent the parties consent, from presiding over cases or

proceedings that require consideration of both Title 11 and other federal law regulation

organizations or activities affecting interstate commerce.” Appx. 18, at 7. Plaintiffs argue that,

because they pled causes of action arising under the Advisers Act and RICO, this Court will have

to withdraw the reference. Plaintiffs make the same argument in the Bankruptcy Response:

“Respondents expected that the motion for leave [to amend] would likely be referred to [the

Bankruptcy] Court for a report and recommendation. And Respondents planned, if necessary, to

move to withdraw the reference. . . .” Appx. 28 at 12.

        42.      Even assuming Plaintiffs’ federal law claims are not frivolous (and they are),

Plaintiffs misinterpret 28 U.S.C. § 157(d)’ s applicability to this case. 28 U.S.C. § 157(d) provides

for mandatory withdrawal of the reference in certain instances: “The district court shall, on timely

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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                23 Filed
                                    Filed07/13/21
                                          05/19/21 Page
                                                    Page31
                                                         27ofof852
                                                                31 PageID 207
                                                                          1936



motion of a party, so withdraw the proceeding if . . . resolution of the proceeding requires

consideration of both title 11 and other laws of the United States regulating organizations or

activities affecting interstate commerce.” 28 U.S.C. § 157(d) (emphasis added). However, in

interpreting Section 157(d), courts in this Circuit apply the majority view and require withdrawal

of the reference only:

        [W]hen “substantial and material consideration” of a federal statute other than the
        Bankruptcy Code is necessary to the resolution of a case or proceeding. Withdrawal
        is not mandatory in cases that require only the “straightforward application of a
        federal statute to a particular set of facts.” Rather, withdrawal is in order only when
        litigants raise “issues requiring significant interpretation of federal laws that
        Congress would have intended to [be] decided by a district judge rather than a
        bankruptcy judge.”

Southern Pac. Transp. v. Voluntary Purchasing Groups, 252 B.R. 373, 382 (E.D. Tex. 2000)

(quoting In re National Gypsum, 14 B.R. 188, 192-93 (N.D. Tex. 1991). As such, even the presence

of a substantial federal question is not a basis for mandatory withdrawal; mandatory withdrawal is

only proper when a bankruptcy court would have to interpret and apply federal law on a novel and

unsettled question. See Beta Operating Co., LLC v. Aera Energy, LLC (In re Memorial Prod.

Partners), 2018 U.S. Dist. LEXIS 161159, at *9 (S.D. Tex. Sept. 20, 2018); UPH Holdings, Inc.

v. Sprint Nextel Corp., 2013 U.S. Dist. LEXIS 189349, at *4 (W.D. Tex. Dec. 10, 2013) (holding

no mandatory withdrawal when, among other reasons, “the Bankruptcy Court will be tasked with

‘no more than application of federal communications law to a given set of facts.”) (citations

omitted). Finally, “mandatory withdrawal is to be applied narrowly to ensure bankruptcy cases are

litigated in the bankruptcy courts and to prevent 157(d) from becoming an ‘escape hatch’ from

litigating cases under the Bankruptcy Code.” See, e.g., Manila Indus., Inc. v. Ondova Ltd. (In re

Ondova Ltd.), 2009 U.S. Dist. LEXIS 102134, at *6 (N.D. Tex. Oct. 1, 2009) (quoting In re G-I

Holdings, Inc., 295 B.R. 211, 221 (D. N.J. 2003)).



                                                  22
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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                23 Filed
                                    Filed07/13/21
                                          05/19/21 Page
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                                                         28ofof852
                                                                31 PageID 208
                                                                          1937



        43.      None of the putative federal causes of action raised by Plaintiffs require “substantial

and material consideration” of a federal statute or more than the cursory application of settled

federal law. In fact, most can be summarily dismissed as they either grossly misinterpret settled

law, based on materially misstated facts, or assert causes of action that belong to other parties.

D.      The Complaint Is Barred by the Doctrine of Res Judicata

        44.      The doctrine of res judicata protects the finality of judgements by preventing

litigants from re-litigating the same issues over and over again. “[R]es judicata has four elements:

(1) the parties are identical or in privity; (2) the judgment. . . was rendered by a court of competent

jurisdiction; (3) the prior action was concluded by a final judgment on the merits; and (4) the same

claim or cause of action was involved in both actions.” Comer v. Murphy Oil USA, 718 F.3d 460,

467 (5th Cir. 2013). Each of those elements is satisfied here, and the Complaint is barred by res

judicata. Plaintiffs had their opportunity to challenge these orders; they do not get a second bite at

the apple or to re-litigate these issues in a different forum.

        45.      As set forth above, the parties are identical. Plaintiffs had the right to object to the

HarbourVest Settlement and the Transfer of the HarbourVest interests, and Plaintiffs (a) actually

objected to the Settlement Motion arguing that they had a “Right of First Refusal” under the

Members Agreement; (b) had the right to take discovery on all issues, including the value of the

HarbourVest interests; (c) could have objected based on the Advisers Act or RICO; (d) deposed

HarbourVest’s 30(b)(6) witness; and (e) withdrew their objection once they realized that they did

not have a “Right of First Refusal.” The Bankruptcy Court also indisputably had jurisdiction over

the matter. Although the Settlement Order is being appealed by the Trusts, it is a final judgment

for purposes of res judicata. See Fid. Standard Life Ins. Co. v. First Nat’l Bank & Trust Co., 510

F. 2d 272, 273 (5th Cir. 1975) (“A case pending appeal is res judicata and entitled to full faith and

credit unless and until reversed on appeal.”). Finally, as set forth above, the same claims or causes

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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                23 Filed
                                    Filed07/13/21
                                          05/19/21 Page
                                                    Page33
                                                         29ofof852
                                                                31 PageID 209
                                                                          1938



of action are involved. The Complaint is a blatant collateral attack on the Settlement Order. See

Miller v. Meinhard-Commercial Corp., 462 F.2d 358, 360 (5th Cir. 1972) (finding that regardless

of relief sought, it is a collateral attack if it must in some fashion overrule a previous judgment).

         46.      Similarly, the January Order was entered in January 2020 with Mr. Dondero’s

consent and with the knowledge of Plaintiffs.29 It was never appealed and is final. The July Order

was entered in July 2020 without objection and with the knowledge of Plaintiffs. It was (a) never

appealed; (b) is final;30 and (c) the Bankruptcy Court was a court of competent jurisdiction.31 See

In re Republic Supply Co. v. Shoaf, 815 F.2d 1046, 1052-53 (5th Cir. 1987) (finding a court has

jurisdiction for purposes of res judicata when no party contests subject matter jurisdiction in the

original proceeding). Consequently, any attempt to add Mr. Seery to the Complaint and subsequent

challenges to the Gatekeeper Orders would involve the same issues addressed by the Bankruptcy

Court and must be dismissed on the basis of res judicata.

E.       This Court Should Consider Mr. Dondero’s Litigious Nature

         47.      This Court should also consider the history of this case when determining whether

to enforce the reference, including Mr. Dondero’s history of vexatious litigation (brought directly

and indirectly) and the Bankruptcy Court’s familiarity with the Bankruptcy Case and the

interrelatedness of Mr. Dondero’s byzantine web of related companies. Appx. 5, ¶ 77-78. In fact,

the Fifth Circuit recently addressed a similar issue in Burch v. Freedom Mortgage. Corp. (In re


29
   On December 4, 2019, CLOH filed a Notice of Appearance and Request for Copies [Docket No. 152] in the
Bankruptcy Case by and through its counsel Kane Russell Coleman Logan PC. Since then, CLOH has received notice
as required by the Bankruptcy Code of all pleadings filed in the Bankruptcy Case.
30
   The Bankruptcy Court specifically found that the Gatekeeper Orders were res judicata in the Confirmation Order.
See Appx. 5, ¶ 73; ¶ 28 supra.
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     Plaintiffs have questioned whether the Bankruptcy Court exceeded its jurisdiction to enter the July Order in the
Motion for Reconsideration. Any attempt to litigate that issue in this Court may impact the Motion for Reconsideration
and must be referred to the Bankruptcy Court under the Order of Reference. See In re Margulies, 476 B.R. 393 (Bankr.
S.D.N.Y. 2012) (citing Mich. Emp’t Sec. Comm’n v. Wolverine Radio Co. (In re Wolverine Radio Co.), 930 F.2d 1132,
1143 (6th Cir. 1991)) (“If the action between third parties will have a collateral estoppel effect on the debtor, the third
party action is ‘related to’ the bankruptcy case for jurisdictional purposes.”).


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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                23 Filed
                                    Filed07/13/21
                                          05/19/21 Page
                                                    Page34
                                                         30ofof852
                                                                31 PageID 210
                                                                          1939



Burch). In Burch, the movant sought to avoid bankruptcy court jurisdiction over claims regarding

the interpretation and enforceability of prior bankruptcy court orders. Burch, 385 Fed. Appx. at

747. Mr. Burch, like Mr. Dondero, had also been found to be an abusive litigant. The Fifth Circuit

denied Mr. Burch’s attempts to avoid bankruptcy court jurisdiction through clever pleading,

calling them “frivolous,” and “warn[ed] Burch that any further frivolous or abusive filings in this

court, the district court, or the bankruptcy court will invite the imposition of sanctions, including

dismissal, monetary sanctions, and/or restrictions on his ability to file pleadings in this court and

any court subject to this court’s jurisdiction.” Id., at 749; see also 28 U.S.C. § 1927 (“Any attorney

or other person . . . who so multiples the proceedings in any case unreasonably and vexatiously

may be required by the court to satisfy personally the excess costs, expenses, and attorney’s fees

reasonably incurred because of such conduct.”). Mr. Dondero, directly and through his proxies, is

a frivolous and abusive litigant – hence the need for the “gatekeeper” provisions. This Court should

not provide him a forum to further abuse the judicial process.

                                          CONCLUSION

        WHEREFORE, the Debtor respectfully requests that the Court grant its Motion and enter

an order in the form annexed to the Motion as Exhibit A, and grant any further relief as the Court

deems just and proper.

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      3:21-cv-00842-B Document
                       Document43
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                                    Filed07/13/21
                                          05/19/21 Page
                                                    Page35
                                                         31ofof852
                                                                31 PageID 211
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DOCS_NY:43079.11 36027/002
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 36 of 852 PageID 1941



                             EXHIBIT 2




000033
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 37 of 852 PageID 1942


                        IN THE UNITED STATES BANKRUPTCY COURT
   1                      FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION
   2
                                      )    Case No. 19-34054-sgj-11
   3     In Re:                       )    Chapter 11
                                      )
   4     HIGHLAND CAPITAL             )    Dallas, Texas
         MANAGEMENT, L.P.,            )    Tuesday, June 8, 2021
   5                                  )    9:30 a.m. Docket
                  Debtor.             )
   6                                  )    - SHOW CAUSE HEARING (2255)
                                      )    - MOTION TO MODIFY ORDER
   7                                  )      AUTHORIZING RETENTION OF
                                      )      JAMES SEERY (2248)
   8                                  )    - MOTION FOR ORDER FURTHER
                                      )      EXTENDING THE PERIOD WITHIN
   9                                  )      WHICH DEBTOR MAY REMOVE
                                      )      ACTIONS (2304)
 10                                   )
 11                         TRANSCRIPT OF PROCEEDINGS
                   BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
 12                      UNITED STATES BANKRUPTCY JUDGE.

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000034
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 38 of 852 PageID 1943
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000035
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 39 of 852 PageID 1944
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000036
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 40 of 852 PageID 1945
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   1                   DALLAS, TEXAS - JUNE 8, 2021 - 9:30 A.M.

   2                 THE COURT:    All right.   We have settings in Highland

   3     this morning.    We have three settings.     We have the show cause

   4     hearing with regard to a lawsuit filed in the District Court.

   5     We have a couple of more, I would say, ministerial matters,

   6     although I think we do have objections.       I know we have

   7     objections.    We have a motion to extend the removal period in

   8     this case as well as a motion to modify the order authorizing

   9     Mr. Seery's retention.

 10             So let's go ahead and start out by getting appearances

 11      from the lawyers who are participating today.        I'll get those

 12      now.

 13                  MR. MORRIS:    Good morning, Your Honor.

 14                  THE COURT:    Good morning.

 15                  MR. MORRIS:    John Morris from Pachulski, Stang, Ziehl

 16      & Jones for the Debtor.      I'm joined with me this morning by my

 17      colleagues, Jeffrey Pomerantz, Greg Demo, and Zachery Annable.

 18                  THE COURT:    Okay.

 19                  MR. MORRIS:    We do have a proposal on how to proceed

 20      today, a substantial portion of which is in agreement with the

 21      Respondents.

 22                  THE COURT:    Okay.

 23                  MR. MORRIS:    So, at the appropriate time, I'd be

 24      happy to present that to the Court.

 25                  THE COURT:    All right.   Well, let's get all the




000037
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 41 of 852 PageID 1946
                                                                         5


   1     appearances and then I'll hear from you on that.

   2              MR. SBAITI:     Your Honor, my name is -- would you like

   3     me to approach, Your Honor?

   4              THE COURT:    Yes, please.

   5              MR. SBAITI:    It's my first time appearing in

   6     Bankruptcy Court, Your Honor.    My name is Mazin Sbaiti.      I'm

   7     here on behalf of the charitable DAF Fund, CLO Holdco, and the

   8     Respondents to the show cause hearing.      We are also

   9     representing them as the Movants on the motion to modify the

 10      Court's order appointing Mr. Seery.

 11               THE COURT:    All right.   Thank you.

 12               MR. BRIDGES:    Jonathan Bridges, Your Honor, with Mr.

 13      Sbaiti, also representing the Charitable DAF and CLO Holdco,

 14      as well as our firm that is named in the show cause order.

 15               THE COURT:    Okay.

 16               MR. BRIDGES:    Thank you, Your Honor.

 17               THE COURT:    Thank you.

 18               MR. PHILLIPS:    Good morning, Your Honor.       Louis M.

 19      Phillips from Kelly Hart Hallman here on behalf of Mark

 20      Patrick in the show cause matter.     I'm joined with my

 21      colleague Michael Anderson from the Kelly Hart firm here in

 22      Fort Worth.   And that's the matter that we're involved in, the

 23      show cause auction.

 24               THE COURT:    All right.   Thank you, Mr. Phillips.

 25               MR. TAYLOR:    Good morning, Your Honor.      Clay Taylor




000038
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 42 of 852 PageID 1947
                                                                          6


   1     of Bonds Ellis Eppich Schafer Jones here on behalf of Jim

   2     Dondero.   I have Mr. Will Howell here with me from my firm.

   3                THE COURT:    All right.   Thank you.

   4                MR. CLEMENTE:    Good morning, Your Honor.    Matthew

   5     Clemente from Sidley Austin on behalf of the Committee.          I'm

   6     here with my partner, Paige Montgomery.

   7                THE COURT:    Okay.   Thank you.

   8                MR. CLEMENTE:    Good morning.

   9                THE COURT:    All right.   Just to remind people, we do

 10      have participants on the WebEx, but in setting the hearing I

 11      made clear that participants today needed to be here live in

 12      the courtroom.   So the WebEx participants are going to be only

 13      observers.

 14          We have a camera on the screen here that is poised to

 15      capture both the lawyer podium as well as the witness box, and

 16      then another camera on the bench.

 17          So, please be mindful.       We want the lawyers to speak from

 18      the podium so that they are captured and heard by the WebEx.

 19      And so hopefully we don't have any cords you will trip over.

 20      We've worked hard to make it easy to maneuver around the

 21      courtroom.

 22          All right.   So, Mr. Morris, you had a proposal on how we

 23      would approach this today?

 24                 MR. MORRIS:     I do, Your Honor.   And it's rather

 25      brief, but I think it makes a lot of sense.




000039
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 43 of 852 PageID 1948
                                                                         7


   1          There are three motions on the calendar for today, --

   2               THE COURT:    Uh-huh.

   3               MR. MORRIS:    -- only one of which required the

   4     personal appearance of certain parties.

   5               THE COURT:    Uh-huh.

   6               MR. MORRIS:    And for that reason, and because,

   7     frankly, it was the first of the three motions filed, we

   8     believe that that ought to go first.

   9               THE COURT:    Okay.

 10                MR. MORRIS:    And then it can be followed by the

 11      motion for reconsideration of the July order, assuming time

 12      permits, and then the motion to extend the removal deadline.

 13           And with respect to the contempt motion, Your Honor, the

 14      parties have agreed that each side shall have a maximum of

 15      three hours to make opening statements, closing arguments,

 16      direct and cross-examination of witnesses.

 17           You know, I did point out to them that from time to time

 18      Your Honor has used the Court's discretion to adjust the time

 19      --

 20                THE COURT:    Uh-huh.

 21                MR. MORRIS:    -- if the Court is making inquiries, and

 22      I guess we'll deal with that matter as it comes.       But as a

 23      general matter, that is what we've agreed to.       And I would

 24      propose that, unless anybody has any objections, that we just

 25      proceed on that basis.




000040
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 44 of 852 PageID 1949
                                                                         8


   1               THE COURT:    Okay.

   2               MR. MORRIS:    And I could -- I could go right forward.

   3               THE COURT:    So, three hours in the aggregate?

   4               MR. MORRIS:    Uh-huh.

   5               THE COURT:    It doesn't matter how people spend it --

   6     with argument, examination, cross -- three hours in the

   7     aggregate?

   8               MR. MORRIS:    Correct.

   9               THE COURT:    Okay.    So, Nate, you'll be the timer on

 10      that.

 11                MR. MORRIS:    Yeah.    We thought it was very important

 12      to get this done today, with people coming in from out of

 13      town.

 14                THE COURT:    Okay.    Sounds fine.

 15                MR. MORRIS:    So does the Court want to inquire if

 16      anybody has any questions or comments?

 17                THE COURT:    I do.    Well, I see Mr. Bridges getting

 18      up.   You confirm that that's agreeable?

 19                MR. BRIDGES:    Thank you, Your Honor.    Yes, that's

 20      agreeable.   We have one slight difference in our proposal.           We

 21      would suggest to Your Honor that the motion for modification,

 22      if Your Honor decides our way, would moot the entire motion

 23      for contempt.   And we'd suggest, if that possibility is

 24      realistic, that we would go first with that motion, perhaps

 25      obviate having to have the evidence presented and the lengthy




000041
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 45 of 852 PageID 1950
                                                                          9


   1     hearing.

   2            The motion for modification, Your Honor, asks the Court to

   3     reconsider -- to modify that order because of jurisdictional

   4     and other shortcomings in it that make the order

   5     unenforceable.    And because that's the order that is the

   6     subject of the contempt motion, we'd ask Your Honor to

   7     consider putting that motion first.

   8                 THE COURT:    Okay.   Or second?   Ahead of the contempt

   9     matter?

 10                  MR. BRIDGES:    Ahead of the contempt matter, --

 11                  THE COURT:    Uh-huh.

 12                  MR. BRIDGES:    -- because it has a possibility --

 13                  THE COURT:    We have the removal matter, which I think

 14      is the shortest.    All right.

 15                  MR. BRIDGES:    No objection to that, Your Honor.

 16      That's correct.

 17                  THE COURT:    Okay.   So, Mr. Morris, that's fine by

 18      you?

 19                  MR. MORRIS:    Your Honor, that doesn't make a lot of

 20      sense to us.    We don't believe there's any basis for the Court

 21      to reconsider, modify, or amend in any way the July order.

 22      But even if we were wrong about that, that would not

 23      retroactively validate conduct which was otherwise wrongful at

 24      the time it was committed.

 25             The contempt motion needs to go first.     The other motion




000042
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 46 of 852 PageID 1951
                                                                         10


   1     will have no impact on whether or not there is a finding of

   2     contempt of court.

   3               THE COURT:    All right.   And update me on this.     There

   4     was something filed yesterday, a notice of a proposed form of

   5     order that the Debtor had proposed, that I think was not

   6     agreed to, where there would be a change about any action that

   7     goes forward, the cause of action would be in the sole

   8     jurisdiction of the Court, and you all agreed to change that

   9     part of the order, correct?

 10                MR. MORRIS:    So, just as a division of labor for Your

 11      Honor, I'm doing the contempt motion.

 12                THE COURT:    Okay.   That's Mr. Pomerantz's?

 13                MR. MORRIS:    Mr. Pomerantz is going to take care of

 14      that.

 15                MR. POMERANTZ:   Yes, Your Honor.     Good morning.    Good

 16      to see you again.

 17                THE COURT:    Good to see you.

 18                MR. POMERANTZ:   Yes, Your Honor, that's correct.       If

 19      Your Honor recalls, there's really three aspects of the

 20      January 9th and the July 16th order.       First, requiring people

 21      to come to Bankruptcy Court before commencing or pursuing an

 22      action.   Second, for the Bankruptcy Court to have the sole and

 23      exclusive authority to determine whether the claim is a

 24      colorable claim of willful negligence or gross misconduct.

 25      And then third, if Your Honor passed the claim through the




000043
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 47 of 852 PageID 1952
                                                                           11


   1     gate, whether you would have jurisdiction.

   2         In Your Honor's January 9th and July 16th orders, you said

   3     you would have exclusive jurisdiction.        In the motion for

   4     reconsideration, and particularly the reply, Movants said, if

   5     you just change that and say that if passes through the gate

   6     that you'd have jurisdiction only to the extent you would

   7     otherwise have it, that would resolve the motion, in the same

   8     way that the plan of reorganization was amended.

   9         We proposed that.    They rejected it.       We put it before

 10      Your Honor.   So we believe that it moots out a good portion --

 11      actually, we think it should moot out the entire motion.          They

 12      obviously disagree.   But we definitely agree it moots out the

 13      most significant portion of their motion, which is that Your

 14      Honor would take jurisdiction to adjudicate a matter on an

 15      exclusive basis when you might not otherwise have jurisdiction

 16      on an exclusive basis.

 17               THE COURT:     Okay.   Well, --

 18               MR. BRIDGES:     Your Honor, may I respond to that?

 19               THE COURT:     You may.   And --

 20               MR. BRIDGES:     Thank you, Your Honor.

 21               THE COURT:     -- why -- could you clarify why you think

 22      it would moot out the entire show cause matter?         I wouldn't be

 23      retroactively changing my order.     Is that what you're

 24      proposing?

 25               MR. BRIDGES:     Your Honor, with all respect, we




000044
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 48 of 852 PageID 1953
                                                                         12


   1     believe the order is defective and unenforceable and has to be

   2     modified in order to fix it.     And because of the defects,

   3     we're -- we're actually arguing, Your Honor, that it is

   4     unenforceable in a contempt proceeding.      That is exactly what

   5     our argument is.

   6              THE COURT:    Okay.   I think I'm getting way farther

   7     down this road than maybe I want to right now.       But I guess

   8     here's the elephant in the room, I feel like:       Republic Supply

   9     versus Shoaf.

 10               MR. BRIDGES:    Uh-huh.

 11               THE COURT:    The U.S. Supreme Court Espinosa case, for

 12      that matter.    If I accept your argument that maybe there was a

 13      flaw in those orders, that maybe they went too far, don't you

 14      have a problem with those two cases?

 15               MR. BRIDGES:    Your --

 16               THE COURT:    The orders weren't appealed.

 17               MR. BRIDGES:    I understand completely, Your Honor.

 18               THE COURT:    Uh-huh.

 19               MR. BRIDGES:    And I think the answer is no because of

 20      the Applewood case from the Fifth Circuit.      The Applewood case

 21      cited in our reply brief explains that in order for an order,

 22      a final order of the Bankruptcy Court to have exculpatory

 23      effect, in order for it to release claims, for example, that

 24      the claims at issue must be enumerated in the order.        It's not

 25      enough to have a blanket statement like the order, the July




000045
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 49 of 852 PageID 1954
                                                                          13


   1     order has, like the January order has, saying that Mr. Seery's

   2     claims -- claims cannot be brought against him for ordinary

   3     negligence at all.       The -- Your Honor, we're delving into my

   4     argument.

   5                 THE COURT:    Okay.

   6                 MR. BRIDGES:    And I was hoping to do this on a

   7     preliminary basis.

   8                 THE COURT:    Right.

   9                 MR. BRIDGES:    I don't mean to bog you down with that.

 10      But Your Honor, no, mandatory authority from the Fifth Circuit

 11      after Shoaf limits Shoaf's application and says that it does

 12      not extinguish the claims that are not specifically enumerated

 13      in the order.    And the reason for that is because it doesn't

 14      give the kind of notice to the parties that they would need to

 15      make an appearance and object to those orders at the time.             It

 16      actually helps to stem the amount of litigation at the time

 17      rather than to encourage it.

 18                  THE COURT:    All right.   Well, you'll get your

 19      opportunity to make your full argument on this.        But I'm not

 20      convinced, preliminarily, at least, to affect my decision on

 21      the sequence, okay?      So even if it potentially wastes time

 22      under your view of the law, I am going to do the removal

 23      matter first -- the extension of time request, I should say --

 24      and then the show cause and then the motion to modify.         And I

 25      realize, those last two matters, everything is kind of




000046
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 50 of 852 PageID 1955
                                                                         14


   1     interrelated.   All right?

   2              MR. BRIDGES:    Yes, Your Honor.

   3              THE COURT:    All right.   So, with that decided, is

   4     there a desire on the part of the lawyers to make opening

   5     statements, or shall we just go to the motions?       And, of

   6     course, people can use their three hours for oral argument,

   7     however much they want to use for oral argument.

   8              MR. MORRIS:    Your Honor, the -- to be clear, the six-

   9     hour time limit only applies to the contempt proceeding.

 10               THE COURT:    Oh, yes.   Yes.   Uh-huh.

 11               MR. MORRIS:    And I do want to make an opening

 12      statement.

 13               THE COURT:    Okay.

 14               MR. MORRIS:    So, as the Movant, I'd like to go first.

 15               THE COURT:    You want to make opening statements?

 16               MR. BRIDGES:    Yes.   Yes, Your Honor.

 17               THE COURT:    Okay.    Okay.

 18               MR. BRIDGES:    I believe we've got a PowerPoint

 19      prepared that I think can lay out our side of it.

 20               THE COURT:    Okay.

 21               MR. BRIDGES:    I don't think we're participating in

 22      the motion to extend the removal time.

 23               THE COURT:    Okay.

 24               MR. BRIDGES:    That's going first.

 25               THE COURT:    All right.




000047
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 51 of 852 PageID 1956
                                                                           15


   1                 MR. BRIDGES:   So we'll wait until that is --

   2                 THE COURT:   Well, so we don't get confused on the

   3     timing, let's just do the motion to extend right now.        And I

   4     think we only had one objection.      As Mr. Sbaiti just pointed

   5     out, they're not objecting on that one.      We have a Dondero

   6     objection.      So let's, without starting the timer, hear that

   7     one.    Okay?

   8                 MR. DEMO:    Good morning, Your Honor.   Greg Demo;

   9     Pachulski, Stang, Ziehl & Jones.

 10                  THE COURT:   Good morning.

 11                  MR. DEMO:    I'll be arguing the removal motion and

 12      then turn it over.

 13             It's fairly basic and straightforward, Your Honor.      We're

 14      asking for a further extension of the statutory deadline to

 15      remove cases until December 14th, 2021.      The deadline is

 16      procedural only.      As Your Honor is well aware, there's a lot

 17      of moving parts in this case.      You know, we don't know to this

 18      date, really, the full universe of what could actually be out

 19      there.    So we're just asking for a short extension of the

 20      removal period to cover through December.

 21             I know that there was an objection from Mr. Dondero.       I

 22      know that he argues that 9006 does not allow us to extend that

 23      deadline past the effective date of the plan, and he cites one

 24      case for that purpose, which is Health Support.       I think it's

 25      out of Florida.      That case dealt with the extension of the




000048
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 52 of 852 PageID 1957
                                                                          16


   1     two-year extension of the statute of limitations and was very

   2     clear that you can't use 9 --

   3               THE COURT:    You mean the 546 deadline?

   4               MR. BRIDGES:    Yes.    Yes.

   5               THE COURT:    Okay.

   6               MR. BRIDGES:    That you can't use 9006 to extend non-

   7     bankruptcy deadlines.    That's not what we're doing here, Your

   8     Honor.   We're using 9006 to extend the bankruptcy deadline to

   9     remove the cases.

 10                THE COURT:    Uh-huh.

 11                MR. DEMO:    And we'd just ask Your Honor for the

 12      extension through December.

 13                THE COURT:    Okay.    I'll hear Mr. Dondero's counsel.

 14                MR. HOWELL:    Good morning, Judge.     Will Howell for

 15      Mr. Dondero.

 16          So, the argument here is not that the Court can't do this.

 17      I was just pointing that there is an outside limit to what

 18      we're doing.   And so if you look at the cases that the Debtor

 19      cites in support of this motion, the one that is most apt was

 20      when Judge Nelms did a fourth extension of time.        But those

 21      were all 90-day extensions.       Here, we're in a situation where

 22      the Debtor is asking for a fourth 180-day extension of time,

 23      and this is really where the, you know, objection came -- or,

 24      the response in opposition came from.       They specifically asked

 25      that it be without prejudice to further extensions.




000049
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 53 of 852 PageID 1958
                                                                           17


   1         And so, at some point, you know, does 9006 have an outside

   2     limit?     You know, do we need to see some sort of a light at

   3     the end of the tunnel here?

   4         So we would ask that the motion, at a minimum, be denied

   5     in part with respect to this open-ended request for extension

   6     beyond two years for a 90-day period.        The other cases that

   7     they cite, they have one extension here, one extension there,

   8     120 days here, but not 180 days after 180 days after 180 days,

   9     and then asking specifically for without prejudice to further

 10      extensions beyond two years.        So that's -- that's where this

 11      comes from.

 12                  THE COURT:    All right.   Do you think it matters that

 13      this is a very complex case?

 14                  MR. BRIDGES:    I --

 15                  THE COURT:    There's litigation here, there, and

 16      everywhere.

 17                  MR. HOWELL:    I also think, you know, Mirant was

 18      complex.    I think Pilgrim's Pride was complex.       I think, you

 19      know, it is not out of bounds for the Court to grant a fourth

 20      extension.

 21                  THE COURT:    Uh-huh.

 22                  MR. BRIDGES:    But to -- you know, at some point --

 23      you know, maybe the Court could grant a 90-day extension and

 24      make them come back a little more frequently to kind of corral

 25      this thing, rather than just saying "This grant of 180 days,




000050
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 54 of 852 PageID 1959
                                                                           18


   1     the fourth time, is going to be without prejudice to further

   2     extensions."    It just gets kind of large.

   3                 THE COURT:    Okay.   Mr. Demo, your motion.    You get

   4     the last word.

   5                 MR. DEMO:    Your Honor, I mean, it is without

   6     prejudice for further extensions, but that doesn't mean that

   7     Your Honor is granting the further extensions now.          It means

   8     we'll have to come back.       We'll have to make our case for why

   9     an extension is necessary.        And, you know, if Your Honor

 10      doesn't want to give us another extension past December 2021,

 11      Your Honor doesn't have to.        This is not an order saying that

 12      it's a limitless grant.

 13             You know, I'd also ask, you know, quite honestly, why Mr.

 14      Dondero has such an issue with this.        He hasn't said that any

 15      of these cases involve him.       He hasn't given any reasons why

 16      this affects him.       He hasn't given any reason why this damages

 17      him at all.     So I do, I guess, wonder as an initial matter

 18      kind of why we're here, you know, why we're responding to Mr.

 19      Dondero's request, when that request really has no impact on

 20      him.

 21             And then, Your Honor, to the extent that you are inclined

 22      to limit this, I would say, you know, we would ask for a

 23      reasonable extension of time.        We do think an extension of

 24      time, because of the complexity of this case, through December

 25      is warranted.    But if Your Honor for some reason does agree




000051
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 55 of 852 PageID 1960
                                                                         19


   1     that a shorter extension is necessary under 9006 -- I don't

   2     think it is -- we'd just ask that Your Honor grant us leave to

   3     come back for further extensions of time.

   4              THE COURT:    Okay.   All right.   I will -- I'll grant a

   5     90-day extension, without prejudice for further extensions.

   6              MR. DEMO:    Thank you, Your Honor.

   7              THE COURT:    Maybe in 90 days we'll be farther down

   8     the road and we won't need any more extensions, but you'll

   9     have the ability to argue for more if you think it's really

 10      necessary.   All right.    So that will bring us to around

 11      September 14th, I guess.

 12          All right.   Well, let's go ahead and hear opening

 13      statements with regard to the show cause matter.       And again,

 14      if you want to roll in arguments about the -- well, no, you

 15      said the six hours only applies to show cause, so we'll not

 16      hear opening statements with regard to the Seery retention

 17      modification, just show cause.

 18               MR. MORRIS:      All right.   Before I begin, Your Honor,

 19      I have a small deck to guide --

 20               THE COURT:    Okay.

 21               MR. MORRIS:      -- to guide my opening statement.

 22               THE COURT:    All right.

 23               MR. MORRIS:      Can I approach the bench?

 24               THE COURT:    You may.   And is your legal assistant

 25      going to share her content --




000052
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 56 of 852 PageID 1961
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   1                MR. MORRIS:    Yes.

   2                THE COURT:    -- so people on the WebEx will see?

   3     Okay.

   4                MR. MORRIS:    That's the intention, Your Honor.

   5                THE COURT:    Okay.

   6                MR. MORRIS:    All right.   Are you ready for me to

   7     proceed?

   8                THE COURT:    I am.   And obviously, everyone has a

   9     copy?

 10                 MR. MORRIS:    Yes.

 11                 THE COURT:    Your opponents have a copy of this?

 12                 MR. MORRIS:    Yep.

 13                 THE COURT:    Okay.   Although we hope to see it on the

 14      screen.

 15                  OPENING STATEMENT ON BEHALF OF THE DEBTOR

 16                 MR. MORRIS:    Good morning, Your Honor.    John Morris;

 17      Pachulski, Stang, Ziehl & Jones; for the Debtor.

 18          We're here today on the Debtor's motion to hold certain

 19      entities and individuals in contempt of court for violating a

 20      very clear and specific court order.      I hope to be relatively

 21      brief in my opening here, Your Honor, and I'd like to begin

 22      where I think we must, and that is, how do we -- how do we

 23      prove this and what do we have to prove?

 24          The elements of a claim for contempt of court are really

 25      rather straightforward.     The Movant must establish by clear




000053
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 57 of 852 PageID 1962
                                                                           21


   1     and convincing evidence three things.

   2                THE COURT:    Let me stop you and stop the clock.

   3     We're not seeing the shared content.

   4                MR. MORRIS:    Uh-huh.

   5                THE COURT:    Did you want her to go ahead and share

   6     her content?

   7                MR. MORRIS:    I did.

   8                THE COURT:    Okay.

   9                MR. MORRIS:    I was hoping that she'd do that.

 10                 THE COURT:    All right.   It says it's receiving

 11      content.

 12                 MR. MORRIS:    There we go.   It's on my screen, anyway.

 13                 THE COURT:    Oh, here it is.    I don't know why it's

 14      not on my Polycom.      Can you all see it out there?

 15          (Chorus of affirmative replies.)

 16                 THE COURT:    Okay.    Very good.

 17                 MR. MORRIS:    Okay.

 18                 THE COURT:    You may proceed.

 19                 MR. MORRIS:    Thank you, Your Honor.

 20          So, there's three elements to the cause of action for

 21      contempt, for civil contempt.       We have to prove by clear and

 22      convincing evidence that a court order was in effect; that the

 23      order required certain conduct by the Respondents; and that

 24      the Respondent failed to comply with the Court's order.

 25          We've cited in the footnote the applicable case law from




000054
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 58 of 852 PageID 1963
                                                                         22


   1     the Fifth Circuit, and I don't believe that there's any

   2     dispute that is indeed the legal standard.

   3         The intent of the Respondents as to liability is

   4     completely irrelevant.    It doesn't matter if they thought they

   5     were doing the right thing.    It doesn't matter if they

   6     believed in their heart of hearts that the court order was

   7     invalid.   These are the three elements, and we will be able to

   8     establish these elements not by clear and convincing evidence,

   9     but if we ever had to, beyond reasonable doubt.

 10          If we can go to the next slide, please.

 11          We begin with the Court's order, the Court's July 9 order.

 12      And that order states very clearly what conduct was required.

 13      And the conduct that was required was that no entity could

 14      commence or pursue -- those are really the magic words --

 15      commence or pursue a claim against Mr. Seery without the

 16      Bankruptcy Court doing certain things.      And we've referred to

 17      this as the gatekeeper.    And the only question I believe the

 18      Court has to ask today is whether the Respondents commenced or

 19      pursued a claim against Mr. Seery without seeking Bankruptcy

 20      Court approval, as set forth in this order.

 21          I'll dispute that there's anything ambiguous about this.

 22      I'll dispute that it could not be clearer what conduct was

 23      prohibited.   It could not be clearer.     The only question is

 24      whether the conduct constitutes the pursuit of a claim.

 25          Let's see what they did.    If we could go to the next




000055
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 59 of 852 PageID 1964
                                                                         23


   1     slide.   There will be no dispute about what they did.       And

   2     what they did is, a week after filing a lawsuit against the

   3     Debtor and two others arising out of the HarbourVest

   4     settlement, a settlement that this Court approved, after

   5     notice and a hearing and participation by the Respondents,

   6     after they had the opportunity to take discovery, after they

   7     had the opportunity to examine Mr. Seery about the value of

   8     HarbourVest's interest in HCLOF, after all of that, they

   9     brought a lawsuit after Mr. Patrick took control of the DAF

 10      and CLO Holdco.      And that lawsuit related to nothing but the

 11      HarbourVest suit, and it named in Paragraph 2, right up above,

 12      Mr. Seery as a potential party.     And a week later, Your Honor,

 13      they filed what we call the Seery Motion, and it was a motion

 14      for leave to amend their complaint to add Mr. Seery as a

 15      defendant.

 16          We believe that that clearly violates the Court's July 7

 17      order.   And indeed, again, these are facts.      They're not --

 18      they're not in dispute.     Just look at the first sentence of

 19      their motion.   The purpose of the motion was to name James

 20      Seery as a defendant.     That was the purpose of the motion.

 21      And the way that they made the motion, Your Honor -- and these

 22      are undisputed facts -- the way they made the motion, Your

 23      Honor, shows contemptuous intent.     We don't have to prove

 24      intent, but I think it might be relevant when you get to

 25      remedies.    Okay?




000056
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 60 of 852 PageID 1965
                                                                          24


   1         And so how do I -- why do I say that?       Because they made

   2     this motion, Your Honor, and they didn't have to.       Everybody

   3     knows that under Rule 15 they could have amended the complaint

   4     if they wanted to.    If they wanted to, they didn't need the

   5     Court's permission.    What they wanted to do was try to get the

   6     District Court to do what they knew they couldn't.        And that's

   7     contemptuous.

   8         And they did it, Your Honor, without notice to the Debtor.

   9     Even after the Debtor had accepted service of the complaint,

 10      even after we told them, if you go down this path, we're going

 11      to file a motion for contempt, they did it anyway.        They

 12      didn't serve the Debtor.    They didn't give the Debtor a

 13      courtesy copy.   They didn't notify the Debtor.      The only thing

 14      that happened was the next day, when the District Court

 15      dismissed it without prejudice, they sent us a copy of that

 16      notice.   And within three days, we were here.

 17          A court order was in effect.     Mr. Patrick is going to

 18      admit to that.   There's not going to be any dispute about

 19      that.   The order required that the Respondents come to this

 20      Court before they pursue a claim against Mr. Seery, and they

 21      failed to comply with that order.    The facts, again -- if we

 22      can go to the next slide.    We can look at some of the detail,

 23      because the timeline is mindboggling.

 24          Mr. Patrick became the Plaintiffs' authorized

 25      representative on March 24th.    And folks, when I took their




000057
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 61 of 852 PageID 1966
                                                                         25


   1     depositions, weren't specific about dates, and that's why some

   2     of the entries here refer to sometime after, but there's no

   3     question that the order of events is as presented here and as

   4     the evidence will show today.

   5         The evidence will show that sometime after Patrick became

   6     the Plaintiffs' authorized representative, Mr. Dondero

   7     informed Mr. Patrick that Highland had usurped an investment

   8     opportunity from the Plaintiffs.    Mr. Patrick is going to

   9     testify to that.   Mr. Patrick is also going to testify that,

 10      without prompting, without making a request, D.C. Sauter, the

 11      general counsel of NexPoint Advisors, recommended the Sbaiti

 12      firm to Mr. Patrick.   Mr. Patrick considered nobody else.

 13          Mr. Patrick retained the Sbaiti firm in April.        In other

 14      words, within 12 days of the filing of the complaint.        They're

 15      retained and they conduct an investigation.       You're going to

 16      hear the assertion of the attorney-client and the common

 17      interest privilege every time I ask Mr. Dondero what he and

 18      Mr. Sbaiti talked about and whether they talked about naming

 19      Jim Seery as a defendant.   But with Patrick's authorization,

 20      the Sbaiti firm filed the complaint on April 12th, just days

 21      after they were retained.

 22          It's like a -- it's an enormous complaint.        I don't know

 23      how they did that so quickly.    But in any event, the important

 24      point is that they all worked together.      None of this happened

 25      until Mr. Patrick became the authorized representative.




000058
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 62 of 852 PageID 1967
                                                                           26


   1         Mr. Patrick is going to tell you, Your Honor, he's going

   2     to tell you that he had no knowledge of any wrongdoing by Mr.

   3     Seery prior to the time he assumed the rein of the DAF and the

   4     CLO Holdco.   He had no knowledge, Your Honor, of any claims

   5     that the DAF and CLO Holdco had against the Debtor until he

   6     became the Plaintiffs' authorized representative and Mr.

   7     Dondero spoke to him.

   8         If we can flip to the next page.      Mr. Dondero has

   9     effective control of the DAF.    He has effective control of CLO

 10      Holdco. You're going to be bombarded with corporate documents

 11      today, because they're going to show you -- and they want you

 12      to respect the corporate form, they really want you to follow

 13      the rules and respect the corporate form, because only Mr.

 14      Scott was responsible for the DAF and CLO Holdco until he

 15      handed the reins on March 24th to Mr. Patrick.       Mr. Dondero

 16      has nothing to do with this.    He's going to tell you.      He's

 17      going to tell you he had nothing to do with the selection of

 18      Mr. Patrick as Mr. Scott's replacement.

 19          The facts are going to show otherwise, Your Honor.           The

 20      DAF is a $200 million charitable organization that is funded

 21      almost exclusively with assets derived from Highland or Mr.

 22      Dondero or the Get Good Trust or the Dugaboy Trust.        The

 23      evidence is going to show that at all times these entities had

 24      shared services agreements and investment advisory agreements

 25      with HCMLP.   The evidence will show that HCMLP at all times




000059
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 63 of 852 PageID 1968
                                                                         27


   1     was controlled by Mr. Dondero.

   2         And it made sense.     The guy put in an awful lot of money

   3     for charitable usage.    Is he really just going to say, I don't

   4     really care who runs it?    The evidence is going to show that

   5     between October 2020 and January 2021, Grant Scott actually

   6     exercised independence.    Grant Scott was Mr. Dondero's

   7     childhood friend.   They went to UVA together.      They were

   8     roommates.   Mr. Scott was the best man at Mr. Dondero's

   9     wedding.   But we were now in bankruptcy court.      We're now in

 10      the fishbowl.   And I will -- this may be a little argument,

 11      but there's no disputing the facts that Mr. Scott acted

 12      independently, and he paid the price for it.       Mr. Scott did it

 13      three times.

 14          He did it when he amended CLO Holdco's proof of claim to

 15      take it down to zero.    He did it again after he withdrew the

 16      objection to the HarbourVest settlement motion.       And he did it

 17      again when he settled the lawsuit that the Debtors had brought

 18      against CLO Holdco.   And that -- and on each of those three

 19      occasions, the evidence will show that Mr. Scott did not

 20      communicate with Mr. Dondero in advance, that Mr. Dondero

 21      found out about these acts of independence after the fact, and

 22      that each time he found out about it he had a little

 23      conversation with Mr. Scott.

 24          Mr. Dondero is going to tell you about it, and he's going

 25      to tell you that he told Mr. Scott each act was inappropriate.




000060
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 64 of 852 PageID 1969
                                                                         28


   1     You may have heard that word before.      Each act was not in the

   2     best interests of the DAF.

   3         The last of those conversations happened either on or just

   4     after January 26th.   And by January 31st, Mr. Scott gave

   5     notice of his resignation.     And you're going to see that

   6     notice of resignation.      And he asks for releases.

   7         Mr. Patrick becomes, almost two months later, the

   8     successor to Mr. Scott.      Mr. Dondero is going to say he has no

   9     idea how that happened.      He was just told after the fact that

 10      Mr. Patrick and Mr. Scott had an agreement.        He's going to

 11      tell you they had an agreement and he just heard about it

 12      afterwards.    He didn't really -- for two months, I guess, he

 13      sat there after Mr. Scott told him that he wanted out and did

 14      nothing to try to find out who's going to take control of my

 15      charitable foundation with $200 million.        He wasn't

 16      interested.

 17          But here's the thing, Your Honor.      If we go to the next

 18      slide.    Let's see what Mr. Scott said at his deposition last

 19      week.    Question, "Do you know who selected Mark?"      Answer, "I

 20      do not."    Question, "Do you know how Mark was selected?"      Mark

 21      is a reference to Mark Patrick.      "I do not."    "Did you ever

 22      ask Mark how he was selected?"     "I did not."    "Did you ever

 23      ask Mark who selected him?"      "I did not."   "Did you ever ask

 24      anybody at any time how Mr. Patrick was selected to succeed

 25      you?"    "No, I did not."    "Did you ever ask anybody at any time




000061
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 65 of 852 PageID 1970
                                                                           29


   1     as to who made the decision to select Mr. Patrick to succeed

   2     you?"    "No, I did not."

   3         So I don't know what happened between Mr. Patrick and Mr.

   4     Dondero when Mr. Patrick supposedly told Mr. Dondero that

   5     there was an agreement with Mr. Scott, but that is news to Mr.

   6     Scott.    He had no idea.

   7         Your Honor, we are going to prove by clear and convincing

   8     evidence that each of the Respondents violated a very clear

   9     and specific court order.        And unless the Court has any other

 10      questions, I'll stop for now.

 11                 THE COURT:    No questions.

 12                 MR. MORRIS:    Thank you, Your Honor.

 13                 THE COURT:    All right.    Who is making the argument

 14      for the Respondents?

 15                 MR. SBAITI:    Your Honor, I am.     I'm just trying to

 16      put the PowerPoint up on the WebEx.

 17                 THE COURT:    Okay.

 18                 MR. SBAITI:    Sorry about that.

 19                 MR. MORRIS:    Your Honor, I'll try not to make this a

 20      practice, but can I inquire as to how much time I used?

 21                 THE COURT:    Oh.   Nate?

 22                 THE CLERK:    About thirteen minutes.

 23                 THE COURT:    Thirteen minutes?

 24                 MR. MORRIS:    Thank you very much.

 25                 THE COURT:    Okay.    All right.




000062
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 66 of 852 PageID 1971
                                                                           30


   1                MR. SBAITI:    Your Honor, our PowerPoint is a little

   2     bit longer than that one.        May I approach with a copy?

   3                THE COURT:    You may.    Uh-huh.

   4         (Pause.)

   5                MR. SBAITI:    Your Honor, it does feel good to be back

   6     in the courtroom.

   7                THE COURT:    Okay.

   8                MR. SBAITI:    It's been a long time.

   9                THE COURT:    Yes.    For us, too.

 10                 MR. SBAITI:    Jut wish it wasn't under a circumstance

 11      where someone is trying to sanction me.

 12          But we're going to be dividing up this oral argument a

 13      little bit.    Also, to just kind of break up a little bit of

 14      the monotony, because I think we have a lot to cover at the

 15      opening stage of this.     And I'll try to be as expeditious as I

 16      can be.

 17        OPENING STATEMENT ON BEHALF OF THE SHOW CAUSE RESPONDENTS

 18                 MR. SBAITI:    Your Honor, the thing we -- the thing we

 19      open with is the due process issue that we raised in our

 20      brief.    And where this really arises from is the Court's show

 21      cause order calls us violators before we've had a chance to

 22      respond to the allegations and before we've obviously been

 23      able to approach this hearing.       And the word violators means

 24      something to us, Your Honor, because I've been a lawyer for a

 25      long time, my partner has been a lawyer for a long time, our




000063
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 67 of 852 PageID 1972
                                                                         31


   1     clients have never been sanctioned, we've never been

   2     sanctioned, and for us to be labeled violators first by

   3     counsel and then in a court order makes us wonder whether or

   4     not this process is already prejudged or predetermined.

   5               THE COURT:     I actually want to address that.     Turn

   6     off the clock.

   7         Just so you know, I looked this up a while back, because

   8     we gave a bankruptcy judges panel at some CLE.       The average

   9     bankruptcy judge in our district, back when I looked, signs

 10      over 200 orders a week.

 11                MR. SBAITI:     Sure.

 12                THE COURT:     Many of those -- in fact, most of them --

 13      are submitted by lawyers.     So, you know, a big chunk of my

 14      week is signing orders.     And I obviously give more scrutiny to

 15      those that are substantive in nature.      Okay?   If someone

 16      submits to me a 50-page debtor-in-possession financing order,

 17      I will look at that much more carefully than what I consider a

 18      mere procedural order setting a hearing.

 19          So I regret that that word was used, but I can assure you

 20      I fairly quickly set that -- signed that, I should say --

 21      regarding it as a merely procedural order setting a hearing.

 22      Okay?   So it's as simple as that.    There was no hmm, I like

 23      that word, violator.     I had a stack, if you will, an

 24      electronic stack of probably 200 orders in front of me the day

 25      I signed that.   Okay?




000064
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 68 of 852 PageID 1973
                                                                         32


   1         So, if that makes anyone feel any better, I don't know,

   2     but that's the reality.

   3         Okay.    You can start the clock again.

   4                 MR. SBAITI:    And I appreciate Your Honor saying that.

   5     It does make us feel better, both about where the -- the

   6     genesis of the order and the impact and its reflection on what

   7     Your Honor thinks in terms of going into this.

   8         The other thing that obviously raised concerns, and I

   9     assume this comes from the same place, was four days ahead of

 10      that order counsel told us the Court was going to order

 11      everyone to be in person, and they had advance notice of that,

 12      and we weren't sure how they had advance notice of that.        I

 13      guess they assumed --

 14                  THE COURT:    I can assure you right here on the record

 15      I never had ex parte communications with any lawyer in this

 16      case, on this matter or any other matter.      Okay?   Again, those

 17      are pretty strong words to venture out there with, which your

 18      pleading did venture out there with those words.

 19          My courtroom deputy, Traci, I think answers her phone 24

 20      hours a day.    So I'm quite sure she had communications with

 21      the lawyers about this, just like she probably had

 22      communications with you and your firm and every other firm in

 23      this case.    Okay?

 24                  MR. SBAITI:    Like I said, Your Honor, we appreciated

 25      what Your Honor -- appreciate what Your Honor said, but that




000065
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 69 of 852 PageID 1974
                                                                         33


   1     issue obviously stuck out -- stuck out to us, in combination.

   2     So I'll move on from that issue.

   3         This has to do with the lawsuit that was filed, and the

   4     lawsuit, the genesis of the lawsuit, I think it's important to

   5     say, because the argument has been raised in the briefing and

   6     we wanted to address it upfront, why the lawsuit comes about.

   7     And it comes about because of the Advisers Act and the

   8     responsibilities that the Debtor has to the assets of the

   9     funds that it manages.    And the Advisers Act imposes a duty

 10      not only on Highland but obviously on its control people and

 11      its supervised people.   And the lawsuit has to do with HCLOF,

 12      which is what HarbourVest owned a piece of.       And Highland, as

 13      the advisor to HCLOF and the advisor to the DAF, owed

 14      fiduciary duties to CLO Holdco, which is the DAF's holding

 15      entity of its assets in HCLOF, but Highland Capital was also

 16      an advisor, a registered investment advisor to the DAF

 17      directly at the time.    And so those federally-imposed

 18      fiduciary duties lie at the crux of that lawsuit.

 19          Moving on, Mr. Seery testified at the hearing that was in

 20      this Court to be -- to get him appointed, and this was Exhibit

 21      2 that was presented by the Debtor, and on Page 16 at the

 22      bottom he says -- of the transcript, he says, I think, from a

 23      high level, the best way to think about the Debtor is that

 24      it's a registered investment advisor.      As a registered

 25      investment advisor, which is really any advisor of third-party




000066
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 70 of 852 PageID 1975
                                                                          34


   1     money over $25 million, it has to register with the SEC, and

   2     it manages funds in many different ways.

   3         In the middle of the next page he says, In addition, the

   4     Debtor manages about $2 billion, $2 billion in total managed

   5     assets, around $2 billion in CLO assets, and then other

   6     securities, which are hedge funds -- other entities, rather,

   7     which are hedge funds or PE style.       Private equity style.

   8         On Page 23 towards the bottom he says, As I said, the

   9     Investment Advisers Act puts a fiduciary duty on Highland

 10      Capital to discharge its duty to the investors.        So while we

 11      have duties to the estate, we also have duties, as I mentioned

 12      in my last testimony, to each of the investors in the funds.

 13      CLO Holdco would be an investor in one of those funds, HCLOF.

 14          He goes on to say, Some of them are related parties, and

 15      those are a little bit easier.    Some of them are owned by

 16      Highland.   HCLOF was not owned by Highland.       But there are

 17      third-party investors in these funds who have no relation

 18      whatsoever to Highland, and we owe them a fiduciary duty both

 19      to manage their assets prudently but also to seek to maximize

 20      value.

 21          Now, the lawsuit alleges that Seery testified that the

 22      HarbourVest portion of Highland CLO Funding was worth $22-1/2

 23      million.    Now, Mr. Morris wants the Court to hinge on the fact

 24      that, well, no one asked him whether he was lying.         But that's

 25      not really the standard, and it certainly isn't the standard




000067
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 71 of 852 PageID 1976
                                                                         35


   1     when someone's an investment advisor and owes fiduciary

   2     duties, which include fiduciary duties to be transparent with

   3     your investors.

   4         It also includes fiduciary duties not to self-deal.

   5         The lawsuit also alleges that, in reality, those assets

   6     were worth double that -- double that amount at the time.         We

   7     found out just, you know, in late March/early April that a

   8     third -- from a third party who had access to the underlying

   9     valuations at the time that those values were actually double

 10      and that there was a misrepresentation, giving rise to the

 11      lawsuit.   That change in circumstance is the key issue behind

 12      the lawsuit.

 13          We allege that Mr. Seery and the Debtor, as RIAs, had a

 14      duty to not self-deal and be fully transparent with that

 15      information, and we think both of those things were violated

 16      under the Advisers Act.

 17          We don't allege that the HarbourVest settlement should be

 18      undone or unwound.   We can't unscramble that egg.      We do seek

 19      damages, as I believe is our right, arising out of the

 20      wrongdoing and the process of pushing forth the settlement.

 21          I think one of the allegations in the actual motion for

 22      the show cause order was that this was going to undo all of

 23      the hard work that Court had done and basically unwind and try

 24      to re-piece Humpty Dumpty back together again.       But that's

 25      simply not the case.   Nowhere in our allegations or in the




000068
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 72 of 852 PageID 1977
                                                                         36


   1     relief that we request are we trying to undo the HarbourVest

   2     settlement as such.

   3         Now, whether the lawsuit should be dismissed under the

   4     affirmative defenses that they bring up -- res judicata,

   5     waiver, release -- all of those are questionable under the

   6     Advisers Act, given the change of circumstance, and therefore

   7     are also questions on the merits.     They don't go to the

   8     colorability of the underlying claims in and of themselves,

   9     which I think is important.

 10          So we asked for leave to amend from the Court.        And what

 11      they want us to do, Your Honor, is they want to sanction us

 12      for asking.   They're saying asking for leave to amend is the

 13      same thing as pursuing a claim.      And I'll get to the specifics

 14      on that in a little bit.   But that's the frame.      Can we be

 15      sanctioned for asking a court, any court, even if it's the

 16      wrong court, for permission to bring the lawsuit?       They don't

 17      cite a single case that says that that, in and of itself, is

 18      sanctionable conduct, us asking.

 19          So I'd like to introduce some of the Respondents.

 20          Your Honor, may I have one of these waters?

 21               THE COURT:    Certainly.

 22               MR. SBAITI:    Thank you.

 23               THE COURT:    That's why they're there, by the way.

 24               MR. SBAITI:    I didn't know if they belonged to

 25      somebody else.




000069
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 73 of 852 PageID 1978
                                                                          37


   1                 THE COURT:    We've scattered water bottles around for

   2     people.

   3                 MR. SBAITI:    I appreciate it.   Thank you, Your Honor.

   4                 THE COURT:    So if you see these little ones, that's

   5     for anyone.

   6                 MR. SBAITI:    So, this is an org chart, and you'll see

   7     it as -- the exhibits that the Debtor's going to bring up.

   8     And when we talk about the DAF, Your Honor -- I don't know if

   9     that's visible to you.      We're on Slide 19, if you're looking

 10      at it on paper.    There's a little number at the lower right-

 11      hand corner.    The charitable DAF GP, LLP and then the

 12      Charitable DAF Holdco, Ltd. together are the principles of the

 13      Charitable DAF Fund, LP.       And so when we refer to the DAF or

 14      the Charitable DAF, that's really the entity structure that

 15      we're referring to.       And then the GP and Holdco Ltd. have a

 16      managing member.    It used to be Grant Scott at the time this

 17      was done.    Today, it's Mr. Mark Patrick, who's in the room,

 18      sitting next to Mr. Bridges.

 19          The DAF is a charitable fund.        It's funded over $32

 20      million, as the evidence will show, including Dallas-Fort

 21      Worth organizations, The Family Place, Dallas Children's

 22      Advocacy, Center for Brain Health, the Crystal Ray Initiative,

 23      Friends of the Dallas Police, Snowball Express, various

 24      community and education initiatives, Dallas Arts, museums, the

 25      Perot Museum, Dallas Zoo.      That evidence is undisputed, Your




000070
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 74 of 852 PageID 1979
                                                                         38


   1     Honor.   The DAF is a real fund.    It is a real charitable fund.

   2     It does real good in the community.

   3         Now, Respondents -- Holdco, which you will see at the

   4     bottom of that chart, is essentially the investment arm.

   5     There are assets that the DAF owns in various pots, and Holdco

   6     is the actual business engine that generates the money from

   7     those assets that then -- that then gets passed up to the

   8     charitable -- the four charitable foundations at the top.

   9         I'll go back to Slide 21.      And if you look at the top,

 10      Your Honor, the Dallas Foundation, Greater Kansas City

 11      Community, Santa Barbara Foundation, The Community Foundation

 12      of North Texas:   Those are the charities that then themselves

 13      bestow the funds onto the actual recipients.       So the money

 14      flows up as dividends or distributions, and then gets

 15      contributed.

 16          CLO Holdco invests those assets, and it's an important

 17      part of the business model, so that you're not sending out

 18      principal.   It's the money that CLO makes, the profits, if you

 19      will, that it is able to generate that gets donated and makes

 20      its way into the community.

 21          So there's an important feature to the structure in that

 22      it has to be able to generate money.      It's not just money that

 23      sits there and waits to be distributed.      There's active

 24      investing going on.

 25          Mr. Mark Patrick owns the control shares of the entities




000071
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 75 of 852 PageID 1980
                                                                          39


   1     comprising the DAF and CLO Holdco, as I showed you, and the

   2     beneficiary charitable foundations hold what we call

   3     beneficial interests, where they just get money.        They don't

   4     have a vote.

   5           Mr. Patrick cares about the public service the DAF engages

   6     in.   He's been an advisor to the DAF, CLO Holdco, and its

   7     predecessor, Mr. Scott, since its inception.        He receives no

   8     compensation for the job he's doing today.       And you'll hear

   9     how he became -- how he inured to the control position of the

 10      DAF and CLO Holdco from him, but it doesn't involve Mr.

 11      Dondero, and the absence of someone saying that it did, I

 12      think, is going to be striking by the end of the presentation

 13      of evidence.

 14            Their only argument against you, Your Honor, is going to

 15      be you just can't believe them.    But not believing witnesses

 16      is not a substitute for the lack of affirmative evidence.

 17            Mr. Patrick has said all along he authorized the filing of

 18      the motion for leave to add Mr. Seery to the lawsuit in

 19      District Court.   He doesn't believe the motion to amend

 20      violated this Court's orders, for the reasons stated in our

 21      responsive filings to the motions for contempt and show cause

 22      order.   That's why he authorized it.

 23            My firm, Sbaiti & Company, we're a small Dallas litigation

 24      boutique retained by the DAF and CLO Holdco to file the

 25      lawsuit.   We did an investigation.      I'm tickled to death that




000072
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 76 of 852 PageID 1981
                                                                         40


   1     Mr. Morris loved our complaint so much and gave us the

   2     compliment that we got it done in a short amount of time, but

   3     we did get it done in a short amount of time, because, in the

   4     end, it's a rather simple issue, as I was able to lay it out

   5     in about three or four bullet points in a previous slide.

   6         The written aspect of that doesn't take that long, as Your

   7     Honor knows, but the idea that there's a suspicion that we

   8     didn't write it or someone else wrote it and ghost-wrote it

   9     and gave it to us, which I think is the insinuation he was

 10      making, is completely unfounded.    There's no evidence of that.

 11          We carefully read Your Honor's orders.       We developed a

 12      good-faith basis, as required by Rule 11, that the lawsuit and

 13      the motion to add Mr. Seery were not filed in bad faith or for

 14      an improper purpose.   We don't think they're frivolous.       We

 15      don't think they're in violation of Your Honor's orders, given

 16      the current state of the law.

 17          Mr. Dondero is one of the settlors of the CRT, of the

 18      Charitable Remainder Trust that ultimately provided assets to

 19      CLO Holdco and the DAF.   He does care about the DAF's mission.

 20      I think Mr. Morris hit the nail on the head.       Of course Mr.

 21      Dondero cares about what happens to it.      He's one of the

 22      settlors, and it was his funds that initially were put into

 23      it, so he's allowed to care.    And I don't think him caring is

 24      insidious, and him caring doesn't mean he has control and

 25      doesn't mean he's the driving force behind some insidious




000073
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 77 of 852 PageID 1982
                                                                         41


   1     conspiracy that they're trying to insinuate exists.

   2         He is an advisor to the DAF and CLO Holdco.        It is a lot

   3     of money and it needs advice, and he's an advisor to Mr.

   4     Patrick.   We don't run away from any of those facts, Your

   5     Honor.

   6         We also don't run away from the fact that he was the

   7     source of some of the information that came in to that

   8     complaint and that he relayed some of that information.        The

   9     content, we do claim work product privilege and attorney-

 10      client privilege, because he's an agent of our client, and as

 11      lawyers doing an investigation, the content of our

 12      communications is protected under the attorney-client and work

 13      product privileges, as well as the joint interest privilege.

 14      But the fact that we admit that those communications happened,

 15      we're not running away from that fact.

 16          So, what does he have to do with this?       It's interesting

 17      that that opening argument you just heard spent about three

 18      minutes on contempt and the other fourteen or fifteen minutes

 19      or so on Mr. Dondero.   And only on Mr. Dondero.      There's a

 20      negative halo effect, I believe, that they're trying to get

 21      this Court to abide by.    They want to inflame Your Honor and

 22      hopefully capture -- cultivate and then capitalize on whatever

 23      antipathy you might have for Mr. Dondero, and then sweep us

 24      all in under that umbrella and sanction everybody just because

 25      he had some involvement.




000074
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 78 of 852 PageID 1983
                                                                         42


   1            But whatever involvement he has, which we admit he had

   2     some involvement in helping us marshal the facts, that's not a

   3     basis for us to be sanctioned if there isn't an actual

   4     sanctionable conduct that -- as we say there isn't.

   5            We think there's an ulterior motive.    That's why Mr.

   6     Morris just announced to Your Honor, Mr. Dondero controls it

   7     all.    The ulterior motive, I believe, is, down the line, when

   8     they want to argue some kind of alter ego theory, they want to

   9     lay that foundation here.    I don't think this is the

 10      appropriate time for that foundation, and I don't think any of

 11      the information and the evidence they're trying to marshal in

 12      front of you is really going to be relevant to the very

 13      specific question that's before Your Honor:       Does our motion

 14      asking the District Court to add Mr. Seery violate your order,

 15      or violate it in a way that can be -- that we can be

 16      sanctioned for?    We don't believe it violates it.

 17             So, the three core standards that have to be met.      First

 18      of all, civil contempt requires a valid, enforceable order.

 19      It's not debatable and it's not -- I don't think that's a

 20      shocking statement.    Then they have to have clear and

 21      convincing evidence of a violation of a specific unambiguous

 22      term therein.    Mr. Morris wants his version of the word pursue

 23      to be unambiguous, and I think the word pursue is unambiguous.

 24      But the way he wants you to construe it makes it completely

 25      ambiguous, and we'll -- I'll get to that in a moment.




000075
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 79 of 852 PageID 1984
                                                                          43


   1         Now, for sanctioning counsel, the Fifth Circuit has held

   2     you have to find bad faith.    We're adjudged under a slightly

   3     separate standard under the Fifth Circuit law.        So the

   4     contempt motion, though, to the extent it seeks to impose

   5     double and treble attorney's fees, those are in punitive

   6     fines.    They are not compensatory.     So criminal contempt

   7     standards are raised, and so they have to show a violation in

   8     bad faith.   In other words, our arguments that we're making

   9     have to be bad faith, not simply that we're wrong, and they

 10      have to show beyond a reasonable doubt, usually in front of a

 11      jury.    The U.S. Supreme Court explained the difference and the

 12      different procedural protections that have to be involved if

 13      they're really going to seek double and treble compensatory

 14      damages.

 15          Now, he's right.    Saying we intended -- saying that we

 16      didn't mean to violate it isn't necessarily a defense.         But

 17      what you're actually going to hear from him is the opposite

 18      argument, that even though we didn't violate it, we wanted to.

 19      That's what he says.   That's why he quoted you the opening

 20      section of our motion asking for permission to sue Mr. Seery,

 21      because that's a statement of purpose.       And he says you should

 22      sanction them right there.    That's literally what he said.

 23      It's right there, their purpose.       If intent is irrelevant to

 24      them, it's irrelevant as to us.    The fact that we wanted to

 25      sue Seery is fully admitted.    We don't deny the fact that we




000076
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 80 of 852 PageID 1985
                                                                         44


   1     believe Mr. Seery should be a defendant in this lawsuit.        But

   2     the fact that we didn't sue him is why we didn't violate the

   3     order.    And they can't say that the fact that we eventually

   4     wanted to sue him means we did violate the order.       That door

   5     swings both ways, Your Honor.

   6         We don't think any element is met.      The order, while writ

   7     large, prohibits suing Mr. Seery without permission, and we

   8     did not sue James Seery, pure and simple.      The July 12 --

   9     14th, 2020 order purports to reserve exclusively to this Court

 10      that which, according to the statutes and the case law, we

 11      believe the Court can't exclusively reserve to itself.        And

 12      Your Honor, the order prohibits commencing and pursuing a

 13      claim against Jim Seery without coming here first to decide

 14      the colorability of such a claim.

 15          They, I believe, admit that we didn't commence a claim

 16      against Jim Seery.   I think they've admitted that now.       So now

 17      we're talking about what does pursue mean?      We didn't pursue a

 18      claim against Jim Seery.   Is asking for leave to bring suit

 19      the same thing as pursuing a claim?      That's the question

 20      that's really before Your Honor.    Lawyers never talk of

 21      pursuing a claim that hasn't been filed.      We don't say, I'm

 22      pursuing a claim and I'm going to file it next week or next

 23      year.    Usually, that type of language is in an order, because

 24      when the order happens, there may already be claims against

 25      Mr. Seery.   And so the pursuit of claim is supposed to attack




000077
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 81 of 852 PageID 1986
                                                                         45


   1     those cases, to come here and show colorability, presumably,

   2     before they continue on with those lawsuits.       It doesn't mean

   3     asking for permission.

   4         If it did mean asking for permission, then complying with

   5     Your Honor's order would be a violation.      If the motion for

   6     leave is a violation because it is pursuing a claim, if I had

   7     filed that motion in this Court, it would still be pursuing a

   8     claim without Your Honor's permission.      I'd have to get

   9     permission just to ask for permission.      It puts us in this

 10      endless loop of, well, if asking for permission is pursuing a

 11      claim, and pursuing a claim is without permission violates the

 12      Court's order, we'd always be in violation of the Court's

 13      order just for asking, just for following Your Honor's edict.

 14               THE COURT:    I'm just, I'm going to interject.       You

 15      were supposed to, under the order, file a motion in this

 16      Court.

 17               MR. SBAITI:     I understand that, Your Honor, and I

 18      think that we can get to the specifics on why we disagree with

 19      how the motion went, Your Honor.    We hadn't sued Mr. Seery.

 20      So as long as we dealt with the order, which is what our

 21      position is, then we don't believe we violated the order.

 22               THE COURT:    You think the order was ambiguous,

 23      requiring a motion to be filed in the Bankruptcy Court?

 24               MR. SBAITI:     Your Honor, what we believe is that the

 25      order was ambiguous in terms of whether us asking for




000078
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 82 of 852 PageID 1987
                                                                         46


   1     permission in the District Court was in and of itself a

   2     violation of the order.   We don't think it was.      Actually, we

   3     don't think the order's ambiguous to that extent.       The second

   4     we file a suit against Mr. Seery and we don't have some

   5     resolution of the issue, then I think the question of

   6     sanctionability comes in.    But we never filed suit, Your

   7     Honor.

   8         The Court doesn't say I can't seek permission in the

   9     District Court or that we can't go to the District Court with

 10      -- which has general jurisdiction over this case, and has

 11      jurisdiction, we believe, over the actual case and controversy

 12      that's being raised.   But the idea of pursuit being a

 13      violation of the order, of the letter of that order, is

 14      nonsensical under that, it leads to an absurd result, and it's

 15      plainly vague and ambiguous, Your Honor.

 16          Asking Judge Boyle or asking a District Court for

 17      permission is not a violation of this Court's order, not the

 18      way it was written and not -- and I don't even believe it was

 19      a violation necessarily of the Court's -- of the language that

 20      the Court has.    We -- it doesn't unambiguously prevent us from

 21      asking the District Court for leave.

 22          The Court's order yesterday, Your Honor, applied this very

 23      rule.    The TRO -- you said the TRO did not specifically state,

 24      Turn your cell phone over.    And you denied motion for

 25      sanctions on that.   That's basically the argument we're making




000079
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 83 of 852 PageID 1988
                                                                          47


   1     here, Your Honor.    We think that was the correct ruling, and

   2     we think the same type of ruling applies here.

   3          Your order yesterday also determined that the Court

   4     ultimately believes that hiring lawyers to file motions should

   5     not be viewed as having crossed the line into contemptuous

   6     behavior.    That's essentially the argument they want you to

   7     buy, that there's somehow a vindictiveness behind this and an

   8     insidious plan to violate court orders, Your Honor.         We don't

   9     have any evidence of that.

 10                  THE COURT:    Okay.   Take the words vindictiveness and

 11      insidious out of the equation.       That's making things personal,

 12      and I don't like that.      The key is the literal wording of the

 13      order, is it not?

 14                  MR. SBAITI:    Your Honor, the key, I believe, is the

 15      --

 16                  THE COURT:    No entity may commence or pursue a cause

 17      of action of any kind against Mr. Seery relating in any way to

 18      his role as the chief executive officer and chief

 19      restructuring officer of the Debtor without the Bankruptcy

 20      Court first determining, after notice, that such claim or

 21      cause of action represents a colorable claim of willful

 22      misconduct or gross negligence against Mr. Seery and

 23      specifically authorizing such entity to bring such a claim.

 24      So I'm trying to understand why you argue that filing a motion

 25      asking the District Court for permission is not inconsistent




000080
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 84 of 852 PageID 1989
                                                                          48


   1     with this order.

   2                 MR. SBAITI:    Because it's not commencing a claim,

   3     Your Honor.    It's not commencing a claim against him.

   4                 THE COURT:    Okay.   So is your argument that if Judge

   5     Boyle authorizes amendment of the pleading to add Mr. Seery

   6     and then you do it, at that point they may have grounds for a

   7     motion for contempt, but not yet, because she has not actually

   8     granted your motion?

   9                 MR. SBAITI:    Correct, Your Honor.   I mean, in a

 10      nutshell.    In fact, that's one of -- I think that's probably

 11      our next argument.       We think, in a sense, this argument is

 12      incredibly premature.      There is three ways that this -- well,

 13      I'd like to address this, so I've got -- I've got a diagram

 14      that I think will actually help elucidate what our thought

 15      process was.

 16          There's three things she could have done.        She could have

 17      referred -- referred it to Your Honor, which is what we

 18      expected was likely to happen.

 19                  THE COURT:    But you didn't file a motion for referral

 20      of the motion before her.

 21                  MR. SBAITI:    Well, no, I don't mean in respect of

 22      enforcing the reference.       The referral we thought was most

 23      likely going to happen because it's an associated case, and we

 24      actually put those orders in front of her, so we expected that

 25      those orders would end up -- that the question would




000081
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 85 of 852 PageID 1990
                                                                         49


   1     ultimately end up in front of Your Honor on that basis.

   2         She could have denied our motion outright, in which case

   3     we haven't filed a claim, we haven't violated it, or she could

   4     have granted our motion and done one of two things.        She could

   5     have granted it to the extent that she thought leave would be

   6     proper but then referred it down, or she could have decided --

   7     taken the decision as the court with general jurisdiction and

   8     simply decided it all on her own.    She had all of those

   9     options, Your Honor, and none of them results in a claim being

 10      commenced or pursued without the leave of this Court, if leave

 11      is absolutely necessary, Your Honor.      And that's the point

 12      that we were trying to make.

 13          Your Honor, the -- there's -- you know, there's no

 14      evidence that, absent an order from a court with jurisdiction,

 15      that we were going to file a claim against Mr. Seery, that we

 16      were going to commence or pursue a claim against Mr. Seery.

 17      We were cognizant of Your Honor's order.      We considered that.

 18      And the reason we filed them the way we did is because,

 19      according to the statutes and the case law, this is the type

 20      of case that would be subject to a mandatory withdrawal of the

 21      reference.

 22          And so there's this paradox that arises, Your Honor.         And

 23      the paradox that arises is that we show up and immediately go,

 24      well, we need to be back in the District Court.       So we filed

 25      our motion there, and I don't think that was contemptuous, it




000082
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 86 of 852 PageID 1991
                                                                         50


   1     wasn't intended to be contemptuous of the Court, but we showed

   2     the orders to the Court, made the same arguments that we have

   3     been making here, that we believe that there's problems with

   4     the order, we believe the order oversteps its jurisdiction and

   5     maybe is unenforceable, and it's up to that District Court, as

   6     it has been in almost all of these other gatekeeper order

   7     cases that get filed.    None of them result in sanctions, Your

   8     Honor.   What they result in is a District Court deciding,

   9     well, either they refer it or they decide I don't need to

 10      refer it.   But I don't think that that is the same thing as

 11      commencing or pursuing a claim in the end, Your Honor, because

 12      all we did was ask for permission, and permission could have

 13      been denied or granted or granted in part.

 14          Your Honor, they haven't cited an injury.       You've heard

 15      the testimony, Your Honor, that they -- the first time they

 16      knew we had filed a motion -- which I don't understand why

 17      that's the first time they knew we had filed a motion; we told

 18      them we were going to file the motion -- was when I forwarded

 19      an email saying that it's been denied without prejudice, Your

 20      Honor.   Well, that means they didn't have to do any work to

 21      respond to the motion.   They didn't have to do any work to do

 22      any of the other things.

 23          And one hundred percent of the damages that they're going

 24      to say they incurred is the litigation of this contempt

 25      hearing or this sanction motion, as opposed to some other




000083
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 87 of 852 PageID 1992
                                                                         51


   1     simpler remedy, like going in to Judge Boyle and saying, Your

   2     Honor, all that needs to go, which is what they eventually

   3     did.    But they would have had to incur those costs anyway

   4     because they're now moving to enforce the reference.        They

   5     filed a 12(b)(6).    That briefing would have existed regardless

   6     of whether or not we had filed our motion, regardless of

   7     whether the sanctions hearing had commenced.

   8            Your Honor, I'm going to let my partner, Mr. Bridges,

   9     address this part of it, if I could.      I think that gets into

 10      more of the questions that you asked, and I think he can

 11      answer them a lot better than I can.

 12                  THE COURT:    Okay.

 13                  MR. SBAITI:    Thank you.

 14                  THE COURT:    That's fine.

 15                  MR. BRIDGES:    Thank you, Your Honor.   And I do want

 16      to address pointedly the questions that you're asking.        First,

 17      though, I was hoping to back up to some preliminary remarks

 18      that you made and say that I find the 200 orders a week just

 19      mindboggling.    It amazes me, and puts the entire hearing in a

 20      different perspective for me.      I'm grateful that you shared

 21      that with us.

 22             Your expression of regret about naming us violators was

 23      very meaningful to me.      It causes me -- well, the strong words

 24      in our brief were mine.      I wrote them.   And your expression of

 25      regret causes me to regret some of those words.       I'm hopeful




000084
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 88 of 852 PageID 1993
                                                                         52


   1     that you can understand, at least in part, our reaction out of

   2     concern.

   3         And Your Honor, it's awkward for me to talk about problems

   4     with your order, and that's the task that's come to me, to

   5     list and talk through four of them and why we think they put

   6     us in a really awkward position in deciding what to do in this

   7     case, in the filing of it, in where we filed it, and in how we

   8     sought leave to go forward against Mr. Seery.       That was

   9     awkward and difficult for us, and I'm hopeful that I can

 10      explain that and that you'll understand, if I'm blunt about

 11      problems with the order, that I mean it very respectfully.

 12      Two hundred orders a week is still very difficult for me to

 13      get my mind around.

 14          The four issues in the order start with the gatekeeping.

 15      Then, secondly, in the preliminary remarks, I made mention of

 16      the Applewood case and the notice that the order releases some

 17      claims.    Its effect of --

 18                 THE COURT:   And by the way, I mean, you might

 19      elaborate on the facts and holding of Applewood, because I

 20      came into this thinking Republic Supply v. Shoaf, and for that

 21      matter, as I said, Espinosa, were much more germane.        And so,

 22      you know, you'll have to elaborate on Applewood.       I remember

 23      that case, but it's just not one people cite as frequently as

 24      those two.

 25                 MR. BRIDGES:   Yes, Your Honor.    And our reply brief




000085
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 89 of 852 PageID 1994
                                                                         53


   1     devotes a page to the case, and I'm hopeful that I can

   2     remember it well enough to give you what you're looking for

   3     about it, but I would point you to our reply brief on that

   4     topic as well.

   5         The Shoaf case that Applewood quotes from and

   6     distinguishes and expressly limits, the Shoaf case actually

   7     has been cautioned and limited and distinguished numerous

   8     times, if you Shepardize it, and the Applewood case is the

   9     leading case, and it also is from the Fifth Circuit, that

 10      describes and cabins the effects of Shoaf.      And in Applewood,

 11      what happened is a bankruptcy confirmation order became final

 12      with releases in it, and the court held that exculpatory

 13      orders in a final order from the Bankruptcy Court do not have

 14      res judicata effect and do not release claims unless those

 15      claims are enumerated in the exculpatory order.       And --

 16               THE COURT:   Okay.   So it was about specificity more

 17      than anything else, right?

 18               MR. BRIDGES:   Yes, Your Honor. It was a --

 19               THE COURT:   Okay.

 20               MR. BRIDGES:   -- a blanket release, a blanket --

 21               THE COURT:   Okay.

 22               MR. BRIDGES:   -- exculpatory order that didn't

 23      specify what claims were released by what parties, and

 24      therefore the parties didn't have the requisite notice.

 25          In my mind, Your Honor, it's comparable to the Texas




000086
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 90 of 852 PageID 1995
                                                                          54


   1     Supreme Court's holdings on what's required in a settlement

   2     release in terms of a disclaimer of reliance, --

   3                THE COURT:   Okay.   But, again, --

   4                MR. BRIDGES:   -- that if you aren't --

   5                THE COURT:   -- it's about specificity --

   6                MR. BRIDGES:   Yes, Your Honor.

   7                THE COURT:   -- more than anything else?      And then

   8     we've got the U.S. Supreme Court Espinosa case subsequent.

   9                MR. BRIDGES:   Okay.   Your Honor, I'm not sure what

 10      Espinosa you're referring to.       Can you tell me why that

 11      applies?

 12                 THE COURT:   Well, it was a confirmation order.       It

 13      was in a Chapter 13 context.      And there were provisions that

 14      operated to discharge student loan debt, --

 15                 MR. BRIDGES:   Uh-huh.

 16                 THE COURT:   -- which, of course, cannot be discharged

 17      without a 523 action, a separate adversary proceeding.

 18      Nevertheless, the confirmation order operated to do what 523

 19      suggests you cannot do, discharge student loan debt through a

 20      plan confirmation order.

 21          The U.S. Supreme Court says, well, that's unfortunate that

 22      the confirmation order did something which it doesn't look

 23      like you can do, but no one ever objected or appealed.         That's

 24      my recollection of Espinosa.      So it seems to be the same

 25      holding as Republic Supply v. Shoaf.       And what I -- why I




000087
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 91 of 852 PageID 1996
                                                                         55


   1     asked you to elaborate on Applewood is because it does seem to

   2     deal with the specificity of the order versus the

   3     enforceability, no?

   4              MR. BRIDGES:   Your Honor, if it's not obvious

   5     already, I'm not prepared to argue Espinosa.       And your

   6     explanation of it is very helpful to me.      I think you're right

   7     that the specificity issue from Applewood is what we're

   8     relying on.   And it sounds like --

   9              THE COURT:   Okay.   So, that being the case, how was

 10      this order not specific?   Okay?

 11               MR. BRIDGES:   That's easy, Your Honor, because it

 12      doesn't say which parties are releasing which claims.         And

 13      what we're talking specifically about there -- as we go

 14      through the order, I can show you the language -- but what

 15      we're talking about specifically are the ordinary negligence

 16      and breach of fiduciary duty claims that your order doesn't

 17      provide for at all.   Rather, it says colorability of gross

 18      negligence or willful wrongdoing, if I remember the words

 19      precisely, that's what must be shown to pursue a case -- a

 20      cause of action against Mr. Seery, thereby -- thereby

 21      indicating that claims for mere negligence, not gross

 22      negligence, or breach of fiduciary duty, which is an even

 23      lesser standard, that those claims are prohibited entirely.

 24          And by having that kind of general all-encompassing

 25      release or exculpation for potential liability involving




000088
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 92 of 852 PageID 1997
                                                                         56


   1     negligence, and most importantly, fiduciary duty breach under

   2     the Advisers Act, that that kind of exculpation under

   3     Applewood is not enforceable and has no res judicata effect

   4     because it wasn't -- those claims weren't enumerated in the

   5     order.

   6         That for it to have the intended exculpatory effect, if

   7     that was what was intended, that the fiduciary duty claims and

   8     the parties who those claims may belong to would have to have

   9     been enumerated.

 10          And indeed, that kind of specificity, what was required in

 11      Applewood, isn't even possible for a claim that hasn't yet

 12      occurred for future conduct.   It's not possible to enumerate

 13      the details, any details, of a future claim, because the

 14      underlying act -- if the underlying basis, facts for that

 15      claim, haven't yet happened.   It's something to happen in the

 16      future.

 17          And here, that's what we're dealing with.       We're dealing

 18      with conduct that took place well after the January and July

 19      2020 orders that had that exculpatory effect.       Is -- is that

 20      clear?

 21                THE COURT:   Understood.

 22                MR. BRIDGES:   Thank you, Your Honor.     So, the four

 23      areas of the order, the four functions that the order does

 24      that are problematic to us that led us to do what we have done

 25      are the gatekeeping function; the release; the fact that by




000089
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 93 of 852 PageID 1998
                                                                         57


   1     stating sole jurisdiction, that it had a jurisdiction-

   2     stripping effect; and then, finally, jurisdiction asserting,

   3     where, respectfully, Your Honor, we think to some extent the

   4     order goes beyond what this Court's jurisdiction is.        And so

   5     that not only claiming exclusive jurisdiction, but claiming

   6     jurisdiction over all actions against Mr. Seery, as described

   7     in the order, is going too far.

   8         And those are the four issues I want to talk about one at

   9     a time, and here -- I went two screens instead of one.        There

 10      we go.   And here's the order.   I have numbered the highlights

 11      here out of sequence because this is the sequence that I wish

 12      to talk about them and that I think their significance to our

 13      decision applies.

 14          Before we get into the words of this July 16, 2020 order,

 15      I want to mention the January order as well.       Although the

 16      motion for contempt recites both orders, we don't actually

 17      think the January order applies to us, because our lawsuit

 18      against Mr. Seery is not about his role as a director at

 19      Strand in any way.   We didn't make an issue of that, other

 20      than in a footnote in our brief, because we don't think that

 21      distinction matters much since the orders essentially say the

 22      same things.

 23          I'm not sure that it matters whether we have potentially

 24      violated one order or two.   If Your Honor finds we've violated

 25      one, I think we're on the hook regardless.      If Your Honor




000090
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 94 of 852 PageID 1999
                                                                         58


   1     finds that we didn't violate the July order, I don't think you

   2     will find that we violated the January order, either.        So my

   3     focus is on the July order.

   4         The gatekeeping function comes from the preliminary

   5     language about commencing or pursuing a claim or cause of

   6     action against Mr. Seery.   And it says what you want us to do

   7     first before bringing such a claim.

   8         The second issue of the release comes a little bit later.

   9     It's the colorable claim of willful misconduct or gross

 10      negligence language.   In other words, because only claims of

 11      willful misconduct or gross negligence can pass the bar, can

 12      pass muster under this order, that lesser claims -- ordinary

 13      negligence and breach of fiduciary duty -- that those claims

 14      are released by this order.   That's the second argument.

 15          Third is your reference to sole jurisdiction and the

 16      effect that that has of attempting to say that other courts,

 17      courts of original jurisdiction, do not have jurisdiction

 18      because it solely resides here.    That's the third thing I want

 19      to address.

 20          And then the fourth is the notion that we have to come to

 21      this Court first for any action that fits the description of

 22      an action against Mr. Seery, when some actions are, through

 23      acts of Congress, removed from what this Court has the power

 24      to address.   Under 157(d) of Title 28, Your Honor, there are

 25      some kinds of actions which withdrawal of the reference is




000091
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 95 of 852 PageID 2000
                                                                         59


   1     mandatory, and therefore this court lacks jurisdiction to

   2     address those.

   3         And so those are the four issues I want to tackle,

   4     starting with the first, the gatekeeping.      Your Honor, Section

   5     28 -- Section 959 of Title 28 appears to be precisely on

   6     point.   It calls -- it is called by some courts an exception

   7     to the Barton Doctrine, which we believe is the only basis,

   8     the Barton Doctrine, for this Court to claim that it has

   9     jurisdiction or sole jurisdiction and can require us to come

 10      here first.    We think the Barton Doctrine is the only basis

 11      for that.    We haven't seen anything in the briefing from

 12      opposing counsel indicating there was another basis for it.

 13      We think we're talking about the Barton Doctrine here as the

 14      basis for that.

 15          959 is exception to the Barton Doctrine, and we think it

 16      explicitly authorizes what we have done.

 17          Secondly, Your Honor, the order, the gatekeeping functions

 18      of the order are too broad because of its incorporation of the

 19      jurisdictional problems and the release problem that we'll

 20      talk about later.    But for problem number one, the key issue

 21      that we're talking about is 959 as an exception to the Barton

 22      Doctrine.    And I went the wrong way.

 23                  THE COURT:   So, we could go down a lot of rabbit

 24      trails today, and I'm going to try not to do that, but are you

 25      saying the very common practice of having gatekeeping




000092
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 96 of 852 PageID 2001
                                                                         60


   1     provisions in Chapter 11 cases is just defective law under 28

   2     U.S.C. § 959(a)?

   3                MR. BRIDGES:   Can I say yes and no?

   4                THE COURT:   Okay.

   5                MR. BRIDGES:   Yes, to some extent, for some claims.

   6     No as to other claims to another extent.      We are not saying

   7     gatekeeping orders are altogether wrong, --

   8                THE COURT:   Okay.

   9                MR. BRIDGES:   -- no.

 10                 THE COURT:   Okay.

 11                 MR. BRIDGES:   There are problems with gatekeeping

 12      orders that do more than what the law, Section 959 in

 13      particular, allows them to do.

 14                 THE COURT:   Okay.   Be more explicit.   I'm not -- I

 15      think you're saying, no, except when certain situations exist,

 16      but I don't know what the certain situations are.

 17                 MR. BRIDGES:   And Your Honor, you're exactly right.

 18      It's complicated, and it takes a long explanation.        Let me

 19      start --

 20                 THE COURT:   Okay.   I really want to know, --

 21                 MR. BRIDGES:   Yeah, me, too.

 22                 THE COURT:   -- since I do these all the time, and

 23      most of my colleagues do.

 24                 MR. BRIDGES:   Thank you, Your Honor.    And 959 is on

 25      the screen.   Managers of any property --




000093
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 97 of 852 PageID 2002
                                                                         61


   1               THE COURT:   Uh-huh.

   2               MR. BRIDGES:    -- is what we're talking about,

   3     including debtors in possession.     Now, it starts off by saying

   4     trustees, receivers.     I mean, this is exactly what the Barton

   5     Doctrine is about, right?     We're talking about trustees and

   6     receivers, but not just them.     We're also talking about

   7     managers of any property, including debtors in possession, --

   8               THE COURT:   Uh-huh.

   9               MR. BRIDGES:    -- may be sued without leave of the

 10      court appointing that.     That's contrary to the Barton Doctrine

 11      so far.

 12          With respect to what I've numbered five here -- these

 13      numbers are mine -- the quote is directly verbatim out of the

 14      U.S. Code, but the numbering one through five is mine.        With

 15      respect to what acts or transactions in carrying on business

 16      connected with such property.

 17          And so, Your Honor, what we're talking about isn't Barton

 18      Doctrine is inapplicable, or you can't have a gatekeeping

 19      order for any claims, but it's about managers of property.

 20      And one of the hornbook examples of this is the grocery store

 21      that files for bankruptcy and then, when --

 22                THE COURT:   Slip-and-fall.

 23                MR. BRIDGES:    You've got it, Your Honor.

 24                THE COURT:   Uh-huh.

 25                MR. BRIDGES:    And because they're managing property,




000094
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 98 of 852 PageID 2003
                                                                         62


   1     --

   2               THE COURT:   So your cause of action, if it went

   3     forward, is the equivalent of a slip-and-fall --

   4               MR. BRIDGES:   Yes, Your Honor.

   5               THE COURT:   -- in a grocery store?

   6               MR. BRIDGES:   Yes, Your Honor.

   7               THE COURT:   Okay.   Let me skip ahead.     What about the

   8     last sentence of 959(a)?

   9               MR. BRIDGES:   959(b)?   Or 959(a)?

 10                THE COURT:   No, of 959(a).

 11                MR. BRIDGES:   What we're looking at here?

 12                THE COURT:   That's the sentence that I have always

 13      thought was one justification for a gatekeeper provision.         And

 14      I know, you know, a lot of others feel the same.

 15                MR. BRIDGES:   Are we talking about what I have listed

 16      in number five here?

 17                THE COURT:   No.   I'm talking about the last sentence

 18      of 959(a).   Such actions, okay, shall be subject to the

 19      general equity power of such court, you know, meaning the

 20      Bankruptcy Court, so far as the same may be necessary to the

 21      ends of justice, but this shall not deprive a litigant of his

 22      right to a trial by jury.

 23           Isn't that one of the provisions that lawyers sometimes

 24      rely on in arguing a gatekeeper provision is appropriate?

 25                MR. BRIDGES:   Certain --




000095
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 99 of 852 PageID 2004
                                                                         63


   1                 THE COURT:   You, Bankruptcy Judge, have the power,

   2     the general equity power, so far as the same may be necessary

   3     to the ends of justice?

   4                 MR. BRIDGES:   Your Honor, you bet.    Absolutely, there

   5     is equitable power to do more.     There's no doubt that there

   6     are reliance -- there is reliance on that in many instances.

   7     So I'm not sure -- I'm not sure I'm responding to your point.

   8                 THE COURT:   Well, again, I think this is the third or

   9     fourth argument down the line that really you start with in

 10      the analytical framework here, but I guess I'm just saying I

 11      always thought a gatekeeping provision was consistent,

 12      entirely consistent with 28 U.S.C. § 959(a), the last

 13      sentence.

 14                  MR. BRIDGES:   When you're dealing --

 15                  THE COURT:   You disagree with that?

 16                  MR. BRIDGES:   I do, Your Honor.

 17                  THE COURT:   Okay.

 18                  MR. BRIDGES:   And it's not that the Court lacks

 19      equitable powers to do more.     It's that those equitable powers

 20      are affected by when management of other parties, third

 21      parties' property is at issue.

 22          What we're talking about is similar to yesterday's

 23      contempt order.    When you set the basis of describing what it

 24      is that Highland's business is, that they're a registered

 25      investment advisor in the business of buying, selling, and




000096
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 100 of 852 PageID 2005
                                                                          64


   1     managing assets -- assets, of course, are property, and that

   2     property is not just Highland's, but it's third-party

   3     property, as if a railroad loses luggage belonging to its

   4     customers.   Rather than the railroad with a trustee appointed

   5     having mismanaged railroad property, we're talking about

   6     third-party property here, third-party property that belongs

   7     to the CLOs, about a billion dollars of assets in these CLO

   8     SPEs that Highland manages.

   9         And again, the slide that Mr. Sbaiti showed you showing

 10      Highland, yes, they manage their own assets, the assets of the

 11      Debtor, but also of the third parties, including the

 12      Charitable DAF and CLO Holdco, and that the Advisers Act

 13      imposes fiduciary duties on them that are unwaivable when

 14      they're doing that.

 15          In Anderson, the Fifth Circuit called 959 an exception to

 16      the rule requiring court's permission for leave to sue.         In

 17      Hoffman v. City of San Diego much more recently, relying on

 18      this statute again, the court rejected a Barton challenge and

 19      called it a statutory exception.     And in Barton itself, from a

 20      century ago, the U.S. Supreme Court even acknowledged there

 21      that where a receiver misappropriated the property of another

 22      -- not the debtor's property, the property of another -- that

 23      the receiver could still be sued personally, without leave of

 24      court.

 25          Absent Barton, absent applicability of the Barton




000097
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 101 of 852 PageID 2006
                                                                            65


   1     Doctrine, Your Honor, the gatekeeper order is problematic.

   2         Barton applies where a court has appointed a trustee, and

   3     I don't think, Your Honor, under the circumstances in this

   4     case, that it is fair to say Mr. Seery was appointed, as

   5     opposed to approved by this Court.       And it involves a

   6     trustee's actions under the powers conferred on him.         The

   7     Barton Doctrine is not about a broader exculpation of the

   8     trustee.

   9         Here, what the Debtor asked for in its motion for

 10      approval, approval of hiring Mr. Seery, what it asked for

 11      specifically in the motion was that the Court not interfere

 12      with corporate decisions absent a showing of bad faith, self-

 13      interest, or gross negligence, and asking the Court to uphold

 14      the board's decision to appoint Mr. Seery as the CEO as long

 15      as they are attributable to any rationale business purpose.

 16          At the hearing, Your Honor, at the hearing, we've quoted

 17      your comments saying that the evidence amply shows a sound

 18      business justification and reasonable business judgment on the

 19      part of the Debtor in proposing that Mr. Seery be CEO and CRO.

 20      Your Honor, respectfully, those words don't sound like the

 21      judge using its discretion to choose -- appoint a trustee.

 22      They sound like the Court exercising deference to the business

 23      judgment of a business.   And appropriately so.      We don't have

 24      trouble with application of the business judgment rule.         Our

 25      problem is with application of it and the Barton Doctrine.




000098
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 102 of 852 PageID 2007
                                                                          66


   1     Those two do not go together.    A trustee has protection

   2     because it's acting under color of the court that appointed

   3     it.   A court that merely deferred to someone else's

   4     appointment, that's not what the Barton Doctrine is about.

   5     The Barton Doctrine is about the court's function that the

   6     trustee takes on, not deference to the business judgment of

   7     the debtor in possession or the other fiduciary appointed by

   8     the court.

   9           Problem one was the gatekeeping.     Problem two is about the

 10      release and the Applewood case.    Your Honor, again, ordinary

 11      negligence and ordinary fiduciary duty breaches do not rise to

 12      the level of gross negligence and willful misconduct.        And

 13      because of that, the language of this order appears to be

 14      barring them entirely.   No entity may bring a lawsuit against

 15      Mr. Seery in certain circumstances without the Bankruptcy

 16      Court doing what?   Determining that the cause of action

 17      represents a colorable claim of willful misconduct or gross

 18      negligence against Mr. Seery.

 19            A breach of fiduciary duty under the Advisers Act can be

 20      unintentional, it can fall short of gross negligence by miles,

 21      and to exculpate Mr. Seery from those kinds of claims entirely

 22      is to make him no longer a fiduciary.      A fiduciary duty that

 23      is unenforceable makes someone not a fiduciary.        That's

 24      plainly not what Mr. Seery thinks his role is.       It's

 25      inconsistent with the Advisers Act.      And Your Honor, the




000099
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 103 of 852 PageID 2008
                                                                          67


   1     notion that he would not owe his clients fiduciary duties as

   2     he manages their assets would require disclosures under the

   3     SEC regulations.    It creates all kinds of problems to state

   4     that a fiduciary under the Advisers Act does not have

   5     enforceable fiduciary duties.    The order appears to be

   6     releasing all of those.    But for Applewood's specificity

   7     requirement, it would be doing that.

   8            As an asset manager under the Advisers Act, Mr. Seery is

   9     managing assets belonging to CLO Holdco and The Charitable

 10      DAF.    That's precisely what the District Court action is

 11      about, those fiduciary duties.    And Mr. Seery, in describing

 12      these recently in testimony here -- forgive me for reading

 13      through this, Your Honor, but it is pretty short -- Mr. Seery

 14      testifies, I think, from a high level, the best way to think

 15      about the Debtor is that it's a registered investment advisor.

 16      As a registered investment advisor, which is really any

 17      advisor of third-party money over $25 million, it has to

 18      register with the SEC and it manages funds in many different

 19      ways.    The Debtor manages approximately $200 million current

 20      values -- it was more than that of the start of the case -- of

 21      its own assets.

 22             I'm pausing there, Your Honor.    $200 million of its own

 23      assets, but we're about to talk about third-party assets.

 24             It doesn't have to be a registered investment advisor for

 25      those assets, but it does manage its own assets, which include




000100
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 104 of 852 PageID 2009
                                                                           68


   1     directly-owned securities, loans, from mostly related entities

   2     but not all, and investments in certain funds, which it also

   3     manages.

   4         And then here it comes:    In addition, the manager -- the

   5     Debtor manages about roughly $2 billion, $2 billion in total

   6     managed assets, around $2 billion in CLO assets, and then

   7     other entities, which are hedge funds or PE style.

   8         We also had to get a very good understanding of each of

   9     the funds that we manage.   And as I said, the Investment

 10      Advisers Act puts a fiduciary duty on Highland Capital to

 11      discharge its duty to the investors.       So while we have duties

 12      to the estate, we also have duties, as I mentioned in my last

 13      testimony, to each of the investors in the funds.

 14          Now, some of them are related parties, and those are a

 15      little bit easier.   Some of them are owned by Highland.         But

 16      there are third-party investors in these funds who have no

 17      relation whatsoever to Highland, and we owe them a fiduciary

 18      duty both to manage their assets prudently but also to seek to

 19      manage -- maximize value.

 20          Those duties do not require -- requires the opposite of

 21      what I mean.   They don't merely require avoiding gross

 22      negligence or willful wrongdoing.        When you're managing assets

 23      of others, the fiduciary duties that you owe are far stricter

 24      than that.   The highest duty known to law is a fiduciary duty.

 25          The order is inconsistent with that testimony,




000101
Case 3:21-cv-00842-B Document 43 Filed 07/13/21      Page 105 of 852 PageID 2010
                                                                             69


   1     acknowledging the fiduciary duties owed to The Charitable DAF

   2     and to CLO Holdco.       It appears to release the Debtor -- maybe

   3     not the Debtor.    My slide may be wrong about that.         It appears

   4     to release Seery from having to uphold these duties.

   5         In addition to problems with the gatekeeping under the

   6     Barton Doctrine, in addition to the release problem and

   7     Applewood and the unwaivable fiduciary duties under the

   8     Advisers Act, there's also a problem with telling other courts

   9     that they lack jurisdiction.       Your Honor knows bankruptcy

 10      court law -- bankruptcy -- and the Bankruptcy Code far better

 11      than I do, I'm certain.       But a first principle, I believe, of

 12      bankruptcy law is that this Court's jurisdiction is derivative

 13      of the District Court's.       And the only doctrine I've heard of

 14      that can allow this Court to exercise exclusive jurisdiction

 15      of the District Court that it sits in is the Barton Doctrine,

 16      which, again, is very problematic to apply in this case, for

 17      the reasons we've discussed already.

 18          By claiming to have -- by stating in the order that this

 19      Court has sole jurisdiction, it appears to either be inclusive

 20      of the District Court, which I understand Your Honor doesn't

 21      think her order can be read that way, but if it's not read

 22      that way, then it results in telling the District Court that

 23      it doesn't have the original jurisdiction that Congress has

 24      given it.    And that's problematic in the order as well.

 25                  THE COURT:    Let me ask you.     If you think the word




000102
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 106 of 852 PageID 2011
                                                                           70


   1     "power" had been used, or "authority," versus "jurisdiction,"

   2     that would have cured it?

   3              MR. BRIDGES:     I think there would still have been

   4     other problems.   Would it have cured this?       I don't think so,

   5     Your Honor, because, again, I think the only basis for that

   6     power is the Barton Doctrine.

   7              THE COURT:     Okay.

   8              MR. BRIDGES:     To listen to opposing counsel, you'd

   9     think that our jurisdictional argument was entirely about the

 10      jurisdiction stripping.    It's not.      Frankly, Your Honor,

 11      that's maybe even a lesser point.        A key problem here to is

 12      the assertion of jurisdiction, not over any of the claims, but

 13      over all of the claims, because of 157(d), Your Honor, because

 14      some claims, some causes of action, have been put outside the

 15      reach of bankruptcy, the Bankruptcy Court, and those actions

 16      may in some instances fit within your description of the cases

 17      that are precluded here.

 18          That's a problem jurisdictionally with this Court's

 19      ability to say it retains jurisdiction or that it has, that it

 20      asserts jurisdiction.    Over what?      Any kind of claim or cause

 21      of action against Mr. Seery relating in any way to his role as

 22      the chief executive officer and chief restructuring officer of

 23      the Debtor.

 24          Some claims that fit into that bucket also fit into the

 25      description in 157(d) of cases that require both consideration




000103
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 107 of 852 PageID 2012
                                                                          71


   1     of bankruptcy law and federal laws affecting interstate

   2     commerce or regulating it.    Right?     Some cases must fall into

   3     -- under 157(d), despite having something to do with Mr.

   4     Seery's role as a chief executive officer.       And Your Honor,

   5     the Advisers Act fiduciary duty claims asserted by Respondents

   6     in the District Court are such claims.      They cannot be decided

   7     without considering the Advisers Act.

   8         There are also RICO claims that, of course, require

   9     consideration of the RICO statute.       But the Advisers Act

 10      claims absolutely require consideration of both bankruptcy law

 11      and this Court's order exonerating -- exculpating Mr. Seery

 12      from some liability, in addition to the unwaivable fiduciary

 13      duties imposed by the Advisers Act.

 14          The assertion of jurisdiction here blanketed, in a blanket

 15      manner, over all claims against Mr. Seery in any way related

 16      to his CEO role is a 157(d) problem that the order has no --

 17      has no solution for and we see no way around.       157(d) requires

 18      withdrawal of the reference, makes it mandatory, when a case

 19      requires considerations of federal law implicating interstate

 20      commerce.

 21          Your Honor, we think we had to do it the way we did,

 22      filing in the District Court instead of filing here, in order

 23      to preserve our jurisdictional arguments.       To come to this

 24      Court with a motion and then what?       Immediately file a motion

 25      to withdraw the reference on our own motion here?        To come




000104
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 108 of 852 PageID 2013
                                                                            72


   1     here and ask for a decision on colorability, when first

   2     colorability would exclude the claims that we're trying to

   3     bring, at least some of them, the mere negligence, mere

   4     fiduciary duty breaches, because they don't rise to the level

   5     necessarily of gross negligence or willful wrongdoing.

   6         Your Honor, coming here and asking this Court to rule on

   7     that may well have waived our jurisdictional objections.

   8     Coming here to this Court and doing that and immediately

   9     filing a motion --

 10                  THE COURT:   I don't get it.

 11                  MR. BRIDGES:   The ordinary --

 12                  THE COURT:   Subject matter jurisdiction, if it's a

 13      problem, it's not waivable.

 14                  MR. BRIDGES:   The ordinary issue -- the ordinary

 15      waiver rule, Your Honor, is that when you come and ask for a

 16      court to rule on something, that you waive your right to -- to

 17      later -- you're estopped judicially from taking the contrary

 18      position.

 19                  THE COURT:   Okay.   Well, again, I don't get it.       If

 20      you filed your motion and I ruled in a way you didn't like,

 21      you would appeal to the District Court.

 22                  MR. BRIDGES:   Yes, Your Honor.     An appeal to the

 23      District Court, we would be entitled to do.         I understand, no

 24      matter what happens here, we can appeal to the District Court.

 25      That's different from whether or not, by coming here first,




000105
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 109 of 852 PageID 2014
                                                                          73


   1     have we waived or have we created an estoppel situation, in

   2     terms of arguing jurisdiction.

   3              THE COURT:   Okay.

   4              MR. BRIDGES:    Because of the problems with the order,

   5     we thought we were in a situation where coming here would

   6     waive rights that we could avoid waiving by asking in the

   7     District Court.

   8         In other words, there was a jurisdictional paradox:         How

   9     does a party ask a court to do something it believes the court

 10      lacks the power to do?   That's the spot we found ourselves in.

 11      What were we supposed to do?

 12          Your Honor, it is definitely a complex case.        And coming

 13      into this matter with over 2,000 filings on the docket before

 14      I had ever heard of Highland was a very daunting thing, coming

 15      into this case.   And whether or not there's something that we

 16      missed is certainly possible, but these orders that are the

 17      subject of the contempt motion, these orders are not things

 18      that we overlooked.   These are things that we studied

 19      carefully, that we did not ignore or have disdain for, but

 20      that affected and changed our actions.

 21          And in the Slide #3 from Mr. Morris's -- from Mr. Morris's

 22      presentation, in his third slide, he quotes from the first

 23      page of our motion for leave, the motion that he says exhibits

 24      our contemptuous behavior.

 25          The second paragraph is kind of tiny print there, Your




000106
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 110 of 852 PageID 2015
                                                                            74


   1     Honor, and it's not highlighted, but I'd like to read it.

   2     Seery is not named in the original complaint, but this is only

   3     out of an abundance of caution due to the Bankruptcy Court in

   4     HCM's pending Chapter 11 proceeding having issued an order

   5     prohibiting the filing of any causes of action against Seery

   6     in any way related to his role at HCM, subject to certain

   7     prerequisites.   In that order, the Bankruptcy Court also

   8     asserts sole jurisdiction over all such causes of action.

   9         Your Honor, our intent was not to violate the order.           Our

 10      intent was to be cautious about how we proceeded, to fully

 11      disclose what we were doing, and to do it in a District Court

 12      that absolutely could refer the matter here to this Court for

 13      a decision, but to do it in a way that didn't waive our

 14      jurisdictional arguments, that didn't waive our arguments

 15      regarding the release of the very claims we were trying to

 16      bring, by first having to prove that they were colorful claims

 17      of willful misconduct or gross negligence, when we were trying

 18      to assert claims that weren't willful negligence or gross --

 19      gross negligence or willful misconduct.      That was what I was

 20      trying to say.

 21          Your Honor, this was not disregard of your order.         If

 22      we're wrong on the law, we're wrong on the law, but it's not

 23      that we disregarded your order or lacked respect for it.           We

 24      disclosed it.

 25          Mr. Morris has argued in the briefs that we attempted to




000107
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 111 of 852 PageID 2016
                                                                          75


   1     do this on an ex parte basis.    Your Honor, we did not attempt

   2     to do this on an ex parte basis.     And if there are errors,

   3     they probably are mine.    I know one error is mine.      On the

   4     civil cover sheet in the filing in the District Court, I noted

   5     and passed on that we should check the box for related case

   6     and list this case on there.    I did not follow up to make sure

   7     that it happened, and administratively, it didn't happen.          We

   8     did not check the box on the civil cover sheet.        Mr. Morris is

   9     correct that we failed to do that.       He's incorrect that that

 10      was sneaky or intentional.    It was my error, having noticed it

 11      but not followed up.

 12          Your Honor, similarly, the argument that we didn't serve

 13      them with the motion I think is disingenuous.       What happened,

 14      Your Honor, is that counsel for the Debtor had agreed to

 15      accept service of the complaint itself against the Debtor

 16      before the motion for leave, and after accepting service, I

 17      was under the impression that they'd be monitoring the docket,

 18      especially when I emailed them, informed them that we were

 19      filing the motion for leave to amend, because I was required

 20      to submit a certificate of conference on that motion.        I

 21      informed them in a polite email.     The polite email is not

 22      quoted in their brief.    It is included in the record, and it's

 23      quoted in full in our brief.

 24          The email exchange indicates to them, Thank you for

 25      pointing out the Court's orders.     We've carefully studied them




000108
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 112 of 852 PageID 2017
                                                                            76


   1     and we don't think what we're doing is a violation of those

   2     orders.

   3         That we didn't serve them is because we thought they

   4     already knew that the motion was coming and would be

   5     monitoring the docket, and we didn't know which lawyers they

   6     were going to have make an appearance in that case, so we

   7     wouldn't have known who to serve.        But if not serving them --

   8     first, the Rules do not require that service.         But if not

   9     serving them out of politeness --

 10                  THE COURT:    Mr. Morris is standing up.    Did --

 11                  MR. MORRIS:    I move to strike all of this, Your

 12      Honor.    If Counsel wants to take the stand and raise his hand,

 13      he should testify under oath.       I'm just going to leave it at

 14      that.    He's not on their witness list.

 15                  THE COURT:    All right.   I overrule.   You can

 16      continue.

 17                  MR. BRIDGES:    Thank you, Your Honor.

 18          If failure to serve them was an error, it was mine.            I

 19      know of no rule that requires it.

 20                  THE COURT:    Can I ask you, you were talking about the

 21      cover sheet mistake in not checking the box.         What about your

 22      jurisdictional statement in the actual complaint not

 23      mentioning 28 U.S.C. § 1334 as a possible basis for subject

 24      matter jurisdiction?       Do you think that was a mistake as well,

 25      or was that purposeful, not necessary?




000109
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 113 of 852 PageID 2018
                                                                          77


   1               MR. BRIDGES:    Candidly, Your Honor, standing here

   2     right now, I have no recollection whatsoever of it.

   3               THE COURT:   You mention 28 U.S.C. § 1331, and then

   4     1367 supplemental jurisdiction, but you don't mention 1334.

   5               MR. BRIDGES:    I suspect it's true, but Mr. Sbaiti

   6     would have written that.

   7               THE COURT:     Okay.

   8               MR. BRIDGES:    I have no recollection of --

   9               THE COURT:   Okay.

 10                MR. BRIDGES:    -- making any decision at all --

 11                THE COURT:   All right.

 12                MR. BRIDGES:    -- with regards to that.

 13                THE COURT:   Okay.

 14                MR. BRIDGES:    Your Honor, you've been very patient

 15      with a very long opening argument, and I'm very grateful for

 16      that.   Please know that we take this Court's order seriously.

 17      We voluntarily appeared here before the Court ordered us to do

 18      so by filing our motion asking for a modification of the order

 19      we're accused now of having been in violation of.

 20          And the last thing I'd like to say, Your Honor, Mr.

 21      Morris's brief claims that the first he knew of the motion,

 22      the motion seeking leave to add Mr. Seery to the District

 23      Court claim, the first he knew of that was when Mr. Sbaiti

 24      forwarded him the District Court's order dismissing that

 25      motion, denying that motion without prejudice.




000110
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 114 of 852 PageID 2019
                                                                          78


   1         Your Honor, in a civil contempt proceeding, where the

   2     issue is compensating, not punishing, if the aggrieved party

   3     didn't even know about the action until it had been denied by

   4     the District Court, we submit that there can be no harm from

   5     that having taken place.

   6         That's all I have for opening.       Thank you, Your Honor.

   7              THE COURT:    All right.    Thank you.

   8         Before we give you a time check, do we have other opening

   9     statements?

 10               MR. ANDERSON:     Yes.    Yes, Your Honor.   Michael

 11      Anderson on behalf of Mr. Patrick.       If we need to take a

 12      break, that's fine, too.

 13               THE COURT:    Well, how long do you plan to use?

 14               MR. ANDERSON:     No more than ten minutes, for sure.

 15               THE COURT:    Let's go ahead and do that, and then

 16      we'll take a break.

 17               MR. POMERANTZ:     Your Honor, after, I would ask the

 18      opportunity to respond to Mr. Bridges' argument.        Probably

 19      another ten minutes.

 20               THE COURT:    All right.    Let's go ahead and take a

 21      ten-minute break.   And Mr. Taylor, you're going to have

 22      something, because you --

 23               MR. TAYLOR:    Five.

 24               THE COURT:     Okay.     We'll take a ten-minute break.

 25      And Nate, can you give them a time?




000111
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 115 of 852 PageID 2020
                                                                          79


   1                THE CLERK:   I'm showing it was about 59-1/2 minutes.

   2                THE COURT:   Fifty-nine and a half?     And is that

   3     subtracting some for my questioning?

   4                THE CLERK:   I stopped whenever you talked, maybe a

   5     little over --

   6                THE COURT:    Okay.   So he stopped it whenever I asked

   7     questions and you answered, so 59 minutes has been used by the

   8     Respondents.

   9         All right.    We'll take a ten-minute break.      We'll come

 10      back at 11:35.

 11                 THE CLERK:   All rise.

 12          (A recess ensued from 11:25 a.m. to 11:37 a.m.)

 13                 THE COURT:   All right.    We're going back on the

 14      record in the Highland matter.       We have further opening

 15      statements.    Counsel, you may proceed.

 16         OPENING STATEMENT ON BEHALF OF MARK PATRICK, RESPONDENT

 17                 MR. ANDERSON:   Thank you.    May it please the Court,

 18      Counsel.   Michael Anderson on behalf of Respondent, Mark

 19      Patrick.

 20          Your Honor, after listening to this and looking at the

 21      filings in this case, this issue of whether there's contempt

 22      -- and I would argue there's not -- is ripe for decision.          We

 23      have no real undisputed facts for purposes of the contempt

 24      issue.   We have your Court's July order, the subject of Mr.

 25      Bridge's arguments.     We have the Plaintiffs in the underlying




000112
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 116 of 852 PageID 2021
                                                                           80


   1     lawsuit at issue.   They commenced the lawsuit in April of this

   2     year.   There's absolutely nothing improper about that filing.

   3     It's not subject to the contempt.        A week later, there is a

   4     motion for leave to add Mr. Seery.        That's the issue.   There's

   5     no dispute over that.    There's no dispute that Mr. Patrick

   6     authorized the filing of the motion for leave.

   7         And so then the question becomes we look at the Court's

   8     July order, did a motion for leave, did that violate the terms

   9     of the order?   The motion for leave is not commencing a

 10      lawsuit.    It's also not pursuing a claim, because whether or

 11      not the Court grants the motion, denies the motion, or

 12      whatever the Court does, nothing happened, because the day

 13      after the motion for leave was filed it was dismissed sua

 14      sponte without prejudice because not all parties had been

 15      served in the case.

 16          It was permission asked one day.        The matter was mooted

 17      the following day by the District Court.        And so that is

 18      completely undisputed.

 19          And so the question is, is asking permission, is that

 20      commence?   I think everybody says there's no way that's

 21      commencing a lawsuit because you have asked permission.          The

 22      question, then, is it pursuing a claim?       And the argument,

 23      well, no, that's not pursuing a claim; it's asking permission.

 24          And I think it's also important to note that when the

 25      motion for leave was filed, there were no secrets there.          I




000113
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 117 of 852 PageID 2022
                                                                          81


   1     mean, I'm coming in this after the fact, representing Mr.

   2     Patrick.   You look at a motion for leave, and right there on

   3     Page 1 it talks about Your Honor's order.       Page 2, it quotes

   4     the order and it gives the reasons, there's arguments being

   5     made as to why that order doesn't bar adding Mr. Seery as a

   6     defendant in the lawsuit, many of the arguments that Mr.

   7     Bridges made.

   8         So that's where we are.    And so when I hear, hey, we've

   9     got six hours, three hours and three hours, and we're going to

 10      split this up, you know, maybe too simplistic from Fort Worth,

 11      but I'm like, wait a second, this is all undisputed.        It's

 12      totally undisputed.   The -- whether or not the prior order is

 13      enforceable or not enforceable, those are all legal arguments.

 14      You know, no witnesses are necessary for that.       And as I

 15      understood, right before we broke, counsel stood up and he's

 16      going to do what generally doesn't happen in opening

 17      statements, which is respond to opening statements, which

 18      shows that that's a legal issue.

 19          And so it really does come down to undisputed facts.

 20      There's no testimony.   No -- nothing is necessary.       And a lot

 21      of what this comes down to is the old statement, you know, is

 22      it better to ask forgiveness or permission?       And usually that

 23      statement comes up when somebody has already done something:

 24      Hey, I'm going to go do it anyway and I'll ask for forgiveness

 25      later.   Well, what the Plaintiffs in the underlying case did




000114
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 118 of 852 PageID 2023
                                                                          82


   1     was ask permission.   Motion for leave.     That is not

   2     contemptuous.   And there's literally no damages.       As was

   3     pointed out, by the time counsel found out, it had already

   4     been dismissed.

   5         The last thing I want to point out, Your Honor, is that

   6     the argument from opposing counsel was, well, under Rule 15 of

   7     the Federal Rules of Civil Procedure, since parties hadn't

   8     answered yet, the Plaintiffs in the underlying case could have

   9     just simply added Mr. Seery as a defendant and moved on that

 10      way, but then that would be another ball of wax and then we

 11      would be addressing issues as far as whether or not there is a

 12      violation of the Court's order, notwithstanding Mr. Bridge's

 13      arguments.   But then we would have those issues.       But that's

 14      not what happened.    Everybody knows that's not what happened.

 15      It was a motion for leave that was resolved the following day.

 16          And so, Your Honor, for those reasons, and those

 17      undisputed reasons, we would request that the Court at the end

 18      of this hearing deny the request for sanctions and a contempt

 19      finding against our client, Mr. Patrick.

 20          Mr. Phillips is going to address one brief issue

 21      bankruptcy-wise I believe that was raised earlier.

 22               THE COURT:    Okay.   Mr. Phillips?

 23               MR. PHILLIPS:    Your Honor, thank you very much.

 24      Louis M. Phillips on behalf of Mark Patrick.

 25          The only thing that I would point out, Your Honor, and I'm




000115
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 119 of 852 PageID 2024
                                                                          83


   1     going to do -- try to simplistically, because that's about the

   2     level at which I operate, boil down the questions about the

   3     order.

   4         This order was an employment order.       The problem that Mr.

   5     Bridges has elucidated to Your Honor is that the precise

   6     effect, one of the precise effects of that order is to bar the

   7     claims of third parties that arise into the future on the

   8     basis of the employment of Mr. Seery, because the order

   9     required that all claims asserting gross negligence or willful

 10      misconduct need to be brought before you to determine that

 11      they're colorable.

 12          One question I have is, does it apply to the lawsuit that

 13      was filed?   Doesn't apply unless the effect of the order was

 14      to release those claims and preclude any party from bringing

 15      those claims at all.   And while you can say correctly that

 16      this Court issues gatekeeper orders all of the time, one thing

 17      I cannot imagine that you would say is that in employment

 18      orders you release claims of third parties existing and as may

 19      arise in the future that could be brought against the party

 20      employed to be a CRO of a debtor, who, by his own testimony,

 21      says we do all kinds of stuff in the billions of dollars for

 22      third parties that we owe fiduciary duties to.

 23          There's no way, Your Honor, that you were considering your

 24      July order to bar third-party claims arising from breach of

 25      fiduciary duties by Mr. Seery to third parties who held third-




000116
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 120 of 852 PageID 2025
                                                                          84


   1     party claims that did not involve some assertion that, in his

   2     capacity as CRO, he was in some way acting within the scope of

   3     his authority as CRO for the Debtor and yet committed

   4     negligence against the Debtor.

   5         Now, if the order was asserting that you know what a lot

   6     of people in this courtroom know, that the standard of

   7     liability for a CRO doing work for a debtor, just like the

   8     standard of liability for the president of a corporation or an

   9     officer of the corporation, is as long as you're within the

 10      course and scope of your employment, your actions for the

 11      corporation have -- can -- the corporation takes care of you

 12      because there's no personal claim unless you're outside the

 13      scope, and you're outside the scope if you commit gross

 14      negligence or willful misconduct.

 15          That, if you're restating the standard of care and

 16      standard of liability for a CRO, we have no problem with that,

 17      because Mr. Patrick did not authorize a cause of action

 18      arising against Mr. Seery against the Debtors for damage to

 19      the Debtors.   He authorized the filing of a complaint in the

 20      District Court with jurisdiction for a third-party claim for

 21      breach of a fiduciary duty to a third party that Mr. Seery

 22      admits he owes, and then sought leave because they didn't

 23      understand the order that Your Honor issued.       It couldn't have

 24      been to release the breach of fiduciary duty claims that

 25      wouldn't rise to gross negligence or willful misconduct, it




000117
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 121 of 852 PageID 2026
                                                                          85


   1     couldn't be that, but it might be.       But if it did, under an

   2     employment order?   That's very different from Espinosa, that's

   3     very different from Shoaf, when you're at the end of a case in

   4     a confirmation of a plan and you're talking about matters

   5     arising in the past.

   6         This order, if it has the effect it could be read to have,

   7     precludes any third party from asserting a breach of fiduciary

   8     duty against Seery for actions that violate the duty to that

   9     third party, when Seery's biggest job, it looks to us like, is

 10      running third-party money.    That could not have been what Your

 11      Honor was thinking.

 12          And so all I'm pointing out is I'm trying to distill down.

 13      The lawsuit doesn't involve gross negligence or willful

 14      misconduct allegations.    It involves breach of fiduciary duty,

 15      breach of the Advisers Act, et cetera, et cetera.        Mr. Patrick

 16      authorized that lawsuit.

 17          Now, what we're here for today is to determine whether the

 18      complaint, which was not against the Debtor -- which was not

 19      against Seery, the motion for leave, which did not -- all they

 20      did was ask for permission, not forgiveness.       And we can't

 21      understand how the Debtor should be saying, all they had to do

 22      was amend.   Well, if they amended, would we be in hotter water

 23      than we are today for asking for permission to sue?        I think

 24      we would have been, that should have been the prescribed

 25      course, when we are more concerned and we are more risk-averse




000118
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 122 of 852 PageID 2027
                                                                            86


   1     by asking for leave rather than just amending by right.

   2     Absolutely, that makes no sense.        We can't be held to be more

   3     contemptuous because we asked for permission, when we could

   4     have just sued him, because they're saying asking for

   5     permission was wrong.      Certainly, suing him would have been

   6     wrong.    That would have been easier.

   7                THE COURT:    But Mr. Phillips, the issue is you all

   8     didn't come to the Bankruptcy Court and ask permission.

   9                MR. PHILLIPS:    Look at your order, Your Honor.

 10                 THE COURT:    It's right in front of me.

 11                 MR. PHILLIPS:    Right.    That order either doesn't

 12      apply to the claims that were brought or it released the

 13      claims that were brought.        That's our point.   It couldn't have

 14      released them.    Does it apply to them?        Thank you.

 15                 THE COURT:    Okay.    Mr. Taylor?

 16                 MR. TAYLOR:    Good morning.

 17                 THE COURT:    Good morning.

 18                 OPENING STATEMENT ON BEHALF OF JAMES DONDERO

 19                 MR. TAYLOR:     Your Honor, Clay Taylor on behalf of Jim

 20      Dondero.    I'll be very brief because I know we've already

 21      spent a lot of time on opening argument.         But I do think it is

 22      appropriate to, one, first look at who brought the lawsuit,

 23      CLO Holdco & DAF.    That was authorized -- it's undisputed it

 24      was authorized by Mr. Patrick.       There is no dispute about

 25      that.    There's no dispute who the Plaintiffs are.          But yet my




000119
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 123 of 852 PageID 2028
                                                                          87


   1     client is up here as an alleged violator.

   2         I think it's very clear, as all the parties have said,

   3     there's no dispute as to there's an order, there was a

   4     complaint, and there was a motion for leave.

   5         It seems to me that the rest of the evidentiary hearing

   6     that you may be about to go through is going to be about pin

   7     the blame on Mr. Dondero.   It is undisputed that he is not a

   8     control person for the DAF or CLO Holdco.       The only type of

   9     evidence you will hear is going to be insinuation that he

 10      somehow controls Mr. Patrick and used to control Mr. Scott.

 11      There will be no direct evidence that he authorized this or

 12      that he's the control person and the proper corporate

 13      authorized representative that signed off on the --

 14          It seems to me, Your Honor, first of all, that's a

 15      discrete issue that should be able to be decided separately

 16      from this, and the first gating issue is, was there indeed a

 17      violation of this Court's order?     It would seem to me that

 18      there is no disputes about those facts and that we should

 19      bifurcate that, and if you then find that there is a violation

 20      and find that there is any even need to move into who the

 21      alleged violators are, that then we could have that

 22      evidentiary portion.   But there is no reason to do that now

 23      before there's even been found to be a violation.

 24               THE COURT:    All right.   Thank you.

 25          All right.   Well, someone made the point rebuttals in




000120
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 124 of 852 PageID 2029
                                                                           88


   1     opening statements are not very common, --

   2                MR. POMERANTZ:   Your -- Your --

   3                THE COURT:   -- but you can use your three hours

   4     however you want.

   5                 OPENING STATEMENT ON BEHALF OF THE DEBTOR

   6                MR. POMERANTZ:   Your Honor, I didn't intend to stand

   7     up.

   8                THE COURT:   Okay.

   9                MR. POMERANTZ:   I also didn't intend to have the

 10      motion to modify the sealing order presented to Your Honor,

 11      which it was in the course of that opening argument.        And

 12      despite your comments at the beginning of the hearing, the

 13      Movants have taken Your Honor down a series of rabbit holes

 14      that have really no relevance to the contempt motion.        And

 15      notwithstanding, as I said, your ruling that basically the

 16      contempt would go first and the modification would go second,

 17      there they were, persistent in making all the arguments why

 18      this Court should modify the order.

 19            They're just really trying to obfuscate the simple issue

 20      that Mr. Morris presented and raised at the beginning of the

 21      hearing:   Did they violate the order by pursuing a claim?         We

 22      think the answer is undoubtedly yes.

 23            I'm not going to try to address each of the issues they

 24      raised in connection with the modification motion in detail.

 25      I have a lengthy presentation.    I'll do it at the appropriate




000121
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 125 of 852 PageID 2030
                                                                          89


   1     time.   But there are a few issues I want to address.       I want

   2     to address one of the last points Mr. Bridges raised first.

   3     If they thought that the order was a problem, they could have

   4     filed their motion to modify that order before Your Honor.

   5     They could have had that heard first.      There was no statute of

   6     limitations issue in connection with the HarbourVest matter.

   7     They could have come to Your Honor to do that.       But no, they

   8     didn't.   They went to the District Court first, and it was

   9     only after we filed our contempt motion that they came back

 10      and said, well, Your Honor, you should modify the order.

 11      Their argument that if they did that there would have been

 12      waiver and estoppel is just an after-the-fact justification

 13      for what they did and what they tried to do, which was

 14      unsuccessful.   They tried to have the District Court make the

 15      decision.

 16          And why?    Your Honor, they've filed motions to recuse

 17      before Your Honor.   They -- they -- it's no secret the disdain

 18      they have for Your Honor's rulings as it relates to them.

 19      They wanted to be out of this courtroom and in another

 20      courtroom.

 21          And their belated argument, Mr. Bridges falling on the

 22      sword, that they failed to check the box, inadvertent, it's on

 23      me, it's very curious.   Because if they had done so and had

 24      referred to the correct 1334 jurisdictional predicate, as Your

 25      Honor had mentioned, the complaint would have been referred to




000122
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 126 of 852 PageID 2031
                                                                           90


   1     this Court and the entire trajectory of the proceedings would

   2     have been different.   They would have had the opportunity to

   3     take their shot to go to District Court and argue that your

   4     order didn't apply.

   5         Your Honor, they say the January 9th order is not

   6     relevant.   It is entirely relevant.      It covered the

   7     independent directors and their agents.       Yes, Mr. Seery is an

   8     independent director, but he was also an agent of the

   9     independent directors and carried out the duties.         You heard

 10      argument at the July 16th hearing that Mr. Seery had been

 11      acting as the chief executive officer for several months.          And

 12      why is it important?   Mr. Bridges said, well, if we violated

 13      one order, we violated the other.        It's important because,

 14      Your Honor, number one, Mr. Dondero supported that order.          We

 15      would never have had an independent board in this case if Mr.

 16      Dondero, the decision-making -- of the Debtor at that time,

 17      supported that order and supported the exculpations that are

 18      now claimed to have been invalid.

 19          And also Your Honor heard testimony at the confirmation

 20      hearing that the independent directors would never have taken

 21      this job, would never have taken this job because of the

 22      potential for litigation, litigation that we've now had to

 23      endure for several months.    So to come back 16 months later

 24      and say, well, you know, you couldn't really exculpate them,

 25      it's really an employment order:     It was an employment order.




000123
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 127 of 852 PageID 2032
                                                                          91


   1     They know it.    We know it.   Your Honor knows it.     It was a

   2     resolution of corporate governance issues that changed the

   3     whole trajectory of the case, and luckily it -- luckily, Your

   4     Honor approved it.

   5         The question just is whether they violated the order,

   6     period.    And I'll have a lot to say about res judicata, but I

   7     won't go in too much in detail, but I will just briefly

   8     address their arguments.   They're correct and the Court is

   9     correct that there's a difference between Applewood and Shoaf.

 10      And Your Honor got the exact difference.       In one case, a

 11      release was not specific, Applewood.      In one case it was.

 12      Shoaf hasn't been discredited by Applewood.       It was different

 13      facts.    In fact, Shoaf relied on two Supreme Court cases, the

 14      Stoll case and the Chicot case, both for the propositions that

 15      a court that enters an order, a clear order, even if it didn't

 16      have jurisdiction, that cannot be attacked in res judicata.

 17      So here what we have is clear, unambiguous, you come to this

 18      Court before commencing or pursuing a claim.       That's the

 19      clarity.    The focus on the releases, that's not what we're

 20      here for today, that's not what we're here for on a contempt

 21      motion, on whether the release covered them or it didn't cover

 22      them.    We're here on the clear issue of did they violate the

 23      language, and we submit that they did.

 24          And similarly, Espinosa applies.       Your Honor, just to

 25      quote some language, "Appellees could have moved to remand the




000124
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 128 of 852 PageID 2033
                                                                           92


   1     action to state court after it improperly -- after its

   2     improper removal to the federal court or challenge the

   3     district court's exercise in jurisdiction on direct appeal.

   4     Because they did neither, they are now barred by principles of

   5     res judicata."

   6         Res judicata actually does apply, and I will speak about

   7     it in much more detail in the modification motion.

   8         With respect to Barton, Your Honor, we disagree with their

   9     argument that Mr. Seery is not a court-appointed agent.          We've

 10      briefed it extensively in our motion to modify.         Barton

 11      applies to debtors in possession.        Barton applies to general

 12      partners of the debtor.   Barton applies to chief restructuring

 13      orders -- officers who are approved by the debtor.         And it

 14      applies to general counsel who are appointed by the chief

 15      restructuring order.   Officer.

 16          So the argument that Barton is somehow inapplicable is

 17      just wrong.   Your Honor knows that.      Your Honor has written

 18      extensively on Barton in connection with your Ondova opinion.

 19          Some of the argument about 959 is all wrong, as well.

 20      Your Honor got it right that 959 applies to slip-and-fall

 21      cases or torts, injuries to parties that are strangers to this

 22      process.   There is a legion of cases that I will cite to Your

 23      Honor in connection with argument.       959 does not apply here.

 24      There's nothing more core to this case than the transactions

 25      surrounding the resolution of the HarbourVest claims.




000125
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 129 of 852 PageID 2034
                                                                          93


   1         We also disagree, Your Honor, that the complaint is

   2     subject to mandatory withdrawal of the reference.        We've --

   3     one of our exhibits in the motion to modify is our motion to

   4     enforce the reference.   We think Movants have it completely

   5     wrong.   This is not the type of case that will be subject to

   6     withdrawal -- mandatory withdrawal of the reference, and in

   7     any event, for this contempt motion, it's irrelevant.

   8         And they argue -- one of the other points Mr. Bridges

   9     raises is that, because this Court would not have had

 10      jurisdiction under 157 because of the mandatory withdrawal,

 11      then Your Honor could not legally act as a gatekeeper.         But

 12      they haven't addressed Villegas v. Schmidt.       We've raised it

 13      throughout this case.    And again, in these series of

 14      pleadings, they don't even address it.      And Villegas v.

 15      Schmidt was a Barton case.    It was a Barton case where the --

 16      where the argument was that Barton does not apply because it's

 17      a Stern claim and the Bankruptcy Court would not have

 18      jurisdiction.    And Villegas said no, it does apply.      And Your

 19      Honor even cited that in your Ondova case.       And why does it

 20      apply?   Because there's nothing inconsistent with a Bankruptcy

 21      Court having exclusive decision to make a Barton

 22      determination.

 23          In fact, in that case Villegas said, you can't go to the

 24      District Court for that decision, it is the Bankruptcy Court's

 25      decision.




000126
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 130 of 852 PageID 2035
                                                                          94


   1          So, again, it's a red herring, Your Honor.       Your Honor had

   2     the ability to act as an exclusive gatekeeper for these types

   3     of actions.

   4          With that, Your Honor, I'll leave the rest of my argument

   5     for the next motion.

   6               THE COURT:    All right.   Thanks.

   7          All right.   Nate, let's give everyone their time.

   8               THE CLERK:    That was just about eight and a half

   9     additional from the Debtor, and then altogether the other ones

 10      were just shy of fourteen minutes.       Thirteen minutes and fifty

 11      seconds for the other three combined.        Do you want me to --

 12                THE COURT:    Yes, I meant for Debtor combined versus

 13      --

 14                THE CLERK:    Oh.   Oh.

 15                THE COURT:    Respondents combined.

 16                THE CLERK:    So that would be twenty one and a half

 17      the Debtor.   Let me do the math on the other one.        Be an hour

 18      twelve minutes and fifty seconds for --

 19                THE COURT:    Okay.   All right.    Got that?   Debtors

 20      used a total of twenty one and a half minutes; Responders have

 21      used an hour twelve minutes and fifty seconds.

 22           All right.   Mr. Morris, you may call your first witness.

 23                MR. MORRIS:    Thank you very much, Your Honor.      The

 24      Debtor calls Mark Patrick.

 25                THE COURT:    All right.   Mr. Patrick?    Please approach




000127
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 131 of 852 PageID 2036
                                  Patrick - Direct                        95


   1     our witness stand and I'll swear you in.       Please raise your

   2     right hand.

   3         (The witness is sworn.)

   4                 THE COURT:   All right.   Please take a seat.

   5                    MARK PATRICK, DEBTOR'S WITNESS, SWORN

   6                               DIRECT EXAMINATION

   7     BY MR. MORRIS:

   8     Q   Good afternoon, Mr. Patrick.

   9     A   Good afternoon.

 10      Q   Can you hear me okay?

 11      A   Yes, I can.

 12      Q   Okay.     You have before you several sets of binders.

 13      They're rather large.     But when I deposed you on Friday, we

 14      did that virtually.      Now, I may direct you specifically to one

 15      of the binders or one of the documents from time to time, so I

 16      just wanted you to know that those were in front of you and

 17      that I may be doing that.

 18          Mr. Patrick, since March 1st, 2001 [sic], you've been

 19      employed by Highland Consultants, right?

 20      A   I believe the name is Highgate Consultants doing business

 21      as Skyview Group.

 22      Q   Okay.     And that's an entity that was created by certain

 23      former Highland employees, correct?

 24      A   That is my understanding, correct.

 25      Q   And your understanding is that Mr. Dondero doesn't have an




000128
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 132 of 852 PageID 2037
                                 Patrick - Direct                         96


   1     ownership interest in that entity, correct?

   2     A   That he does not.    That is correct.

   3     Q   And your understanding is that he's not an employee of

   4     that -- of Skyview, correct?

   5     A   That is correct.

   6     Q   Prior to joining Skyview on March 1st, you had worked at

   7     Highland Capital Management, LP for about 13 years, correct?

   8     A   Correct.

   9     Q   Joining in, I believe, early 2008?

 10      A   Correct.

 11      Q   Okay.   I'm going to refer to Highland Capital Management,

 12      LP from time to time as HCMLP.    Is that okay?

 13      A   Yes.

 14      Q   While at HCMLP, you served as a tax counselor, correct?

 15      A   No, I would like to distinguish that.       I did have the

 16      title tax counsel.   However, essentially all my activities

 17      were in a non-lawyer capacity, being the client

 18      representative.   I would engage other outside law firms to

 19      provide legal advice.

 20      Q   Okay.   So you are an attorney, correct?

 21      A   Yes, I am.

 22      Q   But essentially everything you did at Highland during your

 23      13 years was in a non-lawyer capacity, correct?

 24      A   Correct.

 25      Q   In fact, you didn't even work in the legal department; is




000129
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 133 of 852 PageID 2038
                                 Patrick - Direct                          97


   1     that right?

   2     A   That is correct.     I worked for the tax department.

   3     Q   Okay.     Let's talk about how you became the authorized

   4     representative of the Plaintiffs.        You are, in fact,

   5     authorized representative today of CLO Holdco, Ltd. and

   6     Charitable DAF, LP, correct?

   7     A   Charitable DAF Fund, LP.     Correct.

   8     Q   And those are the two entities that filed the complaint in

   9     the United States District Court against the Debtor and two

 10      other entities, correct?

 11      A   Correct.

 12      Q   And may I refer to those two entities going forward as the

 13      Plaintiffs?

 14      A   Yes.

 15      Q   You became the authorized representative of the Plaintiffs

 16      on March 24th, 2021, the day you and Mr. Scott executed

 17      certain transfer documents, correct?

 18      A   Correct.

 19      Q   And you had no authority to act on behalf of either of the

 20      Plaintiffs before March 24th, correct?

 21      A   Correct.

 22      Q   The DAF controls about $200 million in assets, correct?

 23      A   The Plaintiffs, you mean?     CLO Holdco and Charitable DAF

 24      Fund, LP.

 25      Q   Yes.




000130
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 134 of 852 PageID 2039
                                Patrick - Direct                          98


   1     A   Around there.

   2     Q   Okay.    Let me try and just ask that again, and thank you

   3     for correcting me.    To the best of your knowledge, the

   4     Plaintiffs control about $200 million in assets, correct?

   5     A   Net assets, correct.

   6     Q   Okay.    And that asset base is derived largely from HCMLP,

   7     Mr. Dondero, or Mr. Dondero's trusts, correct?

   8     A   Can you restate that question again, Mr. Morris?

   9     Q   Sure.    The asset base that you just referred to is derived

 10      largely from HCMLP, Mr. Dondero, or donor trusts?

 11      A   The way I would characterize it -- you're using the word

 12      derived.    I would characterize it with respect to certain

 13      charitable donations --

 14      Q   Uh-huh.

 15      A   -- that were -- that were made at certain time periods,

 16      where the donors gave up complete dominion and control over

 17      the respective assets and at that time claimed a federal

 18      income tax deduction for that.

 19          I do -- I do believe that, as far as the donor group, as

 20      you specified, Highland Capital Management, I recall, provided

 21      a donation to a Charitable Remainder Trust that eventually had

 22      expired and that eventually such assets went into the

 23      supporting organizations.   And then I do believe Mr. Dondero

 24      also contributed to the Charitable Remainder Trust No. 2,

 25      which seeded substantial amounts of the original assets that




000131
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 135 of 852 PageID 2040
                                   Patrick - Direct                        99


   1     were eventually composed of the $200 million.        And then from

   2     time to time I do believe that Mr. Dondero's trusts made

   3     charitable donations to their respective supporting

   4     organizations.

   5     Q   Okay.    Thank you.

   6     A   Is that responsive?

   7     Q   It is.    It's very responsive.      Thank you very much.    So,

   8     to the best of your knowledge, the charitable donations that

   9     were made that form the bases of the assets came from those

 10      three -- primarily from those three sources, correct?

 11      A   Well, you know, there's two different trusts.         There's the

 12      Dugaboy Trust and the Get Good Trust.

 13      Q   Okay.

 14      A   Then you have Mr. Dondero and Highland Capital Management.

 15      So I would say four sources.

 16      Q   Okay.    All right.    Thank you.    Prior to assuming your role

 17      as the authorized representative of the Plaintiff, you had

 18      never had meaningful responsibility for making investment

 19      decisions, correct?

 20      A   I'm sorry.    You kind of talk a little bit fast.        Please

 21      slow it down --

 22      Q   That's okay.

 23      A   -- and restate it.      Thank you.

 24      Q   And I appreciate that.      And any time you don't understand

 25      what I'm saying or I speak too fast, please do exactly what




000132
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 136 of 852 PageID 2041
                                  Patrick - Direct                          100


   1     you're doing.    You're doing fine.

   2         Prior to assuming your role as the authorized

   3     representative of the Plaintiffs, you never had any meaningful

   4     responsibility making investment decisions.        Is that correct?

   5     A   To whom?

   6     Q   For anybody.

   7     A   Well, during my deposition, I believe I testified that I

   8     make investment decisions with respect to my family.         Family

   9     and friends come to me and they ask me for investment

 10      decisions.    I was -- in my deposition, I indicated to you that

 11      I was a board member of a nonprofit called the 500, Inc.           They

 12      had received a donation of stock in Yahoo!, and the members

 13      there looked to me for financial guidance.        As an undergrad at

 14      the University of Miami, I was a -- I was a finance major, and

 15      so I do have a variety of background with respect to

 16      investments.

 17      Q   Okay.    So you told me that from time to time friends and

 18      family members come to you for investing advice.         Is that

 19      right?

 20      A   That is correct.

 21      Q   And when you were a young lawyer you were on the board of

 22      a nonprofit that received a donation of Yahoo! stock and the

 23      board looked to you for guidance.        Is that correct?

 24                  THE COURT:   Just a moment.    I think there's an

 25      objection.




000133
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 137 of 852 PageID 2042
                                Patrick - Direct                           101


   1              MR. MORRIS:     Uh-huh.

   2              THE COURT:    Go ahead.

   3              MR. ANDERSON:      So far -- relevance, Your Honor.      This

   4     is way out of the bounds of the contempt proceeding.        You

   5     know, what he did as a young person with Yahoo! stock.         We're

   6     here to -- he authorized the lawsuit.      They filed the lawsuit.

   7     That's it.    Getting into all this peripheral stuff is

   8     completely irrelevant.

   9              THE COURT:    Your response?

 10               MR. MORRIS:     My response, Your Honor, is very simple.

 11      Mr. Patrick assumed responsibility, and you're going to be

 12      told that he exercised full and complete authority over a $200

 13      million fund that was created by Mr. Dondero, --

 14               THE COURT:    Okay.

 15               MR. MORRIS:     -- that funds -- that is funded

 16      virtually by Mr. Dondero, and for which -- Mr. Patrick is a

 17      lovely man, and I don't mean to disparage him at all -- but he

 18      has no meaningful experience in investing at all.

 19               THE COURT:    All right.   Counsel, I overrule.      I think

 20      there's potential relevance.

 21          And may I remind people that when you're back at counsel

 22      table, please make sure you speak your objections into the

 23      microphone.    Thank you.

 24      BY MR. MORRIS:

 25      Q   When you were a young lawyer, sir, you were on the board




000134
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 138 of 852 PageID 2043
                                Patrick - Direct                          102


   1     of a nonprofit that received a donation of Yahoo! stock and

   2     the board looked to you for guidance, correct?

   3     A   Yes, correct.

   4     Q   And -- but during your 13 years at Highland, you never had

   5     formal responsibility for making investment decisions,

   6     correct?

   7     A   That is correct.

   8     Q   Yeah.   In fact, other than investment opportunities that

   9     you personally presented where you served as a co-decider, you

 10      never had any responsibility or authority to make investment

 11      decisions on behalf of HCMLP or any of its affiliated

 12      entities, correct?

 13      A   That is correct.

 14      Q   And at least during your deposition, you couldn't identify

 15      a single opportunity where you actually had the authority and

 16      did authorize the execution of a transaction on behalf of

 17      HCMLP or any of its affiliates, correct?

 18      A   Correct.

 19      Q   And yet today you are now solely responsible for making

 20      all investment decisions with respect to a $200 million

 21      charitable fund, correct?

 22      A   Yes, but I get some help.     I've engaged an outside third

 23      party called ValueScope, and they have been as -- effectively

 24      working as a "gatekeeper" for me, and I look to them for

 25      investment guidance and advice, and I informally look to Mr.




000135
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 139 of 852 PageID 2044
                                  Patrick - Direct                        103


   1     Dondero since the time period of when I took control on March

   2     24th for any questions I may have with respect to the

   3     portfolio.     So I don't feel like I'm all by myself in making

   4     decisions.

   5     Q      Okay.   I didn't mean to suggest that you were, sir, and I

   6     apologize if you took it that way.       I was just asking the

   7     question, you are the person now solely responsible for making

   8     the investment decisions, correct?

   9     A      Yes.

 10      Q      Okay.   Let's talk about the circumstances that led to the

 11      filing of the complaint for a bit.       On April 12, 2021, you

 12      caused the Plaintiffs to commence an action against HCMLP and

 13      two other entities, correct?

 14      A      Correct.

 15      Q      Okay.   One of the binders -- you've got a couple of

 16      binders in front of you.     If you look at the bottom, one of

 17      them says Volume 1 of 2, Exhibits 1 through 18.        And if you

 18      could grab that one and turn to Exhibit 12.       Do you have that,

 19      sir?

 20      A      It says -- it says the original complaint.     Is that the

 21      right one?

 22      Q      That is the right one.   And just as I said when we were

 23      doing this virtually last Friday, if I ask you a question

 24      about a particular document, you should always feel free to

 25      review as much of the document as you think you need to




000136
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 140 of 852 PageID 2045
                                  Patrick - Direct                        104


   1     competently and fully answer the question.       Okay?

   2     A   Okay.   Thank you.

   3     Q   All right.   You instructed the Sbaiti firm to file that

   4     complaint on behalf of the Plaintiffs, correct?

   5     A   Correct.

   6     Q   And to the best of your recollection, the Plaintiffs

   7     returned -- retained the Sbaiti firm in April, correct?

   8     A   Correct.

   9     Q   So the Sbaiti firm was retained no more than twelve days

 10      before the complaint was filed, correct?

 11      A   Correct.

 12      Q   You personally retained the Sbaiti firm, correct?

 13      A   Correct.

 14      Q   And the idea of filing this complaint originated with the

 15      Sbaiti firm, correct?

 16      A   Correct.

 17      Q   Before filing -- withdrawn.     Before becoming the

 18      Plaintiffs' authorized representative, you hadn't had any

 19      communications with anyone about potential claims that might

 20      be brought against the Debtor arising out of the HarbourVest

 21      settlement, correct?

 22      A   That is correct.

 23      Q   Now, after you became the Plaintiffs' authorized

 24      representative, Mr. Dondero communicated with the Sbaiti firm

 25      about the complaint that's marked as Exhibit 12, correct?




000137
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 141 of 852 PageID 2046
                                 Patrick - Direct                         105


   1     A   Yes.    After he brought certain information to myself and

   2     then that I engaged the Sbaiti firm to launch an

   3     investigation, I also wanted Mr. Dondero to work with the

   4     Sbaiti firm with respect to their investigation of the

   5     underlying facts.

   6     Q   Okay.     Mr. Dondero did not discuss the complaint with you,

   7     but he did communicate with the Sbaiti firm about the

   8     complaint, correct?

   9     A   I believe -- yeah.     I heard you slip in at the end "the

 10      complaint."    I know he communicated with the Sbaiti firm.       I

 11      can't -- I can't say what he said or didn't say with respect

 12      to the -- the actual complaint.

 13      Q   Okay.     But Mr. Dondero got involved in the process

 14      initially when he brought some information to your attention

 15      concerning the HarbourVest transaction, correct?

 16      A   Correct.

 17      Q   And he came to you with the HarbourVest information after

 18      you assumed your role as the authorized representative of the

 19      Plaintiffs on March 24th, correct?

 20      A   That is correct.

 21      Q   At the time he came to you, you did not have any specific

 22      knowledge about the HarbourVest transaction, correct?

 23      A   I did not have specific knowledge with respect to the

 24      allegations that were laid out and the facts with respect to

 25      the original complaint.    I think I had just had a general




000138
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 142 of 852 PageID 2047
                                 Patrick - Direct                         106


   1     awareness that there was a HarbourVest something or other, but

   2     the specific aspects of it, I was unaware.

   3     Q   Okay.   And you had no reason to believe that Mr. Seery had

   4     done anything wrong with respect to the HarbourVest

   5     transaction at the time you became the Plaintiffs' authorized

   6     representative, correct?

   7     A   That is correct.

   8     Q   But you recall very specifically that some time after

   9     March 24th Mr. Dondero told you that an investment opportunity

 10      was essentially usurped or taken away, to the Plaintiffs' harm

 11      and for the benefit of HCMLP, correct?

 12      A   That is correct.

 13      Q   And after Mr. Dondero brought this information to your

 14      attention, you hired the Sbaiti firm to launch an

 15      investigation into the facts, correct?

 16      A   Correct.

 17      Q   You had never worked with the Sbaiti firm before, correct?

 18      A   That is correct.

 19      Q   And you had hired many firms as a tax counselor at HCMLP,

 20      but not the Sbaiti firm until now.       Correct?

 21      A   That is correct.

 22      Q   You got to the Sbaiti firm through a recommendation from

 23      D.C. Sauter, correct?

 24      A   Correct.

 25      Q   Mr. Sauter is the in-house counsel, the in-house general




000139
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 143 of 852 PageID 2048
                                   Patrick - Direct                        107


   1     counsel at NexPoint Advisors, correct?

   2     A      Correct.

   3     Q      You didn't ask Mr. Sauter for a recommendation for a

   4     lawyer; he just volunteered that you should use the Sbaiti

   5     firm.    Correct?

   6     A      That is correct.

   7     Q      And you never used -- considered using another firm, did

   8     you?

   9     A      When they were presented to me, they appeared to have all

 10      the sufficient skills necessary to undertake this action, and

 11      so I don't recall interviewing any other firms.

 12      Q      Okay.   Now, after bringing the matter to your action, Mr.

 13      Dondero communicated directly with the Sbaiti firm in relation

 14      to the investigation that was being undertaken.        Correct?

 15      A      That is correct.

 16      Q      But you weren't privy to the communications between Mr.

 17      Dondero and the Sbaiti firm, correct?

 18      A      I did not participate in those conversations as the --

 19      what I, again, considered Mr. Dondero as the investment

 20      advisor to the portfolio, and he was very versant in the

 21      assets.    I wanted him to participate in the investigation that

 22      the Sbaiti firm was undertaking prior to the filing of this

 23      complaint.

 24      Q      Let's talk for a minute about the notion of Mr. Dondero

 25      being the investment advisor.     Until recently, the entity




000140
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 144 of 852 PageID 2049
                                Patrick - Direct                           108


   1     known as the DAF had an investment advisory committee with HC

   2     -- an investment advisory agreement with HCMLP.        Correct?

   3     A   It's my understanding that the investment advisory

   4     agreement existed with the Plaintiffs, CLO Holdco, as well as

   5     Charitable DAF Fund, LP, up and to the end of February,

   6     throughout the HarbourVest transaction.

   7     Q   Okay.    And since February, the Plaintiffs do not have an

   8     investment advisory agreement with anybody, correct?

   9     A   That is correct.

 10      Q   Okay.    So Mr. Dondero, if he serves as an investment

 11      advisor, it's on an informal basis.      Is that fair?

 12      A   After I took control, he serves as an informal investment

 13      advisor.

 14      Q   Okay.    So there's no contract that you're aware of between

 15      either of the Plaintiffs and Mr. Dondero pursuant to which he

 16      is authorized to act as the investment advisor for the

 17      Plaintiffs, correct?

 18      A   That is correct.

 19      Q   Okay.    When you communicated with Grant Scott --

 20      withdrawn.   You know who Grant Scott is, right?

 21      A   Yes, I do.

 22      Q   He's the gentleman who preceded you as the authorized

 23      representative of the Plaintiffs, correct?

 24      A   Yes.

 25      Q   Okay.    You communicated with Mr. Scott from time to time




000141
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 145 of 852 PageID 2050
                                   Patrick - Direct                        109


   1     during February and March 2021, correct?

   2     A   February and March are the dates?        Yes.

   3     Q   Yeah.     And from February 1st until March 21st -- well,

   4     withdrawn.    Prior to March 24th, 2021, Mr. Scott was the

   5     Plaintiffs' authorized representative, correct?

   6     A   Correct.

   7     Q   And you have no recollection of discussing with Mr. Scott

   8     at any time prior to March 24th any aspect of the HarbourVest

   9     settlement with Mr. Scott.     Correct?

 10      A   Correct.

 11      Q   And you have no recollection of discussing whether the

 12      Plaintiffs had potential claims that might be brought against

 13      the Debtor.    Correct?    Withdrawn.    Let me ask a better

 14      question.

 15          You have no recollection of discussing with Mr. Scott at

 16      any time prior to March 24th whether the Plaintiffs had

 17      potential claims against the Debtor.       Correct?

 18      A   That is correct.

 19      Q   You and Mr. Scott never discussed whether either of --

 20      either of the Plaintiffs had potential claims against Mr.

 21      Seery.   Correct?

 22      A   Correct.

 23      Q   Okay.     At the time that you became their authorized

 24      representative, you had no knowledge that the Plaintiffs would

 25      be filing a complaint against the Debtors relating to the




000142
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 146 of 852 PageID 2051
                                  Patrick - Direct                        110


   1     HarbourVest settlement less than three weeks later, correct?

   2     A   That is correct.

   3     Q   Okay.     Now, if you look at Page 2 of the complaint, you'll

   4     see at the top it refers to Mr. Seery as a potential party.

   5     Do you see that?

   6     A   Yes, I do.

   7     Q   Okay.     You don't know why Mr. Seery was named --

   8     withdrawn.    You don't know why Mr. Seery was not named as a

   9     defendant in the complaint, correct?

 10      A   No, I -- that's correct.     I do not know why he was not

 11      named.   That's in the purview of the Sbaiti firm.

 12      Q   Okay.     And the Sbaiti firm also made the decision to name

 13      Mr. Seery on Page 2 there as a potential party when drafting

 14      the complaint, correct?

 15      A   That's what the document says.

 16      Q   And you weren't involved in the decision to identify Mr.

 17      Seery as a potential party, correct?

 18      A   That is correct.      Again, I rely on the law firm to decide

 19      what parties to bring a suit to -- against.

 20      Q   Okay.     Okay.   Do you recall the other day we talked about

 21      a document called the July order?

 22      A   Yes.

 23      Q   Okay.     That's in -- that's in Tab 16 in your binder, if

 24      you can turn to that.     And take a moment to look at it, if

 25      you'd like.    And my first question is simply whether this is




000143
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 147 of 852 PageID 2052
                                Patrick - Direct                          111


   1     the July order, as you understand it.

   2         (Pause.)

   3     A   Yes, it is.    I was just looking for the gatekeeper

   4     provision.   It looks like it's Paragraph 5.      So, --

   5     Q   Okay.    Thank you for that.   About a week after the

   6     complaint was filed, you authorized the Plaintiffs to file a

   7     motion in the District Court for leave to amend the

   8     Plaintiffs' complaint to add Mr. Seery as a defendant.

   9     Correct?

 10      A   I authorized the filing of a motion in Federal District

 11      Court that would ask the Federal District Court whether or not

 12      Jim Seery could be named in the original complaint with

 13      respect to the gatekeeper provision cited in that motion and

 14      with respect to the arguments that were made in that motion.

 15      Q   Okay.    Just to be clear, if you turn to Exhibit 17, the

 16      next tab, --

 17      A   I'm here.

 18      Q   -- do you see that document is called Plaintiffs' Motion

 19      for Leave to File First Amended Complaint?

 20      A   Yes.

 21      Q   And that's the document that you authorized the Plaintiffs

 22      to file on or about April 19th, correct?

 23      A   Correct.

 24      Q   Okay.    And can we refer to that document as the motion to

 25      amend?




000144
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 148 of 852 PageID 2053
                                  Patrick - Direct                        112


   1     A   Yes.

   2     Q   Okay.     You were aware of the July order at Tab 16 before

   3     you authorized the filing of the motion to amend.        Correct?

   4     A   Yes, because it's cited in the motion itself.

   5     Q   Okay.     And at the time that you authorized the filing of

   6     the motion to amend, you understood that the July order was

   7     still in effect.    Correct?

   8     A   Yes, because it was referenced in the motion, so my

   9     assumption would be it would still be in effect.

 10      Q   Okay.     Before the motion to amend was filed, you're -- you

 11      are aware that my firm and the Sbaiti firm communicated by

 12      email about the propriety of filing the motion to amend?

 13      A   Before it was filed?       Communications between your firm and

 14      the Sbaiti firm?    I would have to have my recollection

 15      refreshed.

 16      Q   I'll just ask the question a different way.        Did you know

 17      before you authorized the filing of the motion to amend that

 18      my firm and the Sbaiti firm had engaged in an email exchange

 19      about the propriety of filing the motion to amend in the

 20      District Court?

 21      A   It's my recollection -- and again, I could be wrong here

 22      -- but I thought the email exchange occurred after the fact,

 23      not before.    But again, I -- I just --

 24      Q   Okay.     In any event, on April 19th, the motion to amend

 25      was filed.    Correct?




000145
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 149 of 852 PageID 2054
                                    Patrick - Direct                       113


   1     A   Correct.

   2     Q   That's the document that is Exhibit 17.         And you

   3     personally authorized the Sbaiti firm to file the motion to

   4     amend on behalf of the Plaintiffs, correct?

   5     A   Correct.

   6     Q   And you authorized the filing of the motion to amend with

   7     knowledge -- withdrawn.

   8         Can you read the first sentence of the motion to amend out

   9     loud, please?

 10      A   Yeah.    (reading)     Plaintiffs submit this motion under Rule

 11      15 of the Federal Rules of Civil Procedure for one purpose:

 12      to name as defendant one James P. Seery, Jr., the CEO of

 13      defendant Highland Capital Management, LP (HCM) and the chief

 14      perpetrator of the wrongdoing that forms the basis of the

 15      Plaintiffs' causes of action.

 16      Q   And does that fairly state the purpose of the motion?

 17                  MR. SBAITI:    Objection, Your Honor.    Asks him to make

 18      a legal conclusion about the purpose of the legal motion filed

 19      in court that he didn't draft.

 20                  THE COURT:    Okay.   I overrule.   You can answer if you

 21      have an answer.

 22                  THE WITNESS:    It's always been my general

 23      understanding that the purpose of filing this motion was to go

 24      to the Federal District Court and ask that Court of reference

 25      to this Court whether or not Mr. Seery could be named with




000146
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 150 of 852 PageID 2055
                                Patrick - Direct                          114


   1     respect to the original complaint, citing again the gatekeeper

   2     provisions and citing the various arguments that we've heard

   3     much earlier.

   4     BY MR. MORRIS:

   5     Q   Okay.   You personally didn't learn anything between April

   6     9th, when the complaint was filed, and April 19th, when the

   7     motion to amend was filed, that caused you to authorize the

   8     filing of the motion to amend, correct?

   9     A   That is correct.

 10      Q   In fact, you relied on the Sbaiti firm with respect to

 11      decisions concerning the timing of the motion to amend.

 12      Correct?

 13      A   Correct.

 14      Q   And you had no knowledge of whether anyone acting on

 15      behalf of the Plaintiffs ever served the Debtor with a copy of

 16      the motion to amend.   Correct?

 17      A   Yes.    I have no knowledge.

 18      Q   Okay.   And you have no knowledge that the Sbaiti firm ever

 19      provided my firm with a copy of the motion to amend.        Correct?

 20      A   I cannot recall one way or another.

 21      Q   Okay.   You never instructed anyone on behalf -- acting on

 22      behalf of the Plaintiffs to inform the Debtor that the motion

 23      to amend had been filed, correct?

 24      A   That is correct.

 25      Q   And that's because you relied on the Sbaiti firm on




000147
Case 3:21-cv-00842-B Document 43 Filed 07/13/21      Page 151 of 852 PageID 2056
                                   Patrick - Direct                          115


   1     procedural issues, correct?

   2     A   That is correct.

   3     Q   You didn't consider waiting until the Debtor --

   4         (Interruption.)

   5     Q   -- had appeared in the action before authorizing the

   6     filing of the motion --

   7     A   Yeah, --

   8                 THE COURT:    Yes.    Y'all are being a little bit loud.

   9     Okay.

 10                  A VOICE:   Sorry.

 11                  MR. MORRIS:    No problem.

 12                  MR. PHILLIPS:    I've heard that before, Your Honor,

 13      and I apologize.

 14                  THE COURT:    I bet you have.     Thank you.

 15                  MR. MORRIS:    Admonish Mr. Phillips, please.

 16                  THE COURT:    Okay.

 17                  MR. MORRIS:     He's always the wild card.

 18                  MR. PHILLIPS:    I admonish --

 19                  MR. MORRIS:     He's always the wild card.

 20                  MR. PHILLIPS:    I admonish myself.

 21                  THE COURT:    All right.   I think he got the message.

 22      Continue.

 23      BY MR. MORRIS:

 24      Q   You didn't consider waiting until the Debtor had appeared

 25      in the action before filing the motion to amend, correct?




000148
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 152 of 852 PageID 2057
                                    Patrick - Direct                        116


   1     A   Again, I am the client and I rely upon the law firm that's

   2     engaged with respect to making legal decisions as to the

   3     timing and notice and appearance and what have you.         I'm a tax

   4     lawyer.

   5     Q   Okay.    You wanted the District Court to grant the relief

   6     that the Plaintiffs were seeking.        Correct?

   7     A   I wanted the District Court to consider, under the

   8     gatekeeper provisions of this Court, whether or not Mr. Seery

   9     could be named in the original complaint.        That's -- that,

 10      from my perspective, is what was desired.

 11      Q   All right.    You wanted the District Court to grant the

 12      relief that the Plaintiffs were seeking, correct?

 13                  MR. SBAITI:    Objection, Your Honor.     Asked and

 14      answered.

 15                  THE COURT:    Overruled.

 16                  THE WITNESS:    Again, I would characterize this motion

 17      as not necessarily asking for specific relief, but asking the

 18      Federal District Court whether or not, under the gatekeeper

 19      provision, that Mr. Seery could be named on there.          What

 20      happens after that would be a second step.          So I kind of -- I

 21      dispute that characterization.

 22      BY MR. MORRIS:

 23      Q   All right.    I'm going to cross my fingers and hope that

 24      Ms. Canty is on the line, and I would ask her to put up Page

 25      57 from Mr. Patrick's deposition transcript.




000149
Case 3:21-cv-00842-B Document 43 Filed 07/13/21      Page 153 of 852 PageID 2058
                                     Patrick - Direct                         117


   1                   THE COURT:    There it is.

   2                   MR. MORRIS:    There it is.   It's like magic.    Can we

   3     go down to Lines 18 through 20?

   4     BY MR. MORRIS:

   5     Q     Mr. Patrick, during the deposition on Friday, did I ask

   6     you this question and did you give me this answer?           Question,

   7     "Did you want the Court to grant the relief you were seeking?"

   8     Answer, "Yes."

   9     A     I -- and it was qualified with respect to Lines 12 through

 10      17.   In my view, when I answered yes, I was simply restating

 11      what I stated in Line 12.        I wanted the District Court to

 12      consider this motion as to whether or not Mr. Seery could be

 13      named in the original complaint or the amended complaint

 14      pursuant to the existing gatekeeper rules and the arguments

 15      that were made in that motion.        That's -- that's what I

 16      wanted.    And so then when I was asked, did you want the Court

 17      to grant the relief that you were seeking, when I answered

 18      yes, it was from that perspective.

 19      Q     Okay.    Thank you very much.    If the District Court had

 20      granted the relief that you were seeking, you would have

 21      authorized the Sbaiti firm to file the amended complaint

 22      naming Mr. Seery as a defendant if the Sbaiti firm recommended

 23      that you do so.      Correct?

 24      A     If the Sbaiti firm recommended that I do so.         That is

 25      correct.




000150
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 154 of 852 PageID 2059
                                   Patrick - Direct                       118


   1     Q   Okay.    Let's talk for a little bit about the line of

   2     succession for the DAF and CLO Holdco.       Can we please go to

   3     Exhibit 25, which is in the other binder?       It's in the other

   4     binder, sir.

   5         (Pause.)

   6     Q   I guess you could look on the screen or you can look in

   7     the binder, whatever's easier for you.

   8     A   Yeah.    I prefer the screen.    I prefer the screen.

   9     Q   Okay.

 10      A   It's much easier.

 11      Q   All right.    We've got it in both spots.      But do you have

 12      Exhibit 25 in front of you, sir?

 13      A   Yes, I do.

 14      Q   All right.    Do you know what it is?

 15      A   This is the organizational chart depicting a variety of

 16      charitable entities as well as entities that are commonly

 17      referred to the DAF.      However, when I look at this chart, I do

 18      not look at and see just boxes, what I see is the humanitarian

 19      effort that these boxes represent.

 20                  MR. MORRIS:    Your Honor, may I interrupt?

 21                  THE COURT:    You may.

 22                  MR. MORRIS:    Okay.

 23      BY MR. MORRIS:

 24      Q   I appreciate that, and when your lawyers get up to ask you

 25      questions, I bet they'll want to know just what you were about




000151
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 155 of 852 PageID 2060
                                   Patrick - Direct                        119


   1     to tell me.    But I just want to understand what this chart is.

   2     This chart is the DAF, CLO Holdco, structure chart.         Correct?

   3     A   Correct.

   4     Q   Okay.     And you were personally involved in creating this

   5     organizational structure, correct?

   6     A   I -- yes.

   7     Q   Okay.     And from time to time, the Charitable DAF Holdco

   8     Limited distributes cash to the foundations that are above it.

   9     Correct?

 10      A   Correct.

 11      Q   All right.    I want to talk a little bit more specifically

 12      about how this happens.      The source of the cash distributed by

 13      Charitable DAF Holdco Limited is CLO Holdco, Ltd., that

 14      entity, the Cayman Islands entity near the bottom.         Correct?

 15                  MR. ANDERSON:    Your Honor, I have an objection.

 16      Completely irrelevant.      I'm objecting on relevance grounds.

 17      This has nothing to do with the contempt proceeding.         We've

 18      already gone over that he authorized the filing of the

 19      complaint, that he authorized the filing of the motion to

 20      amend.   It's all in the record.      This is completely irrelevant

 21      at this point.

 22                  THE COURT:    Okay.   Relevance objection.   Your

 23      response?

 24                  MR. MORRIS:    I believe that it's relevant to the

 25      Debtor's motion to hold Mr. Dondero in contempt for pursuing




000152
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 156 of 852 PageID 2061
                                  Patrick - Direct                         120


   1     claims against Mr. Seery, in violation of the July 7 order.             I

   2     think an understanding of what the Plaintiffs are, how they're

   3     funded, and Mr. Dondero's interest in pursuing claims on

   4     behalf of those entities is relevant to the -- to the -- just

   5     -- it's just against him.     It's not against their clients,

   6     frankly.   It's just against Mr. Dondero.

   7                THE COURT:    I overrule.

   8                MR. MORRIS:    I'll try and -- I'll try and make this

   9     quick, though.

 10      BY MR. MORRIS:

 11      Q   CLO Holdco had two primary sources of capital.         Is that

 12      right?

 13      A   Two primary sources of capital?

 14      Q   Let me ask it differently.     There was a Charitable

 15      Remainder Trust that was going to expire in 2011, correct?

 16      A   That is correct.

 17      Q   And that Charitable Remainder Trust had certain CLO equity

 18      assets, correct?

 19      A   Correct.

 20      Q   And the donor to that Charitable Remainder Trust was

 21      Highland Capital Management, LP.       Correct?

 22      A   Not correct.   After my deposition, I refreshed my memory.

 23      There were two Charitable Remainder Trusts that existed, which

 24      I think in my mind caused a little bit of confusion.        The

 25      Charitable Remainder Trust No. 2, which is the one that




000153
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 157 of 852 PageID 2062
                                    Patrick - Direct                      121


   1     expired in 2011, was originally funded by Mr. Dondero.

   2     Q   Okay.     So, so the Charitable Remainder Trust that we were

   3     talking about on Friday wasn't seeded with capital from

   4     Highland Capital Management, it came from Mr. Dondero

   5     personally?

   6     A   That is correct.

   7     Q   Okay.     Thank you.    And the other primary source of capital

   8     was the Dallas Foundation, the entity that's in the upper

   9     left-hand corner of the chart.      Is that correct?

 10      A   No.

 11      Q   The -- you didn't tell me that the other day?

 12      A   You said -- you're pointing to the Dallas Foundation.

 13      That's a 501(c)(3) organization.

 14      Q   I apologize.     Did you tell me the other day that the

 15      Dallas Foundation was the second source of capital for HCLO

 16      Hold Company?

 17      A   No, I did not.     You --

 18          (Pause.)

 19      Q   Maybe I know the source of the confusion.        Is the Highland

 20      Dallas Foundation something different?

 21      A   Yes.    On this organizational chart, you'll see that it has

 22      an indication, it's a supporting organization.

 23      Q   Ah, okay.     So, so let me restate the question, then.      The

 24      second primary source of capital for CLO Holdco, Ltd. is the

 25      Highland Dallas Foundation.      Do I have that right?




000154
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 158 of 852 PageID 2063
                                Patrick - Direct                          122


   1     A   Yes.

   2     Q   Okay.   And the sources of that entity's capital were

   3     grantor trusts and possibly Mr. Dondero personally.        Correct?

   4     A   In addition -- per my refreshing my recollection from our

   5     deposition, the other Charitable Remainder Trust, I believe

   6     Charitable Remainder Trust No. 1, which expired later, also

   7     sent a donation, if you will, or assets to -- and I cannot

   8     recall specifically whether it was just the Highland Dallas

   9     Foundation or the other supporting organizations that you see

 10      on this chart.

 11      Q   But the source of that -- the source of the assets that

 12      became the second Charitable Remainder Trust was Highland

 13      Capital Management, LP.   Is that right?

 14      A   I think that is accurate from my recollection.         And again,

 15      I'm talking about Charitable Remainder Trust No. 1.

 16      Q   Okay.   So is it fair to say -- I'm just going to try and

 17      summarize, if I can.   Is it fair to say that CLO Holdco, Ltd.

 18      is the investment arm of the organizational structure on this

 19      page?

 20      A   Yes.

 21      Q   And is it fair to say that nearly all of the assets that

 22      are in there derived from either Mr. Dondero, one of his

 23      trusts, or Highland Capital Management, LP?

 24      A   Yes.    It's like the Bill Gates Foundation or the

 25      Rockefeller Foundation.   These come from the folks that make




000155
Case 3:21-cv-00842-B Document 43 Filed 07/13/21      Page 159 of 852 PageID 2064
                                   Patrick - Direct                          123


   1     their donations and put their name on it.

   2     Q   Okay.

   3                 MR. MORRIS:    Now, now, Your Honor, I'm going to go

   4     back just for a few minutes to how Mr. Scott got appointed,

   5     because I think that lays kind of the groundwork for his

   6     replacement.    It won't take long.

   7                 THE COURT:    Okay.    I have a question either --

   8                 MR. MORRIS:    Sure.

   9                 THE COURT:    -- for you or the witness.      I'm sorry,

 10      but --

 11                  MR. MORRIS:    Sure.    Yeah.

 12                  THE COURT:    -- the organizational chart, it's not

 13      meant to show everything that might be connected to this

 14      substructure, right?      Because doesn't CLO Holdco, Ltd. own

 15      49.02 percent of HCLOF, --

 16                  MR. MORRIS:    That --

 17                  THE COURT:    -- which gets us into the whole

 18      HarbourVest transaction issue?

 19                  MR. MORRIS:    You're exactly right, Your Honor.

 20                  THE COURT:    Okay.

 21                  MR. MORRIS:    But that's just an investment that HCLO

 22      Holdco made.

 23                  THE COURT:    Right.

 24                  MR. MORRIS:    Right?    And so I -- let me ask the

 25      witness, actually.




000156
Case 3:21-cv-00842-B Document 43 Filed 07/13/21       Page 160 of 852 PageID 2065
                                      Patrick - Direct                        124


   1                    THE COURT:    Okay.   Thank you.   Thank you.

   2                    MR. MORRIS:    Let me ask the witness.     Yeah.

   3                    THE COURT:    I just want my brain --

   4                    MR. MORRIS:    Right.

   5                    THE COURT:    -- to be complete on this chart.

   6     BY MR. MORRIS:

   7     Q      Mr. Patrick, there are three entities under CLO Holdco,

   8     Ltd.    Do you see that?

   9     A      Yes.

 10      Q      And does CLO Holdco, Ltd. own one hundred percent of the

 11      interests in each of those three entities?

 12      A      Yes.

 13      Q      Do you know why those three entities are depicted on this

 14      particular chart?       Is it because they're wholly-owned

 15      subsidiaries?

 16      A      Correct.

 17      Q      Okay.    And CLO Holdco, Ltd. has interests in other

 18      companies.       Isn't that right?

 19      A      It has other investments.       That is correct.

 20      Q      And the reason that they're not depicted on here is

 21      because they're not wholly-owned subsidiaries, they're just

 22      investments; is that fair?

 23      A      That is fair.

 24                     MR. MORRIS:    Does that--?

 25                     THE COURT:    Yes.




000157
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 161 of 852 PageID 2066
                                   Patrick - Direct                         125


   1                 MR. MORRIS:    Okay.

   2                 THE COURT:    Uh-huh.

   3     BY MR. MORRIS:

   4     Q   So, so let's go back to Mr. Grant for a moment.          Mr.

   5     Scott, rather.    Mr. Dondero was actually the original general

   6     partner.    If you look at this chart, while it's still up here,

   7     you see on the left there's Charitable DAF GP, LLC?

   8     A   Yes.

   9     Q   And the Charitable DAF GP, LLC is the general partner of

 10      the Charitable DAF Fund, LP.        Correct?

 11      A   Correct.

 12      Q   And on this chart, Grant Scott was the managing member of

 13      Charitable DAF GP, LLC.      Right?

 14      A   Correct.

 15      Q   Okay.    But Mr. Dondero was the original general partner of

 16      that entity, correct?

 17      A   That is correct.      But I do want to point out, I just note

 18      that the GP interest is indicating a one percent interest and

 19      the 99 interest to Charitable DAF Holdco.        I believe that's

 20      incorrect.    It's a hundred percent by Charitable DAF Holdco,

 21      Ltd., and the Charitable DAF GP interest is a noneconomic

 22      interest.    So that should actually reflect a zero percent to

 23      the extent it may indicate some sort of profits or otherwise.

 24      Q   Okay.    Thank you for the clarification.       Can you turn to

 25      Exhibit 26, please, in your binder?       And is it your




000158
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 162 of 852 PageID 2067
                                Patrick - Direct                          126


   1     understanding that that is the amended and restated LLC

   2     agreement for the DAF GP, LLC?

   3     A   Yes.

   4     Q   Okay.   And this was amended and restated effective as of

   5     January 1st, 2012, correct?

   6     A   Yes.

   7     Q   And if you go to the last page, you'll see there are

   8     signatures for Mr. Scott and Mr. Dondero, correct?

   9     A   Yes.

 10      Q   And Mr. Dondero is identified as the forming -- former

 11      managing member and Mr. Scott is identified as the new

 12      managing member.   Correct?

 13      A   Correct.   That's what the document says.

 14      Q   And it's your understanding that Mr. Dondero had the

 15      authority to select his successor.       Correct?

 16      A   Correct.

 17      Q   In fact, it's based on your understanding of documents and

 18      your recollection that Mr. Dondero personally selected Mr.

 19      Scott as the person he was going to transfer control to,

 20      correct?

 21      A   Upon advice of Highland Capital Management's tax

 22      compliance officer, Mr. Tom Surgent.

 23      Q   What advice did Mr. Surgent give?

 24      A   He gave advice that, because Mr. Dondero -- and this is

 25      what I came to an understanding after the fact of this




000159
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 163 of 852 PageID 2068
                                Patrick - Direct                          127


   1     transaction, because I was not a part of it -- that by Mr.

   2     Dondero holding that GP interest, that it would be -- the

   3     Plaintiffs, if you will, would be an affiliate entity for

   4     regulatory purposes, and so he advised that if he -- if Mr.

   5     Dondero transferred his GP interest to Mr. Scott, it would no

   6     longer be an affiliate, is my recollection.

   7     Q   Okay.    You didn't appoint Mr. Scott, did you?

   8     A   No.

   9     Q   That was Mr. Dondero.    Is that right?

 10      A   Yes.

 11      Q   Okay.    Let's go to 2021.   Let's come back to the current

 12      time.    Sometime in February, Mr. Scott called you to ask about

 13      the mechanics of how he could resign.       Correct?

 14      A   That is correct.

 15      Q   But the decision to have you replace Mr. Scott was not

 16      made until March 24th, the day you sent an email to Mr. Scott

 17      with the transfer documents.     Correct?

 18      A   That is correct.

 19      Q   And it's your understanding that he could have transferred

 20      the management shares and control of the DAF to anyone in the

 21      world.    Correct?

 22      A   Correct.

 23      Q   That's what the docu... that he had the authority under

 24      the documentation, as you understood it, to freely trade or

 25      transfer the management shares.    Correct?




000160
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 164 of 852 PageID 2069
                                    Patrick - Direct                        128


   1     A   Wait.     Now, let's be precise here.

   2     Q   Okay.

   3     A   Are you talking about the GP interests or the management

   4     shares held by Charitable DAF Holdco, Ltd.?

   5     Q   Let's start with the management shares.          Can you explain

   6     to the Court what the management shares are?

   7                 MR. ANDERSON:    Your Honor?    Hang on one second.     Your

   8     Honor, I want to object again on relevance.         We're going way

   9     beyond the scope of the contempt issue, whether or not --

 10                  MR. MORRIS:    This is about control.

 11                  MR. ANDERSON:    -- the motion to amend somehow

 12      violated the prior order of this Court.        Getting into the

 13      management structure, transfer of shares, that's way outside

 14      the bounds.    I object on relevance.

 15                  THE COURT:    Okay.   Relevance objection?

 16                  MR. MORRIS:    Your Honor, they have probably 30

 17      documents, maybe 20 documents, on their exhibit list that

 18      relate to management and control.        I'm asking questions about

 19      management and control.      Okay?   This is important, again, to

 20      (a) establish his authority, but (b) the circumstances under

 21      which he came to be the purported control person.

 22                  THE COURT:    Okay.   Overruled.   Go ahead.

 23                  THE WITNESS:    It might be helpful to look at the

 24      organizational chart, but if not -- but I'll describe it to

 25      you again.    With respect to the entity called --




000161
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 165 of 852 PageID 2070
                                   Patrick - Direct                       129


   1                MR. MORRIS:    Hold on one second.   Can we put up the

   2     organizational chart again, Ms. Canty, if you can?        There you

   3     go.

   4                THE WITNESS:    Okay.   So with respect to the

   5     Charitable DAF Holdco, Ltd., it is my understanding that Mr.

   6     Scott, he organized that entity when he was the independent

   7     director of the Charitable Remainder Trust, and he caused the

   8     issuance of the management shares to be issued to himself.

   9     And then those are, again, noneconomic shares, but they are

 10      control shares over that entity.

 11            And I think, to answer your question, is -- it -- he alone

 12      decides who he can transfer those shares to.

 13      BY MR. MORRIS:

 14      Q     Do I have this right, that whoever holds the noneconomic

 15      management shares has the sole authority to appoint the

 16      representatives for each of the Charitable DAF entities and

 17      CLO Holdco?   It's kind of a magic ticket, if you will?

 18      A     It -- I think there's a -- the answer really is no from a

 19      legal standpoint, because Charitable DAF Holdco is a limited

 20      partner in Charitable DAF Fund, LP, so it does not have

 21      authority -- authority under all -- the respective entities

 22      underneath that.   It could cause a redemption, if you will, of

 23      Charitable DAF Fund.      And so, really, the authority -- the

 24      trickle-down authority that you're referencing is with respect

 25      to his holding of the Charitable DAF GP, LLC interest.         It's a




000162
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 166 of 852 PageID 2071
                                  Patrick - Direct                        130


   1     member-managed Delaware limited liability company.        And from

   2     that, he -- that authority kind of trickles down to where he

   3     can appoint directorships.

   4     Q      All right.   I think I want to just follow up on that a

   5     bit.    Which entity is the issuer of the manager shares, the

   6     management shares?

   7     A      Yeah, the -- per the organizational chart, it is accurate,

   8     it's the Charitable DAF Holdco, Ltd. which issued the

   9     management shares to Mr. Scott.

 10      Q      Okay.   And that's why you have the arrow from Mr. Scott

 11      into that entity?

 12      A      Correct.

 13      Q      And do those -- does the holder of the management shares

 14      have the authority to control the Charitable DAF Holdco, Ltd.?

 15      A      Yes.

 16      Q      Okay.   And as the control person for the Charitable DAF

 17      Holdco, Ltd., they own a hundred -- withdrawn.        Charitable DAF

 18      Holdco Limited owns a hundred percent of the limited

 19      partnership interests of the Charitable DAF Fund, LP.

 20      Correct?

 21      A      Correct.

 22      Q      And so does the holder of that hundred percent limited

 23      partnership interest have the authority to decide who acts on

 24      behalf of the Charitable DAF Fund, LP?

 25      A      I would say no.   I mean, you know, just -- I would love to




000163
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 167 of 852 PageID 2072
                                 Patrick - Direct                         131


   1     read the partnership agreement again.      But I, conceptually,

   2     what I know with partnerships, I would say the limited partner

   3     would not.   It would be through the Charitable DAF GP, LLC

   4     interest.

   5     Q   The one on the left, the general partner?

   6     A   The general partner.

   7     Q   I see.    So when Mr. Scott transferred to you the one

   8     hundred percent of the management shares as well as the title

   9     of the managing member of the Charitable DAF GP, LLC, did

 10      those two events give you the authority to control the

 11      entities below it?

 12      A   Yes.

 13      Q   Thank you.   And so prior to the time that he transferred

 14      those interests to you, is it your understanding that Mr.

 15      Scott had the unilateral right to transfer those interests to

 16      anybody in the world?

 17      A   Yes.

 18      Q   Okay.    And you have that right today, don't you?

 19      A   Yes, I do.

 20      Q   If you wanted, you could transfer it to me, right?

 21      A   Yes, I could.

 22      Q   Okay.    But of all the people in the world, Mr. Scott

 23      decided to transfer the management shares and the managing

 24      member title of the DAF GP to you, correct?

 25      A   Restate that question again?




000164
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 168 of 852 PageID 2073
                                   Patrick - Direct                        132


   1     Q   Of all the people in the world, Mr. Scott decided to

   2     transfer it to you, correct?

   3     A   Yeah.    Mr. Scott transferred those interests to me.

   4     Q   Okay.    And you accepted them, right?

   5     A   Yes.

   6     Q   You're not getting paid anything for taking on this

   7     responsibility, correct?

   8     A   I am not paid by any of the entities depicted on this

   9     chart.

 10      Q   And Mr. Scott used to get $5,000 a month, didn't he?

 11      A   I believe that's what he testified to.

 12      Q   Yeah.    But you don't get anything, right?

 13      A   Correct.

 14      Q   In fact, you get the exact same salary and compensation

 15      from Skyview that you had before you became the authorized

 16      representative of the DAF entities and CLO Holdco.         Correct?

 17      A   Correct.

 18                  MR. MORRIS:    Okay.   Your Honor, if I may just take a

 19      moment, I may be done.

 20                  THE COURT:    Okay.

 21          (Pause.)

 22                  MR. MORRIS:    Your Honor, I have no further questions.

 23                  THE COURT:    All right.   Pass the witness.    Any

 24      examination of the witness?

 25                                 CROSS-EXAMINATION




000165
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 169 of 852 PageID 2074
                                 Patrick - Cross                           133


   1     BY MR. ANDERSON:

   2     Q   Mr. Patrick, I just had a few follow-up questions.          When

   3     you authorized the filing of the lawsuit against Highland

   4     Capital Management, LP, Highland HCF Advisor Limited, and

   5     Highland CLO Funding, Limited, when that lawsuit was filed in

   6     April of this year, was Mr. Seery included as a defendant?

   7     A   No.

   8     Q   Have the two Plaintiffs in that lawsuit, have they

   9     commenced any lawsuit against Mr. Seery?

 10      A   No.

 11      Q   Have they pursued any lawsuit against Mr. Seery?

 12      A   No.

 13      Q   Have they pursued a claim or cause of action against Mr.

 14      Seery?

 15      A   No.

 16      Q   At most, did the Plaintiffs file a motion for leave to add

 17      Mr. Seery as a defendant?

 18                MR. MORRIS:    Objection, Your Honor.      To the extent

 19      that any of these questions are legal conclusions, I object.

 20      He's using the word pursue.      If he's trying -- if he's then

 21      going to argue that, But the witness testified that he didn't

 22      pursue and that's somehow a finding of fact, I object.

 23                THE COURT:    Okay.    I understand.

 24                MR. MORRIS:    Yeah.

 25                THE COURT:    But I overrule.     He can answer.




000166
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 170 of 852 PageID 2075
                                    Patrick - Cross                        134


   1                 MR. MORRIS:    That's fine.

   2                 THE WITNESS:    Can you restate the question again?

   3     BY MR. ANDERSON:

   4     Q   Sure.     On behalf of the Plaintiffs -- well, strike that.

   5     Did the Plaintiffs pursue a claim or cause of action against

   6     Mr. Seery?

   7     A   No.

   8     Q   At most, did the Plaintiffs file a motion for leave to

   9     file an amended complaint regarding Mr. Seery?

 10      A   Yes.     But, again, I viewed the motion as simply asking the

 11      Federal District Court whether Mr. Seery could or could not be

 12      named in a complaint, and then the next step might be how the

 13      Federal District Court might rule with respect to that.

 14      Q   And we have -- it's Tab 17 in the binders in front of you.

 15      That is Plaintiffs' motion for leave.        If you could turn to

 16      that, please.

 17      A   Yes.     I've got it open.

 18      Q   Is the Court's July order, the Bankruptcy Court's July

 19      order, is it mentioned on the first page and then throughout

 20      the motion for leave to amend?

 21      A   Yes, it is.     I see it quoted verbatim on Page 2 under

 22      Background.

 23      Q   Was the Court's order hidden at all from the District

 24      Court?

 25      A   The document speaks for itself.       It's very transparent.




000167
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 171 of 852 PageID 2076
                                   Patrick - Cross                          135


   1     Q   Was there any effort whatsoever to hide the prior order of

   2     the Bankruptcy Court?

   3     A   No.

   4                 MR. ANDERSON:    Pass the witness.

   5                 THE COURT:    Okay.   Other examination?

   6                 MR. SBAITI:     Yes, Your Honor.    Just a couple of

   7     questions.

   8                                 CROSS-EXAMINATION

   9     BY MR. SBAITI:

 10      Q   Do you mind flipping to Exhibit 25, which I believe is the

 11      org chart, the one that you were looking at before?

 12      A   Okay.

 13      Q   It'll still be in --

 14      A   Okay.    Yeah.

 15      Q   -- the defense binder.        No reason to swap out right now.

 16      A   I've got the right binders.        Some of them are repeatable

 17      exhibits, so --

 18      Q   Yeah.

 19      A   -- I have to grab the right binder.         Yes.

 20      Q   As this org chart would sit today, is the only difference

 21      that Grant Scott's name would instead be Mark Patrick?

 22      A   Yes.

 23      Q   Was there ever a period of time where Jim Dondero's name

 24      would sit instead of Grant Scott's name prior?

 25      A   Yes, originally, when this -- yes.




000168
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 172 of 852 PageID 2077
                                Patrick - Cross                           136


   1     Q   So did Mr. Dondero both have the control shares of the GP,

   2     LLC and DAF Holdco Limited?

   3     A   No, I believe not.    I believe he only held the Charitable

   4     DAF GP interest and that Mr. Scott at all times held the

   5     Charitable DAF Holdco, LTD interest, until he decided to

   6     transfer it to me.

   7     Q   Can you just tell us how Mr. Scott came to hold the

   8     control shares of the Charitable DAF Holdco, LTD?

   9     A   When he was the independent trustee of the Charitable

 10      Remainder Trust, he caused that -- the creation of that

 11      entity, and that's how he became in receipt of those

 12      management shares.

 13      Q   And does the Charitable DAF GP, LLC have any control over

 14      Charitable DAF Fund, LP's actions or activities?

 15      A   Yes, it does.

 16      Q   What kind of control is that?

 17      A   I would describe complete control.       It's the managing

 18      member of that entity and can -- and effectively owns, you

 19      know, the hundred percent interest in the respective

 20      subsidiaries, and so the control follows down.

 21      Q   And when did Mr. Scott replace Mr. Dondero as the GP --

 22      managing member of the GP?

 23      A   Well, I think as the -- and Mr. Morris had shown me with

 24      respect to that transfer occurring on March 2012.

 25      Q   So nine years ago?




000169
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 173 of 852 PageID 2078
                                    Patrick - Cross                        137


   1     A   Yes.

   2     Q   Does Mr. Dondero today exercise any control over the

   3     activities of the DAF Charitable -- the Charitable DAF, GP or

   4     the Charitable DAF Holdco, LTD?

   5     A   No.

   6     Q   Is he a board member of sorts for either of those

   7     entities?

   8     A   No.

   9     Q   Is he a board members of CLO Holdco?

 10      A   No.

 11      Q   Does he have any decision-making authority at CLO Holdco?

 12      A   None.

 13      Q   The decision to authorize the lawsuit and the decision to

 14      authorize the motion that you've been asked about, who made

 15      that authorization?

 16      A   I did.

 17      Q   Did you have to ask for anyone's permission?

 18      A   No.

 19                  MR. SBAITI:    No more questions, Your Honor.

 20                  THE COURT:    Okay.   Any -- I guess Mr. Taylor, no.

 21          All right.    Any redirect?

 22                                REDIRECT EXAMINATION

 23      BY MR. MORRIS:

 24      Q   Since becoming the authorized representative of the

 25      Plaintiffs, have you ever made a decision on behalf of those




000170
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 174 of 852 PageID 2079
                                   Patrick - Cross                          138


   1     entities that Mr. Dondero disagreed with?

   2     A   I have made decisions that were adverse to Mr. Dondero's

   3     financial -- financial decision.        I mean, financial interests.

   4     Whether he disagreed with them or not, I don't -- he has not

   5     communicated them to me.       But they have been adverse, at least

   6     two very strong instances.

   7     Q   Have you ever -- have you ever talked to him about making

   8     a decision that would be adverse to his interests?          Did he

   9     tell -- did --

 10      A   I didn't -- I don't -- I did not discuss with him prior to

 11      making the decisions that I made that were adverse to his

 12      economic interests.

 13                  MR. MORRIS:    Okay.   No further questions, Your Honor.

 14                  THE COURT:    Any further examination?     Recross on that

 15      redirect?

 16                  MR. ANDERSON:    No further questions.

 17                  MR. SBAITI:     No further questions, Your Honor.

 18                  MR. ANDERSON:    Sorry.

 19                  THE COURT:    Nothing?

 20                  MR. ANDERSON:    I think we're good.

 21                  THE COURT:    Okay.    I have one question, Mr. Patrick.

 22      My brain sometimes goes in weird directions.

 23                            EXAMINATION BY THE COURT

 24                  THE COURT:    I'm just curious.    What are these Cayman

 25      Island entities, charitable organizations formed in the Cayman




000171
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 175 of 852 PageID 2080
                        Patrick - Examination by the Court                  139


   1     Islands?

   2                 THE WITNESS:   Yeah.   I'll keep it as simple as I can,

   3     even though I'm a tax lawyer, so I won't get into the tax

   4     rules, but the Cayman structure is modeled after what you

   5     typically see in the investment management industry, and so I

   6     -- and I won't reference specific entities here with respect

   7     to the Highland case, but I think you'll note some

   8     similarities, if you think about it.        They're -- it's

   9     described as an offshore master fund structure where you have

 10      a -- and that would be the Charitable DAF Fund that's

 11      organized offshore, usually in the Cayman or Bermuda Islands,

 12      where the general partner, typically, in the industry, holds

 13      the management --

 14                  THE COURT:   Yeah.    Let --

 15                  THE WITNESS:   Okay.

 16                  THE COURT:   -- me just stop you.     I've seen this

 17      enough --

 18                  THE WITNESS:   Yeah, it's

 19                  THE COURT:   -- to know that it happens in the

 20      investment world.    But in --

 21                  THE WITNESS:   Yeah.

 22                  THE COURT:   You know, usually, I see 501(c)(3), you

 23      know, domestically-created entities for charitable purposes,

 24      so I'm just curious.

 25                  THE WITNESS:   Yes.




000172
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 176 of 852 PageID 2081
                      Patrick - Examination by the Court                  140


   1              THE COURT:     Uh-huh.

   2              THE WITNESS:     The offshore master fund structure

   3     typically will have two different types of -- they call it

   4     foreign feeder funds.    One foreign feeder fund is meant to

   5     accommodate foreign investors; the other foreign feeder fund

   6     is meant to accommodate U.S. tax-exempt investors.

   7         Why, why is it structured that way?       In order to avoid

   8     something called -- I was trying not to be wonkish -- UBTI.

   9     That's, let's see, Un -- Unrelated Trader Business Income.         I

 10      probably have that slightly wrong.       But it's essentially,

 11      it's a means to avoid active business income, which includes

 12      debt finance income, which is what these CLOs tend to be, that

 13      would throw off income that would be taxable normally if the

 14      exempts did not go through this foreign blocker, and it

 15      converts that UBTI income -- it's called (inaudible) income --

 16      into passive income that flows -- that flows up to the

 17      charities.

 18          And so it's very typical that you'll have a U.S. tax-

 19      exempt investor, when they make an investment in a fund,

 20      prefer to go through an offshore feeder fund, which is

 21      actually Charitable DAF Holdco, LTD.      That's essentially what,

 22      from a tax perspective, represents as a UBTI blocker entity.

 23      And then you have the offshore investments being held offshore

 24      because there's a variety of safe harbors where the receipt of

 25      interest, the portfolio interest exception, is not taxable.




000173
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 177 of 852 PageID 2082
                        Patrick - Examination by the Court                  141


   1     The creation of capital gains or losses under the -- they call

   2     it the trading, 864(b) trading safe harbor, is not taxable.

   3     So that's why you'll find these structures operating offshore

   4     to rely on those safe harbor provisions as well as -- as well

   5     as what I indicated with respect to the two type blocker

   6     entities.    It's very typical and industry practice to organize

   7     these way.    And so when this was set --

   8                 THE COURT:   It's very typical in the charitable world

   9     to --

 10                  THE WITNESS:   In the investment management --

 11                  THE COURT:   -- form this way?

 12                  THE WITNESS:   In the investment management world,

 13      when you have charitable entities that are taking some

 14      exposure to assets that are levered, to set this structure up

 15      in this way.    It was modeled after -- they just call them

 16      offshore master fund structures.      They're known as Mickey

 17      Mouse structures, where you'll have U.S. investors --

 18                  THE COURT:   Yes.   I -- yes, I --

 19                  THE WITNESS:   -- enter through a U.S. partnership,

 20      and the foreign investors enter through a blocker.

 21                  THE COURT:   It was really just the charitable aspect

 22      of this that I was --

 23                  THE WITNESS:   Yeah.   Yeah.

 24                  THE COURT:   -- getting at.

 25                  THE WITNESS:   Yeah.   No, but I'm just trying to




000174
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 178 of 852 PageID 2083
                                   Patrick - Recross                       142


   1     emphasize if --

   2                 THE COURT:    All right.   It's --

   3                 THE WITNESS:    Yeah.

   4                 THE COURT:    -- neither here nor there.    All right.

   5                 MR. SBAITI:    Your Honor, may I ask a slightly

   6     clarifying leading question on that, because I think I

   7     understand what he was trying to say, just for the record?

   8                 THE COURT:    Well, --

   9                 MR. MORRIS:    I object.

 10                  THE COURT:    -- I tell you what.    Anyone who wants to

 11      ask one follow-up question on the judge's question can do so.

 12      Okay?   You can go first.

 13                  MR. SBAITI:    I'll approach, Your Honor.

 14                  THE COURT:    Okay.

 15                                 RECROSS-EXAMINATION

 16      BY MR. SBAITI:

 17      Q   Would it be a fair summary of what you were saying a

 18      minute ago that the reason the bottom end of that structure is

 19      offshore is so that it doesn't get taxed before the money

 20      reaches the charities on the U.S. side?

 21      A   Tax -- it converts the nature of the income that is being

 22      thrown off by the investments so that it becomes a tax

 23      friendly income to the tax-exempt entity.        Passive income.

 24      That's --

 25      Q   So, essentially, --




000175
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 179 of 852 PageID 2084
                                 Patrick - Recross                        143


   1               THE COURT:    Okay.   Okay.

   2               MR. SBAITI:    -- so it doesn't get taxed before it

   3     hits the --

   4               THE COURT:    I said one question.

   5               MR. SBAITI:     Sorry, Your Honor.

   6               THE COURT:    Okay.   He answered it.

   7               MR. PHILLIPS:    And I have one question, Your Honor

   8               THE COURT:    Okay.

   9               MR. PHILLIPS:    I don't know if I need to ask this

 10      question, but I'd rather not ask you if I need to ask it.

 11                THE COURT:    Go ahead.

 12                MR. PHILLIPS:    But if I do, you know, I could --

 13                THE COURT:    Go ahead.

 14                MR. PHILLIPS:    Well, okay.

 15                              RECROSS-EXAMINATION

 16      BY MR. PHILLIPS:

 17      Q   We've talked about the offshore structure.        Are the

 18      foundations in the top two tiers of the organizational chart

 19      offshore entities?

 20      A   No.

 21      Q   They're --

 22      A   They're onshore entities.       They're tax-exempt entities.

 23      Q   Thank you.

 24      A   The investments are offshore.

 25      Q   Thank you.




000176
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 180 of 852 PageID 2085
                            Patrick - Further Redirect                     144


   1                THE COURT:    Mr. Morris?    One question.

   2                        FURTHER REDIRECT EXAMINATION

   3     BY MR. MORRIS:

   4     Q   Do you hold yourself out as an expert on the

   5     organizational structures in the Caribbean for charitable

   6     organizations?

   7     A   I hold myself out as a tax professional versant on setting

   8     up offshore master fund structures.       It's sort of a bread-and-

   9     butter thing.    But there are plenty of people that can testify

 10      that this is very typical.

 11      Q   Uh-huh.     Okay.

 12                 THE COURT:    Okay.   Thank you.

 13          All right.    You are excused, Mr. Patrick.       I suppose

 14      you'll want to stay around.       I don't know if you'll

 15      potentially be recalled today.

 16          (The witness steps down.)

 17                 THE COURT:    All right.    We should take a lunch break.

 18      I'm going to put this out for a democratic vote.         Forty-five

 19      minutes?   Is that good with everyone?

 20                 MR. SBAITI:    Do we have to leave the building to eat,

 21      Your Honor, or is there food in the building?

 22                 THE COURT:    I think --

 23                 MR. SBAITI:    I'm sorry to ask that question, but --

 24                 THE COURT:    Yes.    You know what, there used to be a

 25      very bad cafeteria, but I think it closed.        Right, Mike?    So,




000177
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 181 of 852 PageID 2086
                                                                           145


   1     you know, --

   2                 MR. SBAITI:    Sorry I asked that.

   3                 A VOICE:   Hate to miss that one.

   4                 THE COURT:    Is 45 minutes not enough since you have

   5     to go off campus?      I'll give you an hour.    It just means we

   6     stay later tonight.

   7                 A VOICE:   Can we just say 2:00 o'clock?

   8                 MR. SBAITI:    That's fine with us, Your Honor.

   9                 THE COURT:    2:00 o'clock.   That's 50 minutes.    See

 10      you then.

 11                  MR. SBAITI:    Thank you.

 12                  A VOICE:   Your Honor, can we just get a time check?

 13                  THE COURT:    Okay.

 14                  THE CLERK:    Yeah.   The Debtors are at an hour and

 15      eleven minutes.    Respondents at an hour nineteen.

 16                  THE COURT:    And hour and eleven and an hour and

 17      nineteen.

 18                  A VOICE:   Wait, that's not right.

 19                  A VOICE:   That can't be right.

 20                  A VOICE:   Two hours?   We started at --

 21                  THE COURT:    Okay.   So, again, their side, the

 22      collective Respondents?

 23                  THE CLERK:    An hour and eleven, responding to your

 24      questions, --

 25                  A VOICE:   Yeah, he's not recording --




000178
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 182 of 852 PageID 2087
                                                                              146


   1                 THE CLERK:    So an hour and eleven and an hour and

   2     nineteen.

   3                 THE COURT:    But they were already over an hour --

   4                 A VOICE:   Yeah.   It's been over three hours.

   5                 THE COURT:    -- with opening statements.

   6                 THE CLERK:    An hour and twelve.     Yes.   They were very

   7     short with the questioning.       It was only like --

   8                 THE COURT:    Okay.   We'll double-check that over the

   9     break with the court reporter.

 10                  A VOICE:   All right.     Thank you, Your Honor.

 11                  THE COURT:    We'll double-check and let you know.

 12                  THE COURT:    All rise.

 13          (A luncheon recess ensued from 1:09 p.m. until 2:03 p.m.)

 14                  THE COURT:    All right.    Please be seated.    We're

 15      going back on the record in Highland after our lunch break.

 16      I'm going to confirm time.        We've had the Debtor an aggregate

 17      of an hour and eleven minutes.         The Respondents, an aggregate

 18      of an hour and twenty minutes.         Okay?   So we've gone two hours

 19      and thirty-one minutes.

 20          If it seems like we've been going longer, it's because we

 21      did not do the clock on the opening matters regarding removal,

 22      extension of time.       And then when I interjected with

 23      questions, we stopped the clock.         All right?   So let's go.

 24          You may call your next witness, Mr. Morris.

 25                  MR. MORRIS:    Thank you, Your Honor.     The Debtor calls




000179
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 183 of 852 PageID 2088
                                  Dondero - Direct                         147


   1     James Dondero.

   2                 THE COURT:    All right.

   3                 A VOICE:   He had to step down the hall.     We had a

   4     little trouble getting through security.        Let me --

   5                 THE COURT:   All right.    Mr. Dondero, you've been

   6     called as the next witness.     So if you'll approach our witness

   7     stand, please.    All right.   Please raise your right hand.

   8         (The witness is sworn.)

   9                 THE COURT:   All right.    Please be seated.

 10                   JAMES D. DONDERO, DEBTOR'S WITNESS, SWORN

 11                                DIRECT EXAMINATION

 12      BY MR. MORRIS:

 13      Q   Good afternoon, Mr. Dondero.

 14      A   Good afternoon.

 15      Q   Can you hear me?

 16      A   Yes.

 17      Q   Okay.    So, you were here this morning, correct?

 18      A   Yes.

 19      Q   All right.    So, we're going to put up -- we'll put it up

 20      on the screen, but if you'd prefer to look at a hard copy in

 21      the binder that's marked Volume 1 of -- 2 of 2, I'd ask you to

 22      turn to Exhibit 25.      Or you could just follow on the screen.

 23      And this is a one-page document, so maybe that's easier.

 24      A   Sure.

 25      Q   Do you have it?      All right.




000180
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 184 of 852 PageID 2089
                                 Dondero - Direct                         148


   1     A   Yes.

   2     Q   This is the organizational chart for what's known as the

   3     DAF, correct?

   4     A   Yes.

   5     Q   And Mark Patrick set up this structure, correct?

   6     A   I believe he coordinated.     I believe it was set up by

   7     third-party law firms.   I believe it was Hutton or a firm like

   8     that.

   9     Q   Mr. Patrick participated in the creation of this structure

 10      because you gave him the task of setting up a charitable

 11      entity for Highland at that time, correct?

 12      A   Yes.

 13      Q   And you approved of this organizational structure,

 14      correct?

 15      A   Yes.

 16      Q   And Grant Scott was the Trustee of the DAF for a number of

 17      years, correct?

 18      A   I often use that word, trustee, but technically I think

 19      it's managing member.

 20      Q   That's right.   I appreciate that.      I was using your word

 21      from the deposition.    But is it fair to say that, to the best

 22      of your knowledge, Grant Scott was the sole authorized

 23      representative of the entity known as the DAF from 2011 until

 24      just recently?

 25      A   Sole -- I would describe it more he was in a trustee




000181
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 185 of 852 PageID 2090
                                Dondero - Direct                          149


   1     function.

   2     Q   Uh-huh.

   3     A   Advice was being provided by Highland on the investment

   4     side.   He wasn't expected to be a financial or an investment

   5     expert.    And then accounting, tax, portfolio, tracking, you

   6     know, compliance with all the offshore formation documents,

   7     that was all done by Highland as part of a shared services

   8     agreement.

   9     Q   Okay.    I appreciate that, but listen carefully to my

 10      question.    All I asked you was whether he was the authorized

 11      representative, the sole authorized representative for the

 12      ten-year period from 2011 until recently.

 13      A   Yes.

 14      Q   Okay.

 15      A   I believe so.

 16      Q   Thank you.    You served as the managing member of the DAF

 17      GP, LLC before Mr. Scott, correct?

 18      A   Yes.

 19      Q   Okay.    And if you turn to Exhibit 26 in your binder,

 20      that's the amended and restated limited liability company

 21      agreement for the DAF GP, LLC, correct?

 22      A   Yes.

 23      Q   And on the last page, that's your signature line, right?

 24      A   Yes.

 25      Q   And you stepped down as the managing member on March 12,




000182
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 186 of 852 PageID 2091
                                   Dondero - Direct                        150


   1     2012, and were replaced by Mr. Scott, correct?

   2     A   Yes.

   3     Q   And as you recall it, Mr. Scott came to be appointed the

   4     trustee of the DAF based on your recommendation, right?

   5     A   Based on my recommendation?        Yes, I would say that's fair.

   6     Q   And you made that recommendation to Mr. Patrick, right?

   7     A   I -- I don't remember who I made the recommendation to.

   8     But I would echo the testimony of Mark Patrick earlier that

   9     the purpose of stepping down was to make the DAF unaffiliated

 10      or independent versus being in any way affiliated.

 11                  MR. MORRIS:    I move to strike.

 12      BY MR. MORRIS:

 13      Q   And I'd ask you to listen carefully to my question.

 14                  THE COURT:    Sustained.

 15      BY MR. MORRIS:

 16      Q   You made the recommendation to Mr. Patrick, correct?

 17      A   I would give the same answer again.

 18      Q   Okay.

 19                  MR. MORRIS:    Can we please put up Mr. Dondero's

 20      deposition transcript from last Friday at Page 297?

 21          I believe, Your Honor, that the court reporter thought

 22      that this was a continuation of a prior deposition, and that's

 23      why the pages begin in the, you know, high in the 200s and not

 24      at Page 1.    Just to avoid any confusion.

 25      BY MR. MORRIS:




000183
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 187 of 852 PageID 2092
                                   Dondero - Direct                       151


   1     Q   Mr. Dondero, do you see the transcript in front of you?

   2     A   Yes.

   3     Q   Okay.    Were you asked this question and did you give this

   4     answer?    "Who did you make the" -- question, "Who did you make

   5     the recommendation to?"      Answer, "It would have been Mark

   6     Patrick."

   7     A   I don't recall right now as I sit here, and it seems like

   8     I was speculating when I answered, but it -- it probably would

   9     have been Mark Patrick.      I just don't have a specific

 10      recollection.

 11      Q   You made the recommendation to Mr. Patrick because he was

 12      responsible for setting up the overall structure, correct?

 13      A   I -- I can't testify to why I did something I don't

 14      remember.    I think that would be --

 15      Q   Can we --

 16      A   -- speculative.

 17      Q   Are you finished, sir?

 18      A   Yeah.

 19      Q   Okay.

 20                  MR. MORRIS:   Can we go to Page 299, please?

 21      BY MR. MORRIS:

 22      Q   Lines 6 through 10.      Did I ask this question and did you

 23      give me this answer?      Question, "But why did you select Mr.

 24      Patrick as the person to whom to make your recommendation?"

 25      Answer, "Because he was responsible for setting up the overall




000184
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 188 of 852 PageID 2093
                                 Dondero - Direct                         152


   1     structure."

   2         Were you asked that question and did you give that answer

   3     last Friday?

   4     A   Yes.

   5     Q   Thank you.    But it's your testimony that you don't really

   6     know what process led to Mr. Scott's appointment, correct?

   7     A   No, I -- I said I was refreshed by Mark Patrick's

   8     testimony earlier.

   9     Q   Yeah.     Were you refreshed that, in fact, you specifically

 10      had the authority to and did appoint Grant Scott as the

 11      managing member of the DAF GP, LLC?

 12      A   I -- I don't know.

 13      Q   Well, you're referring to Mr. Patrick's testimony and I'm

 14      asking you a very specific question.      Did you agree -- is your

 15      memory refreshed now that you're the person who put Grant

 16      Scott in the position in the DAF?

 17      A   I -- I don't know if I owned those secret shares that --

 18      well, they're not secret, but shares that could appoint

 19      anybody on the planet.    I guess if I was in that box at that

 20      time before Grant, then I would have had that ability.         I'm

 21      not denying at all that I recommended Grant.       I'm just saying

 22      I don't -- I don't remember if I went specifically to him or

 23      if it was Thomas Surgent that was orchestrating it at the

 24      time.   I don't remember.

 25      Q   Do you deny that you had the authority to and that you did




000185
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 189 of 852 PageID 2094
                                    Dondero - Direct                        153


   1     appoint Grant Scott as your successor?

   2                 MR. TAYLOR:    Your Honor, objection to the extent it

   3     calls for a legal conclusion.         I can't get close to a mic, so

   4     --

   5                 THE COURT:    I overrule the objection.

   6                 THE WITNESS:    Can you repeat the question for me?

   7     BY MR. MORRIS:

   8     Q    Do you deny that you had the authority to and that you

   9     did, in fact, appoint Grant Scott as your successor?

 10      A    It'd be better to say I don't -- I don't -- no, I don't

 11      remember or I didn't know the details at the time.          But,

 12      again, I -- I assume I owned those shares.         And, again, I do

 13      remember recommending Grant and -- but exactly how it

 14      happened, I don't remember.

 15      Q    Did you hear Mark Patrick say just an hour ago that you

 16      appointed Grant Scott as your successor?

 17                  MR. SBAITI:    Objection, Your Honor.     Misstates

 18      testimony.    The witness testified he transferred shares.

 19      That's different than an appointment power.

 20                  THE COURT:    Response?    I can't remember the exact way

 21      you worded it, to be honest.

 22                  MR. MORRIS:    Neither can I, but I'll even take it

 23      that way.

 24                  THE COURT:    Okay.

 25                  MR. MORRIS:    I think he's wrong, but I'll even take




000186
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 190 of 852 PageID 2095
                                  Dondero - Direct                        154


   1     it that way.

   2                 THE COURT:   Okay.

   3     BY MR. MORRIS:

   4     Q   Mr. Dondero, did you listen to Mark Patrick say that you

   5     are the person who made the decision to transfer the shares to

   6     Mr. Scott in 2012?

   7     A   Yes, I heard him say that.

   8     Q   Okay.    So, do you -- do you dispute that testimony?

   9     A   I -- I don't have any better knowledge to dispute or

 10      confirm.

 11      Q   You and Mr. Scott have known each other since high school,

 12      correct?

 13      A   Yes.

 14      Q   You spent a couple of years at UVA together, correct?

 15      A   Yes.

 16      Q   You were housemates together, correct?

 17      A   Yes.

 18      Q   He was the best man at your wedding, correct?

 19      A   Yes.

 20      Q   He's a patent lawyer, correct?

 21      A   Yes.

 22      Q   He had no expertise in finance when -- when he was

 23      appointed as your successor to the DAF, correct?

 24      A   Correct.

 25      Q   To the best of your knowledge, at the time Mr. Scott




000187
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 191 of 852 PageID 2096
                                Dondero - Direct                          155


   1     assumed his position, he had never made any decisions

   2     concerning collateralized loan obligations, correct?

   3     A   Correct, but he wasn't hired for that.       That wasn't his

   4     position.

   5     Q   Was he the person who was going to make the decisions with

   6     respect to the DAF's investments?

   7     A   My understanding on how it was structured was the DAF was

   8     paying a significant investment advisory fee to Highland.

   9     Highland was doing portfolio construction and the investment

 10      selection of -- or the investment recommendations for the

 11      portfolio.   There is an independent trustee protocol that I

 12      believe was adhered to, but it was never my direct

 13      involvement.   It was always the portfolio managers or the

 14      traders.

 15          You have to provide three similar or at least two other

 16      alternatives, and then with a rationale for each of them, but

 17      a rationale for why you think one in particular is better.

 18      And the trustee looks at the three, evaluates them.        And the

 19      way I understand it always worked, that it works at pretty

 20      much every charitable trust or trust that I'm aware of, they

 21      generally, if not always, pick alongside the -- or, pick the

 22      recommendation of their highly-paid investment advisory firm.

 23      Q   And are you the highly-paid investment advisory firm?

 24      A   Highland was at the time, yes.

 25      Q   And you controlled Highland, right?




000188
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 192 of 852 PageID 2097
                                Dondero - Direct                          156


   1     A   Yes.

   2     Q   Okay.   But at the end of the day, is it your understanding

   3     that Mr. Scott had the exclusive responsibility for making

   4     actual decisions on behalf of the charitable trust that you

   5     had created?

   6     A   Yeah, I mean, subject to the protocol I just described.

   7     Q   Yeah, okay, so let's keep going.       Mr. Scott had no

   8     experience or expertise running charitable organizations at

   9     the time you decided to transfer the shares to him, correct?

 10      A   Yes, I believe that's correct.

 11      Q   Okay.   You didn't recommend Mr. Scott to serve as the

 12      DAF's investment advisor, did you?

 13      A   No.

 14      Q   And until early 2021, as you testified, I believe,

 15      already, HCMLP served as the DAF's investment advisor,

 16      correct?

 17      A   Yes.

 18      Q   And until early 2021, all of the DAF's day-to-day

 19      operations were conducted by HCMLP pursuant to a shared

 20      services agreement, correct?

 21      A   Yes.

 22      Q   And from the time the DAF was formed until January 9,

 23      2020, you controlled HCMLP, correct?

 24      A   Yes.

 25      Q   You can't think of one investment decision that HCMLP




000189
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 193 of 852 PageID 2098
                                  Dondero - Direct                        157


   1     recommended that Mr. Scott ever rejected in the ten-year

   2     period, correct?

   3                MR. SBAITI:    Objection, Your Honor.    Lacks

   4     foundation.

   5                THE COURT:    Response?

   6                MR. MORRIS:    I'm not quite sure what to say, Your

   7     Honor.    The witness has already testified that HCMLP was the

   8     investment advisor, made recommendations to Mr. Scott, and

   9     that Mr. Scott was the one who had to make the investment

 10      decisions at the end of the day.

 11                 MR. SBAITI:    He's not here as a witness for HCMLP.

 12      He's here in his personal capacity.      There's no foundation

 13      he'd have personal knowledge of which specific investments

 14      were proposed, which ones were rejected or accepted.        He said

 15      it was done by the portfolio manager.

 16                 THE COURT:    Okay.   I overrule.   He can answer if he

 17      has an answer.

 18      BY MR. MORRIS:

 19      Q   Sir, you can't think of one investment decision that HCMLP

 20      ever recommended to Mr. Scott that he rejected, correct?

 21      A   I can't think of one, but I would caveat with I wouldn't

 22      have expected there to be any.

 23      Q   So you expected him to just do exactly what HCMLP

 24      recommended, correct?

 25      A   No.    I would expect him to sort through the various




000190
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 194 of 852 PageID 2099
                                   Dondero - Direct                       158


   1     investments when he was given three or four to choose from and

   2     be able to discern that, just as we had with our expertise,

   3     which was much greater than his, discern which one was the

   4     best and most suitable investment, the best risk-adjusted

   5     investment, that he would come to the same conclusion.

   6     Q   Okay.     You can't think of an investment that Mr. Scott

   7     ever made on behalf of the DAF that didn't originate with

   8     HCMLP, correct?

   9     A   Again, no, but I wouldn't expect there to be.

 10      Q   Okay.     And that's because you expected all of the

 11      investments to originate with the company that you were

 12      controlling, correct?

 13      A   We were the hired investment advisor with fiduciary

 14      responsibility --

 15      Q   Uh-huh.

 16      A   -- and with a vested interest in making sure the DAF

 17      performance was the best it could be.

 18      Q   Okay.     Let --

 19      A   He was, as you said, a patent attorney.        It would have

 20      been unusual for him to second-guess.        I'm sure, in any

 21      private investment or any investment that was one off or

 22      didn't have comps, you know, he probably sought third-party

 23      valuations.    But you would have to talk to him about that, or

 24      the people at Highland that did that.

 25                  MR. MORRIS:   I move to strike.    It's a very simple




000191
Case 3:21-cv-00842-B Document 43 Filed 07/13/21       Page 195 of 852 PageID 2100
                                   Dondero - Direct                           159


   1     question.

   2                 THE COURT:    Sustained.

   3     BY MR. MORRIS:

   4     Q   Sir, you can't think of one investment that Mr. Scott made

   5     on behalf of the DAF that did not originate with HCMLP,

   6     correct?

   7     A   I'm going to give the same answer.

   8     Q   Okay.    Let's go to Page 371 of the transcript, please.

   9     Lines 7 through 11.

 10          Oh, I apologize.      I think I might -- I think I meant 317.

 11      I think I got that inverted.         Yeah.

 12          Did I ask this question and did you give this answer:

 13      "Can you think of any investment that Mr. Scott made on behalf

 14      of the DAF that didn't original with HCMLP?"           Answer, "He

 15      wasn't the investment advisor, but no, I don't -- I don't

 16      recall."

 17          Is that the answer you gave on Friday?

 18      A   Yes.

 19      Q   Thank you.    Let's --

 20                  MR. SBAITI:    Just for clarification, Your Honor, --

 21                  THE COURT:     Pardon?

 22                  MR. SBAITI:    -- the deposition was last Tuesday, not

 23      on Friday.

 24                  MR. MORRIS:    I stand corrected, Your Honor.

 25                  THE COURT:    Okay.




000192
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 196 of 852 PageID 2101
                                   Dondero - Direct                        160


   1                 MR. MORRIS:    I apologize.

   2                 THE COURT:    Okay.

   3                 MR. MORRIS:    I apologize if the Court thinks I misled

   4     it.

   5     BY MR. MORRIS:

   6     Q      Let's talk about Mr. Scott's decision during the

   7     bankruptcy case that preceded his resignation.        After HCMLP

   8     filed for bankruptcy, CLO Holdco, Ltd. filed a proof of claim,

   9     correct?

 10                  MR. ANDERSON:    Your Honor, I haven't objected yet,

 11      but we literally haven't covered anything that deals with

 12      commencing or pursuing a claim or cause of action.         I'm going

 13      to object.    This is way outside, again, the bounds of the

 14      contempt hearing.    It's -- otherwise, it's other discovery for

 15      something else.    It literally has nothing to do with pursue a

 16      claim or cause of action.

 17                  THE COURT:    We have another relevance objection.

 18      Your response?

 19                  MR. MORRIS:    Your Honor, the evidence is going to

 20      show that Mr. Dondero told Mr. Scott on three separate

 21      occasions that his conduct, which were acts of independence,

 22      were inappropriate and were not in the best interests of the

 23      DAF.    Within days of the third strike, he resigned.       Okay?

 24             I think it's relevant to Mr. Dondero's control of the DAF.

 25      I think that the moment that Mr. -- this is the argument I'm




000193
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 197 of 852 PageID 2102
                                  Dondero - Direct                        161


   1     going to make.   I'll make it right now.     You want me to make

   2     it now, I'll make it now.     The moment that Mr. Scott exercised

   3     independence, Mr. Dondero was all over him, and Mr. Scott

   4     left.    That's what happened.   The evidence is going to be

   5     crystal clear.

   6         And I think that that control of the DAF is exactly what

   7     led to this lawsuit.     And what led -- and I'm allowed to make

   8     my argument.    So that's why it's relevant, Your Honor, because

   9     I think it shows that Mr. Scott -- Mr. Scott, after exercising

 10      independence, was forced out.

 11                 MR. ANDERSON:    That doesn't move the needle one bit

 12      as to whether a lawsuit was commenced or a claim or cause of

 13      action was pursued, which is the subject of the contempt

 14      motion.    It doesn't move the needle one bit as to those two

 15      issues, as to whether that has any bearing on was it commenced

 16      or was it pursued.

 17                 MR. MORRIS:    Your Honor, I appreciate the very narrow

 18      focus that counsel for a different party is trying to put on

 19      this, but it is absolutely relevant to the question of whether

 20      Mr. Dondero was involved in the pursuit of these claims.         All

 21      right?    That's what the order says.    Pursue.

 22                 THE COURT:    All right.   Overruled.

 23      BY MR. MORRIS:

 24      Q   After HCMLP filed for bankruptcy, CLO Holdco filed a proof

 25      of claim, correct?




000194
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 198 of 852 PageID 2103
                                    Dondero - Direct                      162


   1     A   I believe so.

   2     Q   And in the fall of 2020, Mr. Scott amended the proof of

   3     claim to effectively reduce it to zero, correct?

   4     A   I -- I guess.

   5     Q   And Mr. Scott made that decision without discussing it

   6     with you in advance, correct?

   7     A   Yes.

   8     Q   But you did discuss it with him after you learned of that

   9     decision, correct?

 10      A   I don't -- I don't recall.       I'm willing to be refreshed,

 11      but I don't remember.

 12      Q   Well, you told him specifically that he had given up bona

 13      fide claims against the Debtor, correct?

 14      A   Let me state or clarify my testimony this way.         Um, --

 15                  MR. MORRIS:    Your Honor, it's really just a yes or no

 16      question.    His counsel can ask him if he wants to clarify, but

 17      it's really just a yes or no question.

 18      BY MR. MORRIS:

 19      Q   You told Mr. Scott that he gave up bona fide claims

 20      against the Debtor, correct?

 21                  THE COURT:    Okay.

 22                  THE WITNESS:    I don't know if I told him then with

 23      regard to those claims.

 24      BY MR. MORRIS:

 25      Q   Okay.    Can we go to Page 321 of the transcript?       At the




000195
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 199 of 852 PageID 2104
                                 Dondero - Direct                         163


   1     bottom, Line 21?   22, I apologize.

   2         Did I ask this question and did you give this answer?

   3     "And what do you" -- Question, "And what do you recall about

   4     your discussion with Mr. Scott afterwards?"       Answer, "That he

   5     had given up bona fide claims against the Debtor and I didn't

   6     understand why."

   7         Did I ask that question and did you give that answer last

   8     Tuesday?

   9     A   Yes.

 10      Q   Okay.   A short time later, in December, the Debtor filed

 11      notice of their intention to enter into a settlement with

 12      HarbourVest, correct?

 13      A   Yes.

 14      Q   And CLO Holdco, under Mr. Scott's direction, filed an

 15      objection to that settlement, correct?

 16      A   Yes.

 17      Q   And that settlement, the substance of that settlement was

 18      that the Debtor did not have the right to receive

 19      HarbourVest's interests in HCLOF at the time, correct?

 20      A   I don't remember the exact substance of it.

 21      Q   Okay.   But you do remember that you learned that Mr. Scott

 22      caused CLO Holdco to withdraw the objection, correct?

 23      A   Yes, ultimately.

 24      Q   Okay.   And again, Mr. Scott did not give you advance

 25      notice that he was going to withdraw the HarbourVest




000196
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 200 of 852 PageID 2105
                                 Dondero - Direct                         164


   1     objection, correct?

   2     A      No, he -- he did it an hour before the hearing.      He didn't

   3     give anybody notice.

   4     Q      You learned that Mr. Scott caused CLO Holdco to withdraw

   5     its objection to the HarbourVest settlement at the hearing,

   6     correct?

   7     A      Yes.

   8     Q      And you were surprised by that, weren't you?

   9     A      I believe everybody was.

 10      Q      You were sur... you were surprised by that, weren't you,

 11      sir?

 12      A      Yes.

 13      Q      And you were surprised by that because you believed Mr.

 14      Scott's decision was inappropriate, right?

 15      A      Partly inappropriate, and partly because 8:00 o'clock the

 16      night before he confirmed that he was going forward with the

 17      objection.    And I think the DAF's objection was scheduled to

 18      be first, I think.

 19      Q      After you learned that Mr. Scott instructed his attorneys

 20      to withdraw the CLO Holdco objection to the HarbourVest

 21      settlement, you again spoke with Mr. Scott, correct?

 22      A      Yes.

 23      Q      And that conversation took place the day of the hearing or

 24      shortly thereafter, correct?

 25      A      Yes.




000197
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 201 of 852 PageID 2106
                                 Dondero - Direct                         165


   1     Q   And during that conversation, you told Mr. Scott that it

   2     was inappropriate to withdraw the objection, correct?

   3     A   Yes.

   4     Q   And in response, Mr. Scott told you that he followed the

   5     advice of his lawyers, correct?

   6     A   Yes.

   7     Q   But that didn't -- that explanation didn't make sense to

   8     you, right?

   9     A   Yes.

 10      Q   In fact, you believed that Mr. Scott failed to act in the

 11      best interests of the DAF and CLO Holdco by withdrawing its

 12      objection to the HarbourVest settlement, correct?

 13      A   Yes.

 14      Q   And while you didn't specifically use the words fiduciary

 15      duty, you reminded Mr. Scott in your communications with him

 16      that he needed to do what was in the best interests of the

 17      DAF, correct?

 18      A   Yes.

 19      Q   You're the founder of the DAF, correct?

 20      A   I put it -- I put it in motion.      Yeah.   I tasked Mark

 21      Patrick and third-party law firms to do it, but if that boils

 22      down to founder, I guess yes.

 23      Q   Uh-huh.     And you're the primary donor to the DAF, correct?

 24      A   Yes.

 25      Q   You're the investment advisor to the DAF, or at least you




000198
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 202 of 852 PageID 2107
                                Dondero - Direct                          166


   1     were at that time?

   2     A   Yes.

   3     Q   And because you served in these roles, you expected Mr.

   4     Scott to discuss his decision to withdraw the HarbourVest

   5     objection in advance, correct?

   6     A   Yes, I -- I think it was even broader than that.         I mean,

   7     he was having health and anxiety issues, and to the extent he

   8     felt overwhelmed, I -- you know, yeah, you should do what's in

   9     the best interests at all times, but -- but yes, I thought it

 10      would be helpful if he conferred with me or Mark Patrick or

 11      whoever he was comfortable with.

 12      Q   Mr. Dondero, you specifically believed that Mr. Scott's

 13      failure to tell you that he was going to withdraw the

 14      HarbourVest objection in advance was inappropriate, right?

 15      A   Yes.

 16      Q   Even though he was the sole authorized representative, you

 17      believed that, because you were the founder of the DAF, the

 18      primary donor of the DAF, and the investment advisor to the

 19      DAF, he should have discussed that before he actually made the

 20      decision, correct?

 21      A   No.    What I'm saying is at 8:00 o'clock at night, when he

 22      confirms to numerous people he's ready to go first thing with

 23      his objection, and then he or counsel or some combination of

 24      them change their mind and don't tell anybody before the

 25      hearing, that's odd and inappropriate behavior.




000199
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 203 of 852 PageID 2108
                                  Dondero - Direct                         167


   1                MR. MORRIS:    Can we go to Page 330 of the transcript,

   2     please?

   3           And Your Honor, before I read the testimony, there is an

   4     objection there.     So I'd like you to rule --

   5                THE COURT:    Okay.

   6                MR. MORRIS:    -- before I do that.     It can be found at

   7     -- on Page 330 at Line 21.

   8           (Pause.)

   9                MR. MORRIS:    Here we go.    Page 30, beginning at Line

 10      19.   330, rather.

 11                 THE COURT:    Okay.

 12            (Pause.)

 13                 THE COURT:    Okay.    I overrule that objection.

 14      BY MR. MORRIS:

 15      Q     Mr. Dondero, were you asked this question and did you give

 16      this answer last Tuesday?        Question, "Do you believe that he

 17      had an obligation to inform you in advance?"        Answer, "I don't

 18      know if I would use the word obligation, but, again, as the

 19      founder or the primary donor and continued donor to the DAF,

 20      and as the investment advisor fighting for above-average

 21      returns on a daily basis for the fund, significant decisions

 22      that affect the finances of the fund would be something I

 23      would expect typically a trustee to discuss with the primary

 24      donor."

 25            Did you give that answer the other day, sir?




000200
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 204 of 852 PageID 2109
                                Dondero - Direct                          168


   1     A   Yes.

   2     Q   If Mr. Patrick decides tomorrow to withdraw the lawsuit

   3     that's in District Court, does he have an the obligation to

   4     tell you in advance?

   5     A   Again, I wouldn't use the word obligation.        But something

   6     that I think ultimately is going to be a $20 or $30 million,

   7     if not more, benefit to the DAF, to the detriment of Highland,

   8     if you were to give that up, I would expect him to have a

   9     rationale and I would expect him to get other people's

 10      thoughts and opinions before he did that.

 11      Q   Okay.   But does he have to get your opinion before he

 12      acts?

 13      A   No, he does not.

 14      Q   Okay.   So he -- Mr. Patrick could do that tomorrow, he

 15      could settle the case, and if he doesn't come to you to

 16      discuss it in advance, you won't be critical of him, right?

 17      A   He doesn't have the obligation, but there's -- there's a

 18      reasonableness in alignment of interests.       I -- a growing

 19      entrepreneur sets up a trust, a lot of times they'll put their

 20      wife in charge of it, and she hires investment advisers and

 21      whatever, but they've got the best interests at mind for the

 22      charity or the children or whatever.

 23          You know, people who go rogue and move in their own self-

 24      interest or panic, that stuff can happen all the time.         It

 25      doesn't make it appropriate, though.




000201
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 205 of 852 PageID 2110
                                Dondero - Direct                          169


   1     Q   A couple of weeks after Mr. Scott withdraw the objection

   2     to the HarbourVest settlement, he entered into a settlement

   3     agreement with the Debtor pursuant to which he settled the

   4     dispute between the Debtor and CLO Holdco, correct?

   5     A   Yes.

   6     Q   Okay.    You didn't get advance notice of that third

   7     decision, correct?

   8     A   No.

   9     Q   Can we go to Page -- Exhibit 32 in your binder?         And this

 10      is the settlement agreement between CLO Holdco and the Debtor,

 11      correct?    Attached as the exhibit.     I apologize.

 12      A   Yes.

 13      Q   And do you understand that that's Mr. Scott's signature on

 14      the last page?

 15      A   Yep.

 16      Q   And you learned about this settlement only after it had

 17      been reached, correct?

 18      A   Yep.

 19      Q   And you believed Mr. Scott's decision not to pursue

 20      certain claims against the Debtor or to remove HCMLP as the

 21      manager of the CLOs was not in the best interests of the DAF,

 22      correct?

 23      A   Correct.

 24      Q   And you let Mr. Scott know that, correct?

 25      A   Yes.




000202
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 206 of 852 PageID 2111
                                 Dondero - Direct                         170


   1     Q   After learning about the settlement agreement on January

   2     26th, you had one or two conversations with Mr. Scott on this

   3     topic, correct?

   4     A   Yes.

   5     Q   And your message to Mr. Scott was that the compromise or

   6     settlement wasn't in the DAF's best interest, correct?

   7     A   It was horrible for the DAF.

   8     Q   Uh-huh.   And you told him that, right?

   9     A   Yes.

 10      Q   Okay.   From your perspective, any time a trustee doesn't

 11      do what you believe is in the trust's best interest, you leave

 12      yourself open to getting sued, correct?

 13      A   Who is "you" in that question?

 14      Q   You.    Mr. Dondero.

 15      A   Can you repeat the question, then, please?

 16      Q   Sure.   From your perspective, any time you're a trustee

 17      and you don't believe that the trustee is doing what's in the

 18      best interests of the fund, the trustee leaves himself open to

 19      getting sued, correct?

 20      A   I don't know who the trustee leaves himself open to, but

 21      as soon as you go down a path of self-interest or panic, you

 22      -- you potentially create a bad situation.       But I don't know

 23      who holds who liable.

 24      Q   Did you believe that Mr. Scott was acting out of self-

 25      interest or panic when he decided to settle the dispute with




000203
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 207 of 852 PageID 2112
                                   Dondero - Direct                       171


   1     the Debtor on behalf of CLO Holdco?

   2     A   Yes.

   3     Q   Did you tell him that?

   4     A   He told me that.

   5     Q   He told you that he was acting out of panic or

   6     desperation?    With self-int... withdrawn.     Withdrawn.   Did he

   7     tell you that he was acting out of self-interest?

   8     A   He was having health problems, anxiety problems, and he

   9     didn't want to deal with the conflict.       He didn't want to

 10      testify.    He didn't want to come to court.     He didn't want to

 11      do those things.    And I told him I didn't think the settlement

 12      was going to get him out of that stuff.      I think, you know, it

 13      got him out of some issues, but I think you guys are going to

 14      go after him for other stuff.     But he -- he panicked.

 15                  MR. MORRIS:   I move to strike the latter remark.

 16                  THE COURT:    Sustained.

 17      BY MR. MORRIS:

 18      Q   Shortly after you had the conversation with Mr. Scott, he

 19      sent you notice of his intent to resign from his positions at

 20      the DAF and CLO Holdco, correct?

 21      A   Yes.

 22      Q   Okay.    Let's take a look at that, please.      Exhibit 29.

 23      This is Mr. Scott's notice of resignation, correct?

 24      A   Yes.

 25      Q   He sent it only to you, correct?




000204
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 208 of 852 PageID 2113
                                Dondero - Direct                          172


   1     A   Yes.

   2     Q   A couple of days before he sent this, he told you he was

   3     considering resigning; isn't that right?

   4     A   Yes.

   5     Q   Okay.   And he told you he was considering resigning

   6     because he was suffering from health and anxiety issues

   7     regarding the confrontation and the challenges of

   8     administering the DAF given the bankruptcy, correct?

   9     A   Yes.

 10      Q   He didn't tell you that he made the decision -- withdrawn.

 11      Did you tell him in this same conversation -- withdrawn.         Is

 12      this the same conversation where you conveyed the message that

 13      the compromise or settlement wasn't in the best interests of

 14      the DAF?

 15      A   You mean the conversation -- or the resignation? Is that

 16      -- can you rephrase the question, please?

 17      Q   Yeah, I apologize.    It's my fault, sir.      You testified

 18      that after the January 26th hearing you had a conversation

 19      with Mr. Scott where you told him that the compromise or

 20      settlement was not in the best interests of the DAF, correct?

 21      A   Yes.

 22      Q   Okay.   Did Mr. Scott share with you his concerns about

 23      anxiety and health issues in that same conversation, or was it

 24      in a subsequent conversation?

 25      A   It was at or around that time.       I -- I don't remember




000205
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 209 of 852 PageID 2114
                                  Dondero - Direct                        173


   1     which conversation.

   2     Q      Okay.

   3     A      But it was right at or around that time.

   4     Q      All right.   You never asked Mr. Scott to reconsider, did

   5     you?

   6     A      No.

   7     Q      You don't recall sending this notice of resignation to

   8     anyone, do you?

   9     A      No.

 10      Q      You don't remember notifying anyone that you'd received

 11      notice of Mr. Scott's intent to resign from the DAF, do you?

 12      A      It was -- yeah, no, I -- I don't remember.     It was a busy

 13      time around that time and this was a secondary issue.

 14      Q      Okay.   So the fact that the person who has been running

 15      the DAF for a decade gives you and only you notice of his

 16      intent to resign was a secondary issue in your mind?

 17      A      Yes, because when I talked to him at about that time, I

 18      said, okay, well, it's going to take a while.       I don't even

 19      know how the mechanism works.     But don't do anything adverse

 20      to the DAF, don't do anything else until, you know, you've

 21      figured out transition.

 22      Q      Uh-huh.

 23      A      And so once he had confirmed he wouldn't do anything

 24      outside normal course until he transitioned, I didn't worry

 25      about this.      I had bigger issues to worry about at the time.




000206
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 210 of 852 PageID 2115
                                    Dondero - Direct                        174


   1     Q   In the third paragraph of his email to you, he wrote that

   2     his resignation will not be effective until he approves of the

   3     indemnification provisions and obtains any and all necessary

   4     releases.    Do you see that?

   5     A   Yes.

   6     Q   And that was the condition that on January 31st Mr. Scott

   7     placed on the effectiveness of his resignation, correct?

   8     A   Condition?    Yeah, I -- I think he's trying to state the

   9     timing will happen after that.

 10      Q   After he gets the release, right?

 11      A   Yes.

 12      Q   And he wanted the release because you'd told him three

 13      different times that he wasn't acting in the best of the DAF,

 14      correct?

 15                  MR. TAYLOR:    Objection, Your Honor.

 16                  MR. SBAITI:    Objection.    Calls for --

 17                  MR. TAYLOR:    Objection.    Calls for speculation.

 18                  THE WITNESS:    Yeah, I --

 19                  THE COURT:    Sustained.

 20                  THE WITNESS:    I can't take that jump.     Yeah.

 21      BY MR. MORRIS:

 22      Q   In response to this email from your lifelong friend, you

 23      responded, if we could scroll up, about whether divest was a

 24      synonym -- if we can look at the first one -- whether divest

 25      is a synonym for resigned.      Do I have that right?




000207
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 211 of 852 PageID 2116
                                Dondero - Direct                          175


   1     A   (no immediate response)

   2     Q   If you will look at your response on Monday morning at

   3     9:50.

   4     A   Yes.

   5     Q   Okay.    And then after Mr. Scott responds, you respond

   6     further, if we can scroll up, and you specifically told him,

   7     "You need to tell me ASAP that you have no intent to divest

   8     assets."    Correct?

   9     A   Yes.

 10      Q   And you wrote that because you believed some of his

 11      behavior was unpredictable, right?

 12      A   I think I wrote that because the term divest in investment

 13      terms means sale or liquidate, but I guess it had a different

 14      legal term in the way he was looking at it.       I wasn't aware at

 15      that time of the shares that could be bequeathed to anybody,

 16      and I think the divest refers to that, but I wasn't aware that

 17      that's how the structure worked at that time, and I was

 18      worried that divest could be the investment term and I -- it

 19      wouldn't have been appropriate for him to liquidate the

 20      portfolio.

 21      Q   So, and you wanted to make sure he wasn't liquidating or

 22      intending to liquidate any of the CLOs, correct?

 23      A   Correct.

 24      Q   Okay.    So he's still the authorized, the sole authorized

 25      representative, but you wanted to make sure that he didn't do




000208
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 212 of 852 PageID 2117
                                 Dondero - Direct                         176


   1     anything that you thought was inappropriate.       Fair?

   2     A   It's because I had talked to him before this and he said

   3     he wasn't going to do anything outside normal course, and then

   4     the word divest scared me, but I didn't realize it was a legal

   5     term in this parlance here.

   6     Q   And so after he explained, you still wanted to make sure

   7     that he wasn't divesting any assets, correct?

   8     A   Yes.

   9     Q   Okay.   Since February 1st, you've exchanged exactly one

 10      text messages with Mr. Scott; is that right?

 11      A   I think there've been several, several text messages.          But

 12      one on his birthday.

 13      Q   Yeah.   And you haven't spoken to him in months, correct?

 14      A   In a couple months, yes.

 15      Q   All right.   Let's talk about the replacement of Mr. Scott.

 16      With -- with Mr. Scott's notice, someone needed to find a

 17      replacement, correct?

 18      A   Yes.

 19      Q   And the replacement was going to be responsible for

 20      managing a charitable organization with approximately $200

 21      million of assets, most of which was seeded directly or

 22      indirectly through you, correct?

 23      A   Yes.

 24      Q   And the replacement was going to get his and her -- his or

 25      her investment advice from you and NexPoint Advisors; do I




000209
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 213 of 852 PageID 2118
                                 Dondero - Direct                         177


   1     have that right?

   2     A   That was the plan.

   3     Q   Okay.   Ultimately, Mr. Patrick replaced Mr. Scott,

   4     correct?

   5     A   Yes.

   6     Q   But it's your testimony that you had no knowledge that Mr.

   7     Patrick was going to replace Mr. Scott until after it happened

   8     on March 24, 2021.    Correct?

   9     A   That's correct.     I believe it happened suddenly.

 10      Q   So, for nearly two months after you had received notice of

 11      Mr. Scott's intent to resign, you were uninvolved in the

 12      process of selecting his replacement, correct?

 13      A   I was uninvolved.    I'd say the process was dormant for an

 14      extended period of time until Mark Patrick came on board, and

 15      then Mark Patrick ran the process of interviewing multiple

 16      potential candidates.

 17      Q   Mark Patrick didn't have any authority prior to March

 18      24th, correct?

 19      A   Is March 24th the date that he transitioned the shares to

 20      himself from Grant Scott?

 21      Q   Yep.

 22      A   That's when he then became the trustee of the DAF, yes.

 23      Q   Do you know -- do you know who was instructing Mr. Patrick

 24      on who to interview or how to carry the process out?

 25      A   He was doing that on his own with, I think,




000210
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 214 of 852 PageID 2119
                                   Dondero - Direct                        178


   1     recommendations from third-party tax firms.

   2     Q   So Mr. Patrick was trying to find a successor to Mr.

   3     Scott, even though he had no authority to do that, and you

   4     were completely uninvolved in the whole process?         Do I have

   5     that right?

   6     A   I was uninvolved, yes.      He was trying to facilitate it for

   7     the benefit of his friendship with Grant Scott and knowing

   8     that it -- it -- with his resignation, it had to transition to

   9     somebody.    And he enjoys working on the DAF, he enjoys the

 10      charitable stuff in the community, and he was the most

 11      appropriate person to work on helping Grant transition.

 12                  MR. MORRIS:    All right.   I move to strike, Your

 13      Honor.   It's hearsay.

 14                  THE COURT:    Sustained.

 15      BY MR. MORRIS:

 16      Q   You're aware that Mr. Seery was appointed the Debtor's CEO

 17      and CRO last summer, correct?

 18      A   Yes.

 19      Q   And you're aware that Mr. Seery's appointment was approved

 20      by the Bankruptcy Court, correct?

 21      A   Yes.

 22      Q   And you were aware of that at the time it happened,

 23      correct?

 24      A   Yes.

 25      Q   And even before that, in January of 2020, you consented to




000211
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 215 of 852 PageID 2120
                                Dondero - Direct                           179


   1     a settlement where you gave up control of the Debtor.

   2     Correct?

   3     A   To the independent board for a consensual Chapter 11

   4     restructuring that would leave Highland intact.

   5     Q   And do you understand that the gatekeeper provision in the

   6     July order is exactly like the one that you agreed to in

   7     January except that it applies to Mr. Seery instead of the

   8     independent directors?

   9     A   I -- I learned a lot about that today, but I don't think

 10      it's appropriate to move what applied to the board to the CEO

 11      of a registered investment advisor.

 12      Q   Okay.   I'm just asking you, sir.       Listen carefully to my

 13      question.   Were you aware in January 2020 that you agreed to a

 14      gatekeeper provision on behalf of the independent board?

 15      A   Generally, but not specifically.

 16      Q   Okay.

 17      A   Not -- not like what we've been going over today.

 18      Q   Okay.   And you knew that Mr. Seery had applied to be

 19      appointed CEO subject to the Court's approval, correct?

 20      A   Wasn't it backdated to March?        I -- I think the hearing

 21      was in June, but it was backdated for -- for money and other

 22      purposes, right?   I -- that's my recollection.       I don't

 23      remember otherwise.

 24      Q   You do remember that Mr. Seery got -- he got -- his

 25      appointment got approved by the Court, right?




000212
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 216 of 852 PageID 2121
                                   Dondero - Direct                       180


   1     A   Yes.    But, as far as the dates are concerned, I thought it

   2     was either in March or retroactive to March.       Maybe it was

   3     June or July.

   4     Q   And you --

   5     A   But I don't remember.

   6     Q   Did you have your lawyers review the motion that was filed

   7     on behalf of the Debtor?

   8     A   I'm -- I assume they do their job.       I -- if they didn't, I

   9     don't know.

 10      Q   Okay.     That's what you hired them to do; is that fair?

 11      A   Yes.

 12      Q   Okay.     Can we go to Exhibit 12, please?     I think it's in

 13      Binder 1.    You've seen this document before, correct?

 14      A   Yes.

 15      Q   In fact, you saw versions of this complaint before it was

 16      filed, correct?

 17      A   Yes, I saw one or two versions towards the end.         I don't

 18      know if I saw the final version, but --

 19      Q   Sir, you participated in discussions with Mr. Sbaiti

 20      concerning the substance of this complaint before it was

 21      filed, correct?

 22      A   Some.     I would just use the word some.

 23      Q   Okay.     Can you describe for me all of your conversations

 24      with Mr. Sbaiti concerning the substance of this complaint?

 25                  MR. SBAITI:   Your Honor, I would object on the basis




000213
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 217 of 852 PageID 2122
                                   Dondero - Direct                       181


   1     of work product privilege and attorney-client communications.

   2     He was an agent for my client, the DAF, at the time he was

   3     having these discussions with us, and our discussions with him

   4     were work product.       So to the extent he can reveal the

   5     conversations without discussing the actual content, we would

   6     raise privilege objection, Your Honor.

   7                 THE COURT:    Mr. Morris?

   8                 MR. MORRIS:    Your Honor, there is no privilege here.

   9     That's exactly why I asked Mr. Patrick the questions earlier

 10      today.    Mr. Dondero is not party to any agreement with the DAF

 11      today.    It's an informal agreement, perhaps, but there is no

 12      contractual relationship, there is no privity any longer

 13      between Mr. Dondero or any entity that owns and controls in

 14      the DAF, as far as I know.      If they have evidence of it, I'm

 15      happy to listen, but that -- that's exactly why I asked those

 16      questions of Mr. Patrick earlier today.

 17                  THE COURT:    All right.

 18                  MR. SBAITI:    Your --

 19                  THE COURT:    That was the testimony.   There's an

 20      informal arrangement, at best.

 21                  MR. SBAITI:    Well, Your Honor, I would suggest that

 22      that doesn't necessarily mean that he isn't an agent of the

 23      DAF.    It doesn't have to be a formal agreement for him to be

 24      an agent of the DAF.

 25             Everyone's agreed he was an advisor.    Everyone's agreed he




000214
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 218 of 852 PageID 2123
                                 Dondero - Direct                           182


   1     was helping out.   That is an agency relationship.        It doesn't

   2     have to be written down.    It doesn't have to be a formal

   3     investment advisory relationship.        He's still an agent of the

   4     DAF.   He was requested to do something and agreed to do it

   5     under the expectation that all of us had that those would be

   6     privileged, Your Honor.    That is -- that is sufficient -- that

   7     is sufficient, I would argue, to get us where we need to be.

   8     The privilege should apply, Your Honor, and they don't have a

   9     basis for, I would say, invading the privilege, Your Honor.

 10                THE COURT:    Well, do you have any authority?       Because

 11      it just sounds wrong.    He's not an employee of your client.

 12      He doesn't have any contractual arrangement with your client.

 13                MR. SBAITI:    Your Honor, I would dispute the idea

 14      that he has no contractual arrangement with my client.          The

 15      question was asked, do you have a -- do you have a written

 16      agreement, and then the question was, so you don't have a

 17      contract, and the answer was no, I don't have a contract,

 18      building upon that first -- that first question.         But the

 19      testimony as he just recounted is that there is an agreement

 20      that he would advise Mr. Patrick and he would advise the DAF.

 21                THE COURT:    Okay.

 22                MR. SBAITI:    That's -- that's a contract.

 23                THE COURT:    Okay.   My question was, do you have any

 24      legal authority?   That's what I meant when I said authority.

 25      Any legal authority to support the privilege applying in this




000215
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 219 of 852 PageID 2124
                                  Dondero - Direct                         183


   1     kind of --

   2                MR. SBAITI:    In an informal arrangement, Your Honor?

   3     I don't have one at my fingertips at the moment, Your Honor,

   4     but I don't know that that should be a reason to invade the

   5     privilege.

   6         And I would just add, Your Honor, I would just add, we've

   7     already -- because of the purpose of these questions, you've

   8     heard Mr. Morris state several times that the purpose is to

   9     show that Mr. -- that Mr. Dondero had some role in advising

 10      and participating in the creation of this complaint.         That's

 11      been conceded by myself.     I believe it was conceded by Mr.

 12      Dondero.

 13          The actual specific facts, the actual specific

 14      conversations, Your Honor, shouldn't be relevant at this point

 15      and they shouldn't be admissible, given -- given the

 16      relevancy, given the perspective of the privilege.

 17                 THE COURT:    Okay.

 18                 MR. MORRIS:    If I might --

 19                 THE COURT:    I overrule your objection.     I don't think

 20      a privilege has been shown here --

 21                 MR. SBAITI:    And Your Honor, --

 22                 THE COURT:    -- and I think it's relevant.

 23                 MR. SBAITI:    -- I would ask if we could voir dire the

 24      witness on the basis of the privilege, if that's --

 25                 THE COURT:    All right.   You may do so.




000216
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 220 of 852 PageID 2125
                              Dondero - Voir Dire                         184


   1                          VOIR DIRE EXAMINATION

   2     BY MR. SBAITI:

   3     Q   Mr. Dondero, do you have a relationship with the DAF?

   4     A   Yes.

   5     Q   How would you describe that relationship?

   6     A   I view myself and my firm as the investment advisor.         I

   7     was actually surprised by the testimony today that there

   8     wasn't a contract in place, but there should be one.        There

   9     should be one soon, in my opinion.

 10      Q   Have you -- did you hear Mr. Patrick testify earlier that

 11      he comes to you for advice?

 12      A   Yes.

 13      Q   Is that --

 14      A   As he should.   Yeah.

 15      Q   Is that true?

 16      A   Yes.

 17      Q   When you render that advice, do you render that advice

 18      with some expectation about him following or listening to that

 19      advice?

 20      A   Okay, I think there's only been one investment or one

 21      change in the DAF portfolio since Mark Patrick's been

 22      involved, only one, and it was a real estate investment that I

 23      wasn't directly involved in.    And so the people who put that

 24      investment forward worked with Mark without my involvement,

 25      and then I think Mark got third-party appraisal firms and




000217
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 221 of 852 PageID 2126
                                 Dondero - Voir Dire                      185


   1     third-party valuation firms involved to make sure he was

   2     comfortable, which was a good process.

   3     Q   When you supplied information to Mr. Patrick, do you do so

   4     under the belief that there is a contractual, informal or

   5     formal, relationship?

   6                MR. MORRIS:    Objection to the form of the question.

   7                THE COURT:    Overruled.

   8                MR. SBAITI:    What specific form?

   9                THE COURT:    Overruled.

 10                 MR. SBAITI:    Thank you.

 11                 THE WITNESS:    Yes.   I believe it -- it's a

 12      relationship that can and should be papered as -- soon.

 13      That's my -- I mean, unless I get some reason from counsel not

 14      to, I think it's something that should be memorialized.

 15      BY MR. SBAITI:

 16      Q   And when you have that -- in that relationship, when you

 17      communicate with Mr. Patrick about matters, investment or

 18      otherwise, is there an expectation of privacy?

 19      A   Yes.

 20      Q   When Mr. Patrick -- did Mr. Patrick request that you

 21      interface with my firm and myself, as he testified earlier?

 22      A   Yes.

 23      Q   And when he did so, did he ask you to do so in an

 24      investigatory manner?

 25                 MR. MORRIS:    Objection to the form of the question.




000218
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 222 of 852 PageID 2127
                                  Dondero - Voir Dire                      186


   1                 THE COURT:    Sustained.   Rephrase.

   2     BY MR. SBAITI:

   3     Q   Did he tell you why he wanted you to talk to us?

   4     A   Yeah.    At that point, he had started an investigation into

   5     the HarbourVest transaction.

   6     Q   And -- and when he -- when you were providing information

   7     to us, did he tell you whether he wanted you to help the

   8     Sbaiti firm conduct the investigation?

   9     A   The -- overall, the financial numbers and tables in there

 10      were prepared by not myself, but I -- I did -- I did help on

 11      -- on the -- some of the registered investment advisor issues

 12      as I understood them.

 13      Q   Okay.    And the communications that you had with us, was

 14      that part of our investigation?

 15                  MR. MORRIS:    Objection to the form of the question.

 16                  THE COURT:    Overruled.

 17                  THE WITNESS:    Yes.

 18      BY MR. SBAITI:

 19      Q   And did you understand that we had been retained by Mr.

 20      Patrick on behalf of the DAF and CLO Holdco?

 21      A   Yes.

 22      Q   And did you appreciate or have any understanding of

 23      whether or not you were helping the law firm perform its legal

 24      function on behalf of the DAF and CLO Holdco?

 25      A   Perform its legal function?        I was just helping with




000219
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 223 of 852 PageID 2128
                               Dondero - Voir Dire                         187


   1     regard to the registered investment advisor aspects of the

   2     overall, you know, like that.

   3     Q   Let me ask a more simple question.        Did you -- did you

   4     appreciate that you were assisting a law firm in its

   5     representation of the DAF?

   6     A   Yes.

   7     Q   And you were helping the law -- and were you helping the

   8     law firm develop the facts for a complaint?

   9     A   Yes.    I would almost say, more importantly, I wanted to

 10      make sure that there weren't errors in terms of understanding

 11      either how CLOs worked or how the Investment Advisers Act

 12      worked.    So I was -- it was almost more of a proofing.

 13                 MR. SBAITI:   Your Honor, based upon that, I mean,

 14      he's helping a law firm perform its function for the client.

 15      That's an agency relationship that gets cloaked.         You can call

 16      him a consulting expert.    You can call him, to a certain

 17      extent, a fact witness, Your Honor.       If we want to take a

 18      break, I'm sure we could find authority on that basis for a

 19      work product privilege pretty easily.

 20          But he's an agent of the DAF.        Even if it's an informal

 21      agency relationship, that's still agency.        He's in some

 22      respects, I guess, an agent of the law firm, to the extent

 23      he's helping us perform our legal work.       And it seems like

 24      invading that privilege at this juncture is (a) unnecessary,

 25      because we've already conceded that there's been




000220
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 224 of 852 PageID 2129
                                 Dondero - Voir Dire                       188


   1     conversations, which I think is the relationship they wanted

   2     to establish.    And it's not unusual for a law firm to use

   3     someone with specialized knowledge to understand some of the

   4     intricacies of the actual issues that they're -- that they're

   5     getting ready to litigate.

   6                THE COURT:    Okay.   I find no privilege.    All right.

   7     That's the ruling.

   8                MR. BRIDGES:    Your Honor, may I add one thing to the

   9     objection for the record?

 10                 THE COURT:    Okay, we have a rule, one lawyer per

 11      witness.   Okay?   So, thank you.     A District Court rule, by the

 12      way, not mine.

 13                 MR. SBAITI:    Your Honor, may we take a short recess,

 14      given the Court's ruling?

 15                 THE COURT:    Well, I'd really like to finish this

 16      witness.   How much longer do you have?

 17                 MR. MORRIS:    About eight more questions.

 18                 THE COURT:    All right.   We'll take a break after the

 19      direct, okay?

 20                 MR. SBAITI:    Your Honor, I would ask that we -- if

 21      he's going to ask him more questions about the content of the

 22      communications, I ask respectfully for a recess so we can

 23      figure out what to do about that.        Because, right now, there's

 24      a ruling that he's going to have to reveal privileged

 25      information, and we don't have a way to go around and figure




000221
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 225 of 852 PageID 2130
                                Dondero - Voir Dire                       189


   1     out how to resolve that issue if we needed to.

   2               THE COURT:    Okay.   I've ruled it's not privilege.

   3     Okay?

   4               MR. SBAITI:    I understand that, Your Honor, but --

   5               THE COURT:    Your client is CLO Holdco and the DAF.

   6               MR. SBAITI:    Yes, Your Honor.

   7               THE COURT:    Representative, Mark Patrick.      No

   8     contract with Mr. Dondero.      The fact that he may be very

   9     involved I don't think gives rise to a privilege.        That's my

 10      ruling.

 11                MR. SBAITI:    I understand, Your Honor.     I understand,

 12      Your Honor, but I'm asking for a recess so that we can at

 13      least undertake to provide Your Honor with some case law on a

 14      reconsideration before we go there, because that bell can't be

 15      unrung.

 16                MR. MORRIS:    Your Honor, if I may?

 17                MR. SBAITI:    And it's --

 18                THE COURT:    Uh-huh.

 19                MR. MORRIS:    I'm happy to give them ten minutes, Your

 20      Honor, as long as they don't talk to the witness.

 21                THE COURT:    Okay.

 22                MR. MORRIS:    I want to give them the opportunity.          Go

 23      right ahead.

 24                THE COURT:    All right.   We'll take a ten-minute

 25      break.




000222
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 226 of 852 PageID 2131
                                  Dondero - Voir Dire                       190


   1                 MR. SBAITI:    Thank you.

   2                 THE COURT:    It's 3:05.

   3                 THE CLERK:    All rise.

   4         (A recess ensued from 3:03 p.m. until 3:17 p.m.)

   5                 THE CLERK:    All rise.

   6                 THE COURT:    Okay.   Please be seated.    Going back on

   7     the record in Highland.      Mr. Sbaiti?

   8                 MR. SBAITI:    Yes, Your Honor.    May I approach?

   9                 THE COURT:    You may.

 10                  MR. SBAITI:    Your Honor, we have some authority to

 11      support the position we'd taken.        We'd ask the Court to

 12      reconsider your ruling on the privilege.

 13          The first bit of authority is Section 70 of the

 14      Restatement (Third) of Law Governing Lawyers.         Privileged

 15      persons within the meaning of Section 68, which governs the

 16      privilege, says that those persons include either agents of

 17      either the lawyer or the client who facilitate communications

 18      between the two in order for the lawyers to perform their

 19      function.

 20          Another case that we found is 232 F.R.D. 103 from the

 21      Southern District of New York, 2005.        It's Express Imperial

 22      Bank of U.S. v. Asia Pulp Company.         And in that case, Your

 23      Honor, the consultant was a -- had a close working

 24      relationship with the company and performed a similar role to

 25      that of the employee and was assisting the law firm in




000223
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 227 of 852 PageID 2132
                                  Dondero - Voir Dire                     191


   1     performing their functions, and the court there found that the

   2     work product privilege -- actually, the attorney-client

   3     privilege -- attached in what they called a Functional

   4     Equivalents Doctrine, Your Honor.

   5            And here we have pretty much the same set of facts that's

   6     pretty much undisputed.      The fact that there -- and the fact

   7     that there isn't a written agreement doesn't mean there isn't

   8     a contractual arrangement for him to have rendered services

   9     and advice.     And the fact that he's, you know, recruited by us

 10      to help us perform our functions puts him in the realm, as I

 11      said, of something of a consulting expert.

 12             Either way, the work product privilege, Your Honor, should

 13      apply, and we'd ask Your Honor not to invade that privilege at

 14      this point, Your Honor.      And I'll ask you to reconsider your

 15      prior ruling.

 16             Furthermore, I believe Mr. Morris, you know, in making his

 17      argument, is trying to create separation.       The fact that he

 18      has no relationship, that the privilege can be invaded, seems

 19      to defeat the whole premise of his whole line of questioning.

 20             So, once again, Your Honor, I just -- it's a tit for a tat

 21      there, and it seems to kind of eat itself.       Either he is

 22      working with us, which we've admitted he is working with us,

 23      us being the law firm, and helping us do our jobs, or he's

 24      not.    And if he's not, then this should be done.

 25                  THE COURT:    Okay.




000224
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 228 of 852 PageID 2133
                               Dondero - Voir Dire                          192


   1              MR. MORRIS:     Your Honor, briefly?

   2              THE COURT:    Well, among other things, what do you

   3     want me to do?   Take a break and read your one sentence from

   4     the Restatements and your one case?       And could you not have

   5     anticipated this beforehand?

   6              MR. SBAITI:     Your Honor, --

   7              THE COURT:    This is not the way we work in the

   8     bankruptcy courts, okay?    We're business courts.       We have

   9     thousands of cases.    We expect briefing ahead of time.

 10               MR. SBAITI:     Your Honor, this has been a rather

 11      rushed process anyway.    And to be honest, --

 12               THE COURT:    When was the motion filed?

 13               MR. SBAITI:     Your Honor, --

 14               THE COURT:    More than a month ago.

 15               MR. SBAITI:     -- his deposition was a week ago.

 16               THE COURT:    Well, okay.   So you could not have

 17      anticipated this issue until his deposition one week ago?

 18               MR. SBAITI:     Your Honor, this issue arose at the

 19      deposition, obviously, because that's what he's quoting from.

 20      However, at least to us, this is such a well-settled area, and

 21      to be honest, --

 22               THE COURT:    Such a well-settled area that you have

 23      one sentence from the Restatement and one case from the

 24      Southern District of New York?

 25               MR. SBAITI:     No, Your Honor.     I think the work




000225
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 229 of 852 PageID 2134
                                 Dondero - Voir Dire                       193


   1     product privilege lexicon -- we had ten minutes to try to find

   2     something more on point than the general case law that applies

   3     the work product privilege to people that work with lawyers,

   4     consultants who work with lawyers, employees who work with

   5     lawyers, even low-down employees who normally wouldn't enjoy

   6     the privileges that attach to the corporation, when they work

   7     with the company for -- when they work with the company

   8     lawyers, it typically attaches.

   9                THE COURT:    You know, obviously, I know a few things

 10      about work product privilege, but he doesn't check any of the

 11      boxes you just listed out.

 12                 MR. SBAITI:    I disagree, Your Honor.

 13                 THE COURT:    He's not an employee.     He's not a low-

 14      level employee.

 15                 MR. SBAITI:    He's a consultant.

 16                 THE COURT:    With no agreement.

 17                 MR. SBAITI:    With a verbal agreement.     He's an

 18      advisor.   And he was recruited by us, and at the request of

 19      the DAF, of the head of the DAF, Mr. Patrick, to help us do

 20      our job for the DAF.     I don't --

 21                 THE COURT:    Okay.   Mr. Morris, what do you want to

 22      say?

 23                 MR. MORRIS:    Just briefly, Your Honor.     This issue

 24      has been ripe since last Tuesday.        They directed him not to

 25      answer a whole host of questions about his involvement at the




000226
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 230 of 852 PageID 2135
                               Dondero - Voir Dire                         194


   1     deposition last Tuesday, so they've actually had six days to

   2     deal with this.    That's number one.

   3         Number two, there's absolutely nothing inconsistent with

   4     the Debtor's position that Mr. Dondero is participating in the

   5     pursuit of claims and at the same time saying that his

   6     communications with the Sbaiti firm are not privileged.

   7     There's nothing inconsistent about that.

   8         So the argument that he just made, that somehow because

   9     we're trying to create separation, that that's inconsistent

 10      with our overall arching theme that Mr. Dondero is precisely

 11      engaged in the pursuit of claims against Mr. Seery, I think

 12      that takes care of that argument.

 13          Finally, your Honor, with respect to this consultancy

 14      arrangement, not only isn't there anything in writing, but

 15      either you or Mr. Sbaiti or I, I think, should ask Mr. Dondero

 16      the terms of the agreement.    Is he getting paid?       Is he doing

 17      it for free?    Who retained him?   Was it Mr. -- because the --

 18      there's no such thing.   There's no such thing.

 19          The fact of the matter is what happened is akin to I have

 20      a slip-and-fall case and I go to a personal injury lawyer and

 21      I bring my brother with me because I trust my brother with

 22      everything.    It's not privileged.      Any time you bring in

 23      somebody who is not the attorney or the client, the privilege

 24      is broken.    It's really quite simple.     Unless there's a common

 25      interest.    They can't assert that here.     There is no common




000227
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 231 of 852 PageID 2136
                                  Dondero - Voir Dire                      195


   1     interest.    So --

   2                 THE COURT:    Okay.   Mr. Sbaiti, I'll give you up to

   3     three more minutes to voir dire Mr. Dondero to try to

   4     establish some sort of agency relationship or other evidence

   5     that you think might be relevant.

   6                               VOIR DIRE, RESUMED

   7     BY MR. SBAITI:

   8     Q   Mr. Dondero, when you provided information to the law

   9     firm, were you doing so under an agency relationship?         Do you

 10      know what an agency relationship is?

 11      A   Generally.       When you're working on the -- or why don't you

 12      tell me?

 13      Q   Tell me your understanding, so we can use --

 14      A   That you're working for the benefit or as a proxy for the

 15      other entity or the other firm or the other person.

 16      Q   Right.    So you're working for the DAF?

 17      A   Yes.

 18      Q   Do you do work for the DAF?

 19      A   Yes.    As I stated, I'm surprised there isn't -- when we

 20      reconstituted after leaving Highland, we put in shared

 21      services agreements in place and asset management agreements

 22      in place and tasked people with doing that for most of the

 23      entities.    There might be still a few contracts that are being

 24      negotiated, but I thought most of them were in place.

 25          So I would imagine that there'll be an asset management




000228
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 232 of 852 PageID 2137
                               Dondero - Voir Dire                         196


   1     agreement with the DAF back to NexPoint sometime soon, so it

   2     -- it's --

   3     Q    Let me ask you this question.       When you were providing

   4     information to us and having conversations with us, were you

   5     doing that as an agent of the DAF, the way you described it,

   6     --

   7     A    Yes.

   8     Q    -- on their behalf?

   9     A    Yes.

 10      Q    Were you also doing it to help us do our jobs for the DAF?

 11      A    Yes.

 12      Q    Did you respond to requests for information from myself?

 13      A    Yes.

 14      Q    Did you help coordinate other -- finding other witnesses

 15      or sources of information at my request?

 16      A    Yes.

 17      Q    Did you do so based upon any understanding that I was

 18      working on behalf of the DAF for that?

 19      A    Yes.    I knew -- I knew you were working for the DAF.       No

 20      one else, yeah.

 21      Q    And so -- and so did you provide any expertise or any in-

 22      depth understanding to myself in helping me prepare that

 23      complaint?

 24      A    I think so, but I give a lot of credit to your firm for

 25      researching things that I -- I knew reasonably well but then




000229
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 233 of 852 PageID 2138
                                 Dondero - Voir Dire                       197


   1     you guys researched in even more depth.

   2                MR. MORRIS:    I'd move to strike the answer as

   3     nonresponsive.

   4                THE COURT:    Sustained.

   5     BY MR. SBAITI:

   6     Q   Let me ask the question again.       When you were providing us

   7     information and expertise, were you doing so knowing you were

   8     working -- helping us work for the DAF?

   9     A   Yes.

 10      Q   Now, did you demand any compensation for that?

 11      A   No.

 12      Q   Do you require compensation necessarily to help the DAF?

 13      A   No.

 14      Q   Do you do other things for the DAF sometimes without

 15      compensation?

 16      A   Right.    We do the right thing, whether we get paid for it

 17      or not.    Yes.

 18      Q   Had you known that our communications were not necessarily

 19      part of an agency relationship with the DAF, as you understood

 20      it, that you were just some guy out on the street, would you

 21      have had the same conversations with us?

 22      A   (sighs)

 23      Q   Let me ask a better question.        If I had come to you

 24      working for someone that wasn't the DAF, you didn't already

 25      have a relationship with, would you have given us the same




000230
Case 3:21-cv-00842-B Document 43 Filed 07/13/21       Page 234 of 852 PageID 2139
                                  Dondero - Voir Dire                         198


   1     help?

   2     A   I wouldn't have been involved if it was somebody else.

   3     Q   Is the reason you got involved because we were the lawyers

   4     for the DAF?

   5     A   Correct.

   6                 MR. MORRIS:    Objection.   It's just leading.       This is

   7     all leading.

   8                 THE WITNESS:    Correct.

   9                 THE COURT:    Sustained.

 10                  MR. SBAITI:    Can --

 11                  THE WITNESS:    Yeah.   Sorry.

 12      BY MR. SBAITI:

 13      Q   Do you get -- do -- did you -- did you do work for the --

 14      did you provide the help for the DAF laboring under the

 15      understanding that there was an agreement?

 16                  MR. MORRIS:    Objection; leading.

 17                  THE COURT:    Sustained.

 18      BY MR. SBAITI:

 19      Q   Earlier you testified you believed there was an agreement?

 20      A   I thought that was an agreement, and I thought there will

 21      be one shortly if there isn't one, yes.

 22      Q   Okay.

 23      A   And so we -- I've been operating in a bona fide way in the

 24      best interests of the DAF throughout -- assuming there was an

 25      agreement, but even if there wasn't a formal one, I would




000231
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 235 of 852 PageID 2140
                                 Dondero - Voir Dire                      199


   1     still be moving in the best interests of the DAF and helping

   2     your firm out or --

   3     Q   And you did that because you believed there was an

   4     agreement or soon would be?

   5     A   Yes.

   6                MR. SBAITI:    Your Honor, I mean, I believe we've

   7     established a dual role here, both as an agent of the DAF and

   8     as an agent of the law firm, Your Honor.

   9                THE COURT:    Okay.   Just a minute.   I'm looking at

 10      Texas authority on common interest privilege to see if there's

 11      anything that --

 12          (Pause.)

 13                 THE COURT:    All right.   Again, it would have been

 14      very nice to get briefing ahead of time.       I think this

 15      absolutely could have been anticipated.

 16          I do not find the evidence supports any sort of protection

 17      of this testimony under work product privilege, common

 18      interest privilege.      I just haven't been given authority or

 19      evidence that supports that conclusion.       So the objections are

 20      overruled.

 21          Mr. Morris, go ahead.

 22                         DIRECT EXAMINATION, RESUMED

 23      BY MR. MORRIS:

 24      Q   Can you describe for the Court the substance of your

 25      communications with Mr. Sbaiti concerning the complaint?




000232
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 236 of 852 PageID 2141
                                 Dondero - Direct                         200


   1     A   As I've stated, directing him toward the Advisers Act and

   2     then largely in a proofing function regarding CLO nomenclature

   3     and some of the other fund nomenclature that sometimes gets

   4     chaotic in legal briefs.

   5     Q   Did you communicate in writing at any time with anybody at

   6     the Sbaiti firm regarding any of the matters that are the

   7     subject of the complaint?

   8     A   I can't remember anything in writing.       Almost everything

   9     was verbal, on the phone.

 10      Q   You don't tend to write much, right?

 11      A   Periodically.

 12      Q   Did you communicate with Mr. Patrick?       Did you communicate

 13      with anybody in the world in writing regarding the substance

 14      of anything having to do with the complaint?

 15               MR. SBAITI:    Objection, Your Honor.      Argumentative.

 16               THE COURT:    Overruled.

 17               THE WITNESS:    I --

 18               MR. SBAITI:    Your Honor, may I just -- one

 19      housekeeping.   Rather than raise the same objection, may we

 20      have a standing objection, just so we're not disruptive, as to

 21      the privilege, just for preservation purposes, on the content

 22      of these communications?    Otherwise, I'll just make the same

 23      objections and we can go through it.

 24               THE COURT:    Well, disruptive as it may be, I think

 25      you need to object to every --




000233
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 237 of 852 PageID 2142
                                   Dondero - Direct                         201


   1                 MR. SBAITI:    Okay.

   2                 THE COURT:    -- question you think the privilege

   3     applies to.

   4                 MR. SBAITI:    I will do so.    Thank you, Your Honor.

   5     Uh-huh.

   6     BY MR. MORRIS:

   7     Q   Mr. Dondero, the question was whether you've ever

   8     communicated with anybody in the world in writing concerning

   9     anything having to do with the complaint?

 10      A   Not that I remember.

 11      Q   Okay.

 12                  MR. MORRIS:    I will point out, Your Honor, that last

 13      week, when the privilege was asserted, I had requested the

 14      production of a privilege log.      I was told -- I forget exactly

 15      what I was told, but we never received one.         I'll just point

 16      that out as well.

 17                  THE COURT:    Okay.

 18      BY MR. MORRIS:

 19      Q   You provided comments to the drafts of the complaint

 20      before it was filed, correct?

 21      A   Yes, a few.

 22      Q   Can you describe for the Court all of the comments that

 23      you provided to earlier drafts of the complaint?

 24                  MR. SBAITI:    Your Honor, we object on the basis of

 25      privilege and work product and joint -- joint interest




000234
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 238 of 852 PageID 2143
                                  Dondero - Direct                         202


   1     privilege.

   2               THE COURT:   Overruled.

   3               THE WITNESS:    It's along the lines of things I've

   4     said in this court several times.        The obligations under the

   5     Advisers Act cannot be negotiated away and they cannot be

   6     waived by the people involved, full stop.        I remember giving

   7     the -- Mazin the example of the only reason why we're in a

   8     bankruptcy is from an arbitration award that, even though we

   9     did what was in the best interests of the investors, we got

 10      the investors out more than whole over an extended period of

 11      time, they got an arbitration award that said when we

 12      purchased some of the secondary interests we should have

 13      offered them up to the other 800 members in the committee

 14      besides the -- the 800 investors in the fund besides the eight

 15      people on the committee who had approved it and that the

 16      committee couldn't approve a settlement that went against the

 17      Advisers Act and the Advisers Act stipulates specifically that

 18      you have to offer it up to other investors before you take an

 19      opportunity for yourself.    And someday, hell or high water, in

 20      this court or some other, we will get justice on that.          And

 21      that was the primary point that I reminded Mazin about.

 22      BY MR. MORRIS:

 23      Q   And that's exactly the conversation you had with Mark

 24      Patrick that started this whole thing, correct?

 25      A   No.




000235
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 239 of 852 PageID 2144
                                Dondero - Direct                          203


   1     Q   You told Mark Patrick that you believe the Debtor had

   2     usurped a corporate opportunity that should have gone to the

   3     DAF, didn't you?

   4     A   That was not our conversation.

   5     Q   So when Mr. Patrick testified to that earlier today, he

   6     just got it wrong, right?

   7     A   Well, maybe later on, but it wasn't that in the beginning.

   8     The beginning, any conversation I had with Mark Patrick in the

   9     beginning was smelling a rat in the way that the Debtor had

 10      priced the portfolio for HarbourVest.

 11      Q   Hmm.    So you're the one, again, who started that piece of

 12      the discussion as well, correct?

 13      A   Started the -- I -- I guess I smelled a rat, but I put the

 14      person who could do all the numbers in touch with the Sbaiti

 15      firm.

 16      Q   And was the rat Mr. Seery?

 17      A   Was the rat Mr. Seery?    Or the independent board.       Or a

 18      combination thereof.   I believe the independent board knew

 19      exactly what Seery was doing with --

 20      Q   Do you have any idea --

 21      A   -- HarbourVest.

 22      Q   Do you have any idea why, why the Sbaiti firm didn't name

 23      the whole independent board in the -- in the motion for leave

 24      to amend?

 25      A   I don't know.    Maybe they will at some point.




000236
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 240 of 852 PageID 2145
                                    Dondero - Direct                       204


   1     Q   Yeah.

   2     A   I don't know.

   3     Q   But did you tell the Sbaiti firm that you thought the

   4     whole independent board was acting in bad faith and was a rat?

   5                 MR. SBAITI:    Your Honor, I object on the basis of

   6     privilege.

   7                 THE COURT:    Overruled.

   8                 MR. SBAITI:    All three.

   9                 THE WITNESS:    I knew Jim Seery was and I knew Jim

 10      Seery had weekly meetings with the other independent board

 11      members, so the HarbourVest settlement was significant enough

 12      that it would have been approved, but I don't have direct

 13      knowledge of their involvement.

 14      BY MR. MORRIS:

 15      Q   And so you -- but you believed Jim Seery was certainly a

 16      rat, right?

 17      A   Oh, I -- there was a defrauding of third-party investors

 18      to the tune of not insignificant 30, 40, 50 million bucks, and

 19      it was obfuscated, it was -- it was highly obfuscated in the

 20      9019.

 21      Q   Did you think Mr. Seery was a rat, sir?         Yes or no?

 22      A   I believe he had monthly financials.        He knew that the

 23      numbers presented in the 9019 were wrong.        And if that makes

 24      him a rat, that makes him a rat.        Or maybe he's just being

 25      aggressive for the benefit of his incentive or for the estate.




000237
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 241 of 852 PageID 2146
                                    Dondero - Direct                        205


   1     But I -- I believe those things wholeheartedly.

   2     Q      Did you tell the Sbaiti firm you thought Jim Seery was a

   3     rat?

   4                 MR. SBAITI:    Objection, Your Honor.     Privilege.

   5                 THE COURT:    Overruled.

   6                 THE WITNESS:    I -- I don't remember using those

   7     words.

   8     BY MR. MORRIS:

   9     Q      Did you tell the Sbaiti Firm that you thought Jim Seery

 10      had engaged in wrongful conduct?

 11                  MR. SBAITI:    Your Honor, objection.     Privilege.

 12                  THE COURT:    Overruled.

 13                  THE WITNESS:    I believe he violated the Advisers Act,

 14      and I was clear on that throughout.

 15      BY MR. MORRIS:

 16      Q      Listen carefully to my question.       Did you tell the Sbaiti

 17      firm that you believed that Jim Seery engaged in wrongful

 18      conduct?

 19                  MR. SBAITI:    Objection, Your Honor.     Calls for

 20      privileged communications.

 21                  THE COURT:    Overruled.

 22                  THE WITNESS:    I think I gave the answer.     I'll give

 23      the same answer.    I believe he violated the Advisers Act.

 24      BY MR. MORRIS:

 25      Q      What other wrongful conduct did you tell the Sbaiti firm




000238
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 242 of 852 PageID 2147
                                    Dondero - Direct                      206


   1     you thought Mr. Seery had engaged in?

   2                 MR. SBAITI:    Same objection, Your Honor.

   3                 THE COURT:    Overruled.

   4                 MR. SBAITI:    Calls for privileged communications.

   5                 THE COURT:    Overruled.

   6                 THE WITNESS:    I -- I just remember the obfuscating

   7     and mispricing portfolio violations of the Advisers Act was

   8     all I discussed with the Sbaiti firm regarding Seery's

   9     behavior.

 10      BY MR. MORRIS:

 11      Q   Did you talk to them about coming to this Court under the

 12      gatekeeper order to see if you could get permission to sue Mr.

 13      Seery?

 14      A   I --

 15                  MR. SBAITI:    Objection, Your Honor.   Calls for

 16      privileged communication.

 17                  THE COURT:    Overruled.

 18                  THE WITNESS:    I wasn't involved in any of the --

 19      BY MR. MORRIS:

 20      Q   Did you --

 21      A   -- tactical stuff on who to sell or -- who to sue or when

 22      or whatever.

 23      Q   Did you tell the Sbaiti firm that you thought they should

 24      sue Mr. Seery?

 25                  MR. SBAITI:    Objection, Your Honor.   Calls for




000239
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 243 of 852 PageID 2148
                                 Dondero - Direct                         207


   1     privileged communication.

   2              THE COURT:    Overruled.

   3              MR. SBAITI:    I'll also say, Your Honor, the question

   4     is getting a little argumentative.

   5              THE WITNESS:    I didn't get directly --

   6              THE COURT:    Overruled.

   7              THE WITNESS:    I didn't get directly involved in who

   8     was -- who was specifically liable.

   9     BY MR. MORRIS:

 10      Q   How many times did you speak with the Sbaiti firm

 11      concerning the complaint?

 12      A   Half a dozen times, maybe.

 13      Q   Did you ever meet with them in person?

 14      A   I've only met with them in person a couple, three times.

 15      And I don't think any of them -- no, it was, excuse me, it was

 16      on deposition or other stuff.    It wasn't regarding this.

 17      Q   Did you send them any information that was related to the

 18      complaint?

 19      A   I did not.

 20      Q   Did you ask anybody to send the Sbaiti firm information

 21      that related to the complaint?

 22      A   I did not.   I -- I was aware that Hunter Covitz was

 23      providing the historic detailed knowledge to the firm, but it

 24      -- it wasn't -- I don't believe it was me who orchestrated

 25      that.




000240
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 244 of 852 PageID 2149
                                    Dondero - Direct                       208


   1     Q   Did you talk to anybody at Skyview about the allegations

   2     that are contained in the complaint before it was filed?

   3     A   I don't -- I don't remember.

   4     Q   Have you ever talked to Isaac Leventon or Scott Ellington

   5     about the allegations in the complaint?

   6     A   No.     They weren't involved.

   7     Q   How about -- how about D.C. Sauter?         You ever speak to him

   8     about it?

   9     A   I don't --

 10                  MR. TAYLOR:    Objection, Your Honor.

 11                  THE WITNESS:    I don't remember.

 12                  MR. TAYLOR:    At this point, D.C. Sauter is indeed an

 13      employee of Skybridge and is a general counsel for some of the

 14      entities which he worked for.      And to the extent he's trying

 15      to ask for those communications, that would be invasion of the

 16      privilege.

 17                  MR. MORRIS:    I'll withdraw it, Your Honor.     That's

 18      fair.

 19                  THE COURT:    Okay

 20                  MR. MORRIS:    That's fair.

 21                  THE COURT:    Question withdrawn.

 22                  THE WITNESS:    I thought you only had eight more

 23      questions.

 24                  MR. MORRIS:    Opened the door.

 25      BY MR. MORRIS:




000241
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 245 of 852 PageID 2150
                                    Dondero - Direct                        209


   1     Q   Can you describe the general fact -- withdrawn.          You

   2     provided facts and ideas to the Sbaiti firm in connection with

   3     your review of the draft complaint, correct?

   4     A   Ideas and proofreading.

   5     Q   Anything beyond what you haven't described already?

   6     A   Nope.

   7     Q   Okay.    Who is your primary contact at the Sbaiti firm, if

   8     you had one?

   9     A   Mazin.

 10      Q   Okay.    Did you suggest to Mr. Sbaiti that Mr. Seery should

 11      be named as a defendant in the lawsuit before it was filed?

 12                   MR. SBAITI:    Your Honor, calls for privileged

 13      communication.    We object --

 14                  THE COURT:    Overruled.

 15                  MR. SBAITI:    -- to that answer.

 16                  MR. SBAITI:    Okay.

 17                  THE WITNESS:    Again, no.   I wasn't involved with the

 18      tactics on who would be defendants and when or if other people

 19      would be added.

 20      BY MR. MORRIS:

 21      Q   Did you -- are familiar with the motion to amend that was

 22      filed by the Sbaiti firm?

 23      A   I'm more familiar with it after today --

 24      Q   Right.

 25      A   -- than I was before.




000242
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 246 of 852 PageID 2151
                                   Dondero - Direct                         210


   1     Q   And were you aware that that motion was going to be filed

   2     prior to the time that it actually was filed?

   3     A   I -- I don't remember.        Probably.

   4     Q   And who would have been the source of that information?

   5     Would that have been Mr. Sbaiti?

   6     A   Yes.

   7     Q   Okay.     And did you express any support for the decision to

   8     file the motion for leave to amend in the District Court?

   9     A   I -- I wasn't involved.        It was very complicated legal

 10      preservation conver... -- I wasn't involved.         I knew the

 11      conversations were going on between different lawyers, but I

 12      wasn't involved in the ultimate decision.         I didn't encourage,

 13      applaud, or even know exactly what court it was going to be

 14      filed in.

 15                  MR. MORRIS:    All right.   I have no further questions,

 16      Your Honor.

 17                  THE COURT:     All right.   Pass the witness.

 18                  MR.

 19      ANDERSON:    We have no questions, Your Honor.

 20                  THE COURT:    Okay.   Any questions from Respondents?

 21                  MR. SBAITI:    No questions.

 22                  THE COURT:    Okay.   Mr. Taylor?

 23                                 CROSS-EXAMINATION

 24      BY MR. TAYLOR:

 25      Q   Mr. Dondero, --




000243
Case 3:21-cv-00842-B Document 43 Filed 07/13/21      Page 247 of 852 PageID 2152
                                     Dondero - Cross                         211


   1     A      Yes, sir.

   2     Q      -- you are not the authorized representative of CLO

   3     Holdco, are you?

   4     A      No.

   5     Q      You're not the authorized representative for the DAF, are

   6     you?

   7     A      No.

   8     Q      Do you know who that person is as we sit here today?

   9     A      Yes.

 10      Q      Who is that?

 11      A      Mark Patrick.

 12      Q      Thank you.

 13                    MR. TAYLOR:    No further questions.

 14                    THE COURT:    Any redirect on that cross?

 15                    MR. MORRIS:    I do not, Your Honor.    I would just like

 16      to finish up the Debtor's case in chief by moving my exhibits

 17      into evidence.

 18                    THE COURT:    Okay.   Mr. Dondero, you're excused.

 19             (The witness steps down.)

 20                    THE COURT:    All right.   So you have no more

 21      witnesses; you're just going to offer exhibits?

 22                    MR. MORRIS:    Yes, Your Honor.

 23                    THE COURT:    Okay.

 24                    MR. MORRIS:    So, at Docket #2410, --

 25                    THE COURT:    Uh-huh.




000244
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 248 of 852 PageID 2153
                                                                          212


   1               MR. MORRIS:    -- the Court will find Exhibits 1

   2     through 53.

   3               THE COURT:    Uh-huh.

   4               MR. MORRIS:    In advance, Your Honor, I've conferred

   5     with the Respondents' counsel.       They had previously objected

   6     to Exhibits 15 and 16, which I believe were the Grant Scott

   7     deposition transcripts.    They objected to them on the grounds

   8     of lack of completeness because I had taken the time to make

   9     deposition designations, but I'm happy to put the entirety of

 10      both transcripts into evidence, and I hope that that will

 11      remove the objections to Exhibits 15 and 16.

 12                THE COURT:    All right.    Before we confirm, let's just

 13      make sure we have the right one.

 14                MR. MORRIS:    Oh, I apologize.

 15                THE COURT:    I have 16 as the July order.

 16                MR. MORRIS:    I apologize.    You're absolutely right,

 17      Your Honor.   What I was referring to was -- oh, goodness.        One

 18      second.   (Pause.)   I was referring to Exhibits 23 and 24.

 19      Those are Mr. Scott's deposition designations.       They had

 20      lodged an informal objection with me on grounds of

 21      completeness.   And in order to resolve that objection, we're

 22      happy to put the entirety of both transcripts in.

 23                THE COURT:    All right.    So if our Respondents could

 24      confirm with the agreement to put in the entire depos at 23

 25      and 24, you stipulate to 1 through 53?




000245
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 249 of 852 PageID 2154
                                                                            213


   1                 MR. PHILLIPS:    We also -- Your Honor, --

   2                 MR. MORRIS:    Yeah, I was going to take them one at a

   3     time.   Just take those two.

   4                 MR. PHILLIPS:    Yeah, can we just take those two?

   5     Confirmed?

   6                 MR. MORRIS:    Okay.

   7                 THE COURT:    Oh, okay.

   8                 MR. PHILLIPS:    Because there are other -- there are

   9     other -- we exchanged objections to each other's witness and

 10      exhibit lists.    And so I think you can handle the rest of them

 11      kind of in a bunch, right?

 12                  MR. MORRIS:    Yeah.    Yeah, there's two bunches,

 13      actually.

 14                  MR. PHILLIPS:    Yeah.

 15                  THE COURT:    Okay.    So you have just now stipulated to

 16      23 and 24 being admitted --

 17                  MR. MORRIS:    Correct.

 18                  THE COURT:    -- with the full depos?     Okay.

 19                  MR. PHILLIPS:    Yes, ma'am.    Thank you.

 20                  THE COURT:    All right.

 21          (Debtor's Exhibits 23 and 24 are received into evidence.)

 22                  MR. MORRIS:    And then the next two that they objected

 23      to are Exhibits 15 and 16.         15 is the January order and 16 is

 24      the July order.    They objected on relevance grounds.        I think

 25      16 -- these are the two orders that the Debtors contend the




000246
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 250 of 852 PageID 2155
                                                                           214


   1     Respondents have violated, so I don't understand the relevance

   2     objection, but that's what it was and that's my response.

   3                MR. PHILLIPS:    Resolved, Your Honor.

   4                THE COURT:    Okay.    15 and 16 are admitted.

   5           (Debtor's Exhibits 15 and 16 are received into evidence.)

   6                MR. MORRIS:    Okay.    And then the last objection

   7     relates to a group of exhibits.       They're Exhibits 1 through

   8     11.   Those exhibits I think either come in together or stay

   9     out together.   They are exhibits that relate to the

 10      HarbourVest proceedings, including deposition notices,

 11      including I think the transcript from the hearing, the Court's

 12      order, the motion that was filed.

 13            The Debtor believes that those documents are relevant

 14      because they go right to the issue of the gatekeeper order and

 15      had they filed, had the Respondents followed the gatekeeper

 16      order, this is -- this is why they didn't do it.         You know

 17      what I mean?    That's the argument, is that the Respondents,

 18      one of the reasons the Respondents -- argument -- one of the

 19      reasons the Respondents didn't come to this Court is because

 20      they knew this Court had that kind of record before it.          And I

 21      think that's very relevant.

 22                 THE COURT:    All right.    Response?

 23                 MR. PHILLIPS:    Your Honor, we think that these

 24      exhibits are not relevant.        We have a very focused, we think,

 25      -- we have the Court's order.        Those objections are withdrawn.




000247
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 251 of 852 PageID 2156
                                                                          215


   1     We have the complaint.    We have the motion to amend.      And the

   2     issue is whether the motion to amend, which was dismissed one

   3     day, or the next day after it was filed, constitutes criminal

   4     -- constitutes contempt.

   5         So we think the prior proceedings go to their underlying

   6     argument, which is the lawsuit or the complaint is no good,

   7     and that has nothing to do with -- there's been no foundation

   8     laid and it's not relevant what happened in connection with

   9     the HarbourVest settlement.    It is what it is, and there's no

 10      dispute that it is what it is, but it's not relevant to

 11      establish any type of -- they've even said intent is not even

 12      relevant here.   So we -- that's -- we think all of that goes

 13      out and simplifies the record, because it has nothing to do

 14      with whether or not there was a contempt.

 15               THE COURT:    Response?

 16               MR. MORRIS:     We withdraw the exhibits, Your Honor.

 17      I'm just going to make it simple for the Court.

 18               THE COURT:    Okay.

 19               MR. MORRIS:     I'm just going to make it simple for the

 20      Court.

 21               THE COURT:    1 through 11 are withdrawn.

 22          (Debtor's Exhibits 1 through 11 are withdrawn.)

 23               MR. MORRIS:     So, the balance, there was no objection.

 24      So all of the Debtor's exhibits on Docket #2410 -- let me

 25      restate that.    Exhibits 12 through 53 no longer have an




000248
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 252 of 852 PageID 2157
                                                                          216


   1     objection.    Is that correct?

   2              MR. PHILLIPS:    Yes.

   3              MR. MORRIS:    Okay.    And then --

   4              MR. PHILLIPS:    Confirmed.

   5              THE COURT:      Okay.

   6         (Debtor's Exhibits 12 through 53 are received into

   7     evidence.)

   8              MR. MORRIS:    Okay.    Thank you.    And then we filed an

   9     amended list, I believe, yesterday --

 10               THE COURT:    Uh-huh.

 11               MR. MORRIS:     -- to add Exhibits 40 -- 54 and 55.

 12               THE COURT:    Uh-huh.

 13               MR. MORRIS:    And those exhibits are simply my firm's

 14      billing records.

 15               THE COURT:    Okay.

 16               MR. MORRIS:     You know, we added Mr. Demo to the

 17      witness list in case there was a need to establish a

 18      foundation.    That's the only thing he would testify to.       I

 19      don't know if there's an objection to those two exhibits,

 20      because we hadn't had an opportunity to confer.

 21               THE COURT:    Any objection?

 22               MR. PHILLIPS:    Your Honor, we're not going to require

 23      authenticity and foundation for -- we have the right, we

 24      think, to say that they're not a ground -- we're not going to

 25      challenge that they are the bills, and the bills say what they




000249
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 253 of 852 PageID 2158
                                                                            217


   1     say.    We don't need Mr. -- we don't need a witness to

   2     authenticate those exhibits.         But we reserve all substantive

   3     rights with respect to the effect of those exhibits.

   4                 THE COURT:     All right.   54 and 55 are admitted.

   5            (Debtor's Exhibits 54 and 55 are received into evidence.)

   6                 MR. MORRIS:     And with that, Your Honor, the Debtor

   7     rests.

   8                 THE COURT:     Okay.   All right.   Respondents?

   9            (Counsel confer.)

 10                  MR. PHILLIPS:     If I could have a second?

 11                  THE COURT:     Okay.

 12                  A VOICE:   Sorry, Your Honor.

 13             (Pause.)

 14                  MR. PHILLIPS:     Your Honor, we have filed in our

 15      witness and exhibit list, and I have to say I don't have the

 16      number, but we'll get the docket entry number, but we have 44

 17      exhibits.    There's an objection to Exhibit #2, which is --

 18      thank you -- it's Document 2411, Your Honor.         Thank you.

 19                  THE COURT:     Uh-huh.

 20                  MR. PHILLIPS:     There is a pending objection to

 21      Exhibit #2 which we have not resolved.          There's no objection

 22      to any other exhibit.       But in reviewing our exhibit list, I

 23      found that we had some -- some mistakes and duplications.

 24             So, with respect to 2411, we would withdraw Exhibit 13,

 25      14, and 29, and we would offer Exhibit 1, and then 30 through




000250
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 254 of 852 PageID 2159
                                                                          218


   1     44, with 13, 14, and 29 deleted.

   2               THE COURT:    Okay.    So 1, 3 through 12, --

   3               MR. PHILLIPS:    Yes.

   4               THE COURT:    -- 15 through 28, and then 30 --

   5               MR. PHILLIPS:    And then 30 through 44.

   6               THE COURT: -- through 44?      Do you confirm, Mr.

   7     Morris?

   8               MR. MORRIS:    Yes, Your Honor.     The only objection we

   9     have is to Exhibit #2.

 10                THE COURT:    And that's -- he's not offering that?

 11                MR. MORRIS:    Yeah.

 12                MR. PHILLIPS:    Not at this time, Your Honor.

 13                THE COURT:    Okay.

 14                MR. PHILLIPS:    We would have to have testimony about

 15      that.

 16                THE COURT:    Okay.    All right.   So those are admitted.

 17                MR. PHILLIPS:    Okay.

 18           (Mark Patrick's Exhibits 1, 3 through 12, 15 through 28,

 19      and 30 through 44 are received into evidence.)

 20                THE COURT:    By the way, it looks like Exhibit 44 is

 21      at a different docket number, Docket 2420.       Correct?   You have

 22      --

 23                MR. SBAITI:    Your Honor, I believe Exhibit 44 is the

 24      hearing transcript from the July approval hearing.        At least

 25      that's what it's supposed to be.




000251
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 255 of 852 PageID 2160
                                                                           219


   1                THE COURT:    Okay.

   2                MR. SBAITI:    It was Exhibit 2 on the Debtor's list,

   3     and then I think they took it off, so we had to add it.

   4                MR. PHILLIPS:    Oh, okay.    I was looking -- oh, that's

   5     right.    They -- that's correct, Your Honor.

   6                THE COURT:    Okay.

   7                MR. PHILLIPS:    Exhibit 44 was added --

   8                THE COURT:    Okay.

   9                MR. PHILLIPS:    -- because the Debtor's withdrew it,

 10      and so it was added in the second -- in the supplemental and

 11      amended list.   The -- the one that I was talking about was the

 12      prior list.

 13                 THE COURT:    Okay.   So that's at Docket 2420?

 14                 MR. PHILLIPS:    Yes.

 15                 THE COURT:    You're not offering 45 or 46?

 16                 MR. PHILLIPS:    No, I think we'd offer 45 and 46 as

 17      well.    I'm sorry.

 18                 THE COURT:    Okay.   Any objections, Mr. Morris?

 19                 MR. MORRIS:    No, Your Honor.

 20                 THE COURT:    Okay.   So 45 and 46 are admitted as well.

 21      They're at Docket Entry 2420.

 22          (Mark Patrick's Exhibits 45 and 46 are received into

 23      evidence.)

 24                 THE COURT:    All right.   Your witnesses?

 25                 MR. PHILLIPS:    Your Honor, could we have five minutes




000252
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 256 of 852 PageID 2161
                                                                            220


   1     to just see what we're -- our plan is, and then we'll be back

   2     at 4:00?

   3                THE COURT:    Okay.   We'll be back at 4:00.

   4                MR. PHILLIPS:    Thank you.

   5                THE CLERK:    All rise.

   6         (A recess ensued from 3:55 p.m. until 4:04 p.m.)

   7                THE CLERK:    All rise.

   8                THE COURT:    Please be seated.     All right.    Back on

   9     the record in Highland.     Mr. Phillips?

 10                 MR. PHILLIPS:    Your Honor, with the introduction of

 11      the Respondents -- CLO Holdco, DAF Fund, LP, and Mark Patrick,

 12      those Respondents, and we consider Mark Patrick a Respondent

 13      although not formally named as a Respondent because he is the

 14      party who authorized the filing of the Seery motion -- we

 15      rest.

 16                 THE COURT:    You rest?   Okay.    Well, Mr. Morris,

 17      closing arguments?

 18                 MR. MORRIS:    How much time do I have?

 19                 THE COURT:    You've got a lot more time than you

 20      probably thought you were going to.        You're under an hour.

 21                 MR. MORRIS:    42 minutes?

 22                 THE COURT:    How much?

 23                 THE CLERK:    42 minutes.

 24                 THE COURT:    42 minutes?     Feel free not to use it all.

 25                 MR. SBAITI:    Out of curiosity, how long do we have?




000253
Case 3:21-cv-00842-B Document 43 Filed 07/13/21      Page 257 of 852 PageID 2162
                                                                              221


   1                 THE COURT:    You have a lot of time, which I hope you

   2     won't use.

   3                 THE CLERK:    Hour and twenty-five minutes or so.

   4                 MR. SBAITI:    I was afraid it was going to be an hour

   5     and twenty, so --

   6                 MR. PHILLIPS:    No, not either.

   7                 MR. MORRIS:    I don't suspect I'll use all the time.

   8                 THE COURT:    Okay.   Thank you.

   9                 MR. MORRIS:    May I proceed?

 10                  THE COURT:    You may.

 11                   CLOSING ARGUMENT ON BEHALF OF THE DEBTOR

 12                  MR. MORRIS:    Good afternoon, Your Honor.       John

 13      Morris; Pachulski Stang Ziehl & Jones; for the Debtor.              I'd

 14      like to just make some closing remarks after the evidence has

 15      closed.

 16          This is a very, very important motion, Your Honor.              I take

 17      this stuff seriously.       It's only the second contempt motion

 18      I've ever brought in my life.        I've never gone after another

 19      law firm.    But these facts and circumstances require it,

 20      because my client is under attack, and these orders were

 21      entered to prevent that.

 22          It is serious stuff.       There's no question in my mind,

 23      there's no question the evidence showed, clear and

 24      convincingly, beyond reasonable doubt, that they violated this

 25      Court's order.




000254
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 258 of 852 PageID 2163
                                                                           222


   1         I started off with three very simple prongs.         So simple

   2     you'd think I'd remember them.       Number one, was a court order

   3     in effect?    There is no dispute.    The court order was in

   4     effect.

   5         Number two, did the order require certain conduct by the

   6     Respondent?     We believe it did.   We heard an hour-long

   7     argument styled as an opening statement, but it was really

   8     argument and not an opening statement, about all the defects

   9     in the order.    But the one thing that is crystal clear in the

 10      order are the words commence or pursue.        You've been told many

 11      times by the Respondent that nobody has commenced an action

 12      against Mr. Seery.    That is true.      We all know what the word

 13      commence means.    We all know what the word pursue means.

 14          I heard argument this morning that pursue means after a

 15      claim is filed you pursue a case.        That's the way lawyers talk

 16      about it.    But that doesn't make any sense, Your Honor,

 17      because once you've commenced the action you've violated the

 18      order.    It's commence or pursue, it's in the disjunctive, and

 19      you can't read out of the order the concept of pursuit by

 20      making it an event that happens after the commencement,

 21      because that's exactly what they're trying to do.         They're

 22      trying to read out of the order the word pursuit.

 23          And I ask you to use very simple common sense.          If filing

 24      a motion for leave to amend a complaint to add Mr. Seery as a

 25      defendant is not pursuit, what is?       What is?   There's nothing




000255
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 259 of 852 PageID 2164
                                                                           223


   1     left.    You commence an action or you do something less than

   2     commencing an action when you're going after the man.          That's

   3     what pursuit means.    They're going after the man.       And they

   4     asked the District Court to do what they knew they couldn't.

   5         Mr. Phillips is exactly right.        I made the point about

   6     Rule 15 because they knew they couldn't do it.         I'm not

   7     suggesting that they should have.        I'm suggesting that the

   8     reason that they didn't is because they knew they were -- they

   9     were in a bad place.    Because if they really just wanted to

 10      name Mr. Seery as a defendant, they wouldn't have done it.

 11      They knew commence was crystal clear.

 12          What they're trying to do is claim that somehow there's an

 13      ambiguity around the word pursuit.       Does that make any sense

 14      at all?    Filing a motion for leave to amend the complaint.

 15      And Mr. Patrick, to his credit, candidly admitted that if the

 16      motion was granted, they were suing, yeah, as long -- as long

 17      as the Sbaiti firm, you know, recommended it.        That's what

 18      would have happened.

 19          Those orders that you signed, nothing, absolutely

 20      meaningless from their point of view.       They believed they were

 21      wrong.    They believed that they were overbroad.       They believed

 22      they were too narrow.   They believed they were vague.         They

 23      believed they were without authority.       They don't get to be

 24      the gatekeeper.    They want to be the gate -- that's this

 25      Court's decision.    That's why we went through all of the




000256
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 260 of 852 PageID 2165
                                                                          224


   1     processes that we did.    And they just flagrantly said, I don't

   2     agree.    I don't agree because it's wrong this way and it's

   3     wrong that way and it's wrong the other way, and therefore let

   4     me go find a higher authority to validate my thinking.         That's

   5     not the way this process is supposed to work.

   6            The independent directors and Mr. Seery relied on the

   7     gatekeeper in accepting their positions.       It was a quid pro

   8     quo.    Mr. Dondero agreed to the exact same provision, the

   9     exact same gatekeeper provision in the January order that he

 10      now complains about today, that the DAF complains about today.

 11      Where were these people?

 12             As the Court knows, nobody appealed either order.      The

 13      Debtor, the independent board, Mr. Seery expected that the

 14      plain and unambiguous words would be honored and enforced.          I

 15      think that's fair.    I think that's the way the process is

 16      supposed to work.

 17             Instead, we have games.   We have these linguistic

 18      gymnastics.    We have statements that are too cute by half.

 19      Mr. Dondero won't even admit that he appointed Mr. Scott back

 20      in 2012.    I couldn't even get him to do that, really, even

 21      though the documents say it, even though Mr. Patrick says it.

 22             I'll take the Respondents one at a time in a moment, but I

 23      just want to deal with some of the more interesting arguments

 24      they make.    The order was vague because it didn't say you

 25      can't seek leave from the District Court to amend your




000257
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 261 of 852 PageID 2166
                                                                           225


   1     complaint to add Mr. Seery.    They said that that's what makes

   2     the order vague.

   3            Your Honor, if you had thought to put that language in,

   4     you know what they would have done?      They would have sued Mr.

   5     Seery in New York State Supreme Court, where he lives, and

   6     said, the order didn't say I couldn't do that.        Where does it

   7     end?

   8            There's a reason why the order was crafted broadly to say

   9     no commencement or pursuit without Bankruptcy Court        approval.

 10      You have to bring a colorable claim.

 11             We heard an argument this morning that they couldn't

 12      possibly have brought that motion for reconsideration first.

 13      You know, the one they filed about eight hours after we filed

 14      the contempt motion.    They couldn't possibly have brought that

 15      motion before the motion for leave to amend because somehow

 16      they would have been estopped or they would have been found to

 17      have waived some right.

 18             How could it be that anybody reasonably believes that

 19      complying with a court order results in a waiver of some

 20      right?    It just -- these are games.    These are not good

 21      arguments.    And they certainly don't carry the day on a

 22      contempt motion.

 23             We've heard repeatedly, the District Court denied the

 24      motion without prejudice, how have you been harmed?        They

 25      shouldn't be able to rely on the District Court's prudence to




000258
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 262 of 852 PageID 2167
                                                                          226


   1     protect themselves.   The question shouldn't be, have you been

   2     harmed since the District Court didn't grant the motion?         No.

   3     The question should be, were we harmed by the attempt to name

   4     Mr. Seery a defendant, in violation of court orders, without

   5     notice?   Without notice.

   6         I'm told they assumed that I'd be checking the dockets.            I

   7     wasn't checking the docket, Your Honor.       I hadn't filed an

   8     appearance in the case.     And, in fact, if you look at the

   9     exhibits, because I could pull it out, but we put in the

 10      communications between the lawyers.      The last communication

 11      was from Mr. Pomerantz, and the last communication from Mr.

 12      Pomerantz said, Don't do it or we're going to file a motion

 13      for contempt.   That's now in the evidence.

 14          So, having sent that message, I wasn't going to check the

 15      docket to see if they really were going to go ahead and do it.

 16      I didn't think they would.    And if they did, I certainly

 17      thought I'd get notice of it.     Nothing.

 18          And, again, I don't really need to establish intent at all

 19      in order to meet my burden of clear and convincing evidence of

 20      a contempt of court, but I think it is relevant when the Court

 21      hopefully finds liability and is considering damages, because

 22      that's really the most important point I have to make right

 23      now, is the Court needs to enforce its own orders, because if

 24      the Court doesn't, or doesn't impose a penalty that's

 25      meaningful, this is just going to continue.       And Your Honor,




000259
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 263 of 852 PageID 2168
                                                                          227


   1     it's all in the record.    Your Honor knows this.      Mr. Daugherty

   2     has gone through it.   Right?    Mr. Terry went through it.      UBS

   3     went through it.   You've seen litigation now for a year and a

   4     half.   It's happening in New York, right, the Sbaiti firm is

   5     reopening the Acis case.    we've got this other lawsuit that's

   6     filed by an entity with like a five-tenths of one percent

   7     interest who's complaining about the SSP transaction that Mr.

   8     -- that the Debtor engaged in.    There's no end here.

   9           We need the Court to pump the brakes.     We need the Court

 10      to exercise its authority.    We need the Court to protect the

 11      estate fiduciary that it approved.

 12            It is true, Mr. Seery is not a trustee.      But it is also

 13      true that he is a third-party outsider who came into this case

 14      with the expectation and the promise in an order that he

 15      wouldn't be subjected to frivolous litigation, that this Court

 16      would be the arbiter of whether claims could be pursued

 17      against him.   That was the code of conduct.      That was the quid

 18      pro quo.   That was the deal that Mr. Seery made.       It's the

 19      deal that the board members made.

 20            What gives these people the right to just say, your order

 21      is wrong, and because I think your order is wrong I'm going to

 22      go to the District Court, and if the District Court agrees,

 23      too bad, and if the District Court doesn't agree, we'll be

 24      back before Your Honor, and no harm, no foul?       No.   It can't

 25      be.   It can't be that that's the way this process works.        It




000260
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 264 of 852 PageID 2169
                                                                            228


   1     just can't.

   2         So, Your Honor, let me take the Defendants one at a time,

   3     the Respondents one at a time.     CLO Holdco and the DAF are

   4     corporate entities.    They've done what they've done.       Mr.

   5     Patrick, bless him, I think he's a lovely man.         I don't think

   6     he quite bargained for what he's getting right now, but

   7     nevertheless he is where he is and he's willing to stand up

   8     and be counted, and for that, at least, I admire his courage.

   9     He's willing to say, I authorized those.        But you know what?

 10      It's a violation of the law, it's a violation of this Court's

 11      order to file that motion, and so he has -- and he was very

 12      candid today.    He knew of the order.     Right?   He knew it was

 13      in effect.    He pointed out that it was in their papers.

 14      Right?

 15          They're trying to be cute, they're trying to thread this

 16      needle, but it has no hole in it.        They keep -- they keep

 17      doing this.    Well, maybe if we do it this way, maybe if we do

 18      it -- no.    The order was crystal clear.

 19          The Sbaiti firm.      They're probably fathers and husbands

 20      and good people and I wish them no ill will, but this is

 21      wrong.   This is wrong.    To come into a court you've never been

 22      in before and in less than twelve days to jump the shark like

 23      this in twelve -- in less than twelve days, because Mr.

 24      Patrick said they weren't hired until April, and the complaint

 25      was filed on the 12th.




000261
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 265 of 852 PageID 2170
                                                                          229


   1         We're told that they understood this was an overwhelming

   2     case with two -- why don't you take your time?        What was the

   3     rush?   Why not wait until the Defendant -- the Debtor appeared

   4     in the action before rushing to do this?

   5         It's bad conduct, Your Honor, and that's really a very

   6     important point that I have to make, is that there's lots of

   7     lawyers who are engaging in highly-questionable conduct here

   8     that, from my perspective, goes well beyond the bounds of

   9     zealous advocacy.

 10          It's not aggressive lawyering.       I love aggressive

 11      lawyering.   I really do.   Respectful, honest -- and I don't,

 12      you know, I don't want to say that they're dishonest people.

 13      I don't mean to do that.    But I think, I think they made a

 14      gross error in judgment, and there's no question that they

 15      violated this Court's order.

 16          And then that leaves Mr. Dondero.       I don't even know what

 17      to say about his testimony, Your Honor.       He pursued claims

 18      against Mr. Seery.    He thinks he's a rat.     He's the one who

 19      started the whole process.    He's the one who put the bug in

 20      Mark Patrick's ear.    All of this is uncontested.      Right?

 21      Uncontested.

 22          I don't have to go back in time.       We can talk about what

 23      happened to Grant Scott.    It's a very sad story.      Mr. Scott, I

 24      think, did his honest best to do what he believed, on the

 25      advice of counsel, was in the best interest of the DAF.          And




000262
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 266 of 852 PageID 2171
                                                                           230


   1     Mr. Dondero, as you hear time and time again when he speaks

   2     about Mr. Seery, it was inappropriate.      He's the arbiter of

   3     what's in the best interest of entities that other people

   4     control.    And they pay a price.     And they pay a price.    And so

   5     Mr. Dondero felt it was his job, even though he tries to

   6     distance himself from the DAF -- I have no responsibility, I

   7     don't -- I'm not involved -- until, until somebody wants to

   8     sue Seery and the Debtor.     Then he'll go all in on that, no

   9     matter how specious the claim may be.

 10          The Debtor's not going to fold its tent because a motion

 11      for leave to amend was denied without prejudice.        That's not

 12      the point.    The point is that people need to respect this

 13      Court, people need to respect the Court's orders, and those

 14      that aid and abet or otherwise support the violation of court

 15      orders ought to be held to account, Your Honor.

 16          I have nothing further.

 17                 THE COURT:    All right.   Thank you.   Respondents?

 18                 CLOSING ARGUMENT ON BEHALF OF THE RESPONDENTS

 19                 MR. SBAITI:    Your Honor, the fact that we're here on

 20      a motion for leave, and the motion for leave is what they're

 21      saying is pursuing a claim under the Court's order, and then

 22      you hear that the mere act of investigating a claim against

 23      Mr. Seery is also pursuing a claim, this goes to the infinite

 24      regression problem with this word pursue the way they want to

 25      construe it, Your Honor.     Asking for permission is not




000263
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 267 of 852 PageID 2172
                                                                            231


   1     pursuing a claim and can't be the definition of pursuing a

   2     claim because it's not doing anything other than asking for

   3     permission.

   4          We didn't file a suit.      We didn't commence a suit.    I

   5     think that's established.       We did not pursue a claim.    Mr.

   6     Morris ignores, I think, the very commonsensical aspect that

   7     we put out in the opening, which is that the reason pursue --

   8     and sometimes the language in these types of orders is,

   9     instead of pursue, it's maintain -- but the reason that word

 10      is there is because sometimes the case has already been

 11      started when the order is entered.       And so to pursue a claim,

 12      i.e., one that's already been filed as of the date of the

 13      order, that would be lost if the commencement of that claim

 14      hadn't happened until after the -- until the -- if the

 15      commencement happened before the order was filed.        That's the

 16      --

 17                THE COURT:    Okay.    So are you saying it's a

 18      sequential thing?

 19                MR. SBAITI:    I'm not sure I understood your question,

 20      Your Honor.   I'm sorry.

 21                THE COURT:    Well, I'm trying to understand what it is

 22      you're saying about how pursue should be interpreted.

 23                MR. SBAITI:    Sure.

 24                THE COURT:    I think you're saying you have to -- you

 25      can either have -- well, we've got a prohibition on commencing




000264
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 268 of 852 PageID 2173
                                                                          232


   1     an action.

   2              MR. SBAITI:     Yes.

   3              THE COURT:    And then the separate word pursue, I

   4     think you're saying that must refer to you already have an

   5     action that's been commenced and you're continuing on with it.

   6     Is that what you're saying?

   7              MR. SBAITI:     Yes, Your Honor.

   8              THE COURT:    Then why not use the word continue?

   9              MR. SBAITI:     Well, Your Honor, the choice of --

 10               THE COURT:    Kind of like 362(a) of the Bankruptcy

 11      Code, you know, is worded.

 12               MR. SBAITI:     Well, Your Honor, the choice of the

 13      wording of pursue at that point, Your Honor, I believe ends up

 14      being ambiguous, because by filing the motion here that would

 15      be pursuing a claim under that definition.       So before I got

 16      permission to pursue a claim, I've got to pursue a claim.

 17      That's the problem that they have with the words that they're

 18      trying to get you to adopt, or the meaning of the words

 19      they're trying to get you to adopt.

 20          If I came to this Court and said, Judge, I need

 21      permission, I need leave to file suit against Mr. Seery, and

 22      then the question is, well, you're not allowed to seek leave

 23      because that's pursuing the claim, it's infinitely regressive.

 24      And in fact, his closing argument just proved how it's

 25      infinitely regressive.




000265
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 269 of 852 PageID 2174
                                                                          233


   1                THE COURT:    Okay.   Let me -- I'm not following this

   2     infinitely regressive or whatever the term was.

   3                MR. SBAITI:    Yes.

   4                THE COURT:    Just answer this very direct question.

   5     Why did you not file a motion for leave in the Bankruptcy

   6     Court?   That would have clearly, clearly complied with the

   7     July order.

   8                MR. SBAITI:    Your Honor, I believe we explained this

   9     in the opening.   I took a stab at it.     Mr. Bridges took a stab

 10      at it.   We did not believe coming here and asking for leave

 11      and asking for -- for Your Honor to do what we don't believe

 12      Your Honor can do, would effectuate an estoppel or a waiver,

 13      which we didn't think was in the best interest of our client

 14      to have.   Your Honor, this happens -- I don't believe this is

 15      the --

 16                 THE COURT:    Okay.   Connect the dots.   Make that clear

 17      as clear can be for me.     You file a motion for leave --

 18                 MR. SBAITI:    Yes.

 19                 THE COURT:    -- to file this District Court action

 20      against the Debtor and Seery, and if I say yes, everything is

 21      fine and dandy from your perspective.      If I say no, tell me

 22      again what your estoppel argument is.

 23                 MR. SBAITI:    Your Honor, the key question is whether

 24      us putting the Court's ability to decide colorability and the

 25      Court's gatekeeper functions, for us to invoke those functions




000266
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 270 of 852 PageID 2175
                                                                           234


   1     concerned us because there's case law that says that that

   2     effectuates an estoppel.      And so we don't get our chance in

   3     front of an Article III judge to make that in the first

   4     instance.

   5                 THE COURT:    Okay.   Tell me what cases you're talking

   6     about and the exact context of those cases.

   7                 MR. SBAITI:    Your Honor, I would have to defer to my

   8     partner on this one, Your Honor.

   9                 THE COURT:    Okay.

 10                  MR. SBAITI:    So, --

 11                  THE COURT:    Because I'm just letting you know --

 12                  MR. SBAITI:    Yes.

 13                  THE COURT:    -- I am at a complete loss.    I'm at a

 14      complete loss understanding what you're saying.         I am.

 15                  MR. SBAITI:    Well, Your Honor, the --

 16                  THE COURT:    I don't understand.   If you have followed

 17      the order to the letter and I tell you no, --

 18                  MR. SBAITI:    Then --

 19                  THE COURT:    -- what, you're saying you were worried

 20      you'd be estopped from appealing my order to the District

 21      Court and saying abuse of discretion or invalid order in the

 22      first place?    You'd be estopped from taking an appeal?

 23                  MR. SBAITI:    No, Your Honor.   We wouldn't be estopped

 24      from taking an appeal.

 25                  THE COURT:    Then why didn't you follow the letter of




000267
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 271 of 852 PageID 2176
                                                                           235


   1     the order?

   2              MR. SBAITI:    For one thing, Your Honor, asking the

   3     District Court made sense to us, given the order and given our

   4     understanding of the law.      Certainly, we had other options, as

   5     Your Honor is pointing out.     We could have come here.       Our

   6     read of the law, our understanding of what we were doing, made

   7     it -- put us in, like I said, put us in the sort of

   8     jurisdictional and paradoxical position.

   9              THE COURT:    This is your chance to tell me exactly

 10      which law you think applies here.        What case?   What statute?

 11               MR. SBAITI:    Your Honor, like I said, I don't have

 12      those at the moment.

 13               THE COURT:    Why not?    Your whole argument rides on

 14      this, apparently.

 15               MR. SBAITI:    Well, Your Honor, I don't know that our

 16      whole argument rides on that.

 17               THE COURT:    Okay.

 18               MR. SBAITI:    I mean, our argument rides on we don't

 19      think we violated the letter of the order.        I think that's

 20      really what I'm -- what we're here to say, is that we didn't

 21      commence a lawsuit and we didn't pursue a claim by filing for

 22      leave in the District Court, just like filing for leave in

 23      this Court would not be pursuing a claim.        It would be filing

 24      for leave.

 25               THE COURT:    I agree.    Filing a motion for leave in




000268
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 272 of 852 PageID 2177
                                                                          236


   1     this Court would be exactly what the order contemplated.

   2                MR. SBAITI:    I understand, Your Honor.

   3                THE COURT:    What you did is not exactly what the

   4     order contemplated.

   5                MR. SBAITI:    Your Honor, but we're -- we're moving

   6     back and forth between two concepts.      One, your question is

   7     why didn't we file for leave?

   8                THE COURT:    Uh-huh.

   9                MR. SBAITI:    And the answer to that, I've tried to

 10      explain.   And if we -- if you'd like us to bring up the case

 11      law or to give you a better articulation of our concern, I'm

 12      happy to defer to my partner.

 13          What I'm really here to say, Your Honor, is a very simple

 14      point, though.   Just because we didn't file for leave here and

 15      we filed for leave in the District Court doesn't mean we

 16      violated your order, and that's the point I'm trying to make,

 17      Your Honor.   And I think that's the simplest point I can make.

 18      Asking the Article III judge for leave to amend, for leave to

 19      amend to add Mr. Seery, doesn't violate, facially, at least as

 20      we read it, Your Honor's order.     It's not commencing a suit

 21      and it's not -- it's not pursuing a claim against him.         It's

 22      all preliminary to pursuing a claim against him, because a

 23      claim hasn't even been filed.

 24          The judge could have -- the judge could have -- the

 25      District Court could have denied it, the District Court could




000269
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 273 of 852 PageID 2178
                                                                          237


   1     have referred it down here, the District Court could have

   2     decided part of it and then asked Your Honor to rule on some

   3     portion of it.   There are innumerable ways that could have

   4     gone.    That fork -- those forks in the road is precisely why

   5     we say this is not pursuing the claim.      Otherwise, where does

   6     it stop?

   7         Does pursuing a claim happen just when we file the motion

   8     for leave?   Why didn't it happen when we started the

   9     investigation?   If pursuing a claim means having the intent

 10      and taking steps towards eventually filing a lawsuit, that's

 11      the point that I'm making that it is infinitely regressive,

 12      and that's exactly what Mr. Morris argued to you.

 13          He said Mr. Dondero, by merely speaking to me, is pursuing

 14      a claim and that violates your order.      Speaking to me.     Even

 15      if we had never filed it.     Speaking is pursuing a claim.

 16                 THE COURT:    I don't agree with that, for what it's

 17      worth.

 18                 MR. SBAITI:    Okay.   But that was his argument.    I'm

 19      just responding to it.

 20                 THE COURT:     Okay.

 21                 MR. SBAITI:    And if that's not pursuing a claim,

 22      filing a motion for leave likewise wouldn't be pursuing a

 23      claim.    I understand it's an official act in a court, but we

 24      did it in a Court that is an adjutant to this Court.        This

 25      Court is an adjutant to that Court.      It's the Court with




000270
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 274 of 852 PageID 2179
                                                                           238


   1     original jurisdiction over the matter.       So we didn't go to New

   2     York.   We didn't go to the state court in New York where I

   3     learned Mr. Seery lives.   We came to the Northern District of

   4     Texas, understanding that this Court and this Court's orders

   5     had to be -- had to be addressed.        And that's the very first

   6     thing we did.   We asked the Court to address it.

   7         That judge could either decide to send it down here, which

   8     is normally what I think -- what we understood would happen.

   9     So it's not like we were avoiding it.       But we wanted to invoke

 10      the jurisdiction which we, as the Plaintiff, we believe we had

 11      the right to invoke.   We're allowed to choose our forum.         So

 12      that's the forum we chose for the primary case, which there's

 13      not a problem, no one's raised an issue with us filing the

 14      underlying lawsuit.

 15          Adding Mr. Seery to that lawsuit and filing a motion for

 16      leave in the same court where we actually had the lawsuit,

 17      knowing that it might get -- that might get decided or

 18      referred in some way, doesn't strike me as being anything

 19      improper, because he didn't get sued and we don't know what

 20      Judge Boyle would have said had the motion gone forward.          And

 21      for them to speculate and to say that, well, this is exactly

 22      the type of thing you have to protect against, I completely

 23      disagree.

 24          The case law that they cited for you on these -- on most

 25      of these orders really do discuss the fact that you have




000271
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 275 of 852 PageID 2180
                                                                           239


   1     somebody who is actually protecting the underlying property of

   2     the Debtor.   This claim comes from a complete third party that

   3     Mr. Seery himself has admitted under oath he owes a fiduciary

   4     duty to.   Two third parties.   One is an investor of a fund

   5     that he manages, and one to a fund that the Debtor, with Mr.

   6     Seery as the head of it, was an advisor for up until recently.

   7         Those fiduciary duties exist.        We felt like there was a

   8     valid claim to be brought against Mr. Seery.        And the only

   9     reason -- and he says this like it's a negative; I view it as

 10      a positive -- the reason he wasn't named is because of Your

 11      Honor's orders.   And so we asked a Court, the Court with

 12      general jurisdiction, to address it for us or to tell us what

 13      to do.   And I don't see how that is a violation of this

 14      Court's order, nor is it contemptuous of this Court's order.

 15          If every time one of these issues came up it was a

 16      contempt of the court that appointed a trustee, we'd see a lot

 17      more contempt orders.

 18          Interestingly, the cases that were thrown out to you in

 19      the opening argument by the other side, for example, Villages

 20      [sic] v. Schmidt, was a trustee case, but not one that

 21      involved a sanction.    And the trustee case specifically in

 22      that case held that the Barton Doctrine didn't have an

 23      exception for Stern cases, whereas the cases we cited to you,

 24      Anderson, for example, in the Fifth Circuit, which is 520 F.2d

 25      1027, expressly held that Section 959 is an exception to the




000272
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 276 of 852 PageID 2181
                                                                          240


   1     Barton Doctrine.

   2         And my partner, Mr. Bridges, can walk through the issues

   3     that we had on the enforceability of the order, but all -- to

   4     me, all of that is sort of a secondary issue because, prima

   5     facie, we didn't violate this order.      I understand it may

   6     irritate the Debtor and may raise questions about why the

   7     motion wasn't filed here versus the District Court.        But it

   8     was a motion for leave.   In order to sanction us, Your Honor

   9     would have to find that asking for permission is sanctionable

 10      conduct in the gatekeeper order.     Even if we ask the wrong

 11      court.   Simply asking the wrong court is sanctionable, not

 12      knowing what that court would have done, not knowing what that

 13      court's mindset was, not even having the benefit of the

 14      argument.   And that's, I guess, where this bottom -- the

 15      bottom line is for me.

 16          The evidence that they put on for you, Your Honor.

 17      Everything you heard was evidence in the negative.        You know,

 18      they talk about the transition from Mr. Dondero to Mr. Scott

 19      and Mr. Scott to Mr. Patrick, but if you actually look at the

 20      evidence he wants you to see and he wants you to rule on, it's

 21      the evidence that wasn't there.     It's the evidence that Mr.

 22      Dondero had no control.   In fact, I believe that was the basis

 23      he argued for why there should be no privilege.        And all he

 24      said is that he was promoting it.

 25          But the fact of the matter is, like I said, all of that is




000273
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 277 of 852 PageID 2182
                                                                          241


   1     secondary to the core issue that we didn't violate the order.

   2     We didn't take steps to violate the order.       We took steps to

   3     try to not violate the order.     And they want you to punish us

   4     to send a message.     Even used words like the Court needs to

   5     enforce its own orders.    And he did that as a transition away

   6     from the idea that there were no damages, Your Honor, and I

   7     think that has implications.

   8          And then he said you have to enforce a meaningful penalty.

   9     Well, Your Honor, I don't think that is the purpose of these

 10      sanctions.   These sanctions are supposed to be remedial,

 11      according to the case law, according to the case law that they

 12      cite.   So a meaningful --

 13                THE COURT:    Coercive or remedial.

 14                MR. SBAITI:    Sorry?

 15                THE COURT:    Coercive or remedial.     Civil contempt.

 16                MR. SBAITI:    Sure, Your Honor.    But usually coercive

 17      sanctions require someone to do something or they are

 18      sanctioned until they do it.

 19                THE COURT:    Coerced compliance.    Coerced compliance

 20      --

 21                MR. SBAITI:    Yes.

 22                THE COURT:    -- with an existing order.

 23                MR. SBAITI:    Yes.

 24                THE COURT:    Uh-huh.

 25                MR. SBAITI:    The last thing, he says you have to




000274
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 278 of 852 PageID 2183
                                                                          242


   1     protect the estate of the fiduciary and his expectation -- I

   2     believe he's talking about Mr. Seery -- his expectation that

   3     the Court would be the gatekeeper.       And Your Honor, that

   4     argument rings a little bit hollow here, given that what

   5     they're really saying is that we should have come here first

   6     and asked for permission.    But that insinuates that, by coming

   7     here, the case is dead on arrival, which I don't think is the

   8     right argument.

   9         I think the issue for us has been, who do we have to ask

 10      and who can we ask to deal with the Court's gatekeeper order?

 11      I believe we chose a court, a proper court, a court with

 12      jurisdiction, to hear the issue and decide the issue.        Your

 13      Court's -- Your Honor's indication of the jurisdiction of this

 14      Court we believed invoked the District Court's jurisdiction at

 15      the same time.

 16          And so the last thing is he said -- the last thing, and

 17      getting back to the core issue, is Mr. Morris wants you to

 18      believe that we intended to violate the order, and now, as an

 19      afterthought, we're using linguistic gymnastics to get around

 20      all of that.   But it's not linguistic gymnastics.       Linguistic

 21      gymnastics is saying that pursue means doing anything in

 22      pursuit of a claim.   That's a little -- I believe that's

 23      almost a direct quote.   They're chasing the man.       Well, that's

 24      the infinite regression that I talked about, Your Honor, that

 25      it's going to be impossible in any principled way to reconcile




000275
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 279 of 852 PageID 2184
                                                                            243


   1     Mr. Morris's or the Debtor's definition of pursue with any

   2     logical, reasonable limitation that is readable into the

   3     order, Your Honor.

   4         And I'm going to defer to my partner, Mr. Bridges -- oh,

   5     go ahead.

   6                 THE COURT:    I'm going to stop you.      I mean, we have

   7     the linguistic argument.      But how do you respond to this?

   8                 MR. SBAITI:    Sure.

   9                 THE COURT:    What if I tell you, in my gut, this

 10      appears to be an end run?         An end run.   I mean, I'm stating

 11      something that should be obvious, right?           An end run around

 12      this Court.    This Court spent hours, probably, reading a

 13      motion to compromise issues with HarbourVest, issues between

 14      the Debtor and HarbourVest.         I had objections.    An objection

 15      from CLO Holdco that was very document-oriented, as I recall.

 16      Right of first refusal.      HarbourVest can't transfer its 49.98

 17      percent interest in HCLOF, right?        Talk about alphabet soup.

 18      We definitely have it.

 19                  MR. SBAITI:    Yes.

 20                  THE COURT:    Without giving CLO Holdco the first right

 21      to buy those assets.      Read pleadings.       Law clerk and I stay up

 22      late.   And then, you know, we get to the hearing and there's

 23      the withdrawal -- we heard a little bit about that today --

 24      withdrawal of the objection.         We kind of confirmed that two or

 25      three different ways on the record.        And then I remember going




000276
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 280 of 852 PageID 2185
                                                                             244


   1     to Mr. Draper, who represents the Dugaboy and Get Good Trusts.

   2     You know, are you challenging the legal propriety of doing

   3     this?    And he backed off any objection.

   4         So the Court ended up having a hearing where we went

   5     through what I would call the standard 9019 prove-up, where we

   6     looked at was it in the best interest, was it fair and

   7     equitable given all the risks, rewards, dah, dah, dah, dah.

   8     You know, HarbourVest had initially, you know, started at a

   9     $300 million proof of claim, eye-popping, but this all put to

 10      bed a very complicated claim.

 11                 MR. SBAITI:    Yeah.

 12                 THE COURT:    Tell me something that would make me feel

 13      better about what is, in my core, in my gut, that this is just

 14      a big, giant end run around the Bankruptcy Court approval of

 15      the HarbourVest settlement, which is not on appeal, right?

 16      There are a gazillion appeals in this case, but I don't think

 17      the HarbourVest --

 18                 A VOICE:   It is on -- it is on appeal, Your Honor.

 19                 THE COURT:    Is it?   Oh, it is on appeal?      Okay.   So I

 20      may be told --

 21                 MR. SBAITI:    I didn't know.

 22                 THE COURT:    I may be told, gosh, you got it wrong,

 23      Judge.    You know, that happens sometimes.

 24          So, this feels like an end run.        You know, the appeal is

 25      either going to prevail or not.      If it's successful, then, you




000277
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 281 of 852 PageID 2186
                                                                          245


   1     know, do you really need this lawsuit?      You know, I don't --

   2     okay.   Your chance.

   3               MR. SBAITI:    Thank you, Your Honor.

   4               THE COURT:    Uh-huh.

   5               MS. SBAITI:    Your Honor, this wouldn't be the first

   6     case where finality or where there was a settlement -- I'm not

   7     familiar as well with bankruptcy, but certainly in litigation

   8     -- where the settlement then reveals -- well, after a

   9     settlement is done, after everyone thinks it's done, some new

 10      facts come to light that change people's views about what

 11      happened before the settlement or before the resolution.         And

 12      that's what happened here, Your Honor.      This is what we've

 13      pled.   And this is what we understand.

 14          There were the instances of Mr. Seery's testimony where he

 15      testified to the value of the HarbourVest assets.        I believe,

 16      as I recall, he testified in I believe it's the approval

 17      hearing that Your Honor is talking about that the settlement

 18      gave HarbourVest a certain amount of claims of I think it's,

 19      Series 8 and then Series 9 claims, and that those were

 20      discounted to a certain dollar value that he quantified as

 21      about $30, $31 million.    And the way he ratified and justified

 22      the actual settlement value, the actual money or value he was

 23      conferring on HarbourVest, given the critique of HarbourVest

 24      claims that he was settling, is he explained it this way.         He

 25      said $22-1/2 million of this whole pot that I'm giving them




000278
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 282 of 852 PageID 2187
                                                                          246


   1     pays for the HarbourVest -- HarbourVest's interests in HCLOF

   2     -- it's alphabet soup again -- and Highland CLO Funding,

   3     Limited.   And so it's the other $9 million that's really

   4     settling their claims.   And given the amount of expense it's

   5     going to take, so on and so forth, $9 million seems like a

   6     reasonable amount to settle them with, especially since we're

   7     just giving them claims.

   8         So that $22-1/2 million everyone apparently took to the

   9     bank as being the value, including CLO Holdco at the time,

 10      because they didn't have the underlying valuations.        Highland

 11      was supposed to give the updated valuations.

 12          So, fast-forward a couple of months -- and this is what

 13      we've played in our lawsuit, Your Honor; this is why I don't

 14      think it's an end run -- we pled in our lawsuit just a couple

 15      months later Highland -- I believe some of the people that

 16      worked at Highland started leaving, according to some

 17      mechanisms that I saw where Highland didn't want to keep all

 18      the staff and so the staff was migrated to other places.         And

 19      one of those gentlemen, I believe Mr. Dondero referred to him

 20      as a gentleman named Hunter Covitz, and Hunter Covitz, who's

 21      also an investor in HCLOF, he owns a small piece of HCLOF, he

 22      had the data, he had some of the information that showed that,

 23      actually, in January, when Mr. Seery said that the HarbourVest

 24      settlement was worth 22 -- excuse me, the HarbourVest

 25      interests in HCLOF were worth $22-1/2 million, that they're




000279
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 283 of 852 PageID 2188
                                                                            247


   1     actually worth upwards of $45 million.

   2         And so that information, Your Honor, we believe gives us a

   3     different -- a different take on what happened and what was

   4     supposed to happen.    This is strictly about the lack of

   5     transparency.

   6              THE COURT:    Okay.    Assuming --

   7              MR. SBAITI:    Yeah.

   8              THE COURT:    -- I buy into your argument that this is

   9     newly-discovered evidence --

 10               MR. SBAITI:    Yes.

 11               THE COURT:    -- CLO Holdco would not have had reason

 12      to know -- I guess that's what you're saying, right?

 13               MR. SBAITI:    I'm saying they -- they didn't know.

 14               THE COURT:    That they didn't know.

 15               MR. SBAITI:    Uh-huh.

 16               THE COURT:    And didn't have reason to know.       I'm

 17      trying to figure out who's damaged here.

 18               MR. SBAITI:    Well, CLO Holdco, my client, is damaged,

 19      Your Honor.

 20               THE COURT:    How?

 21               MR. SBAITI:    Because one of the aspects of the -- of

 22      Highland, one of the issues under, excuse me, of Highland's

 23      advisory, is that it has a fiduciary duty.       And that fiduciary

 24      duty, at least here, entails two, if not, three prongs.         The

 25      first prong is they have to be transparent.       You can't say --




000280
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 284 of 852 PageID 2189
                                                                          248


   1               THE COURT:    How is -- you know, I know a lot about

   2     fiduciary duties, believe it or not.      How is CLO Holdco harmed

   3     and the DAF harmed?

   4               MR. SBAITI:    Because, Your Honor, they lost out on an

   5     investment opportunity to buy the piece of -- the HarbourVest

   6     piece.   They would have been able to go out and raise the

   7     money.   They had the opportunity --

   8               THE COURT:    Okay.

   9               MR. SBAITI:    They would have had the opportunity to

 10      make a different argument.

 11                THE COURT:    What you're saying, you're saying, if

 12      they had known what they didn't have reason to know, that it

 13      was worth, let's say, $45 million, that they would have gone

 14      out and raised money and said, oh, we do want to exercise this

 15      right of first refusal that we decided we didn't have and gave

 16      in on, we're going to press the issue and then outbid the $22

 17      million, because we know it's worth more?       Is that where

 18      you're going? I'm trying to figure out where the heck you're

 19      going, to be honest.

 20                MR. SBAITI:    That's -- Your Honor, I'd push back on a

 21      little of the phrasing, only because the way these duties --

 22      the way we understand the SEC's duties work when you're an

 23      investment advisor is you have a transparency obligation and

 24      an obligation --

 25                THE COURT:    Yes.    Yes.




000281
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 285 of 852 PageID 2190
                                                                          249


   1               MR. SBAITI:    -- not to divert these.     So, yes, CLO

   2     Holdco would have at least had the opportunity and been

   3     offered the opportunity, which it could have taken advantage

   4     of, to, if the assets were really on the block for $22-1/2

   5     million, they should have been able to buy their percentage

   6     pro rata share of that $22-1/2 million deal.       I mean, in a

   7     nutshell, that's -- that's where we believe we've been harmed.

   8     And we believe that the obfuscation of those values and, to a

   9     certain extent, the misrepresentation of those values in the

 10      settlement is not cleansable by the argument, well, you should

 11      have asked.

 12          Well, you should have asked is fine in normal litigation,

 13      but when the person you should have asked actually owes you a

 14      positive duty to inform, we believe that the should-have-asked

 15      piece doesn't really apply and there's -- and that's, that's

 16      the basis of our case.

 17          So it's not an end run around the settlement, Your Honor.

 18      I think I opened with we're not trying to undo the settlement.

 19      We're not saying HarbourVest has to take its interest back.

 20      We're not saying the settlement has to go on.       We're not even

 21      saying any of the things that happened in Bankruptcy Court

 22      need to change.   But Section 959 is pretty clear that this is

 23      management of third-party property --

 24                THE COURT:    I guess -- okay.    Again, rabbit trail,

 25      maybe.   But CLO Holdco still owns its same 49.02 percent




000282
Case 3:21-cv-00842-B Document 43 Filed 07/13/21      Page 286 of 852 PageID 2191
                                                                             250


   1     interest that it did before this transaction.          So if there's

   2     value galore in HCLOF, it still has its 49.02 percent

   3     interest.    What am I missing?

   4                 MR. SBAITI:    Oh, I think Your Honor's assuming that

   5     HCLOF bought the piece back from HarbourVest.          It didn't.

   6                 THE COURT:    No, I'm not.

   7                 MR. SBAITI:    Oh.

   8                 THE COURT:    I'm not assuming that.

   9                 MR. SBAITI:    Well, --

 10                  THE COURT:    I know that now the Debtor has, what,

 11      fifty point, you know, five percent of HCLOF, whereas it only

 12      had, you know, a fraction.

 13                  MR. SBAITI:    Point six-ish.     Yeah.

 14                  THE COURT:    Point six-ish, and HarbourVest had 49.98.

 15                  MR. SBAITI:    Right.

 16                  THE COURT:    So, again, please educate me.       I'm really

 17      trying to figure out how this lawsuit isn't just some crazy

 18      end run around a settlement I approved.          And moreover, what's

 19      the damages?

 20                  MR. SBAITI:    Well, Your Honor, --

 21                  THE COURT:    What's the damages?     CLO Holdco still has

 22      its 49.02 percent interest in HCLOF.

 23                  MR. SBAITI:    Your Honor, again, --

 24                  THE COURT:    What am I missing?     I must be missing

 25      something.




000283
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 287 of 852 PageID 2192
                                                                          251


   1              MR. SBAITI:     I think so, Your Honor.

   2              THE COURT:    What?

   3              MR. SBAITI:     The damages is the lost opportunity, the

   4     lost opportunity to own more of HCLOF.

   5              THE COURT:    Oh, it could have owned the whole darn

   6     thing?

   7              MR. SBAITI:     I could have owned 90 -- whatever 49

   8     plus 49.98, 98.98 percent.

   9              THE COURT:    But --

 10               MS. SBAITI:     Or some pro rata portion.

 11               THE COURT:    But Mr. Seery had some information that

 12      you think he was holding back from CLO Holdco that CLO Holdco

 13      had no reason to know?

 14               MR. SBAITI:     Yes, Your Honor.    The -- the -- what he

 15      testified to that the value of those assets, excuse me, the

 16      value of the HarbourVest interests in HCLOF or its share of

 17      the underlying assets being $22-1/2 million was either, one,

 18      intentionally obfuscated, or, two, and I don't think this

 19      excuses it at all, he simply used ancient data and simply

 20      never updated himself, not for the Court and not for any

 21      representations to the investors, who he himself testified

 22      under oath in this Court that he has a fiduciary duty to under

 23      the Investment Advisers Act.

 24               THE COURT:    This could get very --

 25               MR. SBAITI:     So that's injury to my client, Your




000284
Case 3:21-cv-00842-B Document 43 Filed 07/13/21      Page 288 of 852 PageID 2193
                                                                             252


   1     Honor.

   2               THE COURT:    This could get really dangerous.         Maybe

   3     --

   4               MR. SBAITI:    I'm sorry.

   5               THE COURT:    This could get really dangerous.         Maybe I

   6     should cut off where I'm going on this.

   7               MR. SBAITI:    Okay.

   8               THE COURT:    Of course, someone dangled it out there

   9     in a pleading.   You know where I'm going, right?

 10                MR. SBAITI:    I'm not sure I do, Your Honor.

 11                THE COURT:    Hmm.   I do read the newspaper, but

 12      someone put it in a pleading.     HCLOF owns MGM stock, right?

 13      Is that what this is all about?       Is that what this is all

 14      about?   Or shall we not do this on the record?

 15                MR. SBAITI:    Well, Your Honor, this has nothing -- I

 16      don't -- I don't think this has anything to do with the MGM

 17      stock one way or the other.

 18                THE COURT:    You don't?    OH?

 19                MR. SBAITI:    Your Honor, my charge as a counsel for

 20      the DAF is pretty straightforward.       We looked at the claims.

 21      We looked at the newly-discovered information.           We talked to

 22      the people who had it, Your Honor.       That was our

 23      investigation.   We put together a complaint.         We believed that

 24      we had a good basis to file suit, despite Your Honor's -- the

 25      settlement approval.    We expressly, because we understand how




000285
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 289 of 852 PageID 2194
                                                                          253


   1     finality is so critical in a bankruptcy context, we expressly

   2     didn't ask for rescission.      We expressly didn't ask for

   3     anything that would undo the settlement.

   4         Asking for damages because of how the settlement happened,

   5     through no fault of the Court's, of course, but asking for

   6     damages is not, at least not as I see it, an end run around

   7     the Court's settlement, and it's a legitimate claim.        And I

   8     don't think this is far from the first time that new evidence

   9     has come up that's allowed someone to question how something

 10      was done that actually -- that actually damaged them.

 11               THE COURT:     Usually, they come in for a motion to

 12      reopen evidence to the court who issued the order approving

 13      the settlement.

 14               MR. SBAITI:     Well, Your Honor, I mean, that's --

 15               THE COURT:     Newly-discovered evidence.

 16               MR. SBAITI:     That would be the case in a final

 17      judgment, Your Honor.    But, you know, our understanding of the

 18      way the settlement worked was that that was not necessarily

 19      going to be -- not the direction anybody wanted to go, but

 20      seeking damages on a straight claim for damages, which we're

 21      allowed to seek, which I think is our prerogative to seek, we

 22      went that direction.

 23               THE COURT:     Okay.   Okay.

 24               MR. SBAITI:     But this --

 25               THE COURT:     My last question.




000286
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 290 of 852 PageID 2195
                                                                            254


   1                MR. SBAITI:    Yes, Your Honor.

   2                THE COURT:    Again, I have to know.     You have filed

   3     some sort of pleading to reopen litigation against Acis in New

   4     York?   I'm only asking this because it's part of what's going

   5     on here.   What is going on here?

   6                MR. SBAITI:    Your Honor, that's a -- that's a

   7     separate lawsuit, and it's not to reopen litigation against

   8     Acis.   It deals with post-plan confirmation mismanagement by

   9     Acis.

 10                 THE COURT:    Oh, okay.    Okay.

 11                 MR. SBAITI:    Yeah.

 12                 THE COURT:    All right.

 13                 MR. SBAITI:    But I believe there's a motion in front

 14      of Your Honor, just to -- that gave notice that the suit was

 15      filed, but I believe Mr. -- well, a bankruptcy lawyer filed

 16      it.   I don't know.

 17                 THE COURT:    A motion or a notice?     I don't know.

 18                 MR. SBAITI:    I don't know, Your Honor.     That's above

 19      my paygrade.

 20                 THE COURT:    I have not seen it.    Okay?

 21                 MR. SBAITI:    Okay.

 22                 THE COURT:    Maybe it's there, but no one has called

 23      it to my attention.

 24                 MR. SBAITI:    With the Court's permission, I'm going

 25      to yield time to Mr. Bridges.




000287
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 291 of 852 PageID 2196
                                                                           255


   1                 THE COURT:    Okay.   Mr. Bridges?

   2                CLOSING ARGUMENT ON BEHALF OF THE RESPONDENTS

   3                 MR. BRIDGES:    Thank you, Your Honor.    I'm grateful

   4     that you asked most of those questions to Mr. Sbaiti.         I would

   5     not have been able to answer them.       The one I can answer is

   6     the one about judicial estoppel.        Apparently, I did a pretty

   7     lousy job earlier.       I think I'm prepared to do a better job

   8     now.

   9            The case law I'd like to refer you to is the Texas Supreme

 10      Court's 2009 decision in Ferguson v. Building Materials, 295

 11      S.W.3d 642.    And this was my concern and my issue, perhaps

 12      because I used to teach it and so it was at the front of my

 13      mind.    But contrary to what you would think and what you said

 14      earlier, it's not your ruling against us that would create a

 15      judicial estoppel problem.        It's if you ruled in our favor.

 16      And I know that seems weird.        Let me explain.

 17             The two things that have to take place for there to be

 18      judicial estoppel are, first, successfully maintaining a

 19      position in one proceeding, and then taking an inconsistent

 20      position in another.       And Your Honor, what we talked about

 21      earlier is the notion that your July order forecloses the key

 22      claim that Mr. Sbaiti was just describing, that Mr. Seery

 23      should have known.       Not that he was grossly negligent or did

 24      intentional wrong, but that he breached fiduciary duties

 25      because he should have known and should have disclosed.




000288
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 292 of 852 PageID 2197
                                                                          256


   1         And if your order forecloses that and we come and convince

   2     you that we nonetheless have colorable claims, colorable

   3     claims of gross negligence or willful wrongdoing, that we

   4     ultimately are unable to prove, our lawsuit could fail, even

   5     though we had proved -- in the lawsuit we had proved he should

   6     have known and that he breached fiduciary duties, but we would

   7     be estopped, having succeeded from coming here and asking in

   8     compliance with the order and its colorability rule, that we

   9     would be estopped from then saying that this Court lacked the

 10      authority to have issued that order in the first place, to

 11      have released the claim on the mere breach of fiduciary duty

 12      or ordinary negligence.   That's the inconsistency that I was

 13      concerned about.

 14          By coming here rather than trying to make our objection

 15      and our position known without submitting to the foreclosure

 16      of that claim that is, in many ways, the most important, the

 17      headliner from our District Court complaint, is the concern,

 18      Your Honor.   And frankly, if Your Honor's order does foreclose

 19      that, then we're in serious trouble.      That's the claim that

 20      we're trying to preserve.

 21          But Your Honor, I don't think it was in anyone's

 22      contemplation in July of 2000 that what that order would do is

 23      terminate -- 2020; sorry, Your Honor -- in July of 2020, that

 24      that order would terminate future claims that might arise

 25      based on future conduct that had not yet happened in Mr.




000289
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 293 of 852 PageID 2198
                                                                          257


   1     Seery's role.    Not in his role as a manager of the Debtor's

   2     property, but in his role as a registered investment advisor

   3     on behalf of his clients and their property.       And that is the

   4     concern that the judicial estoppel argument is about.

   5                 THE COURT:   I still don't understand.    I'm very well

   6     aware of judicial estoppel, the old expression, you can't play

   7     fast and loose with the court.     Take one position in one

   8     court, you're successful, and then take another position in

   9     another court.    That's the concept.

 10                  MR. BRIDGES:   Coming here --

 11                  THE COURT:   How is this judicial estoppel if you had

 12      done what I think the order required and asked this Court for

 13      leave?   What -- and I said fine, you have leave.       Where's the

 14      judicial estoppel problem?

 15                  MR. BRIDGES:   If you say fine, you have leave, but

 16      that leave is only, as the order states, because we have

 17      colorable claims of gross negligence, colorable claims of

 18      intentional wrongdoing, what happens to our mere negligence

 19      and mere breach of fiduciary duty claims?       Are they

 20      foreclosed?     The order on its face --

 21                  THE COURT:   Well, I would interpret the order to be

 22      yes, and then you could appeal me, and the Court would either

 23      say it's too late to appeal that because you didn't appeal it

 24      in July 2020, or fine, I'll hear your appeal.        Where's the

 25      estoppel?




000290
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 294 of 852 PageID 2199
                                                                          258


   1                MR. BRIDGES:   Your Honor, our claims that this Court

   2     lacks the authority either to have made that order in the

   3     first place or the jurisdiction to rule on colorability now

   4     because of Section -- the mandatory abstention provision,

   5     whose section number I've now lost.      That if we come to you

   6     and ask you to rule on those things, have we not thereby

   7     waived on appeal our claim that you couldn't rule in the first

   8     place on those things?

   9         That is what our motion for leave in the District Court

 10      argues, is that there's -- there are jurisdictional

 11      shortcomings with your ability to decide what we're asking

 12      that Court to decide.     And Your Honor, by coming here first

 13      and then appealing, that's what we fear we would have lost.

 14      And instead of coming here and appealing, what we -- what we

 15      would have done, in the alternative, I guess, would be to come

 16      here and ask you not to rule but move to withdraw the

 17      reference of our own motion.

 18          That two-step, filing here and filing a motion to withdraw

 19      the reference on the thing we filed here, we didn't think was

 20      required, nor could we find any case law or rule saying that

 21      that was appropriate.

 22                 THE COURT:   Okay.

 23                 MR. BRIDGES:   These are not games, Your Honor.      We

 24      were not trying to play games.    We aren't bankruptcy court

 25      lawyers.   We're not regularly in front of the Bankruptcy




000291
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 295 of 852 PageID 2200
                                                                          259


   1     Court.    So the notion why didn't we come here first isn't

   2     exactly at the top of our mind.     The question for trial

   3     lawyers typically is, where can we file this, what are the

   4     permissible venues, not why don't we come to Bankruptcy Court?

   5     Especially when your order appears to say that causes of

   6     action that don't rise to the level of gross negligence or

   7     intentional wrongdoing are already foreclosed.

   8            Your Honor, the January order, I think I have to just

   9     briefly address again, even though I don't understand why it

 10      makes a difference.    Apparently, counsel thinks it makes a

 11      difference because Mr. Dondero apparently supported it in some

 12      way.    Our position is, for whatever difference it makes, the

 13      January versus the July, we don't believe there's anything in

 14      the District Court complaint putting at issue Mr. Seery's role

 15      as a director, so we don't understand how that order is

 16      implicated.

 17             Again, I'm not sure that matters at all.     I'm not raising

 18      it as a defense.    I'm just telling Your Honor this is all

 19      about the July order, from our perspective.       Certainly, the

 20      July order puts his role as a CEO -- certainly, the District

 21      Court case puts his role as a CEO at issue, and that's what

 22      the July order is about.

 23             Your Honor, the Applewood case requires specifics in order

 24      to terminate our rights to sue and to bring certain causes of

 25      action, and without that kind of specificity, Your Honor, we




000292
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 296 of 852 PageID 2201
                                                                           260


   1     believe that that order fails to preclude, fails to have

   2     preclusive effect as to these later-arising claims.         And we

   3     would submit not only that it was not contemplated, but that

   4     it was not intended to have that effect, and that even Mr.

   5     Seery's testimony suggests that that's not how he understood

   6     that order to be effective.

   7         Counsel argued that the Barton Doctrine does apply here

   8     and rattled off the names of cases that don't -- to my

   9     knowledge, no case, no case that I can find deals with this

 10      type of deferential order where someone is asked -- where a

 11      court is asked to defer to the business judgment of an entity

 12      in approving an appointment, and nonetheless deciding that the

 13      Barton Doctrine applies.   That's not what Villegas holds.

 14      That's not what Espinosa holds.     I don't think Barton is

 15      applicable in a situation like that.       Certainly, it's outside

 16      of the context of what Barton anticipated itself over a

 17      century ago when it was decided.

 18          Your Honor, if we're wrong, please know we're wrong in

 19      earnest.   These are not games.   These are not sneakiness.        No

 20      such motivation is at issue here.        I was hopeful that that

 21      would be plain from the text of the motion for leave itself.

 22      If it's not, I'd offer this in addition.        The docket at the

 23      District Court shows that immediately upon filing the motion

 24      for leave, a proposed order was filed with it asking to have

 25      the proposed complaint deemed filed, which as soon as I saw I




000293
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 297 of 852 PageID 2202
                                                                          261


   1     asked us to immediately retract it and to substitute a new

   2     proposed order that does not ask for the amended complaint to

   3     be deemed filed.    That is not what we wanted.

   4         And the fear was what if our motion is granted because the

   5     District Court says you have the right, you don't even need

   6     leave, but as to the Bankruptcy Court, you're on your own,

   7     this is at your own risk, I'm not going to rule on any of the

   8     jurisdictional questions that you attempt to raise?        We did

   9     not want our complaint deemed filed for that reason.        What we

 10      did want was for a court where we did not risk judicial

 11      estoppel to decide whether or not our key claim under the

 12      Advisers Act had been foreclosed by your July order, and that

 13      was the key and motivating factor.

 14          On top of that, Your Honor, instead of arguing the meaning

 15      of the word pursue, let me just say this.       We understood

 16      pursue in that context to refer to claims or causes of action,

 17      not potential, unfiled, unasserted, contemplated claims or

 18      causes of action.   That until a claim or cause of action is

 19      actually asserted in some way, that it can't be pursued, and

 20      that the reference here was to two kinds of action, those that

 21      had not yet been commenced -- and your order foreclosed the

 22      commencing of them without permission -- and those that had

 23      been commenced.    And your order couldn't foreclose the

 24      commencing of them because they hadn't been commenced yet, but

 25      your order did foreclose pursuing them.




000294
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 298 of 852 PageID 2203
                                                                          262


   1         And that was my reading of what that order said.         And it

   2     fits with this notion that a claim or cause of action isn't

   3     something you're considering or even researching.        It didn't

   4     dawn on us that researching or talking to a client about a

   5     potential claim could violate the order because in some

   6     respect that conversation could be in pursuit of the claim.

   7         By the same notion, we didn't think asking a court with

   8     original jurisdiction according to Congress, asking a court to

   9     decide whether or not we were foreclosed from bringing our

 10      claims in a motion for leave was violating your order.

 11          We don't have much else, Your Honor.       In terms of the need

 12      to enforce compliance with your orders, if we understand them,

 13      we sure as heck are going to follow them.       And if we've

 14      misconstrued the term pursue, I'm certainly very sorry about

 15      that.

 16          I appreciate counsel saying he thinks we're probably good

 17      people.   I did not think what we did was any kind of gross

 18      error in judgment.   I thought that what we were doing was

 19      preserving our clients' rights, going to a court of competent

 20      jurisdiction, and asking the question, can we do what we think

 21      we ought to be able to do, but is -- frankly, Your Honor,

 22      we're a bit confused about because of the order that seems on

 23      its face to foreclose the very lawsuit that we think we should

 24      be bringing on behalf on this charitable organization that

 25      foreclosed it months before the conduct at issue that gave




000295
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 299 of 852 PageID 2204
                                                                          263


   1     rise to the complaint.      And with that conundrum, knowing what

   2     to do was not obvious or easy for the lawyers or for the

   3     client who was dependent on his lawyers to give him good,

   4     sound advice.

   5         I'm very grateful for you giving us the time and for your

   6     very pointed questions.      Thank you, Your Honor.

   7                 THE COURT:   Thank you.   All right.   Who's next?

   8                 CLOSING ARGUMENT ON BEHALF OF MARK PATRICK

   9                 MR. ANDERSON:   May it please the Court, Michael

 10      Anderson on behalf of Mr. Patrick, Mark Patrick.

 11          You know, this is a contempt proceeding.        It's very

 12      serious.    And, you know, my stomach aches for the people here.

 13                  THE COURT:   Mine does, too, by the way.

 14                  MR. ANDERSON:   It truly aches.

 15                  THE COURT:   Uh-huh.

 16                  MR. ANDERSON:   And I mean what I said when I did

 17      opening, when I said we don't need a hearing, an evidentiary

 18      hearing.    And I still don't believe we did, because it comes

 19      down to what does the word pursue mean, because there's

 20      already been an acknowledgement --

 21                  THE COURT:   Do you all want to withdraw all your

 22      exhibits?    I've got a lot of exhibits that I now need to go

 23      through.    If I admit them into evidence, I'm going to read

 24      them.

 25                  MR. ANDERSON:   No, I understand.




000296
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 300 of 852 PageID 2205
                                                                           264


   1               THE COURT:    Uh-huh.

   2               MR. ANDERSON:    But it does come down to the word

   3     pursue.   Counsel has already said commence doesn't do it, and

   4     so then it's pursue.

   5         And I could ask Your Honor, what did you mean when you

   6     said pursue in the July order, but I'm not going to say that.

   7     And I asked my client on the stand, you know, did you pursue a

   8     claim or cause of action?    And then it was very telling.        What

   9     happened with counsel?    He stood up and objected to me even

 10      asking if it was pursued.    And it dawned on me, if he's going

 11      to object, does pursue have some sort of legal -- that was his

 12      objection.   It was he objected on legal grounds.        Does that

 13      have some sort of legal meaning?

 14          This is contempt.     You can't be held in contempt unless it

 15      is bright-line clear that you have deviated from a standard of

 16      conduct and there's no ambiguity.        Well, clearly, there is

 17      ambiguity, because over on this side of the room we say filing

 18      a motion for leave can't be pursue.       We can look at the order

 19      and we know it doesn't mean pursue because I just heard Your

 20      Honor say you should have filed a motion for leave in this

 21      Court before doing anything.      All right?    So if that -- if

 22      that is what without the Bankruptcy Court first determining,

 23      if that's what the motion for leave is, well, then if we go up

 24      to the first sentence, No entity may commence or pursue a

 25      claim or cause of action, then it has this, without the




000297
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 301 of 852 PageID 2206
                                                                          265


   1     Bankruptcy Court first determining, that means -- if pursue

   2     means a motion for leave, if that's what that means, then that

   3     order says you can't commence or file a motion for leave

   4     before you file a motion for leave.      Because that's what it

   5     means.   If pursue means motion for leave and you've said you

   6     should have come here and filed a motion for leave because it

   7     says, Debtor, without the Bankruptcy Court first determining

   8     that notice that such claim or cause of action represents a

   9     colorable claim, and specifically authorizing.       The vehicle to

 10      do that would be a motion for leave, right?       And you can't

 11      pursue anything until a motion for leave has been filed.

 12          Now, where was the motion for leave?       And I understand,

 13      Your Honor, you know, no expert at reading the room,

 14      obviously, you're frustrated that the motion for leave was

 15      filed in the District Court and not in this Court.        But it

 16      doesn't change the fact, and neither did any of the evidence,

 17      change anything, is what does pursue mean?

 18          And if someone says, well, it's obviously clear it means

 19      x, well, is it really obviously clear it means filing a motion

 20      for leave?   Because nobody on my side, when you read it, when

 21      you say pursue, can read it that way.      And if we're going to

 22      have contempt sanctions being posed, and there has to be clear

 23      and convincing evidence or beyond reasonable doubt, depending

 24      upon, you know, I don't think you have to get to that part,

 25      but clear --




000298
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 302 of 852 PageID 2207
                                                                           266


   1                 THE COURT:   This is not criminal contempt.

   2                 MR. ANDERSON:   Clear and convincing is the civil

   3     standard for contempt.

   4                 THE COURT:   Right.

   5                 MR. ANDERSON:   And if pursue is open to that much

   6     interpretation, it's not the kind of thing that can be held in

   7     contempt on.    And I understand the frustration.       I hear the

   8     frustration.    I hear counsel talk about that was not their

   9     intent when they filed it.        You know, I heard Mr. Patrick get

 10      up there.    I heard counsel say, hey, Mr. Patrick's doing his

 11      job, he's a good guy, seems like a good guy.        Well, Mr.

 12      Patrick's up there.      Look, they filed the underlying lawsuit.

 13      Nobody -- there's no motion for that in this Court about the

 14      underlying lawsuit.      It's only about the motion for leave.

 15      That's all we're here about.

 16          And so you go to that, and we've heard all these arguments

 17      about it, and we've been here almost as long as the motion for

 18      leave was actually on file before it was sua sponte dismissed

 19      without prejudice.

 20          And so I go back to that and I say that, if pursue means

 21      filing a motion for leave, then that order would require an

 22      order for anyone to violate -- it would be violated upon the

 23      filing of a motion for leave, because you can't pursue

 24      something until the Bankruptcy Court has already first

 25      determined, after notice, that such claim or cause of action




000299
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 303 of 852 PageID 2208
                                                                          267


   1     represents a colorable claim and specifically authorizing the

   2     entity to bring such a claim.     Because that -- we already know

   3     that's a motion for leave in and of itself.       Therefore,

   4     pursue, just simply filing a motion for leave will put you in

   5     that.

   6         But that gets into all these -- we don't need to be having

   7     this discussion about, you know, is a motion for leave pursue?

   8     Is pursue a motion for leave?     I've heard both arguments here.

   9     It doesn't justify contempt.     And I know -- and so certainly

 10      with respect to my side, I, you know -- given that, I would

 11      request that the Court deny the request for contempt.

 12          And again, I want to say, too, look, we hear you.

 13      Absolutely hear you.   Understand the frustration.       Totally

 14      hear you on that.

 15          I'm going to turn over the balance of my time to Mr.

 16      Phillips, --

 17                THE COURT:   Okay.

 18                MR. ANDERSON:     -- unless you have any questions, Your

 19      Honor.   I appreciate it.

 20                THE COURT:   Okay.    I do not.

 21                 CLOSING ARGUMENT ON BEHALF OF MARK PATRICK

 22                MR. PHILLIPS:     Your Honor, Louis M. Phillips, and

 23      I'll be brief.   I'm going to try to bring it down to -- I was

 24      not involved.    We are -- we are here because of the

 25      indemnification provisions of CLO Holdco representing Mr.




000300
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 304 of 852 PageID 2209
                                                                          268


   1     Patrick individually.    My firm was not involved in the

   2     litigation.    We were hired to represent CLO Holdco and some of

   3     the defendants in the UCC litigation, and our role has

   4     expanded to do some other stuff, particularly represent Mr.

   5     Patrick because of the indemnification provisions of the

   6     Holdco entity documents.    He's entitled to indemnification and

   7     we're providing a defense for him.       That's why we're here.

   8         So I come way after the order.       We have not been involved

   9     in anything.    But I think I'm just going to try to distill

 10      everything about the order and about the concern and about the

 11      litigation, because the Court is asking about is this an end

 12      run on the settlement?    The Court is also saying, all you had

 13      to do was come here first.

 14          But let's look.     We're here about one thing, the motion

 15      for leave.    And as Mr. Anderson pointed out, the commence or

 16      pursue a claim, according to the order, commence or pursue can

 17      only occur after the Court has authorized the litigation.

 18      Okay.   So that's what the order says.     You can't commence or

 19      pursue.

 20          Counsel for the Debtors says, well, it can't be after

 21      commencement because you've already commenced the action.         So

 22      pursue has to mean something before the commencement of the

 23      action.   It would mean something before the commencement of

 24      the action under this order.

 25          But it doesn't mean something before the Court approves




000301
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 305 of 852 PageID 2210
                                                                            269


   1     the commencement of the action, because commence or pursue

   2     under this order does not occur before the Court has acted.

   3     That's the language of the order.        It only occurs after the

   4     Court has authorized it.     That's the context in which commence

   5     or pursue exists, after this Court has authorized.

   6           Okay.   So it can't be pursuit before the Court has

   7     authorized without commencement because it only is triggered

   8     by the Court's authorization of the action, which means,

   9     before you commence it, actions in time take time, before you

 10      commence the action, you have to pursue the action to commence

 11      it.   But you can't do that until you've approved it.        All

 12      right?

 13            That's the temporal concern and why we say the motion for

 14      leave can't be pursuit of an action under this order.         It

 15      might be pursuit under another definition or another order.

 16      In other words, maybe an order could be issued saying, you

 17      can't file a motion for leave in any other court but this one.

 18      I don't know whether it'd be a good order, but the order could

 19      say that.     But when you say all you had to do was file a

 20      motion for leave in this Court and everything would be okay,

 21      no.   The motion for leave is not, under this order, pursuit.

 22      Pursuit only occurs under this order after you've done

 23      something, after Your Honor has done something.

 24            So if a motion for leave is violative at the District

 25      Court, the motion for leave would be violative here, because




000302
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 306 of 852 PageID 2211
                                                                          270


   1     it occurs before Your Honor has taken action.

   2            Now, clearly, you want people to ask, but just as clearly,

   3     and this was the point of my remarks earlier at the tail-end

   4     of opening, just as clearly, I have a question, because

   5     frankly, I understand what these guys are saying.        These guys

   6     haven't really said it.    They're a little shame-faced at what

   7     these guys are asking.    Because what these guys are asking is

   8     whether or not an employee Seery, as the CRO -- and we heard,

   9     oh, he bargained for it, he wouldn't have done it without

 10      getting the order and the protections because -- did he

 11      bargain for not having to comply with the Investor Advisory

 12      Act?    Did he bargain for not having a fiduciary duty to third

 13      parties?    Because the one thing that Mr. Bridges has been

 14      trying to tell you is that, under this order, if it's

 15      interpreted one way, you would never authorize a violation of

 16      the Investment Advisory Act because it wouldn't necessarily be

 17      gross negligence or willful misconduct.

 18             In other words, in employing Seery, did the Debtor go out

 19      in this disclosure statement and say, we are advisor to $1.2

 20      billion of third-party money, and guess what, our CRO has no

 21      fiduciary duty to you?    We have forestalled any claim under

 22      the Investment Advisory Act in our employment order.        Did that

 23      happen?

 24             Because if that happened, I don't know if the Court was

 25      really thinking that way, because that -- that can't happen in




000303
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 307 of 852 PageID 2212
                                                                           271


   1     a confirmation order before, under the Fifth Circuit

   2     authority, after disclosure statement, plan, et cetera, et

   3     cetera, because that's a third party release of claims that

   4     may -- that haven't occurred yet.        You would be releasing

   5     because you would be saying you have no right.        You have no

   6     right.    This is not temporal.   This is saying you have no

   7     right, if it's saying that, to bring an Investment Advisory --

   8     Investment Advisory Act or a Breach of Fiduciary Duty Act

   9     that's not gross negligence or willful misconduct forever upon

 10      an employment order.

 11          Now, if that's not what it means, then we have another

 12      conundrum.    The other conundrum -- and I'm new to this, maybe

 13      this has been thought out by everybody, but I don't think so.

 14      The other conundrum is this order doesn't apply to actions

 15      that don't involve willful -- gross negligence or willful

 16      misconduct.    It only applies to those types of actions.        So,

 17      frankly, I don't know what the order does.

 18          I think the problem -- I probably shouldn't be the

 19      purviewer of who ought to know because my standard's probably

 20      really low, given my capacity here.       But I'm a guy off the

 21      street.   Seery gets hired to run the Debtor.       Seery testifies

 22      and he admits, we've got Investment Advisory        Act all over the

 23      place.    We're making lots of fees out of administering all

 24      this third-party money.    Do they know?     Do they know he's

 25      immune?   Do the third parties know?




000304
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 308 of 852 PageID 2213
                                                                          272


   1            Now, a standard about managing the Debtor?      Absolutely.

   2     That's just pure D Chapter 11, pure D corporate, pure D

   3     standard liability if you're operating an entity.         You're not

   4     liable for gross negligence or willful misconduct.         You're

   5     not.    And so any claim for damage to the Debtor or to the

   6     estate by actions taken in the CRO capacity, absolutely.

   7     Absolutely.    You don't want a bunch of yoyos suing, you did

   8     something against the Debtor and the Debtor is now worth $147

   9     less than it was because you did something, you were negligent

 10      and you forgot to put the dog out.       No.    It's got to be gross

 11      negligence or willful misconduct if you are talking about

 12      running the Debtor and running the estate.

 13             But that's not what we have here.       And you can ask all the

 14      questions you want about whether the lawsuit's any good, but

 15      that's not what's up before the Court.         What's up before the

 16      Court is whether filing a motion for leave is contempt.         And

 17      under this order, you're saying, all you had to do is come

 18      here.    Well, in one reading of it, you'd have never got relief

 19      because you can't bring the kind of action.         I foreclosed it

 20      by employing Seery.    He no longer has a fiduciary duty and is

 21      no longer bound by the Investment Advisory Act.         Case closed.

 22      Get out of here.    Unless you can formulate something around so

 23      that you can establish gross negligence or willful misconduct,

 24      I've done away with all those causes of action.

 25             I don't think that's what happened.      And if that's not




000305
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 309 of 852 PageID 2214
                                                                          273


   1     what happened, this doesn't apply because it shouldn't apply

   2     to third-party actions.   It should apply to actions for damage

   3     to the estate by creditors of the estate for whom Seery is

   4     acting as CRO of the Debtor, who is the -- in possession of

   5     the estate.    That makes perfect sense.    Perfect sense.     And

   6     nobody would say that you shouldn't have sole authority to

   7     determine whether a CRO who's acting for the estate and

   8     damages the estate -- because that'd be a claim against the

   9     estate.   That would be an administrative claim against the

 10      estate.   That is just hornbook law.

 11          That's the way I see this order.       And I admit I didn't

 12      write it.   I admit I didn't submit it.     I admit I didn't

 13      litigate it.    I admit I'm coming in late.     But sometimes maybe

 14      a fresh pair of elderly, trifocal-assisted eyes doesn't hurt.

 15      Because I will tell you, Judge, on one read this Court says

 16      don't bother coming here because you don't have the kind of

 17      claim that can be brought, even if you're a third party.         And

 18      the only way that happens is if Seery's released from any

 19      obligation under the Investment Advisory Act, and I think

 20      everybody would like to know that.       And he can't be sued for

 21      breach of fiduciary duty to third parties that he admits he

 22      owes.   I think people would like to know that.

 23          And if it doesn't, then this is not -- this order is not

 24      about that.    But the fact -- I've been at this 40 years, and I

 25      usually don't want to talk about myself.       There's really not a




000306
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 310 of 852 PageID 2215
                                                                          274


   1     lot to talk about.    But I hear Mr. Morris how he's never done

   2     this, he's never done that.    I hear this, I'm a good -- you

   3     know, whatever.    I'm confused.   I've been doing this 41 years.

   4     Bankruptcy, 39.7.    I must be crazy, but that's what I've been

   5     doing.   And I'm confused because I don't even know if they

   6     needed to come here.    I don't even know if, had they come

   7     here, if they could have even presented an action for gross --

   8     for negligence or breach of fiduciary duty, could have --

   9     gross negligence or willful misconduct?      I don't know whether

 10      this order just applies to Seery's duties as CRO vis-a-vis

 11      creditors of the estate and property of the estate and damage

 12      to the estate.    Because that's not what we're dealing with

 13      here.

 14          The point is, Judge, this is contempt.       And I understand

 15      Your Honor knows all about contempt.      Your Honor knows about

 16      Matter of Hipp.     Your Honor knows about civil contempt

 17      authorization for bankruptcy courts.      Your Honor knows that

 18      you can't operate without the right to impose civil contempt

 19      sanctions.   And Your Honor knows, and I agree with Your Honor,

 20      that civil contempt is both remedial and coercive.

 21          But how do you coerce around my questions?        Maybe I am all

 22      wet, but if I am, I don't think I am, and I don't understand

 23      that I am, and that's why I'm concerned about going off into

 24      this contempt wilderness and millions in fees, when the motion

 25      for leave was dismissed and when the lawsuit doesn't ask for




000307
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 311 of 852 PageID 2216
                                                                          275


   1     or includes most of its claims.    I don't even -- I have not

   2     studied the lawsuit.   I wasn't involved in it.      But if it's a

   3     breach of fiduciary duty and Advisory Act and it says what

   4     you've been told it says, that he should have pulled up

   5     different stuff, that the valuation metrics were different,

   6     that he shouldn't have used it, I don't know that they're

   7     saying fraud.   I don't know that they're saying he knew he was

   8     doing -- I think they're saying he breached the Investment

   9     Advisory Act.   And that's not gross negligence or willful

 10      misconduct.   Then does this order apply or this order -- does

 11      this order foreclose that?

 12          The fact is, I think we could have decided this on the

 13      pleadings and on the order.    We didn't.    The fact that Mr.

 14      Dondero did A, B, C.   And I will tell you this.       Mr. Patrick

 15      has stood up.   He's going to get a harpoon, he's going to get

 16      a harpoon, subject to his right to appeal.       But he has told

 17      this Court.   We represent him.   We're not trying to get him

 18      out of having authorized the order.      It's very important for

 19      this Court to understand.    Mr. Patrick is one of these

 20      entities.   Mr. Dondero can holler and scream all he wants to.

 21      Mr. -- and look, did he terminate Grant Scott?       If I'm Grant

 22      Scott, and this is my best friend and I was in his wedding and

 23      I was his roommate and I was his best friend and I'm doing

 24      this stuff for $5,000 and I do something and $5,000 a month

 25      and I do something and I get hollered at and I've got a full a




000308
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 312 of 852 PageID 2217
                                                                            276


   1     law practice, I'm an IP lawyer, why don't I just tell him to

   2     go jump in a lake, which is the other way you could look at

   3     Grant Scott leaving.     I want you to jump in a lake.       I'm out

   4     of here.   I don't need this.

   5         Thank you.

   6                THE COURT:    All right.   Thank you.

   7                MR. DEMO:    Your Honor, how much time do they have

   8     left, --

   9                THE COURT:    Um, --

 10                 MR. DEMO:    -- to be honest?

 11                 THE COURT:    Nate, are you -- 26 minutes?       All right.

 12                 MR. TAYLOR:     I'll go way under, Your Honor.

 13                 THE COURT:    Okay.

 14                 CLOSING ARGUMENT ON BEHALF OF JAMES DONDERO

 15                 MR. TAYLOR:    Your Honor, Clay Taylor.      I'm here on

 16      behalf of Mr. Dondero.      He was named as an individual alleged

 17      violator within the order.

 18                 THE COURT:    Okay.    I'm getting lawyers mixed up.      Mr.

 19      Anderson, who did you represent?

 20                 MR. ANDERSON:    Mr. Patrick.     Mr. Phillips and I

 21      represent --

 22                 THE COURT:    You're Mr. Patrick?

 23                 MR. PHILLIPS:    We're Mr. Patrick.

 24                 THE COURT:    You're both --

 25                 MR. PHILLIPS:    Mr. Patrick.




000309
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 313 of 852 PageID 2218
                                                                            277


   1                THE COURT:    Okay.    I'm sorry.   I'm getting my Fort

   2     Worth law firms mixed up.        Okay.

   3                MR. TAYLOR:    That's quite all right.      Clay Taylor

   4     from Bonds Ellis here on behalf of Mr. Dondero.          And we're

   5     here because he was named in the alleged violator motion

   6     within the order as an alleged violator.         We don't think that

   7     he is, for the reasons that we're about to explain, but we

   8     were ordered to appear --

   9                A VOICE:   No.

 10                 MR. TAYLOR:      -- and so therefore we are appearing and

 11      telling you why we're not an alleged violator.

 12          First of all, for all the reasons that Mr. Sbaiti and Mr.

 13      Bridges and Mr. Phillips and Mr. Anderson said, the court

 14      order was in effect.     We agree with that.      It required certain

 15      conduct to be done.      Yes, it did.    It said you couldn't

 16      commence something.      It said you couldn't pursue it.       I think

 17      we have gone through what the pursuit and commence.          Nobody is

 18      arguing that anything was commenced.        It comes down to

 19      pursuit.

 20          But let's talk about what the evidence shows about Mr.

 21      Dondero.   It shows that Mr. Dondero believes that there have

 22      been breaches of fiduciary duty.         He thinks that there has

 23      been negligence committed.       He believes that actions should be

 24      taken.   We don't run away from that.        He, frankly, told you

 25      that.




000310
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 314 of 852 PageID 2219
                                                                          278


   1            But here, he didn't take any action to pursue it.      The DAF

   2     did.    CLO Holdco did.   It's undisputed that he's not an

   3     officer, director, or control person for either of those

   4     entities.    The act we're here on is a motion for leave to file

   5     an amended complaint to include Mr. Seery.       That's -- Mr.

   6     Dondero didn't take any of those acts.      He believes it should

   7     have been done, but he's not the authorizing person.

   8            He might have -- let's just pretend that he thought he was

   9     authorizing something.     It doesn't matter that he thought he

 10      could authorize something or that he was trying to push for

 11      it.    The fact remains he can't authorize it.     You know, he can

 12      say, I declare war on Afghanistan.       Well, he can't.   Congress

 13      can't.     He can write a letter to his Congressman.     He already

 14      wrote a letter to his Congressman.       He talked.   He talked with

 15      the head of the acting CLO -- CLO Holdco and he said, I think

 16      there's something wrong here.      I think you should be looking

 17      into it.    You know what, he goes, you might be right.      Go talk

 18      with Mazin about it.      Give him some data.   Conduct an

 19      investigation.    They did.   And then they went to the

 20      authorizing person and they filed a motion for leave to

 21      include Mr. Seery.    Mr. Dondero did nothing wrong in that.

 22             Now, there is some personal animosity.    I think that Your

 23      Honor has probably seen there seems to be some personal

 24      animosity between Mr. Seery and Mr. Dondero, and that's

 25      unfortunate.    But just because there's some personal animosity




000311
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 315 of 852 PageID 2220
                                                                           279


   1     doesn't mean that maybe something wasn't done wrong.         Maybe

   2     that Mr. Dondero -- he's certainly allowed to at least tell

   3     people, well, I think there was something done wrong.         And if

   4     there is an action to be had, then those appropriate entities

   5     can take it.   But he didn't do those things.

   6         And so even if he says, just like Michael Scott, "I

   7     declare bankruptcy," it doesn't matter.       You have to take the

   8     certain actions.

   9               THE COURT:    I got it.    I don't know if everyone did.

 10                MR. TAYLOR:    Yes, well, yeah, you have to be a The

 11      Office fan.

 12          But so that's where we stand.        And for all the reasons the

 13      prior people have discussed, I don't think that there was any

 14      violation of this Court's order.      But even if there was, Mr.

 15      Dondero in this situation was not the one.        We're going to

 16      have to deal with the other order that came out yesterday in

 17      due course, but for this discrete issue that is before this

 18      Court today, Mr. Dondero didn't violate anything.

 19          Thank you.

 20                THE COURT:    All right.   Mr. Morris, you get the last

 21      word.

 22              REBUTTAL CLOSING ARGUMENT ON BEHALF OF THE DEBTOR

 23                MR. MORRIS:    Thank you, Your Honor.      These are going

 24      to be discrete points because it's truly rebuttal.         I'm going

 25      to try to respond to certain points.




000312
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 316 of 852 PageID 2221
                                                                           280


   1           Mr. Bridges and Mr. Phillips made extensive arguments

   2     about why they believe the order is wrong, why it's

   3     overreaching.   They tried to get into your head to think about

   4     what you intended or what you thought.       The fact of the matter

   5     is, the answer to all of those questions -- first of all, none

   6     of it's relevant to this motion because we've got the order --

   7     but the answer is very simple.      Forget about coming here to

   8     seek leave to amend to add Mr. Seery.       We can avoid Mr.

   9     Sbaiti's concerns about judicial estoppel or something.          Why

 10      didn't they just file the motion for reconsideration?          They

 11      filed that after they filed the motion for leave to amend,

 12      after we filed the motion for contempt.       Only then did they

 13      file the motion for reconsideration.

 14            Now, we think it's ill-thought-out.      We think it's

 15      problematic.    Probably not today, is my guess, we'll argue to

 16      you as to why we think that motion ought to be denied.          But if

 17      they truly believed that the order was infirm in any way,

 18      wouldn't the proper thing to have been to come here and tell

 19      you that?   Wouldn't the proper thing to be to come to the

 20      court that issued the order that you have a problem with and

 21      ask the court to review it again?        And if Your Honor overruled

 22      the motion, to appeal it.

 23            Why are we even doing this?    Why did they do it?      It's not

 24      we.   Why did they do it?   Right?    And that solves almost

 25      everything they've said.    That's point one.




000313
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 317 of 852 PageID 2222
                                                                           281


   1         Point two, the January order.        The January order is very

   2     important.    It's important not just because it applies to

   3     directors, but it's important because Mr. Dondero agreed to

   4     it, and it also applies -- I want to get it -- Paragraph 10.

   5     It's Exhibit 15.    It applies to the independent directors and

   6     the independents directors' agents.       If a CEO is not an agent

   7     of an independent director, I'm not sure what is.         The

   8     independent directors are the body that appointed the CEO.

   9     The CEO, Mr. Seery, is acting on behalf of the board.           This is

 10      the order that Mr. Dondero agreed to.       It's the order -- take

 11      out the word independent director; put in Mr. Seery -- it's

 12      the order everybody's complaining about.        But even the January

 13      order certainly applied to Mr. Seery.       That's point two.

 14          Point three.    I've heard a lot of concerns about the

 15      slippery slope and what does pursuit mean and does talking to

 16      a lawyer mean pursuit and doing an investigation being

 17      pursuit.   I don't know, Your Honor, and I don't care, because

 18      that's not what we're here to talk about.        We're here to talk

 19      about a specific act -- not a hypothetical, not a slippery

 20      slope.   We're talking about the filing of a motion for leave

 21      to amend a complaint to add Mr. Seery as a defendant.           That's

 22      all we're talking about.    So, you know, the rest of it, it's

 23      just noise.    And the only question is whether, and I think

 24      it's pretty clear, that means pursuit.

 25          Another version on the theme of was there any alternative




000314
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 318 of 852 PageID 2223
                                                                          282


   1     to filing the motion in the District Court, I think there was.

   2     The Sbaiti firm did file that suit against Acis in New York.

   3     And if Your Honor checks the docket in the Acis bankruptcy, I

   4     think you'll find that there's a motion from Mr. Rukavina, for

   5     a comfort order, basically, saying that -- asking the court to

   6     declare that the filing of the complaint in New York against

   7     Acis didn't violate the plan injunction.       I think I have that

   8     right.

   9         But I point that out, Your Honor -- it's not evidence in

 10      the record, but the Court can certainly take judicial notice

 11      of what's on its docket -- I point that out because there's

 12      another example of a lawyer who is very active in this case

 13      who actually -- now, he already commenced the suit, so he did

 14      -- they did both simultaneously, so I don't want to suggest

 15      that that's the perfect thing to have done, but at least he's

 16      here asking for -- he's bringing it to your attention, he's

 17      telling you it's happened, he's asking for a comfort order,

 18      and someday Your Honor may rule on it.      I don't know.

 19          Number six, what's with the pursuit of Mr. Seery?         What is

 20      with the pursuit of Mr. Seery?    Is there any doubt in

 21      anybody's mind that the Debtor is going to have to indemnify

 22      Mr. Seery and will bring in another law firm?       And while I

 23      don't think it will ever happen in a hundred billion years, if

 24      there is a judgment against Mr. Seery, isn't that going to be

 25      the Debtor's responsibility?     Why are they even bothering to




000315
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 319 of 852 PageID 2224
                                                                            283


   1     do this?    I think it's a fair question for the Court to ask.

   2         I think Mr. Taylor came up and talked about animosity.

   3     How do you explain going after Jim Seery?         How do you do it?

   4     He's going to be indemnified.         It's in -- it's in like three

   5     different orders.    It's in the confirmation order.        It's in

   6     the CEO order.    It's -- it's probably as a matter of law.

   7     It's in the Strand partnership agreement.         It's -- he's been

   8     indemnified like 12 different times.        What is the purpose,

   9     other than to make Mr. Seery's life miserable?         There is none.

 10      You'll never hear a rational explanation for why they're doing

 11      this.

 12                  THE COURT:    Just so you know, I've not looked at any

 13      of the pleadings in the District Court --

 14                  MR. MORRIS:    And I'm not asking you to.

 15                  THE COURT: -- other than what has been presented to

 16      me today.

 17                  MR. MORRIS:    Yeah.   That's fine, Your Honor.

 18                  THE COURT:    But I'm very flipped out about the causes

 19      of action against the Debtor, --

 20                  MR. MORRIS:    Yeah.

 21                  THE COURT:     -- who hasn't reached an effective date.

 22                  MR. MORRIS:    Well, --

 23                  THE COURT:    And I'm most interested to know what the

 24      defenses, motions --

 25                  MR. MORRIS:    We'll get to that.




000316
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 320 of 852 PageID 2225
                                                                          284


   1                THE COURT:    -- are going to be raised in that regard.

   2                MR. MORRIS:    We will get to that in due course.

   3         I do want to point out, just to be clear, because we keep

   4     hearing that they learned about, you know, all of these

   5     horrible things after the fact.       In the complaint, which I

   6     think is Exhibit 12, --

   7                THE COURT:    I'm there.

   8                MR. MORRIS:    -- at Paragraph 127, the Plaintiffs

   9     allege, "Mr. Seery was informed in late December 2020 at an

 10      in-person meeting in Dallas, to which Mr. Seery had to fly,

 11      that HCO" -- excuse me "HCLF and HCM had to suspend trading in

 12      MGM Studios' securities because Seery had learned from James

 13      Dondero, who was on the board, of a potential purchase of the

 14      company.   The news of the MGM purchase should have caused

 15      Seery to revalue."

 16          I cannot begin to tell you the problems with that

 17      paragraph.   We're not going to discuss them today.       I made a

 18      promise to these folks that we wouldn't get into the merits of

 19      the complaint.   But Your Honor was onto something before, and

 20      those issues, you know, may see the light of day one day.           And

 21      if they do, folks are going to have to deal with it.        But I

 22      will point out that at the time the communication was made,

 23      the other TRO was in effect.      We didn't bring that one to the

 24      Court's attention.      But the important point there, Your Honor,

 25      is December 2020.    It is December 2020.     That is the




000317
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 321 of 852 PageID 2226
                                                                           285


   1     allegation that's being made against Mr. Seery.         And the fact

   2     of the matter is, because I've done the research myself, the

   3     Court will find that on December 23rd, the day the HarbourVest

   4     settlement motion was filed, it was fully public knowledge

   5     that Amazon and Apple, I think, had shut down negotiations

   6     with MGM at that time.    Right?   So the big secret information,

   7     it was in the public domain on December 23rd.

   8         There will also never be any evidence ever that Mr. Seery

   9     got on a plane and flew to Dallas in December 2020, but that's

 10      a minor point.

 11          I'd like to just conclude, Your Honor, by saying I've

 12      heard pleas that they understand.        They understand, Your

 13      Honor, now they understand.     It would be good if they promised

 14      the Court that they won't seek to assert claims against Mr.

 15      Seery anywhere but in this Court and comply with the order as

 16      it's written.    That, that, that would be taking a little bit

 17      of responsibility.

 18          I have nothing further, Your Honor.

 19               THE COURT:     Okay.   Thank you.

 20          All right.     Let me give you some clue of when I'm going to

 21      be able to rule.    I've been glancing at my email in hopes that

 22      something set tomorrow would go away, but that's not

 23      happening.   I've got a hearing that I've been told will take

 24      all day tomorrow on a case involving a half-built hotel,

 25      luxury hotel in Palm Springs, California.        So I have to spend




000318
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 322 of 852 PageID 2227
                                                                          286


   1     the next I don't know how long getting ready for that hearing

   2     tomorrow, and then I have what looks like a full day of

   3     hearings Thursday, including you people coming back on

   4     something.

   5                MR. POMERANTZ:     Your Honor, I was going to address

   6     that.    We have Dugaboy's motion to enforce compliance on the

   7     2015(3) reports.

   8                THE COURT:    That's what it was.

   9                MR. POMERANTZ:     Since we haven't gotten to the motion

 10      to modify the Seery order, my suggestion would be we use that

 11      time -- of course, Dugaboy, I'm not sure if they're on the

 12      phone.    They're not here.    I'm not sure that's time sensitive.

 13      But if Your Honor wanted to have a hearing on that motion,

 14      which was contemplated to take place today, the Debtor would

 15      be okay having that motion heard on Thursday, perhaps by

 16      WebEx, unless Your Honor wants us to stay here, which we would

 17      if you do, and then reschedule the 2015(3) motion.

 18          But again, that wasn't my motion.       It's Dugaboy's.    I'm

 19      not sure Mr. Draper is on.      But we obviously have some

 20      calendar issues.

 21                 MR. MORRIS:    And Your Honor, just to complete it, I

 22      think also on Thursday the Court is supposed to hear HCRE and

 23      Highland Capital Management Services motions for leave to

 24      amend their complaint in the promissory note litigation

 25      against each of them.     I think that's also on the calendar for




000319
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 323 of 852 PageID 2228
                                                                            287


   1     Thursday.    I don't expect that -- I hope that doesn't take

   2     very long, but that's also, I believe, on the calendar.

   3                 THE COURT:   Okay.   Mr. Draper, are you out there?

   4                 MR. PHILLIPS:    I didn't see him on the list, Your

   5     Honor.   I was just looking.      But --

   6                 THE COURT:   Okay.   All right.    Well, --

   7                 MR. PHILLIPS:    What is the question?     I can send him

   8     a text real quick.

   9                 THE COURT:   Well, just have -- if you all could

 10      follow up with Traci Ellison, my courtroom deputy, tomorrow, I

 11      am perfectly happy to continue the motion to modify the Seery

 12      order to Thursday morning at 9:30 if Draper is willing to

 13      continue the 2015 motion.

 14                  MR. POMERANTZ:   I know, if I was him, my first

 15      question would be is what times does the Court have available?

 16      We could work that through Ms. Ellison.

 17                  THE COURT:   Yes.    And I'm just letting you know --

 18      talk to her.    Okay.    Number one, I'll do these by video, okay?

 19      WebEx.   But I know I don't have any time Wednesday, and

 20      Thursday's a busy day.

 21          We have court Friday morning at 9:30 in--?

 22                  THE CLERK:   Cici's Pizza.

 23                  THE COURT:   Cici's Pizza?     That's not going to take

 24      very long, right?

 25                  THE CLERK:   I don't think so.




000320
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 324 of 852 PageID 2229
                                                                          288


   1                 THE COURT:   I can potentially do something, you know,

   2     10:00 o'clock Friday morning.       Other than that, then you've

   3     got to wait a while, because I have a seven-day trial, live

   4     human beings in the courtroom starting next Monday.        And so my

   5     point is mainly to tell you, as much as I would like to rule

   6     very, very fast, it's going to be, it looks like, a couple of

   7     weeks or so before I can give you a ruling on this.

   8                 MR. BRIDGES:   Your Honor?

   9                 THE COURT:   Yes?

 10                  MR. BRIDGES:   May I?   It's our motion.   I would

 11      propose, if counsel would agree, that we just submit it on the

 12      papers.

 13                  THE COURT:   Everybody good with that?     I'm certainly

 14      good with that.

 15                  MR. POMERANTZ:   Your Honor, I'd like there to be

 16      argument.    I have a lengthy argument.    I think I'd like to

 17      address a number of the things that -- Mr. Bridges made his

 18      argument today.    Okay?

 19                  THE COURT:   Okay.

 20                  MR. POMERANTZ:   His deck, it was entitled, Motion to

 21      Modify.

 22                  THE COURT:   Okay.

 23                  MR. POMERANTZ:   So that's very nice of him, but I

 24      would like to make my argument.

 25                  THE COURT:   Okay.   Let's try to nail this down right




000321
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 325 of 852 PageID 2230
                                                                             289


   1     now.    Friday at 10:00 o'clock, can we do the oral argument

   2     WebEx?

   3                 MR. POMERANTZ:    On that one, yes, Your Honor.

   4                 THE COURT:   On that one?    Everybody good?    Okay.    So

   5     we'll come back Friday, 10:00 o'clock, WebEx, for that motion.

   6            You know, I'm going to say a couple of things where --

   7     I've leaned toward thinking this is a pretty simple motion

   8     before me, the motion for contempt, but when people offer into

   9     evidence documents, I read your documents.         Okay?   That's my

 10      duty.    And so I have however many exhibits I admitted today

 11      that I am going to look at and see how they sway me one way or

 12      another on this issue.       But I will tell you that my gut is

 13      there has been contempt of court.        Okay?   I don't see anything

 14      ambiguous at all about Paragraph 5 of my July 16th, 2020

 15      order.    Somebody may think I overreached, but if that was the

 16      case, someone should have argued at the time I was

 17      overreaching.    Someone should have appealed the order.        And I

 18      think it's a Shoaf/Espinosa problem at this point for anyone

 19      to argue about the enforceability of that order.

 20             I think there's nothing ambiguous in the wording. Pursue

 21      is not ambiguous.    There's nothing confusing about the

 22      requirement that any entity who wanted to sue or pursue a

 23      claim, you know, commence claim, pursue a claim against Mr.

 24      Seery, had to come to the Bankruptcy Court.         Standard-fare

 25      gatekeeping order.




000322
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 326 of 852 PageID 2231
                                                                          290


   1         So what I'm going to be looking at is, do these documents

   2     I admitted into evidence change my view on that, and then the

   3     harder question is who of the alleged contemnors am I going to

   4     think it's clear and convincing committed contempt and -- who

   5     are the contemnors, and then, of course, what are the damages?

   6     Coercive or compensatory damages?

   7         So, again, you know how I feel, to the extent that's

   8     helpful in your planning purposes.       I'm pretty convinced

   9     contempt of court has occurred.    It's just a matter of who's a

 10      contemnor and what are the damages.

 11          I'll say a couple of remaining things.       I continue to be

 12      frustrated, I think was the word people used, about

 13      unproductive ways we all spend our time.       I am going to spend

 14      I don't know how many more hours drafting another ruling on a

 15      contempt motion, and attorneys' fees are through the roof.

 16      And, you know, I dangled out there a question I couldn't

 17      resist about MGM.

 18          And I will tell you, I mean, someone mentioned about their

 19      stomach aching.   Personal story, I could hardly sleep the

 20      night it became public about the Amazon purchase, because,

 21      silly me, maybe, I'm thinking game-changer.       This is such

 22      potentially a windfall, an economic windfall.       Maybe this

 23      could be the impetus to make everyone get in a room and say

 24      look, we've got this wonderful windfall of money.        I don't

 25      know how much is owned directly or indirectly by the Debtor of




000323
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 327 of 852 PageID 2232
                                                                            291


   1     MGM stock.   I don't know how much the Debtor      manages.    I

   2     don't know how much, you know, some other entity.        I know it's

   3     probably spread out in many different entities.        But I know, I

   4     know because I listen, that one or more of the Highland-

   5     managed CLOs has some of this, and I think I read -- remember

   6     that HCLOF, which now Highland owns more than 50 percent of,

   7     has some of this stock.       Right?

   8                MR. DONDERO:     Do you want to know what happened?

   9                THE COURT:   Oh.

 10                 A VOICE:   No.

 11                 THE COURT:   Well, okay.    So, you know, I can

 12      understand I'm getting into maybe uncomfortable territory in a

 13      public proceeding, so I'll stop.

 14          But, you know, do we need to set up a status conference?

 15      Do you all need to like talk about this?       Am I just being

 16      naïve?    Couldn't this be a game-changer, where maybe it would

 17      give new incentive to --

 18                 MR. POMERANTZ:     Your Honor, I would -- he's been

 19      pretty quiet through the whole hearing, Mr. Clemente.         He has

 20      the Committee, that a couple of people you've heard have sold

 21      claims.   They're now held by other parties.

 22          You know, the door is always open.       I don't think this is

 23      going to be game-changer, unfortunately.       We would like

 24      nothing more, as Debtor's counsel.       We don't enjoy coming to

 25      Your Honor for contempt hearings.




000324
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 328 of 852 PageID 2233
                                                                          292


   1         Mr. Clemente said that it was productive.        We would sure

   2     participate.   But right now, we have creditors who are very

   3     angry that millions and millions of dollars have been spent on

   4     really a waste of time and a waste of the Court's time and a

   5     waste of everyone's time and eating into the creditors' money.

   6     So I would ask Mr. Clemente to address that.

   7                MR. CLEMENTE:   I'm here.

   8                THE COURT:   Yes, he's way in the back, hoping to be

   9     ignored.

 10                 MR. CLEMENTE:   It's too cold, Your Honor, where I was

 11      sitting.   For the record, Your Honor, --

 12                 THE COURT:   I noticed some entity called Muck

 13      Holdings bought HarbourVest, according to the docket.

 14                 MR. CLEMENTE:   That's correct.    Muck Holdings bought

 15      HarbourVest, and I believe also the Acis claim, and then

 16      there's a different entity that bought the Redeemer claim.

 17                 THE COURT:   Uh-huh.

 18                 MR. CLEMENTE:   So, as we mentioned in our -- one of

 19      our pleadings, I think it was the retention pleading for

 20      Teneo, the Committee consists of two members currently, Meta-e

 21      and UBS.

 22                 THE COURT:   Uh-huh.

 23                 MR. CLEMENTE:   Obviously, Your Honor just approved

 24      the UBS settlement recently.      The U.S. Trustee is aware of the

 25      make-up of the Committee, and is currently comfortable with




000325
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 329 of 852 PageID 2234
                                                                          293


   1     the Committee maintaining a two-person membership at this

   2     point.

   3         In terms of whether the MGM transaction is a game-changer,

   4     we've not yet seen, to Your Honor's point, how all of that

   5     rolls up through the various interests that the Debtor may or

   6     -- you know, may have --

   7               THE COURT:    Okay.

   8               MR. CLEMENTE:    -- that would be implicated by the MGM

   9     transaction.   If ultimately the MGM transaction has to

 10      actually occur, right?    I mean, so, you know, just based on

 11      what I read in the public documents, we're not sure when that

 12      transaction may actually happen.     But obviously it's a good

 13      thing for the Debtor's estate because it's going to recognize

 14      value for the estate.

 15          In terms of whether it ultimately changes how Mr. Dondero,

 16      you know, wishes to proceed, that's entirely up to him, Your

 17      Honor.   But we don't see it as something at this point that

 18      would suggest that there's an overall back to let's talk about

 19      a pot plan because of where the MGM transaction might

 20      ultimately come out.

 21          So I don't know if that's helpful to Your Honor, but those

 22      are -- that's my perspective.

 23                THE COURT:    Well, and I'm not trying to, you know,

 24      push a pot plan on anyone.

 25                MR. CLEMENTE:    No, I understand.




000326
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 330 of 852 PageID 2235
                                                                            294


   1               THE COURT:    I'm just saying it looked like an

   2     economic windfall.     I just -- I don't know how much is

   3     Highland versus other entities in the so-called byzantine

   4     complex, but, gosh, I just hoped that there might be something

   5     there to change the dynamic of, you know, lawsuit, lawsuit,

   6     lawsuit, lawsuit, motion for contempt, motion for contempt.

   7               MR. CLEMENTE:    Agreed, Your Honor.

   8               THE COURT:    Uh-huh.

   9               MR. CLEMENTE:    And like I said, it was a very

 10      positive development obviously for the creditors for the

 11      Debtor.   But whether it's the game-changer that Your Honor

 12      would envision, I'm not sure that I can suggest at this point

 13      that it is.

 14          I think that, you know, obviously, we don't like to see

 15      these lawsuits continue to be filed.        That's the whole point

 16      of the gatekeeper order, Your Honor.

 17                THE COURT:    Uh-huh.

 18                MR. CLEMENTE:    I didn't say anything during the

 19      hearing, but obviously the January 9th order, as Your Honor

 20      has said many times, was in the context of a trustee being

 21      appointed.

 22                THE COURT:    Right.    Right.

 23                MR. CLEMENTE:    Right?   So, and the July 16th order,

 24      very similar vein, it's an outshoot of that.         In fact, it was

 25      contemplated in the January 9th settlement that a CEO could be




000327
Case 3:21-cv-00842-B Document 43 Filed 07/13/21      Page 331 of 852 PageID 2236
                                                                             295


   1     appointed.

   2         So I think, again, it's just -- it's important, the

   3     context in which that January 9th order came into play, for

   4     this very reason, so we could avoid this type of litigation,

   5     Your Honor.

   6                THE COURT:    Uh-huh.

   7                MR. CLEMENTE:    And so again, I didn't -- I obviously

   8     didn't rise to mention that during the hearing, but Your Honor

   9     is already aware of that.      I didn't need to remind Your Honor

 10      of that.

 11                 THE COURT:    Uh-huh.   Okay.

 12                 MR. CLEMENTE:    Anything else for me, Your Honor?

 13                 THE COURT:    No.   Thank you.

 14                 MR. CLEMENTE:    Okay, then, Your Honor.

 15                 THE COURT:    Sorry I picked on you.       But, all right.

 16      Well, again, I hope the message has landed in the way I hope

 17      will matter, and that is I'm going to look at your documents

 18      but I feel very strongly that, unless there's something in

 19      there that, whoa, is somehow eye-opening, I'm going to find

 20      contempt of court.      It's just a matter of who and what the

 21      damages are.   There's just not a thing in the world ambiguous

 22      about Paragraph 5 of the July 9th, 2020 order.           So I'll get to

 23      it as soon as we humanly can get to it.

 24          Mr. Morris, anything else?

 25                 MR. MORRIS:     Nothing.   No, thank you.




000328
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 332 of 852 PageID 2237
                                                                          296


   1               THE COURT:   I guess I'll see you Thursday on the

   2     WebEx.   Thank you.

   3               THE CLERK:   All rise.

   4         (Proceedings concluded at 6:00 p.m.)

   5                                   --oOo--

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 20                                 CERTIFICATE

 21           I certify that the foregoing is a correct transcript from
         the electronic sound recording of the proceedings in the
 22      above-entitled matter.
 23        /s/ Kathy Rehling                                   06/09/2021

 24      ______________________________________             ________________
         Kathy Rehling, CETD-444                                Date
 25      Certified Electronic Court Transcriber



000329
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 333 of 852 PageID 2238
                                                                          297

                                         INDEX
   1
         PROCEEDINGS                                                            4
   2
         OPENING STATEMENTS (Show Cause)
   3     - Mr. Morris                                                       21
         - Mr. Sbaiti                                                       31
   4
         - Mr. Bridges                                                      52
   5     - Mr. Anderson                                                     80
         - Mr. Phillips                                                     83
   6     - By Mr. Taylor                                                    87
         - By Mr. Pomerantz                                                 88
   7
         WITNESSES
   8
         Debtor's Witnesses
   9
         Mark Patrick
 10      - Direct Examination by Mr. Morris                                  95
         - Cross-Examination by Mr. Anderson                                132
 11
         - Cross-Examination by Mr. Sbaiti                                  135
 12      - Redirect Examination by Mr. Morris                               137
         - Examination by the Court                                         138
 13      - Recross-Examination by Mr. Sbaiti                                142
         - Recross-Examination by Mr. Phillips                              143
 14      - Further Redirect Examination by Mr. Morris                       144

 15      James D. Dondero
         - Direct Examination by Mr. Morris                                 147
 16      - Voir Dire Examination by Mr. Sbaiti                              184
         - Direct Examination (Resumed) by Mr. Morris                       199
 17      - Cross-Examination by Mr. Taylor                                  210
 18      EXHIBITS
 19
         Debtor's   Exhibits   1 through 11                     Withdrawn   215
 20      Debtor's   Exhibits   12 through 53                     Received   216
         Debtor's   Exhibits   15 and 16                         Received   214
 21      Debtor's   Exhibits   23 and 24                         Received   213
         Debtor's   Exhibits   54 and 55                         Received   217
 22
         Mark Patrick's Exhibits 1, 3 through 12,                Received 218
 23      15 through 28, and 30 through 44

 24      Mark Patrick's Exhibits 45 and 46                       Received 219
 25




000330
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 334 of 852 PageID 2239
                                                                          298


   1                                    INDEX
                                       Page 2
   2
         CLOSING ARGUMENTS
   3

   4     -   Mr.   Morris                                                  221
         -   Mr.   Sbaiti                                                  230
   5     -   Mr.   Bridges                                                 255
         -   Mr.   Anderson                                                263
   6     -   Mr.   Phillips                                                267
         -   Mr.   Taylor                                                  276
   7     -   Mr.   Morris                                                  279

   8     RULINGS
   9     Motion for Entry of an Order Further Extending the Period          19
         Within Which It May Remove Actions Pursuant to 28 U.S.C.
 10
         § 1452 and Rule 9027 of the Federal Rules of Bankruptcy
 11      Procedure filed by Debtor (2304)

 12      Show Cause Hearing (2255) - Taken Under Advisement                285

 13      Motion to Modify Order Authorizing Retention of James             285
         Seery filed by Plaintiffs CLO Holdco, Ltd., The
 14      Charitable DAF Fund, L.P. (2248) - Taken Under Advisement

 15      END OF PROCEEDINGS                                                296

 16      INDEX                                                         297-298

 17

 18

 19

 20

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 22

 23

 24

 25




000331
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 335 of 852 PageID 2240




                              EXHIBIT 3




000332
Case 19-34054-sgj11 Doc 2412 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 1 of 4
                                                              Docket #2412 Date Filed: 6/5/2021
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 336 of    852 PageID 2241



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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                 )
In re:                                                           )   Chapter 11
                                                                 )
HIGHLAND CAPITAL MANAGEMENT, L.P., 1                             )   Case No. 19-34054-sgj11
                                                                 )
                                   Debtor.                       )
                                                                 )

                 DEBTOR’S WITNESS AND EXHIBIT LIST WITH RESPECT
                TO EVIDENTIARY HEARING TO BE HELD ON JUNE 8, 2021

         Highland Capital Management, L.P. (the “Debtor”) submits the following witness and

exhibit list with respect to the Motion for Modification of Order Authorizing Retention of James

P. Seery, Jr. Due to Lack of Subject Matter Jurisdiction [Docket No. 2248], which the Court has


1 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.

WITNESS AND EXHIBIT LIST FOR HEARING ON JUNE 8, 2021
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Case 19-34054-sgj11 Doc 2412 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 2 of 4
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 337 of 852 PageID 2242



set for hearing at 9:30 a.m. (Central Time) on June 8, 2021 (the “Hearing”) in the above-styled

bankruptcy case (the “Bankruptcy Case”).

         A.      Witnesses:

                 1.         James P. Seery, Jr.;

                 2.         Grant Scott (by deposition designation);

                 3.         Any witness identified by or called by any other party; and

                 4.         Any witness necessary for rebuttal.

         B.      Exhibits:

Letter                                      Exhibit                                Offered      Admitted


 1.           Transcript of January 9, 2020 Hearing

 2.           Transcript of July 14, 2020 Hearing

 3.           Transcript of February 2, 2021 Hearing

 4.           Transcript of February 14, 2021 Hearing

              Debtor’s Motion for an Order to Enforce the Order of
 5.           Reference [Docket 2351-4]

              DAF/CLO Holdco Structure Chart (GScott000007) [Dondero
 6.
              June 1, 2021 Deposition Exhibit 1]

              CLO Holdco, Ltd.’s Notice of Appearance and Request for
 7.           Copies [Docket No. 152]

 8.           Certificate of Service [Docket No. 296]

              Order Approving Settlement With Official Committee of
              Unsecured Creditors Regarding Governance of the Debtor and
 9.           Procedures For Operations in the Ordinary Course [Docket
              No. 339]

 10.          Certificate of Service [Docket No. 345]



WITNESS AND EXHIBIT LIST FOR HEARING ON JUNE 8, 2021                                         PAGE 2 OF 4
DOCS_NY:43337.1 36027/002
000334
Case 19-34054-sgj11 Doc 2412 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 3 of 4
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 338 of 852 PageID 2243



Letter                                   Exhibit                                Offered      Admitted

             Debtor’s Motion Under Bankruptcy Code Sections 105(a) and
             363(b) for Authorization to Retain James P. Seery, Jr., as Chief
 11.         Executive Officer, Chief Restructuring Officer and Foreign
             Representative Nunc Pro Tunc to March 15, 2020 [Docket No.
             774]

 12.         Certificate of Service [Docket No. 779]

             Order Approving Debtor’s Motion Under Bankruptcy Code
             Sections 105(a) and 363(b) for Authorization to Retain James
 13.         P. Seery, Jr., as Chief Executive Officer, Chief Restructuring
             Officer and Foreign Representative Nunc Pro Tunc to March
             15, 2020 [Docket No. 854]

             Redline of Fifth Amended Plan of Highland Capital
 14.         Management, L.P. (AS MODIFIED) [Docket No. 1809]

             Order (I) Confirming the Fifth Amended Plan of
 15.         Reorganization of Highland Capital Management, L.P. (as
             Modified) and (II) Granting Related Relief [Docket No. 1943]

             Transcript Designations from the January 21, 2021 Deposition
 16.         of Grant Scott

             Transcript Designations from the June 1, 2021 Deposition of
 17.         Grant Scott
             Amended and Restated Investment Advisory Agreement by and
 18.         between Charitable DAF Fund, L.P., Charitable DAF GP, LLC,
             and HCMLP, effective July 1, 2014 (PATRICK_000923)
             Amended and Restated Service Agreement by and among
 19.         HCMLP, Charitable DAF Fund, L.P., and Charitable DAF GP,
             LLC , effective July 1, 2014 (PATRICK_000938)
             Any document entered or filed in the Bankruptcy Case,
 20.
             including any exhibits thereto
             All exhibits necessary for impeachment and/or rebuttal
 21.
             purposes
             All exhibits identified by or offered by any other party at the
 22.
             Hearing




WITNESS AND EXHIBIT LIST FOR HEARING ON JUNE 8, 2021                                      PAGE 3 OF 4
DOCS_NY:43337.1 36027/002
000335
Case 19-34054-sgj11 Doc 2412 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 4 of 4
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 339 of 852 PageID 2244



Dated: June 5, 2021.                        PACHULSKI STANG ZIEHL & JONES LLP

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WITNESS AND EXHIBIT LIST FOR HEARING ON JUNE 8, 2021                               PAGE 4 OF 4
DOCS_NY:43337.1 36027/002
000336
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 340 of 852 PageID 2245
                                                                          5




000337
Case 19-34054-sgj11 Doc 2412-4 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 27 of
 Case 3:21-cv-00842-B Document 43 Filed  25807/13/21 Page 341 of 852 PageID 2246




 000338
Case 19-34054-sgj11 Doc 2412-16 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 1 of
 Case 3:21-cv-00842-B Document 43 Filed  2007/13/21 Page 342 of 852 PageID 2247



                                EXHIBIT 16




 000339
     Case 19-34054-sgj11 Doc 2412-16 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 2 of
      Case 3:21-cv-00842-B Document 43 Filed  2007/13/21 Page 343 of 852 PageID 2248
                                                                                    Page 1
·1· · · · · · · · GRANT SCOTT - 1/21/2021

·2· · · · IN THE UNITED STATES BANKRUPTCY COURT
· · · · · · FOR THE NORTHERN DISTRICT OF TEXAS
·3· · · · · · · · · ·DALLAS DIVISION

·4·    ·   IN RE:· · · · · · · · · · · · ·)
· ·    ·   · · · · · · · · · · · · · · · ·)·             · Chapter 11
·5·    ·   HIGHLAND CAPITAL MANAGEMENT,· ·)
· ·    ·   L.P.· · · · · · · · · · · · · ·)·             · ·Case No.
·6·    ·   · · · · · · · · · · · · · · · ·)·             19-34054-sgj11
· ·    ·   · · · · · · · · ·Debtor.· · · ·)
·7·    ·   ----------------------------· ·)
· ·    ·   HIGHLAND CAPITAL MANAGEMENT,· ·)
·8·    ·   L.P.,· · · · · · · · · · · · · )
· ·    ·   · · · · · · · · ·Plaintiff,· · )
·9·    ·   · · · · · · · · · · · · · · · ·)·             · ·Adversary
· ·    ·   · · vs.· · · · · · · · · · · · )·             ·Proceeding No.
10·    ·   · · · · · · · · · · · · · · · ·)·             · 21-03000-sgj
· ·    ·   HIGHLAND CAPITAL MANAGEMENT· · )
11·    ·   FUND ADVISORS, L.P.; NEXPOINT· )
· ·    ·   ADVISORS, L.P.; HIGHLAND· · · ·)
12·    ·   INCOME FUND; NEXPOINT· · · · · )
· ·    ·   STRATEGIC OPPORTUNITIES FUND;· )
13·    ·   NEXPOINT CAPITAL, INC.; and· · )
· ·    ·   CLO HoldCo, LTD.,· · · · · · · )
14·    ·   · · · · · · · · · · · · · · · ·)
· ·    ·   · · · · · · · · ·Defendants.· ·)
15·    ·   -------------------------------

16

17· · · VIDEOCONFERENCE DEPOSITION OF Grant SCOTT

18· · · · · ·Thursday, 21st of January, 2021

19

20

21

22

23· ·Reported by: Lisa A. Wheeler, RPR, CRR

24· ·Job No: 188910

25


      000340             TSG Reporting - Worldwide· · 877-702-9580
      Case 19-34054-sgj11 Doc 2412-16 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 3 of
       Case 3:21-cv-00842-B Document 43 Filed  2007/13/21 Page 344 of 852 PageID 2249
                                                 Page 10                                                    Page 11
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·choice.                                             ·2·   ·integrated with other entities as part of a
·3·   · · · Q.· · Okay.· And do you recall who served      ·3·   ·charitable -- loosely what we -- what we refer
·4·   ·the subpoena on you?· Actually, let me ask a        ·4·   ·to as a charitable foundation equivalent.
·5·   ·different question because I'm really not           ·5·   ·Yeah.
·6·   ·interested in the -- in the details.                ·6·   · · · Q.· · All right.· We'll -- we'll get into
·7·   · · · · · · Did Mr. Dondero serve that subpoena      ·7·   ·some detail about the corporate structure in a
·8·   ·on you or did somebody else?                        ·8·   ·moment.· Do you personally play any role at CLO
·9·   · · · A.· · His counsel for his ex-wife.             ·9·   ·HoldCo Limited?
10·   · · · Q.· · Mr. -- so -- so the lawyer acting on     10·   · · · A.· · Yes.· My technical title is
11·   ·behalf of Mr. Dondero's ex-wife served you with     11·   ·director, but I -- I don't necessarily know
12·   ·the subpoena?                                       12·   ·specifically what that title means other than I
13·   · · · A.· · Correct.                                 13·   ·act, as I understand it, as -- as a trustee for
14·   · · · Q.· · Okay.· You're familiar with an           14·   ·those -- for those assets.
15·   ·entity called CLO HoldCo Limited; is that           15·   · · · Q.· · And where did you get that
16·   ·right?                                              16·   ·understanding?
17·   · · · A.· · Yes.                                     17·   · · · A.· · Approximately ten years ago from the
18·   · · · Q.· · Do you know what that entity is?         18·   ·group that -- that set up the hierarchy.
19·   · · · A.· · Yes.                                     19·   · · · Q.· · And which group set up the
20·   · · · Q.· · What -- what -- can you describe for     20·   ·hierarchy?
21·   ·me what CLO HoldCo Limited is.                      21·   · · · A.· · Employees at Jim Don- -- as I
22·   · · · A.· · It's a holding company of assets         22·   ·understand it, employees of Highland along with
23·   ·including collateralized loan obligation-type       23·   ·outside counsel, as I understand it, and also,
24·   ·assets.· That's a portion of the overall            24·   ·I guess, input from -- from Jim Dondero.
25·   ·portfolio.· It's an organization that is            25·   · · · Q.· · At the time that you assumed the
                                                 Page 12                                                    Page 13
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·role of director of CLO HoldCo Limited, was         ·2·   ·in terms of the management, and so it's
·3·   ·that entity already in existence?                   ·3·   ·frequently confusing and I'm having to clarify
·4·   · · · A.· · I believe so.· I'm not certain.· I'm     ·4·   ·at times which entity we're talking about,
·5·   ·not certain.                                        ·5·   ·but -- but other parties frequently use those
·6·   · · · Q.· · What are your duties and                 ·6·   ·terms interchangeably.
·7·   ·responsibilities as a director of CLO HoldCo        ·7·   · · · Q.· · Okay.
·8·   ·Limited?                                            ·8·   · · · · · · MR. MORRIS:· Lisa, when we use the
·9·   · · · A.· · Well, my day-to-day responsibilities     ·9·   · · · phrase DAF, because you'll hear that a lot,
10·   ·are to interface with -- with the manager of        10·   · · · it's all caps, D-A-F.
11·   ·the -- of the assets of CLO.· I do have some        11·   ·BY MR. MORRIS:
12·   ·role in -- with respect to some of the entities     12·   · · · Q.· · You mentioned that you interface
13·   ·that are -- I -- I have a limited role with         13·   ·with the manager of assets of CLOs.· Do I have
14·   ·respect to a subset of the charitable               14·   ·that right?
15·   ·foundations that receive money from the CLO         15·   · · · A.· · Well, of all the assets.
16·   ·HoldCo structure, which is commonly referred to     16·   · · · Q.· · Okay.· Who is the manager of the
17·   ·as the DAF.· There's -- sometimes those are         17·   ·assets that you're referring to?
18·   ·used interchangeably.                               18·   · · · A.· · Highland Capital Management.
19·   · · · Q.· · What terms are used interchangeably?     19·   · · · Q.· · Highland Capital Management manages
20·   · · · A.· · Well, the DAF and CLO HoldCo are         20·   ·all of the assets -- withdrawn.
21·   ·frequently -- by -- by other people they're --      21·   · · · · · · Is it your understanding that
22·   ·it's the short -- it's the -- I guess it's          22·   ·Highland Capital Management manages all the
23·   ·easier to use the acronym DAF than CLO HoldCo       23·   ·assets that are owned by CLO HoldCo Limited?
24·   ·Limited, so I'm frequently having to -- there       24·   · · · A.· · Yes.
25·   ·is a DAF entity so -- that's above -- above CLO     25·   · · · Q.· · Who makes the investment decisions

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      Case 19-34054-sgj11 Doc 2412-16 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 4 of
       Case 3:21-cv-00842-B Document 43 Filed  2007/13/21 Page 345 of 852 PageID 2250
                                                 Page 14                                                    Page 15
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·on behalf of CLO HoldCo Limited?                    ·2·   ·and Mr. Covitz?
·3·   · · · A.· · Highland -- those managers that you      ·3·   · · · A.· · Yeah.· Over the years I've worked
·4·   ·mentioned.                                          ·4·   ·with Tim Cournoyer, Thomas Surgent, but I
·5·   · · · Q.· · Okay.· I didn't mention anybody in       ·5·   ·think -- I think that's the core -- the core
·6·   ·particular.                                         ·6·   ·group.
·7·   · · · A.· · Oh, I'm sorry.· The -- the -- the        ·7·   · · · Q.· · All right.· And is there anybody
·8·   ·money manager -- could you repeat that              ·8·   ·within that core group who has the final
·9·   ·question?· I'm sorry.· I'm so sorry.                ·9·   ·decision-making authority concerning the
10·   · · · Q.· · Can you just -- can you just             10·   ·investments in CLO HoldCo Limited?
11·   ·identify for me the person who makes investment     11·   · · · A.· · I don't -- I don't know.· I'm sorry.
12·   ·decisions on behalf of CLO HoldCo Limited.          12·   ·Say that again.· I just want to -- I'm sorry.
13·   · · · A.· · It's -- well, it's -- it's persons       13·   ·I'm trying to be -- I'm not trying to -- I'm
14·   ·as I understand it.· I inter- -- interface with     14·   ·trying to be --
15·   ·a -- with a group, but it's -- it's Highland        15·   · · · Q.· · I understand.· And --
16·   ·Capital employee -- Highland Capital Management     16·   · · · A.· · Sorry.· If you could just repeat it.
17·   ·employees.                                          17·   · · · Q.· · Sure.· Is there any particular
18·   · · · Q.· · Okay.· Can you just name any of          18·   ·person who has the final decision-making
19·   ·them, please.                                       19·   ·authority for investments that are being made
20·   · · · A.· · Hunter Covitz, Jim Dondero.· Mark        20·   ·on behalf of CLO HoldCo Limited?
21·   ·Okada's no longer there, but I believe he was       21·   · · · A.· · Amongst that group I am -- I am not
22·   ·involved, and there are others that I interface     22·   ·sure.
23·   ·with.                                               23·   · · · Q.· · Okay.· So are there any other
24·   · · · Q.· · Can you -- can you recall the name       24·   ·directors of CLO HoldCo besides yourself?
25·   ·of anybody other than Mr. Okada and Mr. Dondero     25·   · · · A.· · No.
                                                 Page 16                                                    Page 17
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · Q.· · Is it fair to say that you do not        ·2·   ·compensation?
·3·   ·make decisions, investment decisions, on behalf     ·3·   · · · A.· · Yes.
·4·   ·of CLO HoldCo Limited?                              ·4·   · · · Q.· · And have you been the sole director
·5·   · · · A.· · Yes.                                     ·5·   ·of CLO HoldCo Limited since the time of your
·6·   · · · Q.· · Does CLO HoldCo Limited have any         ·6·   ·appointment approximately ten years ago?
·7·   ·employees that you know of?                         ·7·   · · · A.· · Yes.
·8·   · · · A.· · No.                                      ·8·   · · · Q.· · Nobody else has served in that
·9·   · · · Q.· · Does CLO HoldCo have any --              ·9·   ·capacity; is that right?
10·   ·withdrawn.                                          10·   · · · A.· · That is correct.
11·   · · · · · · Does CLO HoldCo Limited have any         11·   · · · Q.· · There have been no employees or
12·   ·officers that you know of?                          12·   ·officers of that entity during the time that
13·   · · · A.· · No.                                      13·   ·you've served as director, correct?
14·   · · · Q.· · So am I correct that you're the only     14·   · · · A.· · Yes.
15·   ·representative in the world of CLO HoldCo in        15·   · · · Q.· · Do you know who formed CLO HoldCo
16·   ·terms of being a director, officer, or              16·   ·Limited?
17·   ·employee?                                           17·   · · · A.· · I do not.
18·   · · · A.· · Yes.                                     18·   · · · Q.· · Do you know why CLO HoldCo Limited
19·   · · · Q.· · Do you receive any compensation from     19·   ·was formed?
20·   ·CLO HoldCo for your services as the director?       20·   · · · A.· · I believe so.
21·   · · · A.· · I do now.                                21·   · · · Q.· · Can you explain to me why -- your
22·   · · · Q.· · When did that begin?                     22·   ·understanding as to why CLO HoldCo was formed.
23·   · · · A.· · I believe in the middle of 2012.         23·   · · · A.· · So as I understand things, Jim
24·   · · · Q.· · Okay.· And had you served as a           24·   ·Dondero wanted to create a charitable
25·   ·director prior to that time without                 25·   ·foundation-like entity or entities, and tax

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      Case 19-34054-sgj11 Doc 2412-16 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 5 of
       Case 3:21-cv-00842-B Document 43 Filed  2007/13/21 Page 346 of 852 PageID 2251
                                                 Page 22                                                    Page 23
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·going well.                                         ·2·   ·CLO HoldCo Limited?
·3·   · · · Q.· · And -- and I think you -- you            ·3·   · · · A.· · Well, initially, and this would
·4·   ·testified just now that there was kind of a         ·4·   ·be -- this would be late 2019, it was --
·5·   ·difference between prebankruptcy and                ·5·   ·aft- -- after the bankruptcy was -- was filed
·6·   ·postbankruptcy.· Do I have that right?              ·6·   ·and I obtained counsel, who are on the phone
·7·   · · · A.· · Yes.                                     ·7·   ·now -- or in this deposition now, excuse me,
·8·   · · · Q.· · And can you tell me -- is it fair to     ·8·   ·that was -- that transition occurred because
·9·   ·say that before the bankruptcy, you didn't          ·9·   ·CLO was a debtor -- excuse me, a creditor to --
10·   ·devote much time to CLO HoldCo, or do I have        10·   ·to the debtor and had to take steps to
11·   ·that wrong?                                         11·   ·establish its -- its claim.· So if I understand
12·   · · · A.· · Well, I -- just the time that --         12·   ·the -- things correctly, the -- the debtor
13·   ·that I mentioned just -- I'm sorry.· The -- the     13·   ·identified as part of the filing -- I don't
14·   ·time I just mentioned now when you asked me,        14·   ·know how bankruptcy works, but if I under- --
15·   ·that was the pre period.· Excuse me.· I haven't     15·   ·if my recollection is correct, there's a
16·   ·talked about the postbankruptcy period.             16·   ·hierarchy from biggest to smallest, and we were
17·   · · · Q.· · So are you -- are you -- are you         17·   ·relatively high up.· And when I say we or I,
18·   ·devoting more time or less time since the           18·   ·I -- I just mean CLO was relatively high up.
19·   ·bankruptcy?                                         19·   ·And so initially, for the first period of so
20·   · · · A.· · Much more.                               20·   ·many months, the -- the exclusive focus was on
21·   · · · Q.· · Much more since the bankruptcy           21·   ·our position as a creditor -- a creditor having
22·   ·filing?                                             22·   ·a certain claim against a debtor.
23·   · · · A.· · Yes.                                     23·   · · · Q.· · Can you describe for me your
24·   · · · Q.· · And so why did the bankruptcy filing     24·   ·understanding of the nature of the claim
25·   ·cause you to spend more time as a director of       25·   ·against the debtor.
                                                 Page 24                                                    Page 25
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · It was various obligations that were     ·2·   ·guess I was more of a research engineer, if
·3·   ·owed to -- to CLO, things that had been             ·3·   ·that matters.· And I did that until I
·4·   ·previously donated or -- or agreements that had     ·4·   ·transitioned -- or I began law school in the
·5·   ·been set up that transferred certain assets,        ·5·   ·fall of 1988, and then I graduated law school
·6·   ·and it was basically the -- the -- the amounts      ·6·   ·in May of 1991.
·7·   ·were derived from those sorts of transactions.      ·7·   · · · Q.· · And where did you go to law school?
·8·   · · · Q.· · Okay.· You're a patent lawyer; is        ·8·   · · · A.· · University of North Carolina.
·9·   ·that right?                                         ·9·   · · · Q.· · Do you have any formal training in
10·   · · · A.· · I -- I'm exclusively a patent            10·   ·investing or finance?
11·   ·attorney, yes.                                      11·   · · · A.· · I do not.
12·   · · · Q.· · Have you been a patent lawyer on an      12·   · · · Q.· · Do you hold yourself out as an
13·   ·exclusive basis since the time you graduated        13·   ·expert in any field of investment?
14·   ·from law school?                                    14·   · · · A.· · None -- none at all.
15·   · · · A.· · From law school, yes.                    15·   · · · Q.· · Have you had any formal training
16·   · · · Q.· · Can you just describe for me             16·   ·with respect to compliance issues?· You
17·   ·generally your educational background.              17·   ·mentioned compliance issues earlier.
18·   · · · A.· · So I'm an electrical engineer by         18·   · · · A.· · No.
19·   ·training.· I graduated from the University of       19·   · · · Q.· · Now, do you have any knowledge about
20·   ·Virginia in 1984.· I then went to graduate          20·   ·compliance rules or regulations?
21·   ·school at the University of Illinois. I             21·   · · · A.· · Minimal that I've -- that have
22·   ·received my master's degree in 1986, and then I     22·   ·occurred organically but -- but generally, no.
23·   ·immediately joined IBM Research at the Thomas       23·   · · · Q.· · You don't hold yourself out as an
24·   ·Watson Institute in New York where I was a --       24·   ·expert in com- -- in the area of compliance,
25·   ·my title was research scientist, but I was -- I     25·   ·correct?

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      Case 19-34054-sgj11 Doc 2412-16 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 6 of
       Case 3:21-cv-00842-B Document 43 Filed  2007/13/21 Page 347 of 852 PageID 2252
                                                 Page 26                                                    Page 27
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · No.· No.· I'm -- no.                     ·2·   ·without your prior knowledge on occasion?
·3·   · · · Q.· · Do you have any particular               ·3·   · · · A.· · On occasion, they do.
·4·   ·investment philosophy or strategy?                  ·4·   · · · Q.· · So there's no rule that your prior
·5·   · · · · · · MR. CLARK:· I'm going to object to       ·5·   ·approval is needed before investments are made,
·6·   · · · the form of the question.· And, John,          ·6·   ·right?
·7·   · · · can -- can we get an agreement that -- I       ·7·   · · · A.· · I don't know whether they have an
·8·   · · · know you were objecting just simply on the     ·8·   ·internal guideline as to the amount that
·9·   · · · form basis yesterday -- that objection to      ·9·   ·triggers when they get in touch with me or
10·   · · · form is sufficient today?                      10·   ·whether it's a new -- a change, something new,
11·   · · · · · · MR. MORRIS:· Sure.                       11·   ·or -- versus recurring.· So I don't -- I don't
12·   · · · · · · MR. CLARK:· Okay.· And I object to       12·   ·know what they use internally for that metric.
13·   · · · form.· Grant, you can answer to the extent     13·   · · · Q.· · Okay.· Are you aware of any
14·   · · · you can.                                       14·   ·guideline that was ever used by the Highland
15·   · · · · · · THE WITNESS:· I forget the question      15·   ·employees whereby they were required to obtain
16·   · · · now that you interrupted.· I'm sorry.          16·   ·your consent prior to effectuating transactions
17·   ·BY MR. MORRIS:                                      17·   ·on behalf of CLO HoldCo Limited?
18·   · · · Q.· · So -- so -- and I'm going to ask a       18·   · · · A.· · I understand there was one or more,
19·   ·different question because in hindsight, that's     19·   ·but I do not know that.
20·   ·a good objection.                                   20·   · · · Q.· · Okay.· Did you ever see such a
21·   · · · · · · In your capacity as the director         21·   ·policy or list of rules that would require your
22·   ·of -- withdrawn.                                    22·   ·prior consent before the Highland employees
23·   · · · · · · Do the employees of Highland that        23·   ·effectuated transactions on behalf of CLO
24·   ·you identified earlier, do they make investment     24·   ·HoldCo Limited?
25·   ·decisions on behalf of CLO HoldCo Limited           25·   · · · A.· · Possibly some time ago, but I -- I
                                                 Page 28                                                    Page 29
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·don't recall.                                       ·2·   ·did not start out at UVA initially, but -- but
·3·   · · · Q.· · Okay.· So -- withdrawn.· I'll --         ·3·   ·we both transferred -- I transferred my
·4·   ·I'll go on.                                         ·4·   ·sophomore year.· I was actually a chemical
·5·   · · · · · · How did you come to be the director      ·5·   ·engineer at the University of Delaware when I
·6·   ·of CLO HoldCo?                                      ·6·   ·transferred in, and then he transferred in his
·7·   · · · A.· · I was asked either by Jim Dondero        ·7·   ·junior year.· So we were there at college for
·8·   ·or -- directly or indirectly by -- by Jim           ·8·   ·two years.
·9·   ·Dondero.                                            ·9·   · · · Q.· · And -- and based on your
10·   · · · Q.· · And who is Jim Dondero?                  10·   ·relationship with him, is it your understanding
11·   · · · A.· · Well, at the time, he was the head       11·   ·that one of the reasons he chose to transfer to
12·   ·or one of the heads of Highland Capital             12·   ·UVA is -- is to -- because you were there?
13·   ·Management, a friend of mine.                       13·   · · · A.· · Oh, no.· He transferred -- he --
14·   · · · Q.· · How long have you known Mr. Dondero?     14·   ·he -- he transferred there because of the -- so
15·   · · · A.· · Since high school so that -- 1976.       15·   ·he went to the University of -- he -- he went
16·   · · · Q.· · Where did you and Mr. Dondero grow       16·   ·to Virginia Tech University, which is more
17·   ·up?                                                 17·   ·known as being an engineering school, which I
18·   · · · A.· · In northern New Jersey.                  18·   ·might have wanted to go to, and less a finance
19·   · · · Q.· · Do you consider him among the            19·   ·business school.· And if I understand things
20·   ·closest friends you have?                           20·   ·correctly, and I believe I do, he transferred
21·   · · · A.· · I think he is my closest friend.         21·   ·to UVA because of the well-known
22·   · · · Q.· · Did you two go to college together?      22·   ·business/finance program, accounting program.
23·   · · · A.· · We actually -- for the last -- last      23·   · · · Q.· · And did you -- did you and
24·   ·two years I was at UVA, University of Virginia,     24·   ·Mr. Dondero become roommates at UVA?
25·   ·excuse me, he and I were -- were at UVA.· So we     25·   · · · A.· · We weren't roommates, but we lived

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      Case 19-34054-sgj11 Doc 2412-16 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 7 of
       Case 3:21-cv-00842-B Document 43 Filed  2007/13/21 Page 348 of 852 PageID 2253
                                                 Page 30                                                    Page 31
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·in the -- we were housemates.· I'm sorry.· We       ·2·   · · · · · · MR. CLARK:· Objection, form.
·3·   ·were housemates.                                    ·3·   ·BY MR. MORRIS:
·4·   · · · Q.· · So you shared a house together.· How     ·4·   · · · Q.· · Withdrawn.
·5·   ·would you describe your relationship with           ·5·   · · · · · · Do you believe that Mr. Dondero
·6·   ·Mr. Dondero today?                                  ·6·   ·trusts you?
·7·   · · · A.· · It's -- it's been strained a while,      ·7·   · · · A.· · I do.
·8·   ·for some time, but -- but generally, very good.     ·8·   · · · Q.· · Over the years, is it fair to say
·9·   ·Good to very good.                                  ·9·   ·that Mr. Dondero has confided in you?
10·   · · · Q.· · Without -- without getting personal      10·   · · · · · · MR. CLARK:· Objection, form.
11·   ·here, can you just generally identify the           11·   ·BY MR. MORRIS:
12·   ·source of the strain that you described.            12·   · · · Q.· · You can answer if you understand it.
13·   · · · A.· · This -- I think it would be fair to      13·   · · · A.· · I think so.
14·   ·say that this bankruptcy, particularly events       14·   · · · Q.· · I -- I -- what's your answer?· You
15·   ·in 2020 so some months after the bankruptcy was     15·   ·think so?
16·   ·declared, things have become -- we -- we still      16·   · · · A.· · Maybe you can de- -- I think of
17·   ·have a close friendship, but -- but things          17·   ·confide as -- could you define confide, please.
18·   ·are -- are a bit -- are a bit more difficult.       18·   · · · Q.· · Sure.· Is it -- is it fair to say
19·   · · · Q.· · Were you ever married?                   19·   ·that over the -- let me -- you've known
20·   · · · A.· · I've never been married.                 20·   ·Mr. Dondero for almost 45 years, right?
21·   · · · Q.· · Did you serve as Mr. Dondero's best      21·   · · · A.· · Yes.
22·   ·man at his wedding?                                 22·   · · · Q.· · And you consider him to be your
23·   · · · A.· · I did.                                   23·   ·closest friend in the world, right?
24·   · · · Q.· · Is it fair to say that -- that           24·   · · · A.· · Yes.
25·   ·Mr. Dondero trusts you?                             25·   · · · Q.· · And is it fair to say over the
                                                 Page 32                                                    Page 33
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·course of those 45 years, Mr. Dondero has           ·2·   · · · A.· · I'm sorry.· Could you repeat that?
·3·   ·shared confidential information with you that       ·3·   ·My -- my screen went small and then big again.
·4·   ·he didn't want you to reveal publicly to other      ·4·   ·I was distracted.
·5·   ·people?                                             ·5·   · · · Q.· · What role does Mr. Dondero play with
·6·   · · · A.· · Yes.                                     ·6·   ·respect to the management of the CLO HoldCo
·7·   · · · Q.· · And is it your understanding that        ·7·   ·Limited asset pool?
·8·   ·because of the nature of your relationship with     ·8·   · · · · · · MR. CLARK:· Objection, form.
·9·   ·him, he asked you to serve as the director of       ·9·   · · · A.· · He is with the company that manages
10·   ·CLO HoldCo Limited?                                 10·   ·that asset pool.· He's one of the people I
11·   · · · A.· · Yes.· I believe it's because he --       11·   ·named previously as managing those assets.
12·   ·he trusted -- trusted me with -- with assets        12·   · · · Q.· · He is -- he -- he is the -- do you
13·   ·relating to his charitable vision.· I -- I --       13·   ·understand that he has the final
14·   ·yeah.· Yes.                                         14·   ·decision-making power with respect to the
15·   · · · Q.· · And is it your understanding that he     15·   ·management of the assets that are held by CLO
16·   ·thought you would help him execute his              16·   ·HoldCo Limited?
17·   ·charitable vision?                                  17·   · · · · · · MR. CLARK:· Objection, form.
18·   · · · A.· · That was the point of attraction         18·   · · · A.· · I believe I ansel -- answered that
19·   ·initially.· It wasn't for money.· I wasn't          19·   ·previously.· I -- I don't know who has -- for
20·   ·being paid.· That was -- the charitable mission     20·   ·certainty I do not know who has that within
21·   ·was the attraction.                                 21·   ·that company.· I don't.· If -- if -- I -- I
22·   · · · Q.· · Does Mr. Dondero play any role in        22·   ·don't know, consistent with my prior answer.
23·   ·the management of the CLO HoldCo Limited asset      23·   · · · Q.· · Did you ever ask anybody who had the
24·   ·pool?                                               24·   ·final decision-making authority for investments
25·   · · · · · · MR. CLARK:· Objection, form.             25·   ·on behalf of CLO HoldCo Limited?

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      Case 19-34054-sgj11 Doc 2412-16 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 8 of
       Case 3:21-cv-00842-B Document 43 Filed  2007/13/21 Page 349 of 852 PageID 2254
                                                 Page 34                                                    Page 35
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · I -- I did not.                          ·2·   ·how the request was transmitted to me, but I
·3·   · · · Q.· · Did you ever make a decision on          ·3·   ·believe the way it played out is as follows: I
·4·   ·behalf of -- withdrawn.                             ·4·   ·believe I was asked to call Jim Seery, and the
·5·   · · · · · · In your capacity as a director --        ·5·   ·other -- and Russell Nelms, and the third
·6·   ·withdrawn.                                          ·6·   ·independent director, I believe his name is
·7·   · · · · · · In your capacity as the sole             ·7·   ·John.· I -- I forget right now what his last
·8·   ·director of CLO HoldCo Limited, can you think       ·8·   ·name is.· They were in New York, said they were
·9·   ·of any decision that you've ever made that          ·9·   ·in a conference room.· I called in.· They were
10·   ·Mr. Dondero disagreed with?                         10·   ·very pleasant.· They identified who they were,
11·   · · · A.· · Since -- prior to the bankruptcy,        11·   ·and they had a request, and the request was
12·   ·no, not that I'm aware of.                          12·   ·that I agree to a transfer -- or that I -- that
13·   · · · Q.· · And since the bankruptcy?                13·   ·I agree to allow certain assets that were not
14·   · · · A.· · There are decisions that I've made       14·   ·Highland's assets but they were CLO's as- --
15·   ·that he's disagreed with.                           15·   ·assets -- apparently, there was no dispute
16·   · · · Q.· · Can you identify them?                   16·   ·about that at any point in time, but that I
17·   · · · A.· · Yes.                                     17·   ·agree to allow certain assets that were due CLO
18·   · · · Q.· · Please do so.                            18·   ·to be transferred to the registry of the
19·   · · · A.· · Okay.· So the reason I'm pausing is      19·   ·bankruptcy court.· And either on that call I
20·   ·I'm trying to put these in chronological order      20·   ·immediately agreed or ended the call, called my
21·   ·and, at the same time, identify maybe some of       21·   ·attorney, and then immediately agreed.· It was
22·   ·the more important ones versus the lesser           22·   ·a very -- I accommodated the request quickly.
23·   ·important ones.· One of the decisions I made        23·   · · · Q.· · Okay.· And can you just tell me at
24·   ·related to a request that I received from the       24·   ·what point in time you spoke with Mr. Dondero,
25·   ·independent board of Highland.· I don't know        25·   ·and what did he say that you recall?
                                                 Page 36                                                    Page 37
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · I don't know when he became aware of     ·2·   ·did Mr. Dondero say to you that -- that causes
·3·   ·that decision.· I'm not sure I ever volunteered     ·3·   ·you to testify as you did, that this is one
·4·   ·that the decision was even made, but at some        ·4·   ·issue that he didn't agree with?
·5·   ·point, it became an issue because he found out      ·5·   · · · A.· · I believe his concern was that
·6·   ·through -- if I understand the sequence of          ·6·   ·because it was money that was undisputably to
·7·   ·events correctly, he found out possibly through     ·7·   ·flow to CLO HoldCo that -- which had many, many
·8·   ·his counsel because there was ultimately            ·8·   ·other nonliquid assets -- this was a form of a
·9·   ·litigation about that issue.· It became known       ·9·   ·liquid asset.· It was cash in effect, proceeds.
10·   ·to everyone at some point what I had done, I --     10·   ·-- that the money should have been allowed to
11·   ·I think.· And subsequent to that, it became an      11·   ·flow to be available for obligations.· He
12·   ·issue because of CLO HoldCo having fairly           12·   ·didn't under- -- I -- I -- I don't know what he
13·   ·significant cash flow issues with respect to        13·   ·was thinking, but the -- the issue was that the
14·   ·its expenses and obligations, including payment     14·   ·decision to put it into escrow was -- was --
15·   ·of management fees as well as some of the           15·   ·was in- -- incorrect, that there was no basis
16·   ·scheduled charitable giving that was -- that        16·   ·for it.
17·   ·was by contract already predefined.· My             17·   · · · Q.· · That -- that's an issue where after
18·   ·decision to tuck that money -- or to agree          18·   ·learning of your decision, he didn't agree with
19·   ·to -- my agreement to let that money be tucked      19·   ·it; is that fair?
20·   ·away created some -- created some -- created        20·   · · · A.· · That's right.
21·   ·some problems --                                    21·   · · · Q.· · Okay.· Can you think of any decision
22·   · · · Q.· · And -- and --                            22·   ·that you've ever made on behalf of CLO HoldCo
23·   · · · A.· · -- for CLO HoldCo.                       23·   ·Limited where Mr. Dondero had advance knowledge
24·   · · · Q.· · Okay.· And I just want you to focus      24·   ·of what you were going to do and he objected to
25·   ·specifically on my question, and that is, what      25·   ·it, but you nevertheless overruled his

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      Case 19-34054-sgj11 Doc 2412-16 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 9 of
       Case 3:21-cv-00842-B Document 43 Filed  2007/13/21 Page 350 of 852 PageID 2255
                                                 Page 38                                                    Page 39
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·objection and went ahead and did what -- did        ·2·   ·I -- I don't know what his thoughts are on
·3·   ·what you thought was right?                         ·3·   ·objections.· They would not have been
·4·   · · · A.· · Okay.· Let me -- let me -- I have --     ·4·   ·communicated with -- by me to him, but my
·5·   ·I'm sorry.                                          ·5·   ·attorney might have consulted with his
·6·   · · · Q.· · We're here.                              ·6·   ·attorney, and there -- they may know what that
·7·   · · · A.· · Oh, I'm sorry.· I'm having some          ·7·   ·difference is, but I -- that was just another
·8·   ·issues with my screen.· So that may have            ·8·   ·big decision.· I -- I -- maybe that --
·9·   ·occurred with respect to the original proof of      ·9·   · · · Q.· · All right.· Let me see if I can --
10·   ·claim.· Then there was a subsequent amendment       10·   ·let me see if I can summarize this.· So two
11·   ·to the proof of claim, and I -- I believe it --     11·   ·proofs of claim.· Is it fair to say that
12·   ·I believe that he might have been aware of both     12·   ·Mr. Dondero saw those proofs of claim before
13·   ·of those and was in disagreement with -- with       13·   ·they were filed?
14·   ·those.· But after working with my attorney, we      14·   · · · · · · MR. CLARK:· Objection, form.
15·   ·just -- you know, we did what we thought was        15·   ·BY MR. MORRIS:
16·   ·right, and I still think what we did was right.     16·   · · · Q.· · Withdrawn.
17·   ·There was an issue with respect to Har- --          17·   · · · A.· · It --
18·   ·HarbourVest that occurred relatively recently       18·   · · · Q.· · Do -- do you know whether
19·   ·where he objected to a decision that I had          19·   ·Mr. Dondero saw the proofs of claim before they
20·   ·made.· As I understand it, I could have             20·   ·were filed?
21·   ·contacted my attorney and changed the decision,     21·   · · · A.· · I don't believe he did.
22·   ·but I didn't, and I still think that was the        22·   · · · Q.· · What -- what steps in filing the
23·   ·right decision.                                     23·   ·proofs of claim did he object to that you
24·   · · · · · · We have filed plan objections. I         24·   ·overruled?· Did he think there was -- something
25·   ·can't say if he has any -- in that regard, I --     25·   ·should be different about them?
                                                 Page 40                                                    Page 41
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · So we had to interface with Highland     ·2·   ·with the word.· Could you please repeat that?
·3·   ·employees at some point to get information to       ·3·   · · · Q.· · Yes.· You mentioned HarbourVest
·4·   ·support our proof of claim, and my guess, and       ·4·   ·before, right?
·5·   ·it's just a guess, is that he was aware of          ·5·   · · · A.· · Yes.
·6·   ·those inquiries.· I -- I'm sorry.· I shouldn't      ·6·   · · · Q.· · And you mentioned that there was an
·7·   ·speculate.· I don't know.· But he -- with           ·7·   ·issue with Mr. Dondero and you concerning
·8·   ·respect to the original proof of claim, I'm --      ·8·   ·HarbourVest; is that right?
·9·   ·I'm not aware of what specifically he was           ·9·   · · · A.· · Yes.
10·   ·objecting to or was -- thought should have been     10·   · · · Q.· · And did that have to do with whether
11·   ·different, but the -- with respect to the           11·   ·or not CLO HoldCo Limited would -- would object
12·   ·amended proof of claim, which reduced the           12·   ·to the debtor's motion to get the HarbourVest
13·   ·original proof of claim to zero, I think that's     13·   ·settlement approved?
14·   ·where he had a -- an issue.                         14·   · · · A.· · Would -- would get the
15·   · · · Q.· · And did you speak with him about         15·   ·HarbourVest --
16·   ·that topic prior to the time the amended claim      16·   · · · Q.· · Settlement approved by the court.
17·   ·was filed, or did you only speak with him after     17·   · · · A.· · I'm not trying to be difficult.
18·   ·it was filed?                                       18·   ·I'm -- I'm -- could you just repeat that one
19·   · · · A.· · I'm not sure the timing of that.         19·   ·more time?· I'm --
20·   · · · Q.· · And with respect to HarbourVest, did     20·   · · · Q.· · What was -- what was --
21·   ·he ask you to object to the settlement on           21·   · · · A.· · There was --
22·   ·behalf of CLO HoldCo Limited, and is that           22·   · · · Q.· · Let me try again.
23·   ·something that you declined to do?                  23·   · · · A.· · Okay.
24·   · · · · · · MR. CLARK:· Objection, form.             24·   · · · Q.· · What was the issue with respect to
25·   · · · A.· · I'm -- I'm sorry.· I was confused        25·   ·HarbourVest that he objected to and -- and you

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      Case 19-34054-sgj11 Doc 2412-16 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 10 of
        Case 3:21-cv-00842-B Document 43 Filed  2007/13/21 Page 351 of 852 PageID 2256
                                                 Page 42                                                    Page 43
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·overrode his objection and did what you thought     ·2·   · · · Q.· · -- if you know?
·3·   ·was right anyway?                                   ·3·   · · · A.· · I -- I understand that he learned it
·4·   · · · A.· · Okay.· Okay.· That's -- that's           ·4·   ·during the hearing.· I don't know the -- I -- I
·5·   ·easier for me to understand.· I'm sorry.· So I      ·5·   ·don't know the -- whether there was any -- I --
·6·   ·had worked with my attorney or he did the work      ·6·   ·I don't know for certain on the second half of
·7·   ·and consulted with -- we consulted, but we had      ·7·   ·your question.
·8·   ·filed an objection, motion objecting to the         ·8·   · · · Q.· · Let me -- let me try it -- let me
·9·   ·settlement, if I understand the terminology and     ·9·   ·try it this way:· Did you speak with
10·   ·nomenclature correctly.· Okay.· He had -- we        10·   ·Mr. Dondero about your decision to withdraw the
11·   ·had come to an agreement that we had a very         11·   ·objection to the HarbourVest settlement prior
12·   ·valid argument.· That argument was evidenced        12·   ·to the time your counsel made the announcement
13·   ·by, I guess it was, our motion that was             13·   ·in court?
14·   ·submitted to the court.· On the day of the          14·   · · · A.· · I don't -- I don't believe so.· No.
15·   ·hearing to resolve this issue, we pulled our        15·   ·No.· No.· I'm sorry.· No.
16·   ·request, and that was because I believed it did     16·   · · · Q.· · And did --
17·   ·not have a good-faith basis in law to move          17·   · · · A.· · Okay.· No.· Here -- here's where
18·   ·forward on.                                         18·   ·I'm -- I can clarify, okay?· I'm sorry.· I can
19·   · · · Q.· · And did you discuss that issue with      19·   ·clarify.
20·   ·Mr. Dondero before informing the court that CLO     20·   · · · Q.· · That's all right.
21·   ·HoldCo Limited was withdrawing its objection,       21·   · · · A.· · I gave the decision to my
22·   ·or did he learn about that for the first time       22·   ·attorney -- I -- I agreed with the
23·   ·during the hearing --                               23·   ·recommendation of my attorney, okay?· It wasn't
24·   · · · · · · MR. CLARK:· Objection, form.             24·   ·my --
25·   ·BY MR. MORRIS:                                      25·   · · · Q.· · Did you have a good --
                                                 Page 44                                                    Page 45
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · -- thought, okay?                        ·2·   ·attorney made a recommendation.· I agreed with
·3·   · · · · · · THE REPORTER:· I didn't --               ·3·   ·it.· We with- -- I -- I told him to withdraw --
·4·   · · · A.· · Okay.· So he --                          ·4·   ·or I authorized him to withdraw.
·5·   · · · Q.· · It was a recommendation.                 ·5·   · · · Q.· · Okay.
·6·   · · · A.· · Yeah.· So he -- he called me with a      ·6·   · · · A.· · Then I received a communication, and
·7·   ·recommendation.· It was highly urgent.· You         ·7·   ·I -- I guess the most likely scenario is the
·8·   ·know, I was coming out of the men's room, had       ·8·   ·motion had been withdrawn by the time Jim
·9·   ·my phone with me.· I got the call.                  ·9·   ·Dondero found out.
10·   · · · · · · MR. CLARK:· Hey, Grant, I -- Grant,      10·   · · · Q.· · And -- and did he write to you, or
11·   · · · I just want to caution you not to -- to --     11·   ·did he call you?· Did he send you a text?
12·   · · · and I don't think counsel is looking for       12·   · · · A.· · He called me.
13·   · · · this but not to disclose the -- the            13·   · · · Q.· · What did he say?
14·   · · · substance of any of your communications        14·   · · · A.· · He was asking why, and I explained,
15·   · · · with counsel, okay?                            15·   ·and I said I agreed with the decision and I was
16·   · · · · · · THE WITNESS:· Thank you.                 16·   ·sticking with the decision.
17·   · · · A.· · So --                                    17·   · · · Q.· · Let's just -- let's just move on to
18·   · · · · · · THE WITNESS:· Thank you.· I'm -- I'm     18·   ·a new topic, and let's talk about the structure
19·   · · · sorry.                                         19·   ·of -- of CLO HoldCo.· Are you generally
20·   ·BY MR. MORRIS:                                      20·   ·familiar with the ownership structure of CLO
21·   · · · Q.· · It's -- it's really a very simple        21·   ·HoldCo?
22·   ·question.· Do you recall --                         22·   · · · A.· · Yeah.· I mean, in terms --
23·   · · · A.· · He made a recommendation.· I -- I --     23·   · · · Q.· · Are -- are you -- are you generally
24·   ·I think I can answer your question without          24·   ·familiar with it?· It's not a test.· I'm just
25·   ·going off tangent.· I'm sorry.· So he -- my         25·   ·asking do you have a general familiarity --

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      Case 19-34054-sgj11 Doc 2412-16 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 11 of
        Case 3:21-cv-00842-B Document 43 Filed  2007/13/21 Page 352 of 852 PageID 2257
                                                 Page 46                                                    Page 47
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · With CLO HoldCo or the entities          ·2·   ·comports with your understanding of the facts.
·3·   ·associated with CLO HoldCo?                         ·3·   · · · · · · Do you know that CLO HoldCo Limited
·4·   · · · Q.· · The latter.                              ·4·   ·was formed in the Cayman Islands?
·5·   · · · A.· · Yes, I believe so.                       ·5·   · · · A.· · Yes.
·6·   · · · Q.· · All right.· I've prepared what's         ·6·   · · · Q.· · And to the best of your knowledge,
·7·   ·called a demonstrative exhibit.· It's just --       ·7·   ·is CLO HoldCo Limited 100 percent owned by the
·8·   · · · A.· · Yes.                                     ·8·   ·Charitable DAF Fund, L.P.?· If you're not sure,
·9·   · · · Q.· · -- just -- it's a document that, I       ·9·   ·just say you're not sure if you don't know.
10·   ·think, reflects facts, but I want to ask you        10·   ·It's not a test.
11·   ·about it.                                           11·   · · · A.· · So the -- the -- the familiarity
12·   · · · · · · MR. MORRIS:· La Asia, can we please      12·   ·I -- I'm -- I'm familiar with the different --
13·   · · · put up Exhibit 1.                              13·   ·I'm confused with the arrangement of the boxes
14·   · · · · · · (SCOTT EXHIBIT 1, Organizational         14·   ·and the ownership interest versus managerial
15·   · · · Structure:· CLO HoldCo, Ltd., was marked       15·   ·interest.· I believe that's -- that's right.
16·   · · · for identification.)                           16·   · · · Q.· · Okay.· And -- and you're the sole
17·   ·BY MR. MORRIS:                                      17·   ·director of CLO HoldCo Limited, right?
18·   · · · Q.· · Okay.· Can you see that, Mr. Scott?      18·   · · · A.· · Yes.
19·   · · · A.· · Yes, I can.                              19·   · · · Q.· · And this whole structure was -- the
20·   · · · Q.· · Okay.· So I think I took the             20·   ·idea for this structure, to the best of your
21·   ·information from resolutions that were attached     21·   ·knowledge, was to implement Mr. Dondero's plan
22·   ·to the CLO HoldCo proof of claim, and that's        22·   ·for charitable giving; is that fair?
23·   ·why you got that little footnote there at the       23·   · · · A.· · Yes.· Ultimately, yes.
24·   ·bottom of the page.· But let's start in the         24·   · · · Q.· · And is it fair to say then that
25·   ·lower right-hand corner and see if this chart       25·   ·he -- he made the decision to establish this
                                                 Page 48                                                    Page 49
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·particular structure, to the best of your           ·2·   · · · Q.· · And to the best of your knowledge,
·3·   ·knowledge?                                          ·3·   ·is the Charitable DAF GP, LLC, the general
·4·   · · · A.· · I -- I didn't -- I'm sorry. I            ·4·   ·partner of Charitable DAF Fund, L.P.?
·5·   ·didn't hear you very well.                          ·5·   · · · A.· · Yes.
·6·   · · · Q.· · To the best of your knowledge, did       ·6·   · · · Q.· · And is it your understanding that
·7·   ·Mr. Dondero make the decisions to establish the     ·7·   ·you are the managing member of Charitable DAF
·8·   ·structure that's reflected on this page?            ·8·   ·GP, LLC?
·9·   · · · A.· · Oh, I don't know if he made the          ·9·   · · · A.· · Yes.
10·   ·decision to establish this structure, although      10·   · · · Q.· · Does Charitable DAF GP, LLC, have
11·   ·it's -- it's -- I'm sorry.· Strike that.· I --      11·   ·any employees?
12·   ·if -- if what you're saying is did he approve       12·   · · · A.· · No.
13·   ·of this structure, to my knowledge, yes.            13·   · · · Q.· · Does Charitable DAF GP, LLC, have
14·   · · · Q.· · Okay.· Do you hold any position with     14·   ·any officers or directors?
15·   ·respect to Charitable DAF Fund, L.P.?               15·   · · · A.· · No.
16·   · · · A.· · I -- I -- your chart says no.· I --      16·   · · · Q.· · Are you the only person affiliated
17·   ·I -- I thought I had a role there, too.             17·   ·with Charitable DAF GP, LLC, to the best of
18·   · · · Q.· · I don't know.· I don't have              18·   ·your --
19·   ·information on that.· That's why I'm asking the     19·   · · · A.· · I believe so.
20·   ·question.                                           20·   · · · Q.· · Do you receive any compensation for
21·   · · · A.· · I -- I -- I believe -- yes, I            21·   ·serving as the managing member of Charitable
22·   ·believe I have the same role as I do in -- in       22·   ·DAF GP, LLC?
23·   ·CLO HoldCo.                                         23·   · · · A.· · No.· The -- I don't interact with it
24·   · · · Q.· · And that would be director?              24·   ·very often.· It's -- no, I don't receive any
25·   · · · A.· · Yes.                                     25·   ·compensation.

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      Case 19-34054-sgj11 Doc 2412-16 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 12 of
        Case 3:21-cv-00842-B Document 43 Filed  2007/13/21 Page 353 of 852 PageID 2258
                                                 Page 50                                                    Page 51
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · Q.· · Can you tell me in your capacity as      ·2·   ·Charitable DAF Fund, L.P., Grant Scott,
·3·   ·the managing member of Charitable DAF GP, LLC,      ·3·   ·director, and we put under CLO HoldCo Limited
·4·   ·what's the nature of that entity's business?        ·4·   ·Grant Scott, director, would everything on the
·5·   · · · A.· · It -- it doesn't perform any             ·5·   ·right side of that page be accurate, to the
·6·   ·day-to-day operations.· My understanding is --      ·6·   ·best of your --
·7·   ·is that it's -- it's there for purposes of          ·7·   · · · A.· · I believe so.
·8·   ·compliance.· I can't recall the last time I had     ·8·   · · · Q.· · Well, let's move to the left side of
·9·   ·any activity with respect to that.                  ·9·   ·the page.· Have you heard of the entity
10·   · · · Q.· · How about the Charitable DAF Fund,       10·   ·Charitable DAF HoldCo Limited?
11·   ·L.P.?· I apologize if I've asked you these          11·   · · · A.· · Yes.
12·   ·questions.                                          12·   · · · Q.· · Are you the sole director of
13·   · · · A.· · It -- it's the same.· I -- I -- my       13·   ·Charitable DAF HoldCo Limited?
14·   ·activity is almost exclusively CLO HoldCo.          14·   · · · A.· · Yes.
15·   · · · Q.· · All right.· Let me just ask the          15·   · · · Q.· · How did you become -- how did you
16·   ·questions nevertheless.· Does Charitable DAF        16·   ·come to be the char- -- the sole director of
17·   ·Fund, L.P., have any employees?                     17·   ·Charitable DAF HoldCo Limited?
18·   · · · A.· · Employees?· No.                          18·   · · · A.· · That was when it was established.
19·   · · · Q.· · Does it have any officers and            19·   · · · Q.· · And did Mr. Dondero ask you to serve
20·   ·directors?                                          20·   ·in that capacity?
21·   · · · A.· · No.                                      21·   · · · A.· · Yes.
22·   · · · Q.· · Are you the sole director of             22·   · · · Q.· · And did Mr. Dondero ask you to serve
23·   ·Charitable DAF Fund, L.P.?                          23·   ·as the managing member of Charitable DA- -- DAF
24·   · · · A.· · Yes, I believe so.                       24·   ·GP, LLC?
25·   · · · Q.· · So if we -- if we put under              25·   · · · A.· · Yes.
                                                 Page 52                                                    Page 53
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · Q.· · And did Mr. Dondero ask you to serve     ·2·   ·resolutions, and there's one that I have in
·3·   ·as the director of Charitable DAF, L.P. --          ·3·   ·mind that shows Charitable DAF HoldCo Limited
·4·   ·withdrawn.                                          ·4·   ·holding 99 percent of the limited partnership
·5·   · · · · · · Did Mr. Dondero ask you to serve as      ·5·   ·interests of Charitable DAF Fund, L.P., and
·6·   ·director of Charitable DAF Fund, L.P.?              ·6·   ·there's another that shows it being a hundred
·7·   · · · A.· · Yes.                                     ·7·   ·percent.· Do you -- do you know which is
·8·   · · · Q.· · To the best of your knowledge, does      ·8·   ·accurate at least at this time?
·9·   ·Charitable DAF HoldCo Limited own 99 percent of     ·9·   · · · A.· · There's a 1 percent/99 percent
10·   ·the limited partnership interests in Charitable     10·   ·division, and I am -- I believe it's the 99
11·   ·DAF Fund, L.P.?                                     11·   ·percent, but I'm -- I'm getting confused by
12·   · · · A.· · Yes.· The -- the feed -- the -- the      12·   ·the -- by the arrangement.· I'm so used to
13·   ·feeds -- the -- the three horizontal blocks         13·   ·another arrangement.· I -- I believe the 99
14·   ·there that identify Highland Dallas Foundation,     14·   ·percent is correct.
15·   ·Kansas City, Santa Barbara -- there's a fourth      15·   · · · Q.· · Okay.· Do you have any understanding
16·   ·of -- relatively de minimus in terms of             16·   ·as to who owns the other 1 percent of the
17·   ·participation.· There's a fourth entity that's      17·   ·limited partnership interests of Charitable DAF
18·   ·missing.· It's Dallas -- I forget the name.         18·   ·Fund, L.P.?
19·   ·That -- that -- that structure is -- is a bit       19·   · · · A.· · No.· This -- this is confusing to
20·   ·dated --                                            20·   ·me.· No.
21·   · · · Q.· · Okay.                                    21·   · · · Q.· · Okay.· There are, at least on this
22·   · · · A.· · -- as it -- as is shown.                 22·   ·page, three foundations that I think you've
23·   · · · Q.· · Okay.· So I will tell you and we can     23·   ·identified.· Are those three foundations
24·   ·look the documents if you want, but attached to     24·   ·together with the fourth that you mentioned the
25·   ·CLO HoldCo Limited's claim are a number of          25·   ·owners of the Charitable DAF HoldCo Limited?

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      Case 19-34054-sgj11 Doc 2412-16 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 13 of
        Case 3:21-cv-00842-B Document 43 Filed  2007/13/21 Page 354 of 852 PageID 2259
                                                 Page 54                                                    Page 55
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · Owners?                                  ·2·   · · · Consent of Directors In Lieu of Meeting,
·3·   · · · Q.· · Yes.                                     ·3·   · · · was marked for identification.)
·4·   · · · · · · MR. CLARK:· Objection, form.             ·4·   · · · · · · MR. MORRIS:· I apologize.· Let's go
·5·   · · · A.· · They -- they only participate in the     ·5·   · · · to --
·6·   ·money that flows up to them.                        ·6·   · · · · · · MS. CANTY:· I'm sorry, John. I
·7·   · · · Q.· · And what does that mean exactly?         ·7·   · · · can't hear you.· Was that not the exhibit?
·8·   · · · A.· · What's that?                             ·8·   · · · · · · MR. MORRIS:· 4.
·9·   · · · Q.· · What does that -- what do you mean       ·9·   · · · · · · MS. CANTY:· Okay.
10·   ·by that?· Do the foundations fund Charitable        10·   · · · · · · THE REPORTER:· And Mr. Morris, you
11·   ·DAF Fund HoldCo Limited?                            11·   · · · are -- Mr. Morris, you are breaking up just
12·   · · · A.· · Initially.· Initially, as I              12·   · · · a little bit at the end of your questions.
13·   ·understand it, the money flows downward into        13·   ·BY MR. MORRIS:
14·   ·the Charitable DAF HoldCo Limited before it         14·   · · · Q.· · Okay.· Do you see the document on
15·   ·ultimately makes its way to CLO HoldCo, and         15·   ·the screen, sir?
16·   ·then each of those three entities, the various      16·   · · · A.· · Yes, I do.
17·   ·foundations, obtain participation interest in       17·   · · · Q.· · Okay.· And so this is a unanimous
18·   ·the money that flows back to them.                  18·   ·written consent of the directors of the
19·   · · · Q.· · And -- and is that par- -- are those     19·   ·Highland Dallas Foundation.· That's one of the
20·   ·participation interests in Charitable -- you        20·   ·entities that was on the chart.
21·   ·know what, let -- let me just pull up one           21·   · · · · · · MR. MORRIS:· Can we scroll down to
22·   ·document and see if that helps.                     22·   · · · the -- the bottom of the document where the
23·   · · · · · · MR. MORRIS:· Can we put up -- I          23·   · · · signature lines are.· Right there.
24·   · · · think it's Exhibit Number 5.                   24·   ·BY MR. MORRIS:
25·   · · · · · · (SCOTT EXHIBIT 2, Unanimous Written      25·   · · · Q.· · Are you a director of the Highland
                                                 Page 56                                                    Page 57
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·Dallas Foundation?                                  ·2·   · · · A.· · Yes.
·3·   · · · A.· · Yes, selected by them.                   ·3·   · · · Q.· · To the best of your knowledge, does
·4·   · · · Q.· · Selected by whom?                        ·4·   ·Mr. Dondero serve as the president for each of
·5·   · · · A.· · By that foundation.                      ·5·   ·the foundations that we're talking about?
·6·   · · · Q.· · Are you -- are you a director of all     ·6·   · · · A.· · Yes.
·7·   ·of the four foundations that feed into the          ·7·   · · · Q.· · To the best of your knowledge, is
·8·   ·Charitable DAF HoldCo Limited entities that --      ·8·   ·Mr. Dondero a director of each of the
·9·   · · · A.· · No.                                      ·9·   ·foundations that we're talking about?
10·   · · · Q.· · Which of the four foundations are        10·   · · · A.· · Say that again.· I'm sorry.
11·   ·you a director of?                                  11·   · · · Q.· · Is he also a director of each of the
12·   · · · A.· · This and the Santa Barbara -- I'm        12·   ·foundations?
13·   ·sorry, Santa Barbara and Kansas City.               13·   · · · A.· · Yes.
14·   · · · Q.· · So is -- there's one that you're not     14·   · · · Q.· · Do you know whether any of the
15·   ·a director of; is that right?                       15·   ·foundations has any employees?
16·   · · · A.· · Yes.                                     16·   · · · A.· · I believe they do, but I -- I -- I
17·   · · · Q.· · And which one is that?                   17·   ·can't say for certain.
18·   · · · A.· · The -- could you go back to the --       18·   · · · Q.· · Does -- withdrawn.
19·   · · · Q.· · Yeah.                                    19·   · · · · · · Do you know if there are any
20·   · · · · · · MR. MORRIS:· Go back to the              20·   ·officers of any of the four foundations other
21·   · · · demonstrative.                                 21·   ·than Mr. Dondero's service as president?
22·   · · · A.· · It's the Highland Dallas Foundation      22·   · · · A.· · I'm sorry.· Say that one more time,
23·   ·and Santa Barbara Foundation.                       23·   ·please.
24·   · · · Q.· · Those are the two that you're a          24·   · · · Q.· · Yes.· Do you know whether any of the
25·   ·director of?                                        25·   ·four foundations has any officers other than

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      Case 19-34054-sgj11 Doc 2412-16 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 14 of
        Case 3:21-cv-00842-B Document 43 Filed  2007/13/21 Page 355 of 852 PageID 2260
                                                 Page 58                                                    Page 59
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·Mr. Dondero's service as president?                 ·2·   ·Nonexempt Trust, right?
·3·   · · · A.· · No.                                      ·3·   · · · A.· · Yes.
·4·   · · · Q.· · You don't know, or they do not?          ·4·   · · · Q.· · When did you become a trustee of the
·5·   · · · A.· · I -- I don't believe anyone else         ·5·   ·Get Good Nonexempt Trust?
·6·   ·has.· I -- actually, I should say I don't -- I      ·6·   · · · A.· · Many years ago.· I -- I don't
·7·   ·don't recall.· I -- I don't know.· I don't -- I     ·7·   ·remember.
·8·   ·don't know.                                         ·8·   · · · Q.· · Are there any other trustees of the
·9·   · · · Q.· · As a director of the Dallas and          ·9·   ·Get Good Nonexempt Trust?
10·   ·Santa Barbara foundations, are you aware of any     10·   · · · A.· · No.
11·   ·officers serving for either of those                11·   · · · Q.· · Does the Get Good Nonexempt Trust
12·   ·foundations other than Mr. Dondero?                 12·   ·have any officers, directors, or employees?
13·   · · · A.· · No.                                      13·   · · · A.· · No.
14·   · · · Q.· · Do you know who the beneficial owner     14·   · · · · · · MR. CLARK:· Objection, form.· Sorry.
15·   ·of the Charitable DAF HoldCo Limited entity is?     15·   ·BY MR. MORRIS:
16·   · · · A.· · The beneficial owner?                    16·   · · · Q.· · Withdrawn.
17·   · · · Q.· · Correct.                                 17·   · · · · · · Do you know whether the Get Good
18·   · · · A.· · The various -- various trusts that       18·   ·Nonexempt Trust has any officers, directors, or
19·   ·were used to -- that were the vehicles by which     19·   ·employees?
20·   ·the money originally was established within --      20·   · · · A.· · It does not.
21·   ·within -- within CLO HoldCo.                        21·   · · · Q.· · And I apologize if I asked this, but
22·   · · · Q.· · Would that be -- would one of them       22·   ·are you the only trustee of the Get Good
23·   ·be the Get Good Nonexempt Trust?                    23·   ·Nonexempt Trust?
24·   · · · A.· · Yes.                                     24·   · · · A.· · Yes.
25·   · · · Q.· · And you're a trustee of the Get Good     25·   · · · Q.· · Is the Dugaboy Investment Trust also
                                                 Page 60                                                    Page 61
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·one of the trusts that has an interest in           ·2·   ·besides those trusts, to the best of your
·3·   ·Charitable DAF HoldCo Limited?                      ·3·   ·knowledge?
·4·   · · · A.· · Yes.                                     ·4·   · · · A.· · No.
·5·   · · · Q.· · Are you a trustee of the Dugaboy         ·5·   · · · Q.· · Is it your understanding based on
·6·   ·Investment Trust?                                   ·6·   ·what we've just talked about that the Get Good
·7·   · · · A.· · I am not.                                ·7·   ·Nonexempt Trust and the Dugaboy Investment
·8·   · · · Q.· · Do you know who is?                      ·8·   ·Trust are the indirect beneficiaries of CLO
·9·   · · · A.· · I believe it's his sister.               ·9·   ·HoldCo Limited?
10·   · · · Q.· · And is that -- you're referring to       10·   · · · A.· · Yes.
11·   ·Mr. Dondero's sister?                               11·   · · · Q.· · Can you tell me who the
12·   · · · A.· · I'm sorry.· Yes.                         12·   ·beneficiaries are of the Get Good trust?
13·   · · · Q.· · And what's the basis for your            13·   · · · A.· · I mean, Jim Dondero.
14·   ·understanding that Mr. Dondero's siv- -- sister     14·   · · · Q.· · And -- and what is that -- is that
15·   ·serves as the trustee of the Dugaboy Investment     15·   ·based on the trust agreement -- your knowledge
16·   ·Trust?                                              16·   ·of the trust agreement?
17·   · · · A.· · Many years ago there was a -- there      17·   · · · A.· · Yes.
18·   ·was a clerical error that identified me as the      18·   · · · Q.· · Do you have an understanding of who
19·   ·trustee of the Dugaboy.· That error was present     19·   ·the beneficiary is of the Dugaboy Investment
20·   ·for approximately two weeks or a week and a         20·   ·Trust?
21·   ·half before it was detected and corrected, and      21·   · · · A.· · I don't know anything about that
22·   ·so I know from that correction that it's Nancy      22·   ·trust.
23·   ·Dondero.                                            23·   · · · · · · MR. MORRIS:· Okay.· All right.
24·   · · · Q.· · Are there any other trusts that have     24·   · · · Let's take a short break and reconvene at
25·   ·an interest in Charitable DAF HoldCo Limited        25·   · · · 3:30 Eastern Time.· We've been going for a

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      Case 19-34054-sgj11 Doc 2412-16 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 15 of
        Case 3:21-cv-00842-B Document 43 Filed  2007/13/21 Page 356 of 852 PageID 2261
                                                 Page 62                                                    Page 63
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · while.                                         ·2·   ·affairs of CLO HoldCo Limited at any time since
·3·   · · · · · · MR. CLARK:· Thank you.                   ·3·   ·October?
·4·   · · · · · · MR. MORRIS:· Okay.· Thank you.           ·4·   · · · A.· · Yes.
·5·   · · · · · · (Whereupon, there was a recess in        ·5·   · · · Q.· · Anybody other than Jim Seery?
·6·   · · · the proceedings from 3:20 p.m. to              ·6·   · · · A.· · Yes.
·7·   · · · 3:31 p.m.)                                     ·7·   · · · Q.· · Okay.· Let's start with Mr. Seery.
·8·   ·BY MR. MORRIS:                                      ·8·   ·You've spoken with him before, right?
·9·   · · · Q.· · Mr. Scott, earlier I think you           ·9·   · · · A.· · Yes.
10·   ·testified that you interfaced with the folks at     10·   · · · Q.· · Do you have his phone number?
11·   ·Highland in connection with your duties as the      11·   · · · A.· · Yes.
12·   ·director of CLO HoldCo Limited, right?              12·   · · · Q.· · How many times have you spoken with
13·   · · · A.· · Yes.                                     13·   ·Mr. Seery, to the best of your recollection,
14·   · · · Q.· · Are you aware of any written             14·   ·just generally?· It's not a test.
15·   ·agreement between Highland Capital Management       15·   · · · A.· · Three, maybe four times.
16·   ·and CLO HoldCo Limited?                             16·   · · · Q.· · Okay.· Can you identify by name
17·   · · · A.· · Yes, the various servicer                17·   ·anybody else at Highland that you've spoken
18·   ·agreements.                                         18·   ·with since -- in the last two or three months?
19·   · · · Q.· · Okay.· Are you aware that                19·   · · · A.· · I spoke to Jim Dondero.· I've spoken
20·   ·Mr. Dondero resigned from his position at           20·   ·with Mike Throckmorton.· The usual suspects, so
21·   ·Highland Capital Management sometime in             21·   ·to speak.· Mark Patrick, Mel- -- Melissa
22·   ·October?                                            22·   ·Schroth.
23·   · · · A.· · No.                                      23·   · · · Q.· · Can you recall anybody else?
24·   · · · Q.· · Have you communicated with anybody       24·   · · · A.· · No.· No.· Sorry.
25·   ·at Highland Capital Management about the            25·   · · · Q.· · Did you -- did you -- withdrawn.
                                                 Page 64                                                    Page 65
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · · · · Do you recall the subject matter of      ·2·   · · · A.· · Yes.· Or -- yes.
·3·   ·your discussions with Mr. Throckmorton?             ·3·   · · · Q.· · And what -- what are the nature of
·4·   · · · · · · MR. CLARK:· Objection, form.             ·4·   ·those conversations or the substance?
·5·   ·BY MR. MORRIS:                                      ·5·   · · · A.· · He was -- he was one of the
·6·   · · · Q.· · Withdrawn.                               ·6·   ·individuals that helped to establish the
·7·   · · · · · · Do you recall your -- the subject        ·7·   ·hierarchy for the -- what I keep referring to
·8·   ·matter of your communications with                  ·8·   ·as the charitable foundation.
·9·   ·Mr. Throckmorton?                                   ·9·   · · · Q.· · And -- and do you recall why you
10·   · · · · · · MR. CLARK:· Objection, form.             10·   ·spoke to him in the last -- or -- withdrawn.
11·   ·BY MR. MORRIS:                                      11·   · · · · · · Do you recall the nature of your
12·   · · · Q.· · You can answer.                          12·   ·communications in the last two or three months
13·   · · · A.· · I -- I regularly interface with          13·   ·with Mr. Patrick?
14·   ·Mr. Throckmorton regarding approvals of             14·   · · · A.· · I --
15·   ·expenses, and he's my sort of -- he's my point      15·   · · · · · · MR. CLARK:· And hold on, Grant.· I'm
16·   ·person for approving wire transfers and things      16·   · · · going to caution -- my understanding -- I
17·   ·of that nature.                                     17·   · · · believe Mr. Patrick's an attorney, and so
18·   · · · Q.· · How about Mr. Patrick, what -- what      18·   · · · I'm going to caution you that you shouldn't
19·   ·area of responsibility does he have with            19·   · · · disclose the substance of -- of those
20·   ·respect to CLO HoldCo Limited?                      20·   · · · communications based on the attorney-client
21·   · · · A.· · He -- he doesn't, to my knowledge.       21·   · · · privilege.
22·   · · · Q.· · Do you recall the nature of the          22·   · · · · · · MR. MORRIS:· Well, I'm -- I -- I am
23·   ·substance of any communications that you've had     23·   · · · the lawyer for the company so -- I guess
24·   ·with Mr. Patrick since -- you know, the last        24·   · · · there are other people on the phone and I
25·   ·two or three months?                                25·   · · · appreciate that, but let's see if we can --

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      Case 19-34054-sgj11 Doc 2412-16 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 16 of
        Case 3:21-cv-00842-B Document 43 Filed  2007/13/21 Page 357 of 852 PageID 2262
                                                 Page 66                                                    Page 67
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · I don't mean to be contentious here, so it     ·2·   ·home -- home improvements, home construction
·3·   · · · wouldn't -- I -- I'd be part of the            ·3·   ·with respect to Jim Dondero's home in Colorado,
·4·   · · · privilege anyway.                              ·4·   ·and that's -- I -- I think that's -- that's it.
·5·   ·BY MR. MORRIS:                                      ·5·   · · · Q.· · Okay.· Do you recall communicating
·6·   · · · Q.· · But in any event, can you tell me        ·6·   ·with anybody at Highland in the last three
·7·   ·generally -- I'm just looking for general           ·7·   ·months other than Mr. Dondero,
·8·   ·subject matter of your conversations with           ·8·   ·Mr. Throckmorton, Mr. Patrick, and Ms. Schroth?
·9·   ·Mr. Patrick.                                        ·9·   · · · A.· · I -- I spoke with Jim Seery this
10·   · · · A.· · I asked him how I would go about         10·   ·week.
11·   ·re- -- resigning my position.                       11·   · · · Q.· · Anybody else?
12·   · · · Q.· · And when did that conversation take      12·   · · · A.· · I don't -- I don't know.
13·   ·place?                                              13·   · · · Q.· · Okay.
14·   · · · A.· · Within the last two weeks.               14·   · · · A.· · I don't think so.
15·   · · · Q.· · Have you made a decision to resign?      15·   · · · Q.· · In your communications with
16·   · · · A.· · No.                                      16·   ·Mr. Seery, did you two ever discuss his reasons
17·   · · · Q.· · I think you mentioned Melissa            17·   ·for making any trade on behalf of any CLO?
18·   ·Schroth.· Do I have that right?                     18·   · · · A.· · No.
19·   · · · A.· · Yes.                                     19·   · · · Q.· · In your discussions with Mr. Seery,
20·   · · · Q.· · Can you describe generally the           20·   ·did you ever tell him that you believed that
21·   ·communications you had with Ms. Schroth in the      21·   ·Highland Capital Management had breached any
22·   ·last few months.                                    22·   ·agreement in relation to any CLO?
23·   · · · A.· · They -- she has e-mailed me certain      23·   · · · A.· · Have I had that discussion with Jim
24·   ·documents that I needed to sign.· I had a           24·   ·Seery?
25·   ·conversation with her about -- about some           25·   · · · Q.· · Yes.
                                                 Page 68                                                    Page 69
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · No.                                      ·2·   ·connection with its performance as the
·3·   · · · Q.· · In your discussions with Mr. Seery,      ·3·   ·portfolio manager of the CLOs in which CLO
·4·   ·did you ever tell him that you thought Highland     ·4·   ·HoldCo Limited has invested?
·5·   ·Capital Management was in default under any         ·5·   · · · · · · MR. CLARK:· Object to form.
·6·   ·agreement in relation to the CLOs?                  ·6·   · · · A.· · In terms of the -- are you saying --
·7·   · · · A.· · No.                                      ·7·   ·please say that again.· I'm sorry.
·8·   · · · Q.· · I want to focus in particular on the     ·8·   · · · Q.· · That's okay.· I ask long questions
·9·   ·shared services agreement.· In -- in your           ·9·   ·sometimes so forgive me, but I'm trying to
10·   ·discussions with Mr. Seery, did you ever tell       10·   ·get -- I'm trying to be precise so that's why
11·   ·him that you believed that Highland Capital         11·   ·it's difficult sometimes.· But let me try
12·   ·Management was in default or in breach of its       12·   ·again.
13·   ·shared services agreement with CLO HoldCo           13·   · · · · · · Does CLO HoldCo Limited contend that
14·   ·Limited?                                            14·   ·Highland Capital Management has done anything
15·   · · · A.· · No.                                      15·   ·wrong in the performance of its duties as
16·   · · · Q.· · In your communications with              16·   ·portfolio manager of the CLOs in which CLO
17·   ·Mr. Seery, did you ever indicate any concern on     17·   ·HoldCo has invested?
18·   ·the part of CLO HoldCo Limited with respect to      18·   · · · · · · MR. CLARK:· Objection, form.
19·   ·Highland Capital's Man- -- Highland Capital         19·   · · · A.· · Yes.· It's -- it's outlined in our
20·   ·Management's performance under the shared           20·   ·objections to -- to the plan.
21·   ·services agreement?                                 21·   · · · Q.· · Okay.· Any -- are you aware of
22·   · · · A.· · No.                                      22·   ·anything that's not contained within CLO Holdco
23·   · · · Q.· · As you sit here today, do you have       23·   ·Limited's objection to the plan?
24·   ·any reason to believe that Highland Capital         24·   · · · · · · MR. CLARK:· Objection, form.
25·   ·Management has done anything wrong in               25·   · · · A.· · I don't know if this is responsive

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      Case 19-34054-sgj11 Doc 2412-16 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 17 of
        Case 3:21-cv-00842-B Document 43 Filed  2007/13/21 Page 358 of 852 PageID 2263
                                                 Page 70                                                    Page 71
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·to your quest -- request, but two -- two            ·2·   · · · A.· · Now I do.· I'm sorry.· I didn't
·3·   ·issues, I believe, also pose an in- -- a            ·3·   ·appreciate that.
·4·   ·problem for CLO HoldCo.· One is we are paying       ·4·   · · · Q.· · Okay.· So let's just take each of
·5·   ·for services.· I think I referred to the            ·5·   ·those pieces one at a time.· You mentioned your
·6·   ·services as being soup to nuts, but we are not      ·6·   ·concern about services.· That's a concern that
·7·   ·getting the full services.· We haven't been for     ·7·   ·arises under the shared services agreement,
·8·   ·some time.· So we're likely overpaying.· There      ·8·   ·right?
·9·   ·was a Highland Select Equity issue, 11-month        ·9·   · · · A.· · Yes.
10·   ·payment that was delayed which I was unaware of     10·   · · · Q.· · And you mentioned something about a
11·   ·was due.· Normally, I would have interfaced         11·   ·delayed payment having to do with Highland
12·   ·with someone at Highland about that, but my         12·   ·Select.· Do I have that generally right?
13·   ·attorney -- but my -- my attorney had to make a     13·   · · · A.· · Correct.
14·   ·request for payment, and that payment was           14·   · · · Q.· · And is that a concern that you have
15·   ·ultimately made.· I -- other than that, I -- I      15·   ·that arises under the shared services
16·   ·don't -- I don't know.· I don't believe so.         16·   ·agreement?
17·   · · · Q.· · I want to distinguish between the        17·   · · · A.· · It's not the agreement with respect
18·   ·shared services agreement between Highland          18·   ·to the CLOs as I understand it.
19·   ·Capital Management and CLO HoldCo Limited on        19·   · · · Q.· · Okay.· So then let's turn to that
20·   ·the one hand and on the other hand the              20·   ·second bucket.· You were aware -- you are
21·   ·management agreements pursuant to which             21·   ·aware, are you not, that Highland Capital
22·   ·Highland Capital Management manages certain         22·   ·Management has certain agreements with CLOs
23·   ·CLOs that CLO HoldCo invests in.                    23·   ·pursuant to which it manages the assets that
24·   · · · · · · You understand the distinction that      24·   ·are owned by the CLOs?
25·   ·I'm making?                                         25·   · · · A.· · I'm so sorry.· Could you please --
                                                 Page 72                                                    Page 73
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · Q.· · I'll try again.                          ·2·   · · · corporate representative.
·3·   · · · A.· · I'm just -- I'm sorry.· I was            ·3·   · · · · · · MR. MORRIS:· Fair enough.· But he is
·4·   ·distracted and -- and I -- I'm sorry for asking     ·4·   · · · the only representative so...
·5·   ·you to repeat it again.· Please --                  ·5·   · · · · · · MR. CLARK:· Fair enough.· I just
·6·   · · · Q.· · Okay.                                    ·6·   · · · want that made -- stated for the record,
·7·   · · · A.· · Please re- --                            ·7·   · · · but I also object as to form.
·8·   · · · Q.· · Are you aware that CLO HoldCo            ·8·   · · · · · · MR. MORRIS:· Got it.
·9·   ·Limited has made investments in certain CLOs?       ·9·   · · · A.· · It's a third-party beneficiary under
10·   · · · A.· · Oh, yes, certainly.                      10·   ·the agreements.
11·   · · · Q.· · And are you aware that those CLOs        11·   · · · Q.· · And is that because of something you
12·   ·are managed by Highland Capital Management?         12·   ·read in the document, or is that just your
13·   · · · A.· · Yes.· As the -- as the servicer,         13·   ·belief and understanding?
14·   ·yes.                                                14·   · · · A.· · My belief and understanding.
15·   · · · Q.· · Okay.· Have you ever seen any of the     15·   · · · Q.· · And is that belief and understanding
16·   ·agreements pursuant to which Highland Capital       16·   ·based on anything other than conversations with
17·   ·Management acts as a servicer?                      17·   ·counsel?
18·   · · · A.· · I've seen a few, yes.                    18·   · · · A.· · In -- in -- recently it has, but I
19·   · · · Q.· · Does CLO HoldCo Limited contend that     19·   ·don't recall from previous interactions over
20·   ·it is a party to any agreement between Highland     20·   ·the years how we discussed that or how I came
21·   ·Capital Management and the CLOs?                    21·   ·to -- to understand that.
22·   · · · · · · MR. CLARK:· Object to form.· And I       22·   · · · Q.· · Does HCLO [sic] HoldCo -- did -- in
23·   · · · just want to note for the record that          23·   ·your capacity as the sole director of HCLO
24·   · · · Mr. Scott is here testifying in his            24·   ·HoldCo Limited, are you aware of anything that
25·   · · · individual capacity, I believe, not as a       25·   ·Highland Capital Management has done wrong in

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      Case 19-34054-sgj11 Doc 2412-16 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 18 of
        Case 3:21-cv-00842-B Document 43 Filed  2007/13/21 Page 359 of 852 PageID 2264
                                                 Page 74                                                    Page 75
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·connection with the services provided under the     ·2·   ·Highland Capital?
·3·   ·CLO management agreements?                          ·3·   · · · A.· · The select -- ultimately, I had to.
·4·   · · · · · · MR. CLARK:· Objection, form.             ·4·   · · · Q.· · I thought you testified earlier that
·5·   · · · A.· · I -- I don't -- I don't -- I             ·5·   ·you didn't make decisions as to investment.· Do
·6·   ·don't -- your answer's no.                          ·6·   ·I have that wrong?
·7·   · · · Q.· · In your capacity as the director of      ·7·   · · · A.· · The selection.
·8·   ·CLO HoldCo Limited, are you aware of any            ·8·   · · · Q.· · Okay.
·9·   ·default or breach under the CLO management          ·9·   · · · A.· · I -- I'm --
10·   ·agreements that -- that Highland Capital            10·   · · · Q.· · So -- so explain to me --
11·   ·Management has caused?                              11·   · · · A.· · I have to approve -- I have to
12·   · · · · · · MR. CLARK:· Objection, form.             12·   ·approve the selection.· I'm sorry.· But the
13·   · · · A.· · We have raised the issue about           13·   ·people making -- I was putting that in the camp
14·   ·ongoing sales in various -- I'm not sure            14·   ·of the people that make the selection.
15·   ·whether they represent a technical breach,          15·   · · · Q.· · Okay.· Do you know if -- do you know
16·   ·though.                                             16·   ·if there are CLOs in the world that exist that
17·   · · · Q.· · Okay.· Are you aware of any              17·   ·aren't managed by Highland Capital Management?
18·   ·technical breach?                                   18·   · · · · · · MR. CLARK:· Objection, form.
19·   · · · · · · MR. CLARK:· Objection, form.             19·   · · · A.· · Are there CLOs in the -- in the
20·   · · · A.· · No.                                      20·   ·world that are not --
21·   · · · Q.· · I'm sorry.· You said, no, sir?           21·   · · · Q.· · Yes.
22·   · · · A.· · My answer's no.                          22·   · · · A.· · Yes.· It's -- it's a well-known --
23·   · · · Q.· · Thank you.· Do you know who made the     23·   ·it's a well-known --
24·   ·decision to cause the CLO HoldCo Limited entity     24·   · · · Q.· · In your capacity as the director of
25·   ·to invest in the CLOs that are managed by           25·   ·CLO HoldCo Limited, did you ever consider
                                                 Page 76                                                    Page 77
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·making an investment in a CLO that wasn't           ·2·   ·managed by Highland, correct?
·3·   ·managed by Highland?                                ·3·   · · · A.· · Correct.
·4·   · · · A.· · No.                                      ·4·   · · · Q.· · Did you ever give any thought to
·5·   · · · Q.· · Is there any particular reason why       ·5·   ·exiting the CLO vehicles that were managed by
·6·   ·you haven't given that any consideration?           ·6·   ·Highland in light of its bankruptcy filing?
·7·   · · · A.· · That hasn't been my role.· That's        ·7·   · · · A.· · No.
·8·   ·not my expertise.· That's been something            ·8·   · · · Q.· · Have you ever discussed with
·9·   ·Highland has done and, quite frankly, over the      ·9·   ·Mr. Seery anything having to do with the
10·   ·years brilliantly so, no.                           10·   ·management -- withdrawn.
11·   · · · Q.· · You're aware that HCM, L.P., has         11·   · · · · · · Have you ever discussed with
12·   ·filed for bankruptcy, right?                        12·   ·Mr. Seery any aspect of the debtor's management
13·   · · · A.· · Yes.                                     13·   ·of the CLOs in which CLO HoldCo Limited is
14·   · · · Q.· · When did you learn that Highland had     14·   ·invested?
15·   ·filed for bankruptcy?                               15·   · · · A.· · No.
16·   · · · A.· · After the fact sometime in late --       16·   · · · Q.· · You mentioned earlier a request to
17·   ·late 2019.                                          17·   ·stop trading.· Do I have that right?
18·   · · · Q.· · Since the bankruptcy filing, have        18·   · · · A.· · Yes.
19·   ·you made any attempt to sell CLO HoldCo             19·   · · · Q.· · Okay.· And are you aware that a
20·   ·Limited's position in any of the CLOs that are      20·   ·letter was written purportedly on behalf of CLO
21·   ·managed by Highland?                                21·   ·HoldCo Limited in which a request to stop
22·   · · · A.· · No.                                      22·   ·trading was made?
23·   · · · Q.· · So notwithstanding the bankruptcy        23·   · · · A.· · As a cos- -- yeah.· Yes.
24·   ·filing, you as the director haven't made any        24·   · · · Q.· · Okay.· Have you ever seen that
25·   ·attempt to transfer out of the CLOs that are        25·   ·letter before?

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      Case 19-34054-sgj11 Doc 2412-16 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 19 of
        Case 3:21-cv-00842-B Document 43 Filed  2007/13/21 Page 360 of 852 PageID 2265
                                                 Page 86                                                    Page 87
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · Q.· · How did you form your opinion that       ·2·   ·previously been doing that was no longer doing
·3·   ·the debtor doesn't have the expertise to            ·3·   ·it.
·4·   ·execute trades on behalf of the CLOs today?         ·4·   · · · Q.· · And what gave you that impression?
·5·   ·What's the basis for that belief?                   ·5·   · · · A.· · Was communications I had with my
·6·   · · · A.· · I -- as I understood it, the -- the      ·6·   ·attorney.
·7·   ·people historically making that decision were       ·7·   · · · Q.· · Okay.· Is there any source for your
·8·   ·no longer making that decision.                     ·8·   ·information that led you to conclude that the
·9·   · · · Q.· · Who besides Mr. Dondero --               ·9·   ·team was no longer there that was able to
10·   ·withdrawn.                                          10·   ·engage in the trades on behalf of the CLOs
11·   · · · · · · Who are you referring to?                11·   ·other than your attorneys?
12·   · · · A.· · Well, Mr. Dondero is one.· I don't       12·   · · · A.· · Well, this -- this letter -- I -- I
13·   ·know the names, but I -- I understood it to         13·   ·think the answer is no.
14·   ·mean that the group previously responsible, for     14·   · · · Q.· · Thank you.· Do you know if Jim -- do
15·   ·exam- -- for example, Hunter Covitz, including      15·   ·you have an opinion or a view as to whether Jim
16·   ·Hun- -- him, were no longer involved in the         16·   ·Seery is qualified to make trades?
17·   ·decision-making process, but...                     17·   · · · A.· · This --
18·   · · · Q.· · How did you -- how -- how -- who         18·   · · · · · · MR. CLARK:· Objection, form.
19·   ·gave you the information that led you to            19·   · · · A.· · I don't know -- I spoke to Jim Seery
20·   ·conclude that Hunter Covitz was no longer           20·   ·earlier this week.· You -- you asked me whether
21·   ·involved in the decision-making process?            21·   ·I had his number.· I said I did.· That's only
22·   · · · A.· · Specifically him and that name being     22·   ·because he called me.· My phone rang with his
23·   ·mentioned, I -- I -- I wasn't informed of his       23·   ·number.· It was a number I did not recognize,
24·   ·speci- -- him -- him being removed.· I was          24·   ·it was not in my contacts, but he left me a
25·   ·under the impression that the team that had         25·   ·voice mail so I called him back.· Then I
                                                 Page 88                                                    Page 89
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·updated my contacts to -- to add his name so        ·2·   ·that the debtor made on behalf of any of the
·3·   ·now I have his name.· And during that               ·3·   ·CLOs since the time that you understand
·4·   ·conversation he informed me that he did have        ·4·   ·Mr. Dondero left Highland that you disagree
·5·   ·that expertise --                                   ·5·   ·with?
·6·   · · · Q.· · And --                                   ·6·   · · · A.· · No.
·7·   · · · A.· · -- without me making any inquiry.        ·7·   · · · Q.· · Did you have any discussion with any
·8·   ·He volunteered that.                                ·8·   ·representative of any of the entities listed on
·9·   · · · Q.· · But you hadn't made any inquiry          ·9·   ·this document where they told you they believe
10·   ·prior to the time that you authorized the           10·   ·Jim Seery didn't have the expertise to engage
11·   ·sending of this letter; is that fair?               11·   ·in transactions on behalf of the whole -- of
12·   · · · A.· · That's correct.                          12·   ·the CLOs?
13·   · · · Q.· · Do you know whether Mr. Seery, in        13·   · · · A.· · You -- your question -- I'm -- I'm
14·   ·fact, engaged in transactions on behalf of the      14·   ·sorry.· I'm trying to be -- I'm trying to be a
15·   ·debtor since he was appointed back in January?      15·   ·hundred perc- -- I'm trying to be accurate
16·   · · · A.· · I do not.                                16·   ·here.
17·   · · · Q.· · Did you ask that question prior to       17·   · · · Q.· · Let me interrupt you and just say,
18·   ·the time you authorized the sending of this         18·   ·I'm very grateful for your testimony.· I know
19·   ·letter?                                             19·   ·this is not easy, and I do believe that you're
20·   · · · A.· · I did not.                               20·   ·earnestly and honestly trying to answer the
21·   · · · Q.· · Can you identify a single                21·   ·questions the best you can.· So no apologies
22·   ·transaction that Jim Seery has ever made that       22·   ·necessary anymore.· If you need me to repeat
23·   ·you disagree with?                                  23·   ·the question or rephrase it, just say that,
24·   · · · A.· · No.                                      24·   ·okay?
25·   · · · Q.· · Can you identify any transaction         25·   · · · A.· · Please -- yes.

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      Case 19-34054-sgj11 Doc 2412-16 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 20 of
        Case 3:21-cv-00842-B Document 43 Filed  2007/13/21 Page 361 of 852 PageID 2266
                                                 Page 90                                                    Page 91
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · Q.· · Okay.                                    ·2·   ·substance of this particular letter?
·3·   · · · A.· · Please -- please repeat that.            ·3·   · · · A.· · Jim Dondero described why he
·4·   · · · Q.· · Did you ever communicate with any        ·4·   ·believed sales being made on an ongoing basis
·5·   ·employee, officer, director, representative of      ·5·   ·after a request was made to stop was im- --
·6·   ·any of the entities that are on this page           ·6·   ·improper.
·7·   ·concerning the debtor's ability to service the      ·7·   · · · Q.· · Do you -- do you rely on what
·8·   ·CLOs?                                               ·8·   ·Mr. Dondero said to you during that phone call
·9·   · · · A.· · I believe so.                            ·9·   ·on December 21st in -- in deciding to join in
10·   · · · Q.· · And can you identify the person or       10·   ·this particular letter?
11·   ·persons?                                            11·   · · · A.· · No.
12·   · · · A.· · I think it's Jim Dondero.                12·   · · · Q.· · Did you only then rely on the
13·   · · · Q.· · Anybody else other than Mr. Dondero?     13·   ·information you obtained from counsel?
14·   · · · A.· · No.                                      14·   · · · A.· · Yes.· I -- I -- I -- I considered
15·   · · · Q.· · When did you have that conversation      15·   ·this letter to be nearly the most gentle
16·   ·or those conversations with Mr. Dondero?            16·   ·request imaginable amongst lawyers to maintain
17·   · · · A.· · This letter is dated the 22nd --         17·   ·the status quo.
18·   · · · Q.· · Correct.                                 18·   · · · Q.· · And the request that's made in this
19·   · · · A.· · -- right?                                19·   ·letter is perfectly consistent with what
20·   · · · Q.· · Yes.                                     20·   ·Mr. Dondero told you on the 21st of December,
21·   · · · A.· · I believe that's the Tuesday before      21·   ·correct?
22·   ·Christmas, and this would have been on the          22·   · · · A.· · I don't -- no.
23·   ·21st, the Monday.                                   23·   · · · Q.· · How --
24·   · · · Q.· · What do you recall about your            24·   · · · · · · MR. MORRIS:· Can we go to the end of
25·   ·conversation on the 21st regarding the              25·   · · · this letter, please.· All right.· Right
                                                 Page 92                                                    Page 93
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                ·1·   · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · there.                                         ·2·   · · · A.· · No.· And I didn't -- I didn't have a
·3·   ·BY MR. MORRIS:                                      ·3·   ·discussion with him.· I -- I merely listened to
·4·   · · · Q.· · Do you see the request that's in the     ·4·   ·him.· There was no -- I -- I had no input to
·5·   ·last sentence?                                      ·5·   ·the conversation.
·6·   · · · A.· · Yes.                                     ·6·   · · · Q.· · Okay.· I -- I did -- I didn't --
·7·   · · · Q.· · Is that the same thing that              ·7·   ·I -- I appreciate that.· So he called you; is
·8·   ·Mr. Dondero told you should happen, that --         ·8·   ·that right?
·9·   ·that there should be no further CLO                 ·9·   · · · A.· · We -- we called in.
10·   ·transactions at least until the issues raised       10·   · · · Q.· · Oh, was it --
11·   ·and addressed by the debtor's plan were             11·   · · · A.· · I --
12·   ·resolved substantively?                             12·   · · · Q.· · Was it --
13·   · · · A.· · Yes.                                     13·   · · · A.· · I don't know --
14·   · · · Q.· · Is there anything that he said           14·   · · · Q.· · Was it --
15·   ·that's inconsistent with the request that's         15·   · · · A.· · I don't know the sequence of the
16·   ·made here?                                          16·   ·calls.· I'm sorry.
17·   · · · · · · MR. CLARK:· Objection, form.             17·   · · · Q.· · Was there anybody on the call other
18·   · · · A.· · This -- and can you -- can you show      18·   ·than you and Mr. Dondero, the call that you're
19·   ·me earlier parts?                                   19·   ·describing on December 21st?
20·   · · · Q.· · Of course.· You know what, I'll          20·   · · · A.· · Yes, my attorney and an attorney --
21·   ·withdraw the question.                              21·   ·I believe the attorney that signed this letter.
22·   · · · · · · And let me see if I can do it this       22·   · · · Q.· · Okay.· And I just want to focus on
23·   ·way:· In your discussion with Mr. Dondero, did      23·   ·what Mr. Dondero said.· Did he -- did he say
24·   ·he indicate that he had seen a draft of this        24·   ·during the call that Highland should not be
25·   ·letter?                                             25·   ·engaging in any further CLO transactions?

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Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 1 of
 Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 362 of 852 PageID 2267



                                EXHIBIT 17




 000359
     Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 2 of
      Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 363 of 852 PageID 2268
                                                                                    Page 1
·1· · · · · · · · · · · · Grant Scott
·2· · · · · ·IN THE UNITED STATES BANKRUPTCY COURT
·3· · · · · · ·FOR THE NORTHERN DISTRICT OF TEXAS
·4· · · · · · · · · · · DALLAS DIVISION
·5· · In Re:· · · · · · · · · · · · · · · Case No.
·6· · HIGHLAND CAPITAL MANAGEMENT L.P.,· ·19-34054
·7· · · · · · · · · Debtor,· · · · · · · ·Chapter 11
·8· · _________________________
·9· · HIGHLAND CAPITAL MANAGEMENT,· · · · Adversary No.
10· · L.P.,· · · · · · · · · · · · · · · ·21-03003-sgi
11· · · · · · · · · Plaintiff,
12· · Vs.
13· · JAMES D. DONDERO,
14· · · · · · · · · Defendant.
15
16· · · · · ·Virtual Zoom Deposition of Grant Scott
17· · · · · · · · · ·Tuesday, June 1, 2021
18· · · · · · · · · · · ·At 2:00 p.m.
19
20
21
22
23· ·Reported by LeShaunda Cass-Byrd, CSR, RPR
24· ·TSG Job No. 194692
25

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       Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 3 of
        Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 364 of 852 PageID 2269
                                                       Page 6                                                          Page 7
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · · · · · · · · · · GRANT SCOTT,                        ·2·   ·off.· Okay?
·3·   ·having been first duly sworn, was examined and           ·3·   · · ·A.· · ·Okay.
·4·   ·testified as follows:                                    ·4·   · · ·Q.· · ·If there's anything that I ask you that you
·5·   · · · · · · · · · · · EXAMINATION                         ·5·   ·do not understand, will you let me know?
·6·   ·BY MR. MORRIS:                                           ·6·   · · ·A.· · ·Yes, sir.
·7·   · · ·Q.· · ·Good afternoon, Mr. Scott.                    ·7·   · · ·Q.· · ·If you need a break at any time, will you
·8·   · · ·A.· · ·Good afternoon, John.                         ·8·   ·let me know?
·9·   · · ·Q.· · ·Okay.· As you recall, my name is John         ·9·   · · ·A.· · ·Yes.
10·   ·Morris.· I'm an attorney with Pachulski Stang Ziehl &    10·   · · ·Q.· · ·Okay.· Because this deposition is being
11·   ·Jones.· We represent Highland Capital Management LP, a   11·   ·conducted remotely, we are going to be putting
12·   ·debtor in a bankruptcy case that is pending in the       12·   ·documents on the screen.· I'm not attempting to trick
13·   ·Northern District of Texas.                              13·   ·you in any way.· If you believe there is any of
14·   · · · · · · Do you recall any of that?                    14·   ·portion of a document that you need to see, either to
15·   · · ·A.· · ·Yes.                                          15·   ·put something in context or to refresh your
16·   · · ·Q.· · ·Okay.· And we are here today for your         16·   ·recollection, I encourage to let me know that, and I
17·   ·deposition, and I appreciate your compliance with the    17·   ·will be happy to accommodate you.· Okay?
18·   ·subpoena.· Just a few ground rules to remind you, I'm    18·   · · ·A.· · ·Okay.
19·   ·going to ask you a series of questions, and it's         19·   · · ·Q.· · ·Okay.· Have you seen the subpoena that the
20·   ·important that you allow me to finish my question        20·   ·debtors served on your lawyer in this case?
21·   ·before you begin your answer; is that fair?              21·   · · ·A.· · ·The one relating to my deposition?
22·   · · ·A.· · ·Yes.                                          22·   · · ·Q.· · ·Correct.
23·   · · ·Q.· · ·And I will attempt to give you the same       23·   · · ·A.· · ·Yes.
24·   ·courtesy, but if for some reason I step on your words,   24·   · · ·Q.· · ·And are you here today pursuant to that
25·   ·just let me know that because I don't mean to cut you    25·   ·subpoena?
                                                       Page 8                                                          Page 9
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · ·A.· · ·Yes.                                          ·2·   ·BY MR. MORRIS:
·3·   · · ·Q.· · ·So today's deposition concerns a particular   ·3·   · · ·Q.· · ·Okay.· Have you seen this before,
·4·   ·motion that the debtor filed recently where the debtor   ·4·   ·Mr. Scott?
·5·   ·is seeking to hold certain individuals and entities in   ·5·   · · ·A.· · ·Yes.
·6·   ·contempt of court.· Have you seen or reviewed the        ·6·   · · ·Q.· · ·Do you know what it is?
·7·   ·debtor's motion that was filed?                          ·7·   · · ·A.· · ·It's the -- yes.· The DAF CLO HoldCo
·8·   · · ·A.· · ·I have seen the e-mails which I kept, but I   ·8·   ·structure chart.
·9·   ·have not read them.                                      ·9·   · · ·Q.· · ·And this is structure chart that you
10·   · · ·Q.· · ·Okay.· I want to just begin with some         10·   ·produced in response to the subpoena; is that right?
11·   ·background.                                              11·   · · ·A.· · ·Correct.
12·   · · · · · · MR. MORRIS:· And then I would ask Ms.         12·   · · ·Q.· · ·You are familiar with the gentleman named
13·   · · · Canty to put up what we will mark as                13·   ·Mark Patrick; is that right?
14·   · · · Exhibit -- you know, let's pick up the              14·   · · ·A.· · ·Yes.
15·   · · · numbering from this morning, La Asia.· Did          15·   · · ·Q.· · ·Is it your understanding that Mr. Patrick
16·   · · · we use 7 this morning?                              16·   ·was one of the individuals that helped establish the
17·   · · · · · · Actually, this is going to be Exhibit         17·   ·hierarchy that is depicted on Exhibit 1?
18·   · · · 1.· It's the same document that we had this         18·   · · ·A.· · ·Yes.
19·   · · · morning.                                            19·   · · ·Q.· · ·And what is the basis for that
20·   · · · · · · MS. CANTY:· Yes.                              20·   ·understanding?
21·   · · · · · · MR. MORRIS:· We will call it Exhibit          21·   · · ·A.· · ·That goes back many years to the
22·   · · · 1, and it's an organizational chart.· If we         22·   ·origination of my role.
23·   · · · can just put that on the screen.                    23·   · · ·Q.· · ·Okay.· And do you recall that you assumed
24·   · · · · · · (Deposition Exhibit 1 was marked for          24·   ·your role in or around 2012?
25·   ·identification.)                                         25·   · · ·A.· · ·Yes.

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       Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 4 of
        Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 365 of 852 PageID 2270
                                                      Page 10                                                         Page 11
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · ·Q.· · ·Okay.· Did you know Mr. Patrick prior to      ·2·   ·here, for the period for approximately 10 years prior
·3·   ·the time that you assumed your role?                     ·3·   ·to March 24th, 2021, you served as the managing member
·4·   · · ·A.· · ·I did not.                                    ·4·   ·of the charitable DAF GP, LLC, correct?
·5·   · · ·Q.· · ·Okay.· Do you know -- withdrawn.              ·5·   · · ·A.· · ·Correct.
·6·   · · · · · · Do you have any knowledge as to whether       ·6·   · · ·Q.· · ·And for approximately 10 years prior to
·7·   ·anybody other than Mr. Patrick helped establish the      ·7·   ·March 30 -- 20 -- withdrawn.
·8·   ·hierarchy that is depicted on Exhibit 1?                 ·8·   · · · · · · For approximately 10 years prior to March
·9·   · · ·A.· · ·There was a law firm name that came to        ·9·   ·24th, 2021, you were the sole director of charitable
10·   ·mind, and there was an expert, I gather, a lawyer that   10·   ·DAF HoldCo, LTD, correct?
11·   ·was familiar with charitable entities that I believe     11·   · · ·A.· · ·Correct.
12·   ·was involved.                                            12·   · · ·Q.· · ·And for approximately 10 years prior to
13·   · · ·Q.· · ·Can you identify any -- withdrawn.            13·   ·March 24th, 2021, you were the sole director of
14·   · · · · · · At the time that you understood Mr. Patrick   14·   ·charitable DAF Fund LP, correct?
15·   ·had helped to create this hierarchy, did you             15·   · · ·A.· · ·I believe that is correct.
16·   ·understand who employed Mr. Patrick?                     16·   · · ·Q.· · ·And for approximately 10 years prior to
17·   · · ·A.· · ·Yes.· I believe so.                           17·   ·March 24, 2021, you served as the sole director of CLO
18·   · · ·Q.· · ·Who did you believe Mr. Patrick worked for    18·   ·HoldCo Limited, correct?
19·   ·at that time?                                            19·   · · ·A.· · ·Yes.· That is correct.
20·   · · ·A.· · ·Highland Capital Management.                  20·   · · ·Q.· · ·Did you serve in any capacity for any other
21·   · · ·Q.· · ·Can you identify any other person at          21·   ·entity that is depicted on this sheet at any time
22·   ·Highland Capital Management who was involved in the      22·   ·prior to March 24th, 2021?
23·   ·creation of this hierarchy?                              23·   · · ·A.· · ·If you go -- if you look at the top of that
24·   · · ·A.· · ·No.                                           24·   ·chart where it's directed at the charitable giving
25·   · · ·Q.· · ·Okay.· Now for looking at the hierarchy       25·   ·components, I had some involvement with various
                                                      Page 12                                                         Page 13
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   ·members of some of those organizations.                  ·2·   · · ·Q.· · ·But your intent is to resign as the
·3·   · · ·Q.· · ·And would they be the ones that are           ·3·   ·director of CLO HoldCo Limited; is that right?
·4·   ·labelled as third parties or as supporting               ·4·   · · ·A.· · ·Yes.
·5·   ·organizations?                                           ·5·   · · ·Q.· · ·And the only reason that that hasn't
·6·   · · ·A.· · ·The -- the third party organizations.         ·6·   ·happened yet, is it fair to say, is for administrative
·7·   ·And -- and possibly the supporting organizations.        ·7·   ·reasons?
·8·   · · ·Q.· · ·Do you know what the difference is between    ·8·   · · · · · · MR. BRIDGES:· Objection.· Assumes
·9·   ·a third party and a supporting organization as those     ·9·   · · · facts not in evidence.
10·   ·phrases are used on Exhibit 1?                           10·   ·BY MR. MORRIS:
11·   · · ·A.· · ·I don't recall anymore what the delineation   11·   · · ·Q.· · ·You can answer.
12·   ·is between those two.                                    12·   · · ·A.· · ·I --
13·   · · ·Q.· · ·Okay.· Do you hold any position today with    13·   · · ·Q.· · ·Withdrawn.· I will ask a different
14·   ·any of the entities that are depicted on Exhibit 1?      14·   ·question.
15·   · · ·A.· · ·I do not -- I do not believe so.· Well, I     15·   · · · · · · Do you know why your intended resignation
16·   ·believe technically, I'm still -- I may still be a       16·   ·from CLO HoldCo Limited has not yet become effective?
17·   ·director of CLO HoldCo, but I -- I'm not certain of      17·   · · · · · · MR. BRIDGES:· The same objection.
18·   ·the status as of today.                                  18·   · · · Facts not in evidence.
19·   · · ·Q.· · ·Is there a particular reason why you may      19·   ·BY MR. MORRIS:
20·   ·remain today as a director of CLO HoldCo Limited?        20·   · · ·Q.· · ·You can go ahead.
21·   · · ·A.· · ·I don't know if the -- I don't know if the    21·   · · · · · · MR. KANE:· I object to form, also.
22·   ·transfer after my resignation has been completely        22·   · · · · · · Grant, go ahead.
23·   ·finalized, and I haven't -- yeah.· I don't know how      23·   · · · · · · THE WITNESS:· I do not.
24·   ·close it is to being completely finalized.· I'm not --   24·   ·BY MR. MORRIS:
25·   ·I'm not sure.                                            25·   · · ·Q.· · ·Okay.· Do you hold any positions of any

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       Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 5 of
        Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 366 of 852 PageID 2271
                                                      Page 14                                                         Page 15
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   ·kind today with any entity that you believe is either    ·2·   · · · trying to figure out Grant's -- you know,
·3·   ·directly or indirectly owned or controlled by            ·3·   · · · whether he has a --
·4·   ·Mr. Dondero?                                             ·4·   · · · · · · MR. MORRIS:· That is all right.· I'm
·5·   · · ·A.· · ·I don't believe so.                           ·5·   · · · moving on anyway.
·6·   · · ·Q.· · ·Do you have -- I'm just going to explore      ·6·   · · · · · · MR. KANE:· Appreciate it.
·7·   ·that for a little bit.                                   ·7·   ·BY MR. MORRIS:
·8·   · · · · · · Do you know have -- do you know whether you   ·8·   · · ·Q.· · ·Now looking at the chart, Mr. Scott, I
·9·   ·continue to HoldCo any position with any NexBank         ·9·   ·believe you testified that you were either the
10·   ·entity?                                                  10·   ·managing member or a director of each of the DAF
11·   · · ·A.· · ·I'm not in -- no, I don't have any            11·   ·entities and CLO HoldCo Limited.
12·   ·involvement with NexBank.                                12·   · · · · · · Do I have that right?
13·   · · ·Q.· · ·Okay.                                         13·   · · ·A.· · ·I believe that is correct.
14·   · · · · · · MR. KANE:· Hey, John, can you shed a          14·   · · ·Q.· · ·All right.· Is it your understanding that
15·   · · · little light on why that is relevant?               15·   ·Mr. --
16·   · · · · · · MR. MORRIS:· I'm just trying to find          16·   · · ·A.· · ·Excuse me.· I am sorry.· Currently or was?
17·   · · · connections between Mr. Scott and                   17·   · · ·Q.· · ·Was.· Up until March 24th.
18·   · · · Mr. Dondero because I -- I just -- I                18·   · · ·A.· · ·Okay.· Correct.
19·   · · · think -- I think the purpose of the                 19·   · · ·Q.· · ·All right.· Let me ask the question again
20·   · · · deposition is to try to -- to try to deduce         20·   ·so it's clean.
21·   · · · facts that are related to whether or not            21·   · · · · · · Did you serve as either the managing member
22·   · · · Mr. Dondero is going to be a responsible            22·   ·or the director for each of the charitable DAF
23·   · · · party under the contempt motion.· So I'm            23·   ·entities and the CLO HoldCo Limited entity for
24·   · · · just looking for --                                 24·   ·approximately 10 years prior to March 24th, 2021?
25·   · · · · · · MR. KANE:· I understand.· I'm just            25·   · · · · · · MR. KANE:· Objection.· Form.· Go
                                                      Page 16                                                         Page 17
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · · ahead, Grant.                                       ·2·   ·you were the only person to serve in that capacity; is
·3·   · · · · · · (Reporter clarification.)                     ·3·   ·that correct?
·4·   · · · · · · THE WITNESS:· I believe so.                   ·4·   · · ·A.· · ·I believe so.
·5·   ·BY MR. MORRIS:                                           ·5·   · · ·Q.· · ·And during the period that you served as
·6·   · · ·Q.· · ·And is it your understanding that Mr. Mark    ·6·   ·director of charitable DAF HoldCo Limited, that entity
·7·   ·Patrick replaced you in those capacities on or about     ·7·   ·had no officers or employees, correct?
·8·   ·March 24th, 2021?                                        ·8·   · · ·A.· · ·I believe that is correct.
·9·   · · ·A.· · ·It's my understanding that on March 24th,     ·9·   · · ·Q.· · ·During the time that you served as a
10·   ·the management shares that I had previously -- that      10·   ·director of charitable DAF Fund LP, you were the sole
11·   ·had been in my name were transferred to him.· I am not   11·   ·director of that entity, correct?
12·   ·sure how that impacts the current status in the          12·   · · ·A.· · ·Correct.
13·   ·various other entities.                                  13·   · · ·Q.· · ·And during the time that you served as the
14·   · · ·Q.· · ·Okay.· During the time that you served as     14·   ·sole director of charitable DAF Fund LP, that entity
15·   ·the managing member of the charitable DAF GP LLC, that   15·   ·had no officers or employees, correct?
16·   ·entity had no officers or employees, correct?            16·   · · ·A.· · ·I believe that is correct.
17·   · · ·A.· · ·I believe that is correct.                    17·   · · ·Q.· · ·You served as the sole director of CLO
18·   · · · · · · MR. KANE:· Object to the form.                18·   ·HoldCo Limited; is that right?
19·   ·BY MR. MORRIS:                                           19·   · · ·A.· · ·Yes.· That is correct.
20·   · · ·Q.· · ·And you served as the sole director of that   20·   · · ·Q.· · ·And during the period that you served as
21·   ·entity during the time that you served as the            21·   ·the sole director of CLO HoldCo Limited, that entity
22·   ·director, correct?                                       22·   ·had no officers or employees, correct?
23·   · · ·A.· · ·I believe that is correct.                    23·   · · ·A.· · ·That is correct.
24·   · · ·Q.· · ·And during the period of time that you        24·   · · ·Q.· · ·Is that why the DAF had certain agreements
25·   ·served as a director of charitable DAF HoldCo Limited,   25·   ·with Highland Capital Management LP pursuant to which

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       Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 6 of
        Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 367 of 852 PageID 2272
                                                      Page 18                                                         Page 19
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   ·HCMLP provided back office and advisory and investment   ·2·   ·BY MR. MORRIS:
·3·   ·services?                                                ·3·   · · ·Q.· · ·Grant, do you have anything else to add?
·4·   · · · · · · MR. KANE:· Objection.· Form.                  ·4·   · · ·A.· · ·You had asked me -- you asked about a
·5·   · · · · · · THE WITNESS:· I think that is                 ·5·   ·specific date, I think, 2014.· I just -- I don't know
·6·   · · · correct.                                            ·6·   ·what the dates are or were.
·7·   ·BY MR. MORRIS:                                           ·7·   · · ·Q.· · ·That is what I heard you say.· Is there
·8·   · · ·Q.· · ·Do you recall that that DAF had agreements    ·8·   ·anything else that you have to add?
·9·   ·with Highland Capital Management that were amended and   ·9·   · · ·A.· · ·No, I don't -- I don't think so.
10·   ·restated in 2014?                                        10·   · · ·Q.· · ·I didn't think so either.
11·   · · · · · · MR. KANE:· Objection.· Form.                  11·   · · · · · · MR. MORRIS:· Let's go to Exhibit 8,
12·   · · · · · · THE WITNESS:· I understand there were         12·   · · · please, the next document.
13·   · · · various agreements over the years that had          13·   · · · · · · (Deposition Exhibit 8 was marked for
14·   · · · been restated.· I'm not entirely sure               14·   ·identification.)
15·   · · · anymore of the dates that we received               15·   · · · · · · MR. MORRIS:· Okay.· If we could just
16·   · · · that --                                             16·   · · · scroll down a little bit.· Just to the
17·   · · · · · · MR. MORRIS:· Okay.· Let's mark --             17·   · · · e-mail.
18·   · · · · · · THE WITNESS:· I'm sorry?                      18·   ·BY MR. MORRIS:
19·   · · · · · · MR. MORRIS:· Let's mark as Exhibit            19·   · · ·Q.· · ·All right.· Were you familiar with Caitlin
20·   · · · 8 --                                                20·   ·Nelson and Helen Kim and Thomas Surgent and David Klos
21·   · · · · · · MR. BRIDGES:· Objection.· Objection.          21·   ·in and around August 2004?
22·   · · · Please let the witness answer his question.         22·   · · ·A.· · ·I believe they were all Highland employees.
23·   · · · · · · MR. MORRIS:· Let's mark this --               23·   · · ·Q.· · ·Okay.
24·   · · · · · · MR. BRIDGES:· No.· Please allow the           24·   · · · · · · MR. MORRIS:· Can we just scroll up to
25·   · · · witness to continue his answer.                     25·   · · · the next e-mail, please?
                                                      Page 20                                                         Page 21
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   ·BY MR. MORRIS:                                           ·2·   ·GP LLC, as well as Highland Capital Management LP.
·3·   · · ·Q.· · ·Okay.· Do you see that Mrs. Kim sends you     ·3·   · · · · · · Do you see that?
·4·   ·an e-mail on August 26th, 2014?                          ·4·   · · ·A.· · ·I do see that.
·5·   · · ·A.· · ·Yes.· I see that.                             ·5·   · · ·Q.· · ·Do you recall that the entity that is
·6·   · · ·Q.· · ·And do you see that she had attached for      ·6·   ·commonly referred to as the DAF had a service
·7·   ·your review and execution, drafts of an amended and      ·7·   ·agreement with Highland Capital Management LP?
·8·   ·restated service agreement and amended and restated      ·8·   · · ·A.· · ·I believe that is correct.· Yes.
·9·   ·advisory agreement and GP resolutions?                   ·9·   · · ·Q.· · ·Do you recall whether -- whether the
10·   · · ·A.· · ·I do see that.                                10·   ·service agreement was ever the subject of any
11·   · · ·Q.· · ·Okay.· Do you have any recollection as to     11·   ·negotiations?
12·   ·whose idea it was to amend and restate those             12·   · · ·A.· · ·I don't know.
13·   ·agreements at that moment in time?                       13·   · · ·Q.· · ·Did you participate in any negotiations
14·   · · ·A.· · ·I do not.                                     14·   ·concerning the service agreement that was entered --
15·   · · ·Q.· · ·Do you have any recollection as to why        15·   ·entered in between the entity known as the DAF and
16·   ·those agreements were amended and restated at that       16·   ·Highland Capital Management LP?
17·   ·time?                                                    17·   · · · · · · MR. KANE:· Objection to form.
18·   · · ·A.· · ·No, I do not.                                 18·   · · · · · · John, will you clarify the time
19·   · · ·Q.· · ·Okay.· Let's just scroll down and just show   19·   · · · period?
20·   ·Mr. Scott the agreements.· I'm not going to ask          20·   ·BY MR. MORRIS:
21·   ·anything substantive about it.· But do you see here is   21·   · · ·Q.· · ·Right here.· 2014.
22·   ·the -- if we can stop right there -- the Amended and     22·   · · ·A.· · ·Sir, I don't recall anything about this
23·   ·Restated Service Agreement that is dated from the        23·   ·with respect to 2014.
24·   ·first day of July, 2014, and it's between the DAF        24·   · · ·Q.· · ·Do you know if -- if the agreement was ever
25·   ·Fund -- the charitable DAF Fund LP, the charitable DAF   25·   ·amended at any time after 2014?· And when I use the

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       Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 7 of
        Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 368 of 852 PageID 2273
                                                      Page 22                                                         Page 23
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   ·phrase "agreement," I'm specifically referring to the    ·2·   · · · · · · THE WITNESS:· I don't -- I don't
·3·   ·Amended and Restated Service Agreement that we are       ·3·   · · · know.
·4·   ·looking at.                                              ·4·   ·BY MR. MORRIS:
·5·   · · ·A.· · ·I believe -- I think there was a further      ·5·   · · ·Q.· · ·Can you recall the name of any law firm
·6·   ·amended and restated agreement.                          ·6·   ·that was involved in the drafting or the negotiation
·7·   · · ·Q.· · ·Okay.· Did you participate in any             ·7·   ·of any service agreement between the entity known as
·8·   ·negotiations concerning that further amended and         ·8·   ·the DAF and Highland Capital Management LP?
·9·   ·restated agreement?                                      ·9·   · · · · · · MR. KANE:· Objection.· Form.
10·   · · ·A.· · ·I don't remember.                             10·   · · · · · · THE WITNESS:· I don't remember any.
11·   · · ·Q.· · ·Do you remember offering any comments         11·   ·BY MR. MORRIS:
12·   ·concerning any subsequent amendment or restatement?      12·   · · ·Q.· · ·Can you recall during your tenure as the
13·   · · ·A.· · ·I don't -- I don't remember.                  13·   ·managing member of the DAF GP LLC, whether there was
14·   · · ·Q.· · ·Did you ever hire outside counsel to assist   14·   ·any particular term or provision in any service
15·   ·you in the negotiation of any service agreements with    15·   ·agreement that was the subject of negotiation or even
16·   ·Highland Capital Management LP?                          16·   ·discussion?
17·   · · ·A.· · ·I did not.                                    17·   · · ·A.· · ·I don't remember those -- any of those
18·   · · ·Q.· · ·Do you -- do you recall who prepared each     18·   ·discussions.
19·   ·of the service agreements to which the DAF was a         19·   · · ·Q.· · ·Do you know if they took place or you just
20·   ·party?                                                   20·   ·can't remember them?
21·   · · ·A.· · ·I don't remember.                             21·   · · ·A.· · ·I just can't remember them.
22·   · · ·Q.· · ·To the best of your recollection, would it    22·   · · ·Q.· · ·Do you recall ever seeing multiple drafts
23·   ·have been inhouse counsel at Highland Capital            23·   ·of any service agreement that you -- withdrawn.
24·   ·Management?                                              24·   · · · · · · Did you personally sign service agreements
25·   · · · · · · MR. KANE:· Objection.· Form.                  25·   ·on behalf of the entity known as the DAF?
                                                      Page 24                                                         Page 25
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · ·A.· · ·I believe so.                                 ·2·   ·acting out of their own self interest?
·3·   · · ·Q.· · ·And the agreements that you signed on         ·3·   · · · · · · MR. KANE:· Objection.
·4·   ·behalf of that entity, were any of them -- were there    ·4·   · · · · · · MR. BRIDGES:· Objection to form and
·5·   ·multiple drafts of any such agreement?                   ·5·   · · · foundation.
·6·   · · ·A.· · ·There were frequently multiple drafts or      ·6·   ·BY MR. MORRIS:
·7·   ·agreements.· But I just don't remember them.             ·7·   · · ·Q.· · ·Withdrawn.· Withdrawn.
·8·   · · ·Q.· · ·Do you remember whether you personally ever   ·8·   · · · · · · MR. BRIDGES:· Calls for a legal
·9·   ·provided any comments to any particular draft?           ·9·   · · · opinion.
10·   · · ·A.· · ·I do not.                                     10·   ·BY MR. MORRIS:
11·   · · ·Q.· · ·Let me ask you this:· Are you familiar with   11·   · · ·Q.· · ·Mr. Scott, do you believe that the service
12·   ·the phrase "arm's length negotiations"?                  12·   ·agreements between the entity known as the DAF and
13·   · · ·A.· · ·Yes.                                          13·   ·the -- and Highland Capital Management LP were arm's
14·   · · ·Q.· · ·And can you tell me what your understanding   14·   ·length agreements?
15·   ·is of an arm's length negotiation?                       15·   · · · · · · MR. BRIDGES:· Objection.· Again, lack
16·   · · ·A.· · ·Well, it would depend on the nature of the    16·   · · · of foundation, calls for a legal opinion.
17·   ·parties.· For example, a -- two strangers would          17·   · · · · · · MR. MORRIS:· Okay.· I'm not asking
18·   ·have -- arm's length would differ from the nature of     18·   · · · for a legal opinion.· I'm asking for
19·   ·an agreement between parties maybe having fiduciary or   19·   · · · Mr. Scott's view of it, so I will try one
20·   ·related obligations.                                     20·   · · · more time.
21·   · · ·Q.· · ·Let me ask you this --                        21·   ·BY MR. MORRIS:
22·   · · ·A.· · ·I don't know what the black -- I don't know   22·   · · ·Q.· · ·Mr. Scott, do you believe that the service
23·   ·what the blackball definition is to that term.           23·   ·agreements between the DAF and HCMLP were the subject
24·   · · ·Q.· · ·Would you agree that arm's length             24·   ·and result of arm's length negotiations?
25·   ·negotiations take place between two parties that are     25·   · · · · · · MR. BRIDGES:· Objection.· Foundation,

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       Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 8 of
        Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 369 of 852 PageID 2274
                                                      Page 46                                                         Page 47
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · ·A.· · ·Why did I send it at the end of January?      ·2·   ·continue with the time commitment required.· I had
·3·   · · ·Q.· · ·What caused you to send this e-mail at that   ·3·   ·made various promises and representations to my firm
·4·   ·moment in time?                                          ·4·   ·throughout 2020 that the bankruptcy would be handled
·5·   · · ·A.· · ·Well, I mean, there are a couple of           ·5·   ·relatively efficiently and wouldn't require a great
·6·   ·reasons.· It was -- it was necessary that I do it, and   ·6·   ·deal of time commitment.· And then I guess the straw
·7·   ·the time seemed right in view of the events in           ·7·   ·that broke the camel's back was the second lawsuit,
·8·   ·January.· It was like a good transition point from my    ·8·   ·meaning me personally, and it just -- from a personal
·9·   ·perspective.                                             ·9·   ·standpoint, the most significant factor was just my --
10·   · · ·Q.· · ·And why was it necessary at that time?        10·   ·my being overwhelmed, trying to sustain my career and
11·   · · ·A.· · ·Well, there was --                            11·   ·engage in what seem like the 2021 that was going to
12·   · · · · · · MR. BRIDGES:· Objection.· Assumes             12·   ·involve my having to defend two lawsuits.· And I felt
13·   · · · facts not in evidence.                              13·   ·like I got CLO HoldCo through the bankruptcy and then
14·   ·BY MR. MORRIS:                                           14·   ·that was a good jumping off point.
15·   · · ·Q.· · ·You can answer.                               15·   · · ·Q.· · ·What -- why did you send this e-mail to
16·   · · ·A.· · ·I previously testified during this            16·   ·Mr. Dondero?
17·   ·deposition that throughout 2020, the desire -- or,       17·   · · ·A.· · ·I knew, or at least I reasonably believed
18·   ·rather, the appropriateness of my wanting to resign      18·   ·he would know where to who to send it to because I
19·   ·was expanding, and based on what had happened in         19·   ·wasn't exactly sure.
20·   ·January and December as well, but mostly January, I      20·   · · ·Q.· · ·So you were the managing member of the
21·   ·basically just did a critical mass on whether I could    21·   ·general partnership and the director of the other DAF
22·   ·sustain my role, given my commitments to my existing     22·   ·entities and CLO HoldCo Limited, and you were not sure
23·   ·firm and given my discussions with the managing          23·   ·who to send your notice of resignation to.
24·   ·members of my existing firm.                             24·   · · · · · · Do I have that right?
25·   · · · · · · And it -- there was just no way I could       25·   · · · · · · MR. KANE:· Objection.· Form.· That's
                                                      Page 48                                                         Page 49
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · · John Kane.                                          ·2·   · · ·A.· · ·No.
·3·   · · · · · · THE WITNESS:· Yes.· I didn't know who         ·3·   · · ·Q.· · ·Looking at the third paragraph, it says,
·4·   · · · best to inform my decision.                         ·4·   ·quote, my resignation will not be effective until I
·5·   ·BY MR. MORRIS:                                           ·5·   ·approve of the indemnification provisions and obtain
·6·   · · ·Q.· · ·And why did you think that Mr. Dondero        ·6·   ·any and all releases.
·7·   ·would know?                                              ·7·   · · · · · · Do you see that?
·8·   · · · · · · MR. BRIDGES:· Objection.· Asked and           ·8·   · · ·A.· · ·Yes.
·9·   · · · answered.                                           ·9·   · · ·Q.· · ·Why did you condition the effectiveness of
10·   · · · · · · THE WITNESS:· He knows a lot more             10·   ·your resignation on those things?
11·   · · · about the workings of -- I mean, it was --          11·   · · ·A.· · ·Well, although I'm a patent attorney and
12·   · · · CLO HoldCo and the charitable admission was         12·   ·basically just a technical writer that doesn't deal
13·   · · · something that he worked to develop with            13·   ·with legal issues all of the time, it seemed like
14·   · · · others 10 years ago, and he was committed           14·   ·appropriate language.
15·   · · · to the charity and he knew all of the               15·   · · · · · · I have a number of outstanding litigations
16·   · · · players and I just -- I guess I just                16·   ·where I am named personally, and the actions that I
17·   · · · assumed he would know where to direct it.           17·   ·took which resulted in my being sued were actions I
18·   ·BY MR. MORRIS:                                           18·   ·took on behalf of CLO HoldCo solely in that position,
19·   · · ·Q.· · ·Did you ever ask?                             19·   ·and so I thought just to have the appropriate notice
20·   · · ·A.· · ·He knew how to effectuate -- he knew how to   20·   ·that I would like indemnification to help -- to help
21·   ·effectuate -- or I thought he knew how to effectuate     21·   ·deal with those litigation matters.· That is all.
22·   ·my resignation by directing it to the appropriate        22·   · · ·Q.· · ·Did anybody suggest to you at any time
23·   ·personnel.                                               23·   ·prior to the time that you sent this e-mail, that any
24·   · · ·Q.· · ·Did you ever ask him who it should be         24·   ·of the DAF entities or CLO HoldCo Limited might have
25·   ·directed to?                                             25·   ·claims against you?

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       Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 9 of
        Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 370 of 852 PageID 2275
                                                      Page 50                                                         Page 51
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · ·A.· · ·No.· No.                                      ·2·   · · · · · · MR. BRIDGES:· Objection.· Facts not
·3·   · · ·Q.· · ·Were you concerned that Mr. Dondero or        ·3·   · · · in evidence.
·4·   ·anyone acting on his behalf might sue you?               ·4·   ·BY MR. MORRIS:
·5·   · · ·A.· · ·No.                                           ·5·   · · ·Q.· · ·Withdrawn.
·6·   · · ·Q.· · ·Did Mr. Dondero ever threaten to sue you?     ·6·   · · · · · · When you refer to any and all necessary
·7·   · · ·A.· · ·No.                                           ·7·   ·releases, who did you want to obtain releases from?
·8·   · · ·Q.· · ·Did you ever obtain the Indemnity provision   ·8·   · · ·A.· · ·CLO HoldCo.
·9·   ·and any and all necessary releases that you asked for    ·9·   · · ·Q.· · ·Anybody else?
10·   ·in this e-mail?                                          10·   · · ·A.· · ·Well, I mean, and -- and the related
11·   · · ·A.· · ·Not yet.                                      11·   ·entities in that structure chart that you showed.
12·   · · ·Q.· · ·And what does that mean?                      12·   ·I'm -- I'm -- understand that to me, that is just
13·   · · ·A.· · ·I understand that those provisions are --     13·   ·boilerplate legal language to put in a resignation,
14·   ·indemnification proposals are in the works, I think.     14·   ·you know, just to cross the T's, dot the I's, so to
15·   · · ·Q.· · ·And do you know who is negotiating --         15·   ·speak.· I'm not anticipating that will be -- that will
16·   ·withdrawn.                                               16·   ·be a problem.· I am sorry.
17·   · · · · · · Is somebody negotiating those                 17·   · · ·Q.· · ·You asked for this more than three months
18·   ·indemnification and release provisions on your behalf?   18·   ·ago now, right?
19·   · · ·A.· · ·My -- my attorney would be.                   19·   · · ·A.· · ·Correct.
20·   · · ·Q.· · ·And do you know if your attorney is           20·   · · ·Q.· · ·Do you know why you haven't gotten what you
21·   ·negotiating with anybody concerning potential            21·   ·asked for more than three months ago?
22·   ·indemnification and release provisions for you?          22·   · · · · · · MR. BRIDGES:· Objection.· Form.
23·   · · ·A.· · ·I don't know specifically, no.                23·   · · · · · · THE WITNESS:· I -- I don't.
24·   · · ·Q.· · ·Do you know if he is -- if -- from whom do    24·   ·BY MR. MORRIS:
25·   ·you want to obtain releases?                             25·   · · ·Q.· · ·But you still want the releases, right?
                                                      Page 52                                                         Page 53
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · ·A.· · ·I would like to, yes.                         ·2·   · · · at -- let's scroll up a little bit, please.
·3·   · · ·Q.· · ·Did you ever have any discussion with         ·3·   ·BY MR. MORRIS:
·4·   ·Mr. Dondero about the releases that you wanted?          ·4·   · · ·Q.· · ·Did Mr. Dondero ever try to talk you out of
·5·   · · ·A.· · ·No.                                           ·5·   ·resigning?
·6·   · · ·Q.· · ·Have you communicated with Mr. Dondero        ·6·   · · ·A.· · ·No.
·7·   ·since -- since you sent this e-mail?                     ·7·   · · · · · · MR. MORRIS:· Can you scroll up?
·8·   · · ·A.· · ·Yes.                                          ·8·   · · · · · · THE WITNESS:· I -- I am sorry. I
·9·   · · ·Q.· · ·Other than the birth date text that he sent   ·9·   · · · need to correct that.· I had conversations
10·   ·to you, have you spoken with him?                        10·   · · · with him where I had expressed, not so much
11·   · · ·A.· · ·In February.                                  11·   · · · a desire to resign, but a belief that it --
12·   · · ·Q.· · ·So you haven't spoken to him since then?      12·   · · · it made strategic sense or was appropriate.
13·   · · ·A.· · ·That is correct.                              13·   · · · And it had to do with this issue of my
14·   · · ·Q.· · ·What did you speak to him about in            14·   · · · independence, and he suggested that family
15·   ·February?                                                15·   · · · members and friends are not precluded from
16·   · · ·A.· · ·He called me to ask me if I knew anything     16·   · · · occupying positions of trust like trustees
17·   ·about in particular -- I think it might have been an     17·   · · · and things like that, and that there was
18·   ·asset of CLO HoldCo, if I was aware of whether it had    18·   · · · nothing per se wrong with my -- my activity
19·   ·been purchased or sold, and I just told them I didn't    19·   · · · with CLO HoldCo by virtue of being a friend
20·   ·know what he was -- I didn't know what -- I didn't       20·   · · · of his.· So in that sense, he was trying to
21·   ·know what he was referring to.· That was the last        21·   · · · talk me out of that, I guess.
22·   ·conversation that we had.                                22·   ·BY MR. MORRIS:
23·   · · ·Q.· · ·Can I refer to the period from the date of    23·   · · ·Q.· · ·When did that conversation take place?
24·   ·this --                                                  24·   · · ·A.· · ·We had a number of those in 2020 and
25·   · · · · · · MR. MORRIS:· Actually, let's look             25·   ·January of 2021.

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      Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 10 of
        Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 371 of 852 PageID 2276
                                                      Page 54                                                         Page 55
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · · · · · MR. MORRIS:· Can we scroll up just a          ·2·   ·selling assets?
·3·   · · · little bit on this e-mail, please?                  ·3·   · · ·A.· · ·No.· It wasn't -- it was a misunderstanding
·4·   · · · · · · MR. BRIDGES:· May I ask what exhibit          ·4·   ·about what the word "divest" meant in the subject
·5·   · · · number this is?· I've lost track.· I am             ·5·   ·line.
·6·   · · · sorry.                                              ·6·   · · ·Q.· · ·And did you understand that until you
·7·   · · · · · · MS. CANTY:· This is Exhibit 5 from            ·7·   ·corrected him, he was concerned and he expressed the
·8·   · · · earlier.· We are continuing the numbers.            ·8·   ·concern to you not to sell any assets?
·9·   · · · So this was marked as Exhibit 5 in this             ·9·   · · · · · · MR. KANE:· Objection to form.
10·   · · · morning's deposition.                               10·   · · · · · · THE WITNESS:· No.· It had -- I am
11·   · · · · · · MR. BRIDGES:· Thank you so much.              11·   · · · sorry.· There -- the term "divest" was
12·   ·BY MR. MORRIS:                                           12·   · · · maybe not a term I should have used.
13·   · · ·Q.· · ·Do you see where Mr. Dondero wrote to         13·   · · · However, my understanding was that my -- my
14·   ·you -- it's just of above the yellow highlighting        14·   · · · status at CLO HoldCo had a property related
15·   ·at -- 9:57 a.m.· This is the next day.· Quote, you       15·   · · · aspect to it.· And I used that term to
16·   ·need to tell me ASAP that you have no intent to divest   16·   · · · emphasize that I would need to -- that that
17·   ·assets.                                                  17·   · · · property aspect would need to be
18·   · · · · · · Do you see that?                              18·   · · · transferred, meaning to the next entity or
19·   · · ·A.· · ·Yes.                                          19·   · · · person.· He mistook it as something being
20·   · · ·Q.· · ·Did Mr. -- do you have any understanding as   20·   · · · sold.· It had nothing to do with that.
21·   ·to why he said that to you?                              21·   · · · That is all.
22·   · · ·A.· · ·I know that he was mistaken in that           22·   ·BY MR. MORRIS:
23·   ·statement.                                               23·   · · ·Q.· · ·I understand that.· But did you
24·   · · ·Q.· · ·Right.· Do you have any understanding as to   24·   ·understand -- did you have any understanding as to
25·   ·whether Mr. Dondero had the ability to stop you from     25·   ·what interest he had and whether or not assets were
                                                      Page 56                                                         Page 57
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   ·being sold?                                              ·2·   ·your liaison with respect to matters concerning the --
·3·   · · · · · · MR. BRIDGES:· Object to form.                 ·3·   ·the DAF entities and the CLO HoldCo during the interim
·4·   · · · · · · MR. KANE:· Objection.· Asked and              ·4·   ·period?
·5·   · · · answered.                                           ·5·   · · · · · · MR. KANE:· Objection.· Form.
·6·   ·BY MR. MORRIS:                                           ·6·   · · · · · · THE WITNESS:· I had conversations
·7·   · · ·Q.· · ·You can answer.                               ·7·   · · · with Mark Patrick in February when I came
·8·   · · ·A.· · ·No.· I had -- I had no idea what he was --    ·8·   · · · to -- to believe he -- he would be director
·9·   · · ·Q.· · ·Okay.· Let's -- let's -- can we -- can we     ·9·   · · · elect, so to speak, in terms -- in terms of
10·   ·call the period of time between the time you sent this   10·   · · · moving forward.
11·   ·notice of your intent to resign in March 24, 2021 as     11·   ·BY MR. MORRIS:
12·   ·the interim period?                                      12·   · · ·Q.· · ·During the interim period, did you have any
13·   · · ·A.· · ·Sure.                                         13·   ·understanding as to whether Mr. Patrick had any
14·   · · ·Q.· · ·And that's the period during which you had    14·   ·authority to act on behalf of any of the DAF entities
15·   ·expressed your intent to resign, but your resignation    15·   ·or CLO HoldCo?
16·   ·had not yet become effective; is that fair?              16·   · · · · · · MR. KANE:· Objection.· Form.
17·   · · ·A.· · ·I guess it was the period of time when --     17·   · · · · · · THE WITNESS:· I came to believe he
18·   ·yes.· I guess that is correct.                           18·   · · · did, upon signing the management shared
19·   · · ·Q.· · ·Okay.· Is it fair to say that there were      19·   · · · transfer agreement.
20·   ·certain things you needed to do during the interim       20·   ·BY MR. MORRIS:
21·   ·period on behalf of CLO HoldCo and the DAF entities      21·   · · ·Q.· · ·Okay.· So that was -- that was on or about
22·   ·before -- even before your resignation became            22·   ·March 24th, 2021, right?
23·   ·effective?                                               23·   · · ·A.· · ·Correct.
24·   · · ·A.· · ·Yes.                                          24·   · · ·Q.· · ·So I'm asking just about the interim period
25·   · · ·Q.· · ·Okay.· Was someone designated to act as       25·   ·between January 31st, 2021 when you sent your notice

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      Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 11 of
        Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 372 of 852 PageID 2277
                                                      Page 58                                                         Page 59
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   ·of intent to resign, and March 24th.· That is what I     ·2·   · · · · · · THE WITNESS:· I'm not entirely sure
·3·   ·am defining as the interim period.                       ·3·   · · · of that.
·4·   · · · · · · So with that understanding, did you have      ·4·   ·BY MR. MORRIS:
·5·   ·any reason to believe that Mr. Patrick had any           ·5·   · · ·Q.· · ·So is --
·6·   ·authority to act on behalf of any of the DAF entities    ·6·   · · ·A.· · ·But he -- but --
·7·   ·or CLO HoldCo during the interim period?                 ·7·   · · ·Q.· · ·I am sorry.· Did you finish your answer?
·8·   · · ·A.· · ·Well, it was -- he was part of a group of     ·8·   · · ·A.· · ·I'm not -- I'm not sure of the delineation
·9·   ·entity -- a group of individuals that were with an       ·9·   ·between the two.
10·   ·entity that had taken over from -- from Highland, and    10·   · · ·Q.· · ·So on what basis did you believe that
11·   ·so in -- certainly in that capacity, he -- as -- as      11·   ·Mr. Patrick had the authority to act on behalf of the
12·   ·occurred for 10 years or more prior, that -- in that     12·   ·DAF entities and CLO HoldCo during the interim period?
13·   ·role, you certainly had rights to -- to perform or to    13·   · · · · · · MR. BRIDGES:· Objection.· Asked and
14·   ·act on CLO's behalf here.                                14·   · · · answered.
15·   · · ·Q.· · ·And what entity are you referring to?         15·   · · · · · · THE WITNESS:· We had -- we had had a
16·   · · ·A.· · ·I think it's the Highgate Consulting Group,   16·   · · · number of conversations.· And over the
17·   ·the Highland employees that took over -- or that         17·   · · · course of a number of weeks, I came to -- I
18·   ·created that entity.                                     18·   · · · came to understand that he would be the
19·   · · ·Q.· · ·And did the -- do you have an understanding   19·   · · · director going forward.· So...
20·   ·as to whether the Highgate Employment Group succeeded    20·   ·BY MR. MORRIS:
21·   ·to Highland Capital Management LP in the shared          21·   · · ·Q.· · ·How did you come to that understanding?
22·   ·services capacity or in the investment advisory          22·   · · ·A.· · ·Through the conversations that we had had,
23·   ·capacity or something else?                              23·   ·I guess.
24·   · · · · · · MR. BRIDGES:· Object to form.                 24·   · · ·Q.· · ·What conversations did you have with Mr. --
25·   · · · · · · (Reporter clarification.)                     25·   ·were these conversations with Mr. Patrick?
                                                      Page 60                                                         Page 61
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · ·A.· · ·They were conversations about the workings    ·2·   ·as to who has the authority to select your --
·3·   ·with outside counsel to arrange the -- to arrange the    ·3·   ·withdrawn.
·4·   ·transfer of my responsibilities to another person or     ·4·   · · · · · · Do you have any understanding today, as to
·5·   ·entity at first, and then I came to learn that that      ·5·   ·who had the authority to select your replacement?
·6·   ·person was -- was -- would be Mark.                      ·6·   · · ·A.· · ·I do not.
·7·   · · ·Q.· · ·Do you know who selected mark?                ·7·   · · · · · · MR. MORRIS:· All right.· Let's take a
·8·   · · ·A.· · ·I do not.                                     ·8·   · · · short break.· And I am certainly -- I'm
·9·   · · ·Q.· · ·Do you know how Mark was selected?            ·9·   · · · closer to the end than the beginning.· It's
10·   · · ·A.· · ·I -- I do not.                                10·   · · · 3:22 Eastern Time.· Let's come back at
11·   · · ·Q.· · ·Did you ever ask Mark how he was selected?    11·   · · · 3:35, please, and hopefully I will be
12·   · · ·A.· · ·I did not.                                    12·   · · · finished by about 4, 4:15.
13·   · · ·Q.· · ·Did you ever ask Mark who selected him?       13·   · · · · · · (Recess taken.)
14·   · · ·A.· · ·I did not.                                    14·   ·BY MR. MORRIS:
15·   · · ·Q.· · ·Did you ever ask anybody at any time how      15·   · · ·Q.· · ·I want to go back, Mr. Scott, to the time
16·   ·Mr. Patrick was selected to succeed you?                 16·   ·that you became appointed the managing member of the
17·   · · ·A.· · ·No, I did not.                                17·   ·general partnership and to the director of the other
18·   · · ·Q.· · ·Did you ask anybody at any time as to who     18·   ·DAF entities and CLO HoldCo.· Do you remember how that
19·   ·made the decision to select Mr. Patrick to succeed       19·   ·came to be?
20·   ·you?                                                     20·   · · ·A.· · ·My recollection is that various law firms
21·   · · ·A.· · ·No, I did not.                                21·   ·and Mark Patrick had a role in its creation and
22·   · · · · · · MR. BRIDGES:· Objection.· Facts not           22·   ·configuration following some -- it's -- I believe it's
23·   · · · in evidence and foundation.                         23·   ·modeled after some expert -- expert in the field. I
24·   ·BY MR. MORRIS:                                           24·   ·am sorry.· I don't know if I answered your question.
25·   · · ·Q.· · ·Okay.· Do you have any understanding today,   25·   · · ·Q.· · ·You did not.· So let me try it again.· Do

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      Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 12 of
        Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 373 of 852 PageID 2278
                                                      Page 62                                                         Page 63
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   ·you recall how it came to be that you assumed those      ·2·   ·BY MR. MORRIS:
·3·   ·positions?                                               ·3·   · · ·Q.· · ·Do you have any memory of interviewing with
·4·   · · ·A.· · ·Ten years ago I accepted that role.           ·4·   ·anybody?
·5·   · · ·Q.· · ·And who offered the role to you?              ·5·   · · ·A.· · ·I don't have any recollection of that, no.
·6·   · · ·A.· · ·Jim Dondero.                                  ·6·   · · ·Q.· · ·Did you submit a resume of any kind?
·7·   · · ·Q.· · ·Did -- did you communicate with anybody       ·7·   · · ·A.· · ·Possibly a CV.· But I -- I just don't
·8·   ·other than Mr. Dondero concerning the opportunity that   ·8·   ·remember anymore.
·9·   ·he presented to you to assume these roles prior to the   ·9·   · · ·Q.· · ·Do you know who made the decision to select
10·   ·time you accepted the position?                          10·   ·you to serve in those capacities?
11·   · · · · · · MR. KANE:· Objection.· Form.                  11·   · · · · · · MR. KANE:· Objection.· Form.
12·   ·BY MR. MORRIS:                                           12·   · · · · · · THE WITNESS:· I don't know.
13·   · · ·Q.· · ·Withdrawn.                                    13·   ·BY MR. MORRIS:
14·   · · ·A.· · ·Possibly or --                                14·   · · ·Q.· · ·Did anybody -- withdrawn.
15·   · · ·Q.· · ·Withdrawn.· Let me ask -- let me ask --       15·   · · · · · · Did you meet with Patrick before or after
16·   ·it's a good objection.                                   16·   ·you assumed these roles?
17·   · · · · · · Mr. Scott, prior to the time that you         17·   · · ·A.· · ·It's going back 10 years.· I -- I'm not
18·   ·assumed your positions with the DAF entities and         18·   ·sure.
19·   ·CLO HoldCo, did you speak with anybody other than        19·   · · · · · · MR. MORRIS:· Can we put up on the
20·   ·Mr. Dondero, about the duties and responsibilities of    20·   · · · screen a document that we marked this
21·   ·those positions?                                         21·   · · · morning.· I believe it's Exhibit 2.
22·   · · · · · · MR. KANE:· Objection to form.                 22·   ·BY MR. MORRIS:
23·   · · · · · · THE WITNESS:· The only thing that             23·   · · ·Q.· · ·And this is a document titled An Amended
24·   · · · comes to mind is Hunton & Williams.· But            24·   ·and Restated Limited Liability Company Agreement of
25·   · · · I -- I'm not sure.· I don't know.                   25·   ·Charitable DAF GP LLC.
                                                      Page 64                                                         Page 65
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · · · · · Do you see that?                              ·2·   · · ·A.· · ·Yes.
·3·   · · ·A.· · ·Yes.                                          ·3·   · · ·Q.· · ·And your recollection is that Mr. Dondero
·4·   · · ·Q.· · ·And do you see that it's effective January    ·4·   ·presented the opportunity to you; is that right?
·5·   ·1, 2012?                                                 ·5·   · · · · · · MR. KANE:· Objection.· Form.
·6·   · · · · · · And if we could go to the last page.· And     ·6·   · · · · · · THE WITNESS:· Yes.· I guess you could
·7·   ·is that your signature, sir?                             ·7·   · · · call it an opportunity.
·8·   · · ·A.· · ·That is correct.                              ·8·   ·BY MR. MORRIS:
·9·   · · ·Q.· · ·And is this the document that you signed on   ·9·   · · ·Q.· · ·And do you have any recollection as to
10·   ·March 12th, 2012, pursuant to which you became the       10·   ·whether or not anybody else was involved in the
11·   ·general partner of the DAF GP?                           11·   ·decision to offer the opportunity to you?
12·   · · · · · · MR. KANE:· Objection.· Form.                  12·   · · ·A.· · ·I -- I don't recall.
13·   · · · · · · THE WITNESS:· It's not March 12th.            13·   · · ·Q.· · ·Okay.· We can take that down, please.
14·   · · · It's dated as March 21st, just to clarify,          14·   · · · · · · Do you recall whether Mr. Patrick was
15·   · · · but I believe so.                                   15·   ·involved in your selection as the replacement
16·   ·BY MR. MORRIS:                                           16·   ·management member of the DAF GP, LLC in 2012?
17·   · · ·Q.· · ·I appreciate that.· I'm going to ask the      17·   · · ·A.· · ·I have no recollection.
18·   ·question again, just because I was wrong and I want to   18·   · · · · · · MR. KANE:· Objection to form.
19·   ·get it right.                                            19·   · · · · · · Yes.· Okay.
20·   · · · · · · Is this the document you signed on or about   20·   ·BY MR. MORRIS:
21·   ·March 21, 2012, pursuant to which you became the         21·   · · ·Q.· · ·I want to go back to what we had defined
22·   ·managing member of the DAF GP, LLC?                      22·   ·earlier as the interim period, and that was the period
23·   · · ·A.· · ·I believe so.                                 23·   ·between January 31st, 2021, when you sent in that
24·   · · ·Q.· · ·Okay.· And you replaced Mr. Dondero in that   24·   ·notice and March 24, 2021, when you transferred the
25·   ·capacity; is that right?                                 25·   ·shares.· That is what we were calling the interim

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      Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 13 of
        Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 374 of 852 PageID 2279
                                                      Page 66                                                         Page 67
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   ·period, right?                                           ·2·   ·BY MR. MORRIS:
·3·   · · ·A.· · ·Yes.                                          ·3·   · · ·Q.· · ·You can answer.
·4·   · · ·Q.· · ·Okay.· Is it fair to say that Mr. Patrick     ·4·   · · ·A.· · ·During the interim period?
·5·   ·served as your primary contact with respect to matters   ·5·   · · ·Q.· · ·Correct.
·6·   ·concerning CLO HoldCo and the DAF during the interim     ·6·   · · ·A.· · ·I do not believe so.
·7·   ·period?                                                  ·7·   · · ·Q.· · ·If Mr. Patrick didn't hold any positions,
·8·   · · ·A.· · ·Yes.                                          ·8·   ·why did you follow his instructions?
·9·   · · ·Q.· · ·Okay.· And, in fact, Mr. Patrick gave you     ·9·   · · · · · · MR. BRIDGES:· Objection.
10·   ·instructions on what to do for the DAF and the           10·   · · · · · · MR. KANE:· Objection.· Go ahead,
11·   ·CLO HoldCo on certain matters during the interim         11·   · · · sorry.
12·   ·period, correct?                                         12·   · · · · · · MR. BRIDGES:· Facts not in evidence.
13·   · · · · · · MR. KANE:· Objection to form.                 13·   · · · · · · MR. KANE:· And objection to form.
14·   · · · · · · THE WITNESS:· Periodically, yes.              14·   ·BY MR. MORRIS:
15·   ·BY MR. MORRIS:                                           15·   · · ·Q.· · ·You can answer, sir.
16·   · · ·Q.· · ·I am sorry.· What is the answer?              16·   · · ·A.· · ·Yes.· Well, there -- I mean, there was a
17·   · · ·A.· · ·Periodically, yes.                            17·   ·lot of activity that was required to transfer over
18·   · · ·Q.· · ·Okay.· Did somebody ever tell you that you    18·   ·from how things had been handled under Highland, to
19·   ·should follow Mr. Patrick's instructions?                19·   ·how they would now be handled under -- with the
20·   · · ·A.· · ·No, I don't believe so.                       20·   ·services being provided by Highgate, and he was a
21·   · · ·Q.· · ·And, Mr. Patrick, to the best of your         21·   ·member, and he was the point person, I guess, and he
22·   ·knowledge, didn't HoldCo any positions with any of the   22·   ·was my main interface to get those large numbers of
23·   ·DAF entities or CLO HoldCo Limited, correct?             23·   ·issues resolved.
24·   · · · · · · MR. KANE:· Objection to form.                 24·   · · · · · · There was -- you know, it was a very busy,
25·   · · · · · · MR. BRIDGES:· Object to foundation.           25·   ·challenging time.
                                                      Page 68                                                         Page 69
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · ·Q.· · ·Did you sign any agreement on behalf of any   ·2·   · · ·Q.· · ·Do you know whether during the interim
·3·   ·of the DAF entities or CLO HoldCo with the entity that   ·3·   ·period, any entity other than Highgate was providing
·4·   ·you are referring to as Highgate?                        ·4·   ·services on behalf of any of the DAF entities or
·5·   · · ·A.· · ·I'm not sure.                                 ·5·   ·CLO HoldCo?
·6·   · · ·Q.· · ·Do you have any recollection at all of ever   ·6·   · · ·A.· · ·Well, I knew from various wires that were
·7·   ·signing any agreements in your capacity as the           ·7·   ·approved, that various entities were providing
·8·   ·authorized representative of any of the DAF entities     ·8·   ·services.· Law firms, for example.
·9·   ·or CLO HoldCo and Highgate?                              ·9·   · · ·Q.· · ·But was there any -- any entity other than
10·   · · · · · · MR. KANE:· Objection.· Form.                  10·   ·Highgate that was providing any of the services that
11·   · · · · · · THE WITNESS:· I -- I don't recall.            11·   ·had previously been provided by Highland?
12·   ·BY MR. MORRIS:                                           12·   · · ·A.· · ·Well, Highland provided a lot of legal
13·   · · ·Q.· · ·And I may have asked you this already.· If    13·   ·services.· I don't know that Highgate had the same
14·   ·I have, I'm sure there will be an objection.· But do     14·   ·capability.· So I don't know how to answer that.
15·   ·you recall if Highgate was providing services            15·   · · ·Q.· · ·All right.· I'm going to try a different
16·   ·equivalent to the shared services that Highland          16·   ·way.
17·   ·previously provided, or was it providing investment      17·   · · · · · · Before -- before 2021, the DAF entities had
18·   ·advisory services of the type Highland previously        18·   ·both a shared services arrangement and an investment
19·   ·provided?                                                19·   ·advisory arrangement with Highland.
20·   · · · · · · MR. KANE:· Objection to form.                 20·   · · · · · · Do I have that right?
21·   · · · · · · MR. BRIDGES:· Objection.                      21·   · · ·A.· · ·Yes.
22·   ·BY MR. MORRIS:                                           22·   · · ·Q.· · ·During the interim period, Highland was no
23·   · · ·Q.· · ·You can answer.                               23·   ·longer providing any of those services, correct?
24·   · · ·A.· · ·I don't know the delineation of the           24·   · · ·A.· · ·That's what I understand, yes.
25·   ·services they were providing.                            25·   · · ·Q.· · ·Did anybody replace Highland in the

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      Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 14 of
        Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 375 of 852 PageID 2280
                                                      Page 70                                                         Page 71
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   ·provision of those services during the interim period?   ·2·   · · · testimony was I didn't see the agreements,
·3·   · · · · · · MR. BRIDGES:· Objection, asked and            ·3·   · · · so I don't know.
·4·   · · · answered.                                           ·4·   ·BY MR. MORRIS:
·5·   ·BY MR. MORRIS:                                           ·5·   · · ·Q.· · ·You haven't seen any agreement with
·6·   · · ·Q.· · ·You can answer, sir.                          ·6·   ·Highgate; is that right?
·7·   · · ·A.· · ·I mean, besides the services Highgate         ·7·   · · ·A.· · ·I don't recall that I have.
·8·   ·were -- was -- were providing, I'm not sure.             ·8·   · · ·Q.· · ·Do you have any understanding as to whether
·9·   · · ·Q.· · ·And -- and I do know that I've asked this     ·9·   ·Highgate had the authority to bind any of the DAF
10·   ·before, but now with that context:· Do you know          10·   ·entities or CLO HoldCo during the interim period?
11·   ·whether Highgate was providing services of the shared    11·   · · · · · · MR. BRIDGES:· Objection.· Calls for a
12·   ·services type, or the investment advisory type, or you   12·   · · · legal conclusion.
13·   ·just don't know?                                         13·   · · · · · · THE WITNESS:· I don't know.
14·   · · · · · · MR. BRIDGES:· Objection to the form.          14·   ·BY MR. MORRIS:
15·   · · · · · · THE WITNESS:· At least I would think          15·   · · ·Q.· · ·Do you have any understanding as to whether
16·   · · · mostly the shared services type.                    16·   ·Mark Patrick had the ability as an individual to bind
17·   ·BY MR. MORRIS:                                           17·   ·any of the DAF entities or CLO HoldCo during the
18·   · · ·Q.· · ·Okay.· Is it your understanding that under    18·   ·interim period?
19·   ·the shared services agreement, that Highgate had the     19·   · · · · · · MR. BRIDGES:· Objection.· Calls for a
20·   ·ability to make decisions on behalf of any of the DAF    20·   · · · legal conclusion.
21·   ·entities or CLO HoldCo?                                  21·   · · · · · · MR. KANE:· Objection.· Calls for a
22·   · · · · · · MR. BRIDGES:· Objection.                      22·   · · · legal conclusion.
23·   · · · · · · MR. KANE:· Objection to form.                 23·   · · · · · · THE WITNESS:· I don't know.
24·   · · · · · · MR. BRIDGES:· Misstates testimony.            24·   ·BY MR. MORRIS:
25·   · · · · · · THE WITNESS:· Yeah, my prior                  25·   · · ·Q.· · ·Okay.· And I'm just asking as a matter of
                                                      Page 72                                                         Page 73
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   ·fact, to be clear.· I'm not asking for any legal         ·2·   · · ·Q.· · ·And why did you forward documents to
·3·   ·conclusions.· I'm asking for your understanding as the   ·3·   ·Mr. Patrick's attention during the interim period?
·4·   ·authorized representative of the DAF entities and        ·4·   · · ·A.· · ·Because I was resigning, and I understood
·5·   ·CLO HoldCo during the interim period.                    ·5·   ·that he was essentially going to be, or was the
·6·   · · · · · · So with that -- with that background as the   ·6·   ·director elect, and I just thought it appropriate to
·7·   ·authorized entity, that -- withdrawn.                    ·7·   ·bring such things to his attention.
·8·   · · · · · · As the authorized representative during the   ·8·   · · ·Q.· · ·And when did you -- when did you learn that
·9·   ·interim period, did you have any understanding as to     ·9·   ·he was doing to be the director elect?
10·   ·whether Mr. Patrick had the authority to bind any of     10·   · · ·A.· · ·I -- I believe it was February.· Sometime
11·   ·the DAF entities or CLO HoldCo during that time?         11·   ·in February.
12·   · · · · · · MR. KANE:· Objection.                         12·   · · ·Q.· · ·Do you recall how you learned that he was
13·   · · · · · · MR. BRIDGES:· Objection.· Calls for           13·   ·going to become the director elect?
14·   · · · legal conclusion.· Also, objection as to            14·   · · ·A.· · ·I can't point to a specific conversation.
15·   · · · vagueness of the question.                          15·   ·I can't -- I can't point to the specific conversation.
16·   ·BY MR. MORRIS:                                           16·   ·At some point, it went from being some future third
17·   · · ·Q.· · ·I'm sorry, Mr. Scott, did you answer?         17·   ·party, and I came to believe it would be him.· I'm
18·   · · ·A.· · ·I did not.· No, I have not.· I --             18·   ·not -- I'm not sure of the timing.
19·   · · ·Q.· · ·I apologize.                                  19·   · · ·Q.· · ·Okay.· Do you know from whom you learned
20·   · · ·A.· · ·I don't know what the status of his legal     20·   ·that he was going to be the director elect?
21·   ·authorization was.                                       21·   · · ·A.· · ·I believe it was him.
22·   · · ·Q.· · ·Do you recall that in early March, you        22·   · · ·Q.· · ·Okay.· So he told you that he was going to
23·   ·bought a couple of events to Mr. Patrick's attention?    23·   ·replace you; is that right?
24·   · · ·A.· · ·I know that I forwarded documents to his      24·   · · ·A.· · ·I don't know that he said it specifically.
25·   ·attention, yes.                                          25·   ·I don't remember our conversations.

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      Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 15 of
        Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 376 of 852 PageID 2281
                                                      Page 74                                                         Page 75
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · ·Q.· · ·Did you ever do anything to confirm with      ·2·   · · · · · · (Deposition Exhibit 10 was marked for
·3·   ·anybody that Mark Patrick was going to be the director   ·3·   ·identification.)
·4·   ·elect, or did you just take his word for it?             ·4·   ·BY MR. MORRIS:
·5·   · · ·A.· · ·I did not independently confirm it, no.       ·5·   · · ·Q.· · ·Do you see that -- if you scroll just down
·6·   · · ·Q.· · ·Did you ever ask Mr. Dondero if -- if he      ·6·   ·a little bit.· I guess not.
·7·   ·approved of the selection of Mr. Patrick as your         ·7·   · · · · · · Mr. Patrick wrote an e-mail to you and
·8·   ·successor?                                               ·8·   ·said, "The successor will respond to this complaint,"
·9·   · · ·A.· · ·I did not.                                    ·9·   ·and at the top you wrote "understood" --
10·   · · ·Q.· · ·Did you ever discuss with Mr. Dondero, the    10·   · · ·A.· · ·Yes.
11·   ·topic of who would be your successor?                    11·   · · ·Q.· · ·-- or the top of the e-mail.
12·   · · ·A.· · ·Going back.· Prior to the interim period, I   12·   · · · · · · Do you recall that in early March, you
13·   ·had recommended him, Mark.                               13·   ·received a new complaint in which CLO HoldCo was named
14·   · · ·Q.· · ·Did you -- did you discuss Mr. Patrick's      14·   ·the defendant?
15·   ·selection as your successor with anybody in the world    15·   · · ·A.· · ·I believe this -- this was the unsecured
16·   ·at any time other than Mr. Patrick?                      16·   ·creditors' committee complaint; is that correct?
17·   · · ·A.· · ·I talked with my attorney about it.· But I    17·   · · ·Q.· · ·I think so, but it's your testimony.· I'm
18·   ·don't think so.· No.                                     18·   ·just asking you if you recall that in early March,
19·   · · ·Q.· · ·Did you talk with anybody that you believed   19·   ·CLO HoldCo was sued?
20·   ·was authorized to make the decision on behalf of the     20·   · · ·A.· · ·Yes.· I think this was the second lawsuit
21·   ·DAF entities and CLO HoldCo about your successor?        21·   ·that I was referring to personally.
22·   · · ·A.· · ·No, I did not.                                22·   · · ·Q.· · ·Okay.· And so this -- this actually
23·   · · · · · · MR. MORRIS:· Can we put up the                23·   ·occurred after the time you had already given notice,
24·   · · · document that was marked, La Asia, on Page          24·   ·right?
25·   · · · 7, as Bates number 80.                              25·   · · ·A.· · ·Yes.
                                                      Page 76                                                         Page 77
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · ·Q.· · ·Yeah.· And was the first lawsuit, the one     ·2·   · · · exhibit, please, the one ending in -- the
·3·   ·that you settled, before you gave notice?                ·3·   · · · one Bates number 85.· And please remind us,
·4·   · · ·A.· · ·No.· The -- no, both lawsuits are pending.    ·4·   · · · La Asia, what exhibit number are we up to?
·5·   · · ·Q.· · ·Okay.· Do you know when the -- who's the      ·5·   · · · · · · MS. CANTY:· We're up to 10, but the
·6·   ·plaintiff in the first one?                              ·6·   · · · one I'm about to put up is Exhibit 6 from
·7·   · · ·A.· · ·Acis.                                         ·7·   · · · earlier today.
·8·   · · · · · · (Reporter clarification.)                     ·8·   · · · · · · MR. MORRIS:· Thank you very much.
·9·   · · · · · · THE WITNESS:· Acis, A-C-I-S.                  ·9·   ·BY MR. MORRIS:
10·   ·BY MR. MORRIS:                                           10·   · · ·Q.· · ·Now, if we can just scroll down a little
11·   · · ·Q.· · ·So the debtor never sued you personally; is   11·   ·bit.· Do you remember something called an Adherence
12·   ·that right?                                              12·   ·Agreement being discussed in March of 2021?
13·   · · ·A.· · ·Not yet.                                      13·   · · ·A.· · ·A what agreement?
14·   · · ·Q.· · ·And is it right that Mr. Patrick told you     14·   · · ·Q.· · ·Adherence Agreement.
15·   ·that -- that the successor will respond to the           15·   · · ·A.· · ·I see that.· Was it directed to me?
16·   ·complaint?                                               16·   · · ·Q.· · ·Yeah.· If we can just scroll up.
17·   · · ·A.· · ·Yes.                                          17·   · · · · · · Okay.· So right there, do you see that
18·   · · ·Q.· · ·Now, he's not referring to himself yet, is    18·   ·Thomas Surgent sends it to Mr. Kane?· The subject is
19·   ·he?                                                      19·   ·'Adherence Agreement."
20·   · · ·A.· · ·That appears correct, yes.                    20·   · · ·A.· · ·Yes.
21·   · · ·Q.· · ·Does that refresh your recollection that      21·   · · ·Q.· · ·And you do see that you forwarded that
22·   ·you had not known yet as of March 2nd who the            22·   ·e-mail to Mr. Patrick on the same day, March 2nd?
23·   ·successor would be?                                      23·   · · ·A.· · ·Yes.
24·   · · ·A.· · ·I guess it does.                              24·   · · ·Q.· · ·And it says "This relates to the second
25·   · · · · · · MR. MORRIS:· Can we put up the next           25·   ·issue from the debtor."

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      Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 16 of
        Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 377 of 852 PageID 2282
                                                      Page 86                                                         Page 87
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · · · · · MR. BRIDGES:· Objection.                      ·2·   · · ·Q.· · ·Okay.· Now, did you resign on or about
·3·   · · · · · · MR. MORRIS:· Withdrawn.· Withdrawn.           ·3·   ·March 24th, 2021?
·4·   ·BY MR. MORRIS:                                           ·4·   · · ·A.· · ·Yes.· That's -- that's when the transfer --
·5·   · · ·Q.· · ·You didn't provide a substantive response     ·5·   ·share of transfer.
·6·   ·to Elysium; is that right?                               ·6·   · · ·Q.· · ·Okay.
·7·   · · · · · · MR. KANE:· Objection.· Assumes facts          ·7·   · · · · · · MR. MORRIS:· Can we put the next
·8·   · · · not in evidence.                                    ·8·   · · · exhibit up, please.· It's the one at the
·9·   · · · · · · MR. MORRIS:· That is why I'm asking           ·9·   · · · top at page 10.· It's file 3, document 5.
10·   · · · the question.                                       10·   · · · · · · MR. BRIDGES:· Mr. Morris, can I ask
11·   ·BY MR. MORRIS:                                           11·   · · · you how it is for time because you told us
12·   · · ·Q.· · ·Go ahead, Mr. Scott.· You can answer.         12·   · · · earlier -- you teased us with a 4:15 end
13·   · · ·A.· · ·I did not provide a substantive response to   13·   · · · time, potentially.
14·   ·their inquiry.                                           14·   · · · · · · MR. MORRIS:· Yeah, I'm just on the
15·   · · ·Q.· · ·Okay.· Thank you.                             15·   · · · last couple of documents.
16·   · · · · · · Can we go to the top.· In fact -- in fact,    16·   · · · · · · MR. BRIDGES:· Thank you.
17·   ·you were instructed by Mr. Patrick to do nothing,        17·   · · · · · · MR. MORRIS:· You bet.
18·   ·correct?                                                 18·   ·BY MR. MORRIS:
19·   · · · · · · MR. BRIDGES:· Objection.· Misstates           19·   · · ·Q.· · ·Do you see this is a document called an
20·   · · · the testimony.                                      20·   ·Assignment and Assumption of Membership Interest
21·   · · · · · · THE WITNESS:· No.                             21·   ·Agreement?
22·   ·BY MR. MORRIS?                                           22·   · · ·A.· · ·Yes.
23·   · · ·Q.· · ·Sir, the e-mail says "Do nothing," correct?   23·   · · · · · · MR. MORRIS:· And if we can scroll
24·   · · ·A.· · ·That is correct, and they were handling it,   24·   · · · down.
25·   ·not me.                                                  25·   ·BY MR. MORRIS:
                                                      Page 88                                                         Page 89
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · ·Q.· · ·Did you sign this document?                   ·2·   · · ·Q.· · ·You can answer, sir.
·3·   · · ·A.· · ·Yes, sir.                                     ·3·   · · ·A.· · ·Yes.· I mean, it says what it says.· But
·4·   · · ·Q.· · ·Okay.· Do you know what this document is?     ·4·   ·yes, that is what I was transferring.
·5·   · · ·A.· · ·I believe it's the Management Share           ·5·   · · ·Q.· · ·And can you identify for me anything that
·6·   ·Transfer Agreement.                                      ·6·   ·you know that you ever assigned to Mr. Patrick that is
·7·   · · ·Q.· · ·Okay.· And do you know who prepared it?       ·7·   ·not set forth in paragraph 1?
·8·   · · ·A.· · ·I do not.                                     ·8·   · · · · · · MR. BRIDGES:· Objection.· Form.
·9·   · · ·Q.· · ·Did you assign something pursuant to this     ·9·   · · · · · · THE WITNESS:· I'm unaware of
10·   ·document?                                                10·   · · · anything.
11·   · · ·A.· · ·Yes.· The -- the -- the management shares.    11·   ·BY MR. MORRIS:
12·   · · · · · · MR. MORRIS:· Okay.· Can we go to the          12·   · · ·Q.· · ·Do you know if -- if the items and assets
13·   · · · first page, please?                                 13·   ·that are set forth in paragraph 1 had any value?
14·   ·BY MR. MORRIS:                                           14·   · · · · · · MR. KANE:· Objection.· Form.
15·   · · ·Q.· · ·And do you see in paragraph 1, there is a     15·   · · · · · · THE WITNESS:· They had value, maybe
16·   ·description of the assignment and assumption of the      16·   · · · not monetary.
17·   ·signed interest?                                         17·   ·BY MR. MORRIS:
18·   · · ·A.· · ·Yes, I see that.                              18·   · · ·Q.· · ·And what value did they have?
19·   · · ·Q.· · ·Okay.· Does that paragraph describe           19·   · · ·A.· · ·I believe they had the property interest
20·   ·everything that you assigned to Mr. Patrick?             20·   ·that I referred to previously.
21·   · · ·A.· · ·In this agreement.· Yes.                      21·   · · ·Q.· · ·And what property interest are you
22·   · · · · · · MR. BRIDGES:· Objection.· Calls --            22·   ·referring to?
23·   · · · objection.· Calls for a legal conclusion.           23·   · · · · · · MR. KANE:· Objection.· Form.· Calls
24·   · · · · · · MR. KANE:· I join the objection.              24·   · · · for a legal conclusion.
25·   ·BY MR. MORRIS:                                           25·   ·BY MR. MORRIS:

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      Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 17 of
        Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 378 of 852 PageID 2283
                                                      Page 90                                                         Page 91
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · ·Q.· · ·You can answer.· Sir, it's your words we      ·2·   ·what I received.· I mean, it ended my -- it ended my
·3·   ·need.                                                    ·3·   ·role as a -- maybe as an agent, or an employee or
·4·   · · ·A.· · ·The shares were the -- these management       ·4·   ·whatever.· Those are my substantive rights, as I
·5·   ·shares were the -- I was treating as property.           ·5·   ·understood it.
·6·   · · ·Q.· · ·Do you have any understanding as to what      ·6·   · · ·Q.· · ·Okay.· So you -- you surrendered the
·7·   ·the value of the management shares was at the time you   ·7·   ·substantive rights in an exchange -- you no longer had
·8·   ·entered into this agreement?                             ·8·   ·your substantive rights?
·9·   · · ·A.· · ·I did not.                                    ·9·   · · · · · · MR. BRIDGES:· Objection.· Asked and
10·   · · ·Q.· · ·Did you have any understanding as to          10·   · · · answered.
11·   ·whether those management shares held any particular      11·   · · · · · · MR. KANE:· Objection.· Form.
12·   ·rights at the time you entered into this agreement?      12·   ·BY MR. MORRIS:
13·   · · · · · · MR. KANE:· Objection to form.                 13·   · · ·Q.· · ·You can answer, sir.· Did you get anything
14·   · · · · · · THE WITNESS:· My understanding was            14·   ·other than -- withdrawn.
15·   · · · they had my rights previously.· Ultimately.         15·   · · · · · · Did you get anything other than what you
16·   ·BY MR. MORRIS:                                           16·   ·already described?
17·   · · ·Q.· · ·And what rights did you believe flowed from   17·   · · ·A.· · ·Relief.· Yes.
18·   ·the management shares?                                   18·   · · ·Q.· · ·Excellent.· Did you ever consider assigning
19·   · · ·A.· · ·The controlling rights that flowed down to    19·   ·these interests or assets to anybody other than
20·   ·the various entities.                                    20·   ·Mr. Patrick?
21·   · · ·Q.· · ·Did you receive anything in return in         21·   · · ·A.· · ·I did not.
22·   ·exchange for your assignment of these property           22·   · · ·Q.· · ·Did you ever consider -- did you have any
23·   ·interests and the other assets set forth in paragraph    23·   ·belief as to whether the interests that were assigned
24·   ·1?                                                       24·   ·were freely tradeable?
25·   · · ·A.· · ·It allowed me to finally resign.· That is     25·   · · · · · · MR. BRIDGES:· Objection.· Calls for a
                                                      Page 92                                                         Page 93
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · · legal conclusion.                                   ·2·   · · · · · · Did you ever tell anybody at any time that
·3·   · · · · · · MR. KANE:· I join the objection.              ·3·   ·you were ready, willing and able to transfer and
·4·   · · · · · · THE WITNESS:· I didn't make -- I did          ·4·   ·assign the interests that are in this document other
·5·   · · · not make an assessment of that.                     ·5·   ·than Mr. Patrick and your lawyers?
·6·   ·BY MR. MORRIS:                                           ·6·   · · ·A.· · ·I am sorry.· I misunderstood your question.
·7·   · · ·Q.· · ·Do you know -- withdrawn.                     ·7·   ·The answer is no.
·8·   · · · · · · Do you have any understanding as to whether   ·8·   · · ·Q.· · ·Did you ever think to try to assign these
·9·   ·there were any restrictions on the transferability of    ·9·   ·interests for a profit?
10·   ·the interests that you assigned pursuant to this         10·   · · ·A.· · ·Good grief, no.
11·   ·agreement?                                               11·   · · · · · · (Reporter clarification.)
12·   · · · · · · MR. KANE:· Objection.· Calls for a            12·   · · ·A.· · ·No.
13·   · · · legal conclusion.                                   13·   · · ·Q.· · ·Did you -- was anybody, other than
14·   · · · · · · THE WITNESS:· I did not.                      14·   ·Mr. Patrick, ever identified as a potential assignee
15·   ·BY MR. MORRIS:                                           15·   ·of the interests that are described in paragraph 1?
16·   · · ·Q.· · ·Did you let anybody know that you were        16·   · · · · · · MR. KANE:· Objection to form.
17·   ·willing to assign the interests that are described in    17·   · · · · · · THE WITNESS:· I was unaware of any.
18·   ·paragraph 1 other than Mr. Patrick?                      18·   ·BY MR. MORRIS:
19·   · · ·A.· · ·Anyone that I -- conceivably, anyone that I   19·   · · ·Q.· · ·Okay.· Did you make any effort to identify
20·   ·let know that was at all familiar with the structure,    20·   ·anybody other than Mr. Patrick as a potential assignee
21·   ·anyone that was informed of my desire to resign would    21·   ·for the interests that are set forth in paragraph 1?
22·   ·have arguably have known that.                           22·   · · ·A.· · ·No, I did not.
23·   · · ·Q.· · ·Okay.· I'm not asking you to put yourself     23·   · · ·Q.· · ·Did any -- did anybody acting on your
24·   ·in the shoes of anybody else.· I'm asking for what you   24·   ·behalf, to the best of your knowledge, ever make any
25·   ·recall telling people.                                   25·   ·efforts to identify any potential assignee other than

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      Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 18 of
        Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 379 of 852 PageID 2284
                                                      Page 94                                                         Page 95
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   ·Mr. Patrick for the interests set forth in paragraph     ·2·   · · ·A.· · ·I'm not sure the exact timing, but I
·3·   ·1?                                                       ·3·   ·believe that was all established when I became
·4·   · · · · · · MR. BRIDGES:· Objection.· Foundation.         ·4·   ·involved.
·5·   · · · · · · THE WITNESS:· I don't have that               ·5·   · · ·Q.· · ·Did you pay anything of value for the
·6·   · · · knowledge.· No.                                     ·6·   ·shares at the time that you acquired them?
·7·   · · · · · · MR. MORRIS:· Can we go to the next            ·7·   · · ·A.· · ·I am -- I don't believe so, no.
·8·   · · · exhibit, please?                                    ·8·   · · ·Q.· · ·Did you need to obtain anybody's approval
·9·   · · · · · · (Deposition Exhibit 14 was marked for         ·9·   ·before you could transfer the shares?
10·   ·identification.)                                         10·   · · ·A.· · ·No.· I don't believe so.
11·   ·BY MR. MORRIS:                                           11·   · · ·Q.· · ·Did you make any effort to obtain anybody's
12·   · · ·Q.· · ·Okay.· And do you see that these are          12·   ·approval before you transferred the shares?
13·   ·written resolutions dated the next day, March 25th?      13·   · · ·A.· · ·I did not.
14·   · · ·A.· · ·Yes.                                          14·   · · ·Q.· · ·Did you have any reason to believe that
15·   · · ·Q.· · ·And these resolutions provide for the         15·   ·Mr. Dondero approved of the transfer of the management
16·   ·shared transfer described in the document?               16·   ·shares to Mr. Patrick?
17·   · · ·A.· · ·It appears so, yes.                           17·   · · ·A.· · ·I -- I don't know that.
18·   · · ·Q.· · ·And are these the management shares that      18·   · · ·Q.· · ·Did you testify earlier, that you had
19·   ·you were referring to earlier?                           19·   ·discussed with Mr. Dondero in January, Mark Patrick
20·   · · ·A.· · ·I believe so.                                 20·   ·succeeding you?
21·   · · ·Q.· · ·Did you believe at the time that you owned    21·   · · · · · · MR. BRIDGES:· Objection.· Misstates
22·   ·all of the management shares of charitable DAF HoldCo    22·   · · · prior testimony.
23·   ·Limited?                                                 23·   ·BY MR. MORRIS:
24·   · · ·A.· · ·That was my understanding.                    24·   · · ·Q.· · ·You can answer, sir.
25·   · · ·Q.· · ·How did you acquire those shares?             25·   · · ·A.· · ·I believe it was prior to that.
                                                      Page 96                                                         Page 97
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · ·Q.· · ·Were you paid anything of value for your      ·2·   · · · back.· I don't understand the question. I
·3·   ·services as the, either the managing member of the DAF   ·3·   · · · am sorry.
·4·   ·GP, or as a director of any of the other DAF or          ·4·   ·BY MR. MORRIS:
·5·   ·CLO HoldCo Limited entities at any time?                 ·5·   · · ·Q.· · ·That is okay.· I just saw this in the
·6·   · · ·A.· · ·For a majority of the years, yes, I           ·6·   ·documents, and I thought it was odd.· But let me put
·7·   ·received a monthly statement.                            ·7·   ·the documents up and see if you can shed any light.
·8·   · · ·Q.· · ·And is that -- how much was the monthly       ·8·   · · · · · · MR. MORRIS:· Let's start with the
·9·   ·statement?                                               ·9·   · · · next exhibit, Patrick File 3, Document 9.
10·   · · ·A.· · ·I believe it was $5,000.                      10·   · · · · · · (Deposition Exhibit 15 was marked for
11·   · · ·Q.· · ·Did it ever increase to an amount more than   11·   ·identification.)
12·   ·$5,000?                                                  12·   ·BY MR. MORRIS:
13·   · · ·A.· · ·No.                                           13·   · · ·Q.· · ·And do you see in the resolutions, if we
14·   · · ·Q.· · ·Did you receive anything else of value for    14·   ·can go up just a bit, dated March 24th, and it was
15·   ·your service to the DAF entities and CLO HoldCo          15·   ·resolved that you were removed as a director of the
16·   ·Limited other than the $5,000 monthly stipend that you   16·   ·company and Mr. Patrick was appointed as your
17·   ·just described?                                          17·   ·replacement, if that is a fair characterization?
18·   · · ·A.· · ·I did not.                                    18·   · · · · · · Do you see that?
19·   · · ·Q.· · ·Do you recall that after you resigned, you    19·   · · ·A.· · ·I see that.
20·   ·got reappointed, and then subsequently replaced again    20·   · · · · · · MR. MORRIS:· And now if we can put up
21·   ·by Mr. Patrick?                                          21·   · · · the next document.
22·   · · · · · · MR. KANE:· Objection to form.                 22·   · · · · · · (Deposition Exhibit 16 was marked for
23·   · · · · · · (Reporter clarification.)                     23·   ·identification.)
24·   · · · · · · THE WITNESS:· Can you repeat -- did           24·   ·BY MR. MORRIS:
25·   · · · you say -- it went away, and then it came           25·   · · ·Q.· · ·So this is a week later.· It's March 31st.

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      Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 19 of
        Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 380 of 852 PageID 2285
                                                      Page 98                                                         Page 99
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · · · · · MR. MORRIS:· And if we can just               ·2·   ·identification.)
·3·   · · · scroll down and see if it's signed.                 ·3·   · · · · · · MR. KANE:· Mr. Morris, can you help
·4·   ·BY MR. MORRIS:                                           ·4·   · · · me with the exhibit numbers?· Was that 16,
·5·   · · ·Q.· · ·Do you see that Mr. Patrick was removed as    ·5·   · · · or are we still on 15, additional portions
·6·   ·the director and you were reappointed?                   ·6·   · · · of it?
·7·   · · ·A.· · ·Yes, I do see that.                           ·7·   · · · · · · MS. CANTY:· That was 16 but not going
·8·   · · ·Q.· · ·Do you have any understanding as to why       ·8·   · · · to 17.
·9·   ·Mr. Patrick resigned and reappointed you as the          ·9·   · · · · · · MR. KANE:· Thank you.· I apologize.
10·   ·director a week later?                                   10·   · · · · · · MR. MORRIS:· That is okay, Jonathan.
11·   · · ·A.· · ·I don't have -- I don't -- I don't know.      11·   · · · We will get to everything and clear up any
12·   · · ·Q.· · ·Did you even know this happened?              12·   · · · confusion.
13·   · · ·A.· · ·Is my signature on that agreement?            13·   ·BY MR. MORRIS:
14·   · · ·Q.· · ·No.                                           14·   · · ·Q.· · ·So if you go to the bottom of that
15·   · · ·A.· · ·I'm not sure.                                 15·   ·document, can you see that it was signed?
16·   · · ·Q.· · ·Do you have any -- do you have any            16·   · · · · · · All right.· Do you see Mr. Patrick signed
17·   ·recollection as -- as to whether or not you were ever    17·   ·this document?
18·   ·reappointed as the director of the company on or about   18·   · · ·A.· · ·Yes, I see that.
19·   ·March 31st, 2021?                                        19·   · · ·Q.· · ·Do you see that it's dated -- if we can go
20·   · · ·A.· · ·I don't know if I have received any           20·   ·back up to the top.· It's April 2nd, and do you see
21·   ·communication about this or not.                         21·   ·that you are -- pursuant to these resolutions, you
22·   · · ·Q.· · ·Okay.                                         22·   ·were removed as the director again and replaced by
23·   · · · · · · MR. MORRIS:· Can we go to the next            23·   ·Mr. Patrick?
24·   · · · document, please?                                   24·   · · ·A.· · ·Yes, I see that.· And they seem to be
25·   · · · · · · (Deposition Exhibit 17 was marked for         25·   ·correcting an error of some sort.
                                                     Page 100                                                        Page 101
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · ·Q.· · ·Did anybody ever describe for you or          ·2·   ·BY MR. MORRIS:
·3·   ·explain to you what error had been made?                 ·3·   · · ·Q.· · ·And so you didn't provide your consent to
·4·   · · ·A.· · ·I am sorry.· I'm not familiar with these      ·4·   ·be reappointed as the director of the company,
·5·   ·documents.                                               ·5·   ·correct?
·6·   · · ·Q.· · ·Okay.· Is it fair to say that -- well, I      ·6·   · · · · · · MR. BRIDGES:· Objection.· Asked and
·7·   ·will just leave it at that.                              ·7·   · · · answered.
·8·   · · · · · · So nobody ever informed you that there was    ·8·   · · · · · · THE WITNESS:· That's correct.
·9·   ·a mistake that had to be corrected; is that right?       ·9·   ·BY MR. MORRIS:
10·   · · · · · · MR. BRIDGES:· Objection.· Asked and           10·   · · ·Q.· · ·Okay.· Did you become aware that after you
11·   · · · answered.                                           11·   ·resigned, that DAF and CLO HoldCo started a lawsuit
12·   ·BY MR. MORRIS:                                           12·   ·against the debtor and some other defendants related
13·   · · ·Q.· · ·You can answer.                               13·   ·to the HarbourVest settlement?
14·   · · ·A.· · ·I don't know that there was this -- this      14·   · · ·A.· · ·I did become aware of it, yes.
15·   ·may have -- I don't know that there was a mistake.       15·   · · ·Q.· · ·And were you aware of the lawsuit -- were
16·   · · ·Q.· · ·You have no knowledge of --                   16·   ·you aware that DAF and CLO HoldCo were considering
17·   · · ·A.· · ·I have no knowledge of this.· I was in a      17·   ·filing the lawsuit before it was actually commenced?
18·   ·very complex process.· I think there...                  18·   · · ·A.· · ·No.
19·   · · ·Q.· · ·And nobody ever asked -- nobody ever asked    19·   · · ·Q.· · ·Did you have any communications with
20·   ·your consent to be reappointed as the director of the    20·   ·anybody at any time about the possibility that the DAF
21·   ·company, correct?                                        21·   ·and CLO HoldCo would commence a lawsuit against the
22·   · · · · · · MR. BRIDGES:· Objection.· Asked and           22·   ·debtor and others relating to the HarbourVest
23·   · · · answered.                                           23·   ·settlement prior to the time that the lawsuit was
24·   · · · · · · THE WITNESS:· I didn't receive any            24·   ·commenced?
25·   · · · communications about this.                          25·   · · ·A.· · ·I did not.

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      Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 20 of
        Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 381 of 852 PageID 2286
                                                     Page 102                                                        Page 103
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · ·Q.· · ·So is it fair to say that you did not         ·2·   · · · just follow-up for clarification purposes.
·3·   ·provide any information to anybody at any time to        ·3·   · · · · · · · · · · · EXAMINATION
·4·   ·support the claim -- the complaint that was filed        ·4·   ·BY MR. KANE:
·5·   ·against the debtor and the other defendants in the       ·5·   · · ·Q.· · ·Grant, earlier you were testifying about
·6·   ·lawsuit that was brought by the DAF and CLO HoldCo?      ·6·   ·resigning and noted -- I believe your testimony was
·7·   · · · · · · MR. BRIDGES:· Objection.· Foundation.         ·7·   ·one of the reasons was an issue of independence.· Can
·8·   · · · · · · THE WITNESS:· I didn't provide                ·8·   ·you clarify what you meant by issue of independence?
·9·   · · · anything with respect to the litigation             ·9·   · · ·A.· · ·I came to believe that there was a
10·   · · · that was filed.                                     10·   ·perception, and my friendship with Jim Dondero
11·   ·BY MR. MORRIS:                                           11·   ·precluded my -- my independence.
12·   · · ·Q.· · ·And did anybody ever ask you for              12·   · · ·Q.· · ·Perception by whom?
13·   ·information relating to potential claims against the     13·   · · ·A.· · ·The judge in the case.
14·   ·debtor and others?                                       14·   · · · · · · (Reporter clarification.)
15·   · · ·A.· · ·No.                                           15·   · · ·A.· · ·The judge in the bankruptcy case.
16·   · · ·Q.· · ·Did you ever have any discussions with        16·   · · ·Q.· · ·Was there a specific reason or instance
17·   ·anybody at any time as to whether Jim Seery should be    17·   ·that caused you to have that belief?
18·   ·named as a defendant in the lawsuit that was bought by   18·   · · ·A.· · ·Yes.· When I spoke with you about the --
19·   ·the DAF and CLO HoldCo against the debtor and others?    19·   · · ·Q.· · ·Well, I don't want to go into any
20·   · · ·A.· · ·No.                                           20·   ·attorney-client communications.
21·   · · · · · · MR. MORRIS:· I have no further                21·   · · ·A.· · ·I am sorry.
22·   · · · questions.· Thank you, Mr. Scott.                   22·   · · ·Q.· · ·So let me ask you a different question.
23·   · · · · · · MR. BRIDGES:· I don't have any                23·   ·Were you provided a transcript of the Court's ruling
24·   · · · questions.                                          24·   ·on the escrow hearing for the registry dispute?
25·   · · · · · · MR. KANE:· Can I -- I've got a couple         25·   · · ·A.· · ·I believe so.
                                                     Page 104                                                        Page 105
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · ·Q.· · ·And did you read that transcript?             ·2·   · · · · · · · · · · · EXAMINATION
·3·   · · ·A.· · ·I believe we discussed it.· I'm not -- I'm    ·3·   ·BY MR. MORRIS:
·4·   ·not sure.                                                ·4·   · · ·Q.· · ·Did you ever testify before Judge Jernigan?
·5·   · · ·Q.· · ·Did you have a recollection that Judge        ·5·   · · ·A.· · ·I have not.
·6·   ·Jernigan made a comment or comments about you and        ·6·   · · ·Q.· · ·So is it fair to say that you had no reason
·7·   ·Jim Dondero during her ruling?                           ·7·   ·to believe that she could ever access your credibility
·8·   · · ·A.· · ·Yes.                                          ·8·   ·as a witness?
·9·   · · ·Q.· · ·Do you believe that Judge Jernigan's          ·9·   · · · · · · MR. BRIDGES:· I'm going to object.
10·   ·comments were inaccurate?                                10·   · · · That calls for a legal conclusion.
11·   · · · · · · MR. MORRIS:· Objection to the form of         11·   ·BY MR. MORRIS:
12·   · · · the question.· No foundation.· Leading.             12·   · · ·Q.· · ·You can answer.
13·   ·BY MR. KANE:                                             13·   · · ·A.· · ·From -- from what I understand from the
14·   · · ·Q.· · ·I will rephrase.· I will rephrase.            14·   ·transcript of that hearing, a number of comments were
15·   · · · · · · I will ask it -- a different question.        15·   ·made by the judge regarding my independence, that sort
16·   · · · · · · Mr. Scott, do you believe that you acted      16·   ·of thing, that made me -- that made me think that
17·   ·independently during the bankruptcy case?                17·   ·maybe I could just remove that as an issue in the case
18·   · · ·A.· · ·Yes.                                          18·   ·by resigning.· That is essentially, what my conclusion
19·   · · ·Q.· · ·Do you believe you acted in the best          19·   ·was from that hearing.
20·   ·interests of CLO HoldCo?                                 20·   · · ·Q.· · ·But you didn't resign at the time that the
21·   · · ·A.· · ·Yes, I do.                                    21·   ·judge made those statements, did you?
22·   · · · · · · MR. KANE:· I'm done.                          22·   · · · · · · MR. BRIDGES:· Objection.
23·   · · · · · · MR. MORRIS:· Just some follow-up              23·   · · · Argumentative.
24·   · · · questions, Mr. Scott.                               24·   ·BY MR. MORRIS:
25                                                              25·   · · ·Q.· · ·You can answer.

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      Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 21 of
        Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 382 of 852 PageID 2287
                                                     Page 106                                                        Page 107
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   · · ·A.· · ·I did not at that time.                       ·2·   · · ·Q.· · ·Only -- only if people keep opening the
·3·   · · ·Q.· · ·In fact, you didn't resign for probably       ·3·   ·door.
·4·   ·seven months after, correct?                             ·4·   · · · · · · Can you please answer my question?
·5·   · · · · · · MR. BRIDGES:· Objection.· Asked and           ·5·   · · ·A.· · ·Yes, I removed the objection.
·6·   · · · answered.· Really?                                  ·6·   · · ·Q.· · ·And -- and you remained in the case, and
·7·   · · · · · · THE WITNESS:· Yes.                            ·7·   ·you remained active in the case, and you filed on
·8·   ·BY MR. MORRIS:                                           ·8·   ·behalf of your -- withdrawn.
·9·   · · ·Q.· · ·And you continued to actively participate     ·9·   · · · · · · You stayed in the case even after
10·   ·in the bankruptcy case, correct?                         10·   ·CLO HoldCo was sued by the debtor, correct?
11·   · · ·A.· · ·That is correct.                              11·   · · ·A.· · ·Yes.
12·   · · ·Q.· · ·And months later, you made the decision to    12·   · · ·Q.· · ·And you stayed in the case long enough to
13·   ·amend CLO HoldCo's proof of claim, correct?              13·   ·negotiate a settlement on behalf of CLO HoldCo with
14·   · · ·A.· · ·Correct.                                      14·   ·the debtor, correct?
15·   · · ·Q.· · ·And months later, you made the decision to    15·   · · ·A.· · ·Correct.
16·   ·file an objection to the HarbourVest settlement,         16·   · · ·Q.· · ·And you can't identify anything that the
17·   ·correct?                                                 17·   ·judge said following the escrow hearing that had
18·   · · ·A.· · ·Correct.                                      18·   ·anything to do with you personally, correct?
19·   · · ·Q.· · ·And months after this hearing, you made the   19·   · · · · · · MR. KANE:· Objection.· Form.
20·   ·decision to withdraw that objection, correct?            20·   · · · · · · MR. MORRIS:· Withdrawn.
21·   · · · · · · MR. BRIDGES:· Objection to repeating          21·   ·BY MR. MORRIS:
22·   · · · the same questions from the last two hours          22·   · · ·Q.· · ·Can you identify anything that the judge
23·   · · · over and over again.· Are we going to keep          23·   ·said following the escrow hearing that had to do with
24·   · · · going all the way to the end.                       24·   ·your independence?
25·   ·BY MR. MORRIS:                                           25·   · · ·A.· · ·I don't remember -- I'm -- what I'm telling
                                                     Page 108                                                        Page 109
·1·   · · · · · · · · · · · Grant Scott                         ·1·   · · · · · · · · · · · Grant Scott
·2·   ·you is -- let's just be clear here since I think the     ·2·   · · ·Q.· · ·But go ahead, sir.
·3·   ·point is -- is being missed.· The issue of when I        ·3·   · · ·A.· · ·Not against me personally.
·4·   ·wanted to resign or when I first thought about           ·4·   · · ·Q.· · ·Did Judge Jernigan ever issue a ruling
·5·   ·resigning has been raised.· It was raised during my      ·5·   ·against CLO HoldCo Limited?
·6·   ·first deposition with you as well.· And what I'm         ·6·   · · ·A.· · ·Well, to my --
·7·   ·saying is -- is that after I heard about the hearing,    ·7·   · · · · · · MR. BRIDGES:· Objection.· Objection.
·8·   ·and what was said, I don't remember the exact            ·8·   · · · Calls for legal conclusion as to the
·9·   ·language.· My first reflection was, hey, maybe that      ·9·   · · · meaning of "against."
10·   ·is -- maybe that is -- if I'm going to be in this        10·   · · · · · · (Reporter clarification.)
11·   ·court having to make a claim, maybe it would be best     11·   · · · · · · THE WITNESS:· The denial of the
12·   ·if it wasn't being made by me.· That is all.             12·   · · · escrow motion created a fairly big headache
13·   · · ·Q.· · ·And I appreciate that.· And I am just         13·   · · · for CLO HoldCo in the remainder of 2020.
14·   ·trying to test the credibility of that statement.        14·   · · · · · · So I believe that was a ruling
15·   ·Okay?                                                    15·   · · · against CLO HoldCo, to answer your
16·   · · · · · · MR. BRIDGES:· Objection to the                16·   · · · question.
17·   · · · sidebar.                                            17·   ·BY MR. MORRIS:
18·   ·BY MR. MORRIS:                                           18·   · · ·Q.· · ·Okay.· Are you aware of any others?
19·   · · ·Q.· · ·Did Judge Jernigan ever issue a ruling        19·   · · · · · · MR. BRIDGES:· Objection.· Calls for a
20·   ·against you personally?                                  20·   · · · legal conclusion as to the meaning of
21·   · · · · · · MR. BRIDGES:· Asked and answered.             21·   · · · "against."
22·   · · · Objection.                                          22·   ·BY MR. MORRIS:
23·   · · · · · · MR. MORRIS:· It is not asked and              23·   · · ·Q.· · ·You can answer.
24·   · · · answered.                                           24·   · · ·A.· · ·I don't know that she's made any other
25·   ·BY MR. MORRIS:                                           25·   ·rulings except to approve the settlement.

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     Case 19-34054-sgj11 Doc 2412-17 Filed 06/05/21 Entered 06/05/21 16:49:52 Page 22 of
       Case 3:21-cv-00842-B Document 43 Filed  2207/13/21 Page 383 of 852 PageID 2288
                                                         Page 110                                                            Page 111
·1· · · · · · · · · · · · Grant Scott                               ·1· · · · · · · · · · · · Grant Scott
·2· · · ·Q.· · ·Which settlement are you referring to?              ·2· ·idea.
·3· · · ·A.· · ·The -- the TRO settlement.                          ·3· · · ·Q.· · ·Okay.· And I'm asking you if you have any
·4· · · ·Q.· · ·And were you on the -- did you listen in to         ·4· ·other data points after that hearing to support the
·5· ·the hearing during that hearing when -- when the judge         ·5· ·notion that Judge Jernigan questioned your
·6· ·approved the settlement?                                       ·6· ·independence?
·7· · · ·A.· · ·I did not.                                          ·7· · · ·A.· · ·No.
·8· · · ·Q.· · ·Did you read the transcript?                        ·8· · · · · · · MR. MORRIS:· I have no further
·9· · · ·A.· · ·I did not.                                          ·9· · · · questions.
10· · · ·Q.· · ·Did anybody ever tell you that the judge            10· · · · · · · MR. BRIDGES:· Me either.
11· ·said anything during that hearing to question your             11· · · · · · · MR. KANE:· I'm done.· Thank you.
12· ·independence?                                                  12· · · · Mr. Scott.
13· · · · · · · MR. KANE:· Objection to the extent it               13· · · · · · · (Deposition adjourned at 4:42 p.m.)
14· · · · calls for attorney/client privileged                      14
15· · · · information.                                              15
16· · · · · · · THE WITNESS:· No.· No, I think you                  16
17· · · · misunderstand.· I had one data point to go                17
18· · · · on, and that's what made me start the                     18
19· · · · process of thinking of resigning.· That's                 19
20· · · · all.                                                      20
21· ·BY MR. MORRIS:                                                 21
22· · · ·Q.· · ·I appreciate that.                                  22
23· · · ·A.· · ·The issue -- the issue has been raised              23
24· ·repeatedly, whether it was my idea or somebody else's          24
25· ·idea, that's all I'm saying.· If you can, it was my            25


                                                         Page 112                                                            Page 113
·1· · · · · · · · · · · · Grant Scott                               · 1· · · · · · · · · · ERRATA SHEET
·2· · · · · · · · · ·REPORTER'S CERTIFICATE                         ·2· Case Name:
·3· · · · I, LESHAUNDA CASS-BYRD, CSR No. B-2291, RPR,              ·3· Deposition Date:
·4· ·Registered Professional Reporter, certify that the             ·4· Deponent:
·5· ·foregoing proceedings were taken before me at the time         ·5· Pg.· No. Now Reads· · ·Should Read· Reason
·6· ·and place therein set forth, at which time the witness         ·6· ___· ___ __________· · __________· ·____________________
·7· ·was put under oath by me;                                      ·7· ___· ___ __________· · __________· ·____________________
·8· · · · That the testimony of the witness, the questions          ·8· ___· ___ __________· · __________· ·____________________
·9· ·propounded, and all objections and statements made at          ·9· ___· ___ __________· · __________· ·____________________
10· ·the time of the examination were recorded                      10· ___· ___ __________· · __________· ·____________________
11· ·stenographically by me and were thereafter                     11· ___· ___ __________· · __________· ·____________________
12· ·transcribed;                                                   12· ___· ___ __________· · __________· ·____________________
13· · · · That the foregoing is a true and correct                  13· ___· ___ __________· · __________· ·____________________
14· ·transcript of my shorthand notes to taken.                     14· ___· ___ __________· · __________· ·____________________
15· ·I further certify that I am not a relative or employee         15· ___· ___ __________· · __________· ·____________________
16· ·of any attorney or the parties, nor financially                16· ___· ___ __________· · __________· ·____________________
17· ·interested in the action.                                      17· ___· ___ __________· · __________· ·____________________
18· · · · I declare under penalty of perjury under the laws         18· ___· ___ __________· · __________· ·____________________
19· ·of North Carolina that the foregoing is true and               19· ___· ___ __________· · __________· ·____________________
20· ·correct.                                                       20
21· · · · Dated this June 1, 2021.                                  · · · · · · · · · · · · · · · · · · _____________________
22                                                                  21· · · · · · · · · · · · · · · · · Signature of Deponent
23                                                                  22· SUBSCRIBED AND SWORN BEFORE ME
· · · · · · · · __________________________________                  23· THIS ____ DAY OF __________, 2021.
24· · · · · · · LESHAUNDA CASS-BYRD, CCR-B-2291, RPR                24· ____________________
25                                                                  25· (Notary Public)· ·MY COMMISSION EXPIRES:__________



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Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 384 of 852 PageID 2289



                             EXHIBIT 4




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   Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 1 of 161
    Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 385Docket    #1943 Date Filed: 02/22/2021
                                                                 of 852  PageID 2290




The following constitutes the ruling of the court and has the force and effect therein described.




Signed February 22, 2021
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

                                                                       )
         In re:                                                        )   Chapter 11
                                                                       )
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          )   Case No. 19-34054-sgj11
                                                                       )
                                          Debtor.                      )

                    ORDER (I) CONFIRMING THE FIFTH AMENDED
                  PLAN OF REORGANIZATION OF HIGHLAND CAPITAL
           MANAGEMENT, L.P. (AS MODIFIED) AND (II) GRANTING RELATED RELIEF


                  The Bankruptcy Court 2 having:
                  a.    entered, on November 24, 2020, the Order (A) Approving the Adequacy of the
                        Disclosure Statement, (B) Scheduling A Hearing to Confirm the Fifth Amended
                        Plan of Reorganization (C) Establishing Deadline for Filing Objections to
                        Confirmation of Plan, (D) Approving Form of Ballots, Voting Deadline and
                        Solicitation Procedures, and (E) Approving Form and Manner of Notice [Docket
                        No. 1476] (the “Disclosure Statement Order”), pursuant to which the Bankruptcy
                        Court approved the adequacy of the Disclosure Statement Relating to the Fifth

     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
     2
      Capitalized terms used but not otherwise defined herein have the meanings given to them in the Plan (as defined
     below). The rules of interpretation set forth in Article I of the Plan apply to this Confirmation Order.



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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 2 of 161
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 386 of 852 PageID 2291



                    Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket
                    No. 1473] (the “Disclosure Statement”) under section 1125 of the Bankruptcy Code
                    and authorized solicitation of the Disclosure Statement;

           b.       set January 5, 2021, at 5:00 p.m. prevailing Central Time (the “Objection
                    Deadline”), as the deadline for filing objections to confirmation of the Fifth
                    Amended Plan of Reorganization of Highland Capital Management, L.P. (As
                    Modified) [Docket No. 1808] (as amended, supplemented or modified, the “Plan”);

           c.       set January 5, 2021, at 5:00 p.m. prevailing Central Time, as the deadline for voting
                    on the Plan (the “Voting Deadline”) in accordance with the Disclosure Statement
                    Order;

           d.       initially set January 13, 2021, at 9:30 a.m. prevailing Central Time, as the date and
                    time to commence the hearing to consider confirmation of the Plan pursuant to
                    Bankruptcy Rules 3017 and 3018, sections 1126, 1128, and 1129 of the Bankruptcy
                    Code, and the Disclosure Statement Order, which hearing was continued to January
                    26, 2021, at 9:30 a.m. prevailing Central Time and further continued to February 2,
                    2021;

           e.       reviewed: (i) the Plan; (ii) the Disclosure Statement; and (iii) Notice of (I) Entry of
                    Order Approving Disclosure Statement; (II) Hearing to Confirm; and (III) Related
                    Important Dates (the “Confirmation Hearing Notice”), the form of which is
                    attached as Exhibit 1-B to the Disclosure Statement Order;

           f.       reviewed: (i) the Debtor’s Notice of Filing of Plan Supplement for the Third
                    Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket
                    No. 1389] filed November 13, 2020; (ii) Debtor’s Notice of Filing of Plan
                    Supplement for the Fifth Amended Plan of Reorganization of Highland Capital
                    Management, L.P. [Docket No. 1606] filed on December 18, 2020; (iii) the
                    Debtor’s Notice of Filing of Plan Supplement for the Fifth Amended Plan of
                    Reorganization of Highland Capital Management, L.P. [Docket No. 1656] filed on
                    January 4, 2021; (iv) Notice of Filing Plan Supplement to the Fifth Amended Plan
                    of Reorganization of Highland Capital Management, L.P. (with Technical
                    Modifications)t dated January 22, 2021 [Docket No. 1811]; and (v) Debtor’s Notice
                    of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of
                    Highland of Highland Capital Management, L.P. (As Modified) on February 1,
                    2021 [Docket No. 1875]; (collectively, the documents listed in (i) through (v) of
                    this paragraph, the “Plan Supplements”);

           g.       reviewed: (i) the Notice of (I) Executory Contracts and Unexpired Leases to be
                    Assumed by the Debtor Pursuant to the Fifth Amended Plan, (II) Cure Amounts, if
                    Any, and (III) Related Procedures in Connection Therewith filed on December 30,
                    2020 [Docket No. 1648]; (ii) the Second Notice of (I) Executory Contracts and

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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 3 of 161
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 387 of 852 PageID 2292



                    Unexpired Leases to be Assumed by the Debtor Pursuant to the Fifth Amended
                    Plan, (II) Cure Amounts, if Any, and (III) Related Procedures in Connection
                    Therewith filed on January 11, 2021 [Docket No.1719]; (iii) the Third Notice of
                    (I) Executory Contracts and Unexpired Leases to be Assumed by the Debtor
                    Pursuant to the Fifth Amended Plan, (II) Cure Amounts, if Any, and (III) Related
                    Procedures in Connection Therewith filed on January 15, 2021 [Docket No. 1749];
                    (iv) the Notice of Withdrawal of Certain Executory Contracts and Unexpired
                    Leases from List of Executory Contracts and Unexpired Leases to be Assumed by
                    the Debtor Pursuant to the Fifth Amended Plan [Docket No. 1791]; (v) the Fourth
                    Notice of (I) Executory Contracts and Unexpired Leases to be Assumed by the
                    Debtor Pursuant to the Fifth Amended Plan (II) Cure Amounts, if Any, and (III)
                    Released Procedures in Connection Therewith filed on January 27, 2021 [Docket
                    No. 1847]; (vi) the Notice of Hearing on Agreed Motion to (I) Assume
                    Nonresidential Real Property Lease with Crescent TC Investors, L.P. Upon
                    Confirmation of Plan and (II) Extend Assumption Deadline filed on January 28,
                    2021 [Docket No. 1857]; and (vii) the Fifth Notice of (I) Executory Contracts and
                    Unexpired Leases to be Assumed by the Debtor Pursuant to the Fifth Amended Plan
                    (II) Cure Amounts, if Any, and (III) Released Procedures in Connection Therewith
                    filed on February 1, 2021 [Docket No. 1873] (collectively, the documents referred
                    to in (i) to (vii) are referred to as “List of Assumed Contracts”);

           h.       reviewed: (i) the Debtor’s Memorandum of Law in Support of Confirmation of the
                    Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
                    [Docket No. 1814] (the “Confirmation Brief”); (ii) the Debtor’s Omnibus Reply to
                    Objections to Confirmation of the Fifth Amended Chapter 11 Plan of
                    Reorganization of Highland Capital Management; [Docket No. 1807]; and (iii) the
                    Certification of Patrick M. Leathem With Respect to the Tabulation of Votes on the
                    Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
                    [Docket No. 1772] and Supplemental Certification of Patrick M. Leathem With
                    Respect to the Tabulation of Votes on the Fifth Amended Plan of Reorganization of
                    Highland Capital Management, L.P. [Docket No. 1887] filed on February 3, 2021
                    (together, the “Voting Certifications”).

           i.       reviewed: (i) the Notice of Affidavit of Publication dated December 3, 2020 [Docket
                    No. 1505]; (ii) the Certificate of Service dated December 23, 2020 [Docket No.
                    1630]; (iii) the Supplemental Certificate of Service dated December 24, 2020
                    [Docket No. 1637]; (iv) the Second Supplemental Certificate of Service dated
                    December 31, 2020 [Docket No. 1653]; (v) the Certificate of Service dated
                    December 23, 2020 [Docket No. 1627]; (vi) the Certificate of Service dated January
                    6, 2021 [Docket No. 1696]; (vii) the Certificate of Service dated January 7, 2021
                    [Docket No. 1699]; (viii) the Certificate of Service dated January 7, 2021 [Docket
                    No 1700]; (ix) the Certificate of Service dated January 15, 2021 [Docket No. 1761];
                    (x) the Certificate of Service dated January 19, 2021 [Docket No. 1775]; (xi) the


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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 4 of 161
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 388 of 852 PageID 2293



                    Certificate of Service dated January 20, 2021 [Docket No. 1787]; (xii) the
                    Certificate of Service dated January 26, 2021[Docket No. 1844]; (xiii) the
                    Certificate of Service dated January 27, 2021 [Docket No. 1854]; (xiv) the
                    Certificate of Service dated February 1, 2021 [Docket No. 1879]; (xv) the
                    Certificates of Service dated February 3, 2021 [Docket No. 1891 and 1893]; and
                    (xvi) the Certificates of Service dated February 5, 2021 [Docket Nos. 1906, 1907,
                    1908 and 1909] (collectively, the “Affidavits of Service and Publication”);

           j.       reviewed all filed 3 pleadings, exhibits, statements, and comments regarding
                    approval of the Disclosure Statement and confirmation of the Plan, including all
                    objections, statements, and reservations of rights;

           k.       conducted a hearing to consider confirmation of the Plan, which commenced on
                    February 2, 2021, at 9:30 a.m. prevailing Central Time and concluded on February
                    3, 2021, and issued its oral ruling on February 8, 2021 (collectively, the
                    “Confirmation Hearing);

           l.       heard the statements and arguments made by counsel in respect of confirmation of
                    the Plan and having considered the record of this Chapter 11 Case and taken judicial
                    notice of all papers and pleadings filed in this Chapter 11 Case; and

           m.       considered all oral representations, testimony, documents, filings, and other
                    evidence regarding confirmation of the Plan, including (a) all of the exhibits
                    admitted into evidence; 4 (b) the sworn testimony of (i) James P. Seery, Jr., the
                    Debtor’s Chief Executive Officer and Chief Restructuring Officer and a member of
                    the Board of Directors of Strand Advisors, Inc. (“Strand”), the Debtor’s general
                    partner; (ii) John S. Dubel, a member of the Board of Strand; (iii) Marc Tauber, a
                    Vice President at Aon Financial Services; and (iv) Robert Jason Post, the Chief
                    Compliance Officer of NexPoint Advisors, LP (collectively, the “Witnesses”); (c)
                    the credibility of the Witnesses; and (d) the Voting Certifications.

           NOW, THEREFORE, after due deliberation thereon and good cause appearing therefor,

  the Bankruptcy Court hereby makes and issues the following findings of fact and conclusions of

  law:



  3
   Unless otherwise indicated, use of the term “filed” herein refers also to the service of the applicable document filed
  on the docket in this Chapter 11 Case, as applicable.
  4
    The Court admitted the following exhibits into evidence: (a) all of the Debtor’s exhibits lodged at Docket No. 1822
  (except TTTTT, which was withdrawn by the Debtor); (b) all of the Debtor’s exhibits lodged at Docket No. 1866; (c)
  all of the Debtor’s exhibits lodged at Docket No. 1877; (d) all of the Debtor’s exhibits lodged at Docket No. 1895;
  and (e) Exhibits 6-12 and 15-17 offered by Mr. James Dondero and lodged at Docket No. 1874.


                                                            4
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 5 of 161
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 389 of 852 PageID 2294




                         FINDINGS OF FACT AND CONCLUSIONS OF LAW

                    1.          Findings of Fact and Conclusions of Law. The findings and conclusions

  set forth herein, together with the findings of fact and conclusions of law set forth in the record

  during the Confirmation Hearing, constitute the Bankruptcy Court’s findings of fact and

  conclusions of law pursuant to Federal Rule of Civil Procedure 52, made applicable to this

  proceeding pursuant to Bankruptcy Rules 7052 and 9014. To the extent any of the following

  findings of fact constitute conclusions of law, they are adopted as such. To the extent that any of

  the following conclusions of law constitute findings of fact, they are adopted as such.

                    2.          Introduction and Summary of the Plan. Prior to addressing the specific

  requirements under the Bankruptcy Code and Bankruptcy Rules with respect to the confirmation

  of the Plan, the Bankruptcy Court believes it would be useful to first provide the following

  background of the Debtor’s Chapter 11 Case, the parties involved therewith, and some of the major

  events that have transpired culminating in the filing and solicitation of the Plan of this very unusual

  case. Before the Bankruptcy Court is the Debtor’s Fifth Amended Plan of Reorganization of

  Highland Capital Management, L.P., filed on November 24, 2020, as modified on January 22,

  2021 and again on February 1, 2021. The parties have repeatedly referred to the Plan as an “asset

  monetization plan” because it involves the orderly wind-down of the Debtor’s estate, including the

  sale of assets and certain of its funds over time, with the Reorganized Debtor continuing to manage

  certain other funds, subject to the oversight of the Claimant Trust Oversight Board. The Plan

  provides for a Claimant Trust to, among other things, manage and monetize the Claimant Trust

  Assets for the benefit of the Debtor’s economic stakeholders. The Claimant Trustee is responsible



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  DOCS_SF:104487.21 36027/002
  000386
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 6 of 161
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 390 of 852 PageID 2295




  for this process, among other duties specified in the Plan’s Claimant Trust Agreement. There is

  also anticipated to be a Litigation Sub-trust established for the purpose of pursuing certain

  avoidance or other causes of action for the benefit of the Debtor’s economic constituents.

                    3.          Confirmation Requirements Satisfied. The Plan is supported by the

  Committee and all claimants with Convenience Claims (i.e., general unsecured claims under $1

  million) who voted in Class 7. Claimants with Class 8 General Unsecured Claims, however, voted

  to reject the Plan because, although the Plan was accepted by 99.8% of the amount of Claims in

  that class, only 17 claimants voted to accept the Plan while 27 claimants voted to reject the Plan.

  As a result of such votes, and because Mr. Dondero and the Dondero Related Entities (as defined

  below) objected to the Plan on a variety of grounds primarily relating to the Plan’s release,

  exculpation and injunction provisions, the Bankruptcy Court heard two full days of evidence on

  February 2 and 3, 2021, and considered testimony from five witnesses and thousands of pages of

  documentary evidence in determining whether the Plan satisfies the confirmation standards

  required under the Bankruptcy Code. The Bankruptcy Court finds and concludes that the Plan

  meets all of the relevant requirements of sections 1123, 1124, and 1129, and other applicable

  provisions of the Bankruptcy Code, as more fully set forth below with respect to each of the

  applicable confirmation requirements.

                    4.          Not Your Garden Variety Debtor. The Debtor’s case is not a garden

  variety chapter 11 case. The Debtor is a multibillion-dollar global investment adviser registered

  with the SEC, pursuant to the Investment Advisers Act of 1940. It was founded in 1993 by James

  Dondero and Mark Okada. Mark Okada resigned from his role with Highland prior to the



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  DOCS_SF:104487.21 36027/002
  000387
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 7 of 161
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 391 of 852 PageID 2296




  bankruptcy case being filed on October 16, 2019 (the “Petition Date”). Mr. Dondero controlled

  the Debtor as of the Petition Date but agreed to relinquish control of it on or about January 9, 2020,

  pursuant to an agreement reached with the Committee, as described below. Although Mr. Dondero

  remained with the Debtor as an unpaid employee/portfolio manager after January 9, 2020, his

  employment with the Debtor terminated on October 9, 2020. Mr. Dondero continues to work for

  and/or control numerous non-debtor entities in the complex Highland enterprise.

                    5.          The Debtor. The Debtor is headquartered in Dallas, Texas. As of the

  Petition Date, the Debtor employed approximately 76 employees. The Debtor is privately-owned:

  (a) 99.5% by the Hunter Mountain Investment Trust; (b) 0.1866% by The Dugaboy Investment

  Trust, a trust created to manage the assets of Mr. Dondero and his family; (c) 0.0627% by Mark

  Okada, personally and through family trusts; and (d) 0.25% by Strand, the Debtor’s general

  partner.

                    6.          The Highland Enterprise. Pursuant to various contractual arrangements,

  the Debtor provides money management and advisory services for billions of dollars of assets,

  including collateralized loan obligation vehicles (“CLOs”), and other investments. Some of these

  assets are managed by the Debtor pursuant to shared services agreements with certain affiliated

  entities, including other affiliated registered investment advisors. In fact, there are approximately

  2,000 entities in the byzantine complex of entities under the Highland umbrella. None of these

  affiliated entities filed for chapter 11 protection. Most, but not all, of these entities are not

  subsidiaries (direct or indirect) of the Debtor. Many of the Debtor’s affiliated companies are




                                                       7
  DOCS_SF:104487.21 36027/002
  000388
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 8 of 161
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 392 of 852 PageID 2297




  offshore entities, organized in jurisdictions such as the Cayman Islands and Guernsey. See

  Disclosure Statement, at 17-18.

                    7.          Debtor’s Operational History. The Debtor’s primary means of generating

  revenue has historically been from fees collected for the management and advisory services

  provided to funds that it manages, plus fees generated for services provided to its affiliates. For

  additional liquidity, the Debtor, prior to the Petition Date, would sell liquid securities in the

  ordinary course, primarily through a brokerage account at Jefferies, LLC. The Debtor would also,

  from time to time, sell assets at non-Debtor subsidiaries and cause those proceeds to be distributed

  to the Debtor in the ordinary course of business. The Debtor’s current Chief Executive Officer,

  James P. Seery, Jr., credibly testified at the Confirmation Hearing that the Debtor was “run at a

  deficit for a long time and then would sell assets or defer employee compensation to cover its

  deficits.” The Bankruptcy Court cannot help but wonder if that was necessitated because of

  enormous litigation fees and expenses incurred by the Debtor due to its culture of litigation—as

  further addressed below.

                    8.          Not Your Garden Variety Creditor’s Committee. The Debtor and this

  chapter 11 case are not garden variety for so many reasons. One of the most obvious standouts in

  this case is the creditor constituency. The Debtor did not file for bankruptcy because of any of the

  typical reasons that large companies file chapter 11. For example, the Debtor did not have a large,

  asset-based secured lender with whom it was in default; it only had relatively insignificant secured

  indebtedness owing to Jeffries, with whom it had a brokerage account, and one other entity,

  Frontier State Bank. The Debtor also did not have problems with its trade vendors or landlords.



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  DOCS_SF:104487.21 36027/002
  000389
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 9 of 161
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 393 of 852 PageID 2298




  The Debtor also did not suffer any type of catastrophic business calamity. In fact, the Debtor filed

  for Chapter 11 protection six months before the onset of the COVID-19 pandemic. Rather, the

  Debtor filed for Chapter 11 protection due to a myriad of massive, unrelated, business litigation

  claims that it faced—many of which had finally become liquidated (or were about to become

  liquidated) after a decade or more of contentious litigation in multiple forums all over the world.

  The Committee in this case has referred to the Debtor—under its former chief executive, Mr.

  Dondero—as a “serial litigator.” The Bankruptcy Court agrees with that description. By way of

  example, the members of the Committee (and their history of litigation with the Debtor and others

  in the Highland complex) are as follows:

           a.       The Redeemer Committee of the Highland Crusader Fund (the “Redeemer
                    Committee”). This Committee member obtained an arbitration award against the
                    Debtor in the amount of $190,824,557, inclusive of interest, approximately five
                    months before the Petition Date, from a panel of the American Arbitration
                    Association. It was on the verge of having that award confirmed by the Delaware
                    Chancery Court immediately prior to the Petition Date, after years of disputes that
                    started in late 2008 (and included legal proceedings in Bermuda). This creditor’s
                    claim was settled during this Chapter 11 Case in the amount of approximately
                    $137,696,610 (subject to other adjustments and details not relevant for this
                    purpose).

           b.       Acis Capital Management, L.P., and Acis Capital Management GP, LLC
                    (“Acis”). Acis was formerly in the Highland complex of companies, but was not
                    affiliated with Highland as of the Petition Date. This Committee member and its
                    now-owner, Joshua Terry, were involved in litigation with the Debtor dating back
                    to 2016. Acis was forced by Mr. Terry (who was a former Highland portfolio
                    manager) into an involuntary chapter 11 bankruptcy in the Bankruptcy Court for
                    the Northern District of Texas, Dallas Division before the Bankruptcy Court in
                    2018, after Mr. Terry obtained an approximately $8 million arbitration award and
                    judgment against Acis. Mr. Terry ultimately was awarded the equity ownership of
                    Acis by the Bankruptcy Court in the Acis bankruptcy case. Acis subsequently
                    asserted a multi-million dollar claim against Highland in the Bankruptcy Court for
                    Highland’s alleged denuding of Acis to defraud its creditors—primarily Mr. Terry.
                    The litigation involving Acis and Mr. Terry dates back to mid-2016 and has


                                                     9
  DOCS_SF:104487.21 36027/002
  000390
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 10 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 394 of 852 PageID 2299



                    continued on with numerous appeals of Bankruptcy Court orders, including one
                    appeal still pending at the Fifth Circuit Court of Appeals. There was also litigation
                    involving Mr. Terry and Acis in the Royal Court of the Island of Guernsey and in
                    a state court in New York. The Acis claim was settled during this Chapter 11 Case,
                    in Bankruptcy Court-ordered mediation, for approximately $23 million (subject to
                    other details not relevant for this purpose), and is the subject of an appeal being
                    pursued by Mr. Dondero.

           c.       UBS Securities LLC and UBS AG London Branch (“UBS”). UBS is a
                    Committee member that filed a proof of claim in the amount of $1,039,957,799.40
                    in this Chapter 11 Case. The UBS Claim was based on a judgment that UBS
                    received from a New York state court in 2020. The underlying decision was issued
                    in November 2019, after a multi-week bench trial (which had occurred many
                    months earlier) on a breach of contract claim against non-Debtor entities in the
                    Highland complex. The UBS litigation related to activities that occurred in 2008
                    and 2009. The litigation involving UBS and Highland and affiliates was pending
                    for more than a decade (there having been numerous interlocutory appeals during
                    its history). The Debtor and UBS recently announced an agreement in principle for
                    a settlement of the UBS claim (which came a few months after Bankruptcy Court-
                    ordered mediation) which will be subject to a 9019 motion to be filed with the
                    Bankruptcy Court on a future date.

           d.       Meta-E Discovery (“Meta-E”). Meta-E is a Committee member that is a vendor
                    who happened to supply litigation and discovery-related services to the Debtor over
                    the years. It had unpaid invoices on the Petition Date of more than $779,000.

  It is fair to say that the members of the Committee in this case all have wills of steel. They fought

  hard before and during this Chapter 11 Case. The members of the Committee, all of whom have

  volunteered to serve on the Claimant Trust Oversight Board post-confirmation, are highly

  sophisticated and have had highly sophisticated professionals representing them. They have

  represented their constituency in this case as fiduciaries extremely well.

                    9.          Other Key Creditor Constituents. In addition to the Committee members

  who were all embroiled in years of litigation with Debtor and its affiliates in various ways, the

  Debtor has been in litigation with Patrick Daugherty, a former limited partner and employee of the

  Debtor, for many years in both Delaware and Texas state courts. Mr. Daugherty filed an amended


                                                       10
  DOCS_SF:104487.21 36027/002
  000391
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 11 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 395 of 852 PageID 2300




  proof of claim in this Chapter 11 Case for $40,710,819.42 relating to alleged breaches of

  employment-related agreements and for defamation arising from a 2017 press release posted by

  the Debtor. The Debtor and Mr. Daugherty recently announced a settlement of Mr. Daugherty’s

  claim pursuant to which he will receive $750,000 in cash on the Effective Date of the Plan, an

  $8.25 million general unsecured claim, and a $2.75 million subordinated claim (subject to other

  details not relevant for this purpose). Additionally, entities collectively known as “HarbourVest”

  invested more than $70 million with an entity in the Highland complex and asserted a $300 million

  proof of claim against the Debtor in this case, alleging, among other things, fraud and RICO

  violations. HarbourVest’s claim was settled during the bankruptcy case for a $45 million general

  unsecured claim and a $35 million subordinated claim, and that settlement is also being appealed

  by a Dondero Entity.

                    10.         Other Claims Asserted. Other than the Claims just described, most of the

  other Claims in this Chapter 11 Case are Claims asserted against the Debtor by: (a) entities in the

  Highland complex—most of which entities the Bankruptcy Court finds to be controlled by Mr.

  Dondero; (b) employees who contend that are entitled to large bonuses or other types of deferred

  compensation; and (c) numerous law firms that worked for the Debtor prior to the Petition Date

  and had outstanding amounts due for their prepetition services.

                    11.         Not Your Garden Variety Post-Petition Corporate Governance

  Structure. Yet another reason this is not your garden variety chapter 11 case is its post-petition

  corporate governance structure. Immediately from its appointment, the Committee’s relationship

  with the Debtor was contentious at best. First, the Committee moved for a change of venue from



                                                        11
  DOCS_SF:104487.21 36027/002
  000392
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 12 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 396 of 852 PageID 2301




  Delaware to Dallas. Second, the Committee (and later, the United States Trustee) expressed its

  then-desire for the appointment of a chapter 11 trustee due to its concerns over and distrust of Mr.

  Dondero, his numerous conflicts of interest, and his history of alleged mismanagement (and

  perhaps worse).

                    12.         Post-Petition Corporate Governance Settlement with Committee. After

  spending many weeks under the threat of the potential appointment of a trustee, the Debtor and

  Committee engaged in substantial and lengthy negotiations resulting in a corporate governance

  settlement approved by the Bankruptcy Court on January 9, 2020. 5 As a result of this settlement,

  among other things, Mr. Dondero relinquished control of the Debtor and resigned his positions as

  an officer or director of the Debtor and its general partner, Strand. As noted above, Mr. Dondero

  agreed to this settlement pursuant a stipulation he executed, 6 and he also agreed not to cause any

  Related Entity (as defined in the Settlement Motion) to terminate any agreements with the Debtor.

  The January 9 Order also (a) required that the Bankruptcy Court serve as “gatekeeper” prior to the

  commencement of any litigation against the three independent board members appointed to

  oversee and lead the Debtor’s restructuring in lieu of Mr. Dondero and (b) provided for the

  exculpation of those board members by limiting claims subject to the “gatekeeper” provision to

  those alleging willful misconduct and gross negligence.



  5
   This order is hereinafter referred to as the “January 9 Order” and was entered by the Court on January 9, 2020
  [Docket No. 339] pursuant to the Motion of the Debtor to Approve Settlement with Official Committee of Unsecured
  Creditors Regarding the Governance of the Debtor and Procedures for Operation in the Ordinary Course [Docket
  No. 281] (the “Settlement Motion”).
  6
    See Stipulation in Support of Motion of the Debtor for Approval of Settlement With the Official Committee of
  Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in Ordinary Course
  [Docket No. 338] (the “Stipulation”).


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  DOCS_SF:104487.21 36027/002
  000393
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 13 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 397 of 852 PageID 2302




                    13.         Appointment of Independent Directors. As part of the Bankruptcy

  Court-approved settlement, three eminently qualified independent directors were chosen to lead

  Highland through its Chapter 11 Case. They are: James P. Seery, Jr., John S. Dubel (each chosen

  by the Committee), and Retired Bankruptcy Judge Russell Nelms. These three individuals are

  each technically independent directors of Strand (Mr. Dondero had previously been the sole

  director of Strand and, thus, the sole person in ultimate control of the Debtor). The three

  independent board members’ resumes are in evidence. The Bankruptcy Court later approved Mr.

  Seery’s appointment as the Debtor’s Chief Executive Officer, Chief Restructuring Officer, and

  Foreign Representative.          Suffice it to say that this settlement and the appointment of the

  independent directors changed the entire trajectory of the case and saved the Debtor from the

  appointment of a trustee. The Bankruptcy Court and the Committee each trusted the independent

  directors. They were the right solution at the right time. Because of the unique character of the

  Debtor’s business, the Bankruptcy Court believed the appointment of three qualified independent

  directors was a far better outcome for creditors than the appointment of a conventional chapter 11

  trustee. Each of the independent directors brought unique qualities to the table. Mr. Seery, in

  particular, knew and had vast experience at prominent firms with high-yield and distressed

  investing similar to the Debtor’s business. Mr. Dubel had 40 years of experience restructuring

  large complex businesses and serving on boards in this context. And Retired Judge Nelms had not

  only vast bankruptcy experience but seemed particularly well-suited to help the Debtor maneuver

  through conflicts and ethical quandaries. By way of comparison, in the chapter 11 case of Acis,

  the former affiliate of Highland that the Bankruptcy Court presided over and which company was



                                                     13
  DOCS_SF:104487.21 36027/002
  000394
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 14 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 398 of 852 PageID 2303




  much smaller in size and scope than Highland (managing only 5-6 CLOs), the creditors elected a

  chapter 11 trustee who was not on the normal trustee rotation panel in this district but, rather, was

  a nationally known bankruptcy attorney with more than 45 years of large chapter 11 experience.

  While the Acis chapter 11 trustee performed valiantly, he was sued by entities in the Highland

  complex shortly after he was appointed (which the Bankruptcy Court had to address). The Acis

  trustee was also unable to persuade the Debtor and its affiliates to agree to any actions taken in the

  case, and he finally obtained confirmation of Acis’ chapter 11 plan over the objections of the

  Debtor and its affiliates on his fourth attempt (which confirmation was promptly appealed).

                    14.         Conditions Required by Independent Directors. Given the experiences

  in Acis and the Debtor’s culture of constant litigation, it was not as easy to get such highly qualified

  persons to serve as independent board members and, later, as the Debtor’s Chief Executive Officer,

  as it would be in an ordinary chapter 11 case. The independent board members were stepping into

  a morass of problems. Naturally, they were worried about getting sued no matter how defensible

  their efforts—given the litigation culture that enveloped Highland historically. Based on the

  record of this Case and the proceedings in the Acis chapter 11 case, it seemed as though everything

  always ended in litigation at Highland. The Bankruptcy Court heard credible testimony that none

  of the independent directors would have taken on the role of independent director without (1) an

  adequate directors and officers’ (“D&O”) insurance policy protecting them; (2) indemnification

  from Strand that would be guaranteed by the Debtor; (3) exculpation for mere negligence claims;

  and (4) a gatekeeper provision prohibiting the commencement of litigation against the independent

  directors without the Bankruptcy Court’s prior authority. This gatekeeper provision was also



                                                      14
  DOCS_SF:104487.21 36027/002
  000395
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 15 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 399 of 852 PageID 2304




  included in the Bankruptcy Court’s order authorizing the appointment of Mr. Seery as the Debtor’s

  Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative entered on

  July 16, 2020. 7 The gatekeeper provisions in both the January 9 Order and July 16 Order are

  precisely analogous to what bankruptcy trustees have pursuant to the so-called “Barton Doctrine”

  (first articulated in an old Supreme Court case captioned Barton v. Barbour, 104 U.S. 126 (1881)).

  The Bankruptcy Court approved all of these protections in the January 9 Order and the July 16

  Order, and no one appealed either of those orders. As noted above, Mr. Dondero signed the

  Stipulation that led to the settlement that was approved by the January 9 Order. The Bankruptcy

  Court finds that, like the Committee, the independent board members have been resilient and

  unwavering in their efforts to get the enormous problems in this case solved. They seem to have

  at all times negotiated hard and in good faith, which culminated in the proposal of the Plan

  currently before the Bankruptcy Court. As noted previously, they completely changed the

  trajectory of this case.

                    15.         Not Your Garden Variety Mediators. And still another reason why this

  was not your garden variety case was the mediation effort. In the summer of 2020, roughly nine

  months into the chapter 11 case, the Bankruptcy Court ordered mediation among the Debtor, Acis,

  UBS, the Redeemer Committee, and Mr. Dondero. The Bankruptcy Court selected co-mediators

  because mediation among these parties seemed like such a Herculean task—especially during

  COVID-19 where people could not all be in the same room. Those co-mediators were: Retired



  7
   See Order Approving the Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing
  Retention of James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative
  Nunc Pro Tunc to March 15, 2020 [Docket No. 854] entered on July 16, 2020 (the “July 16 Order”)


                                                          15
  DOCS_SF:104487.21 36027/002
  000396
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 16 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 400 of 852 PageID 2305




  Bankruptcy Judge Alan Gropper from the Southern District of New York, who had a distinguished

  career presiding over complex chapter 11 cases, and Ms. Sylvia Mayer, who likewise has had a

  distinguished career, first as a partner at a preeminent law firm working on complex chapter 11

  cases, and subsequently as a mediator and arbitrator in Houston, Texas. As noted earlier, the

  Redeemer Committee and Acis claims were settled during the mediation—which seemed nothing

  short of a miracle to the Bankruptcy Court—and the UBS claim was settled several months later

  and the Bankruptcy Court believes the ground work for that ultimate settlement was laid, or at

  least helped, through the mediation. And, as earlier noted, other significant claims have been

  settled during this case, including those of HarbourVest (who asserted a $300 million claim) and

  Patrick Daugherty (who asserted a $40 million claim). The Bankruptcy Court cannot stress

  strongly enough that the resolution of these enormous claims—and the acceptance by all of these

  creditors of the Plan that is now before the Bankruptcy Court—seems nothing short of a miracle.

  It was more than a year in the making.

                    16.         Not Your Garden Variety Plan Objectors (That Is, Those That

  Remain). Finally, a word about the current, remaining objectors to the Plan before the Bankruptcy

  Court. Once again, the Bankruptcy Court will use the phrase “not your garden variety”, which

  phrase applies to this case for many reasons. Originally, there were over a dozen objections filed

  to the Plan. The Debtor then made certain amendments or modifications to the Plan to address

  some of these objections, none of which require further solicitation of the Plan for reasons set forth

  in more detail below. The only objectors to the Plan left at the time of the Confirmation Hearing




                                                   16
  DOCS_SF:104487.21 36027/002
  000397
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 17 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 401 of 852 PageID 2306




  were Mr. Dondero [Docket No. 1661] and entities that the Bankruptcy Court finds are owned

  and/or controlled by him and that filed the following objections:

           a.       Objection to Confirmation of the Debtor’s Fifth Amended Plan of Reorganization
                    (filed by Get Good Trust and The Dugaboy Investment Trust) [Docket No. 1667];

           b.       Objection to Confirmation of Fifth Amended Plan of Reorganization of Highland
                    Capital Management, L.P. (filed by Highland Capital Management Fund Advisors,
                    L.P., Highland Fixed Income Fund, Highland Funds I and its series, Highland
                    Funds II and its series, Highland Global Allocation Fund, Highland Healthcare
                    Opportunities Fund, Highland Income Fund, Highland Merger Arbitrate Fund,
                    Highland Opportunistic Credit Fund, Highland Small-Cap Equity Fund, Highland
                    Socially Responsible Equity Fund, Highland Total Return Fund, Highland/iBoxx
                    Senior Loan ETF, NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint Real
                    Estate Strategies Fund, NexPoint Strategic Opportunities Fund) [Docket No.
                    1670];

           c.       A Joinder to the Objection filed at 1670 by: NexPoint Real Estate Finance Inc.,
                    NexPoint Real Estate Capital, LLC, NexPoint Residential Trust, Inc., NexPoint
                    Hospitality Trust, NexPoint Real Estate Partners, LLC, NexPoint Multifamily
                    Capital Trust, Inc., VineBrook Homes Trust, Inc., NexPoint Real Estate Advisors,
                    L.P., NexPoint Real Estate Advisors II, L.P., NexPoint Real Estate Advisors III,
                    L.P., NexPoint Real Estate Advisors IV, L.P., NexPoint Real Estate Advisors V,
                    L.P., NexPoint Real Estate Advisors VI, L.P., NexPoint Real Estate Advisors VII,
                    L.P., NexPoint Real Estate Advisors VIII, L.P., and any funds advised by the
                    foregoing [Docket No. 1677];

           d.       NexPoint Real Estate Partners LLC’s Objection to Debtor’s Fifth Amended Plan
                    of Reorganization (filed by NexPoint Real Estate Partners LLC f/k/a HCRE
                    Partners LLC) [Docket No. 1673]; and

           e.       NexBank’s Objection to Debtor’s Fifth Amended Plan of Reorganization (filed by
                    NexBank Title, Inc., NexBank Securities, Inc., NexBank Capital, Inc., and
                    NexBank) [Docket No. 1676]. The entities referred to in (i) through (v) of this
                    paragraph are hereinafter referred to as the “Dondero Related Entities”).

                    17.         Questionability of Good Faith as to Outstanding Confirmation

  Objections. Mr. Dondero and the Dondero Related Entities technically have standing to object to

  the Plan, but the remoteness of their economic interests is noteworthy, and the Bankruptcy Court



                                                   17
  DOCS_SF:104487.21 36027/002
  000398
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 18 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 402 of 852 PageID 2307




  questions the good faith of Mr. Dondero’s and the Dondero Related Entities’ objections. In fact,

  the Bankruptcy Court has good reason to believe that these parties are not objecting to protect

  economic interests they have in the Debtor but to be disruptors. Mr. Dondero wants his company

  back. This is understandable, but it is not a good faith basis to lob objections to the Plan. As

  detailed below, the Bankruptcy Court has slowed down plan confirmation multiple times and urged

  the parties to talk to Mr. Dondero in an attempt to arrive at what the parties have repeatedly referred

  to as a “grand bargain,” the ultimate goal to resolve the Debtor’s restructuring. The Debtor and

  the Committee represent that they have communicated with Mr. Dondero regarding a grand

  bargain settlement, and the Bankruptcy Court believes that they have.

                    18.         Remote Interest of Outstanding Confirmation Objectors. To be specific

  about the remoteness of Mr. Dondero’s and the Dondero Related Entities’ interests, the Bankruptcy

  Court will address them each separately. First, Mr. Dondero has a pending objection to the Plan.

  Mr. Dondero’s only economic interest with regard to the Debtor is an unliquidated indemnification

  claim (and, based on everything the Bankruptcy Court has heard, his indemnification claims would

  be highly questionable at this juncture). Mr. Dondero owns no equity in the Debtor directly. Mr.

  Dondero owns the Debtor’s general partner, Strand, which in turn owns a quarter percent of the

  total equity in the Debtor. Second, a joint objection has been filed by The Dugaboy Trust

  (“Dugaboy”) and the Get Good Trust (“Get Good”). The Dugaboy Trust was created to manage

  the assets of Mr. Dondero and his family and owns a 0.1866% limited partnership interest in the

  Debtor. See Disclosure Statement at 7, n.3. The Bankruptcy Court is not clear what economic

  interest the Get Good Trust has, but it likewise seems to be related to Mr. Dondero. Get Good



                                                       18
  DOCS_SF:104487.21 36027/002
  000399
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 19 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 403 of 852 PageID 2308




  filed three proofs of claim relating to a pending federal tax audit of the Debtor’s 2008 return, which

  the Debtor believes arise from Get Good’s equity security interests and are subject to subordination

  as set forth in its Confirmation Brief. Dugaboy filed three claims against the Debtor: (a) an

  administrative claim relating to the Debtor’s alleged postpetition management of Multi-Strat

  Credit Fund, L.P., (b) a prepetition claim against a subsidiary of the Debtor for which it seeks to

  pierce the corporate veil, each of which the Debtor maintains are frivolous in the Confirmation

  Brief, and (c) a claim arising from its equity security interest in the Debtor, which the Debtor

  asserts should be subordinated. Another group of objectors that has joined together in one

  objection is what the Bankruptcy Court will refer to as the “Highland Advisors and Funds.” See

  Docket No. 1863. The Bankruptcy Court understands they assert disputed administrative expense

  claims against the estate that were filed shortly before the Confirmation Hearing on January 23,

  2021 [Docket No. 1826], and during the Confirmation Hearing on February 3, 2021 [Docket No.

  1888]. At the Confirmation Hearing, Mr. Post testified on behalf of the Highland Advisors and

  Funds that the Funds have independent board members that run the Funds, but the Bankruptcy

  Court was not convinced of their independence from Mr. Dondero because none of the so-called

  independent board members have ever testified before the Bankruptcy Court and all have been

  engaged with the Highland complex for many years. Notably, the Court questions Mr. Post’s

  credibility because, after more than 12 years of service, he abruptly resigned from the Debtor in

  October 2020 at the exact same time that Mr. Dondero resigned at the Board of Directors’ request,

  and he is currently employed by Mr. Dondero. Moreover, Dustin Norris, a witness in a prior

  proceeding (whose testimony was made part of the record at the Confirmation Hearing), recently



                                                   19
  DOCS_SF:104487.21 36027/002
  000400
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 20 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 404 of 852 PageID 2309




  testified on behalf of the Highland Advisors and Funds in another proceeding that Mr. Dondero

  owned and/or controlled these entities. Finally, various NexBank entities objected to the Plan.

  The Bankruptcy Court does not believe they have liquidated claims against the Debtor. Mr.

  Dondero appears to be in control of these entities as well.

                    19.         Background Regarding Dondero Objecting Parties. To be clear, the

  Bankruptcy Court has allowed all these objectors to fully present arguments and evidence in

  opposition to confirmation, even though their economic interests in the Debtor appear to be

  extremely remote and the Bankruptcy Court questions their good faith.              Specifically, the

  Bankruptcy Court considers them all to be marching pursuant to the orders of Mr. Dondero. In

  the recent past, Mr. Dondero has been subject to a temporary restraining order and preliminary

  injunction by the Bankruptcy Court for interfering with Mr. Seery’s management of the Debtor in

  specific ways that were supported by evidence. Around the time that this all came to light and the

  Bankruptcy Court began setting hearings on the alleged interference, Mr. Dondero’s company

  phone, which he had been asked to turn in to Highland, mysteriously went missing. The

  Bankruptcy Court merely mentions this in this context as one of many reasons that the Bankruptcy

  Court has to question the good faith of Mr. Dondero and his affiliates in raising objections to

  confirmation of the Plan.

                    20.         Other Confirmation Objections. Other than the objections filed by Mr.

  Dondero and the Dondero Related Entities, the only other pending objection to the Plan is the

  United States Trustee’s Limited Objection to Confirmation of Debtor’s Fifth Amended Plan of

  Reorganization [Docket No. 1671], which objected to the Plan’s exculpation, injunction, and



                                                      20
  DOCS_SF:104487.21 36027/002
  000401
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 21 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 405 of 852 PageID 2310




  Debtor release provisions. In juxtaposition, to these pending objections, the Bankruptcy Court

  notes that the Debtor resolved the following objections to the Plan:

           a.       CLO Holdco, Ltd.’s Joinder to Objection to Confirmation of Fifth Amended Plan
                    of Reorganization of Highland Capital Management, L.P. and Supplemental
                    Objections to Plan Confirmation [Docket No. 1675]. This Objection has been
                    resolved pursuant to mutually agreed language by the parties set forth in paragraph
                    VV of the Confirmation Order;

           b.       Objection of Dallas County, City of Allen, Allen ISD, City of Richardson, and
                    Kaufman County to Confirmation of the Fifth Amended Plan of Reorganization of
                    Highland Capital Management, L.P. [Docket No. 1662]. This Objection has been
                    resolved pursuant to mutually agreed language by the parties set forth in paragraph
                    QQ of the Confirmation Order;

           c.       Senior Employees’ Limited Objection to Debtor’s Fifth Amended Plan of
                    Reorganization (filed by Scott Ellington, Thomas Surgent, Frank Waterhouse,
                    Isaac Leventon) [Docket No. 1669]. This Objection has been resolved pursuant to
                    mutually agreed language by the parties set forth in paragraph 82 and paragraphs
                    RR and SS of the Confirmation Order;

           d.       Limited Objection of Jack Yang and Brad Borud to Fifth Amended Plan of
                    Reorganization of Highland Capital Management, L.P. [Docket No. 1666] and the
                    amended joinder filed by Davis Deadman, Paul Kauffman and Todd Travers
                    [Docket No. 1679]. This Objection and the amended joinder were resolved by
                    agreement of the parties pursuant to modifications to the Plan filed by the Debtor;

           e.       United States’ (IRS) Limited Objection to Debtor’s Fifth Amended Plan of
                    Reorganization [Docket No. 1668]. This Objection has been resolved pursuant to
                    mutually agreed language by the parties set forth in paragraphs TT and UU of the
                    Confirmation Order; and

           f.       Patrick Hagaman Daugherty’s Objection to Confirmation of Fifth Amended Plan
                    of Reorganization [Docket No. 1678]. This objection was resolved by the parties
                    pursuant to the settlement of Mr. Daugherty’s claim announced on the record of the
                    Confirmation Hearing.

                    21.         Capitalized Terms. Capitalized terms used herein, but not defined herein,

  shall have the respective meanings attributed to such terms in the Plan and the Disclosure

  Statement, as applicable.


                                                        21
  DOCS_SF:104487.21 36027/002
  000402
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 22 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 406 of 852 PageID 2311




                    22.         Jurisdiction and Venue. The Bankruptcy Court has jurisdiction over the

  Debtor’s Chapter 11 Case pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding

  pursuant to 28 U.S.C. § 157(b)(2). Venue of this proceeding and this Chapter 11 Case is proper

  in this district and in the Bankruptcy Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                    23.         Chapter 11 Petition. On the Petition Date, the Debtor commenced a

  voluntary case under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court

  for the District of Delaware, which case was transferred to the Bankruptcy Court on December 19,

  2019. The Debtor continues to operate its business and manage its property as debtor in possession

  pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been

  appointed in this Chapter 11 Case. The Office of the United States Trustee appointed the

  Committee on October 29, 2019.

                    24.         Judicial Notice. The Bankruptcy Court takes judicial notice of the docket

  in this Chapter 11 Case maintained by the clerk of the Bankruptcy Court and the court-appointed

  claims agent, Kurtzman Carson Consultants LLC (“KCC”), including, without limitation, all

  pleadings, notices, and other documents filed, all orders entered, and all evidence and arguments

  made, proffered or adduced at the hearings held before the Bankruptcy Court during this Chapter

  11 Case, including, without limitation, the hearing to consider the adequacy of the Disclosure

  Statement and the Confirmation Hearing, as well as all pleadings, notices, and other documents

  filed, all orders entered, and all evidence and arguments made, proffered, or adduced at hearings

  held before the Bankruptcy Court or the District Court for the Northern District of Texas in




                                                        22
  DOCS_SF:104487.21 36027/002
  000403
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 23 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 407 of 852 PageID 2312




  connection with an adversary proceeding or appellate proceeding, respectively, related to this

  Chapter 11 Case.

                    25.         Plan Supplement Documents. Prior to the Confirmation Hearing, the

  Debtor filed each of the Plan Supplements.           The Plan Supplements contain, among other

  documents, the Retained Causes of Action, the Claimant Trust Agreement, the Litigation Sub-

  Trust Agreement, the Senior Employee Stipulation, the Related Entity List, the Schedule of

  Employees, the Reorganized Limited Partnership Agreement, supplements to the Liquidation

  Analysis/Financial Projections, the Schedule of Contracts and Leases to be Assumed, and the other

  Plan Documents set forth therein (collectively, the “Plan Supplement Documents”).

                    26.         Retained Causes of Action Adequately Preserved. The Bankruptcy

  Court finds that the list of Retained Causes of Action included in the Plan Supplements sufficiently

  describes all potential Retained Causes of Action, provides all persons with adequate notice of any

  Causes of Action regardless of whether any specific claim to be brought in the future is listed

  therein or whether any specific potential defendant or other party is listed therein, and satisfies

  applicable law in all respects to preserve all of the Retained Causes of Action. The definition of

  the Causes of Action and Schedule of Retained Causes of Action, and their inclusion in the Plan,

  specifically and unequivocally preserve the Causes of Action for the benefit of the Reorganized

  Debtor, the Claimant Trust, or the Litigation Sub-Trust, as applicable.

                    27.         Plan Modifications Are Non-Material.        In addition to the Plan

  Supplements, the Debtor made certain non-material modifications to the Plan, which are reflected

  in (i) the Redline of Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.



                                                     23
  DOCS_SF:104487.21 36027/002
  000404
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 24 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 408 of 852 PageID 2313




  (as Modified) filed on January 22, 2021 [Docket No. 1809], and (ii) Exhibit B to the Debtor’s

  Notice of Filing of Plan Supplement to Fifth Amended Plan of Reorganization of Highland Capital

  Management, L.P. (as Modified) filed on February 1, 2021 [Docket No. 1875] (collectively, the

  “Plan Modifications”). Section 1127(a) of the Bankruptcy Code provides that a plan proponent

  may modify its plan at any time before confirmation so long as such modified plan meets the

  requirements of sections 1122 and 1123 of the Bankruptcy Code. None of the modifications set

  forth in the Plan Supplements or the Plan Modifications require any further solicitation pursuant

  to sections 1125, 1126, or 1127 of the Bankruptcy Code and Bankruptcy Rule 3019, because,

  among other things, they do not materially adversely change the treatment of the claims of any

  creditors or interest holders who have not accepted, in writing, such supplements and

  modifications. Among other things, there were changes to the projections that the Debtor filed

  shortly before the Confirmation Hearing (which included projected distributions to creditors and

  a comparison of projected distributions under the Plan to potential distributions under a

  hypothetical chapter 7 liquidation). The Plan Supplements and Plan Modifications did not mislead

  or prejudice any creditors or interest holders nor do they require that Holders of Claims or Equity

  Interests be afforded an opportunity to change previously cast votes to accept or reject the Plan.

  Specifically, the Amended Liquidation Analysis/Financial Projections filed on February 1, 2021

  [Docket No. 1875] do not constitute any material adverse change to the treatment of any creditors

  or interest holders but, rather, simply update the estimated distributions based on Claims that were

  settled in the interim and provide updated financial data. The filing and notice of the Plan

  Supplements and Plan Modifications were appropriate and complied with the requirements of



                                                  24
  DOCS_SF:104487.21 36027/002
  000405
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 25 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 409 of 852 PageID 2314




  section 1127(a) of the Bankruptcy Code and the Bankruptcy Rules, and no other solicitation or

  disclosure or further notice is or shall be required. The Plan Supplements and Plan Modifications

  each became part of the Plan pursuant section 1127(a) of the Bankruptcy Code. The Debtor or

  Reorganized Debtor, as applicable, is authorized to modify the Plan or Plan Supplement

  Documents following entry of this Confirmation Order in a manner consistent with section 1127(b)

  of the Bankruptcy Code, the Plan, and, if applicable, the terms of the applicable Plan Supplement

  Document.

                    28.         Notice of Transmittal, Mailing and Publication of Materials. As is

  evidenced by the Voting Certifications and the Affidavits of Service and Publication, the

  transmittal and service of the Plan, the Disclosure Statement, Ballots, and Confirmation Hearing

  Notice were adequate and sufficient under the circumstances, and all parties required to be given

  notice of the Confirmation Hearing (including the deadline for filing and serving objections to the

  confirmation of the Plan) have been given due, proper, timely, and adequate notice in accordance

  with the Disclosure Statement Order and in compliance with the Bankruptcy Code, the Bankruptcy

  Rules, the Local Rules, and applicable non-bankruptcy law, and such parties have had an

  opportunity to appear and be heard with respect thereto. No other or further notice is required.

  The publication of the Confirmation Hearing Notice, as set forth in the Notice of Affidavit of

  Publication dated December 3, 2020 [Docket No. 1505], complied with the Disclosure Statement

  Order.

                    29.         Voting. The Bankruptcy Court has reviewed and considered the Voting

  Certifications. The procedures by which the Ballots for acceptance or rejection of the Plan were



                                                      25
  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 26 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 410 of 852 PageID 2315




  distributed and tabulated, including the tabulation as subsequently amended to reflect the

  settlement of certain Claims to be Allowed in Class 7, were fairly and properly conducted and

  complied with the Disclosure Statement Order, the Bankruptcy Code, the Bankruptcy Rules, and

  the Local Rules.

                    30.         Bankruptcy Rule 3016(a). In accordance with Bankruptcy Rule 3016(a),

  the Plan is dated and identifies the Debtor as the proponent of the Plan.

                    31.         Plan Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(1)). As

  set forth below, the Plan complies with all of the applicable provisions of the Bankruptcy Code,

  thereby satisfying section 1129(a)(1) of the Bankruptcy Code.

                    32.         Proper Classification (11 U.S.C. §§ 1122, 1123(a)(1)). Section 1122 of

  the Bankruptcy Code provides that a plan may place a claim or interest in a particular class only if

  such claim or interest is substantially similar to the other claims or interest of such class. The

  Claims and Equity Interests placed in each Class are substantially similar to other Claims and

  Equity Interests, as the case may be, in each such Class. Valid business, factual, and legal reasons

  exist for separately classifying the various Classes of Claims and Equity Interests created under

  the Plan, and such Classes do not unfairly discriminate between Holders of Claims and Equity

  Interests.

                    33.         Classification of Secured Claims. Class 1 (Jefferies Secured Claim) and

  Class 2 (Frontier Secured Claim) each constitute separate secured claims held by Jefferies LLC

  and Frontier State Bank, respectively, and it is proper and consistent with section 1122 of the

  Bankruptcy Code to separately classify the claims of these secured creditors. Class 3 (Other



                                                       26
  DOCS_SF:104487.21 36027/002
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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 27 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 411 of 852 PageID 2316




  Secured Claims) consists of other secured claims (to the extent any exist) against the Debtor, are

  not substantially similar to the Secured Claims in Class 1 or Class 2, and are also properly

  separately classified.

                    34.         Classification of Priority Claims. Class 4 (Priority Non-Tax Claims)

  consists of Claims entitled to priority under section 507(a), other than Priority Tax Claims, and are

  properly separately classified from non-priority unsecured claims. Class 5 (Retained Employee

  Claims) consists of the potential claims of employees who may be retained by the Debtor on the

  Effective Date, which claims will be Reinstated under the Plan, are not substantially similar to

  other Claims against the Debtor, and are properly classified.

                    35.         Classification of Unsecured Claims. Class 6 (PTO Claims) consists solely

  of the claims of the Debtor’s employees for unpaid paid time off in excess of the $13,650 statutory

  cap amount under sections 507(a)(4) and (a)(5) of the Bankruptcy Code and are dissimilar from

  other unsecured claims in Class 7 and Class 8. Class 7 (Convenience Claims) allows holders of

  eligible and liquidated Claims (below a certain threshold dollar amount) to receive a cash payout

  of the lesser of 85% of the Allowed amount of the creditor’s Claim or such holder’s pro rata share

  of the Convenience Claims Cash Pool. Class 7 (Convenience Claims) are provided for

  administrative convenience purposes in order to allow creditors, most of whom are either trade

  creditors or holders of professional claims, to receive treatment provided under Class 7 in lieu of

  the treatment of Class 8 (General Unsecured Claims). The Plan also provides for reciprocal “opt

  out” mechanisms to allow holders of Class 7 Claims to elect to receive the treatment for Class 8

  Claims. Class 8 creditors primarily constitute the litigation claims of the Debtor. Class 8 Creditors



                                                       27
  DOCS_SF:104487.21 36027/002
  000408
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 28 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 412 of 852 PageID 2317




  will receive Claimant Trust Interests which will be satisfied pursuant to the terms of the Plan.

  Class 8 also contains an “opt out” mechanism to allow holders of liquidated Class 8 Claims at or

  below a $1 million threshold to elect to receive the treatment of Class 7 Convenience Claims. The

  Claims in Class 7 (primarily trade and professional Claims against the Debtor) are not substantially

  similar to the Claims in Class 8 (primarily the litigation Claims against the Debtor), and are

  appropriately separately classified. Valid business reasons also exist to classify creditors in Class

  7 separately from creditors in Class 8. Class 7 creditors largely consist of liquidated trade or

  service providers to the Debtor. In addition, the Claims of Class 7 creditors are small relative to

  the large litigation claims in Class 8. Furthermore, the Class 8 Claims were overwhelmingly

  unliquidated when the Plan was filed. The nature of the Class 7 Claims as being largely liquidated

  created an expectation of expedited payment relative to the largely unliquidated Claims in Class

  8, which consists in large part of parties who have been engaged in years, and in some cases over

  a decade of litigation with the Debtor. Separate classification of Class 7 and Class 8 creditors was

  the subject of substantial arm’s-length negotiations between the Debtor and the Committee to

  appropriately reflect these relative differences.

                    36.         Classification of Equity Interests. The Plan properly separately classifies

  the Equity Interests in Class 10 (Class B/C Limited Partnership Interests) from the Equity Interests

  in Class 11 (Class A Limited Partnership Interests) because they represent different types of equity

  security interests in the Debtor and different payment priorities.

                    37.         Elimination of Vacant Classes. Section III.C of the Plan provides for the

  elimination of Classes that do not have at least one holder of a Claim or Equity Interest that is



                                                         28
  DOCS_SF:104487.21 36027/002
  000409
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 29 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 413 of 852 PageID 2318




  Allowed in an amount greater than zero for purposes of voting to accept or reject the Plan, and are

  disregarded for purposes of determining whether the Plan satisfies section 1129(a)(8) of the

  Bankruptcy Code with respect to such Class. The purpose of this provision is to provide that a

  Class that does not have voting members shall not be included in the tabulation of whether that

  Class has accepted or rejected the Plan. Pursuant to the Voting Certifications, the only voting

  Class of Claims or Equity Interests that did not have any members is Class 5 (Retained

  Employees). As noted above, Class 5 does not have any voting members because any potential

  Claims in Class 5 would not arise, except on account of any current employees of the Debtor who

  may be employed as of the Effective Date, which is currently unknown. Thus, the elimination of

  vacant Classes provided in Article III.C of the Plan does not violate section 1122 of the Bankruptcy

  Code. Class 5 is properly disregarded for purposes of determining whether or not the Plan has

  been accepted under Bankruptcy Code section 1129(a)(8) because there are no members in that

  Class. However, the Plan properly provides for the treatment of any Claims that may potentially

  become members of Class 5 as of the Effective Date in accordance with the terms of the Plan. The

  Plan therefore satisfies section 1122 of the Bankruptcy Code.

                    38.         Classification of Claims and Designation of Non-Classified Claims (11

  U.S.C. §§ 1122, 1123(a)(1)). Section 1123(a)(1) of the Bankruptcy Code requires that the Plan

  specify the classification of claims and equity security interests pursuant to section 1122 of the

  Bankruptcy Code, other than claims specified in sections 507(a)(2), 507(a)(3), or 507(a)(8) of the

  Bankruptcy Code. In addition to Administrative Claims, Professional Fee Claims, and Priority

  Tax Claims, each of which need not be classified pursuant to section 1123(a)(1) of the Bankruptcy



                                                      29
  DOCS_SF:104487.21 36027/002
  000410
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 30 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 414 of 852 PageID 2319




  Code, the Plan designates eleven (11) Classes of Claims and Equity Interests. The Plan satisfies

  sections 1122 and 1123(a)(1) of the Bankruptcy Code.

                    39.         Specification of Unimpaired Classes (11 U.S.C. § 1123(a)(2)). Article III

  of the Plan specifies that each of Class 1 (Jefferies Secured Claim), Class 3 (Other Secured

  Claims), Class 4 (Priority Non-Tax Claims), Class 5 (Retained Employee Claims), and Class 6

  (PTO Claims) are Unimpaired under the Plan. Thus, the requirement of section 1123(a)(2) of the

  Bankruptcy Code is satisfied.

                    40.         Specification of Treatment of Impaired Classes (11 U.S.C. §

  1123(a)(3)). Article III of the Plan designates each of Class 2 (Frontier Secured Claim), Class 7

  (Convenience Claims), Class 8 (General Unsecured Claims), Class 9 (Subordinated Claims), Class

  10 (Class B/C Limited Partnership Interests), and Class 11 (Class A Limited Partnership Interests)

  as Impaired and specifies the treatment of Claims and Equity Interests in such Classes. Thus, the

  requirement of section 1123(a)(3) of the Bankruptcy Code is satisfied.

                    41.         No Discrimination (11 U.S.C. § 1123(a)(4)). The Plan provides for the

  same treatment by the Plan proponent for each Claim or Equity Interest in each respective Class

  unless the Holder of a particular Claim or Equity Interest has agreed to a less favorable treatment

  of such Claim or Equity Interest. The Plan satisfies this requirement because Holders of Allowed

  Claims or Equity Interests in each Class will receive the same rights and treatment as other Holders

  of Allowed Claims or Equity Interests within such holder’s respective class, subject only to the

  voluntary “opt out” options afforded to members of Class 7 and Class 8 in accordance with the

  terms of the Plan. Thus, the requirement of section 1123(a)(4) of the Bankruptcy Code is satisfied.



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  DOCS_SF:104487.21 36027/002
  000411
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 31 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 415 of 852 PageID 2320




                    42.         Implementation of the Plan (11 U.S.C. § 1123(a)(5)). Article IV of the

  Plan sets forth the means for implementation of the Plan which includes, but is not limited to, the

  establishment of: (i) the Claimant Trust; (ii) the Litigation Sub-Trust; (iii) the Reorganized Debtor;

  and (iv) New GP LLC, in the manner set forth in the Plan Documents, the forms of which are

  included in the Plan Supplements.

           a.       The Claimant Trust. The Claimant Trust Agreement provides for the
                    management of the Claimant Trust, as well as the Reorganized Debtor with the
                    Claimant Trust serving as the managing member of New GP LLC (a wholly-owned
                    subsidiary of the Claimant Trust that will manage the Reorganized Debtor as its
                    general partner). The Claimant Trust, the Claimant Trustee, the management and
                    monetization of the Claimant Trust Assets, and the management of the Reorganized
                    Debtor (through the Claimant Trust’s role as managing member of New GP LLC)
                    and the Litigation Sub-Trust will all be managed and overseen by the Claimant
                    Trust Oversight Committee. Additionally, the Plan provides for the transfer to the
                    Claimant Trust of all of the Debtor’s rights, title, and interest in and to all of the
                    Claimant Trust Assets in accordance with section 1141 of the Bankruptcy Code and
                    for the Claimant Trust Assets to automatically vest in the Claimant Trust free and
                    clear of all Claims, Liens, encumbrances, or interests subject only to the Claimant
                    Trust Interests and the Claimant Trust Expenses, as provided for in the Claimant
                    Trust Agreement. The Claimant Trust will administer the Claimant Trust Assets as
                    provided under the Plan and the Claimant Trust Agreement contained in the Plan
                    Supplements.

           b.       The Litigation Sub-Trust. The Plan and the Litigation Sub-Trust Agreement
                    provide for the transfer to the Litigation Sub-Trust all of the Claimant Trust’s rights,
                    title, and interest in and to all of the Estate Claims (as transferred to the Claimant
                    Trust by the Debtor) in accordance with section 1141 of the Bankruptcy Code and
                    for the Estate Claims to automatically vest in the Litigation Sub-Trust free and clear
                    of all Claims, Liens, encumbrances, or interests subject only to the Litigation Sub-
                    Trust Interests and the Litigation Sub-Trust Expenses, as provided for in the
                    Litigation Sub-Trust Agreement. The Litigation Trustee is charged with
                    investigating, pursuing, and otherwise resolving any Estate Claims (including those
                    with respect to which the Committee has standing to pursue prior to the Effective
                    Date pursuant to the January 9 Order) pursuant to the terms of the Litigation Sub-
                    Trust Agreement and the Plan, regardless of whether any litigation with respect to
                    any Estate Claim was commenced by the Debtor or the Committee prior to the
                    Effective Date.


                                                       31
  DOCS_SF:104487.21 36027/002
  000412
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 32 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 416 of 852 PageID 2321



           c.       The Reorganized Debtor. The Reorganized Debtor will administer the
                    Reorganized Debtor Assets, which includes managing the wind down of the
                    Managed Funds.

  The precise terms governing the execution of these restructuring transactions are set forth in greater

  detail in the applicable definitive documents included in the Plan Supplements, including the

  Claimant Trust Agreement, the Litigation Sub-Trust Agreement, and the Schedule of Retained

  Causes of Action. The Plan, together with the documents and forms of agreement included in the

  Plan Supplements, provides a detailed blueprint for the transactions contemplated by the Plan. The

  Plan’s various mechanisms provide for the Debtor’s continued management of its business as it

  seeks to liquidate the Debtor’s assets, wind down its affairs, and pay the Claims of the Debtor’s

  creditors. Upon full payment of Allowed Claims, plus interest as provided in the Plan, any residual

  value would then flow to the holders of Class 10 (Class B/C Limited Partnership Interests), and

  Class 11 (Class A Limited Partnership Interests). Finally, Mr. Seery testified that the Debtor

  engaged in substantial and arm’s length negotiations with the Committee regarding the Debtor’s

  post-Effective Date corporate governance, as reflected in the Plan. Mr. Seery testified that he

  believes the selection of the Claimant Trustee, Litigation Trustee, and members of the Claimant

  Trust Oversight Board are in the best interests of the Debtor’s economic constituents. Thus, the

  requirements of section 1123(a)(5) of the Bankruptcy Code are satisfied.

                    43.         Non-Voting Equity Securities (11 U.S.C. § 1123(a)(6)). The Debtor is

  not a corporation and the charter documents filed in the Plan Supplements otherwise comply with

  section 1123(a)(6) of the Bankruptcy Code. Therefore, the requirement of section 1123(a)(6) of

  the Bankruptcy Code is satisfied.




                                                      32
  DOCS_SF:104487.21 36027/002
  000413
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 33 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 417 of 852 PageID 2322




                    44.         Selection of Officers and Directors (11 U.S.C. § 1123(a)(7)). Article IV

  of the Plan provides for the Claimant Trust to be governed and administered by the Claimant

  Trustee. The Claimant Trust, the management of the Reorganized Debtor, and the management

  and monetization of the Claimant Trust Assets and the Litigation Sub-Trust will be managed by

  the Claimant Trust Oversight Board. The Claimant Trust Oversight Board will consist of: (1) Eric

  Felton, as representative of the Redeemer Committee; (2) Joshua Terry, as representative of Acis;

  (3) Elizabeth Kozlowski, as representative of UBS; (4) Paul McVoy, as representative of Meta-E

  Discovery; and (5) David Pauker.             Four of the members of the Claimant Trust Oversight

  Committee are the holders of several of the largest Claims against the Debtor and/or are current

  members of the Committee. Each of these creditors has actively participated in the Debtor’s case,

  both through their fiduciary roles as Committee members and in their individual capacities as

  creditors. They are therefore intimately familiar with the Debtor, its business, and assets. The

  fifth member of the Claimant Trustee Oversight Board, David Pauker, is a disinterested

  restructuring advisor and turnaround manager with more than 25 years of experience advising

  public and private companies and their investors, and he has substantial experience overseeing,

  advising or investigating troubled companies in the financial services industry and has advised or

  managed such companies on behalf of boards or directors, court-appointed trustees, examiners and

  special masters, government agencies, and private investor parties. The members of the Claimant

  Trust Oversight Board will serve without compensation, except for Mr. Pauker, who will receive

  payment of $250,000 for his first year of service, and $150,000 for subsequent years.




                                                        33
  DOCS_SF:104487.21 36027/002
  000414
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 34 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 418 of 852 PageID 2323




                    45.         Selection of Trustees. The Plan Supplements disclose that Mr. Seery will

  serve as the Claimant Trustee and Marc Kirschner will serve as the Litigation Trustee. As noted

  above, Mr. Seery has served as an Independent Board member since January 2020, and as the

  Chief Executive Officer and Chief Restructuring Officer since July 2020, and he has extensive

  management and restructuring experience, as evidenced from his curriculum vitae which is part of

  the record.      The evidence shows that Mr. Seery is intimately familiar with the Debtor’s

  organizational structure, business, and assets, as well as how Claims will be treated under the Plan.

  Accordingly, it is reasonable and in the Estate’s best interests to continue Mr. Seery’s employment

  post-emergence as the Claimant Trustee. Mr. Seery, upon consultation with the Committee,

  testified that he intends to employ approximately 10 of the Debtor’s employees to enable him to

  manage the Debtor’s business until the Claimant Trust effectively monetizes its remaining assets,

  instead of hiring a sub-servicer to accomplish those tasks. Mr. Seery testified that he believes that

  the Debtor’s post-confirmation business can most efficiently and cost-effectively be supported by

  a sub-set of the Debtor’s current employees, who will be managed internally. Mr. Seery shall

  initially be paid $150,000 per month for services rendered after the Effective Date as Claimant

  Trustee; however, Mr. Seery’s long-term salary as Claimant Trustee and the terms of any bonuses

  and severance are subject to further negotiation by Mr. Seery and the Claimant Trust Oversight

  Board within forty-five (45) days after the Effective Date. The Bankruptcy Court has also

  reviewed Mr. Kirschner’s curriculum vitae. Mr. Kirschner has been practicing law since 1967 and

  has substantial experience in bankruptcy litigation matters, particularly with respect to his prior

  experience as a litigation trustee for several litigation trusts, as set forth on the record of the



                                                        34
  DOCS_SF:104487.21 36027/002
  000415
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 35 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 419 of 852 PageID 2324




  Confirmation Hearing and in the Confirmation Brief. Mr. Kirschner shall be paid $40,000 per

  month for the first three months and $20,000 per month thereafter, plus a success fee related to

  litigation recoveries. The Committee and the Debtor had arm’s lengths negotiations regarding the

  post-Effective Date corporate governance structure of the Reorganized Debtor and believe that the

  selection of the Claimant Trustee, the Litigation Trustee, and the Claimant Trust Oversight

  Committee are in the best interests of the Debtor’s economic stakeholders. Section 1123(a)(7) of

  the Bankruptcy Code is satisfied.

                    46.         Debtor’s Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(2)).

  Pursuant to section 1129(a)(2) of the Bankruptcy Code, the Debtor has complied with the

  applicable provisions of the Bankruptcy Code, including sections 1122, 1123, 1124, 1125, and

  1126 of the Bankruptcy Code, the Bankruptcy Rules, and the Disclosure Statement Order

  governing notice, disclosure, and solicitation in connection with the Plan, the Disclosure

  Statement, the Plan Supplements, and all other matters considered by the Bankruptcy Court in

  connection with this Chapter 11 Case.

                    47.         Debtor’s Solicitation Complied with Bankruptcy Code and Disclosure

  Statement Order. Before the Debtor solicited votes on the Plan, the Bankruptcy Court entered

  the Disclosure Statement Order. In accordance with the Disclosure Statement Order and evidenced

  by the Affidavits of Service and Publication, the Debtor appropriately served (i) the Solicitation

  Packages (as defined in the Disclosure Statement Order) on the Holders of Claims in Classes 2, 7,

  8 and 9 and Holders of Equity Interests in Classes 10 and 11 who were entitled to vote on the Plan;

  and (ii) the Notice of Nonvoting Status (as defined in the Disclosure Statement Order) and the



                                                     35
  DOCS_SF:104487.21 36027/002
  000416
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 36 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 420 of 852 PageID 2325




  Confirmation Hearing Notice to the Holders of Claims in Classes 1, 3, 4, 5 and 6, who were not

  entitled to vote on the Plan pursuant to the Disclosure Statement Order. The Disclosure Statement

  Order approved the contents of the Solicitation Packages provided to Holders of Claims and Equity

  Interests entitled to vote on the Plan, the notices provided to parties not entitled to vote on the Plan,

  and the deadlines for voting on and objecting to the Plan. The Debtor and KCC each complied

  with the content and delivery requirements of the Disclosure Statement Order, thereby satisfying

  sections 1125(a) and (b) of the Bankruptcy Code, as evidenced by the Affidavits of Service and

  Publication. The Debtor also satisfied section 1125(c) of the Bankruptcy Code, which provides

  that the same disclosure statement must be transmitted to each holder of a claim or interest in a

  particular class. The Debtor caused the same Disclosure Statement to be transmitted to all holders

  of Claims and Equity Interests entitled to vote on the Plan. The Debtor has complied in all respects

  with the solicitation requirements of section 1125 of the Bankruptcy Code and the Disclosure

  Statement Order. The Bankruptcy Court rejects the arguments of the Mr. Dondero and certain

  Dondero Related Entities that the changes made to certain assumptions and projections from the

  Liquidation Analysis annexed as Exhibit C to the Disclosure Statement (the “Liquidation

  Analysis”) to the Amended Liquidation Analysis/Financial Projections require resolicitation of the

  Plan. The Bankruptcy Court heard credible testimony from Mr. Seery regarding the changes to

  the Liquidation Analysis as reflected in the Amended Liquidation Analysis/Financial Projections.

  Based on the record, including the testimony of Mr. Seery, the Bankruptcy Court finds that the

  changes between the Liquidation Analysis and the Amended Liquidation Analysis/Financial

  Projections do not constitute materially adverse change to the treatment of Claims or Equity



                                                     36
  DOCS_SF:104487.21 36027/002
  000417
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 37 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 421 of 852 PageID 2326




  Interests. Instead, the changes served to update the projected distributions based on Claims that

  were settled after the approval of the Disclosure Statement and to otherwise incorporate more

  recent financial data.          Such changes were entirely foreseeable given the large amount of

  unliquidated Claims at the time the Disclosure Statement was approved and the nature of the

  Debtor’s assets. The Bankruptcy Court therefore finds that holders of Claims and Equity Interests

  were not misled or prejudiced by the Amended Liquidation Analysis/Financial Projections and the

  Plan does not need to be resolicited.

                    48.         Plan Proposed in Good Faith and Not by Means Forbidden by Law (11

  U.S.C. § 1129(a)(3)). The Debtor has proposed the Plan in good faith and not by any means

  forbidden by law, thereby satisfying section 1129(a)(3) of the Bankruptcy Code. In determining

  that the Plan has been proposed in good faith, the Bankruptcy Court has examined the totality of

  the circumstances surrounding the filing of this Chapter 11 Case, the Plan itself, and the extensive,

  unrebutted testimony of Mr. Seery in which he described the process leading to Plan’s formulation.

  Based on the totality of the circumstances and Mr. Seery’s testimony, the Bankruptcy Court finds

  that the Plan is the result of extensive arm’s-length negotiations among the Debtor, the Committee,

  and key stakeholders, and promotes the objectives and purposes of the Bankruptcy Code.

  Specifically, the Debtor’s good faith in proposing the Plan is supported by the following facts

  adduced by Mr. Seery:

           a.       The Independent Board determined that it should consider all potential
                    restructuring alternatives, including pursuit of a traditional restructuring and the
                    continuation of the Debtor’s business, a potential sale of the Debtor’s assets in one
                    or more transactions, an asset monetization plan similar to that described in the
                    Plan, and a so-called “grand bargain” plan that would involve Mr. Dondero’s
                    sponsorship of a plan with a substantial equity infusion.

                                                     37
  DOCS_SF:104487.21 36027/002
  000418
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 38 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 422 of 852 PageID 2327



           b.       The Debtor subsequently engaged in arm’s-length, good faith negotiations with the
                    Committee over an asset monetization Plan commencing in June 2020, which
                    negotiations occurred over the next several months.

           c.       Negotiations between the Debtor and the Committee were often contentious over
                    disputes, including, but not limited to, the post-confirmation corporate governance
                    structure and the scope of releases contemplated by the Plan.

           d.       While negotiations with the Committee progressed, the Independent Board engaged
                    in discussions with Mr. Dondero regarding a potential “grand bargain” plan which
                    contemplated a significant equity infusion by Mr. Dondero, and which Mr. Seery
                    personally spent hundreds of hours pursuing over many months.

           e.       On August 3, 2020, the Bankruptcy Court entered the Order Directing Mediation
                    [Docket No. 912] pursuant to which the Bankruptcy Court ordered the Debtor, the
                    Committee, UBS, Acis, the Redeemer Committee, and Mr. Dondero into
                    mediation. As a result of this mediation, the Debtor negotiated the settlement of
                    the claims of Acis and Mr. Terry, which the Bankruptcy Court approved on October
                    28, 2020 [Docket No. 1302].

           f.       On August 12, 2020, the Debtor filed its Chapter 11 Plan of Reorganization of
                    Highland Capital Management, L.P. [Docket No. 944] (the “Initial Plan”) and
                    related disclosure statement (the “Initial Disclosure Statement”) which were not
                    supported by either the Committee or Mr. Dondero. The Independent Board filed
                    the Initial Plan and Initial Disclosure Statement in order to act as a catalyst for
                    continued discussions with the Committee while it simultaneously worked with Mr.
                    Dondero on the “grand bargain” plan.

           g.       The Bankruptcy Court conducted a contested hearing on the Initial Disclosure
                    Statement on October 27, 2020. The Committee and other parties objected to
                    approval of the Disclosure Statement at the Initial Disclosure Statement hearing,
                    which was eventually continued to November 23, 2020.

           h.       Following the Initial Disclosure Statement hearing, the Debtor continued to
                    negotiate with the Committee and ultimately resolved the remaining material
                    disputes and led to the Bankruptcy Court’s approval of the Disclosure Statement on
                    November 23, 2020.

           i.       Even after obtaining the Bankruptcy Court’s approval of the Disclosure Statement,
                    the Debtor and the Committee continued to negotiate with Mr. Dondero and the
                    Committee over a potential “pot plan” as an alternative to the Plan on file with the
                    Bankruptcy Court, but such efforts were unsuccessful. This history conclusively
                    demonstrates that the Plan is being proposed in good faith within the meaning of
                    section 1129(a)(3).


                                                     38
  DOCS_SF:104487.21 36027/002
  000419
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 39 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 423 of 852 PageID 2328




                    49.         Payments for Services or Costs and Expenses (11 U.S.C. § 1129(a)(4)).

  Article II.B of the Plan provides that Professionals will file all final requests for payment of

  Professional Fee Claims no later than 60 days after the Effective Date, thereby providing an

  adequate period of time for interested parties to review such claims. The procedures set forth in

  the Plan for the Bankruptcy Court’s approval of the fees, costs, and expenses to be paid in

  connection with this chapter 11 Case, or in connection with the Plan and incident to this Chapter

  11 Case, satisfy the objectives of and are in compliance with section 1129(a)(4) of the Bankruptcy

  Code.

                    50.         Directors, Officers, and Insiders (11 U.S.C. § 1129(a)(5)). Article IV.B

  of the Plan provides for the appointment of the Claimant Trustee, Litigation Trustee, and the

  Claimant Trust Oversight Committee and the members thereto. For the reasons more fully

  explained in paragraphs 44-45 of this Confirmation Order with respect to the requirement of

  section 1123(a)(7) of the Bankruptcy Code, the Debtor has disclosed the nature of compensation

  of any insider to be employed or retained by the Reorganized Debtor, if applicable, and

  compensation for any such insider. The appointment of such individuals is consistent with the

  interests of Claims and Equity Interests and with public policy. Thus, the Plan satisfies section

  1129(a)(5) of the Bankruptcy Code.

                    51.         No Rate Changes (11 U.S.C. § 1129(a)(6)). The Plan does not provide for

  any rate change that requires regulatory approval. Section 1129(a)(6) of the Bankruptcy Code is

  thus not applicable.




                                                        39
  DOCS_SF:104487.21 36027/002
  000420
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 40 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 424 of 852 PageID 2329




                    52.         Best Interests of Creditors (11 U.S.C. § 1129(a)(7)). The “best interests”

  test is satisfied as to all Impaired Classes under the Plan, as each Holder of a Claim or Equity

  Interest in such Impaired Classes will receive or retain property of a value, as of the Effective Date

  of the Plan, that is not less than the amount that such Holder would so receive or retain if the

  Debtor were liquidated under chapter 7 of the Bankruptcy Code. On October 15, 2020, the Debtor

  filed the Liquidation Analysis [Docket 1173], as prepared by the Debtor with the assistance of its

  advisors and which was attached as Exhibit C to the Disclosure Statement. On January 29, 2021,

  in advance of Mr. Seery’s deposition in connection with confirmation of the Plan, the Debtor

  provided an updated version of the Liquidation Analysis to the then-objectors of the Plan,

  including Mr. Dondero and the Dondero Related Entities. On February 1, 2021, the Debtor filed

  the Amended Liquidation Analysis/Financial Projections.                   The Amended Liquidation

  Analysis/Financial Projections included updates to the Debtor’s projected asset values, revenues,

  and expenses to reflect: (1) the acquisition of an interest in an entity known as “HCLOF” that the

  Debtor will acquire as part of its court-approved settlement with HarbourVest and that was valued

  at $22.5 million; (2) an increase in the value of certain of the Debtor’s assets due to changes in

  market conditions and other factors; (3) expected revenues and expenses arising in connection with

  the Debtor’s continued management of the CLOs pursuant to management agreements that the

  Debtor decided to retain; (4) increases in projected expenses for headcount (in addition to adding

  two or three employees to assist in the management of the CLOs, the Debtor also increased

  modestly the projected headcount as a result of its decision not to engage a Sub-Servicer) and

  professional fees; and (5) an increase in projected recoveries on notes resulting from the



                                                        40
  DOCS_SF:104487.21 36027/002
  000421
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 41 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 425 of 852 PageID 2330




  acceleration of term notes owed to the Debtor by the following Dondero Related Entities:

  NexPoint Advisors, L.P.; Highland Capital Management Services, Inc.; and HCRE Partners, LLC

  (n/k/a NexPoint Real Estate Partners, LLC). Under the Plan, as of the Confirmation Date, (a) Class

  7 General Unsecured Creditors are projected to receive 85% on account of their claims; and (b)

  Class 8 General Unsecured Creditors are projected to receive at least approximately 71% on

  account of their Claims. Under a hypothetical chapter 7 liquidation, all general unsecured creditors

  are projected to receive approximately 55% on account of their Claims. The Bankruptcy Court

  finds that the distributions that Class 7 and 8 General Unsecured Creditors are projected to receive

  under the Plan substantially exceeds that which they would receive under a chapter 7 liquidation

  based on Mr. Seery’s testimony, including the following credible reasons he posited, among

  others:

            a.      The nature of the Debtor’s assets is complex. Certain assets relate to complicated
                    real estate structures and private equity investments in operating businesses. Mr.
                    Seery’s extensive experience with the Debtor during the thirteen months since his
                    appointment as an Independent Director and later Chief Executive Officer and
                    Chief Restructuring Officer, provides him with a substantial learning curve in
                    connection with the disposition of the Debtor’s assets and are reasonably expected
                    to result in him being able to realize tens of millions of dollars more value than
                    would a chapter 7 trustee.

            b.      Assuming that a hypothetical chapter 7 trustee could even operate the Debtor’s
                    business under chapter 7 of the Bankruptcy Code and hire the necessary personnel
                    with the relevant knowledge and experience to assist him or her in selling the
                    Debtor’s assets, a chapter 7 trustee would likely seek to dispose of the Debtor’s
                    assets in a forced sale liquidation which would generate substantially less value for
                    the Debtor’s creditors than the asset monetization plan contemplated by the Plan.

            c.      A chapter 7 trustee would be unlikely to retain the Debtor’s existing professionals
                    to assist in its efforts to monetize assets, resulting in delays, increased expenses,
                    and reduced asset yields for the chapter 7 estate.



                                                     41
  DOCS_SF:104487.21 36027/002
  000422
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 42 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 426 of 852 PageID 2331



           d.       The chapter 7 estate would be unlikely to maximize value as compared to the asset
                    monetization process contemplated by the Plan because potential buyers are likely
                    to perceive a chapter 7 trustee as engaging in a quick, forced “fire sale” of assets;
                    and

           e.       The Debtor’s employees, who are vital to its efforts to maximum value and
                    recoveries for stakeholders, may be unwilling to provide services to a chapter 7
                    trustee.

  Finally, there is no evidence to support the objectors’ argument that the Claimant Trust

  Agreement’s disclaimed liability for ordinary negligence by the Claimant Trustee compared to a

  chapter 7 trustee’s liability has any relevance to creditor recoveries in a hypothetical chapter 7

  liquidation. Thus, section 1129(a)(7) of the Bankruptcy Code is satisfied.

                    53.         Acceptance by Certain Classes (11 U.S.C. § 1129(a)(8)). Classes 1, 3, 4,

  5 and 6 are Unimpaired under the Plan. Class 2 (Frontier Secured Claim), Class 7 (Convenience

  Claims), and Class 9 (Subordinated Claims) have each voted to accept the Plan in accordance with

  the Bankruptcy Code, thereby satisfying section 1129(a)(8) as to those Classes. However, Class

  8 (General Unsecured Claims), Class 10 (Class B/C Limited Partnership Interests), and Class 11

  (Class A Limited Partnership Interests) have not accepted the Plan.              Accordingly, section

  1129(a)(8) of the Bankruptcy Code has not been satisfied. The Plan, however, is still confirmable

  because it satisfies the nonconsensual confirmation provisions of section 1129(b), as set forth

  below.

                    54.         Treatment of Administrative, Priority, Priority Tax Claims, and

  Professional Fee Claims (11 U.S.C. § 1129(a)(9)). The treatment of Administrative Claims,

  Priority Claims, and Professional Fee Claims pursuant to Article III of the Plan, and as set forth

  below with respect to the resolution of the objections filed by the Internal Revenue Service and



                                                        42
  DOCS_SF:104487.21 36027/002
  000423
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 43 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 427 of 852 PageID 2332




  certain Texas taxing authorities satisfies the requirements of sections 1129(a)(9) of the Bankruptcy

  Code.

                    55.         Acceptance by Impaired Class (11 U.S.C. § 1129(a)(10)).           Class 2

  (Frontier Secured Claims) and Class 7 (Convenience Claims) are each Impaired Classes of Claims

  that voted to accept the Plan, determined without including any acceptance of the Plan by any

  insider. Therefore, the requirement of section 1129(a)(10) of the Bankruptcy Code is satisfied.

                    56.         Feasibility (11 U.S.C. § 1129(a)(11)). Article IV of the Plan provides for

  the implementation of the Plan through the Claimant Trust, the Litigation Sub-Trust, and the

  Reorganized Debtor. The Plan provides that the Claimant Trust, among other things, will monetize

  and distribute the Debtor’s remaining assets. The Disclosure Statement, the Amended Liquidation

  Analysis/Financial Projections, and the other evidence presented at the Confirmation Hearing

  provide a reasonable probability of success that the Debtor will be able to effectuate the provisions

  of the Plan. The Plan contemplates the establishment of the Claimant Trust upon the Effective

  Date, which will monetize the Estate’s assets for the benefit of creditors. Mr. Seery testified that

  the Class 2 Frontier Secured Claim will be paid over time pursuant to the terms of the New Frontier

  Note and the Reorganized Debtor will have sufficient assets to satisfy its obligations under this

  note. The Claims of the Holders of Class 7 Claims (as well as those Class 8 creditors who validly

  opted to receive the treatment of Class 7 Claims) are expected to be satisfied shortly after the

  Effective Date. Holders of Class 8 Claims (including any holders of Class 7 Claims who opted to

  receive the treatment provided to Class 8 Claims) are not guaranteed any recovery and will




                                                        43
  DOCS_SF:104487.21 36027/002
  000424
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 44 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 428 of 852 PageID 2333




  periodically receive pro rata distributions as assets are monetized pursuant to the Plan and the

  Claimant Trust Agreement. Thus, section 1129(a)(11) of the Bankruptcy Code is satisfied.

                    57.         Payment of Fees (11 U.S.C. § 1129(a)(12)). All fees payable under 28

  U.S.C. § 1930 have been paid or will be paid on or before the Effective Date pursuant to Article

  XII.A of the Plan, thus satisfying the requirement of section 1129(a)(12) of the Bankruptcy Code.

  The Debtor has agreed that the Reorganized Debtor, the Claimant Trust, and the Litigation Sub-

  Trust shall be jointly and severally liable for payment of quarterly fees to the Office of the United

  States Trustee pursuant to 28 U.S.C. § 1930 through the entry of the Final Decree for the Debtor

  or the dismissal or conversion of the Chapter 11 Case.

                    58.         Retiree Benefits. The Plan provides for the assumption of the Pension Plan

  (to the extent such Pension Plan provides “retiree benefits” and is governed by section 1114 of the

  Bankruptcy Code). Thus, the Plan complies with section 1129(a)(13) of the Bankruptcy Code, to

  the extent applicable.

                    59.         Miscellaneous Provisions (11 U.S.C. §§ 1129(a)(14)-(16)).        Sections

  1129(a)(14)-(16) of the Bankruptcy Code are inapplicable as the Debtor (i) has no domestic

  support obligations (section 1129(a)(14)), (ii) is not an individual (section 1129(a)(15)), and (iii)

  is not a nonprofit corporation (section 1129(a)(16)).

                    60.         No Unfair Discrimination; Fair and Equitable Treatment (11 U.S.C. §

  1129(b)). The classification and treatment of Claims and Equity Interests in Classes 8, 10 and 11,

  which have not accepted the Plan, is proper pursuant to section 1122 of the Bankruptcy Code, does




                                                        44
  DOCS_SF:104487.21 36027/002
  000425
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 45 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 429 of 852 PageID 2334




  not discriminate unfairly, and is fair and equitable pursuant to section 1129(b)(1) of the Bankruptcy

  Code.

            a.      Class 8. The Plan is fair and equitable with respect to Class 8 General Unsecured
                    Claims. While Equity Interests in Class 10 and Class 11 will receive a contingent
                    interest in the Claimant Trust under the Plan (the “Contingent Interests”), the
                    Contingent Interests will not vest unless and until holders of Class 8 General
                    Unsecured Claims and Class 9 Subordinated Claims receive distributions equal to
                    100% of the amount of their Allowed Claims plus interest as provided under the
                    Plan and Claimant Trust Agreement. Accordingly, as the holders of Equity
                    Interests that are junior to the Claims in Class 8 and Class 9 will not receive or
                    retain under the Plan on account of such junior claim interest any property unless
                    and until the Claims in Class 8 and Class 9 are paid in full plus applicable interest,
                    the Plan is fair and equitable with respect to holders of Class 8 General Unsecured
                    Claims pursuant to section 1129(b)(2)(B) of the Bankruptcy Code and the reasoning
                    of In re Introgen Therapuetics 429 B.R 570 (Bankr. W.D. Tex. 2010).

            b.      Class 10 and Class 11. There are no Claims or Equity Interests junior to the Equity
                    Interests in Class 10 and Class 11. Equity Interests in Class 10 and 11 will neither
                    receive nor retain any property under the Plan unless Allowed Claims in Class 8
                    and Class 9 are paid in full plus applicable interest pursuant to the terms of the Plan
                    and Claimant Trust Agreement. Thus, the Plan does not violate the absolute priority
                    rule with respect to Classes 10 and 11 pursuant to Bankruptcy Code section
                    1129(b)(2)(C). The Plan does not discriminate unfairly as to Equity Interests. As
                    noted above, separate classification of the Class B/C Partnership Interests from the
                    Class A Partnerships Interests is appropriate because they constitute different
                    classes of equity security interests in the Debtor, and each are appropriately
                    separately classified and treated.


  Accordingly, the Plan does not violate the absolute priority rule, does not discriminate unfairly,

  and is fair and equitable with respect to each Class that has rejected the Plan. Thus, the Plan

  satisfies the requirements of section 1129(b) of the Bankruptcy Code with respect to Classes 8, 10,

  and 11.




                                                      45
  DOCS_SF:104487.21 36027/002
  000426
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 46 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 430 of 852 PageID 2335




                    61.         Only One Plan (11 U.S.C. § 1129(c)). The Plan is the only chapter 11 plan

  confirmed in this Chapter 11 Case, and the requirements of section 1129(c) of the Bankruptcy

  Code are therefore satisfied.

                    62.         Principal Purpose (11 U.S.C. § 1129(d)). Mr. Seery testified that the

  principal purpose of the Plan is neither the avoidance of taxes nor the avoidance of the application

  of section 5 of the Securities Act of 1933, and no governmental unit has objected to the

  confirmation of the Plan on any such grounds. Accordingly, section 1129(d) of the Bankruptcy

  Code is inapplicable.

                    63.         Satisfaction of Confirmation Requirements. Based upon the foregoing,

  the Plan satisfies the requirements for confirmation set forth in section 1129 of the Bankruptcy

  Code and should be confirmed.

                    64.         Good Faith Solicitation (11 U.S.C. § 1125(e)).         The Debtor, the

  Independent Directors, and the Debtor’s employees, advisors, Professionals, and agents have acted

  in good faith within the meaning of section 1125(e) of the Bankruptcy Code and in compliance

  with the applicable provisions of the Bankruptcy Code and Bankruptcy Rules in connection with

  all of their respective activities relating to the solicitation of acceptances of the Plan and their

  participation in the activities described in section 1125 of the Bankruptcy Code, and they are

  entitled to the protections afforded by section 1125(e) of the Bankruptcy Code.

                    65.         Discharge (11 U.S.C. § 1141(d)(3)). The Debtor is entitled to a discharge

  of debts pursuant to section 1141(d)(3)(B) of the Bankruptcy Code. Under the Plan, the Claimant

  Trust or Reorganized Debtor, as applicable, will continue to manage funds and conduct business



                                                        46
  DOCS_SF:104487.21 36027/002
  000427
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 47 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 431 of 852 PageID 2336




  in the same manner as the Debtor did prior to Plan confirmation, which includes the management

  of the CLOs, Multi-Strat, Restoration Capital, the Select Fund and the Korea Fund. Although the

  Plan projects that it will take approximately two years to monetize the Debtor’s assets for fair

  value, Mr. Seery testified that while the Reorganized Debtor and Claimant Trust will be

  monetizing their assets, there is no specified time frame by which this process must conclude. Mr.

  Seery’s credible testimony demonstrates that the Debtor will continue to engage in business after

  consummation of the Plan, within the meaning of Section 1141(d)(3)(b) and that the Debtor is

  entitled to a discharge pursuant to section 1141(d)(1) of the Bankruptcy Code.

                    66.         Retention of Jurisdiction. The Bankruptcy Court may properly retain

  jurisdiction over the matters set forth in Article XI of the Plan and/or section 1142 of the

  Bankruptcy Code to the maximum extent under applicable law.

                    67.         Additional Plan Provisions (11 U.S.C. § 1123(b)). The Plan’s provisions

  are appropriate, in the best interests of the Debtor and its Estate, and consistent with the applicable

  provisions of the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

                    68.         Executory Contracts and Unexpired Leases (11 U.S.C. § 1123(b)(2)).

  The Debtor has exercised reasonable business judgment with respect to the rejection of the

  Executory Contracts and Unexpired Leases pursuant the terms of the Plan and this Confirmation

  Order, and such rejections are justified and appropriate in this Chapter 11 Case. The Debtor also

  filed the List of Assumed Contracts, which contain notices to the applicable counterparties to the

  contracts set forth on Exhibit “FF” to Plan Supplement filed on February 1, 2021 [Docket No.

  1875] and which exhibit sets forth the list of executory contracts and unexpired leases to be



                                                       47
  DOCS_SF:104487.21 36027/002
  000428
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 48 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 432 of 852 PageID 2337




  assumed by the Debtor pursuant to the Plan (collectively, the “Assumed Contracts”). With respect

  to the Assumed Contracts, only one party objected to the assumption of any of the Assumed

  Contracts, but that objection was withdrawn. 8 Any modifications, amendments, supplements, and

  restatements to the Assumed Contracts that may have been executed by the Debtor during the

  Chapter 11 Case shall not be deemed to alter the prepetition nature of the Assumed Contracts or

  the validity, priority, or amount of any Claims that may arise in connection therewith. Assumption

  of any Assumed Contract pursuant to the Plan and full payment of any applicable Cure pursuant

  to the Plan shall result in the full release and satisfaction of any Cures, Claims, or defaults, whether

  monetary or nonmonetary, including defaults of provisions restricting the change in control or

  ownership interest composition or other bankruptcy-related defaults, arising under any assumed

  Executory Contract or Unexpired Lease at any time prior to the effective date of assumption.

                    69.         Compromises and Settlements Under and in Connection with the Plan

  (11 U.S.C. § 1123(b)(3)). All of the settlements and compromises pursuant to and in connection

  with the Plan, comply with the requirements of section 1123(b)(3) of the Bankruptcy Code and

  Bankruptcy Rule 9019.

                    70.         Debtor Release, Exculpation and Injunctions (11 U.S.C. § 1123(b)). The

  Debtor Release, Exculpation, and Injunction provisions provided in the Plan (i) are within the

  jurisdiction of the Bankruptcy Court under 28 U.S.C. § 1334; (ii) are integral elements of the

  transactions incorporated into the Plan, and inextricably bound with the other provisions of the

  Plan; (iii) confer material benefit on, and are in the best interests of, the Debtor, its Estate, and its

  8
    See Notice of Withdrawal of James Dondero’s Objection Debtor’s Proposed Assumption of Contracts and Cure
  Amounts Proposed in Connection Therewith [Docket No. 1876]


                                                       48
  DOCS_SF:104487.21 36027/002
  000429
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 49 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 433 of 852 PageID 2338




  creditors; (iv) are fair, equitable, and reasonable; (v) are given and made after due notice and

  opportunity for hearing; (vi) satisfy the requirements of Bankruptcy Rule 9019; and (vii) are

  consistent with the Bankruptcy Code and other applicable law, and as set forth below.

                    71.         Debtor Release. Section IX.D of the Plan provides for the Debtor’s release

  of the Debtor’s and Estate’s claims against the Released Parties. Releases by a debtor are

  discretionary and can be provided by a debtor to persons who have provided consideration to the

  Debtor and its estate pursuant to section 1123(b)(3)(A) of the Bankruptcy Code. Contrary to the

  objections raised by Mr. Dondero and certain of the Dondero Related Entities, the Debtor Release

  is appropriately limited to release claims held by the Debtor and does not purport to release the

  claims held by the Claimant Trust, Litigation Sub-Trust, or other third parties. The Plan does not

  purport to release any claims held by third parties and the Bankruptcy Court finds that the Debtor

  Release is not a “disguised” release of any third party claims as asserted by certain objecting

  parties. The limited scope of the Debtor Release in the Plan was extensively negotiated with the

  Committee, particularly with the respect to the Debtor’s conditional release of claims against

  employees, as identified in the Plan, and the Plan’s conditions and terms of such releases. The

  Plan does not release (i) any obligations of any party under the Plan or any document, instrument,

  or agreement executed to implement the Plan, (ii) the rights or obligations of any current employee

  of the Debtor under any employment agreement or plan, (iii) the rights of the Debtor with respect

  to any confidentiality provisions or covenants restricting competition in favor of the Debtor under

  any employment agreement with a current or former employee of the Debtor, (iv) any Avoidance

  Actions, or (v) any Causes of Action arising from willful misconduct, criminal misconduct, actual



                                                        49
  DOCS_SF:104487.21 36027/002
  000430
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 50 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 434 of 852 PageID 2339




  fraud, or gross negligence of such applicable Released Party as determined by Final Order of the

  Bankruptcy Court or any other court of competent jurisdiction. The Debtor Release also contains

  conditions to such releases as set forth in Article X.D of the Plan with respect to employees (the

  “Release Conditions”). Until the an employee satisfies the Release Conditions or the Release

  Conditions otherwise terminate, any claims against such employee will be tolled so that if the

  Release Conditions are not met the Litigation Trustee may pursue claims against an employee at a

  later date. The evidence before the Bankruptcy Court, including, but not limited to Mr. Seery’s

  testimony, demonstrates that the Debtor is not aware of any claims against any of the Released

  Parties, that the Released Parties have been instrumental in assisting the Debtor’s efforts toward

  confirmation of the Plan and that, therefore, the releases are a quid pro quo for the Released

  Parties’ significant contributions to a highly complex and contentious restructuring.           The

  Committee, whose members hold approximately $200 million in claims against the Estate, is

  highly sophisticated and is represented by highly sophisticated professionals, and has actively and

  vigorously negotiated the terms of the Debtor Release, which was the subject of significant

  controversy at the Initial Disclosure Statement hearing held by the Bankruptcy Court on October

  27, 2020.

                    72.         Exculpation. Section IX.C of the Plan provides for the exculpation of

  certain Exculpated Parties to the extent provided therein (the “Exculpation Provision”). As

  explained below, the Exculpation Provision is appropriate under the unique circumstances of this

  litigious Chapter 11 Case and consistent with applicable Fifth Circuit precedent. First, with respect

  to the Independent Directors, their agents, and their advisors, including any employees acting at



                                                       50
  DOCS_SF:104487.21 36027/002
  000431
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 51 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 435 of 852 PageID 2340




  their direction, the Bankruptcy Court finds and concludes that it has already exculpated these

  parties for acts other than willful misconduct and gross negligence pursuant to the January 9 Order.

  The January 9 Order was specifically agreed to by Mr. Dondero, who was in control of the Debtor

  up until entry of the January 9 Order. The January 9 Order was not appealed. In addition to the

  appointment of the Independent Directors in an already contentious and litigious case, the January

  9 Order set the standard of care for the Independent Directors and specifically exculpated them for

  negligence. Mr. Seery and Mr. Dubel each testified that they had input into the contents of the

  January 9 Order and would not have agreed to their appointment as Independent Directors if the

  January 9 Order did not include the protections set forth in paragraph 10 of the January 9 Order.

  Paragraph 10 of the January 9 Order (1) requires that parties wishing to sue the Independent

  Directors or their agents and advisors must first seek approval from the Bankruptcy Court before

  doing so; (2) sets the standard of care for the Independent Directors during the Chapter 11 Case

  and exculpated the Independent Directors for acts other than willful misconduct or gross

  negligence; (3) only permits suits against the Independent Directors to proceed for colorable claims

  of willful misconduct and gross negligence upon order of the Bankruptcy Court; and (4) does not

  expire by its terms.

                    73.         Existing Exculpation of Independent Directors. The Bankruptcy Court

  also finds and concludes that it has already exculpated Mr. Seery acting in the capacity as Chief

  Executive Officer and Chief Restructuring Officer pursuant to the July 16 Order. The Bankruptcy

  Court concludes its previous approval of the exculpation of the Independent Directors, their agents,

  advisors and employees working at their direction pursuant to the January 9 Order, and the Chief



                                                      51
  DOCS_SF:104487.21 36027/002
  000432
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 52 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 436 of 852 PageID 2341




  Executive Officer and Chief Restructuring Officer pursuant to the July 16 Order constitutes the

  law of this case and are res judicata pursuant to In re Republic Supply Co. v. Shoaf, 815 F.2d 1046

  (5th Cir.1987). The January 9 Order and July 16 Order cannot be collaterally attacked based on

  the objectors’ objection to the exculpation of the Independent Directors, their agents, and advisors,

  including any employees acting at their direction, as well as the Chief Executive Officer and Chief

  Restructuring Officer, that the Bankruptcy Court already approved pursuant to the January 9 Order

  and the July 16 Order.

                    74.         The Exculpation Provision Complies with Applicable Law. Separate

  and apart from the res judicata effect of the January 9 Order and the July 16 Order, the Bankruptcy

  Court also finds and concludes that the Exculpation Provision is consistent with applicable law,

  including In re Pacific Lumber Co., 584 F.3d 229 (5th Cir. 2009), for several reasons:

           a.       First, the statutory basis for Pacific Lumber’s denial of exculpation for certain
                    parties other than a creditors’ committee and its members is that section 524(e) of
                    the Bankruptcy Code “only releases the debtor, not co-liable third parties.” Pacific
                    Lumber, 253 F.3d. at 253. However, Pacific Lumber does not prohibit all
                    exculpations under the Bankruptcy Code and the court in such case specifically
                    approved the exculpations of a creditors’ committee and its members on the
                    grounds that “11 U.S.C. § 1103(c), which lists the creditors’ committee’s powers,
                    implies committee members have qualified immunity for actions within the scope
                    of their duties…. [I]f members of the committee can be sued by persons unhappy
                    with the committee’s performance during the case or unhappy with the outcome of
                    the case, it will be extremely difficult to find members to serve on an official
                    committee.” Pacific Lumber, 253 F.3d at 253 (quoting Lawrence P. King, et al,
                    Collier on Bankruptcy, ¶ 1103.05[4][b] (15th Ed. 2008]). Pacific Lumber’s
                    rationale for permitted exculpation of creditors’ committees and their members
                    (which was clearly policy-based and based on a creditors’ committee qualified
                    immunity flowing from their duties under section 1103(c) of the Bankruptcy Code
                    and their disinterestedness and importance in chapter 11 cases) does not preclude
                    exculpation to other parties in a particular chapter 11 case that perform similar roles
                    to a creditors’ committee and its members. The Independent Directors, and by
                    extension the Chief Executive Officer and Chief Restructuring Officer, were not

                                                      52
  DOCS_SF:104487.21 36027/002
  000433
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 53 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 437 of 852 PageID 2342



                    part of the Debtor’s enterprise prior to their appointment by the Bankruptcy Court
                    under the January 9 Order. The Bankruptcy Court appointed the Independent
                    Directors in lieu of a chapter 11 trustee to address what the Bankruptcy Court
                    perceived as serious conflicts of interest and fiduciary duty concerns with the then-
                    existing management prior to January 9, 2020, as identified by the Committee. In
                    addition, the Bankruptcy Court finds that the Independent Directors expected to be
                    exculpated from claims of negligence, and would likely have been unwilling to
                    serve in contentious cases absent exculpation. The uncontroverted testimony of
                    Mr. Seery and Mr. Dubel demonstrates that the Independent Directors would not
                    have agreed to accept their roles without the exculpation and gatekeeper provision
                    in the January 9 Order. Mr. Dubel also testified as to the increasing important role
                    that independent directors are playing in complex chapter 11 restructurings and that
                    unless independent directors could be assured of exculpation for simple negligence
                    in contentious bankruptcy cases they would be reluctant to accept appointment in
                    chapter 11 cases which would adversely affect the chapter 11 restructuring process.
                    The Bankruptcy Court concludes that the Independent Directors were appointed
                    under the January 9 Order in order to avoid the appointment of a chapter 11 trustee
                    and are analogous to a creditors’ committee rather than an incumbent board of
                    directors. The Bankruptcy Court also concludes that if independent directors
                    cannot be assured of exculpation for simple negligence in contentious bankruptcy
                    cases, they may not be willing to serve in that capacity. Based upon the foregoing,
                    the Bankruptcy Court concludes that Pacific Lumber’s policy of exculpating
                    creditors’ committees and their members from “being sued by persons unhappy
                    with the committee’s performance during the case or unhappy with the outcome of
                    the case” is applicable to the Independent Directors in this Chapter 11 Case. 9

           b.       Second, the Bankruptcy Court also concludes that Pacific Lumber does not
                    preclude the exculpation of parties if there is a showing that “costs [that] the
                    released parties might incur defending against such suits alleging such negligence
                    are likely to swamp either the Exculpated Parties or the reorganization.” Pacific
                    Lumber, 584 F.3d at 252. If ever there was a risk of that happening in a chapter 11
                    reorganization, it is this one. Mr. Seery credibly testified that Mr. Dondero stated
                    outside the courtroom that if Mr. Dondero’s pot plan does not get approved, that
                    Mr. Dondero will “burn the place down.” The Bankruptcy Court can easily expect
                    that the proposed Exculpated Parties might expect to incur costs that could swamp
                    them and the reorganization based on the prior litigious conduct of Mr. Dondero
                    and his controlled entities that justify their inclusion in the Exculpation Provision.




  9
    The same reasoning applies to the inclusion of Strand in the Exculpation Provision because Strand is the general
  partner of the Debtor through which each of the Independent Board members act.


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  DOCS_SF:104487.21 36027/002
  000434
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 54 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 438 of 852 PageID 2343




                    75.         Injunction. Section IX.D of the Plan provides for a Plan inunction to

  implement and enforce the Plan’s release, discharge and release provisions (the “Injunction

  Provision”). The Injunction Provision is necessary to implement the provisions in the Plan. Mr.

  Seery testified that the Claimant Trustee will monetize the Debtor’s assets in order to maximize

  their value. In order to accomplish this goal, the Claimant Trustee needs to be able to pursue this

  objective without the interference and harassment of Mr. Dondero and his related entities,

  including the Dondero Related Entities. Mr. Seery also testified that if the Claimant Trust was

  subject to interference by Mr. Dondero, it would take additional time to monetize the Debtor’s

  assets and those assets could be monetized for less money to the detriment of the Debtor’s

  creditors. The Bankruptcy Court finds and concludes that the Injunction Provision is consistent

  with and permissible under Bankruptcy Code sections 1123(a), 1123(a)(6), 1141(a) and (c), and

  1142. The Bankruptcy Court rejects assertions by certain objecting parties that the Injunction

  Provision constitutes a “third-party release.” The Injunction Provision is appropriate under the

  circumstances of this Chapter 11 Case and complies with applicable bankruptcy law. The

  Bankruptcy Court also concludes that the terms “implementation” and “consummation” are neither

  vague nor ambiguous

                    76.         Gatekeeper Provision. Section IX.F of the Plan contains a provision

  contained in paragraph AA of this Confirmation Order and which the Debtor has referred to as a

  gatekeeper provision (the “Gatekeeper Provision”). The Gatekeeper Provision requires that

  Enjoined Parties first seek approval of the Bankruptcy Court before they may commence an action

  against Protected Parties. Thereafter, if the Bankruptcy Court determines that the action is



                                                      54
  DOCS_SF:104487.21 36027/002
  000435
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 55 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 439 of 852 PageID 2344




  colorable, the Bankruptcy Court may, if it has jurisdiction, adjudicate the action. The Bankruptcy

  Court finds that the inclusion of the Gatekeeper Provision is critical to the effective and efficient

  administration, implementation, and consummation of the Plan. The Bankruptcy Court also

  concludes that the Bankruptcy Court has the statutory authority as set forth below to approve the

  Gatekeeper Provision.

                    77.         Factual Support for Gatekeeper Provision. The facts supporting the need

  for the Gatekeeper Provision are as follows. As discussed earlier in this Confirmation Order, prior

  to the commencement of the Debtor’s bankruptcy case, and while under the direction of Mr.

  Dondero, the Debtor had been involved in a myriad of litigation, some of which had gone on for

  years and, in some cases, over a decade. Substantially all of the creditors in this case are either

  parties who were engaged in litigation with the Debtor, parties who represented the Debtor in

  connection with such litigation and had not been paid, or trade creditors who provided litigation-

  related services to the Debtor. During the last several months, Mr. Dondero and the Dondero

  Related Entities have harassed the Debtor, which has resulted in further substantial, costly, and

  time-consuming litigation for the Debtor. Such litigation includes: (i) entry of a temporary

  restraining order and preliminary injunction against Mr. Dondero [Adv. Proc. No. 20-03190

  Docket No. 10 and 59] because of, among other things, his harassment of Mr. Seery and employees

  and interference with the Debtor’s business operations; (ii) a contempt motion against Mr.

  Dondero for violation of the temporary restraining order, which motion is still pending before the

  Bankruptcy Court [Adv. Proc. No. 20-03190 Docket No. 48]; (iii) a motion by Mr. Dondero’s

  controlled investors in certain CLOs managed by the Debtor that the Bankruptcy Court referred to



                                                       55
  DOCS_SF:104487.21 36027/002
  000436
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 56 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 440 of 852 PageID 2345




  as frivolous and a waste of the Bankruptcy Court’s time [Docket No. 1528] which was denied by

  the Court [Docket No. 1605]; (iv) multiple plan confirmation objections focused on ensuring the

  Dondero Related Entities be able to continue their litigation against the Debtor and its successors

  post-confirmation [Docket Nos. 1661, 1667, 1670, 1673, 1676, 1677 and 1868]; (v) objections to

  the approval of the Debtor’s settlements with Acis and HarbourVest and subsequent appeals of the

  Bankruptcy Court’s order approving each of those settlements [Docket Nos. 1347 and 1870]; and

  (vi) a complaint and injunction sought against Mr. Dondero’s affiliated entities to prevent them

  from violating the January 9 Order and entry of a restraining order against those entities [Adv Proc.

  No. 21-03000 Docket No 1] (collectively, the “Dondero Post-Petition Litigation”).

                    78.         Findings Regarding Dondero Post-Petition Litigation. The Bankruptcy

  Court finds that the Dondero Post-Petition Litigation was a result of Mr. Dondero failing to obtain

  creditor support for his plan proposal and consistent with his comments, as set forth in Mr. Seery’s

  credible testimony, that if Mr. Dondero’s plan proposal was not accepted, he would “burn down

  the place.” The Bankruptcy Court concludes that without appropriate protections in place, in the

  form of the Gatekeeper Provision, Mr. Dondero and his related entities will likely commence

  litigation against the Protected Parties after the Effective Date and do so in jurisdictions other than

  the Bankruptcy Court in an effort to obtain a forum which Mr. Dondero perceives will be more

  hospitable to his claims. The Bankruptcy Court also finds, based upon Mr. Seery’s testimony, that

  the threat of continued litigation by Mr, Dondero and his related entities after the Effective Date

  will impede efforts by the Claimant Trust to monetize assets for the benefit of creditors and result




                                                      56
  DOCS_SF:104487.21 36027/002
  000437
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 57 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 441 of 852 PageID 2346




  in lower distributions to creditors because of costs and distraction such litigation or the threats of

  such litigation would cause.

                    79.         Necessity of Gatekeeper Provision. The Bankruptcy Court further finds

  that unless the Bankruptcy Court approves the Gatekeeper Provision, the Claimant Trustee and the

  Claimant Trust Oversight Board will not be able to obtain D&O insurance, the absence of which

  will present unacceptable risks to parties currently willing to serve in such roles. The Bankruptcy

  Court heard testimony from Mark Tauber, a Vice President with AON Financial Services, the

  Debtor’s insurance broker (“AON”), regarding his efforts to obtain D&O insurance. Mr. Tauber

  credibly testified that of all the insurance carriers that AON approached to provide D&O insurance

  coverage after the Effective Date, the only one willing to do so without an exclusion for claims

  asserted by Mr. Dondero and his affiliates otherwise requires that this Order approve the

  Gatekeeper Provision. Based on the foregoing, the Bankruptcy Court finds that the Gatekeeper

  Provision is necessary and appropriate in light of the history of the continued litigiousness of Mr.

  Dondero and his related entities in this Chapter 11 Case and necessary to the effective and efficient

  administration, implementation and consummation of the Plan and is appropriate pursuant to

  Carroll v. Abide (In re Carroll) 850 F.3d 811 (5th Cir. 2017). Approval of the Gatekeeper

  Provision will prevent baseless litigation designed merely to harass the post-confirmation entities

  charged with monetizing the Debtor’s assets for the benefit of its economic constituents, will avoid

  abuse of the court system and preempt the use of judicial time that properly could be used to

  consider the meritorious claims of other litigants. Any suit against a Protected Party would

  effectively be a suit against the Debtor, and the Debtor may be required to indemnify the Protected



                                                       57
  DOCS_SF:104487.21 36027/002
  000438
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 58 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 442 of 852 PageID 2347




  Parties under the Limited Partnership Agreement, which will remain in effect through the Effective

  Date, or those certain Indemnification and Guaranty Agreements, dated January 9, 2020, between

  Strand, the Debtor, and each Independent Director, following the Confirmation Date as each such

  agreement will be assumed pursuant to 11 U.S.C. § 365 pursuant to the Plan.

                    80.         Statutory Authority to Approve Gatekeeper Provision.               The

  Bankruptcy Court finds it has the statutory authority to approve the Gatekeeper Provision under

  sections 1123(a)(5), 1123(b)(6), 1141, 1142(b), and 105(a). The Gatekeeper Provision is also

  within the spirit of the Supreme Court’s “Barton Doctrine.” Barton v. Barbour, 104 U.S. 126

  (1881). The Gatekeeper Provision is also consistent with the notion of a prefiling injunction to

  deter vexatious litigants, that has been approved by the Fifth Circuit in such cases as Baum v. Blue

  Moon Ventures, LLC, 513 F.3d 181, 189 (5th Cir. 2008), and In re Carroll, 850 F.3d 811 (5th Cir.

  2017).

                    81.         Jurisdiction to Implement Gatekeeper Provision. The Bankruptcy Court

  finds that it will have jurisdiction after the Effective Date to implement the Gatekeeper Provision

  as post-confirmation bankruptcy court jurisdiction has been interpreted by the Fifth Circuit under

  United States Brass Corp. v. Travelers Ins. Group, Inc. (In re United States Brass Corp.), 301 F.3d

  296 (5th Cir. 2002) and EOP-Colonnade of Dallas Ltd. P’Ship v. Faulkner (In re Stonebridge

  Techs., Inc.), 430 F.3d 260 (5th Cir. 2005). Based upon the rationale of the Fifth Circuit in Villegas

  v. Schmidt, 788 F.3d 156, 158-59 (5th Cir. 2015), the Bankruptcy Court’s jurisdiction to act as a

  gatekeeper does not violate Stern v. Marshall. The Bankruptcy Court’s determination of whether




                                                      58
  DOCS_SF:104487.21 36027/002
  000439
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 59 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 443 of 852 PageID 2348




  a claim is colorable, which the Bankruptcy Court has jurisdiction to determine, is distinct from

  whether the Bankruptcy Court would have jurisdiction to adjudicate any claim it finds colorable.

                    82.         Resolution of Objections of Scott Ellington and Isaac Leventon. Each

  of Scott Ellington (“Mr. Ellington”) and Isaac Leventon (“Mr. Leventon”) (each, a “Senior

  Employee Claimant”) has asserted certain claims for liquidated but unpaid bonus amounts for the

  following periods: 2016, 2017, and 2018, as set forth in Exhibit A to that certain Senior Employees’

  Limited Objection to Debtor’s Fifth Amended Plan of Reorganization [Docket No. 1669] (the

  “Senior Employees’ Objection”) (for each of Mr. Ellington and Mr. Leventon, the “Liquidated

  Bonus Claims”).

           a.       Mr. Ellington has asserted Liquidated Bonus Claims in the aggregate amount of
                    $1,367,197.00, and Mr. Leventon has asserted Liquidated Bonus Claims in the
                    aggregate amount of $598,198.00. Mr. Ellington received two Ballots 10 – a Ballot
                    for Class 7 of the Plan and a Ballot for Class 8 of the Plan. Mr. Ellington completed
                    and timely returned both of such Ballots, voted to reject the Plan, and elected to
                    have his Class 8 Liquidated Bonus Claims treated under Class 7 of the Plan, subject
                    to the objections and reservations of rights set forth in the Senior Employees’
                    Objection. If Mr. Ellington is permitted to elect Class 7 treatment for his Liquidated
                    Bonus Claims, then the maximum amount of his Liquidated Bonus Claims will be
                    $1,000,000.

           b.       Mr. Leventon received two Ballots—a Ballot for Class 7 of the Plan and a Ballot
                    for Class 8 of the Plan. Mr. Leventon completed and timely returned both of such
                    Ballots and voted each such Ballots to rejected the Plan.

           c.       The Senior Employees’ Objection, among other things, objects to the Plan on the
                    grounds that the Debtor improperly disputes the right of Mr. Ellington to elect Class
                    7 treatment for his Liquidated Bonus Claims and Mr. Leventon’s entitlement to
                    receive Class 7 Convenience Class treatment for his Liquidated Bonus Claims. The
                    Debtor contended that neither Mr. Ellington or Mr. Leventon were entitled to elect
                    to receive Class 7 Convenience Class treatment on account of their Liquidated


  10
    As defined in the Plan, “Ballot” means the forms(s) distributed to holders of Impaired Claims or Equity Interests
  entitled to vote on the Plan on which to indicate their acceptance or rejection of the Plan.


                                                           59
  DOCS_SF:104487.21 36027/002
  000440
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 60 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 444 of 852 PageID 2349



                    Bonus Claims under the terms of the Plan, the Disclosure Statement Order or
                    applicable law.

           d.       The Debtor and Mr. Ellington and Mr. Leventon negotiated at arms’ length in an
                    effort to resolve all issues raised in the Senior Employee’s Objection, including
                    whether or not Mr. Ellington and Mr. Leventon were entitled to Class 7
                    Convenience Class treatment of their Liquidated Bonus Claims. As a result of such
                    negotiation, the Debtor, Mr. Ellington, and Mr. Leventon have agreed to the
                    settlement described in paragraphs 82(e) through 82(k) below and approved and
                    effectuated pursuant to decretal paragraphs RR through SS (the “Senior Employees'
                    Settlement”).

           e.       Under the terms of the Senior Employees' Settlement, the Debtor has the right to
                    elect one of two treatments of the Liquidated Bonus Claims for a Senior Employee
                    Claimant. Under the first treatment option (“Option A”), the Liquidated Bonus
                    Claims will be entitled to be treated in Class 7 of the Plan, and the Liquidated Bonus
                    Claims will be entitled to receive payment in an amount equal to 70.125% of the
                    Class 7 amount of the Liquidated Bonus Claims, subject to the Liquidated Bonus
                    Claims becoming Allowed Claims under the terms of the Plan. Under this
                    calculation, Mr. Ellington would be entitled to receive $701,250.00 on account of
                    his Class 7 Convenience Class Claim when and as Allowed under the Plan, and Mr.
                    Leventon would be entitled to receive $413,175.10 on account of his Class 7
                    Convenience Class Claim when and as Allowed under the Plan. If, however, any
                    party in interest objects to the allowance of the Senior Employee Claimant's
                    Liquidated Bonus Claims and does not prevail in such objection, then such Senior
                    Employee Claimant will be entitled to a payment in an amount equal to 85% of his
                    Allowed Liquidated Bonus Claims (subject, in the case of Mr. Ellington, to the cap
                    imposed on Class 7 Claims). In addition, under Option A, each of Mr. Ellington
                    and Mr. Leventon would retain their respective rights to assert that the Liquidated
                    Bonus Claims are entitled to be treated as Administrative Expense Claims, as
                    defined in Article I.B.2. of the Plan, in which case the holder of such Liquidated
                    Bonus Claims would be entitled to payment in full of the Allowed Liquidated
                    Bonus Claims. Under Option A, parties in interest would retain the right to object
                    to any motion seeking payment of the Liquidated Bonus Amounts as
                    Administrative Expenses.

           f.       Under the second treatment option (“Option B”), the Debtor would agree that the
                    Senior Employee Claimant has Allowed Liquidated Bonus Claims, no longer
                    subject to objection by any party in interest, in the amounts of the Liquidated Bonus
                    Claims (subject, in the case of Mr. Ellington, to the cap imposed by Class 7). If the
                    Debtor elects Option B as to a Senior Employee Claimant, then such Senior
                    Employee Claimant would be entitled to a payment on account of his Allowed
                    Liquidated Bonus Claims in an amount equal to 60% of the amount of the


                                                     60
  DOCS_SF:104487.21 36027/002
  000441
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 61 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 445 of 852 PageID 2350



                    Liquidated Bonus Claims (which, in Mr. Ellington’s case, would be $600,000 and
                    in Mr. Leventon’s case, would be $358,918.80), and such payment would be the
                    sole recovery on account of such Allowed Liquidated Bonus Claims.

           g.       The Debtor may, with the consent of the Committee, elect Option B with respect to
                    a Senior Employee Claimant at any time prior to the occurrence of the Effective
                    Date. If the Debtor does not make an election, then Option A will apply.

           h.       Under either Option A or Option B, Mr. Ellington and Mr. Leventon will retain all
                    their rights with respect to all Claims other than the Liquidated Bonus Amounts,
                    including, but not limited to, their Class 6 PTO Claims, other claims asserted as
                    Class 8 General Unsecured Claims, the Senior Employees’ claims for
                    indemnification against the Debtor, and any other claims that they may assert
                    constitute Administrative Expense Claims, and any other such Claims are subject
                    to the rights of any party in interest to object to such Claims, and the Debtor reserves
                    any all of its rights and defenses in connection therewith.

           i.       Subject to entry of this Confirmation Order and as set forth and announced on the
                    record at the hearing on confirmation of the Plan and no party objecting thereto,
                    Mr. Ellington and Mr. Leventon agreed to change the votes in their respective
                    Ballots from rejection to acceptance of the Plan and to withdraw the Senior
                    Employees’ Objection.

           j.       The Senior Employees’ Settlement represents a valid exercise of the Debtor’s
                    business judgment and satisfies the requirements for a compromise under
                    Bankruptcy Rule 9019(a).

           k.       For the avoidance of doubt, neither Mr. Leventon nor Mr. Ellington shall be a
                    Released Party under the Plan regardless of how the Senior Employee Claimants’
                    Claims are to be treated hereunder.

           Based upon the foregoing findings, and upon the record made before the Bankruptcy Court

  at the Confirmation Hearing, and good and sufficient cause appearing therefor, it is hereby

  ORDERED, ADJUDGED AND DECREED THAT:

                    A.          Confirmation of the Plan. The Plan is approved in its entirety and

  CONFIRMED under section 1129 of the Bankruptcy Code. The terms of the Plan, including the




                                                      61
  DOCS_SF:104487.21 36027/002
  000442
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 62 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 446 of 852 PageID 2351




  Plan Supplements and Plan Modifications, are incorporated by reference into and are an integral

  part of this Confirmation Order. 11

                      B.        Findings of Fact and Conclusions of Law. The findings of fact and the

  conclusions of law set forth in this Confirmation Order and on the record of the Confirmation

  Hearing constitute findings of fact and conclusions of law in accordance with Bankruptcy Rule

  7052, made applicable to this proceeding by Bankruptcy Rule 9014. All findings of fact and

  conclusion of law announced by the Bankruptcy Court at the Confirmation Hearing in relation to

  confirmation of the Plan are hereby incorporated into this Confirmation Order. To the extent that

  any of the following constitutes findings of fact or conclusions of law, they are adopted as such.

  To the extent any findings of fact or conclusions of law set forth in this Confirmation Order

  (including any findings of fact or conclusions of law announced by the Bankruptcy Court at the

  Confirmation Hearing and incorporated herein) constitutes an order of the Bankruptcy Court, and

  is adopted as such.

                      C.        Objections. Any resolution or disposition of objections to confirmation of

  the Plan or otherwise ruled upon by the Bankruptcy Court on the record of the Confirmation

  Hearing is hereby incorporated by reference.               All objections and all reservations of rights

  pertaining to confirmation of the Plan that have not been withdrawn, waived or settled are

  overruled on the merits, except as otherwise specifically provided in this Confirmation Order.

                      D.        Plan Supplements and Plan Modifications.             The filing with the

  Bankruptcy Court of the Plan Supplements and the Plan Modifications constitutes due and


  11
       The Plan is attached hereto as Exhibit A.


                                                        62
  DOCS_SF:104487.21 36027/002
  000443
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 63 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 447 of 852 PageID 2352




  sufficient notice thereof. Accordingly, pursuant to section 1127(a) of the Bankruptcy Code and

  Bankruptcy Rule 3019, the Plan Modifications and the Plan Supplements do not require additional

  disclosure under section 1125 of the Bankruptcy Code or resolicitation of votes under section 1126

  of the Bankruptcy Code, nor do they require that Holders of Claims or Equity Interests be afforded

  an opportunity to change previously cast acceptances or rejections of the Plan.         The Plan

  Modifications and the Plan Supplements constitute the Plan pursuant to section 1127(a) of the

  Bankruptcy Code. Accordingly, the Plan, as modified, is properly before the Bankruptcy Court

  and all votes cast with respect to the Plan prior to such modification shall be binding and shall

  apply with respect to the Plan.

                    E.          Deemed Acceptance of Plan. In accordance with section 1127 of the

  Bankruptcy Code and Bankruptcy Rule 3019, all Holders of Claims and Equity Interests who voted

  to accept the Plan (or whom are conclusively presumed to accept the Plan) are deemed to have

  accepted the Plan as modified by the Plan Modifications. No holder of a Claim shall be permitted

  to change its vote as a consequence of the Plan Modifications.

                    F.          Vesting of Assets in the Reorganized Debtor.   Except as otherwise

  provided in the Plan or this Confirmation Order, on or after the Effective Date, all Reorganized

  Debtor Assets will vest in the Reorganized Debtor, free and clear of all Liens, Claims, charges or

  other encumbrances pursuant to section 1141(c) of the Bankruptcy Code, except with respect to

  such Liens, Claims, charges, and other encumbrances that are specifically preserved under the Plan

  upon the Effective Date. The Reorganized Debtor shall be the exclusive trustee of the Reorganized

  Debtor Assets for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the



                                                     63
  DOCS_SF:104487.21 36027/002
  000444
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 64 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 448 of 852 PageID 2353




  representative of the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code

  with respect to the Reorganized Debtor Assets.

                    G.          Effectiveness of All Actions.   All actions contemplated by the Plan,

  including all actions in connection with the Claimant Trust Agreement, the Senior Employee

  Stipulation, the New GP LLC Documents, the New Frontier Note, the Reorganized Limited

  Partnership Agreement, the Litigation Sub-Trust Agreement, and the other Plan Documents, are

  authorized to be taken on, prior to, or after the Effective Date, as applicable, under this

  Confirmation Order, without further application to or order of the Bankruptcy Court, or further

  action by the directors, managers, officers or partners of the Debtor or the Reorganized Debtor and

  with the effect that such actions had been taken by unanimous action of such parties.

                    H.          Restructuring Transactions.     The Debtor or Reorganized Debtor, as

  applicable, are authorized to enter into and effectuate the Restructuring provided under the Plan,

  including, without limitation, the entry into and consummation of the transactions contemplated

  by the Claimant Trust Agreement, the Senior Employee Stipulation, the New GP LLC Documents,

  the New Frontier Note, the Reorganized Limited Partnership Agreement, the Litigation Sub-Trust

  Agreement, and the other Plan Documents, and may take any actions as may be necessary or

  appropriate to effect a corporate restructuring of its business or a corporate restructuring of the

  overall corporate structure of the Reorganized Debtor, as and to the extent provided in the Plan.

  Any transfers of assets or equity interests effected or any obligations incurred through the

  Restructuring pursuant to the Plan are hereby approved and shall not constitute fraudulent

  conveyances or fraudulent transfers or otherwise be subject to avoidance.



                                                      64
  DOCS_SF:104487.21 36027/002
  000445
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 65 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 449 of 852 PageID 2354




                    I.          Preservation of Causes of Action. Unless a Cause of Action against a

  Holder of a Claim or an Equity Interest or other Entity is expressly waived, relinquished, released,

  compromised or settled in the Plan or any Final Order (including, without limitation, this

  Confirmation Order), such Cause of Action is expressly reserved for later adjudication by the

  Reorganized Debtor, the Litigation Sub-Trust, or the Claimant Trust, as applicable (including,

  without limitation, Causes of Action not specifically identified or of which the Debtor may

  presently be unaware or that may arise or exist by reason of additional facts or circumstances

  unknown to the Debtor at this time or facts or circumstances that may change or be different from

  those the Debtor now believes to exist) and, therefore, no preclusion doctrine, including, without

  limitation, the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,

  waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such Causes of Action as

  a consequence of the confirmation, effectiveness, or consummation of the Plan based on the

  Disclosure Statement, the Plan, or this Confirmation Order, except where such Causes of Action

  have been expressly released in the Plan or any other Final Order (including, without limitation,

  this Confirmation Order). In addition, the right of the Reorganized Debtor, the Claimant Trust, or

  the Litigation Sub-Trust to pursue or adopt any claims alleged in any lawsuit in which the Debtor

  is a plaintiff, defendant or an interested party, against any Entity, including, without limitation, the

  plaintiffs or co-defendants in such lawsuits, is expressly reserved.

                    J.          Independent Board of Directors of Strand. The terms of the current

  Independent Directors shall expire on the Effective Date without the need for any further or other

  action by any of the Independent Directors. For avoidance of doubt, the Assumed Contracts



                                                      65
  DOCS_SF:104487.21 36027/002
  000446
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 66 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 450 of 852 PageID 2355




  include the Indemnification and Guaranty Agreement between Highland Capital Management,

  Strand Advisors, Inc. and James Seery; the Indemnification and Guaranty Agreement between

  Highland Capital Management, Strand Advisors, Inc. and John Dubel and Indemnification and

  Guaranty Agreement between Highland Capital Management, Strand Advisors, Inc. and Russell

  Nelms and shall each remain in full force and effect notwithstanding the expiration of the terms of

  any Independent Directors.

                    K.          Cancellation of Equity Interests and Issuance of New Partnership

  Interests. On the Effective Date, all Class A Limited Partnership Interests, including the Class A

  Limited Partnership Interests held by Strand, as general partner, and Class B/C Limited

  Partnerships in the Debtor will be deemed cancelled, and all obligations or debts owed by, or

  Claims against, the Debtor on account of, or based upon, such Class A Limited Partnership

  Interests and Class B/C Limited Partnership Interests shall be deemed as cancelled, released, and

  discharged, including all obligations or duties by the Debtor relating to the Equity Interests in any

  of the Debtor’s formation documents, including the Limited Partnership Agreement. As of the

  Effective Date and pursuant to the Plan, new Class A Limited Partnership Interests in the

  Reorganized Debtor will be issued to the Claimant Trust and New GP LLC. The Claimant Trust,

  as limited partner, will ratify New GP LLC’s appointment as general partner of the Reorganized

  Debtor, and on and following the Effective Date, the Claimant Trust will be the Reorganized

  Debtor’s limited partner and New GP LLC will be its general partner. The Claimant Trust, as

  limited partner, and New GP LLC, as general partner, will execute the Reorganized Limited

  Partnership Agreement, which will amend and restate, in all respects, the Debtor’s current Limited



                                                     66
  DOCS_SF:104487.21 36027/002
  000447
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 67 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 451 of 852 PageID 2356




  Partnership Agreement. Following the Effective Date, the Reorganized Debtor will be managed

  consistent with the terms of the Reorganized Limited Partnership Agreement by New GP LLC.

  The sole managing member of New GP LLC will be the Claimant Trust, and the Claimant Trustee

  will be the sole officer of New GP LLC on the Effective Date.

                    L.          Transfer of Assets to Claimant Trust. On or prior to the Effective Date,

  the Debtor shall irrevocably transfer and shall be deemed to have irrevocably transferred to the

  Claimant Trust all of its rights, title, and interest in and to all of the Claimant Trust Assets, and in

  accordance with section 1141 of the Bankruptcy Code, the Claimant Trust Assets shall

  automatically vest in the Claimant Trust free and clear of all Claims, Liens, encumbrances, or

  interests subject only to the Claimant Trust Interests and the Claimant Trust Expenses, as provided

  for in the Claimant Trust Agreement, and such transfer shall be exempt from any stamp, real estate

  transfer, mortgage from any stamp, transfer, reporting, sales, use, or other similar tax. Following

  the Effective Date, the Claimant Trust will administer the Claimant Trust Assets pursuant to the

  Plan and the Claimant Trust Agreement.

                    M.          Transfer of Estate Claims to Litigation Sub-Trust. On or prior to the

  Effective Date, the Claimant Trust shall irrevocably transfer and shall be deemed to have

  irrevocably transferred to the Litigation Sub-Trust all of the Claimant Trust’s rights, title, and

  interest in and to all of the Estate Claims as successor in interest to the Debtor, and in accordance

  with section 1141 of the Bankruptcy Code, the Estate Claims shall automatically vest in the

  Litigation Sub-Trust free and clear of all Claims, Liens, encumbrances, or interests subject only to

  the Litigation Sub-Trust Interests and Litigation Sub-Trust Expenses. The Litigation Trustee will



                                                        67
  DOCS_SF:104487.21 36027/002
  000448
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 68 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 452 of 852 PageID 2357




  be authorized to investigate, pursue, and otherwise resolve the Estate Claims pursuant to the terms

  of the Litigation Sub-Trust Agreement and the Plan, including as successor in interest to the Debtor

  or Committee, as applicable, in any litigation commenced prior to the Effective Date in which

  Estate Claims are asserted.

                    N.          Compromise of Controversies. In consideration for the distributions and

  other benefits, including releases, provided under the Plan, the provisions of the Plan constitute a

  good faith compromise and settlement of all Claims, Equity Interests, and controversies resolved

  under the Plan and the entry of this Confirmation Order constitutes approval of such compromise

  and settlement under Bankruptcy Rule 9019.

                    O.          Objections to Claims. The Claims Objection Deadline shall be the date

  that is 180 days after the Effective Date, provided, however, that the Claims Objection Deadline

  may be extended by the Bankruptcy Court upon a motion by the Claimant Trustee and as otherwise

  provided under the Plan.

                    P.          Assumption of Contracts and Leases. Effective as of the date of this

  Confirmation Order, each of the Assumed Contacts shall be assumed by the Debtor without the

  need for any further notice to or action, order, or approval of the Bankruptcy Court, under section

  365 of the Bankruptcy Code and the payment of Cures, if any, shall be paid in accordance with the

  Plan.    Each Assumed Contract shall include all modifications, amendments, supplements,

  restatements, or other agreements related thereto, and all rights related thereto, if any, including

  all easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and

  any other interests. Modifications, amendments, supplements, and restatements to any of the



                                                       68
  DOCS_SF:104487.21 36027/002
  000449
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 69 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 453 of 852 PageID 2358




  Assumed Contracts that have been executed by the Debtor during the Chapter 11 Case shall not

  be deemed to alter the prepetition nature of such Assumed Contracts or the validity, priority, or

  amount of any Claims that may arise in connection therewith. Assumption of the Assumed

  Contracts pursuant to Article V.A of the Plan and full payment of any applicable Cure pursuant to

  the Plan shall result in the full release and satisfaction of any Cures, Claims, or defaults, whether

  monetary or nonmonetary, including defaults of provisions restricting the change in control or

  ownership interest composition, or other bankruptcy-related defaults, arising under any Assumed

  Contracts.

                    Q.          Rejection of Contracts and Leases. Unless previously assumed during the

  pendency of the Chapter 11 Case or pursuant to the Plan, all other Executory Contracts and

  Unexpired Leases are rejected as of the date of the entry of this Confirmation Order and pursuant

  to the terms of the Plan. To the extent that any party asserts any damages resulting from the

  rejection of any Executory Contract or Unexpired Lease, such claim must be filed within thirty

  (30) days following entry of this Confirmation Order, or such claim will be forever barred and

  disallowed against the Reorganized Debtor.

                    R.          Assumption of Issuer Executory Contracts. On the Confirmation Date,

  the Debtor will assume the agreements set forth on Exhibit B hereto (collectively, the “Issuer

  Executory Contracts”) pursuant to section 365 of the Bankruptcy Code and Article V of the Plan.

  In full and complete satisfaction of its obligation to cure outstanding defaults under section

  365(b)(1) of the Bankruptcy Code, the Debtor or, as applicable, any successor manager under the




                                                       69
  DOCS_SF:104487.21 36027/002
  000450
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 70 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 454 of 852 PageID 2359




  Issuer Executory Contracts (collectively, the “Portfolio Manager”) will pay to the Issuers 12 a

  cumulative amount of $525,000 (the “Cure Amount”) as follows:

           a.       $200,000 in cash on the date that is five business days from the Effective Date, with
                    such payment paid directly to Schulte Roth & Zabel LLP (“SRZ”) in the amount of
                    $85,714.29, Jones Walker LLP (“JW”) in the amount of $72,380.95, and Maples
                    Group (“Maples” and collectively with SRZ and JW, the “Issuers’ Counsel”) in the
                    amount of $41,904.76 as reimbursement for the attorney’s fees and other legal
                    expenses incurred by the Issuers in connection with the Debtor’s bankruptcy case;
                    and

           b.       $325,000 in four equal quarterly payments of $81,250.00 (each, a “Payment”),
                    which amounts shall be paid to SRZ in the amount of $34,821.43, JW in the amount
                    of $29,404.76, and Maples in the amount of $17,023.81 as additional
                    reimbursement for the attorney’s fees and other legal expenses incurred by the
                    Issuers in connection with the Debtor’s bankruptcy case (i) from any management
                    fees actually paid to the Portfolio Manager under the Issuer Executory Contracts
                    (the “Management Fees”), and (ii) on the date(s) Management Fees are required to
                    be paid under the Issuer Executory Contracts (the “Payment Dates”), and such
                    obligation shall be considered an irrevocable direction from the Debtor and the
                    Bankruptcy Court to the relevant CLO Trustee to pay, on each Payment Date, the
                    Payment to Issuers’ Counsel, allocated in the proportion set forth in such
                    agreement; provided, however, that (x) if the Management Fees are insufficient to
                    make any Payment in full on a Payment Date, such shortfall, in addition to any
                    other amounts due hereunder, shall be paid out of the Management Fees owed on
                    the following Payment Date, and (y) nothing herein shall limit either Debtor’s
                    liability to pay the amounts set forth herein, nor the recourse of the Issuers or
                    Issuers’ Counsel to the Debtor, in the event of any failure to make any Payment.

                    S.          Release of Issuer Claims. Effective as of the Confirmation Date, and to

  the maximum extent permitted by law, each Issuer on behalf of itself and each of its current and

  former advisors, trustees, directors, officers, managers, members, partners, employees,

  beneficiaries, shareholders, agents, participants, subsidiaries, parents, successors, designees, and

  12
    The “Issuers” are: Brentwood CLO, Ltd., Gleneagles CLO, Ltd., Greenbriar CLO, Ltd., Highland CLO 2018-1,
  Ltd., Highland Legacy Limited, Highland Loan Funding V Ltd., Highland Park CDO I, Ltd., Pam Capital Funding
  LP, Rockwall CDO II Ltd., Rockwall CDO Ltd., Southfork CLO Ltd., Stratford CLO Ltd., Westchester CLO, Ltd.,
  Aberdeen Loan Funding, Ltd., Eastland CLO, Ltd., Grayson CLO, Ltd., Highland Credit Opportunities CDO Ltd.,
  Jasper CLO, Ltd., Liberty Cayman Holdings, Ltd., Liberty CLO, Ltd., Red River CLO, Ltd., Valhalla CLO, Ltd.


                                                       70
  DOCS_SF:104487.21 36027/002
  000451
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 71 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 455 of 852 PageID 2360




  assigns hereby forever, finally, fully, unconditionally, and completely releases, relieves, acquits,

  remises, and exonerates, and covenants never to sue, (i) the Debtor and (ii) the Professionals

  retained by the Debtor and the Committee in the Chapter 11 Case, the Independent Directors, the

  CEO/CRO, and with respect to the Persons listed in this subsection (ii), such Person’s Related

  Persons (collectively, the “Debtor Released Parties”), for and from any and all claims, debts,

  liabilities, demands, obligations, promises, acts, agreements, liens, losses, costs and expenses

  (including, without limitation, attorney’s fees and related costs), damages, injuries, suits, actions,

  and causes of action of whatever kind or nature, whether known or unknown, suspected or

  unsuspected, matured or unmatured, liquidated or unliquidated, contingent or fixed, at law or in

  equity, statutory or otherwise, including, without limitation, any claims, defenses, and affirmative

  defenses, whether known or unknown, including, without limitation, those which were or could

  have been asserted in, in connection with, or with respect to the Bankruptcy Case (collectively, the

  “Issuer Released Claims”).

                    T.          Release of Debtor Claims against Issuer Released Parties. Upon entry

  of this Order, and to the maximum extent permitted by law, the Debtor hereby forever, finally,

  fully, unconditionally, and completely releases, relieves, acquits, remises, and exonerates, and

  covenants never to sue [(i) each Issuer and (ii) Wendy Ebanks, (iii) Yun Zheng, (iv) Laura

  Chisholm, (v) Mora Goddard, (vi) Stacy Bodden, (vii) Suzan Merren (viii) Scott Dakers, (ix) Samit

  Ghosh, (x) Inderjit Singh, (xi) Ellen Christian, (xii) Andrew Dean, (xiii) Betsy Mortel, (xiv) David

  Hogan, (xv) Cleveland Stewart, (xvi) Rachael Rankin, (xvii) Otelia Scott, (xviii) Martin Couch,

  (xx) Ferona Bartley-Davis, (xxi) Charlotte Cloete, (xxii) Christina McLean, (xxiii) Karen Ellerbe,



                                                      71
  DOCS_SF:104487.21 36027/002
  000452
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 72 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 456 of 852 PageID 2361




  (xxiv) Gennie Kay Bigord, (xxv) Evert Brunekreef, (xxvii) Evan Charles Burtton (collectively,

  the “Issuer Released Parties”),] for and from any and all claims, debts, liabilities, demands,

  obligations, promises, acts, agreements, liens, losses, costs and expenses (including, without

  limitation, attorney’s fees and related costs), damages, injuries, suits, actions, and causes of action

  of whatever kind or nature, whether known or unknown, suspected or unsuspected, matured or

  unmatured, liquidated or unliquidated, contingent or fixed, at law or in equity, statutory or

  otherwise, including, without limitation, any claims, defenses, and affirmative defenses, whether

  known or unknown, which were or could have been asserted in, in connection with, or with respect

  to the Bankruptcy Case (collectively, the “Debtor Released Claims”); provided, however, that

  notwithstanding anything herein to the contrary, the release contained herein will apply to the

  Issuer Released Parties set forth in subsection (ii) above only with respect to Debtor Released

  Claims arising from or relating to the Issuer Executory Contracts. Notwithstanding anything in

  this Order to the contrary, the releases set forth in paragraphs S and T hereof will not apply with

  respect to the duties, rights, or obligations of the Debtor or any Issuer hereunder.

                    U.          Authorization to Consummate. The Debtor is authorized to consummate

  the Plan after the entry of this Confirmation Order subject to satisfaction or waiver of the

  conditions precedent to the Effective Date of the Plan set forth in Article VIII.A of the Plan. The

  Plan shall not become effective unless and until the conditions set forth in Article VIII.A of the

  Plan have been satisfied, or otherwise waived pursuant to Article VIII.B of the Plan.

                    V.          Professional Compensation. All requests for payment of Professional Fee

  Claims for services rendered and reimbursement of expenses incurred prior to the Effective Date



                                                       72
  DOCS_SF:104487.21 36027/002
  000453
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 73 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 457 of 852 PageID 2362




  must be filed no later than sixty (60) days after the Effective Date. The Bankruptcy Court shall

  determine the Allowed amounts of such Professional Fee Claims after notice and an opportunity

  for hearing in accordance with the procedures established by the Bankruptcy Code and the

  Bankruptcy Court. The Debtor shall fund the Professional Fee Reserve as provided under the Plan.

  The Reorganized Debtor shall pay Professional Fee Claims in Cash in the amounts the Bankruptcy

  Court allows. The Debtor is authorized to pay the pre-Effective Date fees and expenses of all

  ordinary course professionals in the ordinary course of business without the need for further

  Bankruptcy Court order or approval. From and after the Effective Date, any requirement that

  Professionals comply with sections 327 through 331 and 1103 (if applicable) of the Bankruptcy

  Code in seeking retention or compensation for services rendered after such date shall terminate,

  and the Reorganized Debtor or Claimant Trustee, as applicable, may employ and pay any

  Professional or Entity employed in the ordinary course of the Debtor’s business without any further

  notice to or action, order, or approval of the Bankruptcy Court.

                    W.          Release, Exculpation, Discharge, and Injunction Provisions.        The

  following release, exculpation, discharge, and injunction provisions set forth in the Plan are

  approved and authorized in their entirety, and such provisions are effective and binding on

  all parties and Entities to the extent provided therein.

                    X.          Discharge of Claims and Termination of Interests. To the fullest extent

  provided under section 1141(d)(1)(A) and other applicable provisions of the Bankruptcy Code,

  except as otherwise expressly provided by the Plan or this Confirmation Order, all consideration

  distributed under the Plan will be in exchange for, and in complete satisfaction, settlement,



                                                       73
  DOCS_SF:104487.21 36027/002
  000454
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 74 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 458 of 852 PageID 2363




  discharge, and release of, all Claims and Equity Interests of any kind or nature whatsoever against

  the Debtor or any of its Assets or properties, and regardless of whether any property will have been

  distributed or retained pursuant to the Plan on account of such Claims or Equity Interests. Except

  as otherwise expressly provided by the Plan or this Confirmation Order, upon the Effective Date,

  the Debtor and its Estate will be deemed discharged and released under and to the fullest extent

  provided under section 1141(d)(1)(A) and other applicable provisions of the Bankruptcy Code

  from any and all Claims and Equity Interests of any kind or nature whatsoever, including, but not

  limited to, demands and liabilities that arose before the Confirmation Date, and all debts of the

  kind specified in section 502(g), 502(h), or 502(i) of the Bankruptcy Code.

                    Y.          Exculpation. Subject in all respects to Article XII.D of the Plan, to the

  maximum extent permitted by applicable law, no Exculpated Party will have or incur, and each

  Exculpated Party is hereby exculpated from, any claim, obligation, suit, judgment, damage,

  demand, debt, right, Cause of Action, remedy, loss, and liability for conduct occurring on or after

  the Petition Date in connection with or arising out of (i) the filing and administration of the Chapter

  11 Case; (ii) the negotiation and pursuit of the Disclosure Statement, the Plan, or the solicitation

  of votes for, or confirmation of, the Plan; (iii) the funding or consummation of the Plan (including

  the Plan Supplement) or any related agreements, instruments, or other documents, the solicitation

  of votes on the Plan, the offer, issuance, and Plan Distribution of any securities issued or to be

  issued pursuant to the Plan, including the Claimant Trust Interests, whether or not such Plan

  Distributions occur following the Effective Date; (iv) the implementation of the Plan; and (v) any

  negotiations, transactions, and documentation in connection with the foregoing clauses (i)-(v);



                                                        74
  DOCS_SF:104487.21 36027/002
  000455
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 75 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 459 of 852 PageID 2364




  provided, however, the foregoing will not apply to (a) any acts or omissions of an Exculpated Party

  arising out of or related to acts or omissions that constitute bad faith, fraud, gross negligence,

  criminal misconduct, or willful misconduct or (b) Strand or any Employee other than with respect

  to actions taken by such Entities from the date of appointment of the Independent Directors through

  the Effective Date. The Plan’s exculpation shall be in addition to, and not in limitation of, all other

  releases, indemnities, exculpations, any other applicable law or rules, or any other provisions of

  the Plan, including Article IV.C.2 of the Plan, protecting such Exculpated Parties from liability.

                    Z.          Releases by the Debtor. On and after the Effective Date, each Released

  Party is deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably, and forever

  released and discharged by the Debtor and the Estate, in each case on behalf of themselves and

  their respective successors, assigns, and representatives, including, but not limited to, the Claimant

  Trust and the Litigation Sub-Trust from any and all Causes of Action, including any derivative

  claims, asserted on behalf of the Debtor, whether known or unknown, foreseen or unforeseen,

  matured or unmatured, existing or hereafter arising, in law, equity, contract, tort or otherwise, that

  the Debtor or the Estate would have been legally entitled to assert in their own right (whether

  individually or collectively) or on behalf of the holder of any Claim against, or Interest in, a Debtor

  or other Person. Notwithstanding anything contained herein to the contrary, the foregoing release

  does not release: (i) any obligations of any party under the Plan or any document, instrument, or

  agreement executed to implement the Plan, (ii) the rights or obligations of any current employee

  of the Debtor under any employment agreement or plan, (iii) the rights of the Debtor with respect

  to any confidentiality provisions or covenants restricting competition in favor of the Debtor under



                                                       75
  DOCS_SF:104487.21 36027/002
  000456
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 76 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 460 of 852 PageID 2365




  any employment agreement with a current or former employee of the Debtor, (iv) any Avoidance

  Actions, or (v) any Causes of Action arising from willful misconduct, criminal misconduct, actual

  fraud, or gross negligence of such applicable Released Party as determined by Final Order of the

  Bankruptcy Court or any other court of competent jurisdiction.

                    AA.         Injunction.   Upon entry of this Confirmation Order, all Enjoined

  Parties are and shall be permanently enjoined, on and after the Effective Date, from taking

  any actions to interfere with the implementation or consummation of the Plan. Except as

  expressly provided in the Plan, this Confirmation Order, or a separate order of the

  Bankruptcy Court, all Enjoined Parties are and shall be permanently enjoined, on and after

  the Effective Date, with respect to any Claims and Equity Interests, from directly or

  indirectly (i) commencing, conducting, or continuing in any manner, any suit, action, or

  other proceeding of any kind (including any proceeding in a judicial, arbitral, administrative

  or other forum) against or affecting the Debtor or the property of the Debtor, (ii) enforcing,

  levying, attaching (including any prejudgment attachment), collecting, or otherwise

  recovering, enforcing, or attempting to recover or enforce, by any manner or means, any

  judgment, award, decree, or order against the Debtor or the property of the Debtor, (iii)

  creating, perfecting, or otherwise enforcing in any manner, any security interest, lien or

  encumbrance of any kind against the Debtor or the property of the Debtor, (iv) asserting any

  right of setoff, directly or indirectly, against any obligation due to the Debtor or against

  property or interests in property of the Debtor, except to the limited extent permitted under

  Sections 553 and 1141 of the Bankruptcy Code, and (v) acting or proceeding in any manner,



                                                      76
  DOCS_SF:104487.21 36027/002
  000457
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 77 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 461 of 852 PageID 2366




  in any place whatsoever, that does not conform to or comply with the provisions of the Plan.

  The injunctions set forth in the Plan and this Confirmation Order shall extend to, and apply

  to any act of the type set forth in any of clauses (i)-(v) of the immediately preceding

  paragraph against any successors of the Debtor, including, but not limited to, the

  Reorganized Debtor, the Litigation Sub-Trust, and the Claimant Trust and their respective

  property and interests in property. Subject in all respects to Article XII.D of the Plan, no

  Enjoined Party may commence or pursue a claim or cause of action of any kind against any

  Protected Party that arose or arises from or is related to the Chapter 11 Case, the negotiation

  of the Plan, the administration of the Plan or property to be distributed under the Plan, the

  wind down of the business of the Debtor or Reorganized Debtor, the administration of the

  Claimant Trust or the Litigation Sub-Trust, or the transactions in furtherance of the

  foregoing without the Bankruptcy Court (i) first determining, after notice and a hearing,

  that such claim or cause of action represents a colorable claim of any kind, including, but

  not limited to, negligence, bad faith, criminal misconduct, willful misconduct, fraud, or gross

  negligence against a Protected Party and (ii) specifically authorizing such Enjoined Party to

  bring such claim or cause of action against any such Protected Party; provided, however, the

  foregoing will not apply to a claim or cause of action against Strand or against any Employee

  other than with respect to actions taken, respectively, by Strand or by such Employee from

  the date of appointment of the Independent Directors through the Effective Date. The

  Bankruptcy Court will have sole and exclusive jurisdiction to determine whether a claim or

  cause of action is colorable and, only to the extent legally permissible and as provided for in



                                                77
  DOCS_SF:104487.21 36027/002
  000458
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 78 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 462 of 852 PageID 2367




  Article XI of the Plan, shall have jurisdiction to adjudicate the underlying colorable claim or

  cause of action.

                    BB.         Duration of Injunction and Stays. Unless otherwise provided in the

  Plan, in this Confirmation Order, or in a Final Order of the Bankruptcy Court, (i) all

  injunctions and stays entered during the Chapter 11 Case and in existence on the

  Confirmation Date, shall remain in full force and effect in accordance with their terms; and

  (ii) the automatic stay arising under section 362 of the Bankruptcy Code shall remain in full

  force and effect subject to Section 362(c) of the Bankruptcy Code, and to the extent necessary

  if the Debtor does not receive a discharge, the Bankruptcy Court will enter an equivalent

  order under Section 105.

                    CC.         Continuance of January 9 Order and July 16 Order. Unless otherwise

  provided in the Plan, in this Confirmation Order, or in a Final Order of the Bankruptcy Court, each

  of the Order Approving Settlement with Official Committee of Unsecured Creditors Regarding

  Governance of the Debtor and Procedures for Operations in the Ordinary Course, entered by the

  Bankruptcy Court on January 9, 2020 [Docket No. 339] and Order Approving the Debtor’s Motion

  Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention of James P. Seery, Jr.,

  as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative Nunc Pro

  Tunc to March 15, 2020 [Docket No. 854] entered on July 16, 2020 shall remain in full force and

  effect from the Confirmation Date and following the Effective Date.

                    DD.         No Governmental Releases. Nothing in this Confirmation Order or the

  Plan shall effect a release of any claim by the United States Government or any of its agencies or



                                                      78
  DOCS_SF:104487.21 36027/002
  000459
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 79 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 463 of 852 PageID 2368




  any state and local authority whatsoever, including without limitation any claim arising under the

  Internal Revenue Code, the environmental laws or any criminal laws of the United States or any

  state and local authority against any party or person, nor shall anything in this Confirmation Order

  or the Plan enjoin the United States or any state or local authority from bringing any claim, suit,

  action, or other proceedings against any party or person for any liability of such persons whatever,

  including without limitation any claim, suit, or action arising under the Internal Revenue Code,

  the environmental laws or any criminal laws of the United States or any state and local authority

  against such persons, nor shall anything in this Confirmation Order or the Plan exculpate any party

  or person from any liability to the United States Government or any of its agencies or any state

  and local authority whatsoever, including any liabilities arising under the Internal Revenue Code,

  the environmental laws, or any criminal laws of the United States or any state and local authority

  against any party or person.

                    EE.         Exemption from Transfer Taxes. Pursuant to section 1146(a) of the

  Bankruptcy Code, any transfers (whether from the Debtor to the Reorganized Debtor or to any

  other Person) of property under the Plan or pursuant to: (a) the issuance, distribution, transfer, or

  exchange of any debt, equity security, or other interest in the Debtor or the Reorganized Debtor;

  (b) the Restructuring transactions pursuant to the Plan; (c) the creation, modification,

  consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or other

  security interest, or the securing of additional indebtedness by such or other means; (d) the making,

  assignment, or recording of any lease or sublease; or (e) the making, delivery, or recording of any

  deed or other instrument of transfer under, in furtherance of, or in connection with, the Plan,



                                                     79
  DOCS_SF:104487.21 36027/002
  000460
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 80 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 464 of 852 PageID 2369




  including any deeds, bills of sale, assignments, or other instrument of transfer executed in

  connection with any transaction arising out of, contemplated by, or in any way related to the Plan,

  shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or

  similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, Uniform Commercial

  Code filing or recording fee, regulatory filing or recording fee, or other similar tax or governmental

  assessment to the fullest extent contemplated by section 1146(a) of the Bankruptcy Code, and upon

  entry of this Confirmation Order, the appropriate state or local governmental officials or agents

  shall forego the collection of any such tax or governmental assessment and accept for filing and

  recordation of any of the foregoing instruments or other documents without the payment of any

  such tax, recordation fee, or governmental assessment.

                    FF.         Cancellation of Notes, Certificates and Instruments. Except for the

  purpose of evidencing a right to a distribution under the Plan and except as otherwise set forth in

  the Plan or as otherwise provided in this Confirmation Order, on the Effective Date, all agreements,

  instruments, Securities and other documents evidencing any prepetition Claim or Equity Interest

  and any rights of any Holder in respect thereof shall be deemed cancelled, discharged, and of no

  force or effect. The holders of or parties to such cancelled instruments, Securities, and other

  documentation will have no rights arising from or related to such instruments, Securities, or other

  documentation or the cancellation thereof, except the rights provided for pursuant to the Plan, and

  the obligations of the Debtor thereunder or in any way related thereto will be fully released,

  terminated, extinguished and discharged, in each case without further notice to or order of the




                                                      80
  DOCS_SF:104487.21 36027/002
  000461
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 81 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 465 of 852 PageID 2370




  Bankruptcy Court, act or action under applicable law, regulation, order, or rule or any requirement

  of further action, vote or other approval or authorization by any Person.

                    GG.         Documents, Mortgages, and Instruments.            Each federal, state,

  commonwealth, local, foreign, or other governmental agency is authorized to accept any and all

  documents, mortgages, and instruments necessary or appropriate to effectuate, implement, or

  consummate the Plan, including the Restructuring transactions contemplated under the Plan, and

  this Confirmation Order.

                    HH.         Post-Confirmation Modifications.     Subject section 1127(b) of the

  Bankruptcy Code and the Plan, the Debtor and the Reorganized Debtor expressly reserve their

  rights to revoke or withdraw, or to alter, amend, or modify materially the Plan, one or more times

  after Confirmation and, to the extent necessary, may initiate proceedings in the Bankruptcy Court

  to so alter, amend, or modify the Plan, or remedy any defect or omission, or reconcile any

  inconsistencies in the Plan or this Confirmation Order, in such manner as may be necessary to

  carry out the purposes and intent of the Plan. Any such modification or supplement shall be

  considered a modification of the Plan and shall be made in accordance with Article XII.B of the

  Plan.

                    II.         Applicable Nonbankruptcy Law. The provisions of this Confirmation

  Order, the Plan and related documents, or any amendments or modifications thereto, shall apply

  and be enforceable notwithstanding any otherwise applicable nonbankruptcy law.

                    JJ.         Governmental Approvals Not Required. This Confirmation Order shall

  constitute all approvals and consents required, if any, by the laws, rules, or regulations of any state,



                                                      81
  DOCS_SF:104487.21 36027/002
  000462
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 82 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 466 of 852 PageID 2371




  federal, or other governmental authority with respect to the dissemination, implementation, or

  consummation of the Plan and the Disclosure Statement, any certifications, documents,

  instruments or agreements, and any amendments or modifications thereto, and any other acts

  referred to in, or contemplated by, the Plan and the Disclosure Statement.

                    KK.         Notice of Effective Date. As soon as reasonably practicable after the

  Effective Date, the Reorganized Debtor shall file notice of the Effective Date and shall serve a

  copy of the same on all Holders of Claims and Equity Interests, and all parties who have filed with

  the Bankruptcy Court requests to receive notices in accordance with Bankruptcy Rules 2002 and

  3020(c). Notwithstanding the above, no notice of Confirmation or Consummation or service of

  any kind shall be required to be mailed or made upon any Entity to whom the Debtor mailed notice

  of the Confirmation Hearing, but received such notice returned marked “undeliverable as

  addressed,” “moved, left no forwarding address” or “forwarding order expired,” or similar reason,

  unless the Debtor has been informed in writing by such Entity, or is otherwise aware, of that

  Entity’s new address. The above-referenced notices are adequate under the particular

  circumstances of this Chapter 11 Case and no other or further notice is necessary.

                    LL.         Substantial Consummation. On the Effective Date, the Plan shall be

  deemed to be substantially consummated under sections 1101 and 1127 of the Bankruptcy Code.

                    MM. Waiver of Stay. For good cause shown, the stay of this Confirmation Order

  provided by any Bankruptcy Rule is waived, and this Confirmation Order shall be effective and

  enforceable immediately upon its entry by the Bankruptcy Court.




                                                       82
  DOCS_SF:104487.21 36027/002
  000463
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 83 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 467 of 852 PageID 2372




                    NN.         References to and Omissions of Plan Provisions. References to articles,

  sections, and provisions of the Plan are inserted for convenience of reference only and are not

  intended to be a part of or to affect the interpretation of the Plan. The failure to specifically include

  or to refer to any particular article, section, or provision of the Plan in this Confirmation Order

  shall not diminish or impair the effectiveness of such article, section, or provision, it being the

  intent of the Bankruptcy Court that the Plan be confirmed in its entirety, except as expressly

  modified herein, and incorporated herein by this reference.

                    OO.         Headings. Headings utilized herein are for convenience and reference only,

  and do not constitute a part of the Plan or this Confirmation Order for any other purpose.

                    PP.         Effect of Conflict. This Confirmation Order supersedes any Bankruptcy

  Court order issued prior to the Confirmation Date that may be inconsistent with this Confirmation

  Order.    If there is any inconsistency between the terms of the Plan and the terms of this

  Confirmation Order, the terms of this Confirmation Order govern and control. If there is any

  inconsistency between the terms of this Confirmation Order and the terms of a final, executed Plan

  Supplement Document, the terms of the final, executed Plan Supplement Document will govern

  and control.

                    QQ.         Resolution of Objection of Texas Taxing Authorities. Dallas County,

  Kaufman County, City of Allen, Allen ISD and City of Richardson (collectively, the “Tax

  Authorities”) assert that they are the holders of prepetition and administrative expense claims for

  2019, 2020 and 2021 ad valorem real and business personal property taxes. The ad valorem

  property taxes for tax year 2020 shall be paid in accordance with and to the extent required under



                                                        83
  DOCS_SF:104487.21 36027/002
  000464
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 84 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 468 of 852 PageID 2373




  applicable nonbankruptcy law. In the event the 2020 taxes are paid after February 1, 2021, the

  Tax Authorities may assert any rights and amounts they claim are owed with respect to penalties

  and interest that have accrued through the date of payment and the Debtor and Reorganized Debtor

  reserve any all rights and defenses in connection therewith.

           a.       The Debtor/Reorganized Debtor shall pay all amounts owed to the Tax Authorities
                    for tax year 2021 in accordance with and to the extent required under applicable
                    nonbankruptcy law. The Tax Authorities shall not be required to file and serve an
                    administrative expense claim and request for payment as a condition of allowance
                    of their administrative expense claims pursuant to 11 U.S.C. Section 503(b)(1)(D).
                    With regard to year 2019 ad valorem property taxes, the Tax Authorities will
                    receive payment of their prepetition claims within 30 days of the Effective Date of
                    the Plan. The payment will include interest from the Petition Date through the
                    Effective Date and from the Effective Date through payment in full at the state
                    statutory rate pursuant to 11 U.S.C. Sections 506(b), 511, and 1129, if applicable,
                    subject to all of the Debtor’s and Reorganized Debtor’s rights and defenses in
                    connection therewith. Notwithstanding any other provision in the Plan, the Tax
                    Authorities shall (i) retain the liens that secure all prepetition and postpetition
                    amounts ultimately owed to them, if any, as well as (ii) the state law priority of
                    those liens until the claims are paid in full.

           b.       The Tax Authorities’ prepetition claims and their administrative expense claims
                    shall not be discharged until such time as the amounts owed are paid in full. In the
                    event of a default asserted by the Taxing Authorities, the Tax Authorities shall
                    provide notice Debtor or Reorganized Debtor, as applicable, and may demand cure
                    of any such asserted default. Subject to all of its rights and defenses, the Debtor or
                    Reorganized Debtor shall have fifteen (15) days from the date of the notice to cure
                    the default. If the alleged default is not cured, the Tax Authorities may exercise
                    any of their respective rights under applicable law and pursue collection of all
                    amounts owed pursuant to state law outside of the Bankruptcy Court, subject in all
                    respects to the Debtor’s and Reorganized Debtor’s applicable rights and defenses.
                    The Debtor/Reorganized Debtor shall be entitled to any notices of default required
                    under applicable nonbankruptcy law and each of the Taxing Authorities, the Debtor
                    and the Reorganized Debtor reserve any and all of their respective rights and
                    defenses in connection therewith. The Debtor’s and Reorganized Debtor’s rights
                    and defenses under Texas Law and the Bankruptcy Code with respect to this
                    provision of the Confirmation Order, including their right to dispute or object to the
                    Tax Authorities’ Claims and liens, are fully preserved.



                                                     84
  DOCS_SF:104487.21 36027/002
  000465
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 85 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 469 of 852 PageID 2374




                    RR.         Resolution of Objections of Scott Ellington and Isaac Leventon.

  Pursuant to Bankruptcy Rule 9019(a), the Senior Employees’ Settlement is approved in all

  respects. The Debtor may, only with the consent of the Committee, elect Option B for a Senior

  Employee Claimant by written notice to such Senior Employee Claimant on or before the

  occurrence of the Effective Date. If the Debtor does not elect Option B, then Option A will govern

  the treatment of the Liquidated Bonus Claims.

           a.       Notwithstanding any language in the Plan, the Disclosure Statement, or this
                    Confirmation Order to the contrary, if Option A applies to the Liquidated Bonus
                    Claims of a Senior Employee Claimant, then the Liquidated Bonus Claims of such
                    Senior Employee Claimant will receive the treatment described in paragraph 82(e)
                    hereof, and if the Debtor timely elects Option B with respect to the Liquidated
                    Bonus Claims of a Senior Employee Claimant, then the Liquidated Bonus Claims
                    of such Senior Employee will receive the treatment described in paragraph 82(f)
                    hereof.

           b.       The Senior Employees’ Settlement is hereby approved, without prejudice to the
                    respective rights of Mr. Ellington and Mr. Leventon to assert all their remaining
                    Claims against the Debtor’s estate, including, but not limited to, their Class 6 PTO
                    Claims, their remaining Class 8 General Unsecured Claims, any indemnification
                    claims, and any Administrative Expense Claims that they may assert and is without
                    prejudice to the rights of any party in interest to object to any such Claims.

           c.       Pursuant to Bankruptcy Rule 3018(a), Mr. Ellington and Mr. Leventon were
                    permitted to change their votes on the Plan. Accordingly, Mr. Ellington’s votes on
                    his Ballots in Class 7 and Class 8 of the Plan were changed from a rejection of the
                    Plan to acceptance of the Plan, and Mr. Leventon’s votes on his Ballots in Class 7
                    and Class 8 of the Plan were, changed from rejections of the Plan to acceptances of
                    the Plan.

           d.       The Senior Employees’ Objection is deemed withdrawn.

                    SS.         No Release of Claims Against Senior Employee Claimants. For the

  avoidance of doubt, the Senior Employees’ Settlement, as approved herein, shall not, and shall not

  be deemed to, release any Claims or Causes of Action held by the Debtor against either Senior


                                                     85
  DOCS_SF:104487.21 36027/002
  000466
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 86 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 470 of 852 PageID 2375




  Employee Claimant nor shall either Senior Employee Claimant be, or be deemed to be, a “Released

  Party” under the Plan.

                    TT.         Resolution of Objection of Internal Revenue Service. Notwithstanding

  any other provision or term of the Plan or Confirmation Order, the following Default Provision

  shall control as to the United States of America, Internal Revenue Service (“IRS”) and all of its

  claims, including any administrative claim (the “IRS Claim”):

           (a) Notwithstanding any other provision in the Plan, if the Debtor, the Reorganized Debtor,
           or any successor in interest fails to pay when due any payment required to be made on
           federal taxes, the IRS Claim, or other payment required to be made to the IRS under the
           terms and provisions of this Plan, the Confirmation Order, or the Internal Revenue Code
           (26 U.S.C.), or fails to timely file any required federal tax return, or if any other event of
           default as set forth in the Plan occurs, the IRS shall be entitled to give the Debtor, the
           Reorganized Debtor and/or any successor in interest and their counsel of record, by United
           States Certified Mail, written notice of the failure and/or default with demand that it be
           cured, and if the failure and/or default is not cured within 14 days of the date of said notice
           and demand, then the following shall apply to the IRS:

                        (1) The administrative collection powers and the rights of the IRS shall
                    be reinstated as they existed prior to the filing of the bankruptcy petition,
                    including, but not limited to, the assessment of taxes, the filing of a notice
                    of Federal tax lien and the powers of levy, seizure, and collection as
                    provided under the Internal Revenue Code;

                        (2) The automatic stay of 11 U.S.C. § 362 and any injunction of the
                    Plan or in the Confirmation Order shall, with regard to the IRS only, lift or
                    terminate without further notice or hearing by the Bankruptcy Court, and
                    the entire prepetition liability owed to the IRS, together with any unpaid
                    postpetition tax liabilities, may become due and payable immediately; and

                        (3) The IRS shall have the right to proceed to collect from the Debtor,
                    the Reorganized Debtor or any successor in interest any of the prepetition
                    tax liabilities and related penalties and interest through administrative or
                    judicial collection procedures available under the United States Code as if
                    no bankruptcy petition had been filed and as if no plan had been confirmed.

           (b) If the IRS declares the Debtor, the Reorganized Debtor, or any successor-in-interest to
           be in default of the Debtor’s, the Reorganized Debtor’s and/ or any successor- in-interest’s
           obligations under the Plan, then entire prepetition liability of an IRS’ Allowed Claim,
           together with any unpaid postpetition tax liabilities shall become due and payable

                                                      86
  DOCS_SF:104487.21 36027/002
  000467
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 87 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 471 of 852 PageID 2376



           immediately upon written demand to the Debtor, Reorganized Debtor and/or any
           successor-in-interest. Failure of the IRS to declare a failure and/or default does not
           constitute a waiver by the United States or its agency the IRS of the right to declare that
           the Debtor, Reorganized Debtor, and/or any successor in interest is in default.

           (c) The IRS shall only be required to send two notices of failure and/or default, and upon
           the third event of a failure and/or default, the IRS shall be entitled to proceed as set out in
           paragraphs (1), (2), and/or (3) herein above without further notice to the Debtor, the
           Reorganized Debtor, or any successor in interest, or its counsel. The collection statute
           expiration date for all unpaid federal tax liabilities shall be extended pursuant to non-
           bankruptcy law.

           (d) The Internal Revenue Service shall not be bound by any release provisions in the Plan
           that would release any liability of the responsible persons of the Debtor, the Reorganized
           Debtor, and/or any successor in interest to the IRS. The Internal Revenue Service may
           take such actions as it deems necessary to assess any liability that may be due and owing
           by the responsible persons of the Debtor, the Reorganized Debtor and/or any successor in
           interest to the Internal Revenue Service.

           (e) Nothing contained in the Plan or the Confirmation Order shall be deemed to be a waiver
           or relinquishment of any rights, claims, causes of action, rights of setoff or recoupment,
           rights to appeal tax assessments, or other legal or equitable defenses that the Debtor or
           Reorganized Debtor have under non-bankruptcy law in connection with any claim, liability
           or cause of action of the United States and its agency the Internal Revenue Service.

           (f) The term “any payment required to be made on federal taxes,” as used herein above, is
           defined as: any payment or deposit required by the Internal Revenue Code to be made by
           the Debtor from and after the Confirmation Date, or the Reorganized Debtor and/or any
           successor in interest from and after the Effective Date, to the date the IRS Claim is together
           with interest paid in full. The term “any required tax return,” as used herein above, is
           defined as: any tax return or report required by the Internal Revenue Code to be made by
           the Debtor from and after the Confirmation Date, or the Reorganized Debtor and/or any
           successor in interest from and after the Effective Date, to the date the IRS Claim is together
           with interest paid in full.

                    UU.         IRS Proof of Claim. Notwithstanding anything in the Plan or in this

  Confirmation Order, until all required tax returns are filed with and processed by the IRS, the IRS’s

  proof of claim will not be deemed fixed for purposes of Section 502 of the Bankruptcy Code and

  may be amended in order to reflect the IRS’ assessment of the Debtor’s unpaid priority and general

  unsecured taxes, penalties and interest.




                                                      87
  DOCS_SF:104487.21 36027/002
  000468
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 88 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 472 of 852 PageID 2377




                    VV.         CLO Holdco, Ltd. Settlement        Notwithstanding anything contained

  herein to the contrary, nothing in this Order is or is intended to supersede the rights and obligations

  of either the Debtor or CLO Holdco contained in that certain Settlement Agreement between CLO

  Holdco, Ltd., and Highland Capital Management, L.P., dated January 25,2021 [Docket No. 1838-

  1] (the “CLOH Settlement Agreement”). In the event of any conflict between the terms of this

  Order and the terms of the CLOH Settlement Agreement, the terms of the CLOH Settlement

  Agreement will govern.

                    WW. Retention of Jurisdiction. The Bankruptcy Court may properly, and upon

  the Effective Date shall, to the maximum extent permitted under applicable law, retain jurisdiction

  over all matters arising out of, and related to, this Chapter 11 Case, including the matters set forth

  in Article XI of the Plan and section 1142 of the Bankruptcy Code.

                    XX.         Payment of Statutory Fees; Filing of Quarterly Reports.         All fees

  payable pursuant to 28 U.S.C. § 1930 shall be paid on or before the Effective Date. The

  Reorganized Debtor, the Claimant Trust, and the Litigation Sub-Trust shall be jointly and severally

  liable for payment of quarterly fees to the Office of the United States Trustee pursuant to 28 U.S.C.

  § 1930 through the entry of the Final Decree for the Debtor or the dismissal or conversion of the

  Chapter 11 Case. Notwithstanding anything to the contrary in the Plan, the U.S. Trustee shall not

  be required to file any proofs of claim with respect to quarterly fees payable pursuant to 28 U.S.C.

  § 1930.

                    YY.         Dissolution of the Committee. On the Effective Date, the Committee will

  dissolve, and the members of the Committee and the Committee’s Professionals will cease to have



                                                       88
  DOCS_SF:104487.21 36027/002
  000469
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 89 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 473 of 852 PageID 2378




  any role arising from or relating to the Chapter 11 Case, except in connection with final fee

  applications of Professionals for services rendered prior to the Effective Date (including the right

  to object thereto). Notwithstanding the foregoing, any Committee member or Professional may

  serve following the Effective Date with respect to the Claimant Trust Oversight Board or Litigation

  Sub-Trust. The Professionals retained by the Committee and the members thereof will not be

  entitled to assert any fee claims for any services rendered to the Committee or expenses incurred

  in the service of the Committee after the Effective Date, except for reasonable fees for services

  rendered, and actual and necessary costs incurred, in connection with any applications for

  allowance of Professional Fees pending on the Effective Date or filed and served after the Effective

  Date pursuant to the Plan. Nothing in the Plan shall prohibit or limit the ability of the Debtor’s or

  Committee’s Professionals to represent either of the Trustees or to be compensated or reimbursed

  per the Plan, the Claimant Trust Agreement, and/or Litigation Sub-Trust in connection with such

  representation.

                    ZZ.         Miscellaneous.   After the Effective Date, the Debtor or Reorganized

  Debtor, as applicable, shall have no obligation to file with the Bankruptcy Court or serve on any

  parties reports that the Debtor or Reorganized Debtor, as applicable, were obligated to file under

  the Bankruptcy Code or a court order, including monthly operating reports (even for those periods

  for which a monthly operating report was not filed before the Effective Date), ordinary course

  professional reports, reports to any parties otherwise required under the “first” and “second” day

  orders entered in this Chapter 11 Case (including any cash collateral financing orders entered in

  this Chapter 11 Case) and monthly or quarterly reports for Professionals; provided, however, that



                                                       89
  DOCS_SF:104487.21 36027/002
  000470
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 90 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 474 of 852 PageID 2379




  the Debtor or Reorganized Debtor, as applicable, will comply with the U.S. Trustee’s post

  confirmation reporting requirements.

                                   ###END OF ORDER###




                                             90
  DOCS_SF:104487.21 36027/002
  000471
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 91 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 475 of 852 PageID 2380



                                           Exhibit A

                                Fifth Amended Plan (as Modified)




  DOCS_SF:104487.21 36027/002
  000472
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 92 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 476 of 852 PageID 2381



                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                     )
      In re:                                                         )   Chapter 11
                                                                     )
      HIGHLAND CAPITAL MANAGEMENT, L.P., 1                           )   Case No. 19-34054-sgj11
                                                                     )
                                       Debtor.                       )
                                                                     )

               FIFTH AMENDED PLAN OF REORGANIZATION OF HIGHLAND
                      CAPITAL MANAGEMENT, L.P. (AS MODIFIED)

  PACHULSKI STANG ZIEHL & JONES LLP                              HAYWARD & ASSOCIATES PLLC
  Jeffrey N. Pomerantz (CA Bar No.143717)                        Melissa S. Hayward (TX Bar No. 24044908)
  Ira D. Kharasch (CA Bar No. 109084)                            Zachery Z. Annable (TX Bar No. 24053075)
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  10100 Santa Monica Boulevard, 13th Floor                       Dallas, TX 75231
  Los Angeles, CA 90067                                          Telephone: (972) 755-7100
  Telephone: (310) 277-6910                                      Facsimile: (972) 755-7110
  Facsimile: (310) 201-0760                                      Email: MHayward@HaywardFirm.com
  Email: jpomerantz@pszjlaw.com                                          ZAnnable@HaywardFirm.com:
          ikharasch@pszjlaw.com
          gdemo@pszjlaw.com

                               Counsel for the Debtor and Debtor-in-Possession




  1
    The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



  000473
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 93 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 477 of 852 PageID 2382



  ARTICLE I. RULES OF INTERPRETATION, COMPUTATION OF TIME,
                GOVERNING LAW AND DEFINED TERMS .............................................. 1

           A.      Rules of Interpretation, Computation of Time and Governing Law ..................... 1

           B.      Defined Terms ...................................................................................................... 2

  ARTICLE II. ADMINISTRATIVE EXPENSES AND PRIORITY TAX CLAIMS................. 16

           A.      Administrative Expense Claims.......................................................................... 16

           B.      Professional Fee Claims ...................................................................................... 17

           C.      Priority Tax Claims ............................................................................................. 17

  ARTICLE III. CLASSIFICATION AND TREATMENT OF CLASSIFIED CLAIMS
                 AND EQUITY INTERESTS ......................................................................... 18

           A.      Summary ............................................................................................................. 18

           B.      Summary of Classification and Treatment of Classified Claims and
                   Equity Interests ................................................................................................... 18

           C.      Elimination of Vacant Classes ............................................................................ 19

           D.      Impaired/Voting Classes ..................................................................................... 19

           E.      Unimpaired/Non-Voting Classes ........................................................................ 19

           F.      Impaired/Non-Voting Classes ............................................................................. 19

           G.      Cramdown ........................................................................................................... 19

           H.      Classification and Treatment of Claims and Equity Interests ............................. 19

           I.      Special Provision Governing Unimpaired Claims .............................................. 24

           J.      Subordinated Claims ........................................................................................... 24

  ARTICLE IV. MEANS FOR IMPLEMENTATION OF THIS PLAN ..................................... 24

           A.      Summary ............................................................................................................. 24

           B.      The Claimant Trust ............................................................................................. 25

                   1.         Creation and Governance of the Claimant Trust and Litigation
                              Sub-Trust................................................................................................. 25

                   2.         Claimant Trust Oversight Committee ..................................................... 26



  000474                                                        -i-
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 94 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 478 of 852 PageID 2383


                                                                                                                                     Page

                3.        Purpose of the Claimant Trust. ............................................................... 27

                4.        Purpose of the Litigation Sub-Trust. ....................................................... 27

                5.        Claimant Trust Agreement and Litigation Sub-Trust Agreement. ......... 27

                6.        Compensation and Duties of Trustees. ................................................... 29

                7.        Cooperation of Debtor and Reorganized Debtor. ................................... 29

                8.        United States Federal Income Tax Treatment of the Claimant
                          Trust. ....................................................................................................... 29

                9.        Tax Reporting. ........................................................................................ 30

                10.       Claimant Trust Assets. ............................................................................ 30

                11.       Claimant Trust Expenses. ....................................................................... 31

                12.       Trust Distributions to Claimant Trust Beneficiaries. .............................. 31

                13.       Cash Investments. ................................................................................... 31

                14.       Dissolution of the Claimant Trust and Litigation Sub-Trust. ................. 31

           C.   The Reorganized Debtor ..................................................................................... 32

                1.        Corporate Existence ................................................................................ 32

                2.        Cancellation of Equity Interests and Release.......................................... 32

                3.        Issuance of New Partnership Interests .................................................... 32

                4.        Management of the Reorganized Debtor ................................................ 33

                5.        Vesting of Assets in the Reorganized Debtor ......................................... 33

                6.        Purpose of the Reorganized Debtor ........................................................ 33

                7.        Distribution of Proceeds from the Reorganized Debtor Assets;
                          Transfer of Reorganized Debtor Assets .................................................. 33

           D.   Company Action ................................................................................................. 34

           E.   Release of Liens, Claims and Equity Interests.................................................... 35

           F.   Cancellation of Notes, Certificates and Instruments........................................... 35




  000475                                                     - ii -
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 95 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 479 of 852 PageID 2384


                                                                                                                                            Page

            G.        Cancellation of Existing Instruments Governing Security Interests ................... 35

            H.        Control Provisions .............................................................................................. 35

            I.        Treatment of Vacant Classes .............................................................................. 36

            J.        Plan Documents .................................................................................................. 36

            K.        Highland Capital Management, L.P. Retirement Plan and Trust ....................... 36

  ARTICLE V. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED
               LEASES ......................................................................................................... 37

            A.        Assumption, Assignment, or Rejection of Executory Contracts and
                      Unexpired Leases ................................................................................................ 37

            B.        Claims Based on Rejection of Executory Contracts or Unexpired
                      Leases .................................................................................................................. 38

            C.        Cure of Defaults for Assumed or Assigned Executory Contracts and
                      Unexpired Leases ................................................................................................ 38

  ARTICLE VI. PROVISIONS GOVERNING DISTRIBUTIONS ............................................. 39

            A.        Dates of Distributions ......................................................................................... 39

            B.        Distribution Agent .............................................................................................. 39

            C.        Cash Distributions............................................................................................... 40

            D.        Disputed Claims Reserve .................................................................................... 40

            E.        Distributions from the Disputed Claims Reserve ............................................... 40

            F.        Rounding of Payments ........................................................................................ 40

            G.        De Minimis Distribution ..................................................................................... 41

            H.        Distributions on Account of Allowed Claims ..................................................... 41

            I.        General Distribution Procedures ......................................................................... 41

            J.        Address for Delivery of Distributions................................................................. 41

            K.        Undeliverable Distributions and Unclaimed Property ........................................ 41

            L.        Withholding Taxes .............................................................................................. 42



  000476                                                            - iii -
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 96 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 480 of 852 PageID 2385


                                                                                                                                        Page

           M.     Setoffs ................................................................................................................. 42

           N.     Surrender of Cancelled Instruments or Securities .............................................. 42

           O.     Lost, Stolen, Mutilated or Destroyed Securities ................................................. 43

  ARTICLE VII. PROCEDURES FOR RESOLVING CONTINGENT,
                UNLIQUIDATED AND DISPUTED CLAIMS ............................................ 43

           A.     Filing of Proofs of Claim .................................................................................... 43

           B.     Disputed Claims .................................................................................................. 43

           C.     Procedures Regarding Disputed Claims or Disputed Equity Interests ............... 43

           D.     Allowance of Claims and Equity Interests.......................................................... 44

                  1.         Allowance of Claims............................................................................... 44

                  2.         Estimation ............................................................................................... 44

                  3.         Disallowance of Claims .......................................................................... 44

  ARTICLE VIII. EFFECTIVENESS OF THIS PLAN ............................................................... 45

           A.     Conditions Precedent to the Effective Date ........................................................ 45

           B.     Waiver of Conditions .......................................................................................... 46

           C.     Dissolution of the Committee ............................................................................. 46

  ARTICLE IX. EXCULPATION, INJUNCTION AND RELATED PROVISIONS ................. 47

           A.     General ................................................................................................................ 47

           B.     Discharge of Claims ............................................................................................ 47

           C.     Exculpation ......................................................................................................... 47

           D.     Releases by the Debtor........................................................................................ 48

           E.     Preservation of Rights of Action......................................................................... 49

                  1.         Maintenance of Causes of Action ........................................................... 49

                  2.         Preservation of All Causes of Action Not Expressly Settled or
                             Released .................................................................................................. 49




  000477                                                        - iv -
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 97 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 481 of 852 PageID 2386


                                                                                                                                       Page

           F.      Injunction ............................................................................................................ 50

           G.      Duration of Injunctions and Stays....................................................................... 51

           H.      Continuance of January 9 Order ......................................................................... 51

  ARTICLE X. BINDING NATURE OF PLAN .......................................................................... 51

  ARTICLE XI. RETENTION OF JURISDICTION .................................................................... 52

  ARTICLE XII. MISCELLANEOUS PROVISIONS ................................................................. 54

           A.      Payment of Statutory Fees and Filing of Reports ............................................... 54

           B.      Modification of Plan ........................................................................................... 54

           C.      Revocation of Plan .............................................................................................. 54

           D.      Obligations Not Changed .................................................................................... 55

           E.      Entire Agreement ................................................................................................ 55

           F.      Closing of Chapter 11 Case ................................................................................ 55

           G.      Successors and Assigns....................................................................................... 55

           H.      Reservation of Rights .......................................................................................... 55

           I.      Further Assurances.............................................................................................. 56

           J.      Severability ......................................................................................................... 56

           K.      Service of Documents ......................................................................................... 56

           L.      Exemption from Certain Transfer Taxes Pursuant to Section 1146(a) of
                   the Bankruptcy Code........................................................................................... 57

           M.      Governing Law ................................................................................................... 58

           N.      Tax Reporting and Compliance .......................................................................... 58

           O.      Exhibits and Schedules ....................................................................................... 58

           P.      Controlling Document ........................................................................................ 58




  000478                                                         -v-
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 98 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 482 of 852 PageID 2387



                  DEBTOR’S CHAPTER 11 PLAN OF REORGANIZATION


          HIGHLAND CAPITAL MANAGEMENT, L.P., as debtor and debtor-in-possession in the
  above-captioned case (the “Debtor”), proposes the following chapter 11 plan of reorganization (the
  “Plan”) for, among other things, the resolution of the outstanding Claims against, and Equity
  Interests in, the Debtor. Unless otherwise noted, capitalized terms used in this Plan have the
  meanings set forth in Article I of this Plan. The Debtor is the proponent of this Plan within the
  meaning of section 1129 of the Bankruptcy Code.

          Reference is made to the Disclosure Statement (as such term is defined herein and
  distributed contemporaneously herewith) for a discussion of the Debtor’s history, business, results
  of operations, historical financial information, projections and assets, and for a summary and
  analysis of this Plan and the treatment provided for herein. There also are other agreements and
  documents that may be Filed with the Bankruptcy Court that are referenced in this Plan or the
  Disclosure Statement as Exhibits and Plan Documents. All such Exhibits and Plan Documents are
  incorporated into and are a part of this Plan as if set forth in full herein. Subject to the other
  provisions of this Plan, and in accordance with the requirements set forth in section 1127 of the
  Bankruptcy Code and Bankruptcy Rule 3019, the Debtor reserves the right to alter, amend, modify,
  revoke, or withdraw this Plan prior to the Effective Date.

          If this Plan cannot be confirmed, for any reason, then subject to the terms set forth herein,
  this Plan may be revoked.

                                   ARTICLE I.
                  RULES OF INTERPRETATION, COMPUTATION OF TIME,
                        GOVERNING LAW AND DEFINED TERMS

  A.       Rules of Interpretation, Computation of Time and Governing Law

           For purposes hereof: (a) in the appropriate context, each term, whether stated in the
  singular or the plural, shall include both the singular and the plural, and pronouns stated in the
  masculine, feminine or neuter gender shall include the masculine, feminine and the neuter gender;
  (b) any reference herein to a contract, lease, instrument, release, indenture or other agreement or
  document being in a particular form or on particular terms and conditions means that the referenced
  document, as previously amended, modified or supplemented, if applicable, shall be substantially
  in that form or substantially on those terms and conditions; (c) any reference herein to an existing
  document or exhibit having been Filed or to be Filed shall mean that document or exhibit, as it
  may thereafter be amended, modified or supplemented in accordance with its terms; (d) unless
  otherwise specified, all references herein to “Articles,” “Sections,” “Exhibits” and “Plan
  Documents” are references to Articles, Sections, Exhibits and Plan Documents hereof or hereto;
  (e) unless otherwise stated, the words “herein,” “hereof,” “hereunder” and “hereto” refer to this
  Plan in its entirety rather than to a particular portion of this Plan; (f) captions and headings to
  Articles and Sections are inserted for convenience of reference only and are not intended to be a
  part of or to affect the interpretation hereof; (g) any reference to an Entity as a Holder of a Claim
  or Equity Interest includes such Entity’s successors and assigns; (h) the rules of construction set



  000479
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 99 of 161
  Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 483 of 852 PageID 2388



  forth in section 102 of the Bankruptcy Code shall apply; (i) any term used in capitalized form
  herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy
  Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy
  Rules, as the case may be; and (j) “$” or “dollars” means Dollars in lawful currency of the United
  States of America. The provisions of Bankruptcy Rule 9006(a) shall apply in computing any
  period of time prescribed or allowed herein.

  B.       Defined Terms

        Unless the context otherwise requires, the following terms shall have the following
  meanings when used in capitalized form herein:

              1.    “Acis” means collectively Acis Capital Management, L.P. and Acis Capital
  Management GP, LLP.

                 2.      “Administrative Expense Claim” means any Claim for costs and expenses
  of administration of the Chapter 11 Case that is Allowed pursuant to sections 503(b), 507(a)(2),
  507(b) or 1114(2) of the Bankruptcy Code, including, without limitation, (a) the actual and
  necessary costs and expenses incurred after the Petition Date and through the Effective Date of
  preserving the Estate and operating the business of the Debtor; and (b) all fees and charges assessed
  against the Estate pursuant to sections 1911 through 1930 of chapter 123 of title 28 of the United
  States Code, and that have not already been paid by the Debtor during the Chapter 11 Case and a
  Professional Fee Claim.

                 3.      “Administrative Expense Claims Bar Date” means, with respect to any
  Administrative Expense Claim (other than a Professional Fee Claim) becoming due on or prior to
  the Effective Date, 5:00 p.m. (prevailing Central Time) on such date that is forty-five days after
  the Effective Date.

                4.      “Administrative Expense Claims Objection Deadline” means, with respect
  to any Administrative Expense Claim, the later of (a) ninety (90) days after the Effective Date and
  (b) sixty (60) days after the timely Filing of the applicable request for payment of such
  Administrative Expense Claim; provided, however, that the Administrative Expense Claims
  Objection Deadline may be extended by the Bankruptcy Court upon a motion by the Claimant
  Trustee.

                   5.     “Affiliate” of any Person means any Entity that, with respect to such Person,
  either (i) is an “affiliate” as defined in section 101(2) of the Bankruptcy Code, or (ii) is an
  “affiliate” as defined in Rule 405 of the Securities Act of 1933, or (iii) directly or indirectly,
  through one or more intermediaries, controls, is controlled by, or is under common control with,
  such Person. For the purposes of this definition, the term “control” (including, without limitation,
  the terms “controlled by” and “under common control with”) means the possession, directly or
  indirectly, of the power to direct or cause the direction in any respect of the management or policies
  of a Person, whether through the ownership of voting securities, by contract, or otherwise.

                  6.     “Allowed” means, with respect to any Claim, except as otherwise provided
  in the Plan: (a) any Claim that is evidenced by a Proof of Claim that has been timely Filed by the
  Bar Date, or that is not required to be evidenced by a Filed Proof of Claim under the Bankruptcy


  000480                                            2
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 100 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 484 of 852 PageID 2389



 Code or a Final Order; (b) a Claim that is listed in the Schedules as not contingent, not unliquidated,
 and not disputed and for which no Proof of Claim has been timely filed; (c) a Claim Allowed
 pursuant to the Plan or an order of the Bankruptcy Court that is not stayed pending appeal; or (d)
 a Claim that is not Disputed (including for which a Proof of Claim has been timely filed in a
 liquidated and noncontingent amount that has not been objected to by the Claims Objection
 Deadline or as to which any such objection has been overruled by Final Order); provided, however,
 that with respect to a Claim described in clauses (a) and (b) above, such Claim shall be considered
 Allowed only if and to the extent that, with respect to such Claim, no objection to the allowance
 thereof has been interposed within the applicable period of time fixed by the Plan, the Bankruptcy
 Code, the Bankruptcy Rules, or the Bankruptcy Court, or such an objection is so interposed and
 the Claim shall have been Allowed as set forth above.

                 7.     “Allowed Claim or Equity Interest” means a Claim or an Equity Interest of
 the type that has been Allowed.

               8.      “Assets” means all of the rights, titles, and interest of the Debtor,
 Reorganized Debtor, or Claimant Trust, in and to property of whatever type or nature, including,
 without limitation, real, personal, mixed, intellectual, tangible, and intangible property, the
 Debtor’s books and records, and the Causes of Action.

                 9.     “Available Cash” means any Cash in excess of the amount needed for the
 Claimant Trust and Reorganized Debtor to maintain business operations as determined in the sole
 discretion of the Claimant Trustee.

                 10.     “Avoidance Actions” means any and all avoidance, recovery, subordination
 or other actions or remedies that may be brought by and on behalf of the Debtor or its Estate under
 the Bankruptcy Code or applicable nonbankruptcy law, including, without limitation, actions or
 remedies arising under sections 502, 510, 544, 545, and 547-553 of the Bankruptcy Code or under
 similar state or federal statutes and common law, including fraudulent transfer laws

                11.      “Ballot” means the form(s) distributed to holders of Impaired Claims or
 Equity Interests entitled to vote on the Plan on which to indicate their acceptance or rejection of
 the Plan.

               12.   “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
 §§ 101-1532, as amended from time to time and as applicable to the Chapter 11 Case.

               13.    “Bankruptcy Court” means the United States Bankruptcy Court for the
 Northern District of Texas, Dallas Division, or any other court having jurisdiction over the
 Chapter 11 Case.

                 14.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure and
 the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for
 the Northern District of Texas, Dallas Division, in each case as amended from time to time and as
 applicable to the Chapter 11 Case.




 000481                                            3
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 101 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 485 of 852 PageID 2390



                 15.     “Bar Date” means the applicable deadlines set by the Bankruptcy Court for
 the filing of Proofs of Claim against the Debtor as set forth in the Bar Date Order, which deadlines
 may be or have been extended for certain Claimants by order of the Bankruptcy Court.

               16.     “Bar Date Order” means the Order (I) Establishing Bar Dates for Filing
 Proofs of Claim and (II) Approving the Form and Manner of Notice Thereof [D.I. 488].

                17.     “Business Day” means any day, other than a Saturday, Sunday or “legal
 holiday” (as defined in Bankruptcy Rule 9006(a)).

                18.     “Cash” means the legal tender of the United States of America or the
 equivalent thereof.

                 19.      “Causes of Action” means any action, claim, cross-claim, third-party claim,
 cause of action, controversy, demand, right, Lien, indemnity, contribution, guaranty, suit,
 obligation, liability, debt, damage, judgment, account, defense, remedy, offset, power, privilege,
 license and franchise of any kind or character whatsoever, in each case whether known, unknown,
 contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
 unliquidated, disputed or undisputed, foreseen or unforeseen, direct or indirect, choate or inchoate,
 secured or unsecured, assertable directly or derivatively (including, without limitation, under alter
 ego theories), whether arising before, on, or after the Petition Date, in contract or in tort, in law or
 in equity or pursuant to any other theory of law. For the avoidance of doubt, Cause of Action
 includes, without limitation,: (a) any right of setoff, counterclaim or recoupment and any claim for
 breach of contract or for breach of duties imposed by law or in equity; (b) the right to object to
 Claims or Equity Interests; (c) any claim pursuant to section 362 or chapter 5 of the Bankruptcy
 Code; (d) any claim or defense including fraud, mistake, duress and usury, and any other defenses
 set forth in section 558 of the Bankruptcy Code; (e) any claims under any state or foreign law,
 including, without limitation, any fraudulent transfer or similar claims; (f) the Avoidance Actions,
 and (g) the Estate Claims. The Causes of Action include, without limitation, the Causes of Action
 belonging to the Debtor’s Estate listed on the schedule of Causes of Action to be filed with the
 Plan Supplement.

                 20.    “CEO/CRO” means James P. Seery, Jr., the Debtor’s chief executive officer
 and chief restructuring officer.

                21.    “Chapter 11 Case” means the Debtor’s case under chapter 11 of the
 Bankruptcy Code commenced on the Petition Date in the Delaware Bankruptcy Court and
 transferred to the Bankruptcy Court on December 4, 2019, and styled In re Highland Capital
 Management, L.P., Case No. 19-34054-sgj-11.

               22.    “Claim” means any “claim” against the Debtor as defined in section 101(5)
 of the Bankruptcy Code.

              23.     “Claims Objection Deadline” means the date that is 180 days after the
 Confirmation Date; provided, however, the Claims Objection Deadline may be extended by the
 Bankruptcy Court upon a motion by the Claimant Trustee.




 000482                                             4
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 102 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 486 of 852 PageID 2391



               24.    “Claimant Trust” means the trust established for the benefit of the Claimant
 Trust Beneficiaries on the Effective Date in accordance with the terms of this Plan and the
 Claimant Trust Agreement.

              25.      “Claimant Trust Agreement” means the agreement Filed in the Plan
 Supplement establishing and delineating the terms and conditions of the Claimant Trust.

                 26.     “Claimant Trust Assets” means (i) other than the Reorganized Debtor
 Assets (which are expressly excluded from this definition), all other Assets of the Estate, including,
 but not limited to, all Causes of Action, Available Cash, any proceeds realized or received from
 such Assets, all rights of setoff, recoupment, and other defenses with respect, relating to, or arising
 from such Assets, (ii) any Assets transferred by the Reorganized Debtor to the Claimant Trust on
 or after the Effective Date, (iii) the limited partnership interests in the Reorganized Debtor, and
 (iv) the ownership interests in New GP LLC. For the avoidance of doubt, any Causes of Action
 that, for any reason, are not capable of being transferred to the Claimant Trust shall constitute
 Reorganized Debtor Assets.

                 27.    “Claimant Trust Beneficiaries” means the Holders of Allowed General
 Unsecured Claims, Holders of Allowed Subordinated Claims, including, upon Allowance,
 Disputed General Unsecured Claims and Disputed Subordinated Claims that become Allowed
 following the Effective Date, and, only upon certification by the Claimant Trustee that the Holders
 of such Claims have been paid indefeasibly in full plus, to the extent all Allowed unsecured Claims,
 excluding Subordinated Claims, have been paid in full, post-petition interest from the Petition Date
 at the Federal Judgment Rate in accordance with the terms and conditions set forth in the Claimant
 Trust Agreement and all Disputed Claims in Class 8 and Class 9 have been resolved, Holders of
 Allowed Class B/C Limited Partnership Interests, and Holders of Allowed Class A Limited
 Partnership Interests.

                  28.    “Claimant Trustee” means James P. Seery, Jr., the Debtor’s chief executive
 officer and chief restructuring officer, or such other Person identified in the Plan Supplement who
 will act as the trustee of the Claimant Trust in accordance with the Plan, the Confirmation Order,
 and Claimant Trust Agreement or any replacement trustee pursuant to (and in accordance with)
 the Claimant Trust Agreement. The Claimant Trustee shall be responsible for, among other things,
 monetizing the Estate’s investment assets, resolving Claims (other than those Claims assigned to
 the Litigation Sub-Trust for resolution), and, as the sole officer of New GP LLC, winding down
 the Reorganized Debtor’s business operations.

                29.     “Claimant Trust Expenses” means all reasonable legal and other reasonable
 professional fees, costs, and expenses incurred by the Trustees on account of administration of the
 Claimant Trust, including any reasonable administrative fees and expenses, reasonable attorneys’
 fees and expenses, reasonable insurance costs, taxes, reasonable escrow expenses, and other
 expenses.

               30.     “Claimant Trust Interests” means the non-transferable interests in the
 Claimant Trust that are issued to the Claimant Trust Beneficiaries pursuant to this Plan; provided,
 however, Holders of Class A Limited Partnership Interests, Class B Limited Partnership Interests,
 and Class C Limited Partnership Interests will not be deemed to hold Claimant Trust Interests



 000483                                            5
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 103 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 487 of 852 PageID 2392



 unless and until the Contingent Claimant Trust Interests distributed to such Holders vest in
 accordance with the terms of this Plan and the Claimant Trust Agreement.

               31.      “Claimant Trust Oversight Committee” means the committee of five
 Persons established pursuant to ARTICLE IV of this Plan to oversee the Claimant Trustee’s
 performance of its duties and otherwise serve the functions described in this Plan and the Claimant
 Trust Agreement.

               32.    “Class” means a category of Holders of Claims or Equity Interests as set
 forth in ARTICLE III hereof pursuant to section 1122(a) of the Bankruptcy Code.

                33.    “Class A Limited Partnership Interest” means the Class A Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by The Dugaboy
 Investment Trust, Mark and Pamela Okada Family Trust – Exempt Trust 2, Mark and Pamela
 Okada – Exempt Descendants’ Trust, and Mark Kiyoshi Okada, and the General Partner Interest.

                34.     “Class B Limited Partnership Interest” means the Class B Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by Hunter Mountain
 Investment Trust.

               35.     “Class B/C Limited Partnership Interests” means, collectively, the Class B
 Limited Partnership and Class C Limited Partnership Interests.

                36.     “Class C Limited Partnership Interest” means the Class C Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by Hunter Mountain
 Investment Trust.

                37.      “Committee” means the Official Committee of Unsecured Creditors
 appointed by the U.S. Trustee pursuant to 11 U.S.C. § 1102(a)(1) on October 29, 2019 [D.I. 65],
 consisting of (i) the Redeemer Committee of Highland Crusader Fund, (ii) Meta-e Discovery,
 (iii) UBS, and (iv) Acis.

                38.    “Confirmation Date” means the date on which the clerk of the Bankruptcy
 Court enters the Confirmation Order on the docket of the Bankruptcy Court.

                39.    “Confirmation Hearing” means the hearing held by the Bankruptcy Court
 pursuant to section 1128 of the Bankruptcy Code to consider confirmation of this Plan, as such
 hearing may be adjourned or continued from time to time.

                40.     “Confirmation Order” means the order of the Bankruptcy Court confirming
 this Plan pursuant to section 1129 of the Bankruptcy Code.

               41.     “Convenience Claim” means any prepetition, liquidated, and unsecured
 Claim against the Debtor that as of the Confirmation Date is less than or equal to $1,000,000 or
 any General Unsecured Claim that makes the Convenience Class Election. For the avoidance of
 doubt, the Reduced Employee Claims will be Convenience Claims.




 000484                                          6
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 104 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 488 of 852 PageID 2393



                 42.     “Convenience Claim Pool” means the $13,150,000 in Cash that shall be
 available upon the Effective Date for distribution to Holders of Convenience Claims under the
 Plan as set forth herein. Any Cash remaining in the Convenience Claim Pool after all distributions
 on account of Convenience Claims have been made will be transferred to the Claimant Trust and
 administered as a Claimant Trust Asset.

                 43.    “Convenience Class Election” means the option provided to each Holder of
 a General Unsecured Claim that is a liquidated Claim as of the Confirmation Date on their Ballot
 to elect to reduce their claim to $1,000,000 and receive the treatment provided to Convenience
 Claims.

                 44.      “Contingent Claimant Trust Interests” means the contingent Claimant Trust
 Interests to be distributed to Holders of Class A Limited Partnership Interests, Holders of Class B
 Limited Partnership Interests, and Holders of Class C Limited Partnership Interests in accordance
 with this Plan, the rights of which shall not vest, and consequently convert to Claimant Trust
 Interests, unless and until the Claimant Trustee Files a certification that all holders of Allowed
 General Unsecured Claims have been paid indefeasibly in full, plus, to the extent all Allowed
 unsecured Claims, excluding Subordinated Claims, have been paid in full, all accrued and unpaid
 post-petition interest from the Petition Date at the Federal Judgment Rate and all Disputed Claims
 in Class 8 and Class 9 have been resolved. As set forth in the Claimant Trust Agreement, the
 Contingent Claimant Trust Interests distributed to the Holders of Class A Limited Partnership
 Interests will be subordinated to the Contingent Claimant Trust Interests distributed to the Holders
 of Class B/C Limited Partnership Interests.

               45.     “Debtor” means Highland Capital Management, L.P. in its capacity as
 debtor and debtor in possession in the Chapter 11 Case.

                 46.     “Delaware Bankruptcy Court” means the United States Bankruptcy Court
 for the District of Delaware.

                47.      “Disclosure Statement” means that certain Disclosure Statement for
 Debtor’s Fifth Amended Chapter 11 Plan of Reorganization, as amended, supplemented, or
 modified from time to time, which describes this Plan, including all exhibits and schedules thereto
 and references therein that relate to this Plan.

                48.      “Disputed” means with respect to any Claim or Equity Interest, any Claim
 or Equity Interest that is not yet Allowed.

                49.    “Disputed Claims Reserve” means the appropriate reserve(s) or account(s)
 to be established on the Initial Distribution Date and maintained by the Claimant Trustee for
 distributions on account of Disputed Claims that may subsequently become an Allowed Claim.

               50.     “Disputed Claims Reserve Amount” means, for purposes of determining the
 Disputed Claims Reserve, the Cash that would have otherwise been distributed to a Holder of a
 Disputed Claim at the time any distributions of Cash are made to the Holders of Allowed Claims.
 The amount of the Disputed Claim upon which the Disputed Claims Reserve is calculated shall
 be: (a) the amount set forth on either the Schedules or the filed Proof of Claim, as applicable; (b)
 the amount agreed to by the Holder of the Disputed Claim and the Claimant Trustee or Reorganized


 000485                                           7
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 105 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 489 of 852 PageID 2394



 Debtor, as applicable; (c) the amount ordered by the Bankruptcy Court if it enters an order
 disallowing, in whole or in part, a Disputed Claim; or (d) as otherwise ordered by the Bankruptcy
 Court, including an order estimating the Disputed Claim.

               51.     “Distribution Agent” means the Claimant Trustee, or any party designated
 by the Claimant Trustee to serve as distribution agent under this Plan.

                 52.     “Distribution Date” means the date or dates determined by the Reorganized
 Debtor or the Claimant Trustee, as applicable, on or after the Initial Distribution Date upon which
 the Distribution Agent shall make distributions to holders of Allowed Claims and Interests entitled
 to receive distributions under the Plan.

                53.     “Distribution Record Date” means the date for determining which Holders
 of Claims and Equity Interests are eligible to receive distributions hereunder, which date shall be
 the Effective Date or such later date determined by the Bankruptcy Court.

                54.   “Effective Date” means the Business Day that this Plan becomes effective
 as provided in ARTICLE VIII hereof.

                55.     “Employees” means the employees of the Debtor set forth in the Plan
 Supplement.

                 56.     “Enjoined Parties” means (i) all Entities who have held, hold, or may hold
 Claims against or Equity Interests in the Debtor (whether or not proof of such Claims or Equity
 Interests has been filed and whether or not such Entities vote in favor of, against or abstain from
 voting on the Plan or are presumed to have accepted or deemed to have rejected the Plan), (ii)
 James Dondero (“Dondero”), (iii) any Entity that has appeared and/or filed any motion, objection,
 or other pleading in this Chapter 11 Case regardless of the capacity in which such Entity appeared
 and any other party in interest, (iv) any Related Entity, and (v) the Related Persons of each of the
 foregoing.

               57.    “Entity” means any “entity” as defined in section 101(15) of the Bankruptcy
 Code and also includes any Person or any other entity.

                 58.     “Equity Interest” means any Equity Security in the Debtor, including,
 without limitation, all issued, unissued, authorized or outstanding partnership interests, shares, of
 stock or limited company interests, the Class A Limited Partnership Interests, the Class B Limited
 Partnership Interests, and the Class C Limited Partnership Interests.

               59.    “Equity Security” means an “equity security” as defined in section 101(16)
 of the Bankruptcy Code.

                60.    “Estate” means the bankruptcy estate of the Debtor created by virtue of
 section 541 of the Bankruptcy Code upon the commencement of the Chapter 11 Case.

               61.     “Estate Claims” has the meaning given to it in Exhibit A to the Notice of
 Final Term Sheet [D.I. 354].




 000486                                           8
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 106 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 490 of 852 PageID 2395



                 62.     “Exculpated Parties” means, collectively, (i) the Debtor and its successors
 and assigns, (ii) the Employees, (iii) Strand, (iv) the Independent Directors, (v) the Committee,
 (vi) the members of the Committee (in their official capacities), (vii) the Professionals retained by
 the Debtor and the Committee in the Chapter 11 Case, (viii) the CEO/CRO; and (ix) the Related
 Persons of each of the parties listed in (iv) through (viii); provided, however, that, for the avoidance
 of doubt, none of James Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its
 subsidiaries and managed entities), the Charitable Donor Advised Fund, L.P. (and any of its
 subsidiaries, including CLO Holdco, Ltd., and managed entities), Highland CLO Funding, Ltd.
 (and any of its subsidiaries, members, and managed entities), Highland Capital Management Fund
 Advisors, L.P. (and any of its subsidiaries and managed entities), NexBank, SSB (and any of its
 subsidiaries), the Hunter Mountain Investment Trust (or any trustee acting for the trust), the
 Dugaboy Investment Trust (or any trustee acting for the trust), or Grant Scott is included in the
 term “Exculpated Party.”

                 63.    “Executory Contract” means a contract to which the Debtor is a party that
 is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

                64.     “Exhibit” means an exhibit annexed hereto or to the Disclosure Statement
 (as such exhibits are amended, modified or otherwise supplemented from time to time), which are
 incorporated by reference herein.

               65.     “Federal Judgment Rate” means the post-judgment interest rate set forth in
 28 U.S.C. § 1961 as of the Effective Date.

                 66.    “File” or “Filed” or “Filing” means file, filed or filing with the Bankruptcy
 Court or its authorized designee in the Chapter 11 Case.

                  67.     “Final Order” means an order or judgment of the Bankruptcy Court, which
 is in full force and effect, and as to which the time to appeal, petition for certiorari, or move for a
 new trial, reargument or rehearing has expired and as to which no appeal, petition for certiorari,
 or other proceedings for a new trial, reargument or rehearing shall then be pending or as to which
 any right to appeal, petition for certiorari, new trial, reargument, or rehearing shall have been
 waived in writing in form and substance satisfactory to the Debtor, the Reorganized Debtor, or the
 Claimant Trustee, as applicable, or, in the event that an appeal, writ of certiorari, new trial,
 reargument, or rehearing thereof has been sought, such order of the Bankruptcy Court shall have
 been determined by the highest court to which such order was appealed, or certiorari, new trial,
 reargument or rehearing shall have been denied and the time to take any further appeal, petition
 for certiorari, or move for a new trial, reargument or rehearing shall have expired; provided,
 however, that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure,
 or any analogous rule under the Bankruptcy Rules, may be Filed with respect to such order shall
 not preclude such order from being a Final Order.

                68.     “Frontier Secured Claim” means the loan from Frontier State Bank to the
 Debtor in the principal amount of $7,879,688.00 made pursuant to that certain First Amended and
 Restated Loan Agreement, dated March 29, 2018.




 000487                                             9
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 107 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 491 of 852 PageID 2396



                69.     “General Partner Interest” means the Class A Limited Partnership Interest
 held by Strand, as the Debtor’s general partner.

                 70.    “General Unsecured Claim” means any prepetition Claim against the
 Debtor that is not Secured and is not a/an: (a) Administrative Expense Claim; (b) Professional Fee
 Claim; (c) Priority Tax Claim; (d) Priority Non-Tax Claim; or (e) Convenience Claim.

               71.      “Governmental Unit” means a “governmental unit” as defined in
 section 101(27) of the Bankruptcy Code.

              72.    “GUC Election” means the option provided to each Holder of a
 Convenience Claim on their Ballot to elect to receive the treatment provided to General Unsecured
 Claims.

                73.    “Holder” means an Entity holding a Claim against, or Equity Interest in, the
 Debtor.

               74.    “Impaired” means, when used in reference to a Claim or Equity Interest, a
 Claim or Equity Interest that is impaired within the meaning of section 1124 of the Bankruptcy
 Code.

                75.    “Independent Directors” means John S. Dubel, James P. Seery, Jr., and
 Russell Nelms, the independent directors of Strand appointed on January 9, 2020, and any
 additional or replacement directors of Strand appointed after January 9, 2020, but prior to the
 Effective Date.

               76.     “Initial Distribution Date” means, subject to the “Treatment” sections in
 ARTICLE III hereof, the date that is on or as soon as reasonably practicable after the Effective
 Date, when distributions under this Plan shall commence to Holders of Allowed Claims and Equity
 Interests.

                 77.    “Insurance Policies” means all insurance policies maintained by the Debtor
 as of the Petition Date.

                78.     “Jefferies Secured Claim” means any Claim in favor of Jefferies, LLC,
 arising under that certain Prime Brokerage Customer Agreement, dated May 24, 2013, between
 the Debtor and Jefferies, LLC, that is secured by the assets, if any, maintained in the prime
 brokerage account created by such Prime Brokerage Customer Agreement.

                 79.     “Lien” means a “lien” as defined in section 101(37) of the Bankruptcy Code
 and, with respect to any asset, includes, without limitation, any mortgage, lien, pledge, charge,
 security interest or other encumbrance of any kind, or any other type of preferential arrangement
 that has the practical effect of creating a security interest, in respect of such asset.

              80.     “Limited Partnership Agreement” means that certain Fourth Amended and
 Restated Agreement of Limited Partnership of Highland Capital Management, L.P., dated
 December 24, 2015, as amended.




 000488                                         10
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 108 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 492 of 852 PageID 2397



                81.     “Litigation Sub-Trust” means the sub-trust established within the Claimant
 Trust or as a wholly –owned subsidiary of the Claimant Trust on the Effective Date in each case
 in accordance with the terms and conditions set forth in the Litigation Sub-Trust Agreement and
 Claimant Trust Agreement. As set forth in the Litigation Sub-Trust Agreement, the Litigation
 Sub-Trust shall hold the Claimant Trust Assets that are Estate Claims.

              82.     “Litigation Sub-Trust Agreement” means the agreement filed in the Plan
 Supplement establishing and delineating the terms and conditions of the Litigation Sub-Trust.

                 83.     “Litigation Trustee” means the trustee appointed by the Committee and
 reasonably acceptable to the Debtor who shall be responsible for investigating, litigating, and
 settling the Estate Claims for the benefit of the Claimant Trust in accordance with the terms and
 conditions set forth in the Litigation Sub-Trust Agreement.

               84.     “Managed Funds” means Highland Multi-Strategy Credit Fund, L.P.,
 Highland Restoration Capital Partners, L.P., and any other investment vehicle managed by the
 Debtor pursuant to an Executory Contract assumed pursuant to this Plan.

               85.     “New Frontier Note” means that promissory note to be provided to the
 Allowed Holders of Class 2 Claims under this Plan and any other documents or security
 agreements securing the obligations thereunder.

              86.    “New GP LLC” means a limited liability company incorporated in the State
 of Delaware pursuant to the New GP LLC Documents to serve as the general partner of the
 Reorganized Debtor on the Effective Date.

                87.    “New GP LLC Documents” means the charter, operating agreement, and
 other formational documents of New GP LLC.

                88.    “Ordinary Course Professionals Order” means that certain Order Pursuant
 to Sections 105(a), 327, 328, and 330 of the Bankruptcy Code Authorizing the Debtor to Retain,
 Employ, and Compensate Certain Professionals Utilized by the Debtor in the Ordinary Course
 [D.I. 176].

                89.     “Other Unsecured Claim” means any Secured Claim other than the
 Jefferies Secured Claim and the Frontier Secured Claim.

                 90.    “Person” means a “person” as defined in section 101(41) of the Bankruptcy
 Code and also includes any natural person, individual, corporation, company, general or limited
 partnership, limited liability company, unincorporated organization firm, trust, estate, business
 trust, association, joint stock company, joint venture, government, governmental agency,
 Governmental Unit or any subdivision thereof, the United States Trustee, or any other entity,
 whether acting in an individual, fiduciary or other capacity.

               91.      “Petition Date” means October 16, 2019.

               92.     “Plan” means this Debtor’s Fifth Amended Chapter 11 Plan of
 Reorganization, including the Exhibits and the Plan Documents and all supplements, appendices,



 000489                                         11
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 109 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 493 of 852 PageID 2398



 and schedules thereto, either in its present form or as the same may be altered, amended, modified
 or otherwise supplemented from time to time.

               93.    “Plan Distribution” means the payment or distribution of consideration to
 Holders of Allowed Claims and Allowed Equity Interests under this Plan.

                94.    “Plan Documents” means any of the documents, other than this Plan, but
 including, without limitation, the documents to be filed with the Plan Supplement, to be executed,
 delivered, assumed, or performed in connection with the occurrence of the Effective Date, and as
 may be modified consistent with the terms hereof with the consent of the Committee.

                 95.    “Plan Supplement” means the ancillary documents necessary for the
 implementation and effectuation of the Plan, including, without limitation, (i) the form of Claimant
 Trust Agreement, (ii) the forms of New GP LLC Documents, (iii) the form of Reorganized Limited
 Partnership Agreement, (iv) the Sub-Servicer Agreement (if applicable), (v) the identity of the
 initial members of the Claimant Trust Oversight Committee, (vi) the form of Litigation Sub-Trust
 Agreement; (vii) the schedule of retained Causes of Action; (viii) the New Frontier Note, (ix) the
 schedule of Employees; (x) the form of Senior Employee Stipulation,; and (xi) the schedule of
 Executory Contracts and Unexpired Leases to be assumed pursuant to this Plan, which, in each
 case, will be in form and substance reasonably acceptable to the Debtor and the Committee.

                96.     “Priority Non-Tax Claim” means a Claim entitled to priority pursuant to
 section 507(a) of the Bankruptcy Code, including any Claims for paid time-off entitled to priority
 under section 507(a)(4) of the Bankruptcy Code, other than a Priority Tax Claim or an
 Administrative Claim.

                97.     “Pro Rata” means the proportion that (a) the Allowed amount of a Claim or
 Equity Interest in a particular Class bears to (b) the aggregate Allowed amount of all Claims or
 Equity Interests in such Class.

                98.     “Professional” means (a) any Entity employed in the Chapter 11 Case
 pursuant to section 327, 328 363 or 1103 of the Bankruptcy Code or otherwise and (b) any Entity
 seeking compensation or reimbursement of expenses in connection with the Chapter 11 Case
 pursuant to sections 327, 328, 330, 331, 363, 503(b), 503(b)(4) and 1103 of the Bankruptcy Code.

                  99.    “Professional Fee Claim” means a Claim under sections 328, 330(a), 331,
 363, 503 or 1103 of the Bankruptcy Code, with respect to a particular Professional, for
 compensation for services rendered or reimbursement of costs, expenses or other charges incurred
 after the Petition Date and prior to and including the Effective Date.

               100. “Professional Fee Claims Bar Date” means with respect to Professional Fee
 Claims, the Business Day which is sixty (60) days after the Effective Date or such other date as
 approved by order of the Bankruptcy Court.

               101. “Professional Fee Claims Objection Deadline” means, with respect to any
 Professional Fee Claim, thirty (30) days after the timely Filing of the applicable request for
 payment of such Professional Fee Claim.




 000490                                          12
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 110 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 494 of 852 PageID 2399



                102. “Professional Fee Reserve” means the reserve established and funded by
 the Claimant Trustee pursuant this Plan to provide sufficient funds to satisfy in full unpaid Allowed
 Professional Fee Claims.

                103. “Proof of Claim” means a written proof of Claim or Equity Interest Filed
 against the Debtor in the Chapter 11 Case.

                 104. “Priority Tax Claim” means any Claim of a Governmental Unit of the kind
 specified in section 507(a)(8) of the Bankruptcy Code.

                 105. “Protected Parties” means, collectively, (i) the Debtor and its successors
 and assigns, direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii) the
 Employees, (iii) Strand, (iv) the Reorganized Debtor, (v) the Independent Directors, (vi) the
 Committee, (vii) the members of the Committee (in their official capacities), (viii) the Claimant
 Trust, (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi) the Litigation Trustee, (xii) the
 members of the Claimant Trust Oversight Committee (in their official capacities), (xiii) New GP
 LLC, (xiv) the Professionals retained by the Debtor and the Committee in the Chapter 11 Case,
 (xv) the CEO/CRO; and (xvi) the Related Persons of each of the parties listed in (iv) through (xv);
 provided, however, that, for the avoidance of doubt, none of James Dondero, Mark Okada,
 NexPoint Advisors, L.P. (and any of its subsidiaries and managed entities), the Charitable Donor
 Advised Fund, L.P. (and any of its subsidiaries, including CLO Holdco, Ltd., and managed
 entities), Highland CLO Funding, Ltd. (and any of its subsidiaries, members, and managed
 entities), NexBank, SSB (and any of its subsidiaries), Highland Capital Management Fund
 Advisors, L.P. (and any of its subsidiaries and managed entities), the Hunter Mountain Investment
 Trust (or any trustee acting for the trust), the Dugaboy Investment Trust (or any trustee acting for
 the trust), or Grant Scott is included in the term “Protected Party.”

                106. “PTO Claims” means any Claim for paid time off in favor of any Debtor
 employee in excess of the amount that would qualify as a Priority Non-Tax Claim under section
 507(a)(4) of the Bankruptcy Code.

                107.    “Reduced Employee Claims” has the meaning set forth in ARTICLE IX.D.

                  108. “Reinstated” means, with respect to any Claim or Equity Interest, (a)
 leaving unaltered the legal, equitable, and contractual rights to which a Claim entitles the Holder
 of such Claim or Equity Interest in accordance with section 1124 of the Bankruptcy Code or (b)
 notwithstanding any contractual provision or applicable law that entitles the Holder of such Claim
 or Equity Interest to demand or receive accelerated payment of such Claim or Equity Interest after
 the occurrence of a default: (i) curing any such default that occurred before or after the Petition
 Date, other than a default of a kind specified in section 365(b)(2) of the Bankruptcy Code or of a
 kind that section 365(b)(2) of the Bankruptcy Code expressly does not require to be cured; (ii)
 reinstating the maturity of such Claim or Equity Interest as such maturity existed before such
 default; (iii) compensating the Holder of such Claim or Equity Interest for any damages incurred
 as a result of any reasonable reliance by such Holder on such contractual provision or such
 applicable law; (iv) if such Claim or Equity Interest arises from any failure to perform a
 nonmonetary obligation, other than a default arising from failure to operate a non-residential real
 property lease subject to section 365(b)(1)(A) of the Bankruptcy Code, compensating the Holder



 000491                                           13
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 111 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 495 of 852 PageID 2400



 of such Claim or Equity Interest (other than any Debtor or an insider of any Debtor) for any actual
 pecuniary loss incurred by such Holder as a result of such failure; and (v) not otherwise altering
 the legal, equitable, or contractual rights to which such Claim entitles the Holder of such Claim.

                 109. “Rejection Claim” means any Claim for monetary damages as a result of
 the rejection of an executory contract or unexpired lease pursuant to the Confirmation Order.

                  110. “Related Entity” means, without duplication, (a) Dondero, (b) Mark Okada
 (“Okada”), (c) Grant Scott (“Scott”), (d) Hunter Covitz (“Covitz”), (e) any entity or person that
 was an insider of the Debtor on or before the Petition Date under Section 101(31) of the
 Bankruptcy Code, including, without limitation, any entity or person that was a non-statutory
 insider, (f) any entity that, after the Effective Date, is an insider or Affiliate of one or more of
 Dondero, Okada, Scott, Covitz, or any of their respective insiders or Affiliates, including, without
 limitation, The Dugaboy Investment Trust, (g) the Hunter Mountain Investment Trust and any of
 its direct or indirect parents, (h) the Charitable Donor Advised Fund, L.P., and any of its direct or
 indirect subsidiaries, and (i) Affiliates of the Debtor and any other Entities listed on the Related
 Entity List.

                111.    “Related Entity List” means that list of Entities filed with the Plan
 Supplement.

                112. “Related Persons” means, with respect to any Person, such Person’s
 predecessors, successors, assigns (whether by operation of law or otherwise), and each of their
 respective present, future, or former officers, directors, employees, managers, managing members,
 members, financial advisors, attorneys, accountants, investment bankers, consultants,
 professionals, advisors, shareholders, principals, partners, subsidiaries, divisions, management
 companies, heirs, agents, and other representatives, in each case solely in their capacity as such.

                  113. “Released Parties” means, collectively, (i) the Independent Directors; (ii)
 Strand (solely from the date of the appointment of the Independent Directors through the Effective
 Date); (iii) the CEO/CRO; (iv) the Committee; (v) the members of the Committee (in their official
 capacities), (vi) the Professionals retained by the Debtor and the Committee in the Chapter 11
 Case; and (vii) the Employees.

                114. “Reorganized Debtor” means the Debtor, as reorganized pursuant to this
 Plan on and after the Effective Date.

                 115. “Reorganized Debtor Assets” means any limited and general partnership
 interests held by the Debtor, the management of the Managed Funds and those Causes of Action
 (including, without limitation, claims for breach of fiduciary duty), that, for any reason, are not
 capable of being transferred to the Claimant Trust. For the avoidance of doubt, “Reorganized
 Debtor Assets” includes any partnership interests or shares of Managed Funds held by the Debtor
 but does not include the underlying portfolio assets held by the Managed Funds.

                116. “Reorganized Limited Partnership Agreement” means that certain Fifth
 Amended and Restated Agreement of Limited Partnership of Highland Capital Management, L.P.,
 by and among the Claimant Trust, as limited partner, and New GP LLC, as general partner, Filed
 with the Plan Supplement.


 000492                                           14
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 112 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 496 of 852 PageID 2401



                117. “Restructuring” means the restructuring of the Debtor, the principal terms
 of which are set forth in this Plan and the Disclosure Statement.

                118. “Retained Employee Claim” means any Claim filed by a current employee
 of the Debtor who will be employed by the Reorganized Debtor upon the Effective Date.

                119. “Schedules” means the schedules of Assets and liabilities, statements of
 financial affairs, lists of Holders of Claims and Equity Interests and all amendments or
 supplements thereto Filed by the Debtor with the Bankruptcy Court [D.I. 247].

                  120. “Secured” means, when referring to a Claim: (a) secured by a Lien on
 property in which the Debtor’s Estate has an interest, which Lien is valid, perfected, and
 enforceable pursuant to applicable law or by reason of a Bankruptcy Court order, or that is subject
 to setoff pursuant to section 553 of the Bankruptcy Code, to the extent of the value of the creditor’s
 interest in the interest of the Debtor’s Estate in such property or to the extent of the amount subject
 to setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code or (b)
 Allowed pursuant to the Plan as a Secured Claim.

               121. “Security” or “security” means any security as such term is defined in
 section 101(49) of the Bankruptcy Code.

              122.      “Senior Employees” means the senior employees of the Debtor Filed in the
 Plan Supplement.

              123. “Senior Employee Stipulation” means the agreements filed in the Plan
 Supplement between each Senior Employee and the Debtor.

                 124. “Stamp or Similar Tax” means any stamp tax, recording tax, personal
 property tax, conveyance fee, intangibles or similar tax, real estate transfer tax, sales tax, use tax,
 transaction privilege tax (including, without limitation, such taxes on prime contracting and owner-
 builder sales), privilege taxes (including, without limitation, privilege taxes on construction
 contracting with regard to speculative builders and owner builders), and other similar taxes
 imposed or assessed by any Governmental Unit.

                125.    “Statutory Fees” means fees payable pursuant to 28 U.S.C. § 1930.

                126.    “Strand” means Strand Advisors, Inc., the Debtor’s general partner.

                127. “Sub-Servicer” means a third-party selected by the Claimant Trustee to
 service or sub-service the Reorganized Debtor Assets.

                128. “Sub-Servicer Agreement” means the agreement that may be entered into
 providing for the servicing of the Reorganized Debtor Assets by the Sub-Servicer.

                129. “Subordinated Claim” means any Claim that is subordinated to the
 Convenience Claims and General Unsecured Claims pursuant to an order entered by the
 Bankruptcy Court (including any other court having jurisdiction over the Chapter 11 Case) after
 notice and a hearing.



 000493                                            15
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 113 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 497 of 852 PageID 2402



                 130. “Subordinated Claimant Trust Interests” means the Claimant Trust Interests
 to be distributed to Holders of Allowed Subordinated Claims under the Plan, which such interests
 shall be subordinated in right and priority to the Claimant Trust Interests distributed to Holders of
 Allowed General Unsecured Claims as provided in the Claimant Trust Agreement.

               131. “Trust Distribution” means the transfer of Cash or other property by the
 Claimant Trustee to the Claimant Trust Beneficiaries.

                132.    “Trustees” means, collectively, the Claimant Trustee and Litigation
 Trustee.

                133.    “UBS” means, collectively, UBS Securities LLC and UBS AG London
 Branch.

                134. “Unexpired Lease” means a lease to which the Debtor is a party that is
 subject to assumption or rejection under section 365 of the Bankruptcy Code.

                 135. “Unimpaired” means, with respect to a Class of Claims or Equity Interests
 that is not impaired within the meaning of section 1124 of the Bankruptcy Code.

                136. “Voting Deadline” means the date and time by which all Ballots to accept
 or reject the Plan must be received in order to be counted under the under the Order of the
 Bankruptcy Court approving the Disclosure Statement as containing adequate information
 pursuant to section 1125(a) of the Bankruptcy Code and authorizing the Debtor to solicit
 acceptances of the Plan.

                137.    “Voting Record Date” means November 23, 2020.

                                 ARTICLE II.
                ADMINISTRATIVE EXPENSES AND PRIORITY TAX CLAIMS

 A.       Administrative Expense Claims

         On the later of the Effective Date or the date on which an Administrative Expense Claim
 becomes an Allowed Administrative Expense Claim, or, in each such case, as soon as practicable
 thereafter, each Holder of an Allowed Administrative Expense Claim (other than Professional Fee
 Claims) will receive, in full satisfaction, settlement, discharge and release of, and in exchange for,
 such Allowed Administrative Expense Claim either (i) payment in full in Available Cash for the
 unpaid portion of such Allowed Administrative Expense Claim; or (ii) such other less favorable
 treatment as agreed to in writing by the Debtor or the Reorganized Debtor, as applicable, and such
 Holder; provided, however, that Administrative Expense Claims incurred by the Debtor in the
 ordinary course of business may be paid in the ordinary course of business in the discretion of the
 Debtor in accordance with such applicable terms and conditions relating thereto without further
 notice to or order of the Bankruptcy Court. All statutory fees payable under 28 U.S.C. § 1930(a)
 shall be paid as such fees become due.

        If an Administrative Expense Claim (other than a Professional Fee Claim) is not paid by
 the Debtor in the ordinary course, the Holder of such Administrative Expense Claim must File, on



 000494                                           16
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 114 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 498 of 852 PageID 2403



 or before the applicable Administrative Expense Claims Bar Date, and serve on the Debtor or
 Reorganized Debtor, as applicable, and such other Entities who are designated by the Bankruptcy
 Rules, the Confirmation Order or other order of the Bankruptcy Court, an application for allowance
 and payment of such Administrative Expense Claim.

         Objections to any Administrative Expense Claim (other than a Professional Fee Claim)
 must be Filed and served on the Debtor or the Reorganized Debtor, as applicable, and the party
 asserting such Administrative Expense Claim by the Administrative Expense Claims Objection
 Deadline.

 B.       Professional Fee Claims

         Professionals or other Entities asserting a Professional Fee Claim for services rendered
 through the Effective Date must submit fee applications under sections 327, 328, 329,330, 331,
 503(b) or 1103 of the Bankruptcy Code and, upon entry of an order of the Bankruptcy Court
 granting such fee applications, such Professional Fee Claim shall promptly be paid in Cash in full
 to the extent provided in such order.

         Professionals or other Entities asserting a Professional Fee Claim for services rendered on
 or prior to the Effective Date must File, on or before the Professional Fee Claims Bar Date, and
 serve on the Debtor or Reorganized Debtor, as applicable, and such other Entities who are
 designated as requiring such notice by the Bankruptcy Rules, the Confirmation Order or other
 order of the Bankruptcy Court, an application for final allowance of such Professional Fee Claim.

         Objections to any Professional Fee Claim must be Filed and served on the Debtor or
 Reorganized Debtor, as applicable, and the party asserting the Professional Fee Claim by the
 Professional Fee Claim Objection Deadline. Each Holder of an Allowed Professional Fee Claim
 will be paid by the Debtor or the Claimant Trust, as applicable, in Cash within ten (10) Business
 Days of entry of the order approving such Allowed Professional Fee Claim.

         On the Effective Date, the Claimant Trustee shall establish the Professional Fee Reserve.
 The Professional Fee Reserve shall vest in the Claimant Trust and shall be maintained by the
 Claimant Trustee in accordance with the Plan and Claimant Trust Agreement. The Claimant Trust
 shall fund the Professional Fee Reserve on the Effective Date in an estimated amount determined
 by the Debtor in good faith prior to the Confirmation Date and that approximates the total projected
 amount of unpaid Professional Fee Claims on the Effective Date. Following the payment of all
 Allowed Professional Fee Claims, any excess funds in the Professional Fee Reserve shall be
 released to the Claimant Trust to be used for other purposes consistent with the Plan and the
 Claimant Trust Agreement.

 C.       Priority Tax Claims

         On or as soon as reasonably practicable after the later of (i) the Initial Distribution Date if
 such Priority Tax Claim is an Allowed Priority Tax Claim as of the Effective Date or (ii) the date
 on which such Priority Tax Claim becomes an Allowed Priority Tax Claim, each Holder of an
 Allowed Priority Tax Claim will receive in full satisfaction, settlement, discharge and release of,
 and in exchange for, such Allowed Priority Tax Claim, at the election of the Debtor: (a) Cash in
 an amount of a total value as of the Effective Date of the Plan equal to the amount of such Allowed


 000495                                            17
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 115 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 499 of 852 PageID 2404



 Priority Tax Claim in accordance with section 1129(a)(9)(C) of the Bankruptcy Code, or (b) if
 paid over time, payment of such Allowed Priority Tax Claim in accordance with section
 1129(a)(9)(C) of the Bankruptcy Code; or (c) such other less favorable treatment as agreed to in
 writing by the Debtor and such Holder. Payment of statutory fees due pursuant to 28 U.S.C. §
 1930(a)(6) will be made at all appropriate times until the entry of a final decree; provided, however,
 that the Debtor may prepay any or all such Claims at any time, without premium or penalty.

                                     ARTICLE III.
                          CLASSIFICATION AND TREATMENT OF
                        CLASSIFIED CLAIMS AND EQUITY INTERESTS

 A.       Summary

         All Claims and Equity Interests, except Administrative Expense Claims and Priority Tax
 Claims, are classified in the Classes set forth below. In accordance with section 1123(a)(1) of the
 Bankruptcy Code, Administrative Expense Claims, and Priority Tax Claims have not been
 classified.

         The categories of Claims and Equity Interests listed below classify Claims and Equity
 Interests for all purposes including, without limitation, confirmation and distribution pursuant to
 the Plan and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. The Plan deems
 a Claim or Equity Interest to be classified in a particular Class only to the extent that the Claim or
 Equity Interest qualifies within the description of that Class and will be deemed classified in a
 different Class to the extent that any remainder of such Claim or Equity Interest qualifies within
 the description of such different Class. A Claim or Equity Interest is in a particular Class only to
 the extent that any such Claim or Equity Interest is Allowed in that Class and has not been paid,
 released or otherwise settled (in each case, by the Debtor or any other Entity) prior to the Effective
 Date.

 B.       Summary of Classification and Treatment of Classified Claims and Equity Interests

  Class     Claim                                             Status          Voting Rights
  1         Jefferies Secured Claim                           Unimpaired      Deemed to Accept
  2         Frontier Secured Claim                            Impaired        Entitled to Vote
  3         Other Secured Claims                              Unimpaired      Deemed to Accept
  4         Priority Non-Tax Claim                            Unimpaired      Deemed to Accept
  5         Retained Employee Claim                           Unimpaired      Deemed to Accept
  6         PTO Claims                                        Unimpaired      Deemed to Accept
  7         Convenience Claims                                Impaired        Entitled to Vote
  8         General Unsecured Claims                          Impaired        Entitled to Vote
  9         Subordinated Claims                               Impaired        Entitled to Vote
  10        Class B/C Limited Partnership Interests           Impaired        Entitled to Vote
  11        Class A Limited Partnership Interests             Impaired        Entitled to Vote




 000496                                           18
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 116 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 500 of 852 PageID 2405



 C.       Elimination of Vacant Classes

         Any Class that, as of the commencement of the Confirmation Hearing, does not have at
 least one Holder of a Claim or Equity Interest that is Allowed in an amount greater than zero for
 voting purposes shall be considered vacant, deemed eliminated from the Plan for purposes of
 voting to accept or reject the Plan, and disregarded for purposes of determining whether the Plan
 satisfies section 1129(a)(8) of the Bankruptcy Code with respect to such Class.

 D.       Impaired/Voting Classes

        Claims and Equity Interests in Class 2 and Class 7 through Class 11 are Impaired by the
 Plan, and only the Holders of Claims or Equity Interests in those Classes are entitled to vote to
 accept or reject the Plan.

 E.       Unimpaired/Non-Voting Classes

        Claims in Class 1 and Class 3 through Class 6 are Unimpaired by the Plan, and such
 Holders are deemed to have accepted the Plan and are therefore not entitled to vote on the Plan.

 F.       Impaired/Non-Voting Classes

        There are no Classes under the Plan that will not receive or retain any property and no
 Classes are deemed to reject the Plan.

 G.       Cramdown

         If any Class of Claims or Equity Interests is deemed to reject this Plan or does not vote to
 accept this Plan, the Debtor may (i) seek confirmation of this Plan under section 1129(b) of the
 Bankruptcy Code or (ii) amend or modify this Plan in accordance with the terms hereof and the
 Bankruptcy Code. If a controversy arises as to whether any Claims or Equity Interests, or any
 class of Claims or Equity Interests, are Impaired, the Bankruptcy Court shall, after notice and a
 hearing, determine such controversy on or before the Confirmation Date.

 H.       Classification and Treatment of Claims and Equity Interests

          1.    Class 1 – Jefferies Secured Claim

                •       Classification: Class 1 consists of the Jefferies Secured Claim.

                •       Treatment: On or as soon as reasonably practicable after the Effective Date,
                        each Holder of an Allowed Class 1 Claim will receive in full satisfaction,
                        settlement, discharge and release of, and in exchange for, such Allowed
                        Class 1 Claim, at the election of the Debtor: (A) Cash equal to the amount
                        of such Allowed Class 1 Claim; (B) such other less favorable treatment as
                        to which the Debtor and the Holder of such Allowed Class 1 Claim will
                        have agreed upon in writing; or (C) such other treatment rendering such
                        Claim Unimpaired. Each Holder of an Allowed Class 1 Claim will retain
                        the Liens securing its Allowed Class 1 Claim as of the Effective Date until



 000497                                          19
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 117 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 501 of 852 PageID 2406



                      full and final payment of such Allowed Class 1 Claim is made as provided
                      herein.

               •      Impairment and Voting: Class 1 is Unimpaired, and the Holders of Class 1
                      Claims are conclusively deemed to have accepted this Plan pursuant to
                      section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 1
                      Claims are not entitled to vote to accept or reject this Plan and will not be
                      solicited.

          2.   Class 2 – Frontier Secured Claim

               •      Classification: Class 2 consists of the Frontier Secured Claim.

               •      Treatment: On or as soon as reasonably practicable after the Effective Date,
                      each Holder of an Allowed Class 2 Claim will receive in full satisfaction,
                      settlement, discharge and release of, and in exchange for, such Allowed
                      Class 2 Claim: (A) Cash in an amount equal to all accrued but unpaid
                      interest on the Frontier Claim through and including the Effective Date and
                      (B) the New Frontier Note. The Holder of an Allowed Class 2 Claim will
                      retain the Liens securing its Allowed Class 2 Claim as of the Effective Date
                      until full and final payment of such Allowed Class 2 Claim is made as
                      provided herein.

               •      Impairment and Voting: Class 2 is Impaired, and the Holders of Class 2
                      Claims are entitled to vote to accept or reject this Plan.

          3.   Class 3 – Other Secured Claims

               •      Classification: Class 3 consists of the Other Secured Claims.

               •      Allowance and Treatment: On or as soon as reasonably practicable after the
                      later of (i) the Initial Distribution Date if such Class 3 Claim is Allowed on
                      the Effective Date or (ii) the date on which such Class 3 Claim becomes an
                      Allowed Class 3 Claim, each Holder of an Allowed Class 3 Claim will
                      receive in full satisfaction, settlement, discharge and release of, and in
                      exchange for, its Allowed Claim 3 Claim, at the option of the Debtor, or
                      following the Effective Date, the Reorganized Debtor or Claimant Trustee,
                      as applicable, (i) Cash equal to such Allowed Other Secured Claim, (ii) the
                      collateral securing its Allowed Other Secured Claim, plus postpetition
                      interest to the extent required under Bankruptcy Code Section 506(b), or
                      (iii) such other treatment rendering such Claim Unimpaired.

               •      Impairment and Voting: Class 3 is Unimpaired, and the Holders of Class 3
                      Claims are conclusively deemed to have accepted this Plan pursuant to
                      section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 3
                      Claims are not entitled to vote to accept or reject this Plan and will not be
                      solicited.



 000498                                         20
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 118 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 502 of 852 PageID 2407



          4.   Class 4 – Priority Non-Tax Claims

               •      Classification: Class 4 consists of the Priority Non-Tax Claims.

               •      Allowance and Treatment: On or as soon as reasonably practicable after the
                      later of (i) the Initial Distribution Date if such Class 4 Claim is Allowed on
                      the Effective Date or (ii) the date on which such Class 4 Claim becomes an
                      Allowed Class 4 Claim, each Holder of an Allowed Class 4 Claim will
                      receive in full satisfaction, settlement, discharge and release of, and in
                      exchange for, its Allowed Claim 4 Claim Cash equal to the amount of such
                      Allowed Class 4 Claim.

               •      Impairment and Voting: Class 4 is Unimpaired, and the Holders of Class 4
                      Claims are conclusively deemed to have accepted this Plan pursuant to
                      section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 4
                      Claims are not entitled to vote to accept or reject this Plan and will not be
                      solicited.

          5.   Class 5 – Retained Employee Claims

               •      Classification: Class 5 consists of the Retained Employee Claims.

               •      Allowance and Treatment: On or as soon as reasonably practicable after the
                      Effective Date, each Allowed Class 5 Claim will be Reinstated.

               •      Impairment and Voting: Class 5 is Unimpaired, and the Holders of Class 5
                      Claims are conclusively deemed to have accepted this Plan pursuant to
                      section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 5
                      Claims are not entitled to vote to accept or reject this Plan and will not be
                      solicited.

          6.   Class 6 – PTO Claims

               •      Classification: Class 6 consists of the PTO Claims.

               •      Allowance and Treatment: On or as soon as reasonably practicable after the
                      later of (i) the Initial Distribution Date if such Class 6 Claim is Allowed on
                      the Effective Date or (ii) the date on which such Class 6 Claim becomes an
                      Allowed Class 6 Claim, each Holder of an Allowed Class 6 Claim will
                      receive in full satisfaction, settlement, discharge and release of, and in
                      exchange for, its Allowed Claim 6 Claim Cash equal to the amount of such
                      Allowed Class 6 Claim.

               •      Impairment and Voting: Class 6 is Unimpaired, and the Holders of Class 6
                      Claims are conclusively deemed to have accepted this Plan pursuant to
                      section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 6




 000499                                         21
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 119 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 503 of 852 PageID 2408



                     Claims are not entitled to vote to accept or reject this Plan and will not be
                     solicited.

          7.   Class 7 – Convenience Claims

               •     Classification: Class 7 consists of the Convenience Claims.

               •     Allowance and Treatment: On or as soon as reasonably practicable after the
                     later of (i) the Initial Distribution Date if such Class 7 Claim is Allowed on
                     the Effective Date or (ii) the date on which such Class 7 Claim becomes an
                     Allowed Class 7 Claim, each Holder of an Allowed Class 7 Claim will
                     receive in full satisfaction, settlement, discharge and release of, and in
                     exchange for, its Allowed Class 7 Claim (1) the treatment provided to
                     Allowed Holders of Class 8 General Unsecured Claims if the Holder of such
                     Class 7 Claim makes the GUC Election or (2) an amount in Cash equal to
                     the lesser of (a) 85% of the Allowed amount of such Holder’s Class 7 Claim
                     or (b) such Holder’s Pro Rata share of the Convenience Claims Cash Pool.

               •     Impairment and Voting: Class 7 is Impaired, and the Holders of Class 7
                     Claims are entitled to vote to accept or reject this Plan.

          8.   Class 8 – General Unsecured Claims

               •     Classification: Class 8 consists of the General Unsecured Claims.

               •     Treatment: On or as soon as reasonably practicable after the Effective Date,
                     each Holder of an Allowed Class 8 Claim, in full satisfaction, settlement,
                     discharge and release of, and in exchange for, such Claim shall receive (i)
                     its Pro Rata share of the Claimant Trust Interests, (ii) such other less
                     favorable treatment as to which such Holder and the Claimant Trustee shall
                     have agreed upon in writing, or (iii) the treatment provided to Allowed
                     Holders of Class 7 Convenience Claims if the Holder of such Class 8
                     General Unsecured Claim is eligible and makes a valid Convenience Class
                     Election.

                     Notwithstanding anything to the contrary herein, after the Effective Date
                     and subject to the other provisions of this Plan, the Debtor, the Reorganized
                     Debtor, and the Claimant Trust, as applicable, will have and will retain any
                     and all rights and defenses under bankruptcy or nonbankruptcy law that the
                     Debtor had with respect to any General Unsecured Claim, except with
                     respect to any General Unsecured Claim Allowed by Final Order of the
                     Bankruptcy Court.

               •     Impairment and Voting: Class 8 is Impaired, and the Holders of Class 8
                     Claims are entitled to vote to accept or reject this Plan.




 000500                                       22
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 120 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 504 of 852 PageID 2409



          9.    Class 9 – Subordinated Claims

                •      Classification: Class 9 consists of the Subordinated Claims.

                       Treatment: On the Effective Date, Holders of Subordinated Claims shall
                       receive either (i) their Pro Rata share of the Subordinated Claimant Trust
                       Interests or, (ii) such other less favorable treatment as to which such Holder
                       and the Claimant Trustee may agree upon in writing.


                       Notwithstanding anything to the contrary herein, after the Effective Date
                       and subject to the other provisions of this Plan, the Debtor, the Reorganized
                       Debtor, and the Claimant Trust, as applicable, will have and will retain any
                       and all rights and defenses under bankruptcy or nonbankruptcy law that the
                       Debtor had with respect to any Subordinated Claim, except with respect to
                       any Subordinated Claim Allowed by Final Order of the Bankruptcy Court.

                •      Impairment and Voting: Class 9 is Impaired, and the Holders of Class 9
                       Claims are entitled to vote to accept or reject this Plan.

          10.   Class 10 – Class B/C Limited Partnership Interests

                •      Classification: Class 10 consists of the Class B/C Limited Partnership
                       Interests.

                •      Treatment: On or as soon as reasonably practicable after the Effective Date,
                       each Holder of an Allowed Class 10 Claim, in full satisfaction, settlement,
                       discharge and release of, and in exchange for, such Claim shall receive (i)
                       its Pro Rata share of the Contingent Claimant Trust Interests or (ii) such
                       other less favorable treatment as to which such Holder and the Claimant
                       Trustee shall have agreed upon in writing.

                       Notwithstanding anything to the contrary herein, after the Effective Date
                       and subject to the other provisions of this Plan, the Debtor, the Reorganized
                       Debtor, and the Claimant Trust, as applicable, will have and will retain any
                       and all rights and defenses under bankruptcy or nonbankruptcy law that the
                       Debtor had with respect to any Class B/C Limited Partnership Interest
                       Claim, except with respect to any Class B/C Limited Partnership Interest
                       Claim Allowed by Final Order of the Bankruptcy Court.

                •      Impairment and Voting: Class 10 is Impaired, and the Holders of Class 10
                       Claims are entitled to vote to accept or reject this Plan.

          11.   Class 11 – Class A Limited Partnership Interests

                •      Classification:   Class 11 consists of the Class A Limited Partnership
                       Interests.



 000501                                         23
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 121 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 505 of 852 PageID 2410



                •      Treatment: On or as soon as reasonably practicable after the Effective Date,
                       each Holder of an Allowed Class 11 Claim, in full satisfaction, settlement,
                       discharge and release of, and in exchange for, such Claim shall receive (i)
                       its Pro Rata share of the Contingent Claimant Trust Interests or (ii) such
                       other less favorable treatment as to which such Holder and the Claimant
                       Trustee shall have agreed upon in writing.

                       Notwithstanding anything to the contrary herein, after the Effective Date
                       and subject to the other provisions of this Plan, the Debtor, the Reorganized
                       Debtor, and the Claimant Trust, as applicable, will have and will retain any
                       and all rights and defenses under bankruptcy or nonbankruptcy law that the
                       Debtor had with respect to any Class A Limited Partnership Interest, except
                       with respect to any Class A Limited Partnership Interest Allowed by Final
                       Order of the Bankruptcy Court.

                •      Impairment and Voting: Class 11 is Impaired, and the Holders of Class 11
                       Claims are entitled to vote to accept or reject this Plan.

 I.       Special Provision Governing Unimpaired Claims

         Except as otherwise provided in the Plan, nothing under the Plan will affect the Debtor’s
 rights in respect of any Unimpaired Claims, including, without limitation, all rights in respect of
 legal and equitable defenses to or setoffs or recoupments against any such Unimpaired Claims.

 J.       Subordinated Claims

        The allowance, classification, and treatment of all Claims under the Plan shall take into
 account and conform to the contractual, legal, and equitable subordination rights relating thereto,
 whether arising under general principles of equitable subordination, section 510(b) of the
 Bankruptcy Code, or otherwise. Upon written notice and hearing, the Debtor the Reorganized
 Debtor, and the Claimant Trustee reserve the right to seek entry of an order by the Bankruptcy
 Court to re-classify or to subordinate any Claim in accordance with any contractual, legal, or
 equitable subordination relating thereto, and the treatment afforded any Claim under the Plan that
 becomes a subordinated Claim at any time shall be modified to reflect such subordination.

                                   ARTICLE IV.
                       MEANS FOR IMPLEMENTATION OF THIS PLAN

 A.       Summary

       As discussed in the Disclosure Statement, the Plan will be implemented through (i) the
 Claimant Trust, (ii) the Litigation Sub-Trust, and (iii) the Reorganized Debtor.

         On the Effective Date, all Class A Limited Partnership Interests, including the Class A
 Limited Partnership Interests held by Strand, as general partner, and Class B/C Limited
 Partnerships in the Debtor will be cancelled, and new Class A Limited Partnership Interests in the
 Reorganized Debtor will be issued to the Claimant Trust and New GP LLC – a newly-chartered
 limited liability company wholly-owned by the Claimant Trust. The Claimant Trust, as limited


 000502                                          24
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 122 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 506 of 852 PageID 2411



 partner, will ratify New GP LLC’s appointment as general partner of the Reorganized Debtor, and
 on and following the Effective Date, the Claimant Trust will be the Reorganized Debtor’s limited
 partner and New GP LLC will be its general partner. The Claimant Trust, as limited partner, and
 New GP LLC, as general partner, will execute the Reorganized Limited Partnership Agreement,
 which will amend and restate, in all respects, the Debtor’s current Limited Partnership Agreement.
 Following the Effective Date, the Reorganized Debtor will be managed consistent with the terms
 of the Reorganized Limited Partnership Agreement by New GP LLC. The sole managing member
 of New GP LLC will be the Claimant Trust, and the Claimant Trustee will be the sole officer of
 New GP LLC on the Effective Date.

          Following the Effective Date, the Claimant Trust will administer the Claimant Trust Assets
 pursuant to this Plan and the Claimant Trust Agreement, and the Litigation Trustee will pursue, if
 applicable, the Estate Claims pursuant to the terms of the Litigation Sub-Trust Agreement and the
 Plan. The Reorganized Debtor will administer the Reorganized Debtor Assets and, if needed, with
 the utilization of a Sub-Servicer, which administration will include, among other things, managing
 the wind down of the Managed Funds.

         Although the Reorganized Debtor will manage the wind down of the Managed Funds, it is
 currently anticipated that neither the Reorganized Debtor nor the Claimant Trust will assume or
 assume and assign the contracts between the Debtor and certain Related Entities pursuant to which
 the Debtor provides shared services and sub-advisory services to those Related Entities. The
 Debtor believes that the continued provision of the services under such contracts will not be cost
 effective.

         The Reorganized Debtor will distribute all proceeds from the wind down to the Claimant
 Trust, as its limited partner, and New GP LLC, as its general partner, in each case in accordance
 with the Reorganized Limited Partnership Agreement. Such proceeds, along with the proceeds of
 the Claimant Trust Assets, will ultimately be distributed to the Claimant Trust Beneficiaries as set
 forth in this Plan and the Claimant Trust Agreement.

 B.       The Claimant Trust 2

          1.      Creation and Governance of the Claimant Trust and Litigation Sub-Trust.

          On or prior to the Effective Date, the Debtor and the Claimant Trustee shall execute the
 Claimant Trust Agreement and shall take all steps necessary to establish the Claimant Trust and
 the Litigation Sub-Trust in accordance with the Plan in each case for the benefit of the Claimant
 Trust Beneficiaries. Additionally, on or prior to the Effective Date, the Debtor shall irrevocably
 transfer and shall be deemed to have irrevocably transferred to the Claimant Trust all of its rights,
 title, and interest in and to all of the Claimant Trust Assets, and in accordance with section 1141
 of the Bankruptcy Code, the Claimant Trust Assets shall automatically vest in the Claimant Trust
 free and clear of all Claims, Liens, encumbrances, or interests subject only to the Claimant Trust
 Interests and the Claimant Trust Expenses, as provided for in the Claimant Trust Agreement, and


 2
  In the event of a conflict between the terms of this summary and the terms of the Claimant Trust Agreement and the
 Litigation Sub-Trust Agreement, the terms of the Claimant Trust Agreement or the Litigation Sub-Trust Agreement,
 as applicable, shall control.



 000503                                                  25
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 123 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 507 of 852 PageID 2412



 such transfer shall be exempt from any stamp, real estate transfer, mortgage from any stamp,
 transfer, reporting, sales, use, or other similar tax.

         The Claimant Trustee shall be the exclusive trustee of the Claimant Trust Assets, excluding
 the Estate Claims and the Litigation Trustee shall be the exclusive trustee with respect to the Estate
 Claims in each case for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as
 the representative of the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy
 Code with respect to the Claimant Trust Assets. The Claimant Trustee shall also be responsible
 for resolving all Claims and Equity Interests in Class 8 through Class 11, under the supervision of
 the Claimant Trust Oversight Committee.

         On the Effective Date, the Claimant Trustee and Litigation Trustee shall execute the
 Litigation Sub-Trust Agreement and shall take all steps necessary to establish the Litigation Sub-
 Trust. Upon the creation of the Litigation Sub-Trust, the Claimant Trust shall irrevocably transfer
 and assign to the Litigation Sub-Trust the Estate Claims. The Claimant Trust shall be governed
 by the Claimant Trust Agreement and administered by the Claimant Trustee. The powers, rights,
 and responsibilities of the Claimant Trustee shall be specified in the Claimant Trust Agreement
 and shall include the authority and responsibility to, among other things, take the actions set forth
 in this ARTICLE IV, subject to any required reporting to the Claimant Trust Oversight Committee
 as may be set forth in the Claimant Trust Agreement. The Claimant Trust shall hold and distribute
 the Claimant Trust Assets (including the proceeds from the Estate Claims, if any) in accordance
 with the provisions of the Plan and the Claimant Trust Agreement; provided that the Claimant
 Trust Oversight Committee may direct the Claimant Trust to reserve Cash from distributions as
 necessary to fund the Claimant Trust and Litigation Sub-Trust. Other rights and duties of the
 Claimant Trustee and the Claimant Trust Beneficiaries shall be as set forth in the Claimant Trust
 Agreement. After the Effective Date, neither the Debtor nor the Reorganized Debtor shall have
 any interest in the Claimant Trust Assets.

         The Litigation Sub-Trust shall be governed by the Litigation Sub-Trust Agreement and
 administered by the Litigation Trustee. The powers, rights, and responsibilities of the Litigation
 Trustee shall be specified in the Litigation Sub-Trust Agreement and shall include the authority
 and responsibility to, among other things, take the actions set forth in this ARTICLE IV, subject
 to any required reporting as may be set forth in the Litigation Sub-Trust Agreement. The Litigation
 Sub-Trust shall investigate, prosecute, settle, or otherwise resolve the Estate Claims in accordance
 with the provisions of the Plan and the Litigation Sub-Trust Agreement and shall distribute the
 proceeds therefrom to the Claimant Trust for distribution. Other rights and duties of the Litigation
 Trustee shall be as set forth in the Litigation Sub-Trust Agreement.

          2.    Claimant Trust Oversight Committee

         The Claimant Trust, the Claimant Trustee, the management and monetization of the
 Claimant Trust Assets, and the management of the Reorganized Debtor (through the Claimant
 Trust’s role as managing member of New GP LLC) and the Litigation Sub-Trust will be overseen
 by the Claimant Trust Oversight Committee, subject to the terms of the Claimant Trust Agreement
 and the Litigation Sub-Trust Agreement, as applicable.




 000504                                           26
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 124 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 508 of 852 PageID 2413



         The Claimant Trust Oversight Committee will initially consist of five members. Four of
 the five members will be representatives of the members of the Committee: (i) the Redeemer
 Committee of Highland Crusader Fund, (ii) UBS, (iii) Acis, and (iv) Meta-e Discovery. The fifth
 member will be an independent, natural Person chosen by the Committee and reasonably
 acceptable to the Debtor. The members of the Claimant Trust Oversight Committee may be
 replaced as set forth in the Claimant Trust Agreement. The identity of the members of the Claimant
 Trust Oversight Committee will be disclosed in the Plan Supplement.

        As set forth in the Claimant Trust Agreement, in no event will any member of the Claimant
 Trust Oversight Committee with a Claim against the Estate be entitled to vote, opine, or otherwise
 be involved in any matters related to such member’s Claim.

         The independent member(s) of the Claimant Trust Oversight Committee may be entitled
 to compensation for their services as set forth in the Claimant Trust Agreement. Any member of
 the Claimant Trust Oversight Committee may be removed, and successor chosen, in the manner
 set forth in the Claimant Trust Agreement.

          3.     Purpose of the Claimant Trust.

         The Claimant Trust shall be established for the purpose of (i) managing and monetizing
 the Claimant Trust Assets, subject to the terms of the Claimant Trust Agreement and the oversight
 of the Claimant Trust Oversight Committee, (ii) serving as the limited partner of, and holding the
 limited partnership interests in, the Reorganized Debtor, (iii) serving as the sole member and
 manager of New GP LLC, the Reorganized Debtor’s general partner, (iv) in its capacity as the sole
 member and manager of New GP LLC, overseeing the management and monetization of the
 Reorganized Debtor Assets pursuant to the terms of the Reorganized Limited Partnership
 Agreement; and (v) administering the Disputed Claims Reserve and serving as Distribution Agent
 with respect to Disputed Claims in Class 7 or Class 8.

         In its management of the Claimant Trust Assets, the Claimant Trust will also reconcile and
 object to the General Unsecured Claims, Subordinated Claims, Class B/C Limited Partnership
 Interests, and Class A Limited Partnership Interests, as provided for in this Plan and the Claimant
 Trust Agreement, and make Trust Distributions to the Claimant Trust Beneficiaries in accordance
 with Treasury Regulation section 301.7701-4(d), with no objective to continue or engage in the
 conduct of a trade or business.

          The purpose of the Reorganized Debtor is discussed at greater length in ARTICLE IV.C.

          4.     Purpose of the Litigation Sub-Trust.

         The Litigation Sub-Trust shall be established for the purpose of investigating, prosecuting,
 settling, or otherwise resolving the Estate Claims. Any proceeds therefrom shall be distributed by
 the Litigation Sub-Trust to the Claimant Trust for distribution to the Claimant Trust Beneficiaries
 pursuant to the terms of the Claimant Trust Agreement.

          5.     Claimant Trust Agreement and Litigation Sub-Trust Agreement.

          The Claimant Trust Agreement generally will provide for, among other things:



 000505                                           27
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 125 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 509 of 852 PageID 2414



            (i)     the payment of the Claimant Trust Expenses;

            (ii)    the payment of other reasonable expenses of the Claimant Trust;

            (iii)    the retention of employees, counsel, accountants, financial advisors, or other
 professionals and the payment of their reasonable compensation;

            (iv)    the investment of Cash by the Claimant Trustee within certain limitations,
 including those specified in the Plan;

            (v)     the orderly monetization of the Claimant Trust Assets;

            (vi)    litigation of any Causes of Action, which may include the prosecution,
 settlement, abandonment, or dismissal of any such Causes of Action, subject to reporting and
 oversight by the Claimant Trust Oversight Committee;

             (vii) the resolution of Claims and Equity Interests in Class 8 through Class 11,
 subject to reporting and oversight by the Claimant Trust Oversight Committee;

            (viii) the administration of the Disputed Claims Reserve and distributions to be made
 therefrom; and

            (ix)    the management of the Reorganized Debtor, including the utilization of a Sub-
 Servicer, with the Claimant Trust serving as the managing member of New GP LLC.

         Except as otherwise ordered by the Bankruptcy Court, the Claimant Trust Expenses shall
 be paid from the Claimant Trust Assets in accordance with the Plan and Claimant Trust Agreement.
 The Claimant Trustee may establish a reserve for the payment of Claimant Trust Expense
 (including, without limitation, any reserve for potential indemnification claims as authorized and
 provided under the Claimant Trust Agreement), and shall periodically replenish such reserve, as
 necessary.

         In furtherance of, and consistent with the purpose of, the Claimant Trust and the Plan, the
 Trustees, for the benefit of the Claimant Trust, shall, subject to reporting and oversight by the
 Claimant Trust Oversight Committee as set forth in the Claimant Trust Agreement: (i) hold the
 Claimant Trust Assets for the benefit of the Claimant Trust Beneficiaries, (ii) make Distributions
 to the Claimant Trust Beneficiaries as provided herein and in the Claimant Trust Agreement, and
 (iii) have the sole power and authority to prosecute and resolve any Causes of Action and
 objections to Claims and Equity Interests (other than those assigned to the Litigation Sub-Trust),
 without approval of the Bankruptcy Court. Except as otherwise provided in the Claimant Trust
 Agreement, the Claimant Trustee shall be responsible for all decisions and duties with respect to
 the Claimant Trust and the Claimant Trust Assets; provided, however, that the prosecution and
 resolution of any Estate Claims included in the Claimant Trust Assets shall be the responsibility
 of the Litigation Trustee. The Litigation Sub-Trust Agreement generally will provide for, among
 other things:

            (i)     the payment of other reasonable expenses of the Litigation Sub-Trust;




 000506                                          28
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 126 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 510 of 852 PageID 2415



            (ii)    the retention of employees, counsel, accountants, financial advisors, or other
 professionals and the payment of their reasonable compensation; and

            (iii) the investigation and prosecution of Estate Claims, which may include the
 prosecution, settlement, abandonment, or dismissal of any such Estate Claims, subject to reporting
 and oversight as set forth in the Litigation Sub-Trust Agreement.

         The Trustees, on behalf of the Claimant Trust and Litigation Sub-Trust, as applicable, may
 each employ, without further order of the Bankruptcy Court, employees and other professionals
 (including those previously retained by the Debtor and the Committee) to assist in carrying out the
 Trustees’ duties hereunder and may compensate and reimburse the reasonable expenses of these
 professionals without further Order of the Bankruptcy Court from the Claimant Trust Assets in
 accordance with the Plan and the Claimant Trust Agreement.

         The Claimant Trust Agreement and Litigation Sub-Trust Agreement may include
 reasonable and customary provisions that allow for indemnification by the Claimant Trust in favor
 of the Claimant Trustee, Litigation Trustee, and the Claimant Trust Oversight Committee. Any
 such indemnification shall be the sole responsibility of the Claimant Trust and payable solely from
 the Claimant Trust Assets.

          6.    Compensation and Duties of Trustees.

       The salient terms of each Trustee’s employment, including such Trustee’s duties and
 compensation shall be set forth in the Claimant Trust Agreement and the Litigation Sub-Trust
 Agreement, as appropriate. The Trustees shall each be entitled to reasonable compensation in an
 amount consistent with that of similar functionaries in similar types of bankruptcy cases.

          7.    Cooperation of Debtor and Reorganized Debtor.

          To effectively investigate, prosecute, compromise and/or settle the Claims and/or Causes
 of Action that constitute Claimant Trust Assets (including Estate Claims), the Claimant Trustee,
 Litigation Trustee, and each of their professionals may require reasonable access to the Debtor’s
 and Reorganized Debtor’s documents, information, and work product relating to the Claimant
 Trust Assets. Accordingly, the Debtor and the Reorganized Debtor, as applicable, shall reasonably
 cooperate with the Claimant Trustee and Litigation Trustee, as applicable, in their prosecution of
 Causes of Action and in providing the Claimant Trustee and Litigation Trustee with copies of
 documents and information in the Debtor’s possession, custody, or control on the Effective Date
 that either Trustee indicates relates to the Estate Claims or other Causes of Action.

          The Debtor and Reorganized Debtor shall preserve all records, documents or work product
 (including all electronic records, documents, or work product) related to the Claims and Causes of
 Action, including Estate Claims, until the earlier of (a) the dissolution of the Reorganized Debtor
 or (b) termination of the Claimant Trust and Litigation Sub-Trust.

          8.    United States Federal Income Tax Treatment of the Claimant Trust.

         Unless the IRS requires otherwise, for all United States federal income tax purposes, the
 parties shall treat the transfer of the Claimant Trust Assets to the Claimant Trust as: (a) a transfer



 000507                                           29
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 127 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 511 of 852 PageID 2416



 of the Claimant Trust Assets (other than the amounts set aside in the Disputed Claims Reserve, if
 the Claimant Trustee makes the election described in Section 7 below) directly to the applicable
 Claimant Trust Beneficiaries followed by (b) the transfer by the such Claimant Trust Beneficiaries
 to the Claimant Trust of such Claimant Trust Assets in exchange for the Claimant Trust Interests.
 Accordingly, the applicable Claimant Trust Beneficiaries shall be treated for United States federal
 income tax purposes as the grantors and owners of their respective share of the Claimant Trust
 Assets. The foregoing treatment shall also apply, to the extent permitted by applicable law, for
 state and local income tax purposes.

          9.    Tax Reporting.

         (a) The Claimant Trustee shall file tax returns for the Claimant Trust treating the Claimant
 Trust as a grantor trust pursuant to Treasury Regulation section 1.671-4(a). The Claimant Trustee
 may file an election pursuant to Treasury Regulation 1.468B-9(c) to treat the Disputed Claims
 Reserve as a disputed ownership fund, in which case the Claimant Trustee will file federal income
 tax returns and pay taxes for the Disputed Claims Reserve as a separate taxable entity.

         (b) The Claimant Trustee shall be responsible for payment, out of the Claimant Trust
 Assets, of any taxes imposed on the Claimant Trust or its assets.

         (c) The Claimant Trustee shall determine the fair market value of the Claimant Trust Assets
 as of the Effective Date and notify the applicable Claimant Trust Beneficiaries of such valuation,
 and such valuation shall be used consistently for all federal income tax purposes.

        (d) The Claimant Trustee shall distribute such tax information to the applicable Claimant
 Trust Beneficiaries as the Claimant Trustee determines is required by applicable law.

          10.   Claimant Trust Assets.

         The Claimant Trustee shall have the exclusive right, on behalf of the Claimant Trust, to
 institute, file, prosecute, enforce, abandon, settle, compromise, release, or withdraw any and all
 Causes of Action included in the Claimant Trust Assets (except for the Estate Claims) without any
 further order of the Bankruptcy Court, and the Claimant Trustee shall have the exclusive right, on
 behalf of the Claimant Trust, to sell, liquidate, or otherwise monetize all Claimant Trust Assets,
 except as otherwise provided in this Plan or in the Claimant Trust Agreement, without any further
 order of the Bankruptcy Court. Notwithstanding anything herein to the contrary, the Litigation
 Trustee shall have the exclusive right to institute, file, prosecute, enforce, abandon, settle,
 compromise, release, or withdraw any and all Estate Claims included in the Claimant Trust Assets
 without any further order of the Bankruptcy Court.

         From and after the Effective Date, the Trustees, in accordance with section 1123(b)(3) and
 (4) of the Bankruptcy Code, and on behalf of the Claimant Trust, shall each serve as a
 representative of the Estate with respect to any and all Claimant Trust Assets, including the Causes
 of Action and Estate Claims, as appropriate, and shall retain and possess the right to (a) commence,
 pursue, settle, compromise, or abandon, as appropriate, any and all Causes of Action in any court
 or other tribunal and (b) sell, liquidate, or otherwise monetize all Claimant Trust Assets.




 000508                                          30
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 128 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 512 of 852 PageID 2417



          11.   Claimant Trust Expenses.

        From and after the Effective Date, the Claimant Trust shall, in the ordinary course of
 business and without the necessity of any approval by the Bankruptcy Court, pay the reasonable
 professional fees and expenses incurred by the Claimant Trust, the Litigation Sub-Trust, and any
 professionals retained by such parties and entities from the Claimant Trust Assets, except as
 otherwise provided in the Claimant Trust Agreement.

          12.   Trust Distributions to Claimant Trust Beneficiaries.

        The Claimant Trustee, in its discretion, may make Trust Distributions to the Claimant Trust
 Beneficiaries at any time and/or use the Claimant Trust Assets or proceeds thereof, provided that
 such Trust Distributions or use is otherwise permitted under the terms of the Plan, the Claimant
 Trust Agreement, and applicable law.

          13.   Cash Investments.

         With the consent of the Claimant Trust Oversight Committee, the Claimant Trustee may
 invest Cash (including any earnings thereon or proceeds therefrom) in a manner consistent with
 the terms of the Claimant Trust Agreement; provided, however, that such investments are
 investments permitted to be made by a “liquidating trust” within the meaning of Treasury
 Regulation section 301.7701-4(d), as reflected therein, or under applicable IRS guidelines, rulings
 or other controlling authorities.

          14.   Dissolution of the Claimant Trust and Litigation Sub-Trust.

         The Trustees and the Claimant Trust and Litigation Sub-Trust shall be discharged or
 dissolved, as the case may be, at such time as: (a) the Litigation Trustee determines that the pursuit
 of Estate Claims is not likely to yield sufficient additional proceeds to justify further pursuit of
 such Estate Claims, (b) the Claimant Trustee determines that the pursuit of Causes of Action (other
 than Estate Claims) is not likely to yield sufficient additional proceeds to justify further pursuit of
 such Causes of Action, (c) the Clamant Trustee determines that the pursuit of sales of other
 Claimant Trust Assets is not likely to yield sufficient additional proceeds to justify further pursuit
 of such sales of Claimant Trust Assets, (d) all objections to Disputed Claims and Equity Interests
 are fully resolved, (e) the Reorganized Debtor is dissolved, and (f) all Distributions required to be
 made by the Claimant Trustee to the Claimant Trust Beneficiaries under the Plan have been made,
 but in no event shall the Claimant Trust be dissolved later than three years from the Effective Date
 unless the Bankruptcy Court, upon motion made within the six-month period before such third
 anniversary (and, in the event of further extension, by order of the Bankruptcy Court, upon motion
 made at least six months before the end of the preceding extension), determines that a fixed period
 extension (not to exceed two years, together with any prior extensions, without a favorable letter
 ruling from the Internal Revenue Service or an opinion of counsel that any further extension would
 not adversely affect the status of the Claimant Trust as a liquidating trust for federal income tax
 purposes) is necessary to facilitate or complete the recovery on, and liquidation of, the Claimant
 Trust Assets; provided, however, that each extension must be approved, upon a finding that the
 extension is necessary to facilitate or complete the recovery on, and liquidation of the Claimant
 Trust Assets, by the Bankruptcy Court within 6 months of the beginning of the extended term and



 000509                                            31
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 129 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 513 of 852 PageID 2418



 no extension, together with any prior extensions, shall exceed three years without a favorable letter
 ruling from the Internal Revenue Service or an opinion of counsel that any further extension would
 not adversely affect the status of the Claimant Trust as a liquidating trust for federal income tax
 purposes.

         Upon dissolution of the Claimant Trust, and pursuant to the Claimant Trust Agreement,
 any remaining Claimant Trust Assets that exceed the amounts required to be paid under the Plan
 will be transferred (in the sole discretion of the Claimant Trustee) in Cash or in-kind to the Holders
 of the Claimant Trust Interests as provided in the Claimant Trust Agreement.

 C.       The Reorganized Debtor

          1.    Corporate Existence

        The Debtor will continue to exist after the Effective Date, with all of the powers of
 partnerships pursuant to the law of the State of Delaware and as set forth in the Reorganized
 Limited Partnership Agreement.

          2.    Cancellation of Equity Interests and Release

         On the Effective Date, (i) all prepetition Equity Interests, including the Class A Limited
 Partnership Interests and the Class B/C Limited Partnership Interests, in the Debtor shall be
 canceled, and (ii) all obligations or debts owed by, or Claims against, the Debtor on account of, or
 based upon, the Interests shall be deemed as cancelled, released, and discharged, including all
 obligations or duties by the Debtor relating to the Equity Interests in any of the Debtor’s formation
 documents, including the Limited Partnership Agreement.

          3.    Issuance of New Partnership Interests

        On the Effective Date, the Debtor or the Reorganized Debtor, as applicable, will issue new
 Class A Limited Partnership Interests to (i) the Claimant Trust, as limited partner, and (ii) New
 GP LLC, as general partner, and will admit (a) the Claimant Trust as the limited partner of the
 Reorganized Debtor, and (b) New GP LLC as the general partner of the Reorganized Debtor. The
 Claimant Trust, as limited partner, will ratify New GP LLC’s appointment as general partner of
 the Reorganized Debtor. Also, on the Effective Date, the Claimant Trust, as limited partner, and
 New GP LLC, as general partner, will execute the Reorganized Limited Partnership Agreement
 and receive partnership interests in the Reorganized Debtor consistent with the terms of the
 Reorganized Limited Partnership Agreement.

         The Reorganized Limited Partnership Agreement does not provide for, and specifically
 disclaims, the indemnification obligations under the Limited Partnership Agreement, including
 any such indemnification obligations that accrued or arose or could have been brought prior to the
 Effective Date. Any indemnification Claims under the Limited Partnership Agreement that
 accrued, arose, or could have been filed prior to the Effective Date will be resolved through the
 Claims resolution process provided that a Claim is properly filed in accordance with the
 Bankruptcy Code, the Plan, or the Bar Date Order. Each of the Debtor, the Reorganized Debtor,
 the Claimant Trust, and the Litigation Sub-Trust reserve all rights with respect to any such
 indemnification Claims.


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Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 130 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 514 of 852 PageID 2419



          4.    Management of the Reorganized Debtor

          Subject to and consistent with the terms of the Reorganized Limited Partnership
 Agreement, the Reorganized Debtor shall be managed by its general partner, New GP LLC. The
 initial officers and employees of the Reorganized Debtor shall be selected by the Claimant Trustee.
 The Reorganized Debtor may, in its discretion, also utilize a Sub-Servicer in addition to or in lieu
 of the retention of officers and employees.

         As set forth in the Reorganized Limited Partnership Agreement, New GP LLC will receive
 a fee for managing the Reorganized Debtor. Although New GP LLC will be a limited liability
 company, it will elect to be treated as a C-Corporation for tax purposes. Therefore, New GP LLC
 (and any taxable income attributable to it) will be subject to corporate income taxation on a
 standalone basis, which may reduce the return to Claimants.

          5.    Vesting of Assets in the Reorganized Debtor

         Except as otherwise provided in this Plan or the Confirmation Order, on or after the
 Effective Date, all Reorganized Debtor Assets will vest in the Reorganized Debtor, free and clear
 of all Liens, Claims, charges or other encumbrances pursuant to section 1141(c) of the Bankruptcy
 Code except with respect to such Liens, Claims, charges and other encumbrances that are
 specifically preserved under this Plan upon the Effective Date.

         The Reorganized Debtor shall be the exclusive trustee of the Reorganized Debtor Assets
 for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the representative of
 the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with respect to the
 Reorganized Debtor Assets.

          6.    Purpose of the Reorganized Debtor

         Except as may be otherwise provided in this Plan or the Confirmation Order, the
 Reorganized Debtor will continue to manage the Reorganized Debtor Assets (which shall include,
 for the avoidance of doubt, serving as the investment manager of the Managed Funds) and may
 use, acquire or dispose of the Reorganized Debtor Assets and compromise or settle any Claims
 with respect to the Reorganized Debtor Assets without supervision or approval by the Bankruptcy
 Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules. The Reorganized
 Debtor shall oversee the resolution of Claims in Class 1 through Class 7.

         Without limiting the foregoing, the Reorganized Debtor will pay the charges that it incurs
 after the Effective Date for Professionals’ fees, disbursements, expenses or related support services
 (including reasonable fees relating to the preparation of Professional fee applications) in the
 ordinary course of business and without application or notice to, or order of, the Bankruptcy Court.

          7.    Distribution of Proceeds from the Reorganized Debtor Assets; Transfer of
                Reorganized Debtor Assets

         Any proceeds received by the Reorganized Debtor will be distributed to the Claimant Trust,
 as limited partner, and New GP LLC, as general partner, in the manner set forth in the Reorganized
 Limited Partnership Agreement. As set forth in the Reorganized Limited Partnership Agreement,



 000511                                           33
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 131 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 515 of 852 PageID 2420



 the Reorganized Debtor may, from time to time distribute Reorganized Debtor Assets to the
 Claimant Trust either in Cash or in-kind, including to institute the wind-down and dissolution of
 the Reorganized Debtor. Any assets distributed to the Claimant Trust will be (i) deemed
 transferred in all respects as forth in ARTICLE IV.B.1, (ii) deemed Claimant Trust Assets, and
 (iii) administered as Claimant Trust Assets.

 D.       Company Action

         Each of the Debtor, the Reorganized Debtor, and the Trustees, as applicable, may take any
 and all actions to execute, deliver, File or record such contracts, instruments, releases and other
 agreements or documents and take such actions as may be necessary or appropriate to effectuate
 and implement the provisions of this Plan, the Claimant Trust Agreement, the Reorganized Limited
 Partnership Agreement, or the New GP LLC Documents, as applicable, in the name of and on
 behalf of the Debtor, the Reorganized Debtor, or the Trustees, as applicable, and in each case
 without further notice to or order of the Bankruptcy Court, act or action under applicable law,
 regulation, order, or rule or any requirement of further action, vote or other approval or
 authorization by the security holders, officers, or directors of the Debtor or the Reorganized
 Debtor, as applicable, or by any other Person.

         Prior to, on or after the Effective Date (as appropriate), all matters provided for pursuant
 to this Plan that would otherwise require approval of the stockholders, partners, directors,
 managers, or members of the Debtor, any Related Entity, or any Affiliate thereof (as of prior to
 the Effective Date) will be deemed to have been so approved and will be in effect prior to, on or
 after the Effective Date (as appropriate) pursuant to applicable law and without any requirement
 of further action by the stockholders, partners, directors, managers or members of such Persons,
 or the need for any approvals, authorizations, actions or consents of any Person.

         All matters provided for in this Plan involving the legal or corporate structure of the Debtor,
 the Reorganized Debtor, or the Claimant Trust, as applicable, and any legal or corporate action
 required by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, in connection
 with this Plan, will be deemed to have occurred and will be in full force and effect in all respects,
 in each case without further notice to or order of the Bankruptcy Court, act or action under
 applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by the security holders, partners, directors, managers, or members of the
 Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, or by any other Person. On
 the Effective Date, the appropriate officers of the Debtor and the Reorganized Debtor, as
 applicable, as well as the Trustees, are authorized to issue, execute, deliver, and consummate the
 transactions contemplated by, the contracts, agreements, documents, guarantees, pledges,
 consents, securities, certificates, resolutions and instruments contemplated by or described in this
 Plan in the name of and on behalf of the Debtor and the Reorganized Debtor, as well as the
 Trustees, in each case without further notice to or order of the Bankruptcy Court, act or action
 under applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by any Person. The appropriate officer of the Debtor, the Reorganized
 Debtor, as well as the Trustees, will be authorized to certify or attest to any of the foregoing actions.




 000512                                             34
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 132 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 516 of 852 PageID 2421



 E.       Release of Liens, Claims and Equity Interests

         Except as otherwise provided in the Plan or in any contract, instrument, release or other
 agreement or document entered into or delivered in connection with the Plan, from and after the
 Effective Date and concurrently with the applicable distributions made pursuant to the Plan, all
 Liens, Claims, Equity Interests, mortgages, deeds of trust, or other security interests against the
 property of the Estate will be fully released, terminated, extinguished and discharged, in each case
 without further notice to or order of the Bankruptcy Court, act or action under applicable law,
 regulation, order, or rule or the vote, consent, authorization or approval of any Entity. Any Entity
 holding such Liens or Equity Interests extinguished pursuant to the prior sentence will, pursuant
 to section 1142 of the Bankruptcy Code, promptly execute and deliver to the Debtor, the
 Reorganized Debtor, or the Claimant Trustee, as applicable, such instruments of termination,
 release, satisfaction and/or assignment (in recordable form) as may be reasonably requested by the
 Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable. For the avoidance of
 doubt, this section is in addition to, and shall not be read to limit in any respects, ARTICLE IV.C.2.

 F.       Cancellation of Notes, Certificates and Instruments

         Except for the purpose of evidencing a right to a distribution under this Plan and except as
 otherwise set forth in this Plan, on the Effective Date, all agreements, instruments, Securities and
 other documents evidencing any prepetition Claim or Equity Interest and any rights of any Holder
 in respect thereof shall be deemed cancelled, discharged, and of no force or effect. The holders of
 or parties to such cancelled instruments, Securities, and other documentation will have no rights
 arising from or related to such instruments, Securities, or other documentation or the cancellation
 thereof, except the rights provided for pursuant to this Plan, and the obligations of the Debtor
 thereunder or in any way related thereto will be fully released, terminated, extinguished and
 discharged, in each case without further notice to or order of the Bankruptcy Court, act or action
 under applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by any Person. For the avoidance of doubt, this section is in addition to,
 and shall not be read to limit in any respects, ARTICLE IV.C.2.

 G.       Cancellation of Existing Instruments Governing Security Interests

         Upon payment or other satisfaction of an Allowed Class 1 or Allowed Class 2 Claim, or
 promptly thereafter, the Holder of such Allowed Class 1 or Allowed Class 2 Claim shall deliver to
 the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, any collateral or other
 property of the Debtor held by such Holder, together with any termination statements, instruments
 of satisfaction, or releases of all security interests with respect to its Allowed Class 1 or Allowed
 Class 2 Claim that may be reasonably required to terminate any related financing statements,
 mortgages, mechanics’ or other statutory Liens, or lis pendens, or similar interests or documents.

 H.       Control Provisions

         To the extent that there is any inconsistency between this Plan as it relates to the Claimant
 Trust, the Claimant Trust Agreement, the Reorganized Debtor, or the Reorganized Limited
 Partnership Agreement, this Plan shall control.




 000513                                           35
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 133 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 517 of 852 PageID 2422



 I.       Treatment of Vacant Classes

        Any Claim or Equity Interest in a Class considered vacant under ARTICLE III.C of this
 Plan shall receive no Plan Distributions.

 J.       Plan Documents

         The documents, if any, to be Filed as part of the Plan Documents, including any documents
 filed with the Plan Supplement, and any amendments, restatements, supplements, or other
 modifications to such documents, and any consents, waivers, or other deviations under or from
 any such documents, shall be incorporated herein by this reference (including to the applicable
 definitions in ARTICLE I hereof) and fully enforceable as if stated in full herein.

         The Debtor and the Committee are currently working to finalize the forms of certain of the
 Plan Documents to be filed with the Plan Supplement. To the extent that the Debtor and the
 Committee cannot agree as to the form and content of such Plan Documents, they intend to submit
 the issue to non-binding mediation pursuant to the Order Directing Mediation entered on August
 3, 2020 [D.I. 912].

 K.       Highland Capital Management, L.P. Retirement Plan and Trust

         The Highland Capital Management, L.P. Retirement Plan And Trust (“Pension Plan”) is a
 single-employer defined benefit pension plan covered by Title IV of the Employee Retirement
 Income Security Act of 1974, as amended (“ERISA”). 29 U.S.C. §§ 1301-1461. The Debtor is
 the contributing sponsor and, as such, the PBGC asserts that the Debtor is liable along with any
 members of the contributing sponsor’s controlled-group within the meaning of 29 U.S.C. §§
 1301(a)(13), (14) with respect to the Pension Plan.

        Upon the Effective Date, the Reorganized Debtor shall be deemed to have assumed the
 Pension Plan and shall comply with all applicable statutory provisions of ERISA and the Internal
 Revenue Code (the “IRC”), including, but not limited to, satisfying the minimum funding
 standards pursuant to 26 U.S.C. §§ 412, 430, and 29 U.S.C. §§ 1082, 1083; paying the PBGC
 premiums in accordance with 29 U.S.C. §§ 1306 and 1307; and administering the Pension Plan in
 accordance with its terms and the provisions of ERISA and the IRC. In the event that the Pension
 Plan terminates after the Plan of Reorganization Effective Date, the PBGC asserts that the
 Reorganized Debtor and each of its controlled group members will be responsible for the liabilities
 imposed by Title IV of ERISA.

         Notwithstanding any provision of the Plan, the Confirmation Order, or the Bankruptcy
 Code (including section 1141 thereof) to the contrary, neither the Plan, the Confirmation Order, or
 the Bankruptcy Code shall be construed as discharging, releasing, exculpating or relieving the
 Debtor, the Reorganized Debtor, or any person or entity in any capacity, from any liability or
 responsibility, if any, with respect to the Pension Plan under any law, governmental policy, or
 regulatory provision. PBGC and the Pension Plan shall not be enjoined or precluded from
 enforcing such liability or responsibility against any person or entity as a result of any of the
 provisions of the Plan, the Confirmation Order, or the Bankruptcy Code. The Debtor reserves the
 right to contest any such liability or responsibility.



 000514                                          36
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 134 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 518 of 852 PageID 2423



                              ARTICLE V.
          TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 A.       Assumption, Assignment, or Rejection of Executory Contracts and Unexpired Leases

         Unless an Executory Contract or Unexpired Lease: (i) was previously assumed or rejected
 by the Debtor pursuant to this Plan on or prior to the Confirmation Date; (ii) previously expired or
 terminated pursuant to its own terms or by agreement of the parties thereto; (iii) is the subject of a
 motion to assume filed by the Debtor on or before the Confirmation Date; (iv) contains a change
 of control or similar provision that would be triggered by the Chapter 11 Case (unless such
 provision has been irrevocably waived); or (v) is specifically designated as a contract or lease to
 be assumed in the Plan or the Plan Supplement, on the Confirmation Date, each Executory Contract
 and Unexpired Lease shall be deemed rejected pursuant to section 365 of the Bankruptcy Code,
 without the need for any further notice to or action, order, or approval of the Bankruptcy Court,
 unless such Executory Contract or Unexpired Lease is listed in the Plan Supplement.

          At any time on or prior to the Confirmation Date, the Debtor may (i) amend the Plan
 Supplement in order to add or remove a contract or lease from the list of contracts to be assumed
 or (ii) assign (subject to applicable law) any Executory Contract or Unexpired Lease, as determined
 by the Debtor in consultation with the Committee, or the Reorganized Debtor, as applicable.

         The Confirmation Order will constitute an order of the Bankruptcy Court approving the
 above-described assumptions, rejections, and assumptions and assignments. Except as otherwise
 provided herein or agreed to by the Debtor and the applicable counterparty, each assumed
 Executory Contract or Unexpired Lease shall include all modifications, amendments, supplements,
 restatements, or other agreements related thereto, and all rights related thereto. Modifications,
 amendments, supplements, and restatements to prepetition Executory Contracts and Unexpired
 Leases that have been executed by the Debtor during the Chapter 11 Case shall not be deemed to
 alter the prepetition nature of the Executory Contract or Unexpired Lease or the validity, priority,
 or amount of any Claims that may arise in connection therewith. To the extent applicable, no
 change of control (or similar provision) will be deemed to occur under any such Executory
 Contract or Unexpired Lease.

         If certain, but not all, of a contract counterparty’s Executory Contracts and/or Unexpired
 Leases are rejected pursuant to the Plan, the Confirmation Order shall be a determination that such
 counterparty’s Executory Contracts and/or Unexpired Leases that are being assumed pursuant to
 the Plan are severable agreements that are not integrated with those Executory Contracts and/or
 Unexpired Leases that are being rejected pursuant to the Plan. Parties seeking to contest this
 finding with respect to their Executory Contracts and/or Unexpired Leases must file a timely
 objection to the Plan on the grounds that their agreements are integrated and not severable, and
 any such dispute shall be resolved by the Bankruptcy Court at the Confirmation Hearing (to the
 extent not resolved by the parties prior to the Confirmation Hearing).

         Notwithstanding anything herein to the contrary, the Debtor shall assume or reject that
 certain real property lease with Crescent TC Investors L.P. (“Landlord”) for the Debtor’s
 headquarters located at 200/300 Crescent Ct., Suite #700, Dallas, Texas 75201 (the “Lease”) in
 accordance with the notice to Landlord, procedures and timing required by 11 U.S.C. §365(d)(4),



 000515                                           37
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 135 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 519 of 852 PageID 2424



 as modified by that certain Agreed Order Granting Motion to Extend Time to Assume or Reject
 Unexpired Nonresidential Real Property Lease [Docket No. 1122].

 B.       Claims Based on Rejection of Executory Contracts or Unexpired Leases

         Any Executory Contract or Unexpired Lease not assumed or rejected on or before the
 Confirmation Date shall be deemed rejected, pursuant to the Confirmation Order. Any Person
 asserting a Rejection Claim shall File a proof of claim within thirty days of the Confirmation Date.
 Any Rejection Claims that are not timely Filed pursuant to this Plan shall be forever disallowed
 and barred. If one or more Rejection Claims are timely Filed, the Claimant Trustee may File an
 objection to any Rejection Claim.

        Rejection Claims shall be classified as General Unsecured Claims and shall be treated in
 accordance with ARTICLE III of this Plan.

 C.       Cure of Defaults for Assumed or Assigned Executory Contracts and Unexpired
          Leases

        Any monetary amounts by which any Executory Contract or Unexpired Lease to be
 assumed or assigned hereunder is in default shall be satisfied, under section 365(b)(1) of the
 Bankruptcy Code, by the Debtor upon assumption or assignment thereof, by payment of the default
 amount in Cash as and when due in the ordinary course or on such other terms as the parties to
 such Executory Contracts may otherwise agree. The Debtor may serve a notice on the Committee
 and parties to Executory Contracts or Unexpired Leases to be assumed or assigned reflecting the
 Debtor’s or Reorganized Debtor’s intention to assume or assign the Executory Contract or
 Unexpired Lease in connection with this Plan and setting forth the proposed cure amount (if any).

        If a dispute regarding (1) the amount of any payments to cure a default, (2) the ability of
 the Debtor, the Reorganized Debtor, or any assignee to provide “adequate assurance of future
 performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
 Contract or Unexpired Lease to be assumed or assigned or (3) any other matter pertaining to
 assumption or assignment, the cure payments required by section 365(b)(1) of the Bankruptcy
 Code will be made following the entry of a Final Order or orders resolving the dispute and
 approving the assumption or assignment.

         Assumption or assignment of any Executory Contract or Unexpired Lease pursuant to the
 Plan or otherwise and full payment of any applicable cure amounts pursuant to this ARTICLE V.C
 shall result in the full release and satisfaction of any cure amounts, Claims, or defaults, whether
 monetary or nonmonetary, including defaults of provisions restricting the change in control or
 ownership interest composition or other bankruptcy-related defaults, arising under any assumed or
 assigned Executory Contract or Unexpired Lease at any time prior to the effective date of
 assumption or assignment. Any and all Proofs of Claim based upon Executory Contracts or
 Unexpired Leases that have been assumed or assigned in the Chapter 11 Case, including pursuant
 to the Confirmation Order, and for which any cure amounts have been fully paid pursuant to this
 ARTICLE V.C, shall be deemed disallowed and expunged as of the Confirmation Date without
 the need for any objection thereto or any further notice to or action, order, or approval of the
 Bankruptcy Court.



 000516                                          38
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 136 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 520 of 852 PageID 2425



                                     ARTICLE VI.
                          PROVISIONS GOVERNING DISTRIBUTIONS

 A.       Dates of Distributions

          Except as otherwise provided in this Plan, on the Effective Date or as soon as reasonably
 practicable thereafter (or if a Claim is not an Allowed Claim or Equity Interest on the Effective
 Date, on the date that such Claim or Equity Interest becomes an Allowed Claim or Equity Interest,
 or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim or Equity
 Interest against the Debtor shall receive the full amount of the distributions that this Plan provides
 for Allowed Claims or Allowed Equity Interests in the applicable Class and in the manner provided
 herein. If any payment or act under this Plan is required to be made or performed on a date that is
 not on a Business Day, then the making of such payment or the performance of such act may be
 completed on the next succeeding Business Day, but shall be deemed to have been completed as
 of the required date. If and to the extent there are Disputed Claims or Equity Interests, distributions
 on account of any such Disputed Claims or Equity Interests shall be made pursuant to the
 provisions provided in this Plan. Except as otherwise provided in this Plan, Holders of Claims and
 Equity Interests shall not be entitled to interest, dividends or accruals on the distributions provided
 for therein, regardless of whether distributions are delivered on or at any time after the Effective
 Date.

         Upon the Effective Date, all Claims and Equity Interests against the Debtor shall be deemed
 fixed and adjusted pursuant to this Plan and none of the Debtor, the Reorganized Debtor, or the
 Claimant Trust will have liability on account of any Claims or Equity Interests except as set forth
 in this Plan and in the Confirmation Order. All payments and all distributions made by the
 Distribution Agent under this Plan shall be in full and final satisfaction, settlement and release of
 all Claims and Equity Interests against the Debtor and the Reorganized Debtor.

         At the close of business on the Distribution Record Date, the transfer ledgers for the Claims
 against the Debtor and the Equity Interests in the Debtor shall be closed, and there shall be no
 further changes in the record holders of such Claims and Equity Interests. The Debtor, the
 Reorganized Debtor, the Trustees, and the Distribution Agent, and each of their respective agents,
 successors, and assigns shall have no obligation to recognize the transfer of any Claims against the
 Debtor or Equity Interests in the Debtor occurring after the Distribution Record Date and shall be
 entitled instead to recognize and deal for all purposes hereunder with only those record holders
 stated on the transfer ledgers as of the close of business on the Distribution Record Date
 irrespective of the number of distributions to be made under this Plan to such Persons or the date
 of such distributions.

 B.       Distribution Agent

        Except as provided herein, all distributions under this Plan shall be made by the Claimant
 Trustee, as Distribution Agent, or by such other Entity designated by the Claimant Trustee, as a
 Distribution Agent on the Effective Date or thereafter. The Reorganized Debtor will be the
 Distribution Agent with respect to Claims in Class 1 through Class 7.




 000517                                            39
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 137 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 521 of 852 PageID 2426



        The Claimant Trustee, or such other Entity designated by the Claimant Trustee to be the
 Distribution Agent, shall not be required to give any bond or surety or other security for the
 performance of such Distribution Agent’s duties unless otherwise ordered by the Bankruptcy
 Court.

        The Distribution Agent shall be empowered to (a) effect all actions and execute all
 agreements, instruments, and other documents necessary to perform its duties under this Plan;
 (b) make all distributions contemplated hereby; (c) employ professionals to represent it with
 respect to its responsibilities; and (d) exercise such other powers as may be vested in the
 Distribution Agent by order of the Bankruptcy Court, pursuant to this Plan, or as deemed by the
 Distribution Agent to be necessary and proper to implement the provisions hereof.

         The Distribution Agent shall not have any obligation to make a particular distribution to a
 specific Holder of an Allowed Claim if such Holder is also the Holder of a Disputed Claim.

 C.       Cash Distributions

        Distributions of Cash may be made by wire transfer from a domestic bank, except that Cash
 payments made to foreign creditors may be made in such funds and by such means as the
 Distribution Agent determines are necessary or customary in a particular foreign jurisdiction.

 D.       Disputed Claims Reserve

        On or prior to the Initial Distribution Date, the Claimant Trustee shall establish, fund and
 maintain the Disputed Claims Reserve(s) in the appropriate Disputed Claims Reserve Amounts on
 account of any Disputed Claims.

 E.       Distributions from the Disputed Claims Reserve

         The Disputed Claims Reserve shall at all times hold Cash in an amount no less than the
 Disputed Claims Reserve Amount. To the extent a Disputed Claim becomes an Allowed Claim
 pursuant to the terms of this Plan, within 30 days of the date on which such Disputed Claim
 becomes an Allowed Claim pursuant to the terms of this Plan, the Claimant Trustee shall distribute
 from the Disputed Claims Reserve to the Holder thereof any prior distributions, in Cash, that would
 have been made to such Allowed Claim if it had been Allowed as of the Effective Date. For the
 avoidance of doubt, each Holder of a Disputed Claim that subsequently becomes an Allowed
 Claim will also receive its Pro Rata share of the Claimant Trust Interests. If, upon the resolution
 of all Disputed Claims any Cash remains in the Disputed Claims Reserve, such Cash shall be
 transferred to the Claimant Trust and be deemed a Claimant Trust Asset.

 F.       Rounding of Payments

         Whenever this Plan would otherwise call for, with respect to a particular Person, payment
 of a fraction of a dollar, the actual payment or distribution shall reflect a rounding of such fraction
 to the nearest whole dollar (up or down), with half dollars being rounded down. To the extent that
 Cash to be distributed under this Plan remains undistributed as a result of the aforementioned
 rounding, such Cash or stock shall be treated as “Unclaimed Property” under this Plan.




 000518                                            40
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 138 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 522 of 852 PageID 2427



 G.       De Minimis Distribution

         Except as to any Allowed Claim that is Unimpaired under this Plan, none of the Debtor,
 the Reorganized Debtor, or the Distribution Agent shall have any obligation to make any Plan
 Distributions with a value of less than $100, unless a written request therefor is received by the
 Distribution Agent from the relevant recipient at the addresses set forth in ARTICLE VI.J hereof
 within 120 days after the later of the (i) Effective Date and (ii) the date such Claim becomes an
 Allowed Claim. De minimis distributions for which no such request is timely received shall revert
 to the Claimant Trust. Upon such reversion, the relevant Allowed Claim (and any Claim on
 account of missed distributions) shall be automatically deemed satisfied, discharged and forever
 barred, notwithstanding any federal or state escheat laws to the contrary.

 H.       Distributions on Account of Allowed Claims

          Except as otherwise agreed by the Holder of a particular Claim or as provided in this Plan,
 all distributions shall be made pursuant to the terms of this Plan and the Confirmation Order.
 Except as otherwise provided in this Plan, distributions to any Holder of an Allowed Claim shall,
 to the extent applicable, be allocated first to the principal amount of any such Allowed Claim, as
 determined for U.S. federal income tax purposes and then, to the extent the consideration exceeds
 such amount, to the remainder of such Claim comprising accrued but unpaid interest, if any (but
 solely to the extent that interest is an allowable portion of such Allowed Claim).

 I.       General Distribution Procedures

         The Distribution Agent shall make all distributions of Cash or other property required
 under this Plan, unless this Plan specifically provides otherwise. All Cash and other property held
 by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, for ultimate
 distribution under this Plan shall not be subject to any claim by any Person.

 J.       Address for Delivery of Distributions

         Distributions to Holders of Allowed Claims, to the extent provided for under this Plan,
 shall be made (1) at the addresses set forth in any written notices of address change delivered to
 the Debtor and the Distribution Agent; (2) at the address set forth on any Proofs of Claim Filed by
 such Holders (to the extent such Proofs of Claim are Filed in the Chapter 11 Case), (2), or (3) at
 the addresses in the Debtor’s books and records.

         If there is any conflict or discrepancy between the addresses set forth in (1) through (3) in
 the foregoing sentence, then (i) the address in Section (2) shall control; (ii) if (2) does not apply,
 the address in (1) shall control, and (iii) if (1) does not apply, the address in (3) shall control.

 K.       Undeliverable Distributions and Unclaimed Property

         If the distribution to the Holder of any Allowed Claim is returned to the Reorganized
 Debtor or the Claimant Trust as undeliverable, no further distribution shall be made to such Holder,
 and Distribution Agent shall not have any obligation to make any further distribution to the Holder,
 unless and until the Distribution Agent is notified in writing of such Holder’s then current address.




 000519                                           41
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 139 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 523 of 852 PageID 2428



         Any Entity that fails to claim any Cash within six months from the date upon which a
 distribution is first made to such Entity shall forfeit all rights to any distribution under this Plan
 and such Cash shall thereafter be deemed an Claimant Trust Asset in all respects and for all
 purposes. Entities that fail to claim Cash shall forfeit their rights thereto and shall have no claim
 whatsoever against the Debtor’s Estate, the Reorganized Debtor, the Claimant Trust, or against
 any Holder of an Allowed Claim to whom distributions are made by the Distribution Agent.

 L.       Withholding Taxes

         In connection with this Plan, to the extent applicable, the Distribution Agent shall comply
 with all tax withholding and reporting requirements imposed on them by any Governmental Unit,
 and all distributions made pursuant to this Plan shall be subject to such withholding and reporting
 requirements. The Distribution Agent shall be entitled to deduct any U.S. federal, state or local
 withholding taxes from any Cash payments made with respect to Allowed Claims, as appropriate.
 As a condition to receiving any distribution under this Plan, the Distribution Agent may require
 that the Holder of an Allowed Claim entitled to receive a distribution pursuant to this Plan provide
 such Holder’s taxpayer identification number and such other information and certification as may
 be deemed necessary for the Distribution Agent to comply with applicable tax reporting and
 withholding laws. If a Holder fails to comply with such a request within one year, such distribution
 shall be deemed an unclaimed distribution. Any amounts withheld pursuant hereto shall be deemed
 to have been distributed to and received by the applicable recipient for all purposes of this Plan.

 M.       Setoffs

         The Distribution Agent may, to the extent permitted under applicable law, set off against
 any Allowed Claim and any distributions to be made pursuant to this Plan on account of such
 Allowed Claim, the claims, rights and causes of action of any nature that the Debtor, the
 Reorganized Debtor, or the Distribution Agent may hold against the Holder of such Allowed Claim
 that are not otherwise waived, released or compromised in accordance with this Plan; provided,
 however, that neither such a setoff nor the allowance of any Claim hereunder shall constitute a
 waiver or release by the Debtor, the Reorganized Debtor, or the Claimant Trustee of any such
 claims, rights and causes of action that the Debtor, the Reorganized Debtor, or Claimant Trustee
 possesses against such Holder. Any Holder of an Allowed Claim subject to such setoff reserves
 the right to challenge any such setoff in the Bankruptcy Court or any other court with jurisdiction
 with respect to such challenge.

 N.       Surrender of Cancelled Instruments or Securities

        As a condition precedent to receiving any distribution pursuant to this Plan on account of
 an Allowed Claim evidenced by negotiable instruments, securities, or notes canceled pursuant to
 ARTICLE IV of this Plan, the Holder of such Claim will tender the applicable negotiable
 instruments, securities, or notes evidencing such Claim (or a sworn affidavit identifying the
 negotiable instruments, securities, or notes formerly held by such Holder and certifying that they
 have been lost), to the Distribution Agent unless waived in writing by the Distribution Agent.




 000520                                           42
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 140 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 524 of 852 PageID 2429



 O.       Lost, Stolen, Mutilated or Destroyed Securities

         In addition to any requirements under any applicable agreement and applicable law, any
 Holder of a Claim or Equity Interest evidenced by a security or note that has been lost, stolen,
 mutilated, or destroyed will, in lieu of surrendering such security or note to the extent required by
 this Plan, deliver to the Distribution Agent: (i) evidence reasonably satisfactory to the Distribution
 Agent of such loss, theft, mutilation, or destruction; and (ii) such security or indemnity as may be
 required by the Distribution Agent to hold such party harmless from any damages, liabilities, or
 costs incurred in treating such individual as a Holder of an Allowed Claim or Equity Interest.
 Upon compliance with ARTICLE VI.O of this Plan as determined by the Distribution Agent, by a
 Holder of a Claim evidenced by a security or note, such Holder will, for all purposes under this
 Plan, be deemed to have surrendered such security or note to the Distribution Agent.

                                   ARTICLE VII.
                        PROCEDURES FOR RESOLVING CONTINGENT,
                          UNLIQUIDATED AND DISPUTED CLAIMS

 A.       Filing of Proofs of Claim

        Unless such Claim appeared in the Schedules and is not listed as disputed, contingent, or
 unliquidated, or such Claim has otherwise been Allowed or paid, each Holder of a Claim was
 required to file a Proof of Claim on or prior to the Bar Date.

 B.       Disputed Claims

         Following the Effective Date, each of the Reorganized Debtor or the Claimant Trustee, as
 applicable, may File with the Bankruptcy Court an objection to the allowance of any Disputed
 Claim or Disputed Equity Interest, request the Bankruptcy Court subordinate any Claims to
 Subordinated Claims, or any other appropriate motion or adversary proceeding with respect to the
 foregoing by the Claims Objection Deadline or, at the discretion of the Reorganized Debtor or
 Claimant Trustee, as applicable, compromised, settled, withdrew or resolved without further order
 of the Bankruptcy Court, and (ii) unless otherwise provided in the Confirmation Order, the
 Reorganized Debtor or the Claimant Trust, as applicable, are authorized to settle, or withdraw any
 objections to, any Disputed Claim or Disputed Equity Interests following the Effective Date
 without further notice to creditors (other than the Entity holding such Disputed Claim or Disputed
 Equity Interest) or authorization of the Bankruptcy Court, in which event such Claim or Equity
 Interest shall be deemed to be an Allowed Claim or Equity Interest in the amount compromised
 for purposes of this Plan.

 C.       Procedures Regarding Disputed Claims or Disputed Equity Interests

         No payment or other distribution or treatment shall be made on account of a Disputed
 Claim or Disputed Equity Interest unless and until such Disputed Claim or Disputed Equity Interest
 becomes an Allowed Claim or Equity Interests and the amount of such Allowed Claim or Equity
 Interest, as applicable, is determined by order of the Bankruptcy Court or by stipulation between
 the Reorganized Debtor or Claimant Trust, as applicable, and the Holder of the Claim or Equity
 Interest.



 000521                                           43
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 141 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 525 of 852 PageID 2430



 D.       Allowance of Claims and Equity Interests

         Following the date on which a Disputed Claim or Disputed Equity Interest becomes an
 Allowed Claim or Equity Interest after the Distribution Date, the Distribution Agent shall make a
 distribution to the Holder of such Allowed Claim or Equity Interest in accordance with the Plan.

          1.    Allowance of Claims

         After the Effective Date and subject to the other provisions of this Plan, the Reorganized
 Debtor or the Claimant Trust, as applicable, will have and will retain any and all rights and
 defenses under bankruptcy or nonbankruptcy law that the Debtor had with respect to any Claim.
 Except as expressly provided in this Plan or in any order entered in the Chapter 11 Case prior to
 the Effective Date (including, without limitation, the Confirmation Order), no Claim or Equity
 Interest will become an Allowed Claim or Equity Interest unless and until such Claim or Equity
 Interest is deemed Allowed under this Plan or the Bankruptcy Code or the Bankruptcy Court has
 entered an order, including, without limitation, the Confirmation Order, in the Chapter 11 Case
 allowing such Claim or Equity Interest.

          2.    Estimation

          Subject to the other provisions of this Plan, the Debtor, prior to the Effective Date, and the
 Reorganized Debtor or the Claimant Trustee, as applicable, after the Effective Date, may, at any
 time, request that the Bankruptcy Court estimate (a) any Disputed Claim or Disputed Equity
 Interest pursuant to applicable law and in accordance with this Plan and (b) any contingent or
 unliquidated Claim pursuant to applicable law, including, without limitation, section 502(c) of the
 Bankruptcy Code, and the Bankruptcy Court will retain jurisdiction under 28 U.S.C. §§ 157 and
 1334 to estimate any Disputed Claim or Disputed Equity Interest, contingent Claim or unliquidated
 Claim, including during the litigation concerning any objection to any Claim or Equity Interest or
 during the pendency of any appeal relating to any such objection. All of the aforementioned
 objection, estimation and resolution procedures are cumulative and not exclusive of one another.
 Claims or Equity Interests may be estimated and subsequently compromised, settled, withdrawn
 or resolved by any mechanism approved by the Bankruptcy Court. The rights and objections of
 all parties are reserved in connection with any such estimation proceeding.

          3.    Disallowance of Claims

         Any Claims or Equity Interests held by Entities from which property is recoverable under
 sections 542, 543, 550, or 553 of the Bankruptcy Code, or that are a transferee of a transfer
 avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy
 Code, shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and holders
 of such Claims or Interests may not receive any distributions on account of such Claims or Interests
 until such time as such Causes of Action against that Entity have been settled or a Bankruptcy
 Court Order with respect thereto has been entered and all sums due, if any, to the Reorganized
 Debtor or the Claimant Trust, as applicable, by that Entity have been turned over or paid to the
 Reorganized Debtor or the Claimant Trust, as applicable.

     EXCEPT AS OTHERWISE PROVIDED HEREIN OR AS AGREED TO BY THE
 DEBTOR, REORGANIZED DEBTOR, OR CLAIMANT TRUSTEE, AS APPLICABLE,


 000522                                            44
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 142 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 526 of 852 PageID 2431



 ANY AND ALL PROOFS OF CLAIM FILED AFTER THE BAR DATE SHALL BE
 DEEMED DISALLOWED AND EXPUNGED AS OF THE EFFECTIVE DATE
 WITHOUT ANY FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF
 THE BANKRUPTCY COURT, AND HOLDERS OF SUCH CLAIMS MAY NOT
 RECEIVE ANY DISTRIBUTIONS ON ACCOUNT OF SUCH CLAIMS, UNLESS SUCH
 LATE PROOF OF CLAIM HAS BEEN DEEMED TIMELY FILED BY A FINAL ORDER.

                                       ARTICLE VIII.
                                  EFFECTIVENESS OF THIS PLAN

 A.       Conditions Precedent to the Effective Date

        The Effective Date of this Plan will be conditioned upon the satisfaction or waiver by the
 Debtor (and, to the extent such condition requires the consent of the Committee, the consent of the
 Committee with such consent not to be unreasonably withheld), pursuant to the provisions of
 ARTICLE VIII.B of this Plan of the following:

          •   This Plan and the Plan Documents, including the Claimant Trust Agreement and the
              Reorganized Limited Partnership Agreement, and all schedules, documents,
              supplements and exhibits to this Plan shall have been Filed in form and substance
              reasonably acceptable to the Debtor and the Committee.

          •   The Confirmation Order shall have become a Final Order and shall be in form and
              substance reasonably acceptable to the Debtor and the Committee. The Confirmation
              Order shall provide that, among other things, (i) the Debtor, the Reorganized Debtor,
              the Claimant Trustee, or the Litigation Trustee are authorized to take all actions
              necessary or appropriate to effectuate and consummate this Plan, including, without
              limitation, (a) entering into, implementing, effectuating, and consummating the
              contracts, instruments, releases, and other agreements or documents created in
              connection with or described in this Plan, (b) assuming the Executory Contracts and
              Unexpired Leases set forth in the Plan Supplement, (c) making all distributions and
              issuances as required under this Plan; and (d) entering into any transactions as set forth
              in the Plan Documents; (ii) the provisions of the Confirmation Order and this Plan are
              nonseverable and mutually dependent; (iii) the implementation of this Plan in
              accordance with its terms is authorized; (iv) pursuant to section 1146 of the Bankruptcy
              Code, the delivery of any deed or other instrument or transfer order, in furtherance of,
              or in connection with this Plan, including any deeds, bills of sale, or assignments
              executed in connection with any disposition or transfer of Assets contemplated under
              this Plan, shall not be subject to any Stamp or Similar Tax; and (v) the vesting of the
              Claimant Trust Assets in the Claimant Trust and the Reorganized Debtor Assets in the
              Reorganized Debtor, in each case as of the Effective Date free and clear of liens and
              claims to the fullest extent permissible under applicable law pursuant to section 1141(c)
              of the Bankruptcy Code except with respect to such Liens, Claims, charges and other
              encumbrances that are specifically preserved under this Plan upon the Effective Date.

          •   All documents and agreements necessary to implement this Plan, including without
              limitation, the Reorganized Limited Partnership Agreement, the Claimant Trust



 000523                                            45
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 143 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 527 of 852 PageID 2432



              Agreement, and the New GP LLC Documents, in each case in form and substance
              reasonably acceptable to the Debtor and the Committee, shall have (a) been tendered
              for delivery, and (b) been effected by, executed by, or otherwise deemed binding upon,
              all Entities party thereto and shall be in full force and effect. All conditions precedent
              to such documents and agreements shall have been satisfied or waived pursuant to the
              terms of such documents or agreements.

          •   All authorizations, consents, actions, documents, approvals (including any
              governmental approvals), certificates and agreements necessary to implement this Plan,
              including, without limitation, the Reorganized Limited Partnership Agreement, the
              Claimant Trust Agreement, and the New GP LLC Documents, shall have been
              obtained, effected or executed and delivered to the required parties and, to the extent
              required, filed with the applicable governmental units in accordance with applicable
              laws and any applicable waiting periods shall have expired without any action being
              taken or threatened by any competent authority that would restrain or prevent
              effectiveness or consummation of the Restructuring.

          •   The Debtor shall have obtained applicable directors’ and officers’ insurance coverage
              that is acceptable to each of the Debtor, the Committee, the Claimant Trust Oversight
              Committee, the Claimant Trustee and the Litigation Trustee.

          •   The Professional Fee Reserve shall be funded pursuant to this Plan in an amount
              determined by the Debtor in good faith.

 B.       Waiver of Conditions

         The conditions to effectiveness of this Plan set forth in this ARTICLE VIII (other than that
 the Confirmation Order shall have been entered) may be waived in whole or in part by the Debtor
 (and, to the extent such condition requires the consent of the Committee, the consent of the
 Committee), without notice, leave or order of the Bankruptcy Court or any formal action other
 than proceeding to confirm or effectuate this Plan. The failure to satisfy or waive a condition to
 the Effective Date may be asserted by the Debtor regardless of the circumstances giving rise to the
 failure of such condition to be satisfied. The failure of the Debtor to exercise any of the foregoing
 rights will not be deemed a waiver of any other rights, and each right will be deemed an ongoing
 right that may be asserted at any time by the Debtor, the Reorganized Debtor, or the Claimant
 Trust, as applicable.

 C.       Dissolution of the Committee

         On the Effective Date, the Committee will dissolve, and the members of the Committee
 and the Committee’s Professionals will cease to have any role arising from or relating to the
 Chapter 11 Case, except in connection with final fee applications of Professionals for services
 rendered prior to the Effective Date (including the right to object thereto). The Professionals
 retained by the Committee and the members thereof will not be entitled to assert any fee claims
 for any services rendered to the Committee or expenses incurred in the service of the Committee
 after the Effective Date, except for reasonable fees for services rendered, and actual and necessary
 costs incurred, in connection with any applications for allowance of Professional Fees pending on



 000524                                            46
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 144 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 528 of 852 PageID 2433



 the Effective Date or filed and served after the Effective Date pursuant to the Plan. Nothing in the
 Plan shall prohibit or limit the ability of the Debtor’s or Committee’s Professionals to represent
 either of the Trustees or to be compensated or reimbursed per the Plan and the Claimant Trust
 Agreement in connection with such representation.

                                  ARTICLE IX.
                 EXCULPATION, INJUNCTION AND RELATED PROVISIONS

 A.       General

         Notwithstanding anything contained in the Plan to the contrary, the allowance,
 classification and treatment of all Allowed Claims and Equity Interests and their respective
 distributions and treatments under the Plan shall take into account the relative priority and rights
 of the Claims and the Equity Interests in each Class in connection with any contractual, legal and
 equitable subordination rights relating thereto whether arising under general principles of equitable
 subordination, section 510 of the Bankruptcy Code, or otherwise.

 B.       Discharge of Claims

         To the fullest extent provided under section 1141(d)(1)(A) and other applicable provisions
 of the Bankruptcy Code, except as otherwise expressly provided by this Plan or the Confirmation
 Order, all consideration distributed under this Plan will be in exchange for, and in complete
 satisfaction, settlement, discharge, and release of, all Claims and Equity Interests of any kind or
 nature whatsoever against the Debtor or any of its Assets or properties, and regardless of whether
 any property will have been distributed or retained pursuant to this Plan on account of such Claims
 or Equity Interests. Except as otherwise expressly provided by this Plan or the Confirmation
 Order, upon the Effective Date, the Debtor and its Estate will be deemed discharged and released
 under and to the fullest extent provided under section 1141(d)(1)(A) and other applicable
 provisions of the Bankruptcy Code from any and all Claims and Equity Interests of any kind or
 nature whatsoever, including, but not limited to, demands and liabilities that arose before the
 Confirmation Date, and all debts of the kind specified in section 502(g), 502(h), or 502(i) of the
 Bankruptcy Code.

 C.       Exculpation

         Subject in all respects to ARTICLE XII.D of this Plan, to the maximum extent permitted
 by applicable law, no Exculpated Party will have or incur, and each Exculpated Party is hereby
 exculpated from, any claim, obligation, suit, judgment, damage, demand, debt, right, Cause of
 Action, remedy, loss, and liability for conduct occurring on or after the Petition Date in connection
 with or arising out of (i) the filing and administration of the Chapter 11 Case; (ii) the negotiation
 and pursuit of the Disclosure Statement, the Plan, or the solicitation of votes for, or confirmation
 of, the Plan; (iii) the funding or consummation of the Plan (including the Plan Supplement) or any
 related agreements, instruments, or other documents, the solicitation of votes on the Plan, the offer,
 issuance, and Plan Distribution of any securities issued or to be issued pursuant to the Plan,
 including the Claimant Trust Interests, whether or not such Plan Distributions occur following the
 Effective Date; (iv) the implementation of the Plan; and (v) any negotiations, transactions, and
 documentation in connection with the foregoing clauses (i)-(iv); provided, however, the foregoing



 000525                                           47
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 145 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 529 of 852 PageID 2434



 will not apply to (a) any acts or omissions of an Exculpated Party arising out of or related to acts
 or omissions that constitute bad faith, fraud, gross negligence, criminal misconduct, or willful
 misconduct or (b) Strand or any Employee other than with respect to actions taken by such Entities
 from the date of appointment of the Independent Directors through the Effective Date. This
 exculpation shall be in addition to, and not in limitation of, all other releases, indemnities,
 exculpations, any other applicable law or rules, or any other provisions of this Plan, including
 ARTICLE IV.C.2, protecting such Exculpated Parties from liability.

 D.       Releases by the Debtor

         On and after the Effective Date, each Released Party is deemed to be, hereby conclusively,
 absolutely, unconditionally, irrevocably, and forever released and discharged by the Debtor and
 the Estate, in each case on behalf of themselves and their respective successors, assigns, and
 representatives, including, but not limited to, the Claimant Trust and the Litigation Sub-Trust from
 any and all Causes of Action, including any derivative claims, asserted on behalf of the Debtor,
 whether known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter
 arising, in law, equity, contract, tort or otherwise, that the Debtor or the Estate would have been
 legally entitled to assert in their own right (whether individually or collectively) or on behalf of
 the holder of any Claim against, or Interest in, a Debtor or other Person.

         Notwithstanding anything contained herein to the contrary, the foregoing release does not
 release: (i) any obligations of any party under the Plan or any document, instrument, or agreement
 executed to implement the Plan, (ii) the rights or obligations of any current employee of the Debtor
 under any employment agreement or plan, (iii) the rights of the Debtor with respect to any
 confidentiality provisions or covenants restricting competition in favor of the Debtor under any
 employment agreement with a current or former employee of the Debtor, (iv) any Avoidance
 Actions, or (v) any Causes of Action arising from willful misconduct, criminal misconduct, actual
 fraud, or gross negligence of such applicable Released Party as determined by Final Order of the
 Bankruptcy Court or any other court of competent jurisdiction.

          Notwithstanding anything herein to the contrary, any release provided pursuant to this
 ARTICLE IX.D (i) with respect to a Senior Employee, is conditioned in all respects on (a) such
 Senior Employee executing a Senior Employee Stipulation on or prior to the Effective Date and
 (b) the reduction of such Senior Employee’s Allowed Claim as set forth in the Senior Employee
 Stipulation (such amount, the “Reduced Employee Claim”), and (ii) with respect to any Employee,
 including a Senior Employee, shall be deemed null and void and of no force and effect (1) if there
 is more than one member of the Claimant Trust Oversight Committee who does not represent
 entities holding a Disputed or Allowed Claim (the “Independent Members”), the Claimant Trustee
 and the Independent Members by majority vote determine or (2) if there is only one Independent
 Member, the Independent Member after discussion with the Claimant Trustee, determines (in each
 case after discussing with the full Claimant Trust Oversight Committee) that such Employee
 (regardless of whether the Employee is then currently employed by the Debtor, the Reorganized
 Debtor, or the Claimant Trustee):

          •   sues, attempts to sue, or threatens or works with or assists any entity or person to sue,
              attempt to sue, or threaten the Reorganized Debtor, the Claimant Trust, the Litigation




 000526                                            48
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 146 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 530 of 852 PageID 2435



               Sub-Trust, or any of their respective employees or agents, or any Released Party on or
               in connection with any claim or cause of action arising prior to the Effective Date,

          •    has taken any action that, impairs or harms the value of the Claimant Trust Assets or
               the Reorganized Debtor Assets, or

          •    (x) upon the request of the Claimant Trustee, has failed to provide reasonable assistance
               in good faith to the Claimant Trustee or the Reorganized Debtor with respect to (1) the
               monetization of the Claimant Trust Assets or Reorganized Debtor Assets, as applicable,
               or (2) the resolution of Claims, or (y) has taken any action that impedes or frustrates
               the Claimant Trustee or the Reorganized Debtor with respect to any of the foregoing.

 Provided, however, that the release provided pursuant to this ARTICLE IX.D will vest and the
 Employee will be indefeasibly released pursuant to this ARTICLE IX.D if such Employee’s
 release has not been deemed null and void and of no force and effect on or prior to the date that is
 the date of dissolution of the Claimant Trust pursuant to the Claimant Trust Agreement.

       By executing the Senior Employee Stipulation embodying this release, each Senior
 Employee acknowledges and agrees, without limitation, to the terms of this release and the tolling
 agreement contained in the Senior Employee Stipulation.

        The provisions of this release and the execution of a Senior Employee Stipulation will not
 in any way prevent or limit any Employee from (i) prosecuting its Claims, if any, against the
 Debtor’s Estate, (ii) defending him or herself against any claims or causes of action brought against
 the Employee by a third party, or (iii) assisting other persons in defending themselves from any
 Estate Claims brought by the Litigation Trustee (but only with respect to Estate Claims brought
 by the Litigation Trustee and not collection or other actions brought by the Claimant Trustee).

 E.       Preservation of Rights of Action

          1.      Maintenance of Causes of Action

         Except as otherwise provided in this Plan, after the Effective Date, the Reorganized Debtor
 or the Claimant Trust will retain all rights to commence, pursue, litigate or settle, as appropriate,
 any and all Causes of Action included in the Reorganized Debtor Assets or Claimant Trust Assets,
 as applicable, whether existing as of the Petition Date or thereafter arising, in any court or other
 tribunal including, without limitation, in an adversary proceeding Filed in the Chapter 11 Case
 and, as the successors in interest to the Debtor and the Estate, may, and will have the exclusive
 right to, enforce, sue on, settle, compromise, transfer or assign (or decline to do any of the
 foregoing) any or all of the Causes of Action without notice to or approval from the Bankruptcy
 Court.

          2.      Preservation of All Causes of Action Not Expressly Settled or Released

         Unless a Cause of Action against a Holder of a Claim or an Equity Interest or other Entity
 is expressly waived, relinquished, released, compromised or settled in this Plan or any Final Order
 (including, without limitation, the Confirmation Order), such Cause of Action is expressly reserved
 for later adjudication by the Reorganized Debtor or Claimant Trust, as applicable (including,


 000527                                             49
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 147 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 531 of 852 PageID 2436



 without limitation, Causes of Action not specifically identified or of which the Debtor may
 presently be unaware or that may arise or exist by reason of additional facts or circumstances
 unknown to the Debtor at this time or facts or circumstances that may change or be different from
 those the Debtor now believes to exist) and, therefore, no preclusion doctrine, including, without
 limitation, the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,
 waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such Causes of Action as
 a consequence of the confirmation, effectiveness, or consummation of this Plan based on the
 Disclosure Statement, this Plan or the Confirmation Order, except where such Causes of Action
 have been expressly released in this Plan or any other Final Order (including, without limitation,
 the Confirmation Order). In addition, the right of the Reorganized Debtor or the Claimant Trust
 to pursue or adopt any claims alleged in any lawsuit in which the Debtor is a plaintiff, defendant
 or an interested party, against any Entity, including, without limitation, the plaintiffs or co-
 defendants in such lawsuits, is expressly reserved.

 F.       Injunction

        Upon entry of the Confirmation Order, all Enjoined Parties are and shall be
 permanently enjoined, on and after the Effective Date, from taking any actions to interfere
 with the implementation or consummation of the Plan.

         Except as expressly provided in the Plan, the Confirmation Order, or a separate order
 of the Bankruptcy Court, all Enjoined Parties are and shall be permanently enjoined, on and
 after the Effective Date, with respect to any Claims and Equity Interests, from directly or
 indirectly (i) commencing, conducting, or continuing in any manner any suit, action, or other
 proceeding of any kind (including any proceeding in a judicial, arbitral, administrative or
 other forum) against or affecting the Debtor or the property of the Debtor, (ii) enforcing,
 levying, attaching (including any prejudgment attachment), collecting, or otherwise
 recovering, enforcing, or attempting to recover or enforce, by any manner or means, any
 judgment, award, decree, or order against the Debtor or the property of the Debtor, (iii)
 creating, perfecting, or otherwise enforcing in any manner, any security interest, lien or
 encumbrance of any kind against the Debtor or the property of the Debtor, (iv) asserting any
 right of setoff, directly or indirectly, against any obligation due to the Debtor or against
 property or interests in property of the Debtor, except to the limited extent permitted under
 Sections 553 and 1141 of the Bankruptcy Code, and (v) acting or proceeding in any manner,
 in any place whatsoever, that does not conform to or comply with the provisions of the Plan.

         The injunctions set forth herein shall extend to, and apply to any act of the type set
 forth in any of clauses (i)-(v) of the immediately preceding paragraph against any successors
 of the Debtor, including, but not limited to, the Reorganized Debtor, the Litigation Sub-
 Trust, and the Claimant Trust and their respective property and interests in property.

        Subject in all respects to ARTICLE XII.D, no Enjoined Party may commence or
 pursue a claim or cause of action of any kind against any Protected Party that arose or arises
 from or is related to the Chapter 11 Case, the negotiation of the Plan, the administration of
 the Plan or property to be distributed under the Plan, the wind down of the business of the
 Debtor or Reorganized Debtor, the administration of the Claimant Trust or the Litigation
 Sub-Trust, or the transactions in furtherance of the foregoing without the Bankruptcy Court



 000528                                          50
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 148 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 532 of 852 PageID 2437



 (i) first determining, after notice and a hearing, that such claim or cause of action represents
 a colorable claim of any kind, including, but not limited to, negligence, bad faith, criminal
 misconduct, willful misconduct, fraud, or gross negligence against a Protected Party and (ii)
 specifically authorizing such Enjoined Party to bring such claim or cause of action against
 any such Protected Party; provided, however, the foregoing will not apply to a claim or cause
 of action against Strand or against any Employee other than with respect to actions taken,
 respectively, by Strand or by such Employee from the date of appointment of the
 Independent Directors through the Effective Date. The Bankruptcy Court will have sole and
 exclusive jurisdiction to determine whether a claim or cause of action is colorable and, only
 to the extent legally permissible and as provided for in ARTICLE XI, shall have jurisdiction
 to adjudicate the underlying colorable claim or cause of action.

 G.       Duration of Injunctions and Stays

         ARTICLE II. Unless otherwise provided in this Plan, in the Confirmation Order, or
 in a Final Order of the Bankruptcy Court, (i) all injunctions and stays entered during the
 Chapter 11 Case and in existence on the Confirmation Date shall remain in full force and
 effect in accordance with their terms; and (ii) the automatic stay arising under section 362
 of the Bankruptcy Code shall remain in full force and effect subject to Section 362(c) of the
 Bankruptcy Code, and to the extent necessary if the Debtor does not receive a discharge, the
 Court will enter an equivalent order under Section 105.

 H.       Continuance of January 9 Order

        Unless otherwise provided in this Plan, in the Confirmation Order, or in a Final Order of
 the Bankruptcy Court, the restrictions set forth in paragraphs 9 and 10 of the Order Approving
 Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor
 and Procedures for Operations in the Ordinary Course, entered by the Bankruptcy Court on
 January 9, 2020 [D.I. 339] shall remain in full force and effect following the Effective Date.



                                        ARTICLE X.
                                   BINDING NATURE OF PLAN

         On the Effective Date, and effective as of the Effective Date, the Plan, including, without
 limitation, the provisions in ARTICLE IX, will bind, and will be deemed binding upon, all Holders
 of Claims against and Equity Interests in the Debtor and such Holder’s respective successors and
 assigns, to the maximum extent permitted by applicable law, notwithstanding whether or not such
 Holder will receive or retain any property or interest in property under the Plan. All Claims and
 Debts shall be fixed and adjusted pursuant to this Plan. The Plan shall also bind any taxing
 authority, recorder of deeds, or similar official for any county, state, Governmental Unit or parish
 in which any instrument related to the Plan or related to any transaction contemplated thereby is
 to be recorded with respect to nay taxes of the kind specified in Bankruptcy Code section 1146(a).




 000529                                          51
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 149 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 533 of 852 PageID 2438



                                       ARTICLE XI.
                                  RETENTION OF JURISDICTION

         Pursuant to sections 105 and 1142 of the Bankruptcy Code and notwithstanding the entry
 of the Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court shall,
 after the Effective Date, retain such jurisdiction over the Chapter 11 Case and all Entities with
 respect to all matters related to the Chapter 11 Case, the Reorganized Debtor, the Claimant Trust,
 and this Plan to the maximum extent legally permissible, including, without limitation, jurisdiction
 to:

          •   allow, disallow, determine, liquidate, classify, estimate or establish the priority,
              secured, unsecured, or subordinated status of any Claim or Equity Interest, including,
              without limitation, the resolution of any request for payment of any Administrative
              Expense Claim and the resolution of any and all objections to the allowance or priority
              of any Claim or Equity Interest;

          •   grant or deny any applications for allowance of compensation or reimbursement of
              expenses authorized pursuant to the Bankruptcy Code or this Plan, for periods ending
              on or before the Effective Date; provided, however, that, from and after the Effective
              Date, the Reorganized Debtor shall pay Professionals in the ordinary course of business
              for any work performed after the Effective Date subject to the terms of this Plan and
              the Confirmation Order, and such payment shall not be subject to the approval of the
              Bankruptcy Court;

          •   resolve any matters related to the assumption, assignment or rejection of any Executory
              Contract or Unexpired Lease to which the Debtor is party or with respect to which the
              Debtor, Reorganized Debtor, or Claimant Trust may be liable and to adjudicate and, if
              necessary, liquidate, any Claims arising therefrom, including, without limitation, any
              dispute regarding whether a contract or lease is or was executory or expired;

          •   make any determination with respect to a claim or cause of action against a Protected
              Party as set forth in ARTICLE IX;

          •   resolve any claim or cause of action against an Exculpated Party or Protected Party
              arising from or related to the Chapter 11 Case, the negotiation of this Plan, the
              administration of the Plan or property to be distributed under the Plan, the wind down
              of the business of the Debtor or Reorganized Debtor, or the transactions in furtherance
              of the foregoing;

          •   if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
              and allow any sale, disposition, assignment or other transfer of the Reorganized Debtor
              Assets or Claimant Trust Assets, including any break-up compensation or expense
              reimbursement that may be requested by a purchaser thereof; provided, however, that
              neither the Reorganized Debtor nor the Claimant Trustee shall be required to seek such
              authority or approval from the Bankruptcy Court unless otherwise specifically required
              by this Plan or the Confirmation Order;




 000530                                           52
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 150 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 534 of 852 PageID 2439



          •   if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
              and allow any borrowing or the incurrence of indebtedness, whether secured or
              unsecured by the Reorganized Debtor or Claimant Trust; provided, however, that
              neither the Reorganized Debtor nor the Claimant Trustee shall be required to seek such
              authority or approval from the Bankruptcy Court unless otherwise specifically required
              by this Plan or the Confirmation Order;

          •   resolve any issues related to any matters adjudicated in the Chapter 11 Case;

          •   ensure that distributions to Holders of Allowed Claims and Allowed Equity Interests
              are accomplished pursuant to the provisions of this Plan;

          •   decide or resolve any motions, adversary proceedings, contested or litigated matters
              and any other Causes of Action (including Estate Claims) that are pending as of the
              Effective Date or that may be commenced in the future, including approval of any
              settlements, compromises, or other resolutions as may be requested by the Debtor, the
              Reorganized Debtor, the Claimant Trustee, or the Litigation Trustee whether under
              Bankruptcy Rule 9019 or otherwise, and grant or deny any applications involving the
              Debtor that may be pending on the Effective Date or instituted by the Reorganized
              Debtor, the Claimant Trustee, or Litigation Trustee after the Effective Date, provided
              that the Reorganized Debtor, the Claimant Trustee, and the Litigation Trustee shall
              reserve the right to commence actions in all appropriate forums and jurisdictions;

          •   enter such orders as may be necessary or appropriate to implement, effectuate, or
              consummate the provisions of this Plan, the Plan Documents, and all other contracts,
              instruments, releases, and other agreements or documents adopted in connection with
              this Plan, the Plan Documents, or the Disclosure Statement;

          •   resolve any cases, controversies, suits or disputes that may arise in connection with the
              implementation, effectiveness, consummation, interpretation, or enforcement of this
              Plan or any Entity’s obligations incurred in connection with this Plan;

          •   issue injunctions and enforce them, enter and implement other orders or take such other
              actions as may be necessary or appropriate to restrain interference by any Entity with
              implementation, effectiveness, consummation, or enforcement of this Plan, except as
              otherwise provided in this Plan;

          •   enforce the terms and conditions of this Plan and the Confirmation Order;

          •   resolve any cases, controversies, suits or disputes with respect to the release,
              exculpation, indemnification, and other provisions contained herein and enter such
              orders or take such others actions as may be necessary or appropriate to implement or
              enforce all such releases, injunctions and other provisions;

          •   enter and implement such orders or take such others actions as may be necessary or
              appropriate if the Confirmation Order is modified, stayed, reversed, revoked or
              vacated;



 000531                                            53
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 151 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 535 of 852 PageID 2440



          •   resolve any other matters that may arise in connection with or relate to this Plan, the
              Disclosure Statement, the Confirmation Order, the Plan Documents, or any contract,
              instrument, release, indenture or other agreement or document adopted in connection
              with this Plan or the Disclosure Statement; and

          •   enter an order concluding or closing the Chapter 11 Case after the Effective Date.

                                       ARTICLE XII.
                                  MISCELLANEOUS PROVISIONS

 A.       Payment of Statutory Fees and Filing of Reports

         All outstanding Statutory Fees shall be paid on the Effective Date. All such fees payable,
 and all such fees that become due and payable, after the Effective Date shall be paid by the
 Reorganized Debtor when due or as soon thereafter as practicable until the Chapter 11 Case is
 closed, converted, or dismissed. The Claimant Trustee shall File all quarterly reports due prior to
 the Effective Date when they become due, in a form reasonably acceptable to the U.S. Trustee.
 After the Effective Date, the Claimant Trustee shall File with the Bankruptcy Court quarterly
 reports when they become due, in a form reasonably acceptable to the U.S. Trustee. The
 Reorganized Debtor shall remain obligated to pay Statutory Fees to the Office of the U.S. Trustee
 until the earliest of the Debtor’s case being closed, dismissed, or converted to a case under chapter
 7 of the Bankruptcy Code.

 B.       Modification of Plan

         Effective as of the date hereof and subject to the limitations and rights contained in this
 Plan: (a) the Debtor reserves the right, in accordance with the Bankruptcy Code and the
 Bankruptcy Rules, to amend or modify this Plan prior to the entry of the Confirmation Order with
 the consent of the Committee, such consent not to be unreasonably withheld; and (b) after the entry
 of the Confirmation Order, the Debtor may, after notice and hearing and entry of an order of the
 Bankruptcy Court, amend or modify this Plan, in accordance with section 1127(b) of the
 Bankruptcy Code or remedy any defect or omission or reconcile any inconsistency in this Plan in
 such manner as may be necessary to carry out the purpose and intent of this Plan.

 C.       Revocation of Plan

         The Debtor reserves the right to revoke or withdraw this Plan prior to the Confirmation
 Date and to File a subsequent chapter 11 plan with the consent of the Committee. If the Debtor
 revokes or withdraws this Plan prior to the Confirmation Date, then: (i) this Plan shall be null and
 void in all respects; (ii) any settlement or compromise embodied in this Plan, assumption of
 Executory Contracts or Unexpired Leases effected by this Plan and any document or agreement
 executed pursuant hereto shall be deemed null and void except as may be set forth in a separate
 order entered by the Bankruptcy Court; and (iii) nothing contained in this Plan shall: (a) constitute
 a waiver or release of any Claims by or against, or any Equity Interests in, the Debtor or any other
 Entity; (b) prejudice in any manner the rights of the Debtor or any other Entity; or (c) constitute
 an admission, acknowledgement, offer or undertaking of any sort by the Debtor or any other Entity.




 000532                                           54
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 152 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 536 of 852 PageID 2441



 D.       Obligations Not Changed

         Notwithstanding anything in this Plan to the contrary, nothing herein will affect or
 otherwise limit or release any non-Debtor Entity’s (including any Exculpated Party’s) duties or
 obligations, including any contractual and indemnification obligations, to the Debtor, the
 Reorganized Debtor, or any other Entity whether arising under contract, statute, or otherwise.

 E.       Entire Agreement

        Except as otherwise described herein, this Plan supersedes all previous and
 contemporaneous negotiations, promises, covenants, agreements, understandings, and
 representations on such subjects, all of which have become merged and integrated into this Plan.

 F.       Closing of Chapter 11 Case

        The Claimant Trustee shall, after the Effective Date and promptly after the full
 administration of the Chapter 11 Case, File with the Bankruptcy Court all documents required by
 Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close the Chapter 11
 Case.

 G.       Successors and Assigns

         This Plan shall be binding upon and inure to the benefit of the Debtor and its successors
 and assigns, including, without limitation, the Reorganized Debtor and the Claimant Trustee. The
 rights, benefits, and obligations of any Person or Entity named or referred to in this Plan shall be
 binding on, and shall inure to the benefit of, any heir, executor, administrator, successor, or assign
 of such Person or Entity.

 H.       Reservation of Rights

         Except as expressly set forth herein, this Plan shall have no force or effect unless and until
 the Bankruptcy Court enters the Confirmation Order and the Effective Date occurs. Neither the
 filing of this Plan, any statement or provision contained herein, nor the taking of any action by the
 Debtor, the Reorganized Debtor, the Claimant Trustee, or any other Entity with respect to this Plan
 shall be or shall be deemed to be an admission or waiver of any rights of: (1) the Debtor, the
 Reorganized Debtor, or the Claimant Trustee with respect to the Holders of Claims or Equity
 Interests or other Entity; or (2) any Holder of a Claim or an Equity Interest or other Entity prior to
 the Effective Date.

         Neither the exclusion or inclusion by the Debtor of any contract or lease on any exhibit,
 schedule, or other annex to this Plan or in the Plan Documents, nor anything contained in this Plan,
 will constitute an admission by the Debtor that any such contract or lease is or is not an executory
 contract or lease or that the Debtor, the Reorganized Debtor, the Claimant Trustee, or their
 respective Affiliates has any liability thereunder.

        Except as explicitly provided in this Plan, nothing herein shall waive, excuse, limit,
 diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other rights of the




 000533                                           55
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 153 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 537 of 852 PageID 2442



 Debtor, the Reorganized Debtor, or the Claimant Trustee under any executory or non-executory
 contract.

        Nothing in this Plan will increase, augment, or add to any of the duties, obligations,
 responsibilities, or liabilities of the Debtor, the Reorganized Debtor, or the Claimant Trustee, as
 applicable, under any executory or non-executory contract or lease.

         If there is a dispute regarding whether a contract or lease is or was executory at the time of
 its assumption under this Plan, the Debtor, the Reorganized Debtor, or the Claimant Trustee, as
 applicable, shall have thirty (30) days following entry of a Final Order resolving such dispute to
 alter their treatment of such contract.

 I.       Further Assurances

         The Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, all Holders of
 Claims and Equity Interests receiving distributions hereunder, and all other Entities shall, from
 time to time, prepare, execute and deliver any agreements or documents and take any other actions
 as may be necessary or advisable to effectuate the provisions and intent of this Plan or the
 Confirmation Order. On or before the Effective Date, the Debtor shall File with the Bankruptcy
 Court all agreements and other documents that may be necessary or appropriate to effectuate and
 further evidence the terms and conditions hereof.

 J.       Severability

          If, prior to the Confirmation Date, any term or provision of this Plan is determined by the
 Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court will have the power
 to alter and interpret such term or provision to make it valid or enforceable to the maximum extent
 practicable, consistent with the original purpose of the term or provision held to be invalid, void,
 or unenforceable, and such term or provision will then be applicable as altered or interpreted.
 Notwithstanding any such holding, alteration or interpretation, the remainder of the terms and
 provisions of this Plan will remain in full force and effect and will in no way be affected, impaired,
 or invalidated by such holding, alteration, or interpretation. The Confirmation Order will
 constitute a judicial determination and will provide that each term and provision of this Plan, as it
 may have been altered or interpreted in accordance with the foregoing, is valid and enforceable
 pursuant to its terms.

 K.       Service of Documents

         All notices, requests, and demands to or upon the Debtor, the Reorganized Debtor, or the
 Claimant Trustee to be effective shall be in writing and, unless otherwise expressly provided
 herein, shall be deemed to have been duly given or made when actually delivered addressed as
 follows:

                 If to the Claimant Trust:

                 Highland Claimant Trust
                 c/o Highland Capital Management, L.P.
                 300 Crescent Court, Suite 700



 000534                                           56
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 154 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 538 of 852 PageID 2443



                Dallas, Texas 75201
                Attention: James P. Seery, Jr.

                If to the Debtor:

                Highland Capital Management, L.P.
                300 Crescent Court, Suite 700
                Dallas, Texas 75201
                Attention: James P. Seery, Jr.

                with copies to:

                Pachulski Stang Ziehl & Jones LLP
                10100 Santa Monica Blvd., 13th Floor
                Los Angeles, CA 90067
                Telephone: (310) 277-6910
                Facsimile: (310) 201-0760
                Attn: Jeffrey N. Pomerantz, Esq.
                       Ira D. Kharasch, Esq.
                       Gregory V. Demo, Esq.

                If to the Reorganized Debtor:

                Highland Capital Management, L.P.
                300 Crescent Court, Suite 700
                Dallas, Texas 75201
                Attention: James P. Seery, Jr.
                with copies to:

                Pachulski Stang Ziehl & Jones LLP
                10100 Santa Monica Blvd., 13th Floor
                Los Angeles, CA 90067
                Attn: Jeffrey N. Pomerantz, Esq.
                       Ira D. Kharasch, Esq.
                       Gregory V. Demo, Esq.

 L.       Exemption from Certain Transfer Taxes Pursuant to Section 1146(a) of the
          Bankruptcy Code

         To the extent permitted by applicable law, pursuant to section 1146(a) of the Bankruptcy
 Code, any transfers of property pursuant hereto shall not be subject to any Stamp or Similar Tax
 or governmental assessment in the United States, and the Confirmation Order shall direct the
 appropriate federal, state or local governmental officials or agents or taxing authority to forego the
 collection of any such Stamp or Similar Tax or governmental assessment and to accept for filing
 and recordation instruments or other documents pursuant to such transfers of property without the
 payment of any such Stamp or Similar Tax or governmental assessment. Such exemption
 specifically applies, without limitation, to (i) all actions, agreements and documents necessary to



 000535                                           57
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 155 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 539 of 852 PageID 2444



 evidence and implement the provisions of and the distributions to be made under this Plan; (ii) the
 maintenance or creation of security or any Lien as contemplated by this Plan; and (iii) assignments,
 sales, or transfers executed in connection with any transaction occurring under this Plan.

 M.       Governing Law

          Except to the extent that the Bankruptcy Code, the Bankruptcy Rules or other federal
  law is applicable, or to the extent that an exhibit or schedule to this Plan provides otherwise, the
  rights and obligations arising under this Plan shall be governed by, and construed and enforced
  in accordance with, the laws of Texas, without giving effect to the principles of conflicts of law
  of such jurisdiction; provided, however, that corporate governance matters relating to the
  Debtor, the Reorganized Debtor, New GP LLC, or the Claimant Trust, as applicable, shall be
  governed by the laws of the state of organization of the Debtor, the Reorganized Debtor, New
  GP LLC, or the Claimant Trustee, as applicable.

 N.       Tax Reporting and Compliance

         The Debtor is hereby authorized to request an expedited determination under
 section 505(b) of the Bankruptcy Code of the tax liability of the Debtor is for all taxable periods
 ending after the Petition Date through, and including, the Effective Date.

 O.       Exhibits and Schedules

      All exhibits and schedules to this Plan, if any, including the Exhibits and the Plan
 Documents, are incorporated and are a part of this Plan as if set forth in full herein.

 P.       Controlling Document

         In the event of an inconsistency between this Plan and any other instrument or document
 created or executed pursuant to this Plan, or between this Plan and the Disclosure Statement, this
 Plan shall control. The provisions of this Plan, the Disclosure Statement, and any Plan Document,
 on the one hand, and of the Confirmation Order, on the other hand, shall be construed in a manner
 consistent with each other so as to effectuate the purposes of each; provided, however, that if there
 is determined to be any inconsistency between any provision of this Plan, the Disclosure
 Statement, and any Plan Document, on the one hand, and any provision of the Confirmation Order,
 on the other hand, that cannot be so reconciled, then, solely to the extent of such inconsistency,
 the provisions of the Confirmation Order shall govern, and any such provisions of the
 Confirmation Order shall be deemed a modification of this Plan, the Disclosure Statement, and the
 Plan Documents, as applicable.

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 000536                                           58
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 156 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 540 of 852 PageID 2445




 000537
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 157 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 541 of 852 PageID 2446



                                      Exhibit B
      Schedule of CLO Management Agreements and Related Contracts to Be Assumed




 000538
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 158 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 542 of 852 PageID 2447



           Schedule of CLO Management Agreements and Related Contracts to Be Assumed

 1.      Servicing Agreement, dated December 20, 2007, by and among Greenbriar CLO, Ltd.,
         and Highland Capital Management, L.P.
 2.      Investment Management Agreement, dated November 1, 2007, by and between Longhorn
         Credit Funding, LLC, and Highland Capital Management, L.P. (as amended)
 3.      Reference Portfolio Management Agreement, dated August 1, 2016, by and between
         Highland Capital Management, L.P., and Valhalla CLO, Ltd.
 4.      Collateral Servicing Agreement, dated December 20, 2006, by and among Highland Park
         CDO I, Ltd., and Highland Capital Management, L.P.
 5.      Portfolio Management Agreement, dated March 15, 2005, by and among Southfork CLO
         Ltd., and Highland Capital Management, L.P.
 6.      Amended and Restated Portfolio Management Agreement, dated November 30, 2005, by
         and among Jaspar CLO Ltd., and Highland Capital Management, L.P.
 7.      Servicing Agreement, dated May 31, 2007, by and among Westchester CLO, Ltd., and
         Highland Capital Management, L.P.
 8.      Servicing Agreement, dated May 10, 2006, by and among Rockwall CDO Ltd. and
         Highland Capital Management, L.P. (as amended)
 9.      Portfolio Management Agreement, dated December 8, 2005, by and between Liberty
         CLO, Ltd., and Highland Capital Management, L.P.
 10.     Servicing Agreement, dated March 27, 2008, by and among Aberdeen Loan Funding,
         Ltd., and Highland Capital Management, L.P.
 11.     Servicing Agreement, dated May 9, 2007, by and among Rockwall CDO II Ltd. and
         Highland Capital Management, L.P.
 12.     Collateral Management Agreement, by and between, Highland Loan Funding V Ltd. and
         Highland Capital Management, L.P., dated August 1, 2001.
 13.     Collateral Management Agreement, dated August 18, 1999, by and between Highland
         Legacy Limited and Highland Capital Management, L.P.
 14.     Servicing Agreement, dated November 30, 2006, by and among Grayson CLO Ltd., and
         Highland Capital Management, L.P. (as amended)
 15.     Servicing Agreement, dated October 25, 2007, by and among Stratford CLO Ltd., and
         Highland Capital Management, L.P.
 16.     Servicing Agreement, dated August 3, 2006, by and among Red River CLO Ltd., and
         Highland Capital Management, L.P. (as amended)
 17.     Servicing Agreement, dated December 21, 2006, by and among Brentwood CLO, Ltd.,
         and Highland Capital Management, L.P.
 18.     Servicing Agreement, dated March 13, 2007, by and among Eastland CLO Ltd., and
         Highland Capital Management, L.P.



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 000539
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 159 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 543 of 852 PageID 2448



 19.     Portfolio Management, Agreement, dated October 13, 2005, by and among Gleneagles
         CLO, Ltd., and Highland Capital Management, L.P.
 20.     Members’ Agreement and Amendment, dated November 15, 2017, by and between
         Highland CLO Funding, Ltd. and Highland Capital Management, L.P.
 21.     Collateral Management Agreement, dated May 19, 1998, by and between Pam Capital
         Funding LP, Ranger Asset Mgt LP and Highland Capital Management, L.P.
 22.     Collateral Management Agreement, dated August 6, 1997, by and between Pamco
         Cayman Ltd., Ranger Asset Mgt LP and Highland Capital Management, L.P.
 23.     Amendment No. 1 to Servicing Agreement, October 2, 2007, between Highland Capital
         Management, L.P. and Red River CLO Ltd. et al
 24.     Interim Collateral Management Agreement, June 15, 2005, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd
 25.     Amendment No. 1 to Servicing Agreement, October 2, 2007, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd
 26.     Collateral Servicing Agreement dated December 20, 2006, between Highland Capital
         Management, L.P. and Highland Park CDO I, Ltd.; The Bank of New York Trust
         Company, National Association
 27.     Representations and Warranties Agreement, dated December 20, 2006, between Highland
         Capital Management, L.P. and Highland Park CDO I, Ltd.
 28.     Collateral Administration Agreement, dated March 27, 2008, between Highland Capital
         Management, L.P. and Aberdeen Loan Funding, Ltd.; State Street Bank and Trust
         Company
 29.     Collateral Administration Agreement, dated December 20, 2007, between Highland
         Capital Management, L.P. and Greenbriar CLO, Ltd.; State Street Bank and Trust
         Company
 30.     Collateral Acquisition Agreement, dated March 13, 2007, between Highland Capital
         Management, L.P. and Eastland CLO, Ltd
 31.     Collateral Administration Agreement, dated March 13, 2007, between Highland Capital
         Management, L.P. and Eastland CLO, Ltd. and Investors Bank and Trust Company
 32.     Collateral Administration Agreement, dated October 13, 2005, between Highland Capital
         Management, L.P. and Gleneagles CLO, Ltd.; JPMorgan Chase Bank, National
         Association
 33.     Collateral Acquisition Agreement, dated November 30, 2006, between Highland Capital
         Management, L.P. and Grayson CLO, Ltd.
 34.     Collateral Administration Agreement, dated November 30, 2006, between Highland
         Capital Management, L.P. and Grayson CLO, Ltd.; Investors Bank & Trust Company
 35.     Collateral Acquisition Agreement, dated August 3, 2006, between Highland Capital
         Management, L.P. and Red River CLO, Ltd.



                                               2
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 000540
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 160 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 544 of 852 PageID 2449



 36.     Collateral Administration Agreement, dated August 3, 2006, between Highland Capital
         Management, L.P. and Red River CLO, Ltd.; U.S. Bank National Association
 37.     Master Warehousing and Participation Agreement, dated April 19, 2006, between
         Highland Capital Management, L.P. and Red River CLO Ltd.; Highland Special
         Opportunities Holding Company
 38.     Master Warehousing and Participation Agreement, dated February 2, 2006, between
         Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5 Funding, LLC;
         IXIS Financial Products Inc.
 39.     Master Warehousing and Participation Agreement (Amendment No. 2), dated May 5,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 40.     Master Warehousing and Participation Agreement (Amendment No. 1), dated April 12,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 41.     Master Warehousing and Participation Agreement (Amendment No. 3), dated June 22,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 42.     Master Warehousing and Participation Agreement (Amendment No. 4), dated July 17,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 43.     Collateral Administration Agreement, dated February 2, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; U.S. Bank National Association; IXIS
         Financial Products Inc.
 44.     Collateral Administration Agreement, dated April 18, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; Highland Special Opportunities Holding
         Company; U.S. Bank National Association
 45.     Master Participation Agreement, dated June 5, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; Grand Central Asset Trust
 46.     A&R Asset Acquisition Agreement, dated July 18, 2001, between Highland Capital
         Management, L.P. and Salomon Smith Barney Inc.; Highland Loan Funding V Ltd.
 47.     A&R Master Participation Agreement, dated July 18, 2001, between Highland Capital
         Management, L.P. and Salomon Brothers Holding Company; Highland Loan Funding V
         Ltd.
 48.     Collateral Acquisition Agreement, dated June 29, 2005, between Highland Capital
         Management, L.P. and Jasper CLO Ltd.
 49.     Collateral Administration Agreement, dated June 29, 2005, between Highland Capital
         Management, L.P. and Jasper CLO Ltd.; JPMorgan Chase Bank, National Association
 50.     Master Warehousing and Participation Agreement, dated March 24, 2005, between
         Highland Capital Management, L.P. and Jasper CLO Ltd; MMP-5 Funding, LLC; and
         IXIS Financial Products Inc.


                                               3
 DOCS_NY:42355.1 36027/002
 000541
Case 19-34054-sgj11 Doc 1943 Filed 02/22/21 Entered 02/22/21 16:48:16 Page 161 of
 Case 3:21-cv-00842-B Document 43 Filed 16107/13/21 Page 545 of 852 PageID 2450



 51.     Master Warehousing and Participation Agreement (Amendment No. 1), dated May 16,
         2005, between Highland Capital Management, L.P. and Jasper CLO Ltd; MMP-5
         Funding, LLC; and IXIS Financial Products Inc.
 52.     Collateral Administration Agreement, dated December 8, 2005, between Highland
         Capital Management, L.P. and Liberty CLO Ltd.
 53.     Collateral Administration Agreement, dated May 10, 2006, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd; JPMorgan Chase Bank, National Association
 54.     Collateral Administration Agreement, dated May 9, 2007, between Highland Capital
         Management, L.P. and Rockwall CDO II, Ltd.; Investors Bank & Trust Company
 55.     Collateral Administration Agreement, dated March 15, 2005, between Highland Capital
         Management, L.P. and Southfork CLO Ltd.; JPMorgan Chase Bank, National
         Association
 56.     Collateral Administration Agreement, dated October 25, 2007, between Highland Capital
         Management, L.P. and Stratford CLO Ltd.; State Street
 57.     Collateral Administration Agreement, dated August 18, 2004, between Highland Capital
         Management, L.P. and Valhalla CLO, Ltd.; JPMorgan Chase Bank
 58.     Collateral Acquisition Agreement, dated May 31, 2007, between Highland Capital
         Management, L.P. and Westchester CLO, Ltd.
 59.     Collateral Administration Agreement, dated May 31, 2007, between Highland Capital
         Management, L.P. and Westchester CLO, Ltd.; Investors Bank & Trust Company
 60.     Collateral Administration Agreement, dated December 21, 2006, between Highland
         Capital Management, L.P. and Brentwood CLO, Ltd.; Investors Bank & Trust Company




                                               4
 DOCS_NY:42355.1 36027/002
 000542
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 546 of 852 PageID 2451




                        EXHIBIT 5




000543
                      Case 3:21-cv-00842-B Document 43 Filed 07/13/21                       Page 547 of 852 PageID 2452
                 UPDATED SUMMARY OF DONDERO AND RELATED ENTITY LITIGATION*

 In re Highland Capital Management, L.P., Case No. 19-34054-sgj11 (Bankr. N.D. Tex.)
 9/23/20      Debtor’s Motion for Entry of an Order Approving Settlement with (a) Acis Capital Management, L.P. and Acis Capital Management GP LLC
              (Claim No. 23), (b) Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and (c) Acis Capital Management, L.P. (Claim No. 159) and
              Authorizing Actions Consistent Therewith [D.I. 1087]
              Objectors:    Dondero         Acis filed a claim for at least $75 million. Acis claim The Acis Settlement Motion Dondero           appealed
                            [D.I. 1121]     was the result of an involuntary bankruptcy initiated was approved and Dondero’s [D.I. 1347].            The
                                            when the Debtor refused to pay an arbitration award and objection was overruled [D.I. appeal      is    being
                                            instead transferred assets to become judgment proof. 1302].                              briefed.
                                            Debtor settled claim for an allowed Class 8 claim of $23
                                            million and approximately $1 million in cash payments.
                                            Dondero objected to the settlement alleging that it was
                                            unreasonable and constituted vote buying.
 11/18/20     Motion of the Debtor Pursuant to 11 U.S.C. §§ 105(a) and 363(b) for Authority to Enter into Sub-Servicer Agreements [D.I. 1424]
              Objectors:    Dondero         The Debtor filed a motion seeking to retain a sub- Dondero               withdrew    his N/A
                            [D.I. 1447]     servicer to assist in its reorganization consistent with the objection [D.I. 1460] after
                                            proposed plan. Dondero alleged that the sub-servicer forcing the Debtor to incur costs
                                            was not needed; was too expensive; and would not be responding [D.I. 1459]
                                            subject to Bankruptcy Court jurisdiction [D.I. 1447].
 11/19/20     James Dondero’s Motion for Entry of an Order Requiring Notice and Hearing for Future Estate Transactions Occurring Outside of the
              Ordinary Course [D.I. 1439]
              Movant:       Dondero         Dondero alleged the Debtor sold significant assets in Dondero withdrew this motion N/A
                                            violation of 11 U.S.C. § 363 and without providing [D.I. 1622] after the Debtor and
                                            Dondero a chance to bid. Dondero requested an the Committee were forced to
                                            emergency hearing on this motion [D.I. 1443]. Dondero incur costs responding and
                                            filed this motion despite having agreed to the Protocols preparing for trial [D.I. 1546,
                                            governing such sales.                                        1551].
 12/8/20      Motion for Order Imposing Temporary Restrictions on Debtor’s Ability, as Portfolio Manager, to Initiate Sales by Non-Debtor
              CLO Vehicles [D.I. 1522]
              Movants:      Advisors        Movants argued that the Debtor should be precluded The motion was denied [D.I. N/A
                            Funds           from causing the CLOs to sell assets without Movants’ 1605] and was characterized as
                                            consent. Movants provided no support for this position “frivolous.”
                                            which directly contradicted the terms of the CLO
                                            Agreements; and was filed notwithstanding the
                                            Protocols which governed such sales. Movants
                                            requested an emergency hearing on this motion [D.I.
                                            1523].


* The following is by way of summary only and does not include discovery disputes or similar matters. Nothing herein shall be deemed or considered a
waiver of any rights or an admission of fact. The Debtor reserves all rights that it may have whether in law or in equity.

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000544
                   Case 3:21-cv-00842-B Document 43 Filed 07/13/21                          Page 548 of 852 PageID 2453


 12/23/20   Debtor’s Motion for Entry of an Order Approving Settlement with HarbourVest (Claim Nos. 143, 147, 150, 153, 154) and Authorizing Actions
            Consistent Therewith [D.I. 1625]
            Objectors:    Dondero         The HarbourVest Entities asserted claims in excess of CLOH withdrew its objection at The Trusts appealed
                          [D.I. 1697]     $300 million in connection with an investment in a fund the hearing. The settlement was [D.I. 1870], and the
                          Trusts          indirectly managed by the Debtor for, among other approved and the remaining appeal                is     being
                          [D.I. 1706]     things,  fraud and fraudulent inducement,  concealment,  objections were overruled [D.I. briefed.        CLOH
                                          and misrepresentation. Debtor settled for an allowed 1788].                              recently    filed    a
                          CLOH [D.I.
                                          Class 8 claim of $45 million and an allowed Class 9                                      complaint alleging,
                          1707]
                                          claim of $35 million. Dondero and the Trusts alleged                                     among other things,
                                          that the settlement was unreasonable; was a windfall to                                  that the settlement
                                          the HarbourVest Entities; and constituted vote buying.                                   was a breach of
                                          CLOH argued that the settlement could not be                                             fiduciary duty and a
                                          effectuated under the operative documents.                                               RICO violation.
 1/14/21    Motion to Appoint Examiner Pursuant to 11 U.S.C. § 1104(c) [D.I. 1752]
            Movants:      Trusts          Movants sought the appointment of an examiner 14 The motion was denied [D.I. N/A
                          Dondero         months after the Petition Date and commencement of 1960].
                          [D.I. 1756]     Plan solicitation to assess the legitimacy of the claims
                                          against the various Dondero Entities and to avoid
                                          litigation. Movants requested an emergency hearing on
                                          this motion [D.I. 1748].
 1/20/21    James Dondero’s Objection to Debtor’s Proposed Assumption of Executory Contracts and Cure Amounts Proposed in
            Connection Therewith [D.I. 1784]
            Objector:     Dondero         Dondero objected to the Debtor’s proposed assumption Dondero          withdrew       his N/A
                                          of the limited partnership agreement governing the objection [D.I. 1876] after
                                          Debtor and MSCF [D.I. 1719].                             forcing the Debtor to incur the
                                                                                                   expense of responding (which
                                                                                                   included a statement that the
                                                                                                   Debtor limited partnership
                                                                                                   agreement was not being
                                                                                                   assumed).




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000545
                      Case 3:21-cv-00842-B Document 43 Filed 07/13/21                           Page 549 of 852 PageID 2454


 1/22/20      Objections to Fifth Amended Plan of Reorganization [D.I. 1472]
              Objectors:1                   All objections to the Plan were consensually resolved       All objections were overruled     Dondero, the Trusts,
              Dondero        Trusts         prior to the confirmation hearing except for the            and the Confirmation Order was    the Advisors, and the
              [D.I. 1661]    [D.I. 1667]    objections of the Dondero Entities and the U.S. Trustee.    entered.    The Confirmation      Funds appealed [D.I.
                                            The U.S. Trustee did not press its objection at             Order specifically found that     1957, 1966, 1970,
              Advisors & Senior
                                            confirmation.                                               Mr. Dondero would “burn the       1972]. The appeal is
              Funds2 [D.I. Employees
                                                                                                        place down” if his case           being briefed.
              1670]          [D.I. 1669]
                                                                                                        resolution plan was not
              HCRE [D.I. CLOH                                                                           accepted.
              1673]          [D.I. 1675]
              NexBank
              Entities
              [D.I. 1676]
 1/24/21      Application for Allowance of Administrative Expense Claim [D.I. 1826]
              Movants:       Advisors       The Advisors seek an administrative expense claim for       This matter is currently being    N/A
                                            approximately $14 million they allege they overpaid to      litigated.
                                            the Debtor during the bankruptcy case under the Shared
                                            Services Agreement. Notably, the Advisors have not
                                            paid $14 million to the Debtor during the bankruptcy.
 2/3/21       NexBank’s Application for Allowance of Administrative Expense Claim [D.I. 1888]
              Movant:        NexBank        NexBank seeks an administrative expense claim for           This matter is currently being    N/A
                                            reimbursement of $2.5 million paid to the Debtor under      litigated.
                                            its Shared Services Agreement and investment advisory
                                            agreement. NexBank alleges that it did not receive the
                                            services.




1
  In addition to the Dondero Entities’ objections, the following objections were filed: State Taxing Authorities [D.I. 1662]; Former Employees [D.I. 1666]; IRS
[D.I. 1668]; US Trustee [D.I. 1671]; Daugherty [D.I. 1678]. These objections were either resolved prior to confirmation or not pressed at confirmation.
2
  In addition to the Funds, this objection was joined by: Highland Fixed Income Fund, Highland Funds I and its series, Highland Funds II and its series, Highland
Healthcare Opportunities Fund, Highland Merger Arbitrate Fund, Highland Opportunistic Credit Fund, Highland Small-Cap Equity Fund, Highland Socially
Responsible Equity Fund, Highland Total Return Fund, Highland/iBoxx Senior Loan ETF, NexPoint Real Estate Strategies Fund, NexPoint Real Estate Finance
Inc., NexPoint Real Estate Capital, LLC, NexPoint Residential Trust, Inc., NexPoint Hospitality Trust, NexPoint Real Estate Partners, LLC, NexPoint Multifamily
Capital Trust, Inc., VineBrook Homes Trust, Inc., NexPoint Real Estate Advisors, L.P., NexPoint Real Estate Advisors II, L.P., NexPoint Real Estate Advisors III,
L.P., NexPoint Real Estate Advisors IV, L.P., NexPoint Real Estate Advisors V, L.P., NexPoint Real Estate Advisors VI, L.P., NexPoint Real Estate Advisors VII,
L.P., and NexPoint Real Estate Advisors VIII, L.P. [D.I. 1677].


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000546
                  Case 3:21-cv-00842-B Document 43 Filed 07/13/21                          Page 550 of 852 PageID 2455


 2/8/21    James Dondero Motion for Status Conference [D.I. 1914]
           Movant:       Dondero       Dondero requested a chambers conference to convince         The request was denied [D.I.     N/A.
                                       the Court to delay confirmation of the Plan to allow for    1929] after the Debtor and
                                       continued negotiation of the “pot plan.”                    Committee informally objected.
 2/28/21   Motions for Stay Pending Appeal
           Movants:                    The only parties requesting a stay pending appeal were      Relief was denied [D.I. 2084,    Movants sought a
           Dondero       Advisors      the Dondero Entities. They alleged a number of              2095] and a number of the        stay pending appeal
           [D.I. 1973]   [D.I. 1955]   potential harms to the Dondero Entities if a stay was not   Movants’ arguments were          from this Court.
                                       granted and offered to post a $1 million bond.              found to be frivolous.
           Funds         Trusts
           [D.I. 1967]   [D.I. 1971]

 3/18/21   James Dondero, Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P., The Dugaboy Investment Trust, The Get Good
           Trust, and NexPoint Real Estate Partners, LLC, f/k/a HCRE Partners, LLC, a Delaware Limited Liability Company’s Motion to Recuse
           Pursuant to 28 U.S.C. § 455 [D.I. 2060]
           Movants:      Dondero         Dondero argued that Judge Jernigan should recuse Judge Jernigan denied the The Movants
                                         herself as her rulings against him and his related entities motion without briefing from appealed [D.I. 2149].
                         Advisors        were evidence of her bias.                                  any other party on March 23,
                                                                                                     2021 [D.I. 2083].
                         Trusts
                         HCRE
 4/15/21   Debtor’s Motion for Entry of an Order Approving Settlement with UBS Securities LLC and UBS AG London Branch and Authorizing Actions
           Consistent Therewith [D.I. 2199]
           Movants:      Debtor          UBS Securities LLC and UBS AG London Branch The only parties to object were The objectors have
                                         (collectively, “UBS”) asserted claims against the Debtor Dondero [D.I. 2295] and until June 7 to
                                         in excess of $1 billion arising from two Debtor-managed Dugaboy [D.I. 2268, 2293]. appeal.
                                         funds’ breach of contract in 2008. The settlement The Debtor filed an omnibus
                                         resolved ten plus years of litigation but had to be reply on May 14, 2021 [D.I.
                                         renegotiated when the Debtor discovered that the 2308]. UBS also filed a reply
                                         Dondero-controlled Debtor had caused the funds to [D.I. 2310].                The UBS
                                         transfer cash and securities with a face amount of over settlement was approved on
                                         $300 million to a Cayman-based Dondero controlled May 24, 2021 [D.I. 2389].
                                         entity in 2017, presumably to thwart UBS’s ability to
                                         collect on its judgment.




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000547
                  Case 3:21-cv-00842-B Document 43 Filed 07/13/21                            Page 551 of 852 PageID 2456


 4/23/21   Debtor’s Motion for an Order Requiring the Violators to Show Cause Why They               Should Not Be Held in Civil Contempt for Violating
           Two Court Orders [D.I. 2247]
           Movants:     Debtor          Debtor filed a motion seeking an order to show cause as    Dondero, CLOH, the DAF, A hearing was held
                                        to why Dondero, CLOH, DAF, and their counsel should        Mark Patrick (allegedly the on June 8, 2021. The
                                        not be held in contempt of court for willingly violating   person in control of the DAF), Court stated that she
                                        two final Bankruptcy Court orders. The Bankruptcy          and      their   counsel   filed would find contempt
                                        Court entered an order to show cause on April 29, 2021     responses to the order to show but no formal order
                                        [D.I. 2255] and set an in-person hearing for June 8, 2021. cause on May 14, 2021 [D.I. has been entered.
                                                                                                   2309, 2312, 2313]. The Debtor
                                                                                                   filed its reply on May 21, 2021
                                                                                                   [D.I. 2350].
 4/23/21   Motion for Modification of Order Authorizing Appointment of James P. Seery, Jr. Due to Lack of Subject Matter Jurisdiction [D.I. 2242]
           Movants:      Debtor          DAF and CLOH filed a motion asking the Bankruptcy On May 14, 2021, the Debtor The Court denied
                                         Court to modify the July 16, 2020, order appointing filed a response [D.I. 2311] DAF and CLOH
                                         Seery as the Debtor’s CEO/CRO alleging the stating that DAF and CLOH’s have appealed. [D.I.
                                         Bankruptcy Court lacked subject matter jurisdiction.      motion was a collateral attack 2513]
                                                                                                   and barred by res judicata,
                                                                                                   among other things.         The
                                                                                                   Committee joined in the
                                                                                                   Debtor’s response [D.I. 2315].
                                                                                                   DAF and CLOH filed their
                                                                                                   reply on May 21, 2021 [D.I.
                                                                                                   2347]. The Motion was denied
                                                                                                   on June 25, 2021 [D.I. 2506]
 4/20/21   Debtor’s Motion for Entry of an Order (i) Authorizing the Debtor to (a) Enter into Exit Financing Agreement in Aid of Confirmed Chapter
           11 Plan and (b) Incur and Pay Related Fees and Expenses and (ii) Granting Related Relief [D.I. 2229]
           Movants:      Debtor          The Debtor filed a motion seeking authority to enter into The motion was granted on N/A
                                         an exit financing facility. The facility was required, in June 30 [D.I. 2503]
                                         part, to fund the increased costs to the estate from
                                         Dondero’s litigiousness. Dugaboy filed two objections
                                         to the motion alleging, among other things, that there
                                         was no basis for the financing [D.I. 2403; 2467]




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000548
                  Case 3:21-cv-00842-B Document 43 Filed 07/13/21                        Page 552 of 852 PageID 2457


 4/29/21   Motion to Compel Compliance with Bankruptcy Rule 2015.3 [D.I. 2256]
           Movants:     Trusts        The Trusts filed a motion on negative notice seeking to    A hearing was held on June 10,    N/A
                                      compel the Debtor to file certain reports under Rule       2021 [D.I. 2442] and the motion
                                      2015.3 [D.I. 2256]. The Debtor opposed that motion on      was adjourned.
                                      May 20, 2021 [D.I. 2341], which was joined by the
                                      Committee [D.I. 2343]. The Trusts filed their reply on
                                      June 8, 2021 [D.I. 2424]
 Highland Capital Management, L.P. v. James D. Dondero, Adv. Proc. No. 20-03190-sgj (Bankr. N.D. Tex.)
 12/7/20   Plaintiff Highland Capital Management, L.P.’s Emergency Motion for a Temporary        Restraining Order and Preliminary Injunction against
           Mr. James Dondero [D.I. 2]
           Movant:        Debtor        The Debtor commenced an adversary proceeding             A TRO was entered on              Dondero appealed to
                                        seeking an injunction against Dondero. Dondero           December 10 [D.I. 10], which      the District Court,
                                        actively interfered with the management of the estate.   prohibited Dondero from,          which declined to
                                        Seery had instructed Debtor employees to sell certain    among other things, interfering   hear the interlocutory
                                        securities on behalf of the CLOs. Dondero disagreed      with the Debtor’s estate and      appeal. Dondero is
                                        with Seery’s direction and intervened to prevent these   communicating with Debtor         seeking a writ of
                                        sales from being executed. Dondero also threatened       employees unless it related to    mandamus from the
                                        Seery via text message and sent threatening emails to    the       Shared      Services    Fifth Circuit. The
                                        other Debtor employees.                                  Agreements. A preliminary         writ of mandamus
                                                                                                 injunction was entered on         was withdrawn as
                                                                                                 January 12 after an exhaustive    part of the settlement.
                                                                                                 evidentiary hearing [D.I. 59].
                                                                                                 This matter was resolved
                                                                                                 consensually by order entered
                                                                                                 May 18, 2021 [D.I. 182], which
                                                                                                 enjoined Dondero from certain
                                                                                                 conduct until the close of the
                                                                                                 Bankruptcy Case.




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000549
                         Case 3:21-cv-00842-B Document 43 Filed 07/13/21                            Page 553 of 852 PageID 2458


    1/7/21       Plaintiff’s Motion for an Order Requiring Mr. James Dondero to Show Cause Why He Should Not Be Held in Civil Contempt for
                 Violating the TRO [D.I. 48]
                 Movant:        Debtor       In late December, the Debtor discovered that Dondero The Court entered an order Mr. Dondero has
                                             had violated the TRO in multiple ways, including by finding Mr. Dondero in appealed [D.I. 212]
                                             destroying his cell phone, his text messages, and contempt of court on June 7,
                                             conspiring with the Debtor’s then general counsel and 2021 [D.I. 190]
                                             assistant general counsel3 to coordinate offensive
                                             litigation against the Debtor. The hearing on this matter
                                             was delayed and there was litigation on evidentiary
                                             issues, among other things. An extensive evidentiary
                                             hearing was held on March 22.
    Highland Capital Management, L.P. v. Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P.,
    Highland Income Fund, NexPoint Strategic Opportunities Fund, NexPoint Capital, Inc., and CLO Holdco, Ltd., Adv. Proc. No.
    21-03000-sgj (Bankr. N.D. Tex.)
    1/6/21       Plaintiff’s Emergency Motion for a Temporary Restraining Order and Preliminary Injunction Against Certain Entities Owned
                 and/or Controlled by Mr. James Dondero [D.I. 2]
                 Movant:       Debtor        In late December, the Debtor received a number of The parties agreed to the entry N/A
                                             threatening letters from the Funds, the Advisors, and of a temporary restraining order
                                             CLOH regarding the Debtor’s management of the CLOs. on January 13 [D.I. 20]. A
                                             These letters reiterated the arguments made by these hearing on a preliminary
                                             parties in their motion filed on December 8, which the injunction began on January 26
                                             Court concluded were “frivolous.” The relief requested and was continued to May 7.
                                             by the Debtor was necessary to prevent the Funds, The TRO was further extended
                                             Advisors, and CLOH’s improper interference in the with the parties’ consent [D.I.
                                             Debtor’s management of its estate.                     64]. The Debtor reached an
                                                                                                    agreement with CLOH and
                                                                                                    dismissed CLOH from the
                                                                                                    adversary proceeding. The
                                                                                                    Debtor believes it has reached
                                                                                                    an agreement in principle with
                                                                                                    the Funds and Advisors that
                                                                                                    will settle this matter.




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    As a result of this conduct, among other things, the Debtor terminated its general counsel and assistant general counsel for cause on January 5, 2021.


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000550
                  Case 3:21-cv-00842-B Document 43 Filed 07/13/21                          Page 554 of 852 PageID 2459



 Highland Capital Management, L.P. v. Highland Capital Management Fund Advisors, L.P. and NexPoint Advisors, L.P., Adv.
 Proc. No. 21-03010-sgj (Bankr. N.D. Tex.)
 2/17/21   Debtor’s Emergency Motion for a Mandatory Injunction Requiring the Advisors to Adopt and Implement a Plan for the Transition of Services
           by February 28, 2021 [D.I. 2]
           Movant:      Debtor           The Debtor’s Plan called for a substantial reduction in At a daylong hearing, the N/A
                                         its work force. As part of this process, the Debtor Advisors testified that they had
                                         terminated the Shared Services Agreements and began a transition plan in place. An
                                         negotiating a transition plan with the Advisors that order was entered on February
                                         would enable them to continue providing services to the 24 [D.I. 25] making factual
                                         retail funds they managed without interruption. The findings and ruling that the
                                         Debtor was led to believe that without the Debtor’s action was moot.
                                         assistance the Advisors would not be able to provide
                                         services to their retail funds, and, although the Debtor
                                         had proceed appropriately, the Debtor was concerned it
                                         would be brought into any action brought by the SEC
                                         against the Advisors if they could not service the funds.
                                         The Debtor brought this action to force the Advisors to
                                         formulate a transition plan and to avoid exposure to the
                                         SEC, among others.


 Highland Capital Management, L.P. v. James Dondero, Adv. Proc. No. 21-03003-sgj (Bankr. N.D. Tex.)
 1/22/21   Complaint for (i) Breach of Contract and (ii) Turnover of Property of the Debtor’s Estate [D.I. 1]

           Movant:       Debtor       Dondero borrowed $8.825 million from Debtor The parties are currently                     N/A
                                      pursuant to a demand note. Dondero did not pay when conducting discovery.
                                      the note was called and the Debtor was forced to file an
                                      adversary.
 4/15/21   James Dondero’s Motion and Memorandum of Law in Support to Withdraw the Reference [D.I. 21]
           Movant:     Dondero        Three months after the complaint was filed Dondero A hearing was held on May 25,          N/A
                                      filed a motion to withdraw the bankruptcy reference and 2021, and a stay was granted
                                      a motion to stay the adversary pending resolution of his until mid-July 2021. The Court
                                      motion [D.I. 22].                                        transmitted a report and
                                                                                               recommendation on July 7 [D.I.
                                                                                               69].




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000551
                  Case 3:21-cv-00842-B Document 43 Filed 07/13/21                         Page 555 of 852 PageID 2460



 Highland Capital Management, L.P. v. Highland Capital Management Fund Advisors, L.P., Adv. Proc. No. 21-03004-sgj (Bankr.
 N.D. Tex.)
 1/22/21   Complaint for (i) Breach of Contract and (ii) Turnover of Property of the Debtor’s Estate [D.I. 1]
           Movant:      Debtor           HCMFA borrowed $7.4 million from Debtor pursuant The parties are currently                N/A
                                         to a demand note. Dondero did not pay when the note conducting discovery.
                                         was called and the Debtor was forced to file an
                                         adversary.
 4/13/21   Defendants Motion to Withdraw the Reference [D.I. 20]
           Movant:      HCMFA            Three months after the complaint was filed HCMFA A hearing was held on May 25,            N/A
                                         filed a motion to withdraw the bankruptcy reference.     2021. The Court transmitted a
                                                                                                  report and recommendation on
                                                                                                  July 9 [D.I. 52].
 Highland Capital Management, L.P. v. NexPoint Advisors, L.P., Adv. Proc. No. 21-03005-sgj (Bankr. N.D. Tex.)
 1/22/21   Complaint for (i) Breach of Contract and (ii) Turnover of Property of the Debtor’s Estate [D.I. 1]
           Movant:      Debtor           NPA borrowed approximately $30.75 million under an The parties are currently              N/A
                                         installment note. NPA did not pay the note when and conducting discovery.
                                         the Debtor was forced to file an adversary.
 4/13/21   Defendants Motion to Withdraw the Reference [D.I. 19]
           Movant:      NPA              Three months after the complaint was filed HCMFA A hearing was held on May 25,            N/A
                                         filed a motion to withdraw the bankruptcy reference.     2021. The Court transmitted a
                                                                                                  report and recommendation on
                                                                                                  July 9 [D.I. 42]..
 Highland Capital Management, L.P. v. Highland Capital Management Services, Inc., Adv. Proc. No. 21-03006-sgj (Bankr. N.D.
 Tex.)
 1/22/21   Complaint for (i) Breach of Contract and (ii) Turnover of Property of the Debtor’s Estate [D.I. 1]
           Movant:      Debtor           Highland Capital Management Services, Inc. The parties are currently                      N/A
                                         (“HCMS”), borrowed $900,000 in demand notes and conducting discovery.
                                         approximately $20.5 million in installment notes.
                                         HCMS did not pay the notes when due and the Debtor
                                         was forced to file an adversary.
 6/3/21    Defendants Motion to Withdraw the Reference [D.I. 19]
           Movant       HCMS             Five months after the complaint was filed HCMS filed A hearing was held on July 8,
                                         a motion to withdraw the reference.                      2021. The Court is preparing a
                                                                                                  report and recommendation on
                                                                                                  the motion to withdraw.



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000552
                  Case 3:21-cv-00842-B Document 43 Filed 07/13/21                             Page 556 of 852 PageID 2461



 Highland Capital Management, L.P. v. HCRE Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC), Adv. Proc. No. 21-
 03007-sgj (Bankr. N.D. Tex.)
 1/22/21   Complaint for (i) Breach of Contract and (ii) Turnover of Property of the Debtor’s Estate [D.I. 1]
           Movant:      Debtor           HCRE borrowed $4.25 million in demand notes and The parties are currently                      N/A
                                         approximately $6.05 million in installment notes. conducting discovery.
                                         HCRE did not pay the notes when due and the Debtor
                                         was forced to file an adversary.
 6/3/21    Defendants Motion to Withdraw the Reference [D.I. 20]
           Movant       HCMS             Five months after the complaint was filed HCMS filed A hearing was held on July 8,
                                         a motion to withdraw the reference.                      2021. The Court is preparing a
                                                                                                  report and recommendation on
                                                                                                  the motion to withdraw.
 Charitable DAF Fund, L.P., and CLO Holdco, Ltd., v. Highland Capital Management, L.P., Highland HCF Advisor, Ltd., and
 Highland CLO Funding, Ltd., Case No. 21-cv-00842-B (N.D. Tex. April 12, 2021)
 4/12/21   Original Complaint

           Movants:      DAF              Movants allege that the Debtor and Seery violated SEC       On May 19, the Debtor filed a     N/A
                         CLOH             rules, breached fiduciary duties, engaged in self-          motion to enforce the order of
                                          dealing, and violated RICO in connection with its           reference seeking to have the
                                          settlement with the HarbourVest Entities. The Movants       case referred to the Bankruptcy
                                          brought this complaint despite CLOH having objected         Court [D.I. 22]. On May 27,
                                          to the HarbourVest settlement; never raised this issue;     2019, the Debtor filed a motion
                                          and withdrawn its objection. The Debtor believes the        to dismiss the complaint [D.I.
                                          complaint is frivolous and represents a collateral attack   26]
                                          on the order approving the HarbourVest settlement. The
                                          Debtor will take all appropriate actions.
 4/19/21   Plaintiff’s Motion for Leave to File First Amended Complaint in the District Court

           Movants:      DAF              Movants filed a motion seeking leave from this Court to     This Court denied the motion      N/A
                                          add Seery as a defendant and to seek, in this Court, a      but with leave to refile.
                         CLOH             reconsideration of two final Bankruptcy Court orders.




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000553
                 Case 3:21-cv-00842-B Document 43 Filed 07/13/21                          Page 557 of 852 PageID 2462



 PCMG Trading Partners XXIII, L.P. v. Highland Capital Management, L.P., Case No. 21-cv-01169-N (N.D. Tex. May 21, 2021)
 4/12/21   Original Complaint

           Movants:     PCMG          Movants allege that the Debtor violated SEC rules and       The Complaint was recently        N/A
                        Trading       breached fiduciary duties by causing one of its managed     filed and is currently in
                        Partners      investment vehicles to sell certain assets. The Movant is   litigation.
                        XXIII, L.P.   an entity owned and controlled by Dondero, which had
                                      less than a 0.05% interest in the investment vehicle at
                                      issue and is no longer an investor. The Debtor believes
                                      the complaint is frivolous. The Debtor will take all
                                      appropriate actions.
 The Dugaboy Investment Trust v. Highland Capital Management, L.P., Case No. 21-cv-01479-S (N.D. Tex. June 23, 2021)
 4/12/21   Original Complaint

           Movants:     Dugaboy       Dugaboy alleges that the Debtor violated SEC rules and      The Complaint was withdrawn       N/A
                                      breached fiduciary duties by causing one of its managed     after the Debtor informed the
                                      investment vehicles to sell certain assets. Dugaboy is      Bankruptcy Court of the filing.
                                      Dondero’s family trust with less than a 2% interest in
                                      the vehicle. Dugaboy’s allegations in the complaint are
                                      duplicative of allegations it made in proofs of claim
                                      filed in the Bankruptcy Court.




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000554
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 558 of 852 PageID 2463



                             EXHIBIT 6




000555
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 559 of 852 PageID 2464


                     IN THE UNITED STATES BANKRUPTCY COURT
   1                   FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
   2
                                      )    Case No. 19-34054-sgj-11
   3     In Re:                       )    Chapter 11
                                      )
   4     HIGHLAND CAPITAL             )    Dallas, Texas
         MANAGEMENT, L.P.,            )    Friday, June 25, 2021
   5                                  )    9:30 a.m. Docket
                  Debtor.             )
   6                                  )    EXCERPT: MOTION FOR
                                      )    MODIFICATION OF ORDER
   7                                  )    AUTHORIZING RETENTION OF JAMES
                                      )    P. SEERY, JR. DUE TO LACK OF
   8                                  )    SUBJECT MATTER JURISDICTION
                                      )    (2248)
   9                                  )
 10                         TRANSCRIPT OF PROCEEDINGS
                   BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
 11                      UNITED STATES BANKRUPTCY JUDGE.
 12      WEBEX APPEARANCES:
 13      For the Debtor:              Jeffrey Nathan Pomerantz
                                      PACHULSKI STANG ZIEHL & JONES, LLP
 14                                   10100 Santa Monica Blvd.,
                                        13th Floor
 15                                   Los Angeles, CA 90067-4003
                                      (310) 277-6910
 16
         For the Debtor:              John A. Morris
 17                                   PACHULSKI STANG ZIEHL & JONES, LLP
                                      780 Third Avenue, 34th Floor
 18                                   New York, NY 10017-2024
                                      (212) 561-7700
 19
         For CLO Holdco, Ltd. and     Jonathan E. Bridges
 20      The Charitable DAF Fund,     Mazin Ahmad Sbaiti
         LP:                          SBAITI & COMPANY, PLLC
 21                                   JP Morgan Chase Tower
                                      2200 Ross Avenue, Suite 4900 W
 22                                   Dallas, TX 75201
                                      (214) 432-2899
 23
         For Get Good Trust and       Douglas S. Draper
 24      Dugaboy Investment Trust:    HELLER, DRAPER & HORN, LLC
                                      650 Poydras Street, Suite 2500
 25                                   New Orleans, LA 70130
                                      (504) 299-3300


000556
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 560 of 852 PageID 2465
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   1     APPEARANCES, cont'd.:
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 25              transcript produced by transcription service.



000557
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 561 of 852 PageID 2466
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   1                  DALLAS, TEXAS - JUNE 25, 2021 - 9:36 A.M.

   2         (Transcript excerpt begins at 11:33 a.m.)

   3               THE CLERK:   All rise.

   4               THE COURT:   All right.    Please be seated.     We are

   5     back on the record, and our last motion this morning is the

   6     Motion to Reconsider filed by CLO Holdco and the DAF.        Do we

   7     have Mr. Bridges and Mr. Sbaiti back with us now?

   8               MR. BRIDGES:   Yes, Your Honor.     I have changed seats

   9     because of audio problems we're having here, but we're both

 10      here.

 11                THE COURT:   Okay.    Well, I think we heard an

 12      agreement that you all have agreed that you're going to have

 13      an hour and a half each, and I presume that means everything:

 14      opening statements, arguments, evidence.       So, we'll start the

 15      clock.   Nate, it's 11:35.     So, Mr. Bridges, your opening

 16      statement?

 17       OPENING STATEMENT ON BEHALF OF CLO HOLDCO AND THE CHARITABLE

 18                                     DAF, LP

 19                MR. BRIDGES:   Thank you, Your Honor.      We're here on a

 20      motion to modify an order that we'd submit has already been

 21      modified by the plan confirmation order, although that order

 22      has not yet become effective.

 23          The modification there was to add the phrase "to the

 24      extent legally permissible" to the Court's assertion of

 25      jurisdiction in what is essentially the same gatekeeper




000558
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 562 of 852 PageID 2467
                                                                           4


   1     provision that's at issue here.    We submit that change is an

   2     admission or at least a strong indication that the unmodified

   3     order, at least as applied in some instances, contains

   4     legally-impermissible provisions.        The entire argument today

   5     from our side is about what's not legally permissible in that

   6     order.

   7         And that starts with our concerns regarding the

   8     application of 28 U.S.C. § 959(a).        As Your Honor knows well,

   9     959(a) is a provision of law that the Fifth Circuit and

 10      Collier on Bankruptcy call an exception to the Barton

 11      doctrine.   I know from the last time we were here that the

 12      Court is already aware of what 959(a) says.        It's the second

 13      sentence, I understand, which the Court pointed to in our

 14      previous hearing that creates general equity powers or

 15      authorizes the Court to use its general equity powers to

 16      exercise some jurisdiction, some control over actions that

 17      fall within the first sentence of 959(a).        But that second

 18      sentence also prohibits explicitly the Court's using general

 19      equity powers to deprive a litigant of his right to trial by

 20      jury.

 21          Here, we're not under Barton, the statutory exception to

 22      Barton applies, because Mr. Seery is a manager of hundreds of

 23      millions of third-party investor property.        Instead, we're

 24      here under the Court's general equity powers, as authorized by

 25      959(a).   And those equity powers cannot deprive the right to




000559
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 563 of 852 PageID 2468
                                                                          5


   1     trial by jury.

   2         But the order does deprive trials by jury, first by

   3     asserting sole jurisdiction here, where jury trials are

   4     unavailable, and secondly, by abolishing any trial rights for

   5     claims that do not involve gross negligence or intentional

   6     misconduct.

   7         Movants' third cause of action in the District Court case

   8     is for ordinary negligence.    It comes with a Seventh Amendment

   9     jury right.   But it's barred by the order because the order

 10      only allows colorable claims involving gross negligence or

 11      intentional conduct, not ordinary negligence.

 12          Movants' second cause of action in the District Court case

 13      is for breach of contract.    That comes with a Seventh

 14      Amendment jury right, but it's barred by the order because the

 15      order only allows colorable claims of gross negligence or

 16      intentional misconduct, not negligent or faultless breaches of

 17      contractual obligations.

 18          Movants' first cause of action in the District Court case,

 19      breach of Advisers Act fiduciary duties, comes with a jury

 20      right.   It's also barred by the order because the order only

 21      allows colorable claims involving gross negligence or

 22      intentional misconduct.

 23          You see there what I mean.     Congress couldn't have been

 24      clearer.   Courts cannot deprive litigants of their day in

 25      court before a jury of their peers by invoking general equity




000560
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 564 of 852 PageID 2469
                                                                          6


   1     powers.   Those powers don't trump the constitutional right to

   2     a jury trial.

   3         Yet this Court's order purports to do precisely that, not

   4     only for the Movants, but also for future potential litigants

   5     who may have claims that have not even accrued yet.        If those

   6     claims are for ordinary negligence or breach of contract or

   7     breach of fiduciary duties and don't rise to the level of

   8     gross negligence or intentional misconduct, this order says

   9     that those claims are barred, and it would deprive them of

 10      their day in court.

 11          The Court's general equity powers are simply not broad

 12      enough to uphold such an order.

 13          This issue is even more problematic when the causes of

 14      action at issue fall within the mandatory withdrawal of the

 15      reference provisions of 28 U.S.C. § 157(d).       As this Court

 16      knows, it lacks jurisdiction over proceedings that require

 17      consideration of non-bankruptcy federal law regulating

 18      interstate commerce.   Some such claims -- Movants' Advisers

 19      Act claim, for instance -- do not involve culpability rising

 20      to the level of gross negligence or intentional misconduct,

 21      but the order purports to bar them nonetheless, despite this

 22      Court's lacking jurisdiction over the subject matter of those

 23      claims.

 24          Even if there is gross negligence or intentional

 25      misconduct, the order states that this Court will have sole




000561
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 565 of 852 PageID 2470
                                                                          7


   1     jurisdiction over such claims.    And that can't be right if

   2     withdrawal of the reference is mandatory.

   3         Opposing counsel will tell you that 157(d) is inapplicable

   4     here because they think our claims in the District Court won't

   5     require substantial consideration of the Advisers Act or any

   6     other federal laws regulating interstate commerce.        But their

   7     cases don't come anywhere close to making that showing, as the

   8     briefing demonstrates.

   9         And in any case, that argument is beside the point.         This

 10      order is contrary to 157(d) because it asserts jurisdiction

 11      over claims that 157(d) does not apply -- I'm sorry, does

 12      apply to.   And that's true regardless of whether Movants'

 13      claims are among those.

 14          The idea that there's no substantial consideration of

 15      federal law, however, in the District Court case is undermined

 16      by Mr. Seery's testimony in support of his appointment in

 17      which he confirmed that the Advisers Act applies to him and

 18      that he has fiduciary duties under that Act to the investors

 19      of the funds he manages.

 20          Your Honor, importantly, the Advisers Act isn't the

 21      typical federal statute with loads of case law under it.         It's

 22      actually an underdeveloped, less-relied-upon statute, and most

 23      -- most of the law under that Act is promulgated by regulation

 24      and supervised by the SEC.    As a registered investment

 25      advisor, Mr. Seery is bound by that Act, which he admits, he




000562
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 566 of 852 PageID 2471
                                                                          8


   1     agrees to.   But to flesh out what his duties are requires a

   2     close exam of more than three dozen regulations under 17

   3     C.F.R. Part 275.

   4         The obligations include robust duties of transparency and

   5     disclosure, as well as duties against self-dealing and the

   6     necessity of obtaining informed consent, none of which are

   7     waivable, these duties.

   8         The proceedings here in this Court reflect an effort to

   9     have those unwaivable duties waived.      The allegations in the

 10      District Court are essentially insider trading allegations

 11      that the Debtor and Mr. Seery knew or should have known

 12      information that they had a duty under the Advisers Act to

 13      disclose to their advisees.    Both under the Act and

 14      contractually, they had those duties.      And, instead, they did

 15      not disclose and consummated a transaction that benefited

 16      themselves nonetheless.

 17          In considering those claims, the presiding court will have

 18      to consider and apply the Advisers Act and the many

 19      regulations promulgated under it, in addition to other federal

 20      laws regulating interstate commerce.      For that reason,

 21      withdrawal of the reference on the District Court action is

 22      mandatory.   That's the two major -- that's two major problems

 23      out of four with the order that we're here on today.

 24          First, it deprives litigants of their right to trial, to a

 25      jury trial, when Section 959(a) says that can't be done.         And,




000563
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 567 of 852 PageID 2472
                                                                          9


   1     two, the order asserts jurisdiction -- sole jurisdiction, even

   2     -- over proceedings in which withdrawal of the reference is

   3     mandatory under 157(d).

   4         The fourth major problem is what the Court called

   5     specificity at the previous hearing.      The Fifth Circuit's

   6     Applewood Chair case holds that the rule from Shoaf does not

   7     apply without a "specific discharge or release," and that that

   8     release has to be enumerated and approved by the Bankruptcy

   9     Court.   Thus, the order here can't exculpate Mr. Seery of

 10      liability for ordinary negligence and the like in a blanket

 11      fashion.   The claims being released must be identified.

 12          That's what happened in Shoaf.       Shoaf's guaranty

 13      obligation was explicitly released.      That's also what happened

 14      in Espinosa.    Espinosa's plan listed his student loan as his

 15      only specific indebtedness.    But it's not what happened here.

 16      And it couldn't happen here, because the ordinary negligence

 17      and similar claims being discharged by the order had not yet

 18      accrued and thus were not even in existence at the time the

 19      order issued.

 20          Instead, what we have here is a nonconsensual, nondebtor

 21      injunction or release that's precisely what the Fifth Circuit

 22      refused to enforce in the Pacific Lumber case.

 23          So, lack of specificity is the third major problem with

 24      the order.   And that brings us to the fourth problem, which is

 25      the Barton doctrine.   Barton is the only possible basis for




000564
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 568 of 852 PageID 2473
                                                                           10


   1     this Court to assert exclusive or sole jurisdiction over

   2     anything.   Outside of Barton, it's plain black letter law that

   3     the District Court's jurisdiction is equal to and includes

   4     anything that this Court's derivative jurisdiction would also

   5     reach.

   6         But the exception to the Barton doctrine in 959(a) plainly

   7     applies here, leaving no basis for exclusivity with regards to

   8     jurisdiction and the District Court.       That's because Mr. Seery

   9     is carrying on the business of a debtor and managing the

 10      property of others, rather than merely administering the

 11      bankruptcy estate.   The exclusive jurisdiction function of the

 12      Barton doctrine has no applicability because 959(a) creates

 13      that exception here.

 14          Under its general equity powers, yes, 959(a) still

 15      authorizes this Court to exercise some control over actions

 16      against Mr. Seery, but short of depriving litigants of their

 17      day in court.   And nothing in 959(a), that exception to

 18      Barton, says that the Court can nonetheless exercise

 19      exclusivity in that jurisdiction.        Those general equity powers

 20      do not create exclusive or sole jurisdiction.        They do not

 21      deprive the District Court of its Congressionally-granted

 22      original jurisdiction.

 23          Moreover, Mr. Seery is not an appointed trustee entitled

 24      to the protections of the Barton doctrine in any case.          His

 25      appointment was a corporate decision that the Court was asked




000565
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 569 of 852 PageID 2474
                                                                          11


   1     not to interfere with.    The Court was asked to defer under the

   2     business judgment rule to the Debtor's appointment of Mr.

   3     Seery.   And the Court did so.

   4         As we asserted last time, no authority that we can find

   5     combines these two unrelated doctrines, the Barton doctrine

   6     and the business judgment rule.    And they don't go together.

   7     None of the testimony or the briefing or argument, in the July

   8     order, in the January order that preceded it, none of that

   9     indicated that Mr. Seery would be a trustee or the functional

 10      equivalent of a trustee.    The word "trustee" does not appear

 11      in any of those briefs or transcripts.

 12          Opposing -- and because of that, the District Court suit

 13      is not about -- well, not because of that.       The District Court

 14      suit simply is not about any trustee-like role that Mr. Seery

 15      may have played anyway.    Opposing counsel will try to convince

 16      you otherwise, will tell you that the District Court case is a

 17      collateral attack on the settlement, but it's not.        Wearing

 18      his estate administrator hat, Mr. Seery can settle claims in

 19      this court.   Wearing his advisor hat, he has to fulfill his

 20      Advisers Act duties and properly advise his clients.

 21          He doesn't have to wear both hats, and it seems highly

 22      unusual that he would choose to fill both of those roles

 23      simultaneously.   But he has chosen both roles.      And the

 24      District Court case is a hundred percent about his role as an

 25      advisor.   Did he comply with the Act?     Did he do the things




000566
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 570 of 852 PageID 2475
                                                                          12


   1     that his advisor role obligated him to do as a manager of that

   2     property?

   3         The District Court suit really is only being used to

   4     illustrate the issues that we're raising here.       It's

   5     important, it's timely to address those issues now because of

   6     the District Court action, but that's an illustration of the

   7     problems with the order.      It is not exclusively that that

   8     action is what we're attempting to address.       Rather, the order

   9     exculpating Mr. Seery from ordinary negligence liability and

 10      similar liability is problematic, is contrary to the law.         On

 11      top of that, the Court is asserting jurisdiction over gross

 12      negligence and intentional misconduct claims.       To the extent

 13      that 157(d) applies, it is problematic and contrary to law as

 14      well.

 15                  THE COURT:   Okay.   We're occasionally getting some

 16      breakup of your sound.     So please -- I don't know what you can

 17      do to adjust, but it was just now, and intermittently we get a

 18      little bit of garbly.      So if you could just say your last

 19      sentence one more time, and we'll see if it improves.

 20                  MR. BRIDGES:   Your Honor, I'm not sure I can say this

 21      last sentence again.

 22                  THE COURT:   Okay.

 23                  MR. BRIDGES:   I was -- I was mentioning that the

 24      District Court case is an illustration of our argument.         Our

 25      argument is not merely that the District Court case should be




000567
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 571 of 852 PageID 2476
                                                                          13


   1     exempted or excepted from the order.      Our argument is that the

   2     order is legally infirm and that the District Court case and

   3     the claims there illustrate some of those infirmities, but

   4     that the infirmities go beyond just what's at issue in the

   5     District Court case.

   6         In sum, there are four problems with the order that render

   7     parts of it legally infirm.    It deprives the right of a jury

   8     trial -- in fact, of any trial -- in contravention of 959(a)

   9     for some causes of action.

 10          It asserts jurisdiction -- two, it asserts jurisdiction

 11      over claims that are subject to the mandatory withdrawal of

 12      the reference provision (garbled) 157(d).

 13          And three, it lacks the specificity required to discharge

 14      future claims under Applewood.

 15          Finally, Your Honor, number four, the order relies on the

 16      Barton doctrine, which doesn't apply and which 959(a) creates

 17      an exception to.

 18          Movants respectfully submit the order should be modified

 19      for those reasons.

 20                MR. SBAITI:    Tell him Mark Patrick is here, for the

 21      record.

 22                THE COURT:    All right.   I have a couple of follow-up

 23      questions for you.     I want to drill down on the issue of your

 24      client not having appealed the July 2020 order.        Or the

 25      HarbourVest settlement order, for that matter.       Tell me as




000568
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 572 of 852 PageID 2477
                                                                          14


   1     directly as possible why you don't view that as a big problem.

   2     Because it's high on my list of possible problems here.

   3                 MR. BRIDGES:   I understand, Your Honor.    The

   4     Applewood Chair case is our -- our defense to that argument,

   5     that without providing specifics as to the claims being

   6     discharged in the July order, that Shoaf cannot apply to

   7     create a res judicata effect from the failure to appeal that

   8     order.

   9                 THE COURT:   But is that really what we're talking

 10      about, a discharge of certain claims?      We're talking about a

 11      protocol that the Court established which wasn't appealed.

 12                  MR. BRIDGES:   Your Honor, your order does many

 13      things.   We're talking about a few of them in one paragraph of

 14      the order.    And in that order -- in that paragraph, yes, it

 15      creates a protocol for determining the colorability of some

 16      claims, claims that rise to the level of gross negligence or

 17      intentional misconduct.     It does not create a protocol for

 18      claims that fall below that threshold, claims for ordinary

 19      negligence, as an example.

 20                  THE COURT:   Okay.

 21                  MR. BRIDGES:   For breach of contract that's not

 22      intentional, is not grossly negligent, it's just a breach of

 23      contract.    It can even be faultless.    There's still liability.

 24      There's still a jury right under the Seventh Amendment for

 25      faultless breach of contract.




000569
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 573 of 852 PageID 2478
                                                                          15


   1         The protocols in the order do not address such claims

   2     other than to bar them.    To discharge them.     And thus, yes,

   3     it's a release, it's a discharge of those claims.        It can be

   4     viewed as a permanent injunction against bringing such claims.

   5     It's what's -- it's what's not allowed by the Applewood Chair

   6     case and by Pacific Lumber.

   7               THE COURT:   All right.    So you're arguing that was --

   8     the wording of the order was not specific enough to apprise

   9     affected parties of what they were releasing, they're

 10      releasing claims based on ordinary negligence against Mr.

 11      Seery?   That's not specific enough?

 12                MR. BRIDGES:    Correct.   Future unproved claims, the

 13      factual basis for which has not happened yet.       Those cannot be

 14      and were not disclosed with any specificity in this order.

 15          If we compare it to Shoaf and to Espinosa, in Shoaf what

 16      we had was a guaranty, Shoaf's guaranty on a transaction that

 17      was listed in the actual release, describing what the

 18      transaction was that was being -- that the guaranty was being

 19      released for.

 20          In Espinosa, what we had was a student loan --

 21                THE COURT:   Right.

 22                MR. BRIDGES:    -- that was listed in the plan

 23      specifically, as the only specific indebtedness.

 24          Here, we don't have any of that specificity.        What we have

 25      is a notice to the entire world, Your Honor, that for an




000570
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 574 of 852 PageID 2479
                                                                          16


   1     unlimited period of time any claim for ordinary negligence,

   2     for ordinary breach of contract or fiduciary duty against Mr.

   3     Seery is barred if it relates to his CEO role.       And his CEO

   4     role means as a manager of property, exactly precisely what

   5     959(a) is talking about.

   6         Those jury rights (garbled) claims cannot be released,

   7     discharged, expunged, done away with, in an order that isn't

   8     explicit.

   9         On top of that, even in an explicit order, 959(a) tells

 10      the Court it cannot deprive a litigant of its jury trial

 11      right.

 12                  THE COURT:   Well, as anyone knows who's been around a

 13      while in this case, my brain sometimes goes down an unexpected

 14      trail, and maybe this one is one of those situations.        Are

 15      there contracts that your clients would rely on in potential

 16      litigation?

 17                  MR. BRIDGES:   Yes, Your Honor.

 18                  THE COURT:   What are those contracts?

 19                  MR. BRIDGES:   It is a management contract.     I don't

 20      think I can give you the specifics at this moment, but I

 21      probably can before we're done here today.       A management

 22      contract in which the Debtor provides advisory and management

 23      services to the DAF --

 24                  THE COURT:   Well, you know, the shared services

 25      agreements that we heard so much about in this case?        A shared




000571
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 575 of 852 PageID 2480
                                                                          17


   1     service agreement?    I can't remember, you know, which entities

   2     have them and which do not at times.      So, --

   3              MR. BRIDGES:    The shared services agreement is one of

   4     those contracts, Your Honor.

   5              THE COURT:    Okay.

   6              MR. BRIDGES:    It's not the only one.

   7              THE COURT:    And what are the others?

   8              MR. BRIDGES:    There's -- the other is the investment

   9     advisory agreement.

 10               THE COURT:    Those two?

 11               MR. BRIDGES:    (no response)

 12               THE COURT:    Those are the only two?

 13               MR. BRIDGES:    There may be one other, Your Honor.

 14      I'm not sure.

 15               THE COURT:    Are they in evidence?

 16               MR. BRIDGES:    I can find out shortly.

 17               THE COURT:    Are they in evidence?       We haven't talked

 18      about evidence yet, but are they going to be in evidence,

 19      potentially?

 20               MR. BRIDGES:    They are referenced in the District

 21      Court case, the complaint, which is in evidence.

 22               THE COURT:    I'm asking, are --

 23               MR. BRIDGES:    But those contracts I don't believe are

 24      listed as exhibits here in this motion, no.

 25               THE COURT:    They are not?     Okay.




000572
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 576 of 852 PageID 2481
                                                                          18


   1         Well, what my brain is thinking about here is, of the

   2     umpteen agreements I've seen -- more than umpteen -- of the

   3     many, many agreements I've seen over time in this case, so

   4     often there's a waiver of jury trial rights, as I recall, as

   5     well as an arbitration clause.     I just was curious, hmm, you

   6     know, you talked a lot about your clients' jury trial rights:

   7     do we know that these agreements have not waived those?

   8              MR. BRIDGES:    Your Honor, I think I can answer that

   9     by the end of our hearing.     I don't have an answer off the top

 10      of my head.    What I can tell you is a jury right has been

 11      demanded in the federal court complaint, which is in evidence,

 12      and that opposing counsel has brought no evidence indicating

 13      that they have the defense of our having waived the right to a

 14      jury trial here.

 15               THE COURT:    Okay.   Well, I just --

 16               MR. BRIDGES:    Or arbitra...

 17               THE COURT:    -- would think that you would know that.

 18      Does anyone know that on the Debtor's side off the top of your

 19      head?

 20               MR. POMERANTZ:    I do not, Your Honor.

 21               THE COURT:    Uh-huh.

 22               MR. POMERANTZ:    And to Mr. Bridges' last point, we

 23      have filed a motion to dismiss.    We have not answered the

 24      complaint.    So any time to object to their jury trial right

 25      would be in the context of the answer.      So the implication




000573
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 577 of 852 PageID 2482
                                                                          19


   1     that we have not raised the issue and therefore it doesn't

   2     exist is just not a correct implication and connection he's

   3     trying to draw.

   4              THE COURT:    Okay.    All right.

   5         Well, let me also ask you about this.       I'm obsessing a

   6     little over the Barton doctrine and your insistence that it

   7     does not provide authority or an analogy here.

   8         Well, for one thing, is there anything in the Fifth

   9     Circuit case Sherman v. Ondova that you think either helps you

 10      or hurts you on that point?     I'm intimately familiar with it,

 11      although I haven't read it in a while, because it was my

 12      opinion that the Fifth Circuit affirmed.       And I spent a lot of

 13      time thinking about that.      It was a trustee, a traditional --

 14      well, no, a Chapter 11 trustee and his counsel.        But anything

 15      from that case that you think is worthy of pointing out here?

 16               MR. BRIDGES:    No, Your Honor.     I'm not -- nothing

 17      comes to mind.    That case is not fresh on my mind.

 18          What I would tell you is that Barton doctrine and the

 19      business judgment rule are incompatible, and the appointment

 20      of a trustee never involves application of the business

 21      judgment rule or deference to the Debtor or another party in

 22      terms of making that appointment.

 23          The Barton doctrine, as it applies to trustees, is viewed

 24      as an extension, to some extent, of judicial immunity to the

 25      trustee, who is chosen by, selected by the Court and assigned




000574
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 578 of 852 PageID 2483
                                                                           20


   1     by the Court to carry out certain functions.       That --

   2              THE COURT:    Well, let me --

   3              MR. BRIDGES:     -- quasi-immunity --

   4              THE COURT:    -- stop you there.     You say it's an

   5     extension of immunity.    But isn't it, by nature, really a

   6     gatekeeping provision?    It's a gatekeeping provision, right?

   7     Before you even get to immunity, maybe, in a lawsuit, it's a

   8     gatekeeping function that the Supreme Court has blessed, you

   9     know, obviously in the context of a receiver, but appellate

 10      courts have blessed it in the bankruptcy context.        The

 11      Bankruptcy Court can be the gatekeeper on whether the trustee

 12      or someone I think in a similar position can get sued or not.

 13          And then we had that Fifth Circuit case after Ondova.          It

 14      begins with a V, Villegas or something like that.        Didn't

 15      that, I don't know, further ratify, if you will, the whole

 16      Barton doctrine by saying, oh, just because they're noncore

 17      claims, state law or non-bankruptcy law claims, doesn't mean,

 18      after Stern, the Bankruptcy Court still cannot serve the

 19      gatekeeper function.

 20          Tell me what you disagree.     That's my kind of combined

 21      reading of all of that.

 22               MR. BRIDGES:     Your Honor, I have to parse it out.

 23      There's a lot to unpack there.    If I can make sure to get in

 24      the follow-ups, I can start with saying it's okay for the

 25      Court in many instances to act as a gatekeeper.




000575
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 579 of 852 PageID 2484
                                                                          21


   1              THE COURT:   Okay.

   2              MR. BRIDGES:   Both under Barton -- under Barton, or

   3     when the Barton exception in 959(a) applies, under the Court's

   4     general equitable powers, that gatekeeping functions are not

   5     across-the-board prohibited, --

   6              THE COURT:   Okay.

   7              MR. BRIDGES:   -- and we aren't trying to argue that

   8     they're prohibited across the board.

   9              THE COURT:   Okay.

 10               MR. BRIDGES:   Now, to try to dig into that a little

 11      deeper, the order does two things:       gatekeeping as to some

 12      claims, and, frankly, discharging or barring other claims.

 13      Those are two separate functions.

 14          The first one, the gatekeeping, may be, in some

 15      circumstances, which we'll come to, many circumstances, may be

 16      allowable, may be even mandatory under Barton, not even

 17      requiring an order from this Court, for the gatekeeping of

 18      Barton to apply.   But nonetheless, allowable in many instances

 19      under the Court's general equity powers under 959(a).        That

 20      part is right about gatekeeping.

 21          It does not create jurisdiction in this Court where 157(d)

 22      deprives this Court of jurisdiction.      Just because it's

 23      related to bankruptcy isn't enough to say that the Court

 24      therefore has jurisdiction if, one, if mandatory withdrawal of

 25      the reference is required.




000576
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 580 of 852 PageID 2485
                                                                          22


   1         Furthermore, Your Honor, that gatekeeping function, under

   2     the equity powers authorized by 959(a), will not allow a court

   3     to discharge or -- or deprive, is the word I'm looking for --

   4     deprive a litigant of their right to a trial -- a specific

   5     kind of trial, a jury trial -- but a trial.       And by crafting

   6     an order that says certain kinds of claims that do (garbled)

   7     jury rights are barred, rather than just providing a

   8     gatekeeper provision, flat-out bars them, that doesn't -- that

   9     doesn't comply with 959.

 10                  THE COURT:   Okay.

 11                  MR. BRIDGES:   Your Honor, if I could add one last

 12      thing.

 13                  THE COURT:   Go ahead.

 14                  MR. BRIDGES:   The Supreme Court's Stern case points

 15      out that -- that it's -- well, actually, it's the Villegas

 16      case from the Fifth Circuit --

 17                  THE COURT:   The one I mentioned.

 18                  MR. BRIDGES:   -- points out that Stern -- Stern --

 19      yes, you did.    Stern did not create an exception to the Barton

 20      doctrine.    And that gives -- that endorses a Barton court's

 21      ability to perform gatekeeping, even over claims that Stern

 22      says there would not be jurisdiction over.

 23          Contrast that with 959(a), which Collier on Bankruptcy and

 24      the Fifth Circuit have held is an exception to the Barton

 25      doctrine.    Because of that exception, Barton no longer




000577
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 581 of 852 PageID 2486
                                                                           23


   1     applies, and what you're using in invoking a gatekeeper order

   2     is the Court's inherent equitable powers, its general powers

   3     in equity.    And those equity powers are cabined.      They're

   4     broad, but they're cabined by 959(a)'s prohibition of doing

   5     away with a litigant's right to a trial, a jury trial.

   6         Now, I also -- counsel is telling me I should note for the

   7     record that Mr. Mark Patrick is here as a representative of

   8     our clients.    But Your Honor, I'll -- I will quit now unless

   9     you have further questions for me.

 10                 THE COURT:   All right.    I do not at this time.      Mr.

 11      Morris or Mr. Pomerantz, who's going to make the argument?

 12                 MR. POMERANTZ:   It's me, Your Honor.

 13                   OPENING STATEMENT ON BEHALF OF THE DEBTOR

 14                 MR. POMERANTZ:   And I'll start with the jury trial

 15      right.    In the last few minutes, we have been able to

 16      determine that the Second Amended and Restated Investment

 17      Advisory Agreement between the DAF and the Debtor has a broad

 18      jury trial waiver under 14(f).       And in addition, as I will

 19      include in my discussion, there is no private right of action

 20      under the Investment Advisers Act.

 21          I think those two points are fatal to Movants' argument,

 22      and probably I can get away with not even responding to the

 23      others.   But since I prepared a lengthy presentation to

 24      address the issues that were raised today, and also the half

 25      hour that Mr. Bridges spent with Your Honor on June 8th in




000578
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 582 of 852 PageID 2487
                                                                          24


   1     which was his first opening statement on the motion for

   2     reconsideration, I'll now proceed.

   3               THE COURT:   All right.

   4               MR. POMERANTZ:   The arguments that the Movants made

   5     in the original motion essentially boil down to one legal

   6     proposition, that the Court did not have jurisdiction to enter

   7     the July 16th order because those orders impermissibly

   8     stripped the District Court from jurisdiction, in violation of

   9     (inaudible) Supreme Court precedent and 28 U.S.C. Section

 10      157(d).

 11          As with all things Dondero, the arguments continue to

 12      morph, and you heard argument at the contempt hearing on June

 13      8th and further argument today that now the prospective

 14      exculpation for negligence in the order is also unenforceable

 15      and should be modified.

 16          Movants continue to try to distance themselves from the

 17      January 9th order and argue that it is not relevant because

 18      they seek to pursue claims against Mr. Seery as CEO and not as

 19      an independent director.   Movants ignore, however, that the

 20      January 9th order not only protects Mr. Seery in his role as

 21      the independent director, but also as an agent of the board.

 22      I will walk the Court through my arguments on that issue in a

 23      few moments.

 24          Of course, the Movants had no explanation, Your Honor, for

 25      the question of why it took them until May of 2021, 10 months




000579
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 583 of 852 PageID 2488
                                                                          25


   1     after the entry of the July 16th order that appointed Mr.

   2     Seery as CEO and CRO, and 16 months after the Court appointed

   3     the independent board, with Mr. Dondero's blessing and

   4     consent, as a substitute for what would have surely been the

   5     imminent appointment of a Chapter 11 trustee.

   6         Movants try to distance themselves from the prior orders

   7     by essentially arguing that the DAF is a newcomer to the

   8     Chapter 11 and is not under Mr. Dondero's control but is

   9     rather managed separately and independently by Mr. Patrick,

 10      who recently replaced Mr. Scott.

 11          The Movants admit, as they must, that the DAF is the

 12      parent and the sole shareholder of CLO Holdco and conducts its

 13      business through CLO Holdco, and both entities conduct their

 14      business through one individual.     It was Grant Scott then;

 15      it's Mark Patrick now.   So even if Mr. Dondero does not

 16      control the DAF and CLO Holdco, which issue was the subject of

 17      lengthy testimony in connection with the DAF hearing, both the

 18      DAF and the CLO Holdco are bound by the Debtor's res judicata

 19      argument, which I will discuss shortly.

 20          In any event, I really doubt the Court is convinced that

 21      the DAF operates truly independently of Mr. Dondero any more

 22      than the Court has been convinced that the Advisors, the

 23      Funds, Dugaboy and Get Good, all operate independently from

 24      Mr. Dondero.   The only explanation for the delay is that Mr.

 25      Dondero has been and continues to be unhappy with the Court's




000580
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 584 of 852 PageID 2489
                                                                          26


   1     rulings and has now hired a new set of lawyers in a desperate

   2     attempt to evade this Court's jurisdiction.       Having failed in

   3     their attempt to recuse Your Honor from the case, this is

   4     essentially their last hope.

   5         And these new lawyers, Your Honor, have not only filed

   6     this DAF lawsuit in the District Court which is the subject of

   7     the contempt motion and today's motion, but they also filed

   8     another lawsuit in the District Court on behalf of an entity

   9     called PCMG, another Dondero entity, challenging yet another

 10      of Mr. Seery's postpetition decisions.

 11          And there's no doubt that this is only the beginning.           Mr.

 12      Dondero recently told Your Honor at a hearing that there were

 13      many more sets of lawyers waiting in the wings.        And as the

 14      Court remarked at the hearing on the Trusts' motion to compel

 15      compliance with Rule 2015.3, the Trusts were trying through

 16      that motion to obtain information about the Debtor's control

 17      entities so that they could file more lawsuits against the

 18      Debtor, a concern that Mr. Draper unconvincingly denied.

 19          I would like to focus the Court preliminarily on exactly

 20      what the January 9th and July 16th orders do, because Movants

 21      try to confuse things by casting the entire order with a broad

 22      brush of their jurisdictional overreach arguments, and they

 23      misinterpret Supreme Court and Fifth Circuit precedent.

 24          I would like to put up on the screen the language of

 25      Paragraph 10 of the January 9th order and Paragraph 35




000581
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 585 of 852 PageID 2490
                                                                          27


   1     (garbled) of the July 16th.

   2         Your Honor is very familiar with these orders, I'm sure,

   3     having dealt with them in connection with confirmation and in

   4     prior proceedings.   But to recap, the orders essentially do

   5     three things.

   6         First, they require the parties to first come to the

   7     Bankruptcy Court before commencing or pursuing a claim against

   8     certain parties.

   9         Second, they provided the Court with the sole jurisdiction

 10      to make a finding of whether the party has asserted a

 11      colorable claim of negligence -- of willful misconduct or

 12      gross negligence.

 13          And lastly, the orders provided the Court with exclusive

 14      jurisdiction over any claims that the Court determined were

 15      colorable.

 16          The protected parties under the January 9th order are the

 17      independent directors, their agents and advisors, which, as I

 18      mentioned earlier, includes Mr. Seery -- who, at least as of

 19      March 2020, was acting as the agent on the board's behalf as

 20      the CEO -- for any actions taken under their direction.

 21          The protected parties under the July 16th order are Mr.

 22      Seery, as the CEO and CRO, and his agents and advisors.

 23          Movants spend a lot of time in their moving papers and

 24      reply arguing that the Court may not assert exclusive

 25      jurisdiction over any claims that pass through the gate.         They




000582
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 586 of 852 PageID 2491
                                                                          28


   1     also spend a lot of time arguing that the Bankruptcy Court

   2     does not even have jurisdiction at all to assert -- to

   3     adjudicate claims against Mr. Seery because such claims are

   4     subject to mandatory withdrawal under Section 157(d).

   5         The Debtor doesn't agree, and has briefed why mandatory

   6     withdrawal of the reference is inapplicable.       The Debtor has

   7     also filed in the District Court a motion to enforce the

   8     reference in effect in this district which refers cases in

   9     this district arising under, arising in, or related to Chapter

 10      11 to the Bankruptcy Court.

 11          The motion to enforce the reference, Your Honor, which

 12      extensively briefs this issue, is contained in Exhibit 3 of

 13      the Debtor's exhibits.

 14          We were somewhat surprised that the complaint filed in the

 15      District Court wasn't automatically referred to this Court

 16      under the standing order in effect in this district, given the

 17      related bankruptcy case, the Court's prior approval of the

 18      HarbourVest settlement, and the appeal in the District Court

 19      of the HarbourVest settlement.

 20          When we dug a little further, we found out that Movants

 21      filed a civil case cover sheet accompanying the complaint in

 22      the District Court.   They neglected in that initial filing to

 23      point out that there was any related case to the lawsuit they

 24      filed.

 25          Mr. Bridges fell on his sword at the contempt hearing on




000583
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 587 of 852 PageID 2492
                                                                          29


   1     June 8th and took complete responsibility for the oversight.

   2     I commend him for not trying to argue that the bankruptcy

   3     case, the HarbourVest settlement, and the District Court

   4     appeal are not related cases that would require disclosure, an

   5     argument that surely would have been unsupportable.

   6         But as I said at the contempt hearing, I find it curious

   7     that such an important issue was overlooked, an issue which

   8     would have likely changed the entire trajectory of the

   9     proceedings and landed the DAF lawsuit in this Court rather

 10      than the District Court.

 11          And this Tuesday, Your Honor, Movants filed a revised

 12      civil cover sheet with the District Court.       Although they

 13      referenced the bankruptcy case as a related case, they didn't

 14      bother to mention the appeal already pending in the District

 15      Court regarding the HarbourVest settlement -- surely, a

 16      related case.

 17          Your Honor also asked Mr. Bridges at the June 8th hearing

 18      whether it was an oversight or intentional that he didn't

 19      mention 28 U.S.C. Section 1334 as a basis for jurisdiction in

 20      his complaint.   Mr. Bridges had no answer for Your Honor then,

 21      and has given no answer now.    His only comment at the hearing

 22      last time was that it must have been Ms. Sbaiti that wrote it

 23      because he had no recollection of it.

 24          So, Your Honor, it's no surprise that Movants conveniently

 25      found themselves in the District Court, which was their




000584
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 588 of 852 PageID 2493
                                                                          30


   1     ultimate strategy from the get go.

   2            In any event, Your Honor, we have briefed the withdrawal

   3     of the reference issue.    A response by the Movants is due --

   4     CLO Holdco and DAF is due on June 29th.      And we hope the

   5     District Court will decide soon thereafter whether to enforce

   6     the reference.

   7            While I'm happy to argue why Movants' mandatory withdrawal

   8     of the reference argument is [not] persuasive, I don't think

   9     it's necessary, but I do, again, want to highlight that there

 10      is no private right of action under the Investment Advisers

 11      Act.

 12             Your Honor, it's not really relevant to today's hearing,

 13      since we have argued in opposition to the motion before Your

 14      Honor that resolving the issue of the Bankruptcy Court's

 15      jurisdiction to adjudicate claims contained in the complaint

 16      as they relate to Mr. Seery is premature at this point.         The

 17      January 9th and July 16th orders first require the Court to

 18      determine whether a claim is colorable.      It's not until this

 19      Court determines if a claim is colorable that the decision on

 20      where the lawsuit should be tried is relevant.

 21             Having said that, Your Honor, we read the Movants' reply

 22      brief very carefully and noticed in Footnote 6 that the

 23      Movants state that modifying the exclusive grant of

 24      jurisdiction to adjudicate any claims that pass through the

 25      gate to include the language "to the extent permissible by




000585
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 589 of 852 PageID 2494
                                                                          31


   1     law," in the same way the Debtor modified the plan, would

   2     resolve the motion.    So let's look at the provision as it

   3     exists in the plans.

   4         Ms. Canty, if you can put up the next demonstrative,

   5     please.

   6         This provision provides that the Bankruptcy Court will

   7     have sole and exclusive jurisdiction to determine whether a

   8     claim or cause of action is colorable, and, only to the extent

   9     legally permissible and provided in Article XI, shall have

 10      jurisdiction to determine -- to adjudicate the underlying

 11      colorable claim or cause of action.

 12          The Movants request in their reply brief in Footnote 6

 13      that the July 16th order be given the plan treatment.        That

 14      treatment:   sole authority to determine colorability and

 15      jurisdiction, and, to the extent legally permissible, to

 16      adjudicate underlying claim, only if jurisdiction existed.

 17          After reviewing the reply brief and prior to the June 8th

 18      hearing, we decided that we would agree to modify both the

 19      January 9th and the July 16th orders to provide that the

 20      Bankruptcy Court would only have jurisdiction to adjudicate

 21      claims that pass through the colorability gate to the extent

 22      permissible by law.

 23          Prior to the June 8th hearing, Mr. Morris and I had a

 24      conversation with Mr. Bridges.    We conferred about a potential

 25      resolution and a proposed modification.      Mr. Bridges indicated




000586
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 590 of 852 PageID 2495
                                                                          32


   1     they were interested in exploring a resolution and wanted to

   2     --

   3                 MR. BRIDGES:   Objection, Your Honor.

   4                 THE COURT:   There's an objection?

   5                 MR. BRIDGES:   Objection, Your Honor.    There's a Rule

   6     408 settlement discussion.       He's welcome to talk about the

   7     results, but he shouldn't be talking about what was -- what

   8     was proposed by opposing counsel in a settlement conversation.

   9                 THE COURT:   Okay.   I overrule.

 10                  MR. POMERANTZ:   Your Honor, this was not --

 11                  THE COURT:   I don't think this is a 408 issue.

 12      Continue.

 13                  MR. BRIDGES:   Thank you.

 14                  MR. POMERANTZ:   The stipulation and order which we

 15      provided to counsel is attached to my declaration, which is

 16      found at Document 2418, and it was filed in connection with a

 17      Notice of Revised Proposed Orders that we filed at Docket

 18      2417.   And I would like to put up on the screen the relevant

 19      paragraphs of the order that we provided to the Movants.

 20           So, you see, we agreed to modify each of the orders at the

 21      end to do what the plan says.       The Court would only have

 22      jurisdiction for claims passing through the gate if the Court

 23      had jurisdiction and it was legally permissible.

 24           Movants' counsel, however, responded with a mark-up that

 25      went beyond -- went beyond what Movants proposed in Footnote 6




000587
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 591 of 852 PageID 2496
                                                                          33


   1     and sought to fundamentally change the January 9th and July

   2     16th orders in ways that were not acceptable to the Debtor and

   3     not even contemplated by the original motion.

   4         Ms. Canty, can you put up on the screen the relevant

   5     paragraphs of the response we received?

   6         Specifically, Your Honor, you see at the first part they

   7     wanted to provide that the only -- the order only applied to

   8     claims involving injury to the Debtor, presumably as opposed

   9     to alleged injuries to affiliated funds or third parties.

 10      They also provided that the Court's ability to make the

 11      initial colorability determination was also qualified by "to

 12      the extent permissible by law" in the way that the Court --

 13      that the Debtor agreed to modify the ultimate adjudication

 14      jurisdiction provision.

 15          Your Honor, Movants haven't even talked about this back

 16      and forth.    They haven't talked about their about-face.       And

 17      I'll leave it for Your Honor to read their Footnote 6 that

 18      said it would resolve their motion, the back and forth, our

 19      proposal, and now Mr. Bridges' modified, morphed arguments

 20      that now point out other issues.

 21          In any event, Your Honor, we made the change, and we think

 22      it should resolve the motion, or at least it resolves part of

 23      the motion.    There can't be any argument that the Court is

 24      trying to exert exclusive jurisdiction on claims that pass

 25      through the gate.




000588
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 592 of 852 PageID 2497
                                                                          34


   1         What apparently remains from the arguments raised by the

   2     Movants is the argument that the Court does not even have

   3     jurisdiction to act as a gatekeeper in the first place because

   4     it doesn't have jurisdiction of the underlying lawsuit.         And

   5     on June 8th and today, they've added a new argument, that the

   6     orders impermissibly exculpate Mr. Seery and others, violate

   7     their jury trial rights, and are contrary to the Fifth Circuit

   8     precedent.

   9         Movants claims that the orders are a jurisdictional

 10      overreach, a violation of constitutional proportions, a

 11      violation of due process, and inconsistent with several U.S.

 12      Supreme Court cases.   But, of course, they cite no cases whose

 13      facts are even remotely similar to this one.       Instead, they

 14      are content to rely on general statements regarding bankruptcy

 15      jurisdiction, how it is derived from district court

 16      jurisdiction and is constitutionally limited, legal

 17      propositions which are not terribly controversial or even

 18      applicable to these facts.

 19          There are several arguments -- I mean, there are several

 20      reasons, Your Honor, why Movants' arguments fail.        Initially,

 21      Movants have not cited any authority, any statute, or any rule

 22      which would allow this Court to revisit the January 9th and

 23      July 16th orders.   As I will discuss in a moment, Your Honor,

 24      Republic v. Shoaf, a case the Court is very familiar in and

 25      relied on in connection with plan confirmation, bars a




000589
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 593 of 852 PageID 2498
                                                                          35


   1     collateral attack on these orders under the doctrine of res

   2     judicata.

   3         Similarly, as the Court remarked on June 8th, the Supreme

   4     Court's Espinosa decision, which rejected an attack based upon

   5     Federal Rule of Civil Procedure 60(b)(4) to a prior order that

   6     may have been unlawful, prohibits the Court from now

   7     reconsidering the January 9th and July 16th orders.

   8         But even if Your Honor rules that res judicata does not

   9     apply, there are two independent reasons why the orders were

 10      not an unlawful extension of the Court's jurisdiction.         The

 11      first is because the Court had jurisdiction to enter both of

 12      those orders as the ability to determine the colorability of

 13      claims is within the jurisdiction of the Court.        The second is

 14      because the orders are justified by the Barton doctrine.

 15          Lastly, Your Honor, Movants' argument that the Court may

 16      not act as a gatekeeper to determine the colorability of a

 17      claim for which it may not have jurisdiction is incorrect, and

 18      as Your Honor has mentioned and as Mr. Bridges unconvincingly

 19      tried to distinguish, the Fifth Circuit Villegas v. Schmidt

 20      case is a case on point and resolves that issue.

 21          Turning to res judicata, Your Honor, it prevents the Court

 22      from revisiting these governance orders.       CLO Holdco had

 23      formal notice of the Seery CEO motion and the opportunity to

 24      respond.    It failed to do so.   It is clearly bound.

 25          As reflected on Debtor's Exhibit 4, CLO Holdco is a




000590
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 594 of 852 PageID 2499
                                                                          36


   1     wholly-owned subsidiary of the DAF.      The DAF is its sole

   2     shareholder.   There is no dispute about that.      Importantly, at

   3     the time of both the January and July orders, Grant Scott was

   4     the only human being authorized to act on behalf of CLO Holdco

   5     and the DAF.   The DAF did not respond to the Seery CEO motion,

   6     either.

   7         And why is that important, Your Honor?       It's because

   8     Movants argue in their reply that the DAF cannot be bound by

   9     res judicata because they did not receive notice of the July

 10      16th order.    However, Your Honor, that is not the law.       Res

 11      judicata binds parties to the dispute and their privies, and

 12      the DAF is bound to the prior orders even though it did not

 13      receive notice.

 14          There are several cases, Your Honor, that stand for this

 15      unremarkable proposition.   First I would point Your Honor to

 16      the Fifth Circuit's opinion of Astron Industrial Associates v.

 17      Chrysler, found at 405 F.2d 958, a Fifth Circuit case from

 18      1968.   In that case, Your Honor, the Fifth Circuit held that

 19      the appellant was barred by the doctrine of res judicata from

 20      bringing a claim because its parent, which was its sole

 21      shareholder, would have been bound by res judicata.

 22          Astron is consistent with the 1978 Fifth Circuit case of

 23      Pollard v. Cockrell, 578 F.2d 1002 (1978).       And the Northern

 24      District of Texas in 2000 case of Bank One v. Capital

 25      Associates, 2000 U.S. Dist. LEXIS 11652, found that a parent




000591
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 595 of 852 PageID 2500
                                                                          37


   1     and a sole shareholder of an entity couldn't assert res

   2     judicata as a defense when those claims could have been

   3     brought against its wholly-owned subsidiary.

   4         And lastly, Your Honor, the 2011 Southern District of

   5     Texas case, West v. WRH Energy Partners, 2011 LEXIS 5183, held

   6     that res judicata applied with respect to a partnership's

   7     general partner because the general partner was in privity

   8     with the partnership.

   9         These cases are spot on and make sense.        DAF is CLO

 10      Holdco's parent.   Grant Scott was the only live person to

 11      represent these entities in any capacity at the relevant

 12      times.   Accordingly, just as CLO Holdco is bound, DAF is

 13      bound.

 14          Allowing DAF to assert a claim when its wholly-owned and

 15      controlled subsidiary is barred would allow entities to

 16      transfer claims amongst their related entities in order to

 17      relitigate them and they would never be finality.        And, of

 18      course, Jim Dondero, as we know, consented to the January 9th

 19      order, which provided Mr. Seery protection in a variety of

 20      capacities.

 21          And as Your Honor has pointed out, and as Mr. Bridges

 22      didn't have an answer for, neither CLO Holdco nor the DAF or

 23      any other party appealed any of the governance orders.          And

 24      nobody challenged the validity of these orders at the

 25      confirmation hearing, where the terms of these orders were




000592
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 596 of 852 PageID 2501
                                                                          38


   1     front and center.

   2         And importantly, Your Honor, the orders are clear and

   3     unambiguous.    They require a Bankruptcy Court [sic] to seek

   4     Bankruptcy Court approval before they commence or pursue an

   5     action against the independent board, the CEO, CRO, or their

   6     agents.   And they clearly and unambiguously set the standard

   7     of care for actions prospectively:       gross negligence or

   8     willful misconduct.

   9         The Bankruptcy Court had jurisdiction to enter the

 10      governance orders, which, as expressly indicated in the

 11      orders, were core proceedings dealing with the administration

 12      of the estate.   No one challenged this finding of core

 13      jurisdiction.    And as I will discuss later, the failure to

 14      challenge core jurisdiction is waived under applicable Supreme

 15      Court and Fifth Circuit precedent.

 16          Your Honor, the Court [sic] does not argue that Movants

 17      have waived their right to seek adjudication of a lawsuit that

 18      passes through the colorability gate by an Article III Court.

 19      The issue is not before the Court, but the changes to the

 20      order that the Debtor agreed to make clearly -- clearly will

 21      provide Mr. Bridges' clients the ability to make that

 22      determination.

 23          The Debtor is, however, arguing that the Movants have

 24      waived their right to contest the core jurisdiction of the

 25      Bankruptcy Court to make the determination that the claims are




000593
Case 3:21-cv-00842-B Document 43 Filed 07/13/21      Page 597 of 852 PageID 2502
                                                                              39


   1     colorable in the first place, and to challenge the exculpation

   2     provisions provided to the beneficiaries of those orders.

   3         Accordingly, Your Honor, the elements of res judicata are

   4     satisfied.    Both proceedings involve the same parties.           The

   5     prior judgment was entered by a court of competent

   6     jurisdiction.       The prior order was a final judgment on its

   7     merits.   And they involved the same causes of action.

   8         Importantly, the members of the independent board,

   9     including Jim Seery, relied on the protections contained in

 10      the January 9th and July 16th orders and would not have

 11      accepted these appointments if the protections weren't

 12      included.    And how do we know this?        Because each of them,

 13      both Mr. Seery and Mr. Dubel, both testified at the

 14      confirmation hearing on this very topic.

 15          And I would like to put up on the screen an excerpt from

 16      Mr. Seery's testimony at confirmation, which is testimony

 17      included in the February 2nd, 2021 transcript, which is

 18      Exhibit 2 of the Debtor's exhibits.

 19                  THE COURT:       Okay.

 20                  MR. POMERANTZ:      And I would like to just read this,

 21      Your Honor.

 22          "Q      Okay.      You    mentioned   that   there   were   certain

 23          provisions of the January 9th order that were important

 24          to you and the other independent directors.             Do I have

 25          that right?"




000594
Case 3:21-cv-00842-B Document 43 Filed 07/13/21          Page 598 of 852 PageID 2503
                                                                                       40


   1              MR. POMERANTZ:         A little bit later on, Mr. Seery

   2     testifies:

   3         "A   And then ultimately there'll be another provision

   4         in the agreement here, I don't see it off the top of my

   5         head, but a gatekeeper provision.                  And that provision"

   6         --

   7         "Q   Hold on one second, Mr. Seery."

   8              MR. POMERANTZ:         Please scroll.

   9         "Q   So, Paragraph 4 and 5, were those -- were those --

 10          were those provisions put in there at the insistence of

 11          the prospective independent directors?

 12          "A   Yes.

 13          "Q   Okay.       Can we go to Paragraph 10, please?                    There

 14          you go."

 15          Mr. Morris:       Is this the other provision that you were

 16      referring to?

 17          "A   This     is    --   it's      become    to     be    known   as    the

 18          gatekeeper       provision,     but   it's     a    provision     that    I

 19          actually got from other cases -- again, another very

 20          litigious case -- that I thought it was appropriate to

 21          bring it into this case.            And the concept here is that

 22          when you are dealing with parties that seem to be

 23          willing     to     engage     in    decade-long          litigation     and

 24          multiple     forums,     not       only     domestically      but      even

 25          throughout the world, it seemed important and prudent




000595
Case 3:21-cv-00842-B Document 43 Filed 07/13/21         Page 599 of 852 PageID 2504
                                                                                     41


   1       to me and a requirement that I set out that somebody

   2       would    have    to    come    to   this    Court,     the    Court     with

   3       jurisdiction over these matters, and determine whether

   4       there was a colorable claim.               And that colorable claim

   5       would     have    to    show      gross    negligence        and   willful

   6       misconduct -- i.e., something that would not otherwise

   7       be indemnifiable" --

   8               MR. POMERANTZ:        Hold on one second.

   9       "A      So, basically, it set an exculpation standard for

 10        negligence.            It     exculpates      the      directors      from

 11        negligence, and if somebody wants to bring a cause

 12        against the directors, they have to come to this Court

 13        first to get a finding that there's a colorable claim

 14        for gross negligence or willful misconduct."

 15        "Q      Would    you   have    accepted      the     engagement     as   an

 16        independent director without the Paragraphs 4, 5, and

 17        10 that we just looked at?

 18        "A      No,   these    were       very    specific    requests.          The

 19        language here has been smithed, to be sure, but I

 20        provided the original language for Paragraph 10 and

 21        insisted on the guaranty provisions above to ensure

 22        that the indemnity would have some support.

 23        "Q      And ultimately did the Committee and the Debtor

 24        agree    to     provide     all     the    protections       afforded    by

 25        Paragraphs 4, 5, and 10?




000596
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 600 of 852 PageID 2505
                                                                          42


   1         "A     Yes."

   2                MR. POMERANTZ:   So, Your Honor, these -- this

   3     testimony also applied to as well as the CEO.

   4         The testimony was echoed by Mr. Dubel, another member of

   5     the board.   And I'm not going to put his testimony on the

   6     screen, but it can be found at Pages 272 to 281 of Exhibit 2,

   7     which is the February 2nd transcript.

   8         Movants argue, however, that res judicata doesn't apply

   9     because the Court didn't have jurisdiction to enter these

 10      orders.    And they argue that the order stripped the District

 11      Court of this jurisdiction.    As I previously described, the

 12      Debtor is prepared to modify the governance orders to provide

 13      that the Court shall retain jurisdiction to -- on claims that

 14      pass through the gate only to the extent legally permissible.

 15      The modification does not appear to be good enough for the

 16      Movants.   They continue to argue that the Bankruptcy Court

 17      can't even act as the exclusive gatekeeper to determine

 18      whether such actions are colorable as a prerequisite for

 19      commencing or pursuing an action.

 20          The problem Movants run into is the Fifth Circuit's

 21      opinion of Republic v. Shoaf and various Supreme Court

 22      decisions, including Espinosa.

 23          In Shoaf, the Fifth Circuit held that a party cannot

 24      subsequently challenge a confirmed plan that clearly and

 25      unambiguously released a third party, even if the Bankruptcy




000597
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 601 of 852 PageID 2506
                                                                          43


   1     Court lacked jurisdiction to approve the release in the first

   2     place.   Movants' proper recourse was to appeal the governance

   3     orders, not to seek to collaterally attack them.

   4         In Shoaf, the Fifth Circuit held that the confirmed plan

   5     was res judicata with respect to a suit by the creditor

   6     against the guarantor.   And in so ruling, the Fifth Circuit

   7     says that the prong of res judicata standard that requires an

   8     order, prior order to be made by a court of competent

   9     jurisdiction is satisfied regardless of whether the issue was

 10      actually litigated.   This is because whenever a court enters

 11      an order, it does so by implicitly making a finding of its

 12      jurisdiction, a determination that can't be attacked.        And in

 13      fact, in the January 9th and the July 16th orders, it wasn't

 14      implicit, the Court's jurisdiction; it was set out that the

 15      Court had core jurisdiction.

 16          Movants try to brush Shoaf aside, arguing that is the only

 17      case the Debtor cites to support res judicata argument and is

 18      a narrow opinion that has been questioned and distinguished.

 19      That's just not correct, Your Honor.      Movants ignore that we

 20      have cited two United States Supreme Court cases, Stoll v.

 21      Gottleib and Chicot County Drainage District, upon which the

 22      Fifth Circuit based its Shoaf decision.      In each case, the

 23      U.S. Supreme Court gave res judicata effect to a Bankruptcy

 24      Court order that made a ruling party -- that a ruling party

 25      later claimed was beyond the Court's jurisdiction to do so.




000598
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 602 of 852 PageID 2507
                                                                          44


   1     In Stoll, it was a release of guaranty without jurisdiction,

   2     like Shoaf.    In Chicot, it was an extinguishment of a bond

   3     claim without jurisdiction.

   4         Similarly, Your Honor, the U.S. Supreme Court held in

   5     Espinosa that a party was not entitled to reconsideration of a

   6     Bankruptcy Court order under Federal Rule of Civil Procedure

   7     60(b)(4) discharging a student loan without making the

   8     required statutory finding of undue hardship in an adversary

   9     proceeding.    And the Supreme Court reasoned in that opinion as

 10      follows:   A judgment is not void, for example, simply because

 11      it may have been erroneous.    Similarly, a motion under

 12      60(b)(4) is not a substitute for a timely appeal.        Instead,

 13      60(b)(4) applies only in the rare instance where a judgment is

 14      premised either on a certain type of jurisdictional error or a

 15      violation of due process that deprives a party of notice or

 16      the opportunity to be heard.

 17          Federal courts considering Rule 60(b)(4) motions that

 18      assert a judgment is void because of a jurisdictional defect

 19      generally have reserved it only for the exceptional case in

 20      which the court that rendered the judgment lacked even an

 21      arguable basis for jurisdiction.     This case is not the

 22      exceptional -- exceptional circumstance that was referred to

 23      by Espinosa.

 24          In addition, we argue in our brief, and I'll get to in a

 25      few moments, that both of the orders are justified under the




000599
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 603 of 852 PageID 2508
                                                                          45


   1     Barton doctrine.

   2         Actually, before I go to that, Your Honor, I think Movants

   3     are really trying to distinguish Espinosa by arguing that the

   4     Court's order exculpating Mr. Seery for negligence liability

   5     did not provide people, mom-and-pop investors, with the due

   6     process informing them that they would not be able to assert

   7     duty claims based upon mere negligence.      I think that's the

   8     core of Mr. Bridges' argument, that, hey, you entered an

   9     order, you gave this exculpation, it was inappropriate, and it

 10      couldn't be done.

 11          There are several problems with Movants' argument.         First,

 12      Movants mischaracterize both the facts and the law in

 13      connection with the Debtor's relationship with its investors.

 14      The Debtor is the registered investment advisor for HCLOF as

 15      well as approximately 15 to 18 CLOs.      The only investor in

 16      HCLOF other than the Debtor is CLO Holdco.       The investors in

 17      the CLOs are the retail funds advised by the Dondero advisors

 18      and the other -- and other institutional investors.

 19      Accordingly, the thousands of investors, the mom-and-pop

 20      investors whose due process rights have allegedly been

 21      trampled by the January 9th and July 16th orders, are not

 22      investors in any funds managed by the Debtor.

 23          And, of course, I have mentioned, as I've mentioned

 24      before, no non -- non-Dondero investor, be it a mom-and-pop

 25      investor, another institutional investor, anyone unrelated to




000600
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 604 of 852 PageID 2509
                                                                          46


   1     Mr. Dondero, has ever appeared in this Court to challenge the

   2     Debtor's activities.

   3         But more fundamentally, Your Honor, the Debtor does not

   4     owe fiduciary duties to investors in any of the funds that the

   5     Debtor advises.   The fiduciary duty that the Debtor owes is to

   6     the funds themselves, not the investors in the funds.

   7         And while Movants point to Mr. Seery's prior testimony to

   8     support the argument that the Debtor owes a duty to investors,

   9     Mr. Seery was not testifying as a lawyer and his testimony

 10      just cannot change the law.

 11          As to each of the funds that the Debtor manages, HCLOF and

 12      the CLOs, they were each provided with actual notice of the

 13      January 16th -- the July 16th order and didn't object.         And as

 14      Your Honor will recall, the Trustees for the CLOs, the party

 15      that could potentially have claims for breach of fiduciary

 16      duty, they participated in the January 9th hearing.        They came

 17      to the Court and were concerned about the protocols that the

 18      Debtor was agreeing to with the Committee.       We revised them.

 19      The Trustees didn't object.    They didn't object then; they

 20      didn't object now.   And, in fact, they consented to the

 21      assumption of the contracts between the Debtor and the CLOs.

 22          So the argument that the orders, by having this

 23      exculpation for future conduct, violated due process rights of

 24      anyone and is the type -- essentially, the type of order that

 25      Espinosa would have contemplated could be attacked, is --




000601
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 605 of 852 PageID 2510
                                                                          47


   1     relies on faulty legal and factual premises.       No duty to

   2     investors.   No private right of action.     And both -- and all

   3     the funds received due process.

   4         In addition, Your Honor, as we argue in our brief and I'll

   5     get to in a few moments, both of the orders are justified

   6     under the Barton doctrine, as Mr. Seery is entitled to

   7     protection based upon how courts around the country have

   8     interpreted the Barton doctrine.     As such, Mr. Seery is

   9     performing his role both as an agent of the independent board

 10      under the January 9th order, as a CEO under the July 16th

 11      order, as a quasi-judicial officer.      And as Your Honor

 12      examined in the Ondova opinion which you mentioned, trustees

 13      are entitled to qualified immunity for damage to third parties

 14      resulting from simple negligence, provided that the trustee is

 15      operating within the scope of his duties and is not acting in

 16      an ultra vires manner.

 17          So, exculpating the independent directors, their agents,

 18      and the CEO in the January 9th and July 16th orders was a

 19      recognition by this Court that they would be entitled to

 20      qualified immunity, much in the same way trustees are.

 21          No doubt that Movants contend that this was error and that

 22      the Court overreached.   However, the remedy for that overreach

 23      was an appeal, not a reconsideration 16 months later.        The

 24      Court's orders based upon the determination that in this

 25      highly contentious case that these court officers needed to be




000602
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 606 of 852 PageID 2511
                                                                          48


   1     protected from negligence suits is not the exceptional case

   2     where the Court lacked any arguable basis for jurisdiction.

   3     Accordingly, this Court must follow Espinosa, Shoaf, Stoll,

   4     and Chicot and reject the attack on the prior court orders.

   5         The only case Movants cite to challenge the Supreme

   6     Court's decision -- to challenge the Supreme Court precedent I

   7     mentioned and the Fifth Circuit's Shoaf decision is the

   8     Applewood case.    Applewood is totally consistent with Shoaf.

   9     Applewood also involved a plan that purported to release a

 10      guaranty claim that the guarantor argued was res judicata in

 11      subsequent litigation regarding the guaranty.       The Fifth

 12      Circuit held in that case that the plan was not res judicata.

 13      It made that ruling because the plan did not contain clear and

 14      unambiguous language releasing the guaranty.       In that way, the

 15      Fifth Circuit distinguished Shoaf.

 16          Applewood and Shoaf are consistent.       A Bankruptcy Court

 17      order will be given res judicata effect, even if the Court

 18      didn't have jurisdiction to enter it, if the order was clear

 19      and unambiguous.   In Shoaf, the release was.      In Applewood, it

 20      wasn't.

 21          Movants argued on June 8th and argue now that the

 22      Applewood case really argues -- really deals with prospective

 23      exculpation of claims.   I went back and read Mr. Bridges'

 24      comments carefully of June 8th.    He said Applewood,

 25      exculpation.   Well, that's just not correct.      Applewood is all




000603
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 607 of 852 PageID 2512
                                                                          49


   1     about requiring specificity of a (garbled) to give it res

   2     judicata effect.    Claims that existed at that time, were they

   3     described clearly and unambiguously?      Yes?   Shoaf applies.

   4     No?   Applewood does -- applies.

   5           So how should the Court apply these principles here?        The

   6     Court approved a procedure for certain claims in the

   7     governance orders.     The procedure:    come to Bankruptcy Court

   8     before pursuing a claim against the independent directors and

   9     Seery or their agents so that the Court can make a

 10      colorability determination.    Clear and unambiguous.      The

 11      governance orders each provide that the Bankruptcy Court had

 12      jurisdiction to enter the orders, and the orders were not

 13      appealed.

 14            Movants attempt to confuse the Court and argue Applewood

 15      is on point because the January 9th and July 16th orders do

 16      not clearly identify specific claims that Movants now have

 17      that are being released.   And because they're not specific,

 18      then basically it's an ambiguous release and Applewood

 19      applies.

 20            The problem with the Movants' argument is that neither the

 21      January 9th or July 16th orders released claims that existed

 22      at that time.   If they did, and if there wasn't an adequate

 23      description, I might agree with Mr. Bridges that Applewood

 24      applied.    But there were no claims.    It was prospective.     It

 25      was a standard of care.    The Court clearly and unambiguously




000604
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 608 of 852 PageID 2513
                                                                          50


   1     said what the standard of care would be going forward.

   2     Clearly, under Shoaf and Supreme Court precedent, they are

   3     entitled to res judicata because it's a clear and unambiguous

   4     provision.   Applewood just simply doesn't apply.

   5         Mr. Phillips at the last hearing made an impassioned plea

   6     to the Court for a narrow interpretation of the exculpation

   7     provisions in the January 9th and July 16th orders, and he

   8     argued that the Court could not possibly have intended for the

   9     exculpation for negligence to apply on a go forward basis.            He

 10      thus argued to the Court that the Court should construe the

 11      exculpation narrowly and only apply it to potential claims of

 12      harm caused to the Debtor, as opposed to harm caused to third

 13      parties, which he said included thousands of innocent

 14      investors.

 15          Of course, Mr. Phillips made those arguments unburdened by

 16      the actual facts and the prior proceedings which led to the

 17      entry of these orders, because, as he was the first to admit,

 18      he only became involved in the case a month ago.

 19          As the Court recalls, and as reinforced by Mr. Seery's and

 20      Mr. Dubel's testimony I just mentioned, the exculpation

 21      provisions were included precisely to prevent Mr. Dondero,

 22      through any one of the entities he's owned and controlled, the

 23      Movants being two of those, from asserting baseless claims

 24      against the beneficiaries of those orders, exactly the

 25      situation Mr. Seery now finds himself in.




000605
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 609 of 852 PageID 2514
                                                                          51


   1         And, again, it bears emphasizing:       throughout this case,

   2     not one of the purported public investors Mr. Phillips

   3     lamented would be prevented from holding Mr. Seery responsible

   4     for his conduct has ever appeared in this case to object about

   5     anything.   And none of the directors of the funds, the funds

   6     where the Debtor acts as an investment adviser, have ever

   7     stepped foot in this court, either.

   8         Even if the Court declines to apply res judicata, Your

   9     Honor, to prevent challenges to the governance orders, the

 10      Court has the jurisdiction, had the jurisdiction to include

 11      the gatekeeping provisions in those orders.       The Bankruptcy

 12      Court derives its jurisdiction from 28 U.S.C. Section 157, and

 13      bankruptcy jurisdiction is divided into two parts:        core

 14      matters, which are those arising in or arising under Title 11,

 15      and noncore matters, those matters which are related to a

 16      Chapter 11 case.

 17          Bankruptcy Courts may enter final orders in core

 18      proceedings, and with the consent of parties, noncore

 19      proceedings.   If a party does not consent to a final judgment

 20      in the noncore matters or waives its right to consent, then

 21      the Bankruptcy Court -- or does not waive its right to

 22      consent, then the Bankruptcy Court issues a report and

 23      recommendation to the District Court.

 24          The seminal Fifth Circuit case on bankruptcy court

 25      jurisdiction is the 1987 case of Wood v. Wood, 825 F.2d 90.




000606
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 610 of 852 PageID 2515
                                                                          52


   1     There, the Fifth Circuit held that the Bankruptcy Court has

   2     related to jurisdiction over matters if the outcome of that

   3     proceeding could conceivably have any effect on the estate

   4     being administered in the bankruptcy.

   5         More recently, the Fifth Circuit, in the 2005 case, in

   6     Stonebridge Tech's, elaborated on when a matter has a

   7     conceivable effect on the estate such as to confer Bankruptcy

   8     Court jurisdiction.   There, the Fifth Circuit held that an

   9     action is related to bankruptcy if the outcome could alter the

 10      debtor's rights, liabilities, options, or freedom of action,

 11      either positively or negatively, and which in any way impacts

 12      upon the handling and the administration of the bankruptcy

 13      estate.   It is against this backdrop, Your Honor, that the

 14      Court should evaluate its jurisdiction to have entered the

 15      orders.

 16          So, again, what did the orders do?       They established

 17      governance over the Chapter 11 debtor with new independent

 18      directors being approved.   They established the procedures and

 19      protocols of how transactions were going to be presented to

 20      and approved by the Committee.    They vested in the Committee

 21      certain related-party claims, and they provided for the

 22      procedures parties would have to follow to assert any claims

 23      against the independent directors and the CRO and the agents

 24      and advisors.

 25          Your Honor, it's hard to imagine that there is a more core




000607
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 611 of 852 PageID 2516
                                                                          53


   1     order than the entry of these orders.      At the time the orders

   2     were entered, the Court was well aware of the potential for

   3     acrimony from Mr. Dondero and his related entities, and

   4     included the gatekeeper provisions to prevent the Debtor's

   5     estate from being embroiled in frivolous litigation against

   6     the board and the CEO.

   7         Such protections were clearly within the Court's

   8     jurisdiction, both to protect the administration of the estate

   9     but also under applicable Fifth Circuit law dealing with

 10      vexatious litigants, as set forth in the Baum and Carroll

 11      cases that the Court cited in its confirmation order.

 12          Not that it was hard to predict, but the last several

 13      months have reinforced how important the gatekeeping

 14      provisions in the order are and how important similar

 15      provisions in the plan are.

 16          The Court heard extensive testimony at the confirmation

 17      hearing regarding the havoc continued litigation by Mr.

 18      Dondero and his related entities would cause, which

 19      predictions have unfortunately been borne out by the

 20      unprecedented blizzard of litigation involving Mr. Dondero and

 21      his related entities that has consumed the Court over the last

 22      several months and caused the estate to incur millions of

 23      dollars in fees that could have been used to pay its

 24      creditors.

 25          And these attacks are continuing.       As I mentioned before,




000608
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 612 of 852 PageID 2517
                                                                          54


   1     in addition to the DAF lawsuit, Sbaiti & Co. filed an action

   2     against the Debtor on behalf of PCMG, another related entity,

   3     alleging postpetition mismanagement of the Select Fund.

   4         And to complete the hat trick, they are the lawyers

   5     seeking to sue Acis in the Southern District of New York for

   6     allegedly post-confirmation matters.

   7         The Court knew then and certainly knows now that the

   8     potential for sizable indemnification claims could consume the

   9     estate.   The Court used that as the potential basis for

 10      determining that the orders were within its jurisdiction, just

 11      as it used that potential to justify the exculpation

 12      provisions in the plan as being consistent with Pacific

 13      Lumber.

 14          Movants also ignore the cases -- and we cited in our

 15      opposition -- where courts in this district, including Judge

 16      Lynn in Pilgrim's Pride in 2010 and Judge Houser in the CHC

 17      Group in 2016, approved gatekeeper provisions that provided

 18      the Bankruptcy Court with exclusive jurisdiction to adjudicate

 19      claims against postpetition fiduciaries.

 20          Movants also ignore cases outside this district, including

 21      General Motors and Madoff, which we cited in our brief as

 22      examples of cases where Bankruptcy Courts have been used as

 23      gatekeepers to determine if claims are colorable or being

 24      asserted against the correct entity.

 25          And there's another reason, Your Honor, why Movants may




000609
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 613 of 852 PageID 2518
                                                                          55


   1     now not contest the Court's jurisdiction to have entered those

   2     orders.   Each of those orders, as I said before, include a

   3     finding that the Court had core jurisdiction to enter the

   4     orders.   No party contested that finding or refused to consent

   5     to the core jurisdiction.

   6         Under well-established Supreme Court precedent, parties

   7     can waive their right to challenge the Bankruptcy Court's

   8     jurisdiction, core jurisdiction, by failing to object.         In

   9     Wellness v. Sharif in 2015, the Supreme Court expressly held

 10      that Article III was not violated if parties knowingly and

 11      voluntarily consented to adjudication of Stern v. Marshall-

 12      type alter ego claims, and that the consent need not be

 13      express, so long as it was knowing and voluntary.

 14          And Wellness confirmed the pre-Stern opinion of the Fifth

 15      Circuit in the 1995 McFarland case, which held that a person

 16      who fails to object to the Bankruptcy Court's assumption of

 17      core jurisdiction is deemed to have consented to the entry of

 18      a final order by the Bankruptcy Court.

 19          Your Honor, I'd now like to turn to the Barton doctrine.

 20      The Court also has jurisdiction to have entered the orders

 21      based upon the Barton doctrine.    The Barton doctrine dates

 22      back to an old United States Supreme Court case and provides

 23      as a general rule that, before a suit may be brought against a

 24      trustee, consent from the appointing court must be obtained.

 25          Movants essentially make two arguments why the Barton




000610
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 614 of 852 PageID 2519
                                                                          56


   1     doctrine doesn't apply.

   2         First, Movants, without citing any authority, argue that

   3     it does not apply to Mr. Seery because he is not a trustee or

   4     receiver and was not appointed by the Court.       Although the

   5     doctrine was originally applied to receivers, it has been

   6     extended over time to cover various court-appointed

   7     fiduciaries and their agents in bankruptcy cases, including

   8     debtors in possession, officers and directors of the debtor,

   9     and the general partner of the debtor.      And although Mr.

 10      Bridges says he couldn't find one case that applied the Barton

 11      doctrine to a court-retained professional, I will now talk

 12      about several such cases.

 13          In Helmer v. Pogue, a 2012 case cited in our brief, the

 14      District Court for the Northern District of Alabama

 15      extensively analyzed the Barton doctrine jurisprudence from

 16      the Eleventh Circuit and beyond and concluded that it applied

 17      to debtors in possession.    The Helmer Court relied in part on

 18      a prior 2000 decision of the Eleventh Circuit in Carter v.

 19      Rodgers, which held that the doctrine applies to both court-

 20      appointed and court-approved officers of the debtor, which is

 21      consistent with the law in other circuits.

 22          And subsequently, the Eleventh Circuit again considered --

 23      and in that case, the distinction of a court-appointed as a

 24      court-retained professional was -- was not persuasive to the

 25      Court, and the Court held that a court-retained professional




000611
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 615 of 852 PageID 2520
                                                                          57


   1     can still have Barton protection, notwithstanding that he

   2     wasn't appointed, the argument that Mr. Bridges tries to make.

   3         And subsequently, --

   4              THE COURT:   I wonder, was that -- was that Judge

   5     Clifton Jessup, by chance?    Or maybe Bennett?

   6              MR. POMERANTZ:    Your Honor, this was -- this was the

   7     Eleventh Circuit Carter v. Rodgers, so I think Judge Jessup

   8     was --

   9              THE COURT:   Oh, I thought you were still talking

 10      about the Alabama case.    No?

 11               MR. POMERANTZ:    Yeah, the Alabama -- well, the

 12      Alabama case referred to the Eleventh Circuit case, Carter v.

 13      Rodgers, --

 14               THE COURT:   Okay.

 15               MR. POMERANTZ:    -- and the appointment and -- or

 16      retention issue was discussed in the Carter v. Rodgers case.

 17               THE COURT:   Okay.

 18               MR. POMERANTZ:    And subsequently, the Eleventh

 19      Circuit again considered the contours of the Barton doctrine

 20      in CDC Corp., a 2015 case, 2015 U.S. App. LEXIS 9718.        In that

 21      case, which Your Honor referenced in your Ondova opinion,

 22      which I will discuss in a few moments, the Eleventh Circuit

 23      held that a debtor's general counsel who had been approved by

 24      the Court, who was appointed by a chief restructuring officer

 25      who was also approved by the Court, was covered by the Barton




000612
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 616 of 852 PageID 2521
                                                                          58


   1     doctrine for acts taken in furtherance of the administration

   2     of the estate and the liquidation of the assets.

   3         And the Eleventh Circuit last year, in Tufts v. Hay, 977

   4     F.3d 204, reaffirmed that court-approved counsel who function

   5     as the equivalent of court-appointed officers are entitled to

   6     protection under Barton.   While the Court in that case

   7     ultimately ruled that counsel could be sued without first

   8     going to the Bankruptcy Court, it did so because it determined

   9     that the suit between two sets of lawyers would not have any

 10      effect on the administration of the estate.

 11          So, Your Honor, not only is there authority, there is

 12      overwhelming authority that Mr. Seery is entitled to the

 13      protections.

 14          In Gordon v. Nick, a District -- a case from 1998 from the

 15      Fourth Circuit, the Court that the Barton doctrine applied to

 16      a lawsuit against a general partner who was responsible for

 17      administering the bankruptcy estate.

 18          And as I mentioned, Your Honor, and as Your Honor

 19      mentioned, Your Honor had reason to look at the Barton

 20      doctrine in length and in depth in the 2017 Ondova opinion.

 21      And in the course of the opinion, Your Honor discussed one of

 22      the policy rationales for the doctrine, which you took from

 23      the Seventh Circuit's Linton opinion, and you said as follows:

 24      "Finally, another policy concern underlying the doctrine is a

 25      concern for the overall integrity of the bankruptcy process




000613
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 617 of 852 PageID 2522
                                                                          59


   1     and the threat of trustees being distracted from or

   2     intimidated from doing their jobs.       For example, losers in the

   3     bankruptcy process might turn to other courts to try to become

   4     winners there by alleging the trustee did a negligent job."

   5         Here, the independent board was approved by the Court as

   6     an alternative to the appointment of a Chapter 11 trustee.

   7     And it and its agent, including Mr. Seery as the CEO, even

   8     before the July 16th order, were provided protections in the

   9     form of the gatekeeper order and exculpation.

 10          I'm sure the Court has a good recollection of the January

 11      9th hearing -- we've talked about it a lot in the proceedings

 12      before Your Honor -- where the Debtor and the Committee

 13      presented the governance resolution to Your Honor.        And as

 14      Your Honor will recall, the appointment of the board was a

 15      hotly-contested issue among the Debtor and the Committee and

 16      was heavily negotiated.   And the appointment of the

 17      independent board was even contested by the United States

 18      Trustee at a hearing on January 20th, 2020.

 19          I refer the Court to the transcripts of the hearings on

 20      January 9th and January 20th of 2020, which clearly

 21      demonstrate that appointing this board and giving it the

 22      rights and protections and its agents the rights and

 23      protections was not your typical corporate governance issue,

 24      but it was essentially the Court's alternative to appointing a

 25      trustee.   And recognizing that the members of the independent




000614
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 618 of 852 PageID 2523
                                                                          60


   1     board were essentially officers of the Court, the Court

   2     approved the gatekeeper provision, requiring parties first to

   3     come and seek the Court's permission before suing them, in

   4     order to prevent them from being harassed by frivolous

   5     litigation.

   6         And the independent board was given the responsibility in

   7     the January 9th order to retain a CEO it deemed appropriate,

   8     and it did so by retaining Mr. Seery.

   9         Recognizing the Barton doctrine as it applies to Mr. Seery

 10      is consistent with a legion of cases throughout the United

 11      States, and Movants' argument that Mr. Seery is not court-

 12      appointed is just wrong.

 13          Second, Your Honor, Movants cite without any authority,

 14      argue that even if the Barton doctrine applied there is an

 15      exception which would allow it to pursue a claim against Mr.

 16      Seery without leave of the Court.

 17          The Debtor agrees the 28 U.S.C. § 959 is an exception to

 18      the Barton doctrine.   Section 959(a) provides that trustees,

 19      receivers, or managers of any property, including debtors in

 20      possession, may be sued without leave of the court appointing

 21      them with respect to any of their acts or transactions in

 22      carrying on business connected with such property.

 23          As the Court also pointed out at the June 8th hearing, and

 24      Mr. Bridges alluded to in his argument, the last sentence of

 25      959(a) provides that such actions -- clearly referring to




000615
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 619 of 852 PageID 2524
                                                                          61


   1     actions that may be pursued without leave of the appointing

   2     court -- shall be subject to the general equity power of such

   3     court, so far as the same may be necessary to the ends of

   4     justice.

   5         And Mr. Bridges made a plea, saying you can't take away my

   6     jury trial right there.   You just cannot do that.       Well, I

   7     have two answers to that, Your Honor.      One, they relinquished

   8     their jury trial right.   We've established that.       Okay?

   9         The second is allowing Your Honor to act as a gatekeeper

 10      has nothing to do with their jury trial right.       Allowing Your

 11      Honor to act as a gatekeeper allows you to determine whether

 12      the action could go forward, and it'll either go forward in

 13      Your Honor's court or some other court.

 14          And the argument that the exculpation was essentially a

 15      violation of 959 is just -- is just -- it just is twisting

 16      what happened.   You have an exculpation provision.       We already

 17      went through the authority the Court had to give an

 18      exculpation.   With respect to these litigants who are before

 19      Your Honor -- we're not talking about anyone else who's coming

 20      in to try to get relief from the order; we're talking about

 21      these litigants -- we've already established that they were

 22      here, they're bound by res judicata.      So their 959 argument

 23      goes away.

 24          And as the Court -- and separate and apart from that, the

 25      issue at issue in the District Court litigation is -- is not




000616
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 620 of 852 PageID 2525
                                                                          62


   1     even subject to 959.

   2         Mr. Bridges says, well, of course it is because it deals

   3     with the administration of the estate.      I'd like to refer to

   4     what the Court said -- this Court said in its Ondova opinion:

   5     The exception generally applies to situations in which the

   6     trustee is operating a business and some stranger to the

   7     bankruptcy process might be harmed, such as a negligence claim

   8     in a slip-and-fall case, and is inapplicable to suits based

   9     upon actions taken to further the administering or liquidating

 10      the bankruptcy estate.

 11          And your Ondova opinion is consistent with the Third and

 12      Eleventh Circuit opinions Your Honor cited in your opinion, as

 13      well as numerous other --

 14          (Interruption.)

 15               MR. POMERANTZ:     -- from the -- from around the

 16      country, including cases from the First, Second, Sixth,

 17      Seventh, and Ninth Circuits.    And I'm not going to give all

 18      the cites to those cases, but it's not a -- it's not a

 19      remarkable proposition that Your Honor relied on in Ondova.

 20          In addition, several of these cases, including the

 21      Eleventh Circuit's Carter opinion, have been cited with

 22      approval by the Fifth Circuit in National Business Association

 23      v. Lightfoot, a 2008 unpublished opinion for this very point.

 24      The Barton exception of 959 does not apply to actions taken in

 25      the administration of the case and the liquidation of assets




000617
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 621 of 852 PageID 2526
                                                                          63


   1     in the estate.

   2         Suffice it to say that it's clear that the Section 959

   3     exception to Barton has no applicability in this case.

   4     Movants, hardly strangers to the bankruptcy case, want to sue

   5     Mr. Seery for acts taken relating to a settlement of very

   6     complex and significant claims against the estate.        They want

   7     to sue a court-appointed fiduciary for doing his job,

   8     resolving claims against the estate and his management of the

   9     bankruptcy estate.   And they want to do this outside of the

 10      Bankruptcy Court.

 11          Settlement of the HarbourVest claim, which is where this

 12      claim arises under -- whether it's a collateral attack now or

 13      not, and we say it is, is for another issue -- but it clearly

 14      arises in the context of settlement of the HarbourVest claim,

 15      is the quintessential act to further the administration and

 16      liquidation of the bankruptcy estate, and certainly doesn't

 17      fall within the 959 exception.

 18          Movants seem to be arguing that 959(a) makes a distinction

 19      between claims against Mr. Seery that damaged the Debtor and

 20      claims against Mr. Seery that damaged third parties.        However,

 21      the Movants make up that distinction, and it's not in the

 22      statute, it's not in the case law.       The focus is not on who

 23      the conduct damages, but it's rather on whether the conduct

 24      was taken in connection with the administration or the

 25      liquidation of the estate.




000618
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 622 of 852 PageID 2527
                                                                          64


   1         And even if the Debtor is wrong, Your Honor, which it's

   2     not, the savings clause allows the Court to determine whether

   3     leave to be -- sue will be granted.      Given that these claims

   4     are asserted by Dondero-related entities, if not controlled

   5     entities, no serious argument exists that the equities do not

   6     permit this Court to determine if leave to sue is appropriate.

   7         Accordingly, Movants' argument that the orders create this

   8     tension with 959 is simply an over-dramatization.        And in any

   9     event, Your Honor, there's a basis independent of Barton that

 10      supports the jurisdiction to enter the orders, as I mentioned.

 11          But even if the orders only relied on Barton, there is an

 12      easy fix to Movants' concerns:    let them come to court and

 13      argue that the type of suit they are bringing allegedly falls

 14      within the exception of 959.

 15          Your Honor, Movants argue that the Bankruptcy Court may

 16      not act as a gatekeeper if it would not have jurisdiction to

 17      deal with the underlying action.     They essentially argue that

 18      an Article I judge may not pass on the colorability of a

 19      claim, that it should be decided by an Article III judge.

 20      This is the same argument, Your Honor, that Your Honor

 21      rejected in connection with plan confirmation and which I

 22      touched on earlier.

 23          And the reason why Your Honor rejected it is because

 24      there's no law to support it.    In fact, there is Fifth Circuit

 25      law that holds to the contrary.    And we talked about a little




000619
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 623 of 852 PageID 2528
                                                                          65


   1     bit the Fifth Circuit case decided is Villegas v. Schmidt in

   2     2015.   And Villegas is a simple case.     Schmidt was appointed

   3     trustee over a debtor and liquidated its estate and the

   4     Bankruptcy Court approved his final fees.       Four years later,

   5     Villegas and the prior debtor sued Schmidt in District Court,

   6     the district in which the Bankruptcy Court was pending,

   7     arguing that he was negligent in the performance of his

   8     duties.    The District Court dismissed the case because

   9     Villegas failed to obtain Bankruptcy Court approval to bring

 10      the suit under the Barton doctrine.

 11          On appeal, Villegas argued Barton didn't apply for two

 12      reasons.   First, that Stern v. Marshall created an exception

 13      to the Barton doctrine for claims that the Bankruptcy Court

 14      would not have the jurisdiction to adjudicate.        And second,

 15      that Barton did not apply if the suit is brought in the

 16      District Court, which exercises supervisory authority over the

 17      Bankruptcy Court that appointed the trustee.       Pretty much the

 18      argument that was made by Movants at the contempt hearing.

 19          The Fifth Circuit rejected both arguments.        It held that

 20      the existence of a Stern claim does not impact the Bankruptcy

 21      Court's authority because Stern did not overrule Barton and

 22      the Supreme Court had cautioned circuit courts against

 23      interpreting later cases as impliedly overruling prior cases.

 24          More importantly, the Fifth Circuit pointed to a post-

 25      Stern 2014 case, Executive Benefits v. Arkison, 573 U.S. 25




000620
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 624 of 852 PageID 2529
                                                                          66


   1     (2014), which held that Stern does not decide how a Bankruptcy

   2     Court or District Courts should proceed when a Stern creditor

   3     is identified, as support for the argument that Barton is

   4     still good law, even dealing with a Stern claim.

   5         Second, the Fifth Circuit, joining every circuit to have

   6     addressed the issue, ruled that the District Court and the

   7     Bankruptcy Court are distinct from one another and the

   8     Bankruptcy Court has the exclusive authority to determine the

   9     colorability of Barton claims and that the supervisory

 10      District Court does not.

 11          Movants didn't address Villegas in their reply.         Briefly

 12      tried to distinguish it, unconvincingly, today.        The bottom

 13      line is Villegas is directly applicable.       Your Honor cited it

 14      in the Ondova opinion for precisely the proposition that

 15      Barton applies whether or not the Court has authority to

 16      adjudicate the claim.

 17          Accordingly, Your Honor, it was within the Court's

 18      jurisdiction to require a party to seek approval of Your Honor

 19      on the colorability of a claim before an action may be

 20      commenced or pursued against the protected parties, even if

 21      Your Honor wouldn't have authority to adjudicate the claim at

 22      the end of the day.

 23          In fact, some courts have even addressed the proper

 24      procedure for doing so, requiring the putative plaintiff to

 25      not only seek leave of Bankruptcy Court but also to provide a




000621
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 625 of 852 PageID 2530
                                                                            67


   1     draft complaint and a basis for the Court to determine if the

   2     claim is colorable.

   3         Movants have done neither, and they should not be

   4     permitted to modify the final orders of the Court as a

   5     workaround.

   6         Your Honor, that concludes my presentation.        I'm happy to

   7     answer any questions Your Honor may have.

   8               THE COURT:    All right.    Not at this time.    All right.

   9     I'm going to figure out, do we need a break or not, depending

 10      on what Mr. Bridges tells me.       I assume we're just doing this

 11      on argument today.     I think that's what I heard.     No witnesses

 12      or exhibits.

 13                MR. BRIDGES:    That is correct, Your Honor.

 14                THE COURT:    Okay.   Mr. Bridges, how long do you

 15      expect your rebuttal to take so I can figure out does the

 16      Court need a break?

 17                MR. BRIDGES:    Fifteen minutes plus whatever it takes

 18      to submit agreed-to exhibits.

 19                THE COURT:    Okay.   Let's take a five-minute bathroom

 20      break.   We'll come back.   It's -- what time is it?      It's 1:11

 21      Central time.   We'll come back in five minutes.

 22                THE CLERK:    All rise.

 23          (A recess ensued from 1:11 p.m. until 1:17 p.m.)

 24                THE CLERK:    All rise.

 25                THE COURT:    All right.    Please be seated.    We're




000622
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 626 of 852 PageID 2531
                                                                          68


   1     going back on the record in the Highland matters.

   2         Mr. Bridges, time for your rebuttal.       I want to ask you a

   3     question right off the bat.    Mr. Pomerantz pointed out

   4     something that was on my list that I forgot to ask you when

   5     you made your initial presentation.      What is the authority

   6     you're relying on?    You did not cite a statute or a rule per

   7     se, but I guess we can probably all agree that Bankruptcy Rule

   8     9024 and Federal Rule 60 is the authority that would govern

   9     your motion, correct?

 10               MR. BRIDGES:     I don't agree, Your Honor.      I don't

 11      believe this is a final order that we're contesting here.           And

 12      I think that's demonstrated by the Court's final confirmation

 13      -- plan -- plan confirmation order that seeks to modify this

 14      order or will modify this order upon being -- being effective.

 15      So I don't think so.

 16          In the alternative, if we are challenging a final order,

 17      then I think you're right as to the rules that would be

 18      controlling.

 19               THE COURT:     All right.   Well, let me back up.     Why

 20      exactly do you say this would be an interlocutory order as

 21      opposed to a final order?

 22               MR. BRIDGES:     Because of its nature, Your Honor.

 23      While the appointment in the order or the approval of the

 24      appointment in the order might, as a separate component of the

 25      order, have -- have finality, the provisions -- the provisions




000623
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 627 of 852 PageID 2532
                                                                          69


   1     in it relating to gatekeeping and exculpation are, we think,

   2     by their very nature, quite obviously interlocutory and not

   3     permanent.   They don't seem to indicate an intention by any of

   4     the parties that, 30 years from now, if Mr. Seery is still CEO

   5     at Highland, long after the bankruptcy case has ended, that

   6     nonetheless parties would be prohibited from bringing claims,

   7     strangers to this action would be prohibited from bringing

   8     claims related to his CEO role.

   9         I think the nature of it demonstrates that, the

 10      modifications to it, and even the inclusion of it in the final

 11      plan confirmation, as well as -- can't read that.

 12                 THE COURT:   Can you give me some authority?      Because

 13      as we know, there's a lot of authority out there in the

 14      bankruptcy universe on what discrete orders are interlocutory

 15      in nature that a bankruptcy judge might routinely enter and

 16      which ones are final.    You know, it would just probably, if I

 17      flipped open Collier's, I could -- you know, it would be mind-

 18      numbing.

 19          So what authority can you rely on?       I mean, is there any

 20      authority that says an employment order is not a final order?

 21      That would be shocking to me if you have cases to that effect,

 22      but, I mean, of course, sometimes we do interim on short

 23      notice and then final.    But this would be shocking to me if

 24      there is case authority to support the argument this is not a

 25      final order.   But I learn something new every day, so maybe I




000624
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 628 of 852 PageID 2533
                                                                           70


   1     would be shocked and there is.

   2               MR. BRIDGES:    Your Honor, I'd point you to In re

   3     Smyth, 207 F.3d 758, and In re Royal Manor, 525 B.K. 338

   4     [sic], for the proposition that retaining a bankruptcy

   5     professional is an interlocutory order.

   6               THE COURT:   Okay.   Stop for a moment.     The Smyth

   7     case.   Which court is that?

   8               MR. BRIDGES:    Fifth Circuit.

   9               THE COURT:   Okay.   So tell me the facts.      I'm

 10      surprised I don't know about this case.      But, again, I don't

 11      know every case.   So, it held that an employment order is an

 12      interlocutory order?

 13                MR. BRIDGES:    Appointing counsel.     A professional in

 14      the bankruptcy context, Your Honor.

 15                THE COURT:   Counsel for a debtor-in-possession?         An

 16      order approving counsel was an interlocutory order?

 17                MR. BRIDGES:    Yes, or the Trustee's counsel.

 18                THE COURT:   Or the Trustee's counsel?      Okay.     What

 19      were the circumstances?    Was this on an expedited basis and

 20      there wasn't a follow-up final order, or what?

 21                MR. BRIDGES:    Your Honor, I don't have -- I don't

 22      have that at the tip of my memory.       I'm sorry.

 23                THE COURT:   Okay.   And the other one, 525 B.R. 338,

 24      what court was that?

 25                MR. BRIDGES:    It's a Bankruptcy Court within the




000625
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 629 of 852 PageID 2534
                                                                          71


   1     Sixth Circuit.    I'm not certain which district.

   2                 THE COURT:   All right.   Well, maybe one of you two

   3     over there can look them up and give me the context, because

   4     that is surprising authority.     Or other lawyers on the WebEx

   5     maybe can do some quickie research.

   6         Okay.    We'll come back to that.    But assuming that this

   7     was a final order, which I have just been presuming it was,

   8     Rule 60 is the authority you're going under?       9024 and Rule

   9     60, correct?

 10                  MR. BRIDGES:   Your Honor, we have not invoked those

 11      rules.   Alternatively, I think you're right that they would

 12      control if we are wrong about the interlocutory nature of the

 13      order.

 14                  THE COURT:   Well, you have to be going under certain

 15      -- some kind of authority when you file a motion.        So I'm --

 16                  MR. BRIDGES:   As an alternative --

 17                  THE COURT:   I'm approaching this exactly, I assure

 18      you, as the District Court or a Court of Appeals would.         You

 19      know, you start out, what is the legal authority that is being

 20      invoked here?

 21                  MR. BRIDGES:   Well, --

 22                  THE COURT:   So I just assume Rule 60.    I can't, you

 23      know, come up with anything else that would be the authority.

 24                  MR. BRIDGES:   Yes, Your Honor.   You also have

 25      inherent power to modify orders that are in violation of the




000626
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 630 of 852 PageID 2535
                                                                          72


   1     law.   And we pointed you to --

   2                THE COURT:   Now, is that right?    Is that really

   3     right?   Why do we have Rule 60 if I can just willy-nilly, oh,

   4     I feel like I got that wrong two years ago?       I can't do that,

   5     can I?   Rule 60 is the template for when a court can do that.

   6     Parties are entitled to rely on orders of courts.        And that's

   7     why we have Rule 60, right?    So, --

   8                MR. BRIDGES:   Your Honor, I think -- I think that

   9     we're miscommunicating.     I'm trying not to rely on Rule 60 in

 10      the first instance because in the first instance we view this

 11      as not a final order.     So, in the first instance, --

 12                 THE COURT:   I got that.    And I've got my law clerks

 13      looking up your cases to see if they convince me.        But I'm

 14      asking you to go to layer two.       Assuming I don't agree with

 15      you these are final orders, what is your authority for the

 16      relief you're seeking?

 17                 MR. BRIDGES:   Yes, Your Honor.    Rule 60 would apply

 18      in the alternative.

 19                 THE COURT:   All right.

 20                 MR. BRIDGES:   That's correct.

 21                 THE COURT:   So, which provision?    Which provision of

 22      Rule 60?   (b) what?

 23                 MR. BRIDGES:   Your Honor, I'm not prepared to concede

 24      any of them.   I don't have the rule in front of me.

 25                 THE COURT:   You're not prepared to concede what?




000627
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 631 of 852 PageID 2536
                                                                           73


   1                MR. BRIDGES:   Any of the provisions of Rule 60.       Just

   2     (b)(1), (b)(2), especially, but I'm -- I'm -- Rule 60 is our

   3     basis, as is the particulars (b)(1), (2), (6) --

   4         (Garbled audio.)

   5                THE COURT:   Okay.    You're breaking up.    Can you

   6     restate?

   7                MR. BRIDGES:   (b)(1), (2), and (6), as -- as well as

   8     any other provision, Your Honor, of Rule 60.

   9                THE COURT:   Okay.    Well, so (1), mistake,

 10      inadvertence, surprise, excusable neglect.        Which one of

 11      those?

 12                 MR. BRIDGES:   All of the above, Your Honor.

 13                 THE COURT:   Surprise?    Who's surprised?

 14                 MR. BRIDGES:   Your Honor, I think every potential

 15      litigant who discovers that your order purports to bar

 16      prospective unaccrued claims at the time the order issued

 17      would be surprised.

 18          Frankly, I think Mr. Seery would be surprised, given his

 19      testimony that he owes fiduciary duty -- duties that he must

 20      abide by and that he appears to have, as I continue to

 21      represent to clients, to advisees, and to the SEC, that those

 22      duties are owing.

 23                 THE COURT:   Okay.    I'm giving you one more chance

 24      here to make clear on the record what provision of Rule 60(b)

 25      are you relying on, okay?       I need to know.   It's not in your




000628
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 632 of 852 PageID 2537
                                                                           74


   1     pleading.

   2                 MR. BRIDGES:   Your Honor, --

   3                 THE COURT:   So tell me specifically.     I can only --

   4                 MR. BRIDGES:   -- (b)(1) --

   5                 THE COURT:   -- come up with a result here if I know

   6     exactly what's being presented.

   7                 MR. BRIDGES:   Your Honor, (b)(1), (b)(2), and (b)(6)

   8     --

   9                 THE COURT:   Which, okay, there are multiple parts to

 10      (1).   You're saying somebody's surprised by the ruling.         I

 11      don't know who.    Really, all that matters is your client, the

 12      Movants.    You're saying, even though they participated, --

 13                  MR. BRIDGES:   Yes, Your Honor.

 14                  THE COURT:   -- got notice, they're somehow surprised?

 15      Why are they surprised?

 16                  MR. BRIDGES:   Yes, Your Honor.

 17                  THE COURT:   Do you have evidence of their surprise?

 18                  MR. BRIDGES:   Your Honor, our brief shows the

 19      intentions of all involved were not the interpretation of that

 20      order being advanced at this -- at this point in time.          And

 21      so, yes, I believe that is evidence.        The transcripts of the

 22      hearings I believe evidence that as well, that the

 23      understanding of everyone involved was not that future --

 24      unspecified future claims that had not accrued yet would be

 25      released under (b)(1).     Yes, Your Honor.




000629
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 633 of 852 PageID 2538
                                                                           75


   1               THE COURT:   Okay.

   2               MR. BRIDGES:   Under (b)(2), --

   3               THE COURT:   I don't have any evidence of that.         All I

   4     have is the clear wording of the order.        Okay.    Let me just --

   5     just let me go through this.

   6         Assuming Rule 60 (1) through (6) are what you're arguing

   7     here, what about Rule 60(c):    a motion under Rule 60(b) must

   8     be made within a reasonable time?        We're now 11 months --

   9               MR. BRIDGES:   Your Honor, --

 10                THE COURT:   We're now 11 months past the July 2020

 11      order.   What is your authority for this being a reasonable

 12      time?

 13                MR. BRIDGES:   Yes, Your Honor.      If I may back up one

 14      step before answering your question.       Under (b)(2), we're

 15      relying on newly-discovered evidence that was discovered in

 16      late March and caused both the filing of this motion and the

 17      filing of the District Court action.

 18          Under (b)(4), we believe that the order is --

 19                THE COURT:   Let me stop.      Let me stop.    What is my

 20      evidence that you're putting in the record that's newly

 21      discovered?

 22                MR. BRIDGES:   The evidence is detailed in the

 23      complaint that is in the record.      You know, --

 24                THE COURT:   That's not evidence.

 25                MR. BRIDGES:   -- honestly, Your Honor, --




000630
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 634 of 852 PageID 2539
                                                                            76


   1              THE COURT:   That is not evidence.       Okay?    A lawyer-

   2     drafted complaint in another court is not evidence.          Okay?

   3              MR. BRIDGES:   Your Honor, I think, to be technical,

   4     that there is not a record yet, that we have evidence yet to

   5     be admitted on our exhibit list.     I believe in this

   6     circumstance -- I understand that, in general, allegations in

   7     a pleading are not evidence.    In this instance, when we're

   8     talking about whether or not new facts led to the filing of a

   9     lawsuit, I do believe that the allegations in the lawsuit are

 10      evidence of those new facts.

 11               THE COURT:   All right.    Go on.

 12               MR. BRIDGES:   Under (b)(4), we believe the order is,

 13      in part, void.   It is void because of the jurisdictional and

 14      other defects noted in our argument.

 15          And also, under (b)(6) (garbled) ground for relief that

 16      we're appealing to the equitable powers of this Court to

 17      correct errors and manifest injustice towards not just the

 18      litigants here but to correct the order of the Court to make

 19      it comply with -- with the law, with the statutes promulgated

 20      by Congress and to respect the jurisdiction of the District

 21      Court.

 22               THE COURT:   All right.    Do you agree with Mr.

 23      Pomerantz that the case law standard for Rule 60(b)(4) is

 24      exceptional circumstances?    It's only applied so that a

 25      judgment is voided in exceptional circumstances.          Do you




000631
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 635 of 852 PageID 2540
                                                                          77


   1     disagree with that case authority?

   2                MR. BRIDGES:    I would -- I would agree, in part, that

   3     unusual circumstances is not the ordinary case.        I'm not

   4     entirely sure what you mean by exceptional, but I think we're

   5     on the same page.

   6                THE COURT:    Okay.   It's not what I mean.    That's just

   7     the case law standard.     And I'm asking, do you agree with Mr.

   8     Pomerantz that that is the standard set forth in case law when

   9     applying 60(b)(4)?      There have to be some sort of exceptional

 10      circumstances where there's just basically no chance the Court

 11      had authority to do what it did.

 12                 MR. BRIDGES:    Out of the ordinary would be the phrase

 13      I would use, Your Honor.

 14                 THE COURT:    Okay.   So I guess then I'll go from

 15      there.   Is it your argument that gatekeeping provisions in the

 16      bankruptcy world are out of the ordinary?

 17                 MR. BRIDGES:    The exculpation of Mr. Seery for

 18      liability falling short of gross negligence or intentional

 19      wrongdoing in connection with his continuing to conduct the

 20      business of the Debtor as an investment advisor subject to the

 21      Advisers Act, yes, I would say that is out of the ordinary,

 22      that it is extraordinary, that it is --

 23                 THE COURT:    Okay.   What is your authority or evidence

 24      on that?   Because this Court approves exculpation provisions

 25      regularly in connection with employment orders, and pretty




000632
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 636 of 852 PageID 2541
                                                                          78


   1     much every judge I know does.    In fact, I'm wondering why this

   2     isn't just a term of compensation.       You know, he's going to do

   3     x, y, z in the case.     His compensation is going to be a, b, c,

   4     d, e.   And by the way, we're going to set a standard of

   5     liability for his performance as CEO or investment banker,

   6     financial advisor, whatever, so that no one can sue him

   7     regarding his performance of his job duties unless it rises to

   8     the level of gross negligence, willful misconduct.

   9         It's a term of employment that, from my vantage point,

 10      seems to be employed all the time.       So it would be anything

 11      but exceptional circumstances.     Do you have authority or

 12      evidence --

 13                MR. BRIDGES:    Your Honor, frankly, --

 14                THE COURT:   -- to the contrary?

 15                MR. BRIDGES:    Your Honor, frankly, I'm astonished at

 16      your view of that situation, that it would merely be a term of

 17      his employment, that vitiates the entire fiduciary duty

 18      standard created by the Advisers Act that tells him, with

 19      hundreds of millions of dollars of assets under management for

 20      people he's advising as a registered investment advisor,

 21      people he's advising who believe that he has a fiduciary duty

 22      to them and that it's enforceable, that the SEC, who monitors,

 23      believes he has an enforceable fiduciary duty to those people,

 24      and that he's testified that he has fiduciary duties to those

 25      people, and that Your Honor is saying no, just as a regular




000633
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 637 of 852 PageID 2542
                                                                          79


   1     term of employment we have undone the Advisers Act's

   2     imposition of an unwaivable fiduciary duty.

   3            Your Honor, the order is void to the extent that it

   4     attempts to do so.

   5            This is not an ordinary employment agreement, Your Honor.

   6     This is an attempt to exculpate someone from the key thing

   7     that our entire investment system depends upon, regulation by

   8     the SEC and the requirement in investment advisors to act as

   9     fiduciaries when they manage the money of another.

 10             It would be the equivalent of telling lawyers who are

 11      appointed in a bankruptcy proceeding that they don't have any

 12      duties to their client, or at least not fiduciary duties.

 13      That the lawyers merely owe a duty not to be grossly negligent

 14      to their clients.    That's not an ordinary term of employment,

 15      Your Honor.

 16                  THE COURT:   All right.   So I guess we're back to my

 17      question, was this brought within a reasonable time under Rule

 18      60(c)?

 19                  MR. BRIDGES:   It was brought very quickly after the

 20      new evidence was discovered at the end of March, Your Honor,

 21      yes.

 22                  THE COURT:   Okay.   Well, I guess I'll just ask you

 23      one more question before you continue on with your rebuttal

 24      argument.    I mean, again, I want your best argument of why

 25      Villegas doesn't absolutely permit the gatekeeping provisions




000634
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 638 of 852 PageID 2543
                                                                           80


   1     that you're challenging.     And many cases were cited by Mr.

   2     Pomerantz in his brief where courts have extended the Barton

   3     doctrine to persons other than trustees.        And so what is your

   4     best rebuttal to that?

   5                 MR. BRIDGES:   Your Honor, we've already given it.

   6     I'm afraid --

   7                 THE COURT:   Okay.    If you don't want to say more, --

   8                 MR. BRIDGES:   -- what I have is not --

   9                 THE COURT:   -- I'm not going to make you say more.

 10                  MR. BRIDGES:   I --

 11                  THE COURT:   I'm just telling you what's on my brain.

 12                  MR. BRIDGES:   I do.   I want to -- I am apologizing in

 13      advance for repeating, but yes, Villegas, Villegas, however

 14      that case is pronounced, says that Stern is not an exception

 15      to the Barton doctrine.

 16                  THE COURT:   Uh-huh.

 17                  MR. BRIDGES:   959(a) is an exception to the Barton

 18      doctrine.    You are not operating under the Barton doctrine

 19      here.   Even counsel's brief, the Debtor's brief, doesn't say

 20      Barton applies.    It says it's consistent with Barton.

 21          Your Honor, in our previous hearing, you directed me to

 22      the second sentence of 959(a) because you believe it's what

 23      empowers you to do the gatekeeping.       It limits the gatekeeping

 24      that you can do by protecting jury rights, the right to trial,

 25      says you cannot discharge, undo, deprive a litigant of their




000635
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 639 of 852 PageID 2544
                                                                          81


   1     right to a trial, a jury trial.

   2               THE COURT:   Well, you mentioned it again, jury trial

   3     rights.   Do you have any argument --

   4               MR. BRIDGES:    Yes, Your Honor.

   5               THE COURT:   -- of why that hasn't flown out the

   6     window?

   7               MR. BRIDGES:    Yes, Your Honor.    I am told that

   8     Section 14(f) that counsel for the Debtor referred to is not a

   9     waiver of jury rights at all.    It is an arbitration agreement.

 10      Your Honor is probably familiar how arbitration agreements

 11      work, is that they need not be elected.       They need not be

 12      invoked by the parties.    When they are, they create a

 13      situation where arbitration may be required.       But a waiver of

 14      a jury right outside of arbitration is not part of this

 15      arbitration clause, or of any.    The issue is not briefed or in

 16      evidence before the Court.    We're relying on representations

 17      of counsel as to what that provision contains.        That Mr. Seery

 18      wasn't even a party to that agreement, the advisory agreement,

 19      with the Charitable DAF.    The arbitration agreement is subject

 20      to defenses that are not at issue here before the Court.         That

 21      Movants' rights, their contractual rights to invoke the

 22      arbitration clause, also appear to be terminated by the

 23      orders' assertion of sole jurisdiction in this matter.

 24          Your Honor, yes, our jury rights survive Section 14(f) in

 25      the advisory agreement with the DAF for all of those potential




000636
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 640 of 852 PageID 2545
                                                                            82


   1     reasons.

   2         On top of that, it doesn't go to all of our causes of

   3     action.    It goes to the contract cause of action.        And to the

   4     extent they can argue that the other claims are subject to

   5     arbitration, that also is a defense and -- defensible and

   6     complex issue requiring the application of the Federal

   7     Arbitration Act, requiring consideration of the Federal

   8     Arbitration Act, which this Court doesn't have jurisdiction to

   9     do under 157(d).

 10                 THE COURT:    What?    Repeat that.

 11                 MR. BRIDGES:    Yes.   This Court does not have

 12      jurisdiction to determine whether or not arbitration --

 13      arbitration is enforceable due to the mandatory withdrawal of

 14      the reference provisions of 157(d).

 15                 THE COURT:    That's just not consistent with Fifth

 16      Circuit authority.      National Gypsum.    What are some of these

 17      other arbitration cases?      I've written an article on it.       I

 18      can't remember them.      That's just not right.     Bankruptcy

 19      courts look at arbitration clauses all the time.          Motions to

 20      compel arbitration.

 21                 MR. BRIDGES:    Your Honor, under 157(d), in the

 22      circumstances of this case, if the Court is going to take into

 23      consideration an arbitration clause under the Federal

 24      Arbitration Act, when that clause is not in evidence and is

 25      not before the Court, then Movants respectfully move to




000637
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 641 of 852 PageID 2546
                                                                          83


   1     withdraw the reference of your consideration of that issue and

   2     of any proceeding and ask that you would issue only a report

   3     and recommendation rather than an order on that issue.

   4              THE COURT:    Okay.    I regret that we even got off on

   5     this trail.    I'm sorry.    So just proceed with your rebuttal

   6     argument as you had envisioned it, Mr. Bridges.

   7              MR. BRIDGES:       Thank you, Your Honor.

   8         Debtor's counsel says there's no private right of action

   9     under the Advisers Act.      That is both inaccurate and

 10      misleading.    The Advisory Act creates, imposes fiduciary

 11      duties that state law provides the cause of action for.         It is

 12      a state law breach of fiduciary duty claim regarding --

 13      regarding fiduciary duties imposed as a matter of law by the

 14      Investment Advisers Act that is Count One in the District

 15      Court action.

 16          Furthermore, that Act does create a private right of

 17      action for rescission.      That would be rescission of the

 18      advisory agreement with the Charitable DAF, not rescission of

 19      the HarbourVest settlement.

 20          Second, Your Honor, the notion that this Court has related

 21      to jurisdiction is irrelevant and beside the point.        I would

 22      like to note for the record that the District Court civil

 23      cover sheet that omitted to state that this was a related

 24      action has been corrected, has been amended, and that that has

 25      taken place.




000638
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 642 of 852 PageID 2547
                                                                          84


   1         Counsel for the Debtor also appears to agree with us that

   2     the order ought to be modified for having asserted exclusive

   3     jurisdiction over colorable claims to the extent it's not

   4     legally permissible to do.    And in trying to invoke the

   5     discussions between us as to how the orders might be fixed,

   6     what counsel does is tries to cabin the legally-permissible

   7     caveat to just the second half of the paragraph at issue.         It

   8     is both -- both portions, the gatekeeping and the subsequent

   9     hearing of the claims, that should be limited to the extent it

 10      would be impermissible legally for this Court to make those

 11      decisions.

 12          On top of that, Your Honor, merely stating "to the extent

 13      legally permissible" would result in a considerable amount of

 14      ambiguity in the order that would lead it, I fear, to be

 15      unenforceable as a matter of law.

 16          Next, Your Honor, when Debtor's counsel talks about the

 17      authority in this case, it feels like we're ships passing in

 18      the night.   He says that we're wrong in asserting that no case

 19      we can find involves both the Barton doctrine and the

 20      application of the business judgment rule where the Court is

 21      asked to defer, and he mentions cases that apply the Barton

 22      doctrine to an approval rather than an appointment.        The Court

 23      is asked to --

 24          (Garbled audio.)

 25               THE COURT:    I lost you for a moment.      Could you




000639
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 643 of 852 PageID 2548
                                                                          85


   1     repeat the last 30 seconds?

   2              MR. BRIDGES:   Thank you, Your Honor.       Yes.   He points

   3     -- opposing counsel points us to case law where the Barton

   4     doctrine has been applied despite the Bankruptcy Court having

   5     merely approved rather than appointed the trustee or the, I'm

   6     sorry, the professional.   But in doing so, he doesn't

   7     reference any case that has done so in the context of business

   8     judgment rule deference.   It's like we're ships passing in the

   9     night.

 10          What we're saying isn't that a mere approval can never

 11      rise to the level of the Barton doctrine.       What we're saying

 12      is that, in combination with the business judgment rule

 13      deference, the two cannot go together.      There's no authority

 14      for saying that they do.

 15          We -- I further feel like we're ships passing in the night

 16      when he talks about Shoaf.    Counsel says that in Shoaf there

 17      was a confirmed final plan and it specifically identified the

 18      released guaranty.   And yeah, that distinguishes it from this

 19      case, just as it distinguished -- just as the Applewood Chair

 20      case distinguished it when there's not that specific

 21      identification.   And here, we don't even have a final plan

 22      confirmation at the time these orders are being issued.

 23      Without that express -- express notion of what the claims are

 24      being discharged, Shoaf doesn't apply.

 25          There, there was a guaranty to a party on a specific




000640
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 644 of 852 PageID 2549
                                                                          86


   1     indebtedness that was listed, identified with specificity, and

   2     disappeared as a result of the judgment, as a result of the

   3     judgment in the underlying case.     Here, we're talking about

   4     any potential claim that might arise in the future.        As of the

   5     July order's issuance, it didn't apply on its -- either it

   6     didn't apply to future claims that had not yet accrued or else

   7     in violation of Applewood Chair, it was releasing claims

   8     without identifying them.

   9         Who does Seery owe a fiduciary duty to?        Is it, as

 10      Debtor's counsel says, only to the funds and not to the

 11      investors, or does he also owe those duties to the investors

 12      as well?   Your Honor, that is going to be a hotly-contested

 13      issue in this litigation, and it involves -- it requires

 14      consideration of the Advisers Act and the multitude of

 15      accompanying regulations.    To just state that his fiduciary

 16      duties are limited in a way that couldn't affect anyone that

 17      is -- whose claims are precluded by the July order is both

 18      wrong on the law and is invoking something that will be a

 19      hotly-contested issue that falls under 157(d), where, again,

 20      this Court doesn't have the jurisdiction to decide that, other

 21      than in a report and recommendation.

 22          The order is legally infirm because it's issued without

 23      jurisdiction for doing that as well.

 24          Finally, Your Honor, I think (garbled) wrong direction

 25      with a statement that suggests that Mr. Seery is an agent of




000641
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 645 of 852 PageID 2550
                                                                           87


   1     the independent directors under the January order.        He is, in

   2     fact, not an independent agent -- not an agent of any of the

   3     independent directors, but, at most, of the company that is

   4     controlled by the board, not -- not of individual directors

   5     who could confer on him -- who could confer on him any

   6     immunity that they have obtained from the January order just

   7     by having appointed him.

   8         The proposed order from the other side failed to address

   9     either the ambiguity in the order or its attempt to exculpate

 10      Mr. Seery from the liability, including liability for which

 11      there is a jury trial right, and it is not a fix to the

 12      problem for that reason.

 13          In order to make the order enforceable and to fix its

 14      infirmities, the Court would have to do significantly more.

 15      It would have to both apply the caveat from the final

 16      confirmation plan order, rope that caveat to the first part of

 17      the relevant paragraph, as well as the second part, and it

 18      would have to provide directive clarity to be enforceable

 19      rather than too vague.

 20          Your Honor, I think that's all I have.

 21               THE COURT:   Okay.   Just FYI, my law clerk pulled the

 22      Smyth case from 21 years ago from the Fifth Circuit.        And

 23      while it more prominently deals with the issue of whether

 24      trustees -- in this case, it was a Chapter 11 trustee -- could

 25      be subjected to personal liability for damages to the




000642
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 646 of 852 PageID 2551
                                                                           88


   1     bankruptcy estate --

   2         (Echoing.)

   3                 THE COURT:   Someone, put your phone on mute.      I don't

   4     know who that is.

   5         It dealt with, you know, the standard of liability, that

   6     the trustee could not be sued for matters not to the level of

   7     gross negligence.

   8         But it does say, in the very last paragraph, to my shock

   9     and amazement, that -- it's just one sentence in a 10-page

 10      opinion -- orders appointing counsel -- and it was talking

 11      about the trustee's lawyer he hired to handle appeals to the

 12      Fifth Circuit -- orders appointing counsel under the

 13      Bankruptcy Code are interlocutory and are not generally

 14      considered final and appealable.        And it cites one case from

 15      1993, the Middle District of Florida.       Live and learn.     There

 16      is one sentence in that opinion that says that.         But I don't

 17      know that it's hugely impactful here, but I did not know about

 18      that opinion and I'm rather surprised.

 19          All right.    You were going to walk me through evidence,

 20      you said?

 21                  MR. BRIDGES:   Well, do I -- Your Honor, do you want

 22      to do that first before I submit --

 23                  THE COURT:   Yes, please.

 24                  MR. BRIDGES:   -- my rebuttal argument?

 25                  THE COURT:   Please.




000643
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 647 of 852 PageID 2552
                                                                            89


   1                 MR. BRIDGES:    Okay.

   2                 THE COURT:   Uh-huh.

   3                 MR. BRIDGES:    Your Honor, we would submit and offer

   4     Exhibits 1 through 44, with the exception of those that have

   5     been withdrawn, that are 2, 13 --

   6                 THE COURT:   Okay.   Slow down.    Slow down.    I need to

   7     get to the docket entry number we're talking about.           Are we

   8     talking -- are your -- the Debtor's exhibits are at 2412.              But

   9     Nate, I misplaced my notes.         Where are Charitable DAF and

 10      Holdco's?

 11                  THE CLERK:   I have 2411.

 12                  THE COURT:   2411?   Is that it?

 13                  MR. BRIDGES:    2420, Your Honor.

 14                  THE COURT:   2420?   Okay.    Give me a minute.     (Pause.)

 15      2420?

 16                  MR. BRIDGES:    Yes, Your Honor.

 17                  THE COURT:     Okay, I'm there.    And it's which

 18      exhibits?

 19                  MR. BRIDGES:    It's Exhibits 1 through 44, Your

 20      Honor, with four exceptions.         We have agreed to withdraw

 21      Exhibit 2, 13, 14, and 29.

 22                  THE COURT:     All right.

 23                  MR. BRIDGES:    Also, Your Honor, we'd like to submit

 24      Debtor's Exhibit 1, which is under Exhibit 49 on our list,

 25      would be anything offered by the other side.          But we'd like




000644
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 648 of 852 PageID 2553
                                                                          90


   1     to make sure that Debtor's Exhibit 1 gets in the record as

   2     well.

   3               THE COURT:     Let me back up.    When I pull up the

   4     docket entry you just told me, I have Exhibits 44, 45, and 46

   5     only.   Am I misreading this?

   6               MR. BRIDGES:    I have a chart showing Exhibits 1

   7     through 49 titled Docket 2420 filed 6/7/21.

   8               THE COURT:     Okay.   The docket entry number you told

   9     me, 2420, it only has three exhibits:        44, 45, and 46.    So,

 10      first off, I understand -- are you offering 45 and 46 or not?

 11                MR. BRIDGES:    No, Your Honor.

 12                THE COURT:     Okay.   So you said you were offering 1

 13      through 44 minus certain ones.      44 is here.

 14                MR. BRIDGES:    Yes.

 15                THE COURT:     But I've got to go back to a different

 16      docket number.

 17                THE CLERK:     It's actually 2411.

 18                THE COURT:     It's at 2411.     That has all the others?

 19                THE CLERK:     Yes.

 20                THE COURT:     Okay.

 21          So, Mr. Pomerantz, do you have any objection to Exhibits

 22      1 through 44, which he's excepted out 2, 13, 14, and 29, and

 23      then he's added Debtor's Exhibit 1?        Any objection?

 24                MR. POMERANTZ:    I don't believe so.     I just would

 25      confirm with John Morris, who has been focused on the




000645
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 649 of 852 PageID 2554
                                                                          91


   1     exhibits, just to confirm.

   2              THE COURT:     Mr. Morris?

   3              MR. MORRIS:     No objection, Your Honor.      It's fine.

   4              THE COURT:     Okay.   They're admitted.

   5         (Movants' Exhibits 1, 3 through 12, 15 through 28, and 30

   6     through 44 are received into evidence.       Debtor's Exhibit 1 is

   7     received into evidence.)

   8              THE COURT:     So, any --

   9              MR. BRIDGES:    Thank you, Your Honor.

 10               THE COURT:     Anything you wanted to call to my

 11      attention about these?

 12               MR. BRIDGES:    Your Honor, the things that we

 13      mentioned in the argument, for sure, but especially that the

 14      word "trustee" is not used in the January hearing's

 15      transcript, nor is it under discussion in that transcript

 16      that it would be a trustee-like role being played by the

 17      Strand directors, as well as the transcript of the July

 18      hearing on the order at issue here, Your Honor, where you are

 19      asked to defer both in that transcript and in the motion, the

 20      motion that was at issue in that hearing, you are asked to

 21      defer to the business judgment of the company.

 22          And finally, Your Honor, I'd ask you to look at the

 23      allegations in the District Court complaint.

 24               THE COURT:     All right.

 25          Mr. Pomerantz or Morris, let's see what exhibits you're




000646
Case 3:21-cv-00842-B Document 43 Filed 07/13/21     Page 650 of 852 PageID 2555
                                                                            92


   1     wanting the Court to consider.         Your exhibits, it looks like,

   2     are at Docket Entry 2412.

   3                 MR. MORRIS:   As subsequently amended at 2423.

   4                 THE COURT:    Oh.     All right.   So which ones are you

   5     offering?

   6                 MR. MORRIS:   We're offering all of the exhibits on

   7     2423, which is 1 through 17.

   8         (Echoing.)

   9                 THE COURT:    Whoops.     We got some distortion there.

 10      Say again?

 11                  MR. MORRIS:   Yeah.     All of the exhibits that are on

 12      2423, which are Exhibits 1 through 17.          But I want to make

 13      sure that, as I did earlier, that that has the exhibits that

 14      we're relying on.    Does that --

 15          (Pause.)

 16                  THE COURT:    Okay.    Let me make sure I know what's

 17      going on here.    You're double-checking your exhibits, Mr.

 18      Morris?

 19                  MR. MORRIS:   Yes, Your Honor.

 20                  THE COURT:    Okay.

 21          (Pause.)

 22                  MR. MORRIS:   Your Honor, we start with Docket No.

 23      2419, --

 24                  THE COURT:    Okay.

 25                  MR. MORRIS:   -- which was the amended exhibit list.




000647
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 651 of 852 PageID 2556
                                                                           93


   1     And that actually had Exhibits 1 through 17.         And then that

   2     was amended at Docket 2423.      So, the exhibits on both of

   3     those lists.

   4               THE COURT:     Well, they're one and the same, it looks

   5     like, right?

   6               MR. MORRIS:    Yes.

   7               THE COURT:     Okay.   So you're offering those?

   8               MR. MORRIS:    I think -- yeah.

   9               THE COURT:     Any objection?

 10                MR. BRIDGES:    No objection.

 11                THE COURT:     All right.   They're admitted.

 12          (Debtor's Exhibits 1 through 17 are received into

 13      evidence.)

 14                MR. POMERANTZ:    Your Honor, if I may take a few

 15      moments to respond to Mr. Bridges' reply?

 16                THE COURT:     All right.      Is he still within his hour

 17      and a half?

 18                THE CLERK:     At an hour and one minute.

 19                THE COURT:     Okay.   All right.   You have a little

 20      time left, so go ahead.

 21                MR. POMERANTZ:    Thank you, Your Honor.

 22          So look, I -- it sort of was really not fair to us.           Mr.

 23      Bridges was really making things up on the fly.         He was

 24      changing the theories of his case and responding to Your

 25      Honor.   But I'm going to do my best to respond to the




000648
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 652 of 852 PageID 2557
                                                                            94


   1     arguments made, many of which I sort of anticipated.

   2         I'll first start with the issue that Your Honor raised,

   3     which was whether this is under Rule 60 or not.          Mr. Bridges

   4     identified a couple of cases, said that the order was

   5     interlocutory, said that somehow the orders have anything to

   6     do with a plan confirmation order.        They do not.    Your Honor

   7     didn't hear that argument at the plan confirmation.          The

   8     January 9th and July 16th orders are old and cold.          There's

   9     an exculpation provision in the plan.        There's a gatekeeper

 10      in the plan.    The provisions do not overlap entirely.        The

 11      gatekeeper applies prospectively.        The exculpation provision

 12      includes additional parties.

 13          So the arguments that basically the plan had anything to

 14      do -- and the fact that the plan is not a final order -- has

 15      anything to do with the January 9th and July 16th orders is

 16      just wrong.     It's just wrong.

 17          More fundamentally, Your Honor, as Your Honor pointed

 18      out, the Smyth case is a professional employment order.            And

 19      ironically, if you abide by the Smyth case, that order is

 20      never appealable because it's interlocutory.

 21          But more fundamentally, Your Honor, that's dealing with

 22      327 professionals.    And again, there's not much analysis in

 23      the Smyth case, but we're not dealing with a 327

 24      professional.    We're dealing with orders that were approved

 25      under 363.




000649
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 653 of 852 PageID 2558
                                                                           95


   1         So the premise of the argument that Rule 60(b) -- 60

   2     doesn't apply and they have other arguments just doesn't make

   3     any sense.

   4         Okay.     So now that gets us to Rule 60.       And Your Honor,

   5     Your Honor hit the nail on the head.          They haven't presented

   6     any evidence.    Allegations in a complaint aren't evidence.

   7     They can't stand up there and say surprise evidence.           They

   8     had the opportunity -- and this hearing's been continued a

   9     few weeks -- they had the opportunity to bring it up, and

 10      it's -- they had the opportunity to claim that there was

 11      surprise, but they just didn't.       Okay?

 12          So to go on to the Rule 60 arguments.          Surprise.

 13      Surprise and reasonable delay are really -- go hand in hand

 14      with Mr. Bridges' argument.    He says, well, we didn't find

 15      out that -- months after the order was entered that he

 16      violated a duty to us, so we are surprised by that, and it's

 17      a reasonable time.    Well, Your Honor, the order provided for

 18      an exculpation.    CLO Holdco and DAF knew that it applied to

 19      an exculpation.    They were bound.      They knew based upon that

 20      order that they would not be able to bring claims for normal

 21      negligence.    There is no surprise.

 22          If you take Mr. Bridges' argument to its conclusion, he

 23      could wait until the end of the statute of limitations after

 24      an order and have come in four years from now and say, Your

 25      Honor, we just found out facts so we should go back four




000650
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 654 of 852 PageID 2559
                                                                          96


   1     years before.    That, Your Honor, that's not how the surprise

   2     works.   That's not how the reasonable time works.

   3         Mr. Bridges did not contest that they're bound by res

   4     judicata.   He did not contest that the exculpation itself was

   5     clear and unambiguous.    Of course he argued Your Honor

   6     couldn't enter an order saying there was exculpation, again,

   7     with no authority.    And he seemed surprised, as I suspect he

   8     should, since he's not a bankruptcy lawyer, that retention

   9     orders, whether it's investment bankers, financial advisors,

 10      include exculpations all the time.       So there's no grounds

 11      under surprise.

 12          There's no grounds -- the motions are late under 60(c).

 13          And they're not void.    I went through a painstaking

 14      analysis, Your Honor, and I described in detail what the

 15      Espinosa case held, and the exceptional circumstances which

 16      Mr. Bridges tried to get away from as much as he could.

 17      Maybe he can try to get away from language in a district

 18      Court opinion, in a Bankruptcy Court opinion, in a Circuit

 19      Court opinion.    You can't get away from language in a Supreme

 20      Court opinion.    The Supreme Court opinion said exceptional

 21      circumstances, where there was arguably no basis for

 22      jurisdiction for what the Court did.       They have not even come

 23      close to convincing Your Honor that there was absolutely no

 24      basis.

 25          Now, they disagree.     We granted, we think it's a good-




000651
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 655 of 852 PageID 2560
                                                                          97


   1     faith disagreement, but they haven't come close to

   2     establishing the Espinosa standard, so their motion under 60

   3     does not -- it fails.

   4         And I don't think -- look, these are good lawyers.          Mr.

   5     Bridges and Mr. Sbaiti are good lawyers.       They didn't just

   6     inadvertently not mention Rule 60.       They never mentioned it

   7     because they knew they had no claim under Rule 60.

   8         Your Honor, Mr. Bridges has made comments about the

   9     fiduciary duty of Mr. Seery, about what the Investor's Act

 10      provides.   He's just wrong on the law.     Now, Your Honor

 11      doesn't have to decide that.    Whichever court adjudicates the

 12      DAF lawsuit will have to decide it.      But there is no private

 13      cause of action for damages.    There are no fiduciary duties to

 14      the investors.

 15          And what Mr. Bridges doesn't even mention, in that the

 16      investment agreement that's so prominent in his complaint,

 17      they waived claims other than willful misconduct and gross

 18      negligence against Highland.    They waived those claims.       So

 19      for Mr. Bridges to come in here and argue that there's some

 20      surprise, when he hasn't even bothered to look at the document

 21      that's underlying the contractual relationship between the DAF

 22      and the Debtor, is -- you know, I'll just say it's

 23      inadvertence.

 24          Your Honor, Mr. Bridges tried to argue that Mr. Seery is

 25      not a beneficiary of the January 9th order.       He's not an




000652
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 656 of 852 PageID 2561
                                                                          98


   1     agent.    Well, again, Your Honor, Mr. Bridges wasn't there.

   2     Your Honor and we were.    On January 9th, an independent board

   3     was picked, and at the time Mr. Dondero ceased to become the

   4     CEO.    So you have three gentlemen coming in -- Mr. Seery, Mr.

   5     Dubel, and Mr. Nelms -- coming in to run Highland, in a very

   6     chaotic time.    They had to act through their agents.      There

   7     was no expectation that this board was going to actually run

   8     the day-to-day operations of the Debtor.       Of course not.    They

   9     needed someone to run.    And they picked Mr. Seery.      And the

 10      argument that well, he's an agent of the company, he's not an

 11      agent of the board, that just doesn't make sense.        The

 12      independent board had to act.    The directors had to act.       And

 13      the directors, how do they deal with that?       They acted through

 14      Mr. Seery.    So he is most certainly governed by the January

 15      9th order.

 16             Your Honor, I want to talk about the jury trial right.

 17      Mr. Bridges said that Paragraph 14 is an arbitration clause

 18      and not a jury trial waiver.    Now, again, I will forgive Mr.

 19      Bridges because I assume he didn't read the provision, okay,

 20      and he -- somebody told him that, and that person just got it

 21      wrong.    But what I would like to do is read for Your Honor

 22      Paragraph 14(f).    It doesn't have to do with arbitration.

 23      It's a waiver of jury trial.    14(f), Jurisdiction Venue,

 24      Waiver of Jury Trial.    The parties hereby agree that any

 25      action, claim, litigation, or proceeding of any kind




000653
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 657 of 852 PageID 2562
                                                                          99


   1     whatsoever against any other party in any way arising from or

   2     relating to this agreement and all contemplated transactions,

   3     including claims sounding in contract, equity, tort, fraud,

   4     statute defined as a dispute shall be submitted exclusively to

   5     the U.S. District Court for the Northern District of Texas, or

   6     if such court does not have subject matter jurisdiction, the

   7     courts of the State of Texas, City of Dallas County, and any

   8     appellate court thereof, defined as the enforcement court.

   9     Each party ethically and unconditionally submits to the

 10      exclusive personal and subject matter jurisdiction of the

 11      enforcement court for any dispute and agrees to bring any

 12      dispute only in the enforcement court.      Each party further

 13      agrees it shall not commence any dispute in any forum,

 14      including administrative, arbitration, or litigation, other

 15      than the enforcement court.    Each party agrees that a final

 16      judgment in any such action, litigation, or proceeding is

 17      conclusive and may be enforced through other jurisdictions by

 18      suit on the judgment or in any manner provided by law.

 19          And then the kick, Your Honor, all caps, as jury trial

 20      waiver always are:   Each party irrevocably and unconditionally

 21      waives to the fullest extent permitted by law any right it may

 22      have to a trial by jury in any legal action, proceeding, cause

 23      of action, or counterclaim arising out of or relating to this

 24      agreement, including any exhibits, schedules, and appendices

 25      attached to this agreement or the transactions contemplated




000654
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 658 of 852 PageID 2563
                                                                           100


   1     hereby.   Each party certifies and acknowledges that no

   2     representative of the owner of the other party has represented

   3     expressly or otherwise that the other party won't seek to

   4     enforce the foregoing waiver in the event of a legal action.

   5     It has considered the implications of this waiver, it makes

   6     this waiver knowingly and voluntarily, and it has been induced

   7     to enter into this agreement by, among other things, the

   8     mutual waivers and certifications in this section.

   9         Your Honor, I will forgive Mr. Bridges.         I assume he just

 10      did not read that.      But to represent to the Court that that

 11      language does not contain a jury trial waiver is -- is just

 12      wrong.

 13                 THE COURT:    All right.    I'm going to stop right

 14      there.    And you were reading from the Second Amended and

 15      Restated Shared Services Agreement between Highland --

 16                 MR. POMERANTZ:    Not shared services.     I'm reading

 17      from the Second Amended and Restated Investment Advisory

 18      Agreement --

 19                 THE COURT:    Investment --

 20                 MR. POMERANTZ:    -- between the Charitable DAF, the

 21      Charitable DAF GP, and Highland Capital Management.         The

 22      agreement whereby the Debtor was the investment advisor to the

 23      Charitable DAF Fund and the Charitable DAF GP.

 24                 THE COURT:    All right.    Well, Mr. Bridges, I'm going

 25      to bounce quickly back to you.        This is your chance to defend




000655
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 659 of 852 PageID 2564
                                                                          101


   1     your honor.

   2                 MR. BRIDGES:   Yeah, we're -- we're looking at a

   3     different agreement, where -- where literally the words that

   4     were read to you are not in the agreement in front of us and

   5     it is news to me.    So, Your Honor, this is a problem --

   6                 THE COURT:   What is the agreement you're looking at?

   7                 MR. BRIDGES:   It is the Amended -- I assume that

   8     means First Amended -- Restated Advisory Agreement.

   9                 MR. POMERANTZ:   Your Honor, we are happy to file this

 10      agreement with the Court so the Court has the benefit of it in

 11      connection with Your Honor's ruling.

 12                  THE COURT:   Okay.   I would like you to do that.     Uh-

 13      huh.

 14                  MR. BRIDGES:   I'd like -- I'd like to request -- I'll

 15      withdraw that.

 16                  THE COURT:   Okay.   Go on, Mr. Pomerantz.

 17                  MR. POMERANTZ:   Mr. Bridges, if you could put us on

 18      mute.    If you could put us on mute, Mr. Bridges, so I don't

 19      hear your feedback.      Thank you.

 20             Mr. Bridges also complains about the language "to the

 21      extent permissible by law."       As Your Honor knows and as has

 22      been my practice over 30 years, that language is probably in

 23      every plan where there's a retention of jurisdiction:         to the

 24      extent permissible by law.       And Mr. Bridges says that this

 25      will create ambiguity in the order that couldn't be enforced.




000656
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 660 of 852 PageID 2565
                                                                          102


   1     There's no basis for that.    Our including the language "to the

   2     extent permissible by law" in the orders, as we are prepared

   3     to do, is consistent with the plan confirmation order where we

   4     addressed that issue.   And we addressed that issue because we

   5     didn't want to put Your Honor in a position where thereby Your

   6     Honor may have an action before Your Honor that passes the

   7     colorability gate that Your Honor may not be able to assert

   8     jurisdiction.   And since jurisdiction can't be waived in that

   9     regard, we will agree to amend that.

 10          There's nothing ambiguous about that, and there's no

 11      reason, though, that clause has to modify the Court's ability

 12      to act as a gatekeeper, because, as we've argued ad nauseam,

 13      gatekeeper provisions where the Court has that ability is not

 14      only part of general bankruptcy jurisprudence but also part of

 15      the Bankruptcy Code.

 16          Counsel says that Barton doesn't apply because the

 17      business judgment of Your Honor was used in retaining Mr.

 18      Seery as opposed to in some other capacity.       There's no basis

 19      for that, Your Honor.   A court-appointed -- a court-approved

 20      CEO, CRO, professional, they are all entitled to protection

 21      under the Barton act.   And the argument -- and again, this is

 22      separate and apart from whether he's entitled to protection

 23      under the January 9th order. But the argument that because it

 24      was the business judgment -- again, business judgment in doing

 25      something that Your Honor expressly contemplated under the




000657
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 661 of 852 PageID 2566
                                                                          103


   1     January 9th corporate governance order -- there's just no law

   2     to support that.   And I guess he's trying to get around the

   3     plethora of cases that deal with the situation where Barton

   4     has been extended.

   5           Your Honor, Mr. Bridges, again, in arguing that we're

   6     ships passing in the night on Shoaf and Applewood and

   7     Espinosa, no, we're not ships passing in the night.        We have a

   8     difference in agreement on what these cases stand for.         These

   9     cases stand for the proposition that a clear and unambiguous

 10      provision, plain and simple, if it's clear and unambiguous, it

 11      will be given res judicata effect.       The release in Shoaf,

 12      clear and unambiguous.    The release in Applewood, not.       The

 13      issue here is the exculpation language.       That was clear and

 14      unambiguous.   It applied prospectively.      The argument makes no

 15      sense that we didn't identify -- we didn't identify claims

 16      that might arise in the future, so therefore an exculpation

 17      clause doesn't apply?    That doesn't make any sense.

 18            Your Honor clearly exculpated parties.     Mr. Dondero knew

 19      it.   CLO Holdco knew it.   The DAF knew it.     So the issue Your

 20      Honor has to decide is whether that exculpation was a clear

 21      and unambiguous provision such that it should be entitled to

 22      res judicata effect.    And we submit that the answer is

 23      unequivocally yes.

 24            That's all I have, Your Honor.

 25                 THE COURT:   All right.   Well, --




000658
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 662 of 852 PageID 2567
                                                                           104


   1              MR. MORRIS:    Your Honor?      I apologize.

   2              THE COURT:    Okay.

   3              MR. MORRIS:    This is John Morris.

   4              THE COURT:    Yes?

   5              MR. MORRIS:    I just want to, with respect to the

   6     exhibits, I know there was no objection, but I had cited to

   7     Docket Nos. 2419 and 2423.     The original exhibit list is at

   8     Docket No. 2412.   So it's the three of those lists together.

   9     2412, as amended by 2419, as amended by 2423.        Thank you very

 10      much.

 11               THE COURT:    All right.   Thank you.      All right.

 12               MR. BRIDGES:    Your Honor, I still have no objection

 13      to that, but may I have the last word on my motion?

 14               THE COURT:    Is there time left?

 15               THE CLERK:    Yes.

 16               THE COURT:    Okay.   Go ahead.

 17               MR. BRIDGES:    I just need a minute, Your Honor.          They

 18      agreed to change the order.    They proposed it to us.       They

 19      proposed it in a proposed order to you.        They can't also say

 20      that it cannot be changed.

 21          Secondly, Your Honor, in Milic v. McCarthy, 469 F.Supp.3d

 22      580, the Eastern District of Virginia points out that the

 23      Fourth Circuit treats appointment of estate professionals as

 24      interlocutory orders as well.

 25          That's all.    Thank you, Your Honor.




000659
Case 3:21-cv-00842-B Document 43 Filed 07/13/21        Page 663 of 852 PageID 2568
                                                                               105


   1                    THE COURT:    All right.    Here's what we're going to

   2     do.    We've been going a very long time.          I'm going to take a

   3     break to look through these exhibits, see if there's anything

   4     in there that I haven't looked at before and that might affect

   5     the decision here.          So we will come back at 3:00 o'clock

   6     Central Time -- it's 2:22 right now -- and I will give you my

   7     bench ruling on this.         All right.

   8            So, Mike, they can all stay on the line, right?

   9            Okay.    You can stay on, and we'll be back at 3:00 o'clock.

 10                     THE CLERK:    All rise.

 11             (A recess ensued from 2:22 p.m. to 3:04 p.m.)

 12                     THE CLERK:    All rise.

 13                     THE COURT:    All right.    Please be seated.    All right.

 14      Everyone presented and accounted for.           We're going back on the

 15      record.

 16                     MR. POMERANTZ:    Your Honor, before you start, this is

 17      Jeff Pomerantz.       We had sent to your clerk, and hopefully it

 18      got to you, a copy of the Second Amended and Restated

 19      Investment Advisory Agreement.            We also copied Mr. Sbaiti with

 20      it as well.       And we would also like to move that into

 21      evidence, just so that it's part of the Court's record.

 22                     THE COURT:    All right.

 23                     MR. BRIDGES:    We would object to that, Your Honor.

 24      We haven't had an opportunity to even verify its authenticity

 25      yet.




000660
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 664 of 852 PageID 2569
                                                                          106


   1              THE COURT:   All right.    Well, I'll tell you what.

   2     I'm going to address this in my ruling.       So it's not going to

   3     be part of the record for this decision, and yet -- well, I'll

   4     get to it.

   5         All right.   So we're back on the record in Case Number 19-

   6     34054, Highland Capital.   The Court has deliberated, after

   7     hearing a lot of argument and allowing in a lot of documentary

   8     evidence, and the Court concludes that the motion of CLO

   9     Holdco, Ltd. and The Charitable DAF to modify the retention

 10      order of James Seery, which was entered almost a year ago, on

 11      July 16th, 2020, should be denied.

 12          This is the Court's oral bench ruling, but the Court

 13      reserves discretion to supplement or amend in a more fulsome

 14      written order what I'm going to announce right now, pursuant

 15      to Rule 7052.

 16          First, what is the Movants' authority to request the

 17      modification of a bankruptcy court order that has been in

 18      place for so many months, which was issued after reasonable

 19      notice to the Movants, and after a hearing, which was not

 20      objected to by the Movants, or appealed, when the Movants were

 21      represented by sophisticated counsel, I might add, and which

 22      order was relied upon by parties in this case, most notably

 23      Mr. Seery and the Debtor, and in fact was entered after

 24      significant negotiations involving a sophisticated court-

 25      appointed Unsecured Creditors' Committee with sophisticated




000661
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 665 of 852 PageID 2570
                                                                          107


   1     professionals and sophisticated members, and after negotiation

   2     with an independent board of directors, court-appointed, one

   3     of whose members is a retired bankruptcy judge?        What is the

   4     Movants' authority?

   5         Movants fumbled a little on that question, in that the

   6     exact authority wasn't set forth in the motion.        But Movants'

   7     primary argument is that Movants think the Seery retention

   8     order was an interlocutory order and that the Court simply has

   9     the inherent authority to modify it as an interlocutory order.

 10          The Court disagrees with this analysis.        I do not think

 11      the Fifth Circuit's Smyth case dictates that the Seery

 12      retention order is still interlocutory.       The Seery retention

 13      order was an order entered pursuant to Section 363 of the

 14      Bankruptcy Code, not a Section 327 professionals to a debtor-

 15      in-possession, professionals to a trustee employment order

 16      such as the one involved in the Smyth case.

 17          But even if the Seery retention order is interlocutory --

 18      the Court feels strongly that it's not, but even if it is --

 19      the Court believes it would be an abuse of this Court's

 20      inherent discretion or authority to modify that order almost a

 21      year after the fact and under the circumstances of this case.

 22          Now, assuming Rule 60(b) applies to the Movants' request,

 23      the Court determines that the Movants have not made their

 24      motion anywhere close to within a reasonable time, as Rule

 25      60(c) requires, nor do I think the Movants have demonstrated




000662
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 666 of 852 PageID 2571
                                                                          108


   1     any exceptional circumstances to declare the order or any of

   2     its provisions void.   The Movants have put on no evidence that

   3     constitutes surprise or constitutes newly-disputed evidence.

   4     So why are there no exceptional circumstances here such that

   5     the Court might find, you know, a void order or void

   6     provisions of an order?

   7         First, this Court concludes that there's no credible

   8     argument that the Court overreached its jurisdiction with the

   9     gatekeeping provisions in the order.      Gatekeeping provisions

 10      are not only very common in the bankruptcy world -- in

 11      retention orders and in plan confirmation orders, for example

 12      -- but they are wholly consistent with the Barton case, the

 13      U.S. Supreme Court's Barton's case, and its progeny that has

 14      become known collectively as the Barton doctrine.        Gatekeeping

 15      provisions are wholly consistent with 28 U.S.C. Section

 16      959(a)'s complete language.

 17          The Fifth Circuit has blessed gatekeeping provisions in

 18      all sorts of contexts.    It has blessed them in the situation

 19      of when Stern claims are involved in the Villegas case.         It

 20      even blessed Bankruptcy Courts' gatekeeping functions a long

 21      time ago, in 1988, in a case that I don't think anyone

 22      mentioned in the briefing, but as I've said, my brain

 23      sometimes goes down trails, and I'm thinking of the Louisiana

 24      World Exposition case in 1988, when the Fifth Circuit blessed

 25      there a procedure where an unsecured creditors' committee can




000663
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 667 of 852 PageID 2572
                                                                          109


   1     bring causes of action against persons, such as officers and

   2     directors or other third parties, if they first come to the

   3     Bankruptcy Court and show a colorable claim.       They have to

   4     come to the Bankruptcy Court, show they have a colorable claim

   5     and they're the ones that should be able to pursue them.          Not

   6     exactly on point, but it's just one of many cases that one

   7     could cite that certainly approve gatekeeper functions of

   8     various sorts of Bankruptcy Courts.

   9         It doesn't matter which court might ultimately adjudicate

 10      the claims; the Bankruptcy Court can be the gatekeeper.

 11          And the Court agrees with the many cases cited from

 12      outside this circuit, such as the case in Alabama, in the

 13      Eleventh Circuit, and there was another circuit-level case, at

 14      least one other, that have held that the Barton doctrine

 15      should be extended to other types of case fiduciaries, such as

 16      debtor-in-possession management, among others.

 17          Finally, as I pointed out in my confirmation ruling in

 18      this case, gatekeeping provisions are commonplace for all

 19      types of courts, not just Bankruptcy Courts, when vexatious

 20      litigants are involved.   I have commented before that we seem

 21      to have vexatious litigation behavior with regard to Mr.

 22      Dondero and his many controlled entities.

 23          Now, as far as the Movants' argument that there was not

 24      just improper gatekeeping provisions but actually an improper

 25      discharge in the Seery retention order of negligence claims or




000664
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 668 of 852 PageID 2573
                                                                           110


   1     other claims that don't rise to the level of gross negligence

   2     or willful misconduct, again, I reiterate there's nothing

   3     exceptional in the bankruptcy world about exculpation

   4     provisions like this.    They absolutely are a term of

   5     employment very often.   Just like compensation, they're

   6     frequently requested, negotiated, and approved.        They are

   7     normal in the corporate governance world, generally.        They are

   8     normal in corporate contracts between sophisticated parties.

   9     And most importantly of all, even if this Court overreached

 10      with the exculpation provisions in the Seery retention order,

 11      even if it did, res judicata bars the attack of these

 12      provisions at this late stage, under cases such as Shoaf,

 13      Republic Supply v. Shoaf from the Fifth Circuit, the Espinosa

 14      case from the U.S. Supreme Court, and even Applewood, since

 15      the Court finds the language in this order was clear,

 16      specific, and unambiguous with regard to the gatekeeping

 17      provisions and the exculpation provisions.

 18          Last, and this is the part where I said I'm going to get

 19      to this agreement that has been submitted, the Second Amended

 20      and Restated Investment Advisor Agreement or whatever the

 21      title is.   I am more than a little disturbed that so much of

 22      the theme of the Movants' pleadings and arguments, and I think

 23      even representations to the District Court, have been they

 24      have these sacred jury trial rights, these inviolate jury

 25      trial rights, and an Article I Court like this Court should




000665
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 669 of 852 PageID 2574
                                                                          111


   1     have no business through a gatekeeping provision impinging on

   2     the possible pursuit of an action where there's a jury trial

   3     right.

   4         I was surprised initially when I thought about this.         I

   5     thought, wow, I've seen so many agreements over the months.            I

   6     can't say every one of them waived the jury trial right, but I

   7     just remembered seeing that a lot, and seeing arbitration

   8     provisions, and so that's why I asked.      It just was lingering

   9     in my brain.   So I'm going to look at what is submitted.        I'm

 10      not relying on that as part of my ruling.       As you just heard,

 11      I had a multi-part ruling, and whether there's a jury trial

 12      right or not is irrelevant to how I'm choosing to rule on this

 13      motion.   But I do want to see the agreement, and then I want

 14      Movants within 10 days to respond with a post-hearing trial

 15      brief either saying you agree that this is the controlling

 16      document or you don't agree and explain the oversight, okay?

 17      Because it feels like a gross omission here to have such a

 18      strong theme in your argument -- we have a jury trial right,

 19      we have a jury trial right, by God, the gatekeeping

 20      provisions, among other things, impinge on our sacred pursuit

 21      of our jury trial right -- and then maybe it was very

 22      conspicuous in the controlling agreement that you'd waived

 23      that, the Movants had waived that.

 24          So, anyway, I'm requiring some post-hearing briefing, if

 25      you will, on whether omissions, misrepresentations were made




000666
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 670 of 852 PageID 2575
                                                                          112


   1     to the Court.

   2         Anyway, so I reserve the right to supplement or amend this

   3     ruling with a more fulsome written order.       I am asking Mr.

   4     Pomerantz to upload a form of order that is consistent with

   5     this ruling, and --

   6               MR. POMERANTZ:   Your Honor, we will do so.       I do have

   7     one thing to bring to the Court's attention, unrelated to the

   8     motion, before Your Honor leaves the bench.

   9               THE COURT:   All right.   So just a couple of follow-up

 10      things.   Have you -- I'm not clear I heard what you said about

 11      this agreement.   Did you email it to my courtroom deputy or

 12      did you file it on the docket?

 13                MR. POMERANTZ:   We emailed it to your courtroom

 14      deputy.   We're happy to file it on the docket.       And we also

 15      provided a copy to Mr. Sbaiti.

 16          I would note for the Court that it's signed both by The

 17      Charitable DAFs by Grant Scott, just for what it's worth.

 18                THE COURT:   Okay.   All right.    Well, I'm trying to

 19      think what I want -- I do want you to file it on the docket,

 20      and I'm trying to think of what you label it.       Just call it

 21      Post-Hearing Submission or something and link it to the motion

 22      that we adjudicated here today.     And then, again, you've got

 23      10 days, Mr. Bridges, to say whatever you want to say about

 24      that agreement.

 25          I guess the last thing I wanted to say is we sure devoted




000667
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 671 of 852 PageID 2576
                                                                           113


   1     a lot of time to this motion today.      We have -- this is a

   2     recurring pattern, I guess you can say.       We have a lot of

   3     things that we devote a lot of time to in this case that I get

   4     surprised, but it is what it is.     You file a motion.     I'm

   5     going to give it all the attention Movants and Respondents

   6     think it warrants.    I'm going to develop a full record,

   7     because, you know, there's a recurring pattern of appeals

   8     right now, 11 or 12 appeals, I think, not to mention motions

   9     to withdraw the reference.    If we're going to have higher

 10      courts involved in the administration of this case, I'm going

 11      to make a very thorough record so nobody is confused about

 12      what we did, what I considered, what my reasoning was.

 13          So I kind of think it's unfortunate for us to have to

 14      spend case resources and so much time and fees on things like

 15      this, but I'm going to make sure a Court of Appeals is not

 16      ever confused about what happened and what we did.        So that's

 17      just the way it's going to be.    And I feel like we have no

 18      choice, given, again, the pattern of appeals.

 19          All right.   So, with that, Mr. Pomerantz, you had one

 20      other case matter, you said?

 21               MR. POMERANTZ:    Yes.   But before I get to that, Your

 22      Honor, I assume that, in response to the Movants' submission

 23      on the agreement, that we would have right at four or seven

 24      days to respond if we deem it's appropriate?

 25               THE COURT:    I think that's reasonable.      That's




000668
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 672 of 852 PageID 2577
                                                                          114


   1     reasonable.

   2               MR. POMERANTZ:   Okay.   Thank you, Your Honor.

   3               THE COURT:   So let me think of how I want to do this.

   4     I'll just do a short scheduling order of sorts that just, it

   5     says in one or two paragraphs, at the hearing on this motion,

   6     the Court raised questions about the jury trial rights and the

   7     Debtor has now submitted the controlling agreements, I'm

   8     giving the Movants 10 days to respond to whether this is

   9     indeed a controlling agreement, and why, if it is, the Movants

 10      have heretofore taken the position they have jury trial

 11      rights.   And then I will give you seven days thereafter to

 12      reply, and then the Court will set a further status conference

 13      if it determines it's necessary.     Okay?

 14          So, Nate, we'll do a short little order to that effect.

 15      Okay?

 16                MR. POMERANTZ:   Thank you, Your Honor.

 17          I -- again, before I raise the other issue, I want to pick

 18      up on a comment Your Honor just made towards the end.        I know

 19      the Court has been frustrated with the time and effort we've

 20      been spending.   The Debtor and the creditors have been

 21      extremely frustrated, because in addition to the time and

 22      effort everyone's spending, we're spending millions of

 23      dollars, millions of dollars on litigation that --

 24                THE COURT:   It's one of the reasons you needed an

 25      exit loan, right?




000669
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 673 of 852 PageID 2578
                                                                          115


   1               MR. POMERANTZ:   Right.   No, exactly.     That's

   2     frivolous, that we think is made in bad faith.

   3         And Your Honor, and everyone else who's hearing this on

   4     behalf of Mr. Dondero, should understand we're looking into

   5     what appropriate authority Your Honor would have to shift some

   6     of the costs.   Your Honor did that in the contempt motion.

   7     Your Honor can surely do that in connection with the notes

   8     litigation.   But all this other stuff that is requiring us to

   9     spend hundreds and hundreds of hours and spend millions of

 10      dollars, we are clearly looking into whether it would be

 11      appropriate and what authority there is.       I just wanted to let

 12      Your Honor know that.

 13          And in connection with that, the last point, Your Honor, I

 14      can't actually even believe I'm saying this, but there was

 15      another lawsuit filed -- we just found out in the break -- on

 16      Wednesday night by the Sbaiti firm on behalf of Dugaboy in the

 17      District Court.

 18          Now, to make matters worse, Your Honor, the litigation

 19      relates to alleged improper management by the Debtor of Multi-

 20      Strat.   If Your Honor will recall, at many times I've told

 21      this Court what Dugaboy's claims they filed in this case.

 22      Dugaboy has a claim that is filed in this case for

 23      mismanagement postpetition of Multi-Strat.       Now the Sbaiti

 24      firm, in addition to representing CLO Holdco, in addition to

 25      representing the DAF, and whatever the Plaintiffs' lawyers are




000670
Case 3:21-cv-00842-B Document 43 Filed 07/13/21    Page 674 of 852 PageID 2579
                                                                           116


   1     in that other District Court, PCMG, and in connection with the

   2     Acis matter, they've decided they haven't had enough.         They've

   3     now filed another motion that -- you know, why they filed it

   4     in District Court and there's a proof of claim on the same

   5     issues, I don't know.      But I thought Your Honor should know.

   6     I'm not asking Your Honor to do anything about it.         But we

   7     will act aggressively, strongly, and promptly.

   8         Thank you, Your Honor.

   9                 THE COURT:    All right.   Well, you've reminded me of

 10      what came out earlier today about the entity -- I left my

 11      notepad in my chambers -- PMC or PMG or something.

 12          Mr. Bridges, we're not going to have a hearing right now

 13      on me doing anything, but what are you thinking?         What are you

 14      doing?

 15                  MR. BRIDGES:    Your Honor, I'm not trying to duck your

 16      question.    I literally have no involvement with any other

 17      claim, and we would have to ask Mr. Sbaiti to answer your

 18      questions.

 19                  THE COURT:    All right.   Is he there?

 20                  MR. BRIDGES:    He is.

 21                  THE COURT:    I'll listen.

 22                  MR. BRIDGES:    I'll switch seats and give him this

 23      chair.

 24                  MR. SBAITI:    Sorry, Your Honor.   We had two computers

 25      going and weren't able to use the sound on one, so we ended up




000671
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 675 of 852 PageID 2580
                                                                          117


   1     turning that off.

   2         Your Honor, I'm not sure what the question is about when

   3     you say what are we thinking.     We have a client that's asked

   4     us to file something, and when we're advised by bankruptcy

   5     counsel that it's not prohibited for us to do so, and don't

   6     know why we're precluded from doing so, and when the time

   7     comes I'm sure we'll be able to explain to Your Honor --

   8     someone will be able to explain to Your Honor why what we're

   9     doing, despite Mr. Pomerantz's exacerbation, or excuse me,

 10      exasperation, why that wasn't improper.       It's our belief that

 11      it wasn't improper or a violation of the Court's rule.

 12                THE COURT:    Just give me a quick shorthand Readers'

 13      Digest of why you don't think it's improper.

 14                MR. SBAITI:    Sure.   My understanding is, Your Honor,

 15      there's not a rule that says we can't file it against the

 16      Debtor for postpetition actions.     So that, that's as -- that's

 17      as much as I understand.    And I'm going to -- I'm not trying

 18      to duck it, either.     And if I'm wrong about that and someone

 19      wants to correct me on our side offline and if we have to

 20      explain to the Court why that's so or what rule has been

 21      violated, I'm sure we'll be able to put together something for

 22      that.   But that's what I've been advised.

 23                THE COURT:    Have you done thorough --

 24                MR. POMERANTZ:    Your Honor, I think what --

 25                MR. SBAITI:    (garbled), Your Honor.




000672
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 676 of 852 PageID 2581
                                                                          118


   1                THE COURT:    Have you done thorough research yourself?

   2     Your Rule 11 signature is on the line, not some bankruptcy

   3     counsel you talked to.      Have you done the research yourself?

   4                MR. SBAITI:    Well, Your Honor, I've relied on the

   5     research and advice of people who are experts, and I believe

   6     my Rule 11 obligations also allow me to do that, so yes.

   7                MR. POMERANTZ:    Your Honor, I think we're entitled to

   8     know if it's Mr. Draper's firm who has been representing

   9     Dugaboy.   He's the bankruptcy counsel.        I don't think it's an

 10      attorney-client privilege issue.      If Mr. Sbaiti is going to be

 11      here and sort of say, hey, bankruptcy counsel said it was

 12      okay, I think we would like to know and I'm sure Your Honor

 13      would like to know who is that bankruptcy counsel.

 14                 THE COURT:    Yes.   Fair enough.    Mr. Sbaiti?

 15                 MR. SBAITI:    Your Honor, in consultation with Mr.

 16      Draper and with consultation with other counsel that we've

 17      spoken to, that has been our understanding.

 18                 THE COURT:    Who's the other counsel?

 19                 MR. SBAITI:    Well, we've talked to Mr. Rukavina about

 20      some of these things for the PCMG and the Acis case.          We've

 21      talked to the people who, when they tell us you can't do this

 22      because they're bankruptcy counsel for our client, then we

 23      don't do something.      So, and I'm not trying to throw anybody

 24      under the bus, but my understanding of what goes on in

 25      Bankruptcy Court is incredibly limited, so, you know, and if




000673
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 677 of 852 PageID 2582
                                                                          119


   1     it's a mistake then I'll own it, if I have a mistaken

   2     understanding, but I also wasn't anticipating having to make a

   3     presentation about this right here right now, so --

   4              THE COURT:     Well, you're filing lawsuits that involve

   5     this bankruptcy case during the hearing, so --

   6              MR. SBAITI:     Oh, we didn't file it during the

   7     hearing, Your Honor.    It was filed last night, I believe.

   8              THE COURT:     Okay.   Well, I assume that you're going

   9     to go back and hit the books, hit the computer, and be

 10      prepared to defend your actions, because your bankruptcy

 11      experts, they may think they know a lot, but the judge is not

 12      very happy about what she's hearing.

 13               MR. POMERANTZ:     Your Honor, if I may ask when Your

 14      Honor intends to issue the contempt ruling in connection with

 15      the June 8th hearing?    I strongly believe -- and, obviously,

 16      this has nothing to do with the contempt hearing; this

 17      happened after -- but I strongly believe that sending a

 18      message that Your Honor is inclined to hold counsel in

 19      contempt, which obviously is one of the violators we said

 20      should be held in contempt, it may be important to do that

 21      sooner rather than later so that people know that Your Honor

 22      is serious.

 23               THE COURT:     All right.   Well, I understand and

 24      respect that request.    And let me tell you all, I had a seven-

 25      day -- okay.   You all were here on that motion June 8th.        I




000674
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 678 of 852 PageID 2583
                                                                          120


   1     had a seven-day, all-day, every-day, 9:00 to 5:00, 45-minute

   2     lunch break, in-person hearing with a dozen or so live

   3     witnesses that I just finished Tuesday at 5:00 o'clock.         So

   4     you all were here on the 8th, and then -- what day was that --

   5     what was -- Tuesday, I finished.      Tuesday was the 22nd.     So I

   6     started on the 14th, okay?      So you all were here on the 8th

   7     and I had a live jury trial -- I mean, not jury trial, a live

   8     bench trial -- live human beings in the courtroom, beginning

   9     June 14th.   So you're here the 8th.     June 14th through 22nd, I

 10      did my trial.   And here we are on the 25th.      And guess what, I

 11      have another live human-being bench trial next week, Monday

 12      through Friday.

 13          So we've been working in other things like this in between

 14      those two.   So I'm telling you that not to whine, I'm just

 15      telling you that, that's the only reason I didn't get out a

 16      quick ruling on this, okay?

 17                 MR. POMERANTZ:   And Your Honor, I was not at all

 18      making that comment to imply anything about the Court.

 19                 THE COURT:   Well, --

 20                 MR. POMERANTZ:   The time and effort that you have

 21      given to this case is extraordinary, --

 22                 THE COURT:   Okay.

 23                 MR. POMERANTZ:   -- so please don't misunderstand my

 24      comment.

 25                 THE COURT:   Okay.   And I didn't mean to express




000675
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 679 of 852 PageID 2584
                                                                          121


   1     annoyance or anything like that.     I guess what I'm trying to

   2     do is I don't want anyone to mistake the delay in ruling on

   3     the contempt motion to mean I'm just not that -- you know, I'm

   4     not prioritizing it, other things are more serious to me or

   5     important to me, or I'm going to take two months to get to it.

   6     It's literally been I've been in trial almost all day long

   7     every day since you were here.    But trust me, I'm about as

   8     upset as upset can be about what I heard on June 8th, and I'm

   9     going to get to that ruling, and I know what I'm going to do.

 10      And, well, like I said, it's just a matter of figuring out

 11      dollars and whom, okay?   There's going to be contempt.        I just

 12      haven't put it on paper because I've been in court all day and

 13      I haven't come up with a dollar figure.       Okay?

 14          So I hope -- I don't know if that matters very much, but

 15      it should.

 16          All right.   We stand adjourned.

 17          (Proceedings concluded at 3:35 p.m.)

 18                                    --oOo--

 19

 20                                 CERTIFICATE

 21           I certify that the foregoing is a correct transcript from
         the electronic sound recording of the proceedings in the
 22      above-entitled matter.
 23       /s/ Kathy Rehling                                    06/29/2021

 24      ______________________________________             ________________
         Kathy Rehling, CETD-444                                Date
 25      Certified Electronic Court Transcriber



000676
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 680 of 852 PageID 2585
                                                                          122

                                       INDEX
   1                                  Excerpt
                              11:33 a.m. to 3:35 p.m.
   2
         PROCEEDINGS                                                            3
   3
         OPENING STATEMENTS
   4
         - By Mr. Bridges                                                    3
   5
         - By Mr. Pomerantz                                                 23
   6
         WITNESSES
   7
         -none-
   8
         EXHIBITS
   9
         Movants' Exhibits 1, 3 through 12, 15 through            Received 91
 10      28, and 30 through 44
 11      Debtor's Exhibit 1                                       Received 91
         Debtor's Exhibits 1 through 17                           Received 93
 12

 13      RULINGS                                                           106

 14      END OF PROCEEDINGS                                                121

 15      INDEX                                                             122

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25




000677
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 681 of 852 PageID 2586



                             EXHIBIT 7




000678
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                  Page 682 of 852 PageID 2587



                            SECOND AMENDED AND RESTATED
                           INVESTMENT ADVISORY AGREEMENT

       THIS SECOND AMENDED AND RESTATED INVESTMENT ADVISORY
AGREEMENT (this “Agreement”), dated to be effective from January 1, 2017 (the “Effective
Date”) is entered into by and between Charitable DAF Fund, L.P., a Cayman Islands exempted
limited partnership (the “Fund”), Charitable DAF GP, LLC, a limited liability company
organized under the laws of the State of Delaware (the “General Partner”), the general partner of
the Fund, and Highland Capital Management, L.P., a limited partnership organized under the
laws of the State of Delaware (the “Investment Advisor”). Each of the signatories hereto is
sometimes referred to herein individually as a “Party” and collectively as the “Parties.”

                                            RECITALS

        WHEREAS, the Fund, the General Partner and the Investment Advisor entered into that
certain Investment Advisory Agreement dated January 1, 2012 (the “Original Agreement”);

       WHEREAS, the Parties amended and restated the Original Agreement in its entirety on the
terms set forth in that certain Amended and Restated Investment Advisory Agreement dated July
1, 2014 (the “Existing Agreement”);

       WHEREAS, the parties desire to amend and restate the Existing Agreement in its entirety
with the terms as set forth in this Agreement effective as of the Effective Date;

       NOW, THEREFORE, in consideration of the mutual covenants herein contained and for
other good and valuable consideration, the receipt of which is hereby acknowledged, the Parties
hereby agree, and the Existing Agreement is hereby amended and restated in its entirety, as
follows:

                 1.     Investment Advisory Services. Subject to Section 7, the Investment
Advisor shall act as investment advisor to the Fund, the General Partner with respect to the Fund
and its subsidiaries and shall provide investment advice with respect to the investment and
reinvestment of the cash, Financial Instruments and other properties comprising the assets and
liabilities of the Fund and its subsidiaries.

                 2.     Custody. The Financial Instruments shall be held in the custody of Jefferies
& Company, Inc. or one or more banks selected by the General Partner (each such bank, a
“Custodian”). The General Partner will notify the Investment Advisor promptly of the proposed
selection of any other Custodians. The Custodian shall at all times be responsible for the physical
custody of the Financial Instruments; for the collection of interest, dividends, and other income
attributable to the Financial Instruments; and for the exercise of rights and tenders on the Financial
Instruments after consultation with and as then directed by the General Partner. At no time shall
the Investment Advisor have possession of or maintain custody over any of the Financial
Instruments. The Investment Advisor shall not be responsible for any loss incurred by reason of
any act or omission of the Custodian.




000679
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                     Page 683 of 852 PageID 2588



        3.     Authority of the Investment Advisor. Subject to Section 7 of this Agreement, the
Investment Advisor shall advise the General Partner on behalf of the Fund and/or its subsidiaries
with respect to:

                         (a)     investing, directly or indirectly, on margin or otherwise, in all types
of securities and other financial instruments of United States and non-U.S. entities, including,
without limitation, capital stock; all manner of equity securities (whether registered or
unregistered, traded or privately offered, American Depository Receipts, common or preferred);
physical commodities; shares of beneficial interest; partnership interests, limited liability company
interests and similar financial instruments; secured and unsecured debt (both corporate and
sovereign, bank debt, vendor claims and/or other contractual claims); bonds, notes and debentures
(whether subordinated, convertible or otherwise); currencies; interest rate, currency, equity and
other derivative products, including, without limitation, (i) future contracts (and options thereon)
relating to stock indices, currencies, United States Government securities, securities of non-U.S.
governments, other financial instruments and all other commodities, (ii) swaps and contracts for
difference, options, swaptions, rights, warrants, when-issued securities, caps, collars, floors,
forward rate agreements, and repurchase and reverse repurchase agreements and other cash
equivalents, (iii) spot and forward currency transactions and (iv) agreements relating to or securing
such transactions; leases, including, without limitation, equipment lease certificates; equipment
trust certificates; mortgage-backed securities and other similar instruments (including, without
limitation, fixed-rate, pass-throughs, adjustable rate mortgages, collateralized mortgage
obligations, stripped mortgage-backed securities and REMICs); loans; credit paper; accounts and
notes receivable and payable held by trade or other creditors; trade acceptances and claims;
contract and other claims; executory contracts; participations; mutual funds, exchange traded funds
and similar financial instruments; money market funds and instruments; obligations of the United
States, any state thereof, non-U.S. governments and instrumentalities of any of them; commercial
paper; certificates of deposit; bankers’ acceptances; trust receipts; letters of credit; choses in action;
puts; calls; other obligations and instruments or evidences of indebtedness of whatever kind or
nature; and real estate and any kind of interests in real estate; in each case, of any person,
corporation, government or other entity whatsoever, whether or not publicly traded or readily
marketable (each of such items, “Financial Instruments”), and the sale of Financial Instruments
short and covering such sales.

                         (b)    engaging in such other lawful Financial Instruments transactions;

                         (c)    research and analysis;

                         (d)    purchasing Financial Instruments and holding them for investment;

                         (e)    entering into contracts for or in connection with investments in
Financial Instruments;

                        (f)     investing in other pooled investment vehicles, which investments
shall be subject in each case to the terms and conditions of the respective governing document for
each such vehicle;




                                                    2
000680
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                 Page 684 of 852 PageID 2589



                         (g)     possessing, transferring, mortgaging, pledging or otherwise dealing
in, and exercising all rights, powers, privileges and other incidents of ownership or possession with
respect to Financial Instruments and other property and funds held or owned by the Fund and/or
its subsidiaries;

                       (h)     lending, either with or without security, any Financial Instruments,
funds or other properties of the Funds, including by entering into reverse repurchase agreements,
and, from time to time, undertaking leverage on behalf of the Fund;

                      (i)    opening, maintaining and closing accounts, including margin and
custodial accounts, with brokers and dealers, including brokers and dealers located outside the
United States;

                       (j)    opening, maintaining and closing accounts, including custodial
accounts, with banks, including banks located outside the United States, and drawing checks or
other orders for the payment of monies;

                      (k)     combining purchase or sale orders on behalf of the Fund with orders
for other accounts to which the Investment Advisor or any of its affiliates provides investment
services (“Other Accounts”) and allocating the Financial Instruments or other assets so purchased
or sold, on an average-price basis or in any other manner deemed fair and equitable to the
Investment Advisor in its sole discretion, among such accounts;

                      (l)    entering into arrangements with brokers to open “average price”
accounts wherein orders placed during a trading day are placed on behalf of the Fund and Other
Accounts and are allocated among such accounts using an average price;

                        (m)   organizing one or more corporations and other entities formed to
hold record title, as nominee for the Fund and/or its subsidiaries (whether alone or together with
the Other Accounts), to Financial Instruments or funds of the Fund and/or its subsidiaries;

                       (n)     causing the Fund and/or its subsidiaries to engage in (i) agency,
agency cross, related party principal transactions with affiliates of the Investment Manager and (ii)
cross transactions with Other Accounts, in each case, to the extent permitted by applicable laws;

                     (o)     engaging personnel, whether part-time or full-time, and attorneys,
independent accountants or such other persons (including, without limitation, finders, consultants
and investment bankers); and

                         (p)     voting of Financial Instruments, participation in arrangements with
creditors, the institution and settlement or compromise of suits and administrative proceedings and
other like or similar matters.

               4.    Policies of the Fund. The activities engaged in by the Investment Advisor
on behalf of the Fund and/or its subsidiaries shall be subject to the policies and control of the
General Partner.


                                                 3
000681
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                   Page 685 of 852 PageID 2590



               The Investment Advisor shall submit such periodic reports to the General Partner
regarding the Investment Advisor’s activities hereunder as the General Partner may reasonably
request and a representative of the Investment Advisor shall be available to meet with the General
Partner and/or any other representative of the Fund or its subsidiaries as reasonably requested by
the General Partner.

               In furtherance of the foregoing, the General Partner hereby appoints the Investment
Advisor as the Fund’s attorney-in-fact, with full power of authority to act in the Fund’s name and
on its behalf with respect to the Fund, as follows:

              (a)    to purchase or otherwise trade in Financial Instruments that have been
approved by the General Partner;

                (b)     to execute and combine purchase or sale orders on behalf of the Fund with
orders for Other Accounts and allocate the Financial Instruments or other assets so purchased or
sold, on an average-price basis or in any other manner deemed fair and equitable to the Investment
Advisor in its sole discretion, among such accounts; provided, however, that such purchase or sale
orders shall be market rates;

                (c)     to direct the Custodian to deliver funds or the Financial Instruments, but
only in the course of effecting trading and investment transactions for the Fund and subject to such
restrictions as may be contained in the custody agreement between the Custodian and the Fund;

               (d)     to enter into contracts, provide certifications or take any other actions
necessary to effect any of the foregoing transactions; and

                (e)     to select brokers on the basis of best execution and in consideration of
relevant factors, including, but not limited to, price quotes; the size of the transaction; the nature
of the market for the security; the timing of the transaction; the difficulty of execution; the broker-
dealer’s expertise in the relevant market or sector; the extent to which the broker-dealer makes
market in the security or has an access to such market; the broker-dealer’s skill in positioning the
relevant market; the broker-dealer’s facilities, reliability, promptness and financial stability; the
broker-dealer’s reputation for diligence and integrity (including in correcting errors);
confidentiality considerations; the quality and usefulness of research services and investment ideas
presented by the broker-dealer; and other factors deemed appropriate by the Investment Advisor.

               5.     Valuation of Financial Instruments. Financial Instruments will be valued in
accordance with the then current valuation policy of the Investment Advisor, a copy of which will
be provided to the General Partner upon request.

                 6.     Status of the Investment Advisor. The Investment Advisor shall, for all
purposes, be an independent contractor and not an employee of the General Partner or the Fund or
its subsidiaries, nor shall anything herein be construed as making the Fund or its subsidiaries or
the General Partner, a partner, member or co-venturer with the Investment Advisor or any of its
affiliates or clients. The Investment Advisor shall have no authority to act for, represent, bind or
obligate the Fund or its subsidiaries or the General Partner except as specifically provided herein.


                                                  4
000682
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                   Page 686 of 852 PageID 2591



           7.   Investments. ALL ULTIMATE INVESTMENT DECISIONS WITH
RESPECT TO THE FUND AND ITS SUBSIDIARIES SHALL AT ALL TIMES REST SOLELY
WITH THE GENERAL PARTNER AND/OR THE OFFICERS/DIRECTORS OF THE
APPLICABLE SUBSIDIARY, IT BEING EXPRESSLY UNDERSTOOD THAT THE
GENERAL PARTNER AND/OR THE OFFICERS/DIRECTORS OF THE APPLICABLE
SUBSIDIARY SHALL BE FREE TO ACCEPT AND OR REJECT ANY OF THE ADVICE
RENDERED BY THE INVESTMENT MANAGER HEREUNDER FOR ANY REASON OR
FOR NO REASON.

                8.      Reimbursement by the General Partner. The Investment Advisor may
retain, in connection with its responsibilities hereunder, the services of others to assist in the
investment advice to be given to the General Partner with respect to the Fund and/or its subsidiaries
(any such appointee, a “Sub-Advisor”), including, but not limited to, any affiliate of the Investment
Advisor, but payment for any such services shall be assumed by the Investment Advisor, and,
therefore, neither the General Partner nor the Fund or any of its subsidiaries shall have any liability
therefor; provided, however, that the Investment Advisor, in its sole discretion, may retain the
services of independent third party professionals, including, without limitation, attorneys,
accountants and consultants, to advise and assist it in connection with the performance of its
activities on behalf of the General Partner with respect to the Fund and/or its subsidiaries
hereunder, and the Fund shall bear full responsibility therefor and the expense of any fees and
disbursements arising therefrom.

               9.      Expenses.

                       (a)     The Fund shall pay or reimburse the Investment Advisor and its
affiliates for all expenses related to the services hereunder, including, but not limited to,
investment-related expenses, brokerage commissions and other transaction costs, expenses related
to clearing and settlement charges, professional fees relating to legal, auditing or valuation
services, any governmental, regulatory, licensing, filing or registration fees incurred in compliance
with the rules of any self-regulatory organization or any federal, state or local laws, research-
related expenses (including, without limitation, news and quotation equipment and services,
investment and trading-related software, including, without limitation, trade order management
software (i.e., software used to route trade orders)), accounting (including accounting software),
tax preparation expenses, costs and expenses associated with reporting and providing information
to the Fund, any taxes imposed upon the Fund (including, but not limited to, collateralized debt
obligations managed by the Investment Advisor or its affiliates), fees relating to valuing the
Financial Instruments, and extraordinary expenses. In no event shall any of the foregoing costs or
expenses include any salaries, occupational expense or general overhead of the Investment
Advisor. For the avoidance of doubt, (i) the cost of all third party expenses incurred in connection
with this Agreement shall not exceed standard market rates (which may include standard soft dollar
arrangements) and (ii) to the extent any of the foregoing expenses were incurred on behalf of, or
benefit of a number of Investment Advisor’s advised accounts, such expenses shall be allocated
pro rata among such accounts.




                                                  5
000683
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                 Page 687 of 852 PageID 2592



                      (b)     To the extent that expenses to be borne by the Fund are paid by the
Investment Advisor or by any Sub-Advisor, the Fund shall reimburse the Investment Advisor (or
Sub-Advisors, as applicable) for such expenses so long as such expenses are at market rates.

               10.     Fees.

                        (a)    The Fund shall pay the Investment Advisor a quarterly fee (the
“Management Fee”) equal to 2.0% per annum (0.5% per quarter) of the Net Assets (as defined
below) of the Fund, payable in advance at and calculated as of the first business day of each
calendar quarter. For purposes of calculating the Management Fee, the Net Assets of the Fund
will be determined before giving effect to any of the following amounts payable by the Fund
generally or in respect of any Investment which are effective as of the date on which such
determination is made: (i) any fee payable to the Investment Advisor as of the date on which such
determination is made; (ii) any capital withdrawals or distributions payable by the Fund which are
effective as of the date on which such determination is made; and (iii) withholding or other taxes,
expenses of processing withdrawals and other items payable, any increases or decreases in any
reserves, holdback or other amounts specially allocated ending as of the date on which such
determination is made. The Management Fee shall be prorated for partial periods and any
applicable excess fees should be returned to the Fund by the Investment Advisor. Capital
contributions made to the Fund after the commencement of a calendar quarter shall be subject to
a prorated Management Fee based on the number of days remaining during such quarter.

                       (b)    Subject to clauses (c) and (d) below, at the end of each Calculation
Period (as defined below), an amount equal to 20% of the net capital appreciation of the Fund’s
Investments (as defined below) after deducting the Management Fee shall be paid to the
Investment Advisor (the “Performance Fee”); provided, however, that the net capital appreciation
upon which the calculation of the Performance is based shall be reduced to the extent of any
unrecovered balance remaining in the Loss Recovery Account (as defined below) maintained on
the books and records of the Fund. The amount of the unrecovered balance remaining in the Loss
Recovery Account at the time of calculating the Performance Fee shall be the amount existing
immediately prior to its reduction pursuant to the second clause of the second sentence of clause
(c) below.

                        (c)     There shall be established on the books of the Fund a memorandum
account (the “Loss Recovery Account”), the opening balance of which shall be zero. At the end
of each Calculation Period, the balance in the Loss Recovery Account shall be adjusted as follows:
first, if there has been, in the aggregate, net capital depreciation of the Fund’s Investments (as
adjusted pursuant to the last sentence of this paragraph) since the end of the immediately preceding
Calculation Period (or with respect to the initial Calculation Period, since the Effective Date), an
amount equal to such net capital depreciation shall be credited to the Loss Recovery Account, and,
second, if there has been, in the aggregate, net capital appreciation of the Fund’s investments (as
adjusted pursuant to the last sentence of this paragraph) since the end of the immediately preceding
Calculation Period, an amount equal to such net capital appreciation, before taking into account
any Performance Fee to be paid to the Investment Advisor, shall be debited to and reduce any
unrecovered balance in the Loss Recovery Account, but not below zero. Solely for purposes of
this paragraph, in determining the Loss Recovery Account, net capital appreciation and net capital



                                                 6
000684
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                     Page 688 of 852 PageID 2593



depreciation for any applicable Calculation Period shall be calculated by taking into account the
amount of the Management Fee paid for such period.

                       (d)    In the event that all or a portion of the Fund’s capital is distributed
or withdrawn while there exists an unrecovered balance in the Loss Recovery Account, the
unrecovered balance in the Loss Recovery Account shall be reduced as of the beginning of the
next Calculation Period by an amount equal to the product obtained by multiplying the balance in
such Loss Recovery Account by a fraction, the numerator of which is the amount distributed or
withdrawn with respect to the immediately preceding distribution or withdrawal date, and the
denominator of which is the total fair value of the Fund’s Investment immediately prior to such
distribution or withdrawal.

                       (e)    For purposes of this Section 10, the net capital appreciation and net
capital depreciation of the Fund’s Investments for any given period will be calculation in
accordance with the then current valuation policy of the Investment Advisor, a copy of which will
be provided upon the General Partner’s request. As soon as reasonably practicable following the
end of a Calculation Period, the Investment Advisor shall deliver, or cause to be delivered, to the
General Partner a statement showing the calculation of the Performance Fee, if any, with respect
to such Calculation Period. The Performance Fee, if any, shall be payable within three (3) business
days of the General Partner’s receipt of such statement.

                        (f)     Payments due to the Investment Advisor shall be made by wire
transfer to:

                        Bank Name: Compass Bank
                        ABA#:      113010547
                        FBO:       Highland Capital Management, L.P. (Master Operating
                                   Account)
                        Acct#:     0025876342

                        (g)     For purposes of this Section 10, the following terms have the
definitions set forth below:

                         “Calculation Period” means the period commencing on the Effective Date
(in the case of the initial Calculation Period) and thereafter each period commencing as of the day
following the last day of the preceding Calculation Period, and ending as of the close of business
on the first to occur of the following: (i) the last day of a calendar year; (ii) the distribution or
withdrawal of capital of the Fund (but only with respect to such distributed or withdrawn amount);
(iii) the permitted transfer of all or any portion of a partner’s interest in the Fund; and (iv) the final
capital distribution of the Fund following its dissolution;

                       “Investments” means all investments, securities, cash, receivables,
financial instruments, contracts and other assets, whether tangible or intangible, owned by the
Fund;




                                                    7
000685
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                    Page 689 of 852 PageID 2594



                          “Net Assets” means, with respect to the Fund as of any date, the excess of
the total fair value of all Investments over the total liabilities, debts and obligations of the Fund, in
each case, calculated on an accrual basis in accordance with accounting principles generally
accepted in the United States and the then current valuation policy of the Service Provider, a copy
of which will be provided to the General Partner upon request; and

                      “Services Agreement” means that certain Second Amended and Restated
Service Agreement, dated effective as of the Effective Date, by and among the Parties, as amended,
restated, modified and supplemented from time to time.



                11.     Exculpation; Indemnification.

                      (a)      Whether or not herein expressly so provided, every provision of this
Agreement relating to the conduct or affecting the liability of or affording protection to the
Investment Advisor, its members or any of their respective affiliates and their respective partners,
members, officers, directors, employees, shareholders and agents (including parties acting as
agents for the execution of transactions) (each, a “Covered Person” and collectively, “Covered
Persons”) shall be subject to the provisions of this Section.

                        (b)     To the fullest extent permitted by law, no Covered Person shall be
liable to the General Partner or the Fund or any of its subsidiaries or anyone for any reason
whatsoever (including but not limited to (i) any act or omission by any Covered Person in
connection with the conduct of the business of the General Partner or the Fund, that is determined
by such Covered Person in good faith to be in or not opposed to the best interests of the General
Partner or the Fund, (ii) any act or omission by any Covered Person based on the suggestions of
any professional advisor of the General Partner or the Fund or any of its subsidiaries whom such
Covered Person believes is authorized to make such suggestions on behalf of the General Partner
or the Fund or any of its subsidiaries, (iii) any act or omission by the General Partner or the Fund
or any of its subsidiaries, or (iv) any mistake, negligence, misconduct or bad faith of any broker
or other agent of the General Partner or the Fund or any of its subsidiaries selected by Covered
Person with reasonable care), unless any act or omission by such Covered Person constitutes
willful misconduct or gross negligence by such Covered Person (as determined by a non-
appealable judgment of a court of competent jurisdiction).

                       (c)    Covered Persons may consult with legal counsel or accountants
selected by such Covered Person and any act or omission by such Covered Person on behalf of the
General Partner or the Fund or any of its subsidiaries or in furtherance of the business of the
General Partner or the Fund or any of its subsidiaries in good faith in reliance on and in accordance
with the advice of such counsel or accountants shall be full justification for the act or omission,
and such Covered Person shall be fully protected in so acting or omitting to act if the counsel or
accountants were selected with reasonable care.

                      (d)     To the fullest extent permitted by law, the General Partner and the
Fund and its subsidiaries shall indemnify and hold harmless Covered Persons (the “Indemnified


                                                   8
000686
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                 Page 690 of 852 PageID 2595



Party”), from and against any and all claims, liabilities, damages, losses, costs and expenses,
including amounts paid in satisfaction of judgments, in compromises and settlements, as fines and
penalties and legal or other costs and expenses of investigating or defending against any claim or
alleged claim, of any nature whatsoever, known or unknown, liquidated or unliquidated, that are
incurred by any Indemnified Party and arise out of or in connection with the business of the
General Partner or the Fund or any of its subsidiaries, any investment made under or in connection
with this Agreement, or the performance by the Indemnified Party of Covered Person’s
responsibilities hereunder and against all taxes, charges, duties or levies incurred by such Covered
Person or any Indemnified Party in connection with the General Partner or the Fund or any of its
subsidiaries, provided that an Indemnified Party shall not be entitled to indemnification hereunder
to the extent the Indemnified Party’s conduct constitutes willful misconduct or gross negligence
(as determined by a non-appealable judgment of a court of competent jurisdiction). The
termination of any proceeding by settlement, judgment, order or upon a plea of nolo contendere or
its equivalent shall not, of itself, create a presumption that the Indemnified Party’s conduct
constituted willful misconduct or gross negligence.

                        (e)     Expenses incurred by an Indemnified Party in defense or settlement
of any claim that shall be subject to a right of indemnification hereunder, shall be advanced by the
General Partner prior to the final disposition thereof upon receipt of an undertaking by or on behalf
of the Indemnified Party to repay the amount advanced to the extent that it shall be determined
ultimately that the Indemnified Party is not entitled to be indemnified hereunder.

                      (f)      The right of any Indemnified Party to the indemnification provided
herein shall be cumulative of, and in addition to, any and all rights to which the Indemnified Party
may otherwise be entitled by contract or as a matter of law or equity and shall be extended to the
Indemnified Party’s successors, assigns and legal representatives.

                        (g)    The provisions of this Section are expressly intended to confer
benefits upon Covered Persons and such provisions shall remain operative and in full force and
effect regardless of the expiration or any termination of this Agreement.

                       (h)       In no event shall any Covered Person be liable for special,
exemplary, punitive, indirect, or consequential loss, or damage of any kind whatsoever, including
without limitation lost profits.

                       (i)    No Covered Person shall be liable hereunder for any settlement of
any action or claim effected without its written consent thereto.

                       (j)     Pursuant to the exculpation and indemnification provisions
described above, the Investment Advisor and each Indemnified Party will generally not be liable
to the General Partner or the Fund for any act or omission (or alleged act or omission), absent bad
faith, willful misconduct, fraud or gross negligence, and the General Partner and the Fund will
generally be required to indemnify such persons against any Losses they may incur by reason of
any act or omission (or alleged act or omission) related to the General Partner, the Fund or its
subsidiaries, absent bad faith, willful misconduct, fraud or gross negligence. As a result of these
provisions, the General Partner, the Fund and its subsidiaries, as applicable (not the Investment


                                                 9
000687
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                 Page 691 of 852 PageID 2596



Advisor or any other Indemnified Party) will be responsible for any Losses resulting from trading
errors and similar human errors, absent bad faith, willful misconduct, fraud or gross negligence or
the ability to waive or limit such Losses under applicable law. Trading errors might include, for
example, keystroke errors that occur when entering trades into an electronic trading system or
typographical or drafting errors related to derivatives contracts or similar agreements. Given the
volume of transactions executed by the Investment Advisor and its affiliates on behalf of the Fund
and/or its subsidiaries, the General Partner acknowledges that trading errors (and similar errors)
will occur and that the General Partner will be responsible for any resulting Losses, even if such
Losses result from the negligence (but not gross negligence) of the Investment Advisor or its
affiliates.

                 12.     Activities of the Investment Advisor and Others. The Investment Advisor,
and its affiliates may engage, simultaneously with their investment management activities on
behalf of the Fund, in other businesses, and may render services similar to those described in this
Agreement to other individuals, companies, trusts or persons, and shall not by reason of such
engaging in other businesses or rendering of services for others be deemed to be acting in conflict
with the interests of the Fund. Notwithstanding the foregoing, the Investment Advisor and its
affiliates shall devote as much time to provide advisory service to the General Partner with respect
to the management of the Fund’s assets as the Investment Advisor deems necessary and
appropriate. In addition, the Investment Advisor or any of its affiliates, in their individual
capacities, may engage in securities transactions which may be different than, and contrary to, the
investment advice provided by the Investment Advisor to the General Partner with respect to the
Fund. The Investment Advisor may give advice and recommend securities to, or buy securities
for, accounts and other clients, which advice or securities may differ from advice given to, or
securities recommended or bought for, the Fund, even though their investment objectives may be
the same or similar. The Investment Advisor may recommend transactions in securities and other
assets in which the Investment Advisor has an interest, including securities or other assets issued
by affiliates of the Investment Manager. Each of the General Partner and the Fund acknowledges
that it has received, reviewed and had an opportunity with respect to (a) a copy of Part 2 of the
Investment Advisor’s Form ADV, and (b) the supplemental disclosures attached hereto as Exhibit
A, each of which further describes conflicts of interest relating to the Investment Advisor, its
affiliates and their respective advised accounts.

                13.     Term. This Agreement shall remain in effect through an initial term
concluding December 31, 2017 and shall be automatically extended for additional one-year terms
thereafter, except that it may be terminated by the Investment Advisor, on the one hand, or by the
General Partner and the Fund, on the other hand, upon at least 90 days’ prior written notice to the
General Partner or the Investment Advisor, as the case may be, prior to General Partner’s fiscal
year-end.

               14.     Miscellaneous.

                       (a)   Notices. Any notice, consent or other communication made or given
in connection with this Agreement shall be in writing and shall be deemed to have been duly given
when delivered by hand or facsimile or five days after mailed by certified mail, return receipt
requested, as follows:



                                                10
000688
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                   Page 692 of 852 PageID 2597



                              If to the Investment Advisor, to:

                              Highland Capital Management, L.P.
                              300 Crescent Court, Suite 700
                              Dallas, Texas 75201
                              Telephone Number: (972) 628-4100
                              Facsimile Number: (972) 628-4147

                              If to the General Partner or the Fund, to:

                              Charitable DAF GP, LLC
                              4140 Park Lake Avenue, Suite 600
                              Raleigh, North Carolina 27612
                              Attention: Grant Scott
                              Telephone Number: (919) 854-1407
                              Facsimile Number: (919) 854-1401

                     (b)     Entire Agreement. This Agreement contains all of the terms agreed
upon or made by the parties relating to the subject matter of this Agreement, and supersedes all
prior and contemporaneous agreements, negotiations, correspondence, undertakings and
communications of the parties, oral or written, respecting such subject matter.

                        (c)    Amendments and Waivers. No provision of this Agreement may be
amended, modified, waived or discharged except as agreed to in writing by the parties. No
amendment to this Agreement may be made without first obtaining the required approval from the
Fund. The failure of a party to insist upon strict adherence to any term of this Agreement on any
occasion shall not be considered a waiver thereof or deprive that party of the right thereafter to
insist upon strict adherence to that term or any other term of this Agreement.

                        (d)      Binding Effect; Assignment. This Agreement shall be binding upon
and inure to the benefit of the General Partner, the Fund, the Investment Advisor, each Indemnified
Party and their respective successors and permitted assigns. Any person that is not a signatory to
this Agreement but is nevertheless conferred any rights or benefits hereunder (e.g., officers,
partners and personnel of the Investment Advisor and others who are entitled to indemnification
hereunder) shall be entitled to such rights and benefits as if such person were a signatory hereto,
and the rights and benefits of such person hereunder may not be impaired without such person’s
express written consent. No party to this Agreement may assign (as such term is defined under
the U.S. Investment Advisers Act of 1940, as amended) all or any portion of its rights, obligations
or liabilities under this Agreement without the prior written consent of the other parties to this
Agreement; provided; however, that the Investment Advisor may assign all or any portion of its
rights, obligations and liabilities hereunder to any of its affiliates at its discretion.

                      (e)     Governing Law. Notwithstanding the place where this Agreement
may be executed by any of the parties thereto, the parties expressly agree that all terms and
provisions hereof shall be governed by and construed in accordance with the laws of the State of
Texas applicable to agreements made and to be performed in that State.



                                                11
000689
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                 Page 693 of 852 PageID 2598



                       (f)      Jurisdiction; Venue; Waiver of Jury Trial. The Parties hereby agree
that any action, claim, litigation, or proceeding of any kind whatsoever against any other Party in
any way arising from or relating to this Agreement and all contemplated transactions, including
claims sounding in contract, equity, tort, fraud and statute (“Dispute”) shall be submitted
exclusively to the U.S. District Court for the Northern District of Texas or, if such court does not
have subject matter jurisdiction, the courts of the State of Texas sitting in Dallas County, and any
appellate court thereof (“Enforcement Court”). Each Party irrevocably and unconditionally
submits to the exclusive personal and subject matter jurisdiction of the Enforcement Court for any
Dispute and agrees to bring any Dispute only in the Enforcement Court. Each Party further agrees
it shall not commence any Dispute in any forum, including administrative, arbitration, or litigation,
other than the Enforcement Court. Each Party agrees that a final judgment in any such action,
litigation, or proceeding is conclusive and may be enforced in other jurisdictions by suit on the
judgment or in any other manner provided by law.

                EACH PARTY IRREVOCABLY AND UNCONDITIONALLY
WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT
IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL ACTION, PROCEEDING, CAUSE
OF ACTION OR COUNTERCLAIM ARISING OUT OF OR RELATING TO THIS
AGREEMENT, INCLUDING ANY EXHIBITS, SCHEDULES, AND APPENDICES
ATTACHED TO THIS AGREEMENT, OR THE TRANSACTIONS CONTEMPLATED
HEREBY. EACH PARTY CERTIFIES AND ACKNOWLEDGES THAT (A) NO
REPRESENTATIVE OF THE OTHER PARTY HAS REPRESENTED, EXPRESSLY OR
OTHERWISE, THAT THE OTHER PARTY WOULD NOT SEEK TO ENFORCE THE
FOREGOING WAIVER IN THE EVENT OF A LEGAL ACTION, (B) IT HAS CONSIDERED
THE IMPLICATIONS OF THIS WAIVER, (C) IT MAKES THIS WAIVER KNOWINGLY
AND VOLUNTARILY, AND (D) IT HAS BEEN INDUCED TO ENTER INTO THIS
AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND
CERTIFICATIONS IN THIS SECTION.

                     Nothing in this Section 14(f) shall be construed to limit either party’s right
to obtain equitable or injunctive relief in a court of competent jurisdiction in appropriate
circumstances.

                      (g)    Headings. The headings contained in this Agreement are intended
solely for convenience and shall not affect the rights of the parties to this Agreement.

                       (h)    Counterparts. This Agreement may be signed in any number of
counterparts with the same effect as if the signatures to each counterpart were upon a single
instrument, and all such counterparts together shall be deemed an original of this Agreement.

                      (i)      Survival. The provisions of Sections 8, 9, 10, 11 and 14 hereof shall
survive the termination of this Agreement.

                        (j)     Pronouns. All pronouns shall be deemed to refer to the masculine,
feminine, neuter, singular or plural as the identity of the person or persons’ firm or company may
require in the context thereof.


                                                 12
000690
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                Page 694 of 852 PageID 2599



                    (k)     Arm’s-Length Agreement. The General Partner and the Fund have
approved this Agreement and reviewed the activities described in Section 12 and in the Investment
Advisor’s Form ADV and the risks related thereto.

                                  [Signature Page to Follow]




                                               13
000691
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 695 of 852 PageID 2600




000692
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 696 of 852 PageID 2601




000693
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                   Page 697 of 852 PageID 2602



                                            EXHIBIT A

                                     Supplemental Disclosures

Potential Conflicts of Interest

The scope of the activities of Highland Capital Management, L.P. (the “Investment Adviser”), its
affiliates, and the funds and clients managed or advised by the Investment Adviser or any of its
affiliates may give rise to conflicts of interest or other restrictions and/or limitations imposed on
Charitable DAF Fund, L.P. and its subsidiaries (collectively, the “Fund”) in the future that cannot
be foreseen or mitigated at this time. The following briefly summarizes some of these conflicts,
but is not intended to be an exhaustive list of all such conflicts. Additional conflicts are described
in the Investment Adviser’s Form ADV. You are urged to review the Investment Adviser’s Form
ADV in its entirety prior to investing in the Fund.1

Highland Group & Highland Accounts. None of the Investment Adviser, its affiliates and their
respective officers, directors, shareholders, members, partners, personnel and employees
(collectively, the “Highland Group”) is precluded from engaging in or owning an interest in other
business ventures or investment activities of any kind, whether or not such ventures are
competitive with the Fund. The Investment Adviser is permitted to manage other client accounts,
and does manage other client accounts, some of which may have objectives similar or identical to
those of the Fund, including other collective investment vehicles that may be managed by the
Highland Group and in which the Investment Adviser or any of its affiliates may have an equity
interest.

The Fund will be subject to a number of actual and potential conflicts of interest involving the
Highland Group including, among other things, the fact that: (i) the Highland Group conducts
substantial investment activities for accounts, funds, collateralized debt obligations and
collateralized loan obligations that invest in leveraged loans (collectively, “CDOs”) and other
vehicles managed by members of the Highland Group (collectively, “Highland Accounts”) in
which the Fund has no interest; (ii) the Highland Group advises Highland Accounts, which utilize
the same, similar or different methodologies as the Fund and may have financial incentives
(including, without limitation, as it relates to the composition of investors in such funds and
accounts or to the Highland Group’s compensation arrangements) to favor certain Highland
Accounts over the Fund; (iii) the Highland Group may use the strategy described herein in certain
Highland Accounts; (iv) the Investment Adviser may give advice and recommend securities to, or
buy or sell securities for, the Fund, which advice or securities may differ from advice given to, or
securities recommended or bought or sold for, Highland Accounts; (v) the Investment Adviser has
the discretion, to the extent permitted under applicable law, to use its affiliates as service providers
to the Fund and its portfolio investments; (vi) certain investors affiliated with the Highland Group
may choose to personally invest only in certain funds advised by the Highland Group and the
amounts invested by them in such funds is expected to vary significantly; (vii) the Highland Group
and Highland Accounts may actively engage in transactions in the same securities sought by the

1
   The Investment Adviser’s latest Form ADV filed and Part 2 Brochures can be accessed here:
https://adviserinfo.sec.gov/IAPD/IAPDFirmSummary.aspx?ORG_PK=110126




000694
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                   Page 698 of 852 PageID 2603



Fund and, therefore, may compete with the Fund for investment opportunities or may hold
positions opposite to positions maintained by the Fund; (viii) the Fund may invest in CDOs and
Highland Accounts managed by members of the Highland Group; and (ix) the Investment Adviser
will devote to the Fund only as much time as the Investment Adviser deems necessary and
appropriate to manage the Fund’s business.

The Investment Adviser undertakes to resolve conflicts in a fair and equitable basis, which in some
instances may mean a resolution that would not maximize the benefit to the Fund’s investors.

Allocation of Trading Opportunities. It is the policy of the Investment Adviser to allocate
investment opportunities fairly and equitably over time. This means that such opportunities will
be allocated among those accounts for which participation in the respective opportunity is
considered appropriate, taking into account, among other considerations: (i) fiduciary duties owed
to the accounts; (ii) the primary mandate of the accounts; (iii) the capital available to the accounts;
(iv) any restrictions on the accounts and the investment opportunity; (v) the sourcing of the
investment, size of the investment and amount of follow-on available related to the investment;
(vi) whether the risk-return profile of the proposed investment is consistent with the account’s
objectives and program, whether such objectives are considered in light of the specific investment
under consideration or in the context of the portfolio’s overall holdings; (vii) the potential for the
proposed investment to create an imbalance in the account’s portfolio (taking into account
expected inflows and outflows of capital); (viii) liquidity requirements of the account; (ix)
potentially adverse tax consequences; (x) regulatory and other restrictions that would or could limit
an account’s ability to participate in a proposed investment; and (xi) the need to re-size risk in the
account’s portfolio.

The Investment Adviser has the authority to allocate trades to multiple Highland Accounts on an
average price basis or on another basis it deems fair and equitable. Similarly, if an order for any
accounts cannot be fully allocated under prevailing market conditions, the Investment Adviser may
allocate the trades among different accounts on a basis it considers fair and equitable over time.
One or more of the foregoing considerations may (and are often expected to) result in allocations
among the Fund and one or more Highland Accounts on other than a pari passu basis. The
Investment Adviser will allocate investment opportunities across its accounts for which the
opportunities are appropriate, consistent with (i) its internal conflict of interest and allocation
policies and (ii) the requirements of the U.S. Investment Advisers Act of 1940, as amended. The
Investment Adviser will seek to allocate investment opportunities among such entities in a manner
that is fair and equitable over time and consistent with its allocation policy. However, there is no
assurance that such investment opportunities will be allocated to the Fund fairly or equitably in
the short-term or over time and there can be no assurance that the Fund will be able to participate
in all investment opportunities that are suitable for it.

The Investment Adviser and/or its affiliates may open “average price” accounts with brokers. In
an “average price” account, purchase and sale orders placed during a trading day for the Fund, the
Highland Accounts or affiliates of the Investment Adviser are combined, and securities bought
and sold pursuant to such orders are allocated among such accounts on an average price basis.




000695
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                   Page 699 of 852 PageID 2604



Highland Group Trading. As part of their regular business, the members of the Highland Group
hold, purchase, sell, trade or take other related actions both for their respective accounts and for
the accounts of their respective clients, on a principal or agency basis, with respect to loans,
securities and other investments and financial instruments of all types. The members of the
Highland Group also provide investment advisory services, among other services, and engage in
private equity, real estate and capital markets oriented investment activities. The members of the
Highland Group will not be restricted in their performance of any such services or in the types of
debt or equity investments which they may make. The members of the Highland Group may have
economic interests in or other relationships with obligors or issuers in whose obligations or
securities or credit exposures the Fund may invest. In particular, such persons may make and/or
hold an investment in an obligor’s or issuer’s securities that may be pari passu, senior or junior in
ranking to an investment in such obligor’s or issuer’s securities made and/or held by the Fund or
in which partners, security holders, members, officers, directors, agents, personnel or employees
of such persons serve on boards of directors or otherwise have ongoing relationships. Each of such
ownership and other relationships may result in securities laws restrictions on transactions in such
securities by the Fund and otherwise create conflicts of interest for the Fund. In such instances, the
members of the Highland Group may in their discretion make investment recommendations and
decisions that may be the same as or different from those made with respect to the Fund’s
investments. In connection with any such activities described above, the members of the Highland
Group may hold, purchase, sell, trade or take other related actions in securities or investments of
a type that may be suitable to investments for the Fund. The members of the Highland Group will
not be required to offer such securities or investments to the Fund or provide notice of such
activities to the Fund. In addition, in managing the Fund’s portfolio, the Investment Adviser may
take into account its relationship or the relationships of its affiliates with obligors and their
respective affiliates, which may create conflicts of interest. Furthermore, in connection with
actions taken in the ordinary course of business of the Investment Adviser in accordance with its
fiduciary duties to its other clients, the Investment Adviser may take, or be required to take, actions
which adversely affect the interests of the Fund.

The Highland Group has invested and may continue to invest in investments that would also be
appropriate for the Fund. Such investments may be different from those made by the Fund. The
Highland Group does not have any duty, in making or maintaining such investments, to act in a
way that is favorable to the Fund or to offer any such opportunity to the Fund, subject to the
Investment Adviser’s internal allocation policy. The investment policies, fee arrangements and
other circumstances applicable to such other accounts and investments may vary from those
applicable to the Fund and its investments. The Highland Group may also provide advisory or
other services for a customary fee with respect to investments made or held by the Fund, and
neither the Fund nor its investors shall have any right to such fees. The Highland Group may also
have ongoing relationships with, render services to or engage in transactions with other clients
who make investments of a similar nature to those of the Fund, and with companies whose
securities or properties are acquired by the Fund.

As further described below, in connection with the foregoing activities the Highland Group may
from time to time come into possession of material nonpublic information that limits the ability of
the Investment Adviser to effect a transaction for the Fund, and the Fund’s investments may be
constrained as a consequence of the Investment Adviser’s inability to use such information for



000696
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                  Page 700 of 852 PageID 2605



advisory purposes or otherwise to effect transactions that otherwise may have been initiated on
behalf of its clients, including the Fund.

Although the professional staff of the Investment Adviser will devote as much time to the Fund as
the Investment Adviser deems appropriate to perform its duties in accordance with the Fund’s
advisory agreement and in accordance with reasonable commercial standards, the staff may have
conflicts in allocating its time and services among the Fund and the Investment Adviser’s other
accounts.

Various Activities of the Investment Adviser and its Affiliates. The directors, officers, personnel,
employees and agents of the Investment Adviser and its affiliates may, subject to applicable law,
serve as directors (whether supervisory or managing), officers, personnel, employees, partners,
agents, nominees or signatories or provide banking, agency, insurance and/or other services, and
receive arm’s length fees in connection with such services, for the Fund or its investments or other
entities that operate in the same or a related line of business as the, for other clients managed by
the Investment Adviser or its affiliates, or for any obligor or issuer in respect of the CDOs, and the
Fund shall have no right to any such fees. In serving in these multiple capacities, they may have
obligations to such other clients or investors in those entities, the fulfillment of which may not be
in the best interests of the Fund. The Fund may compete with other Highland Accounts for capital
and investment opportunities.

There is no limitation or restriction on the Investment Adviser or any of its affiliates with regard
to acting as investment adviser or collateral manager (or in a similar role) to other parties or
persons. This and other future activities of the Investment Adviser and/or its affiliates may give
rise to additional conflicts of interest. Such conflicts may relate to obligations that the Investment
Adviser’s investment committee, the Investment Adviser or its affiliates have to other clients.

The Investment Adviser and its affiliates may participate in creditors or other committees with
respect to the bankruptcy, restructuring or workout of an investment of the Fund or another
account. In such circumstances, the Investment Adviser or its affiliates may take positions on
behalf of themselves or another account that are adverse to the interests of the Fund.

The Investment Adviser and/or its affiliates may act as an underwriter, arranger or placement
agent, or otherwise participate in the origination, structuring, negotiation, syndication or offering
of CDOs, Highland Accounts and other investments purchased by the Fund. Such transactions
shall be subject to fees that are intended to be no greater than arm’s-length fees, and the Fund shall
have no right to any such fees. There is no expectation for preferential access to transactions
involving CDOs and Highland Accounts that are underwritten, originated, arranged or placed by
the Investment Adviser and/or its affiliates and the Fund shall not have any right to any such fees.

Investments in Highland Accounts Managed by the Investment Manager or its Affiliates. The Fund
may invest a significant portion of its capital in Highland Accounts. The Investment Adviser or
its affiliates will receive senior and subordinated management fees and, in some cases, a
performance-based allocation or fee with respect to its role as general partner and/or manager of
the Highland Accounts. If the Fund invests in Highland Accounts in secondary transactions, the
Fund will indirectly pay the fees (senior and subordinated) of such Highland Accounts and any



000697
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                  Page 701 of 852 PageID 2606



carried interest. If the Fund provides all of the equity for a Highland Account, there may be no
third party with whom the amount of such fees, expenses and carried interest can be negotiated on
an arm’s-length basis. The Investment Adviser or its affiliates will have conflicting division of
loyalties and responsibilities regarding the Fund and a Highland Account, and certain other
conflicts of interest would be inherent in the situation. There can be no assurance that the interests
of the Fund would not be subordinated to those of a Highland Account or to other interests of the
Investment Adviser.

Multiple Levels of Fees. The Investment Adviser and the Highland Accounts are expected to
impose management fees, other administrative fees, carried interest and other performance
allocations on realized and unrealized appreciation in the value of the assets managed and other
income. This may result in greater expense than if investors in the Fund were able to invest directly
in the Highland Accounts or their respective underlying investments. Investors in the Fund should
take into account that the return on their investment will be reduced to the extent of both levels of
fees. The general partner or manager of a Highland Account may receive the economic benefit of
certain fees from its portfolio companies for services and in connection with unconsummated
transactions (e.g., break-up, placement, monitoring, directors’, organizational and set-up fees and
financial advisory fees).

Cross Transactions and Principal Transactions. The Investment Adviser may effect client cross-
transactions where the Investment Adviser causes a transaction to be effected between the Fund
and another client advised by it or any of its affiliates. The Investment Adviser may engage in a
client cross-transaction involving the Fund any time that the Investment Adviser believes such
transaction to be fair to the Fund and such other client.

The Investment Adviser may effect principal transactions where the Fund acquires securities from
or sells securities to the Investment Adviser and/or its affiliates, in each case in accordance with
applicable law, which will include the Investment Adviser obtaining independent consent on
behalf of the Fund prior to engaging in any such principal transaction between the Fund and the
Investment Adviser or its affiliates.

The Investment Adviser may advise the Fund to acquire or dispose of securities in cross trades
between the Fund and other clients of the Investment Adviser or its affiliates in accordance with
applicable legal and regulatory requirements. In addition, the Fund may invest in securities of
obligors or issuers in which the Investment Adviser and/or its affiliates have a debt, equity or
participation interest, and the holding and sale of such investments by the Fund may enhance the
profitability of the Investment Adviser’s own investments in such companies. Moreover, the Fund
may invest in assets originated by the Investment Adviser or its affiliates. In each such case, the
Investment Adviser and such affiliates may have a potentially conflicting division of loyalties and
responsibilities regarding the Fund and the other parties to such trade. Under certain circumstances,
the Investment Adviser and its affiliates may determine that it is appropriate to avoid such conflicts
by selling a security at a fair value that has been calculated pursuant to the Investment Adviser’s
valuation procedures to another client managed or advised by the Investment Adviser or such
affiliates. In addition, the Investment Adviser may enter into agency cross-transactions where it or
any of its affiliates acts as broker for the Fund and for the other party to the transaction, to the
extent permitted under applicable law. The Investment Adviser may obtain independent consent



000698
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                  Page 702 of 852 PageID 2607



in writing on behalf of the Fund, which consent may be provided by the managing member of the
General Partner or any other independent party on behalf of the Fund, if any such transaction
requires the consent of the Fund under Section 206(3) of the U.S. Investment Advisers Act of
1940, as amended.

Material Non-Public Information. There are generally no ethical screens or information barriers
among the Investment Adviser and certain of its affiliates of the type that many firms implement
to separate persons who make investment decisions from others who might possess material, non-
public information that could influence such decisions. If the Investment Adviser, any of its
personnel or its affiliates were to receive material non-public information about a particular obligor
or issuer, or have an interest in causing the Fund to acquire a particular security, the Investment
Adviser may be prevented from advising the Fund to purchase or sell such asset due to internal
restrictions imposed on the Investment Adviser. Notwithstanding the maintenance of certain
internal controls relating to the management of material nonpublic information, it is possible that
such controls could fail and result in the Investment Adviser, or one of its investment professionals,
buying or selling an asset while, at least constructively, in possession of material non-public
information. Inadvertent trading on material nonpublic information could have adverse effects on
the Investment Adviser’s reputation, result in the imposition of regulatory or financial sanctions,
and as a consequence, negatively impact the Investment Adviser’s ability to perform its portfolio
management services to the Fund. In addition, while the Investment Adviser and certain of its
affiliates currently operate without information barriers on an integrated basis, such entities could
be required by certain regulations, or decide that it is advisable, to establish information barriers.
In such event, the Investment Adviser’s ability to operate as an integrated platform could also be
impaired, which would limit the Investment Adviser’s access to personnel of its affiliates and
potentially impair its ability to manage the Fund’s investments.

Conflicts Relating to Equity and Debt Ownership by the Fund and Affiliates. In certain
circumstances, the Fund and other client accounts may invest in securities or other instruments of
the same issuer (or affiliated group of issuers) having a different seniority in the issuer’s capital
structure. If the issuer becomes insolvent, restructures or suffers financial distress, there may be a
conflict between the interests in the Fund and those other accounts insofar as the issuer may be
unable (or in the case of a restructuring prior to bankruptcy may be expected to be unable) to satisfy
the claims of all classes of its creditors and security holders and the Fund and such other accounts
may have competing claims for the remaining assets of such issuers. Under these circumstances
it may not be feasible for the Investment Adviser to reconcile the conflicting interests in the Fund
and such other accounts in a way that protects the Fund’s interests. Additionally, the Investment
Adviser or its nominees may in the future hold board or creditors’ committee memberships which
may require them to vote or take other actions in such capacities that might be conflicting with
respect to certain funds managed by the Investment Adviser in that such votes or actions may favor
the interests of one account over another account. Furthermore, the Investment Adviser’s fiduciary
responsibilities in these capacities might conflict with the best interests of the investors.

Other Fees. The Investment Adviser and its affiliates are permitted to receive consulting fees,
investment banking fees, advisory fees, breakup fees, director’s fees, closing fees, transaction fees
and similar fees in connection with actual or contemplated investments. Such fees will not reduce




000699
Case 3:21-cv-00842-B Document 43 Filed 07/13/21              Page 703 of 852 PageID 2608



or offset the Management Fee. Conflicts of interest may also arise due to the allocation of such
fees to or among co-investors.

Soft Dollars. The Investment Adviser’s authority to use “soft dollar” credits generated by the
Fund’s securities transactions to pay for expenses that might otherwise have been borne by the
Investment Adviser may give the Investment Adviser an incentive to select brokers or dealers for
transactions, or to negotiate commission rates or other execution terms, in a manner that takes
into account the soft dollar benefits received by the Investment Adviser rather than giving
exclusive consideration to the interests of the Fund.




000700
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 704 of 852 PageID 2609



                             EXHIBIT 8




000701
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                            Page 705 of 852 PageID 2610



                                                                     Conformed to Federal Register version

SECURITIES AND EXCHANGE COMMISSION

17 CFR Part 276

[Release No. IA-5248; File No. S7-07-18]

RIN: 3235-AM36

Commission Interpretation Regarding Standard of Conduct for Investment Advisers

AGENCY: Securities and Exchange Commission.

ACTION: Interpretation.

SUMMARY: The Securities and Exchange Commission (the “SEC” or the “Commission”) is

publishing an interpretation of the standard of conduct for investment advisers under the

Investment Advisers Act of 1940 (the “Advisers Act” or the “Act”).

DATES: Effective July 12, 2019.

FOR FURTHER INFORMATION CONTACT: Olawalé Oriola, Senior Counsel;

Matthew Cook, Senior Counsel; or Jennifer Songer, Branch Chief, at (202) 551-6787 or

IArules@sec.gov, Investment Adviser Regulation Office, Division of Investment Management,

Securities and Exchange Commission, 100 F Street NE, Washington, DC 20549-8549.

SUPPLEMENTARY INFORMATION: The Commission is publishing an interpretation of

the standard of conduct for investment advisers under the Advisers Act [15 U.S.C. 80b]. 1




1
         15 U.S.C. 80b. Unless otherwise noted, when we refer to the Advisers Act, or any paragraph of the
         Advisers Act, we are referring to 15 U.S.C. 80b of the United States Code, at which the Advisers Act is
         codified, and when we refer to rules under the Advisers Act, or any paragraph of these rules, we are
         referring to title 17, part 275 of the Code of Federal Regulations [17 CFR 275], in which these rules are
         published.




000702
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                            Page 706 of 852 PageID 2611



                                          TABLE OF CONTENTS

I.       INTRODUCTION
         A.       Overview of Comments
II.      INVESTMENT ADVISERS’ FIDUCIARY DUTY
         A.       Application of Duty Determined by Scope of Relationship
         B.       Duty of Care
                   1.       Duty to Provide Advice that is in the Best Interest of the Client
                   2.       Duty to Seek Best Execution
                   3.       Duty to Provide Advice and Monitoring over the Course of the
                            Relationship
         C.       Duty of Loyalty
III.     ECONOMIC CONSIDERATIONS
         A.       Background
         B.       Potential Economic Effects


I.       INTRODUCTION

         Under federal law, an investment adviser is a fiduciary. 2 The fiduciary duty an

investment adviser owes to its client under the Advisers Act, which comprises a duty of care and

a duty of loyalty, is important to the Commission’s investor protection efforts. Also important to

the Commission’s investor protection efforts is the standard of conduct that a broker-dealer owes

to a retail customer when it makes a recommendation of any securities transaction or investment

strategy involving securities. 3 Both investment advisers and broker-dealers play an important


2
         SEC v. Capital Gains Research Bureau, Inc., 375 U.S. 180, 194 (1963) (“SEC v. Capital Gains”); see also
         infra footnotes 34–44 and accompanying text; Investment Adviser Codes of Ethics, Investment Advisers
         Act Release No. 2256 (July 2, 2004); Compliance Programs of Investment Companies and Investment
         Advisers, Investment Advisers Act Release No. 2204 (Dec. 17, 2003); Electronic Filing by Investment
         Advisers; Proposed Amendments to Form ADV, Investment Advisers Act Release No. 1862 (Apr. 5,
         2000). Investment advisers also have antifraud liability with respect to prospective clients under section
         206 of the Advisers Act.
3
         See Regulation Best Interest, Exchange Act Release No. 34-86031 (June 5, 2019) (“Reg. BI Adoption”).
         This final interpretation regarding the standard of conduct for investment advisers under the Advisers Act
         (“Final Interpretation”) interprets section 206 of the Advisers Act, which is applicable to both SEC- and


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000703
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                            Page 707 of 852 PageID 2612



role in our capital markets and our economy more broadly. Investment advisers and broker-

dealers have different types of relationships with investors, offer different services, and have

different compensation models. This variety is important because it presents investors with

choices regarding the types of relationships they can have, the services they can receive, and how

they can pay for those services.

         On April 18, 2018, the Commission proposed rules and forms intended to enhance the

required standard of conduct for broker-dealers 4 and provide retail investors with clear and

succinct information regarding the key aspects of their brokerage and advisory relationships. 5 In

connection with the publication of these proposals, the Commission published for comment a

separate proposed interpretation regarding the standard of conduct for investment advisers under

the Advisers Act (“Proposed Interpretation”). 6 We stated in the Proposed Interpretation, and we

continue to believe, that it is appropriate and beneficial to address in one release and reaffirm—

and in some cases clarify—certain aspects of the fiduciary duty that an investment adviser owes




         state-registered investment advisers, as well as other investment advisers that are exempt from registration
         or subject to a prohibition on registration under the Advisers Act. This Final Interpretation is intended to
         highlight the principles relevant to an adviser’s fiduciary duty. It is not, however, intended to be the
         exclusive resource for understanding these principles. Separately, in various circumstances, case law,
         statutes (such as the Employee Retirement Income Security Act of 1974 (“ERISA”)), and state law impose
         obligations on investment advisers. In some cases, these standards may differ from the standard enforced
         by the Commission.
4
         Regulation Best Interest, Exchange Act Release No. 83062 (Apr. 18, 2018) (“Reg. BI Proposal”).
5
         Form CRS Relationship Summary; Amendments to Form ADV; Required Disclosures in Retail
         Communications and Restrictions on the use of Certain Names or Titles, Investment Advisers Act Release
         No. 4888 (Apr. 18, 2018) (“Relationship Summary Proposal”).
6
         Proposed Commission Interpretation Regarding Standard of Conduct for Investment Advisers; Request for
         Comment on Enhancing Investment Adviser Regulation, Investment Advisers Act Release No. 4889 (Apr.
         18, 2018).



                                                          3
000704
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                            Page 708 of 852 PageID 2613



to its clients under section 206 of the Advisers Act. 7 After considering the comments received,

we are publishing this Final Interpretation with some clarifications to address comments. 8

         A.       Overview of Comments

         We received over 150 comment letters on our Proposed Interpretation from individuals,

investment advisers, trade or professional organizations, law firms, consumer advocacy groups,

and bar associations. 9 Although many commenters generally agreed that the Proposed

Interpretation was useful, 10 some noted the challenges inherent in a Commission interpretation

covering the broad scope of the fiduciary duty that an investment adviser owes to its clients

under the Advisers Act. 11 Some of these commenters suggested modifications to or withdrawal

7
         Further, the Commission recognizes that many advisers provide impersonal investment advice. See, e.g.,
         Advisers Act rule 203A-3 (defining “impersonal investment advice” in the context of defining “investment
         adviser representative” as “investment advisory services provided by means of written material or oral
         statements that do not purport to meet the objectives or needs of specific individuals or accounts”). This
         Final Interpretation does not address the extent to which the Advisers Act applies to different types of
         impersonal investment advice.
8
         In the Proposed Interpretation, the Commission also requested comment on: licensing and continuing
         education requirements for personnel of SEC-registered investment advisers; delivery of account
         statements to clients with investment advisory accounts; and financial responsibility requirements for SEC-
         registered investment advisers, including fidelity bonds. We are continuing to evaluate the comments
         received in response.
9
         Comment letters submitted in File No. S7-09-18 are available on the Commission’s website at
         https://www.sec.gov/comments/s7-09-18/s70918.htm. We also considered those comments submitted in
         File No. S7-08-18 (Comments on Relationship Summary Proposal) and File No. S7-07-18 (Comments on
         Reg. BI Proposal). Those comments are available on the Commission’s website at
         https://www.sec.gov/comments/s7-08-18/s70818.htm and https://www.sec.gov/comments/s7-07-
         18/s70718.htm.
10
         See, e.g., Comment Letter of North American Securities Administrators Association (Aug. 23, 2018)
         (“NASAA Letter”) (stating that the Proposed Interpretation is a “useful resource”); Comment Letter of
         Invesco (Aug. 7, 2018) (“Invesco Letter”) (agreeing that “there are benefits to having a clear statement
         regarding the fiduciary duty that applies to an investment adviser”).
11
         See, e.g., Comment Letter of Pickard Djinis and Pisarri LLP (Aug. 7, 2018) (“Pickard Letter”) (noting the
         Commission’s “efforts to synthesize case law, legislative history, academic literature, prior Commission
         releases and other sources to produce a comprehensive explanation of the fiduciary standard of conduct”);
         Comment Letter of Dechert LLP (Aug. 7, 2018) (“Dechert Letter”) (“It is crucial that any universal
         interpretation of an adviser’s fiduciary duty be based on sound and time-tested principles. Given the
         difficulty of defining and encompassing all of an adviser’s responsibilities to its clients, while also
         accommodating the diversity of advisory arrangements, interpretive issues will arise in the future.”);
         Comment Letter of the Hedge Funds Subcommittee of the Federal Regulation of Securities Committee of
         the Business Law Section of the American Bar Association (Aug. 24, 2018) (“ABA Letter”) (“We note at


                                                          4
000705
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                               Page 709 of 852 PageID 2614



of the Proposed Interpretation. 12 Although most commenters agreed that an investment adviser’s

fiduciary duty comprises a duty of care and a duty of loyalty, as described in the Proposed

Interpretation, they had differing views on aspects of the fiduciary duty and in some cases sought

clarification on its application. 13

         Some commenters requested that we adopt rule text instead. 14 The relationship between

an investment adviser and its client has long been based on fiduciary principles not generally set

forth in specific statute or rule text. We believe that this principles-based approach should

continue as it expresses broadly the standard to which investment advisers are held while

allowing them flexibility to meet that standard in the context of their specific services. In our

view, adopting rule text is not necessary to achieve our goal in this Final Interpretation of

reaffirming and in some cases clarifying certain aspects of the fiduciary duty.




         the outset that it is difficult to capture the nature of an investment adviser’s fiduciary duty in a broad
         statement that has universal applicability.”).
12
         See, e.g., Comment Letter of L.A. Schnase (Jul. 30, 2018) (urging the Commission not to issue the
         Proposed Interpretation in final form, or at least not without substantial rewriting or reshaping); Comment
         Letter of Money Management Institute (Aug. 7, 2018) (“MMI Letter”) (urging the Commission to “revise
         the interpretation so that it reflects the common law principles in which an investment adviser’s fiduciary
         duty is grounded”); Dechert Letter (recommending that we withdraw the Proposed Interpretation and
         instead rely on existing authority and sources of law, as well as existing Commission practices for
         providing interpretive guidance, in order to define the source and scope of an investment adviser’s
         fiduciary duty).
13
         See, e.g., Comment Letter of Cambridge Investment Research Inc. (Aug. 7, 2018) (“Cambridge Letter”)
         (stating that “greater clarity on all aspects of an investment adviser’s fiduciary duty will improve the ability
         to craft such policies and procedures, as well as support the elimination of confusion for retail clients and
         investment professionals”); Comment Letter of Institutional Limited Partners Association (Aug. 6, 2018)
         (“ILPA Letter 1”) (“Interpretation will provide more certainty regarding the fiduciary duties owed by
         private fund advisers to their clients.”); Comment Letter of New York City Bar Association (Jun. 26, 2018)
         (“NY City Bar Letter”) (stating that the uniform interpretation of an investment adviser’s fiduciary duty is
         necessary).
14
         Some commenters suggested that we codify the Proposed Interpretation. See, e.g., Comment Letter of Roy
         Tanga (Apr. 25, 2018); Comment Letter of Financial Engines (Aug. 6, 2018) (“Financial Engines Letter”);
         ILPA Letter 1; Comment Letter of AARP (Aug. 7, 2018) (“AARP Letter”); Comment Letter of Gordon
         Donohue (Aug. 6, 2018); Comment Letter of Financial Planning Coalition (Aug. 7, 2018) (“FPC Letter”).



                                                            5
000706
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                             Page 710 of 852 PageID 2615



II.      INVESTMENT ADVISERS’ FIDUCIARY DUTY

         The Advisers Act establishes a federal fiduciary duty for investment advisers. 15 This

fiduciary duty is based on equitable common law principles and is fundamental to advisers’

relationships with their clients under the Advisers Act. 16 The investment adviser’s fiduciary duty

is broad and applies to the entire adviser-client relationship. 17 The fiduciary duty to which

advisers are subject is not specifically defined in the Advisers Act or in Commission rules, but

reflects a Congressional recognition “of the delicate fiduciary nature of an investment advisory

relationship” as well as a Congressional intent to “eliminate, or at least to expose, all conflicts of

interest which might incline an investment adviser—consciously or unconsciously—to render

advice which was not disinterested.” 18 An adviser’s fiduciary duty is imposed under the


15
         Transamerica Mortgage Advisors, Inc. v. Lewis, 444 U.S. 11, 17 (1979) (“Transamerica Mortgage v.
         Lewis”) (“§ 206 establishes federal fiduciary standards to govern the conduct of investment advisers.”)
         (quotation marks omitted); Santa Fe Industries, Inc. v. Green, 430 U.S. 462, 471, n.11 (1977) (in
         discussing SEC v. Capital Gains, stating that the Supreme Court’s reference to fraud in the “equitable”
         sense of the term was “premised on its recognition that Congress intended the Investment Advisers Act to
         establish federal fiduciary standards for investment advisers”); SEC v. Capital Gains, supra footnote 2;
         Amendments to Form ADV, Investment Advisers Act Release No. 3060 (July 28, 2010) (“Investment
         Advisers Act Release 3060”) (“Under the Advisers Act, an adviser is a fiduciary whose duty is to serve the
         best interests of its clients, which includes an obligation not to subrogate clients’ interests to its own,”
         citing Proxy Voting by Investment Advisers, Investment Advisers Act Release No. 2106 (Jan. 31, 2003)
         (“Investment Advisers Act Release 2106”)).
16
         See SEC v. Capital Gains, supra footnote 2 (discussing the history of the Advisers Act, and how equitable
         principles influenced the common law of fraud and changed the suits brought against a fiduciary, “which
         Congress recognized the investment adviser to be”).
17
         The Commission has previously recognized the broad scope of section 206 of the Advisers Act in a variety
         of contexts. See, e.g., Investment Advisers Act Release 2106, supra footnote 15; Timbervest, LLC, et al.,
         Advisers Act Release No. 4197 (Sept. 17, 2015) (Commission Opinion) (“ [O]nce an investment advisory
         relationship is formed, the Advisers Act does not permit an adviser to exploit that fiduciary relationship by
         defrauding his client in any investment transaction connected to the advisory relationship.”); see also SEC
         v. Lauer, 2008 WL 4372896, at 24 (S.D. Fla. Sept. 24, 2008) (“Unlike the antifraud provisions of the
         Securities Act and the Exchange Act, Section 206 of the Advisers Act does not require that the activity be
         ‘in the offer or sale of any’ security or ‘in connection with the purchase or sale of any security.’”); Thomas
         P. Lemke & Gerald T. Lins, Regulation of Investment Advisers (2013 ed.), at § 2:30 (“[T]he SEC has …
         applied [sections 206(1) and 206(2)] where fraud arose from an investment advisory relationship, even
         though the wrongdoing did not specifically involve securities.”).
18
         See SEC v. Capital Gains, supra footnote 2; see also In the Matter of Arleen W. Hughes, Exchange Act
         Release No. 4048 (Feb. 18, 1948) (“Arleen Hughes”) (Commission Opinion) (discussing the relationship of


                                                           6
000707
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                               Page 711 of 852 PageID 2616



Advisers Act in recognition of the nature of the relationship between an investment adviser and a

client and the desire “so far as is presently practicable to eliminate the abuses” that led to the

enactment of the Advisers Act. 19 It is made enforceable by the antifraud provisions of the

Advisers Act. 20

         An investment adviser’s fiduciary duty under the Advisers Act comprises a duty of care

and a duty of loyalty. 21 This fiduciary duty requires an adviser “to adopt the principal’s goals,



         trust and confidence between the client and a dual registrant and stating that the registrant was a fiduciary
         and subject to liability under the antifraud provisions of the Securities Act of 1933 and the Securities
         Exchange Act of 1934).
19
         See SEC v. Capital Gains, supra footnote 2 (noting that the “declaration of policy” in the original bill,
         which became the Advisers Act, declared that “the national public interest and the interest of investors are
         adversely affected … when the business of investment advisers is so conducted as to defraud or mislead
         investors, or to enable such advisers to relieve themselves of their fiduciary obligations to their clients. It is
         hereby declared that the policy and purposes of this title, in accordance with which the provisions of this
         title shall be interpreted, are to mitigate and, so far as is presently practicable to eliminate the abuses
         enumerated in this section”) (citing S. 3580, 76th Cong., 3d Sess., § 202 and Investment Trusts and
         Investment Companies, Report of the Securities and Exchange Commission, Pursuant to Section 30 of the
         Public Utility Holding Company Act of 1935, on Investment Counsel, Investment Management, Investment
         Supervisory, and Investment Advisory Services, H.R. Doc. No. 477, 76th Cong. 2d Sess., 1, at 28)
         (emphasis added).
20
         Id.; Transamerica Mortgage v. Lewis, supra footnote 15 (“[T]he Act’s legislative history leaves no doubt
         that Congress intended to impose enforceable fiduciary obligations.”). Some commenters questioned the
         standard to which the Advisers Act holds investment advisers. See, e.g., Comment Letter of Stark & Stark,
         PC (undated) (“The duty of care at common law and under the Advisers Act only requires that advisers not
         be negligent in performing their duties.”) (internal citation omitted); Comment Letter of Institutional
         Limited Partners Association (Nov. 21, 2018) (“ILPA Letter 2”) (“The Advisers Act standard is a lower
         simple ‘negligence’ standard.”). Claims arising under Advisers Act section 206(2) are not scienter-based
         and can be adequately pled with only a showing of negligence. Robare Group, Ltd., et al. v. SEC, 922 F.3d
         468, 472(D.C. Cir. 2019) (“Robare v. SEC”); SEC v. Steadman, 967 F.2d 636, 643, n.5 (D.C. Cir. 1992)
         (citing SEC v. Capital Gains, supra footnote 2) (“[A] violation of § 206(2) of the Investment Advisers Act
         may rest on a finding of simple negligence.”); SEC v. DiBella, 587 F.3d 553, 567 (2d Cir. 2009) (“the
         government need not show intent to make out a section 206(2) violation”); SEC v. Gruss, 859 F. Supp. 2d
         653, 669 (S.D.N.Y. 2012) (“Claims arising under Section 206(2) are not scienter-based and can be
         adequately pled with only a showing of negligence.”). However, claims arising under Advisers Act section
         206(1) require scienter. See, e.g., Robare v. SEC; SEC v. Moran, 922 F. Supp. 867, 896 (S.D.N.Y. 1996);
         Carroll v. Bear, Stearns & Co., 416 F. Supp. 998, 1001 (S.D.N.Y. 1976).
21
         See, e.g., Investment Advisers Act Release 2106, supra footnote 15. These duties were generally
         recognized by commenters. See, e.g., Comment Letter of Consumer Federation of America (Aug. 7, 2018)
         (“CFA Letter”); Comment Letter of the Investment Adviser Association (Aug. 6, 2018) (“IAA Letter”);
         Comment Letter of Investments & Wealth Institute (Aug. 6, 2018); Comment Letter of Raymond James
         (Aug. 7, 2018); FPC Comment Letter. But see Dechert Letter (questioning the sufficiency of support for a
         duty of care).



                                                            7
000708
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                               Page 712 of 852 PageID 2617



objectives, or ends.” 22 This means the adviser must, at all times, serve the best interest of its

client and not subordinate its client’s interest to its own. In other words, the investment adviser

cannot place its own interests ahead of the interests of its client. This combination of care and

loyalty obligations has been characterized as requiring the investment adviser to act in the “best

interest” of its client at all times. 23 In our view, an investment adviser’s obligation to act in the

best interest of its client is an overarching principle that encompasses both the duty of care and

the duty of loyalty. As discussed in more detail below, in our view, the duty of care requires an

investment adviser to provide investment advice in the best interest of its client, based on the

client’s objectives. Under its duty of loyalty, an investment adviser must eliminate or make full

and fair disclosure of all conflicts of interest which might incline an investment adviser—

consciously or unconsciously—to render advice which is not disinterested such that a client can

provide informed consent to the conflict. 24 We believe this is another part of an investment

adviser’s obligation to act in the best interest of its client.

             A. Application of Duty Determined by Scope of Relationship

         An adviser’s fiduciary duty is imposed under the Advisers Act in recognition of the

22
         Arthur B. Laby, The Fiduciary Obligations as the Adoption of Ends, 56 Buffalo Law Review 99 (2008);
         see also Restatement (Third) of Agency, §2.02 Scope of Actual Authority (2006) (describing a fiduciary’s
         authority in terms of the fiduciary’s reasonable understanding of the principal’s manifestations and
         objectives).
23
         Investment Advisers Act Release 3060, supra footnote 15 (adopting amendments to Form ADV and stating
         that “under the Advisers Act, an adviser is a fiduciary whose duty is to serve the best interests of its clients,
         which includes an obligation not to subrogate clients’ interests to its own,” citing Investment Advisers Act
         Release 2106, supra footnote 15). See SEC v. Tambone, 550 F.3d 106, 146 (1st Cir. 2008) (“SEC v.
         Tambone”) (“Section 206 imposes a fiduciary duty on investment advisers to act at all times in the best
         interest of the fund…”); SEC v. Moran, 944 F. Supp. 286, 297 (S.D.N.Y 1996) (“SEC v. Moran”)
         (“Investment advisers are entrusted with the responsibility and duty to act in the best interest of their
         clients.”). Although most commenters agreed that an adviser has an obligation to act in its client’s best
         interest, some questioned whether the Proposed Interpretation appropriately considered the best interest
         obligation as part of the duty of care, or whether it instead should be considered part of the duty of loyalty.
         See, e.g., MMI Letter; Comment Letter of Investment Company Institute (Aug. 7, 2018) (“ICI Letter”).
24
         See infra footnotes 67-70 and accompanying text for a more detailed discussion of informed consent and
         how it is generally considered on an objective basis and may be inferred.



                                                            8
000709
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                            Page 713 of 852 PageID 2618



nature of the relationship between an adviser and its client—a relationship of trust and

confidence. 25 The adviser’s fiduciary duty is principles-based and applies to the entire

relationship between the adviser and its client. The fiduciary duty follows the contours of the

relationship between the adviser and its client, and the adviser and its client may shape that

relationship by agreement, provided that there is full and fair disclosure and informed consent. 26

With regard to the scope of the adviser-client relationship, we recognize that investment advisers

provide a wide range of services, from a single financial plan for which a client may pay a one-

time fee, to ongoing portfolio management for which a client may pay a periodic fee based on

the value of assets in the portfolio. Investment advisers also serve a large variety of clients, from

retail clients with limited assets and investment knowledge and experience to institutional clients

with very large portfolios and substantial knowledge, experience, and analytical resources. 27 In

our experience, the principles-based fiduciary duty imposed by the Advisers Act has provided

sufficient flexibility to serve as an effective standard of conduct for investment advisers,

regardless of the services they provide or the types of clients they serve.

         Although all investment advisers owe each of their clients a fiduciary duty under the

Advisers Act, that fiduciary duty must be viewed in the context of the agreed-upon scope of the

25
         See, e.g., Hearings on S. 3580 before Subcommittee of the Senate Committee on Banking and Currency,
         76th Cong., 3d Sess. (leading investment advisers emphasized their relationship of “trust and confidence”
         with their clients); SEC v. Capital Gains, supra footnote 2 (citing same).
26
         Several commenters asked that we clarify that an adviser and its client can tailor the scope of the
         relationship to which the fiduciary duty applies through contract. See, e.g., MMI Letter; Financial Engines
         Letter; ABA Letter.
27
         This Final Interpretation also applies to automated advisers, which are often colloquially referred to as
         “robo-advisers.” Automated advisers, like all SEC-registered investment advisers, are subject to all of the
         requirements of the Advisers Act, including the requirement that they provide advice consistent with the
         fiduciary duty they owe to their clients. See Division of Investment Management, Robo Advisers, IM
         Guidance Update No. 2017-02 (Feb. 2017), available at https://www.sec.gov/investment/im-guidance-
         2017-02.pdf (describing Commission staff’s guidance as to three distinct areas under the Advisers Act that
         automated advisers should consider, due to the nature of their business model, in seeking to comply with
         their obligations under the Advisers Act).



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000710
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                            Page 714 of 852 PageID 2619



relationship between the adviser and the client. In particular, the specific obligations that flow

from the adviser’s fiduciary duty depend upon what functions the adviser, as agent, has agreed to

assume for the client, its principal. For example, the obligations of an adviser providing

comprehensive, discretionary advice in an ongoing relationship with a retail client (e.g.,

monitoring and periodically adjusting a portfolio of equity and fixed income investments with

limited restrictions on allocation) will be significantly different from the obligations of an

adviser to a registered investment company or private fund where the contract defines the scope

of the adviser’s services and limitations on its authority with substantial specificity (e.g., a

mandate to manage a fixed income portfolio subject to specified parameters, including

concentration limits and credit quality and maturity ranges). 28

         While the application of the investment adviser’s fiduciary duty will vary with the scope

of the relationship, the relationship in all cases remains that of a fiduciary to the client. In other

words, an adviser’s federal fiduciary duty may not be waived, though it will apply in a manner

that reflects the agreed-upon scope of the relationship. 29 A contract provision purporting to

waive the adviser’s federal fiduciary duty generally, such as (i) a statement that the adviser will

not act as a fiduciary, (ii) a blanket waiver of all conflicts of interest, or (iii) a waiver of any

28
         See, e.g., infra text following footnote 35.
29
         Because an adviser’s federal fiduciary obligations are enforceable through section 206 of the Advisers Act,
         we would view a waiver of enforcement of section 206 as implicating section 215(a) of the Advisers Act,
         which provides that “any condition, stipulation or provision binding any person to waive compliance with
         any provision of this title. . . shall be void.” See also Restatement (Third) of Agency, § 8.06 Principal’s
         Consent (2006) (“[T]he law applicable to relationships of agency as defined in § 1.01 imposes mandatory
         limits on the circumstances under which an agent may be empowered to take disloyal action. These limits
         serve protective and cautionary purposes. Thus, an agreement that contains general or broad language
         purporting to release an agent in advance from the agent’s general fiduciary obligation to the principal is
         not likely to be enforceable. This is because a broadly sweeping release of an agent’s fiduciary duty may
         not reflect an adequately informed judgment on the part of the principal; if effective, the release would
         expose the principal to the risk that the agent will exploit the agent’s position in ways not foreseeable by
         the principal at the time the principal agreed to the release. In contrast, when a principal consents to
         specific transactions or to specified types of conduct by the agent, the principal has a focused opportunity
         to assess risks that are more readily identifiable.”).



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000711
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                              Page 715 of 852 PageID 2620



specific obligation under the Advisers Act, would be inconsistent with the Advisers Act, 30

regardless of the sophistication of the client. 31




30
         See sections 206 and 215(a). Commenters generally agreed that a client cannot waive an investment
         adviser’s fiduciary duty through agreement. See Dechert Letter; Comment Letter of Ropes & Gray LLP
         (Aug. 7, 2018) (“Ropes & Gray Letter”), at n.20; see also supra footnote 29. In the Proposed
         Interpretation, we stated that “the investment adviser cannot disclose or negotiate away, and the investor
         cannot waive, the federal fiduciary duty.” One commenter disputed this broad statement, believing that it
         called into question “the ability of an investment adviser and client to define the scope of the adviser’s
         services and duties.” ABA Letter; see also Financial Engines Letter. We have modified this statement to
         clarify that a general waiver of the fiduciary duty would violate that duty and to provide examples of such a
         general waiver.
31
         Some commenters mentioned a 2007 No-Action Letter in which staff indicated that whether a clause in an
         advisory agreement that purports to limit an adviser’s liability under that agreement (a so-called “hedge
         clause”) would violate sections 206(1) and 206(2) of the Advisers Act depends on all of the surrounding
         facts and circumstances. Heitman Capital Management, LLC, SEC Staff No-Action Letter (Feb. 12, 2007)
         (“Heitman Letter”). A few commenters indicated that the Heitman Letter expanded the ability of
         investment advisers to private funds, and potentially other sophisticated clients, to disclaim their fiduciary
         duties under state law in an advisory agreement. See, e.g., ILPA Letter 1; ILPA Letter 2. The commenters’
         descriptions of the Heitman Letter suggest that it may have been applied incorrectly. The Heitman Letter
         does not address the scope or substance of an adviser’s federal fiduciary duty; rather, it addresses the extent
         to which hedge clauses may be misleading in violation of the Advisers Act’s antifraud provisions. Another
         commenter agreed with this reading of the Heitman Letter. See Comment Letter of American Investment
         Council (Feb. 25, 2019). In response to these comments, we express below the Commission’s views about
         an adviser’s obligations under sections 206(1) and 206(2) of the Advisers Act with respect to the use of
         hedge clauses. Accordingly, because we are expressing our views in this Final Interpretation, the Heitman
         Letter is withdrawn.
         This Final Interpretation makes clear that an adviser’s federal fiduciary duty may not be waived, though its
         application may be shaped by agreement. This Final Interpretation does not take a position on the scope or
         substance of any fiduciary duty that applies to an adviser under applicable state law. See supra footnote 3.
         The question of whether a hedge clause violates the Advisers Act’s antifraud provisions depends on all of
         the surrounding facts and circumstances, including the particular circumstances of the client (e.g.,
         sophistication). In our view, however, there are few (if any) circumstances in which a hedge clause in an
         agreement with a retail client would be consistent with those antifraud provisions, where the hedge clause
         purports to relieve the adviser from liability for conduct as to which the client has a non-waivable cause of
         action against the adviser provided by state or federal law. Such a hedge clause generally is likely to
         mislead those retail clients into not exercising their legal rights, in violation of the antifraud provisions,
         even where the agreement otherwise specifies that the client may continue to retain its non-waivable rights.
         Whether a hedge clause in an agreement with an institutional client would violate the Advisers Act’s
         antifraud provisions will be determined based on the particular facts and circumstances. To the extent that
         a hedge clause creates a conflict of interest between an adviser and its client, the adviser must address the
         conflict as required by its duty of loyalty.



                                                          11
000712
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                            Page 716 of 852 PageID 2621



             B. Duty of Care

         As fiduciaries, investment advisers owe their clients a duty of care. 32 The Commission

has discussed the duty of care and its components in a number of contexts. 33 The duty of care

includes, among other things: (i) the duty to provide advice that is in the best interest of the

client, (ii) the duty to seek best execution of a client’s transactions where the adviser has the

responsibility to select broker-dealers to execute client trades, and (iii) the duty to provide advice

and monitoring over the course of the relationship.

                               1. Duty to Provide Advice that is in the Best Interest of the Client

         The duty of care includes a duty to provide investment advice that is in the best interest

of the client, including a duty to provide advice that is suitable for the client. 34 In order to


32
         See Investment Advisers Act Release 2106, supra footnote 15 (stating that under the Advisers Act, “an
         adviser is a fiduciary that owes each of its clients duties of care and loyalty with respect to all services
         undertaken on the client’s behalf, including proxy voting,” which is the subject of the release, and citing
         SEC v. Capital Gains supra footnote 2, to support this point). This Final Interpretation does not address the
         specifics of how an investment adviser might satisfy its fiduciary duty when voting proxies. See also
         Restatement (Third) of Agency, § 8.08 (discussing the duty of care that an agent owes its principal as a
         matter of common law); Tamar Frankel & Arthur B. Laby, The Regulation of Money Managers (updated
         2017) (“Advice can be divided into three stages. The first determines the needs of the particular client.
         The second determines the portfolio strategy that would lead to meeting the client’s needs. The third
         relates to the choice of securities that the portfolio would contain. The duty of care relates to each of the
         stages and depends on the depth or extent of the advisers’ obligation towards their clients.”).
33
         See, e.g., Suitability of Investment Advice Provided by Investment Advisers; Custodial Account Statements
         for Certain Advisory Clients, Investment Advisers Act Release No. 1406 (Mar. 16, 1994) (“Investment
         Advisers Act Release 1406”) (stating that advisers have a duty of care and discussing advisers’ suitability
         obligations); Interpretive Release Concerning the Scope of Section 28(e) of the Securities Exchange Act of
         1934 and Related Matters, Exchange Act Release No. 23170 (Apr. 28, 1986) (“Exchange Act Release
         23170”) (“an adviser, as a fiduciary, owes its clients a duty of obtaining the best execution on securities
         transactions”). We highlight certain contexts, but not all, in which the Commission has addressed the duty
         of care. See, e.g., Investment Advisers Act Release 2106, supra footnote 15.
34
         In 1994, the Commission proposed a rule that would have made express the fiduciary obligation of
         investment advisers to make only suitable recommendations to a client. Investment Advisers Act Release
         1406, supra footnote 33. Although never adopted, the rule was designed, among other things, to reflect the
         Commission’s interpretation of an adviser’s existing suitability obligation under the Advisers Act. In
         addition, we do not cite Investment Advisers Act Release 1406 as the source of authority for the view we
         express here, which at least one comment letter suggested, but cite it merely to show that the Commission
         has long held this view. See Comment Letter of the Managed Funds Association and the Alternative
         Investment Management Association (Aug. 7, 2018) (indicating that the Commission’s failure to adopt the
         proposed suitability rule means “investment advisers are not subject to an express ‘suitability’ standard


                                                         12
000713
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                               Page 717 of 852 PageID 2622



provide such advice, an adviser must have a reasonable understanding of the client’s objectives.

The basis for such a reasonable understanding generally would include, for retail clients, an

understanding of the investment profile, or for institutional clients, an understanding of the

investment mandate. 35 The duty to provide advice that is in the best interest of the client based

on a reasonable understanding of the client’s objectives is a critical component of the duty of

care.

         Reasonable Inquiry into Client’s Objectives

         How an adviser develops a reasonable understanding will vary based on the specific facts

and circumstances, including the nature of the client, the scope of the adviser-client relationship,

and the nature and complexity of the anticipated investment advice.

         In order to develop a reasonable understanding of a retail client’s objectives, an adviser

should, at a minimum, make a reasonable inquiry into the client’s financial situation, level of

financial sophistication, investment experience, and financial goals (which we refer to

collectively as the retail client’s “investment profile”). For example, an adviser undertaking to

formulate a comprehensive financial plan for a retail client would generally need to obtain a



         under existing regulation”). We believe that this obligation to make only suitable recommendations to a
         client is part of an adviser’s fiduciary duty to act in the best interest of its client. Accordingly, an adviser
         must provide investment advice that is suitable for its client in providing advice that is in the best interest of
         its client. See SEC v. Tambone, supra footnote 23 (“Section 206 imposes a fiduciary duty on investment
         advisers to act at all times in the best interest of the fund….”); SEC v. Moran, supra footnote 23
         (“Investment advisers are entrusted with the responsibility and duty to act in the best interest of their
         clients.”).
35
         Several commenters stated that the duty to make a reasonable inquiry into a client’s investment profile may
         not apply in the institutional client context. See, e.g., Comment Letter of BlackRock, Inc. (Aug. 7, 2018);
         Comment Letter of Teachers Insurance and Annuity Association of America (Aug. 7, 2018); Comment
         Letter of Allianz Global Investors U.S. LLC (Aug. 7, 2018) (“Allianz Letter”); Comment Letter of John
         Hancock Life Insurance Company (U.S.A.) (Aug. 3, 2018). Accordingly, we are describing the duty as a
         duty to have a reasonable understanding of the client’s objectives. While not every client will have an
         investment profile, every client will have objectives. For example, an institutional client’s objectives may
         be ascertained through its investment mandate.



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000714
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                                Page 718 of 852 PageID 2623



range of personal and financial information about the client such as current income, investments,

assets and debts, marital status, tax status, insurance policies, and financial goals. 36

         In addition, it will generally be necessary for an adviser to a retail client to update the

client’s investment profile in order to maintain a reasonable understanding of the client’s

objectives and adjust the advice to reflect any changed circumstances. 37 The frequency with

which the adviser must update the client’s investment profile in order to consider changes to any

advice the adviser provides would itself turn on the facts and circumstances, including whether

the adviser is aware of events that have occurred that could render inaccurate or incomplete the

investment profile on which the adviser currently bases its advice. For instance, in the case of a

financial plan where the investment adviser also provides advice on an ongoing basis, a change

in the relevant tax law or knowledge that the client has retired or experienced a change in marital

status could trigger an obligation to make a new inquiry.

         By contrast, in providing investment advice to institutional clients, the nature and extent

of the reasonable inquiry into the client’s objectives generally is shaped by the specific

investment mandates from those clients. For example, an investment adviser engaged to advise

on an institutional client’s investment grade bond portfolio would need to gain a reasonable

understanding of the client’s objectives within that bond portfolio, but not the client’s objectives


36
         Investment Advisers Act Release 1406, supra footnote 33. After making a reasonable inquiry into the
         client’s investment profile, it generally would be reasonable for an adviser to rely on information provided
         by the client (or the client’s agent) regarding the client’s financial circumstances, and an adviser should not
         be held to have given advice not in its client’s best interest if it is later shown that the client had misled the
         adviser concerning the information on which the advice was based.
37
         Such updating would not be needed with one-time investment advice. In the Proposed Interpretation, we
         stated that an adviser “must” update a client’s investment profile in order to adjust the advice to reflect any
         changed circumstances. We believe that any obligation to update a client’s investment profile, like the
         nature and extent of the reasonable inquiry into a retail client’s objectives, turns on what is reasonable
         under the circumstances. Accordingly, we have revised the wording of this statement in this Final
         Interpretation.



                                                            14
000715
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                             Page 719 of 852 PageID 2624



within its entire investment portfolio. Similarly, an investment adviser whose client is a

registered investment company or a private fund would need to have a reasonable understanding

of the fund’s investment guidelines and objectives. For advisers acting on specific investment

mandates for institutional clients, particularly funds, we believe that the obligation to update the

client’s objectives would not be applicable except as may be set forth in the advisory agreement.

         Reasonable belief that advice is in the best interest of the client

         An investment adviser must have a reasonable belief that the advice it provides is in the

best interest of the client based on the client’s objectives. The formation of a reasonable belief

would involve considering, for example, whether investments are recommended only to those

clients who can and are willing to tolerate the risks of those investments and for whom the

potential benefits may justify the risks. 38 Whether the advice is in a client’s best interest must be

evaluated in the context of the portfolio that the adviser manages for the client and the client’s

objectives.

         For example, when an adviser is advising a retail client with a conservative investment

objective, investing in certain derivatives may be in the client’s best interest when they are used

to hedge interest rate risk or other risks in the client’s portfolio, whereas investing in certain

directionally speculative derivatives on their own may not. For that same client, investing in a

particular security on margin may not be in the client’s best interest, even if investing in that

same security without the use of margin may be in the client’s best interest. However, for

38
         Item 8 of Part 2A of Form ADV requires an investment adviser to describe its methods of analysis and
         investment strategies and disclose that investing in securities involves risk of loss which clients should be
         prepared to bear. This item also requires that an adviser explain the material risks involved for each
         significant investment strategy or method of analysis it uses and particular type of security it recommends,
         with more detail if those risks are significant or unusual. Accordingly, investment advisers are required to
         identify and explain certain risks involved in their investment strategies and the types of securities they
         recommend. An investment adviser needs to consider those same risks in determining the clients to which
         the adviser recommends those investments.



                                                          15
000716
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                           Page 720 of 852 PageID 2625



example, when advising a financially sophisticated client, such as a fund or other sophisticated

client that has an appropriate risk tolerance, it may be in the best interest of the client to invest in

such derivatives or in securities on margin, or to invest in other complex instruments or other

products that may have limited liquidity.

         Similarly, when an adviser is assessing whether high risk products—such as penny stocks

or other thinly-traded securities—are in a retail client’s best interest, the adviser should generally

apply heightened scrutiny to whether such investments fall within the retail client’s risk tolerance

and objectives. As another example, complex products such as inverse or leveraged exchange-

traded products that are designed primarily as short-term trading tools for sophisticated investors

may not be in the best interest of a retail client absent an identified, short-term, client-specific

trading objective and, to the extent that such products are in the best interest of a retail client

initially, they would require daily monitoring by the adviser. 39

         A reasonable belief that investment advice is in the best interest of a client also requires

that an adviser conduct a reasonable investigation into the investment sufficient not to base its

advice on materially inaccurate or incomplete information. 40 We have taken enforcement action

where an investment adviser did not independently or reasonably investigate securities before

recommending them to clients. 41


39
         See Exchange-Traded Funds, Securities Act Release No. 10515 (June 28, 2018); SEC staff and FINRA,
         Investor Alert, Leveraged and Inverse ETFs: Specialized Products with Extra Risks for Buy-and-Hold
         Investors (Aug. 1, 2009); SEC Office of Investor Education and Advocacy, Investor Bulletin: Exchange-
         Traded Funds (ETFs) (Aug. 2012); see also FINRA Regulatory Notice 09-31, Non-Traditional ETFs –
         FINRA Reminds Firms of Sales Practice Obligations Relating to Leveraged and Inverse Exchange-Traded
         Funds (June 2009).
40
         See, e.g., Concept Release on the U.S. Proxy System, Investment Advisers Act Release No. 3052 (July 14,
         2010) (indicating that a fiduciary “has a duty of care requiring it to make a reasonable investigation to
         determine that it is not basing its recommendations on materially inaccurate or incomplete information”).
41
         See, e.g., In the Matter of Larry C. Grossman, Investment Advisers Act Release No. 4543 (Sept. 30, 2016)
         (Commission Opinion) (“In re Grossman”) (in connection with imposing liability on a principal of a


                                                        16
000717
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                           Page 721 of 852 PageID 2626



         The cost (including fees and compensation) associated with investment advice would

generally be one of many important factors—such as an investment product’s or strategy’s

investment objectives, characteristics (including any special or unusual features), liquidity, risks

and potential benefits, volatility, likely performance in a variety of market and economic

conditions, time horizon, and cost of exit—to consider when determining whether a security or

investment strategy involving a security or securities is in the best interest of the client. When

considering similar investment products or strategies, the fiduciary duty does not necessarily

require an adviser to recommend the lowest cost investment product or strategy.

         Moreover, an adviser would not satisfy its fiduciary duty to provide advice that is in the

client’s best interest by simply advising its client to invest in the lowest cost (to the client) or

least remunerative (to the investment adviser) investment product or strategy without any further

analysis of other factors in the context of the portfolio that the adviser manages for the client and

the client’s objective. Rather, the adviser could recommend a higher-cost investment or strategy

if the adviser reasonably concludes that there are other factors about the investment or strategy

that outweigh cost and make the investment or strategy in the best interest of the client, in light

of that client’s objectives. For example, it might be consistent with an adviser’s fiduciary duty to

advise a client with a high risk tolerance and significant investment experience to invest in a

private equity fund with relatively higher fees and significantly less liquidity as compared with a

fund that invests in publicly-traded companies if the private equity fund was in the client’s best




         registered investment adviser for recommending offshore private investment funds to clients), stayed in
         part, Investment Advisers Act No. 4563 (Nov. 1, 2016), response to remand, Investment Advisers Act
         Release No. 4871 (Mar. 29, 2018) (reinstating the Sept. 30, 2016 opinion and order, except with respect to
         the disgorgement and prejudgment interest in light of the Supreme Court’s decision in Kokesh v. SEC, 137
         S. Ct. 1635 (2017)).



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000718
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                             Page 722 of 852 PageID 2627



interest because it provided exposure to an asset class that was appropriate in the context of the

client’s overall portfolio.

         An adviser’s fiduciary duty applies to all investment advice the investment adviser

provides to clients, including advice about investment strategy, engaging a sub-adviser, and

account type. 42 Advice about account type includes advice about whether to open or invest

through a certain type of account (e.g., a commission-based brokerage account or a fee-based

advisory account) and advice about whether to roll over assets from one account (e.g., a

retirement account) into a new or existing account that the adviser or an affiliate of the adviser

manages. 43 In providing advice about account type, an adviser should consider all types of

accounts offered by the adviser and acknowledge to a client when the account types the adviser

offers are not in the client’s best interest. 44


42
         In addition, with respect to prospective clients, investment advisers have antifraud liability under section
         206 of the Advisers Act, which, among other things, applies to transactions, practices, or courses of
         business which operate as a fraud or deceit upon prospective clients, including those regarding investment
         strategy, engaging a sub-adviser, and account type. We believe that, in order to avoid liability under this
         antifraud provision, an investment adviser should have sufficient information about the prospective client
         and its objectives to form a reasonable basis for advice before providing any advice about these matters. At
         the point in time at which the prospective client becomes a client of the investment adviser (e.g., at account
         opening), the fiduciary duty applies. Accordingly, while advice to prospective clients about these matters
         must comply with the antifraud provisions under section 206 of the Advisers Act, the adviser must also
         satisfy its fiduciary duty with respect to any such advice (e.g., regarding account type) when a prospective
         client becomes a client.
43
         We consider advice about “rollovers” to include advice about account type, in addition to any advice
         regarding the investments or investment strategy with respect to the assets to be rolled over, as the advice
         necessarily includes the advice about the account type into which assets are to be rolled over. As noted
         below, as a general matter, an adviser’s duty to monitor extends to all personalized advice it provides to the
         client, including, for example, in an ongoing relationship, an evaluation of whether a client’s account or
         program type (for example, a wrap account) continues to be in the client’s best interest. See infra text
         accompanying footnote 52.
44
         Accordingly, in providing advice to a client or customer about account type, a financial professional who is
         dually licensed (i.e., an associated person of a broker-dealer and a supervised person of an investment
         adviser (regardless of whether the professional works for a dual registrant, affiliated firms, or unaffiliated
         firms)) should consider all types of accounts offered (i.e., both brokerage accounts and advisory accounts)
         when determining whether the advice is in the client’s best interest. A financial professional who is only a
         supervised person of an investment adviser (regardless of whether that advisory firm is a dual registrant or
         affiliated with a broker-dealer) may only recommend an advisory account the adviser offers when the
         account is in the client’s best interest. If a financial professional who is only a supervised person of an


                                                          18
000719
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                              Page 723 of 852 PageID 2628



                                2. Duty to Seek Best Execution

         An investment adviser’s duty of care includes a duty to seek best execution of a client’s

transactions where the adviser has the responsibility to select broker-dealers to execute client

trades (typically in the case of discretionary accounts). 45 In meeting this obligation, an adviser

must seek to obtain the execution of transactions for each of its clients such that the client’s total

cost or proceeds in each transaction are the most favorable under the circumstances. An adviser

fulfills this duty by seeking to obtain the execution of securities transactions on behalf of a client

with the goal of maximizing value for the client under the particular circumstances occurring at

the time of the transaction. Maximizing value encompasses more than just minimizing cost.

When seeking best execution, an adviser should consider “the full range and quality of a broker’s

services in placing brokerage including, among other things, the value of research provided as

well as execution capability, commission rate, financial responsibility, and responsiveness” to

the adviser. 46 In other words, the “determinative factor” is not the lowest possible commission

cost, “but whether the transaction represents the best qualitative execution.” 47 Further, an




         investment adviser chooses to advise a client to consider a non-advisory account (or to speak with other
         personnel at a dual registrant or affiliate about a non-advisory account), that advice should be in the best
         interest of the client. This same framework applies in the case of a prospective client, but any advice or
         recommendation given to a prospective client would be subject to the antifraud provisions of the federal
         securities laws. See supra footnote 42 and Reg. BI Adoption, supra footnote 3.
45
         See Commission Guidance Regarding Client Commission Practices Under Section 28(e) of the Securities
         Exchange Act of 1934, Exchange Act Release No. 54165 (July 18, 2006) (stating that investment advisers
         have “best execution obligations”); Investment Advisers Act Release 3060, supra footnote 15 (discussing
         an adviser’s best execution obligations in the context of directed brokerage arrangements and disclosure of
         soft dollar practices); see also Advisers Act rule 206(3)-2(c) (referring to adviser’s duty of best execution
         of client transactions).
46
         Exchange Act Release 23170, supra footnote 33.
47
         Id.



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000720
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                              Page 724 of 852 PageID 2629



investment adviser should “periodically and systematically” evaluate the execution it is receiving

for clients. 48

                                3. Duty to Provide Advice and Monitoring over the Course of the
                                   Relationship

         An investment adviser’s duty of care also encompasses the duty to provide advice and

monitoring at a frequency that is in the best interest of the client, taking into account the scope of

the agreed relationship. 49 For example, when the adviser has an ongoing relationship with a

client and is compensated with a periodic asset-based fee, the adviser’s duty to provide advice

and monitoring will be relatively extensive as is consistent with the nature of the relationship. 50

Conversely, absent an express agreement regarding the adviser’s monitoring obligation, when

the adviser and the client have a relationship of limited duration, such as for the provision of a
48
         Id. The Advisers Act does not prohibit advisers from using an affiliated broker to execute client trades.
         However, the adviser’s use of such an affiliate involves a conflict of interest that must be fully and fairly
         disclosed and the client must provide informed consent to the conflict. See also Interpretation of Section
         206(3) of the Investment Advisers Act of 1940, Investment Advisers Act Release No. 1732 (Jul. 17, 1998)
         (discussing application of section 206(3) of the Advisers Act to certain principal and agency transactions).
         Two commenters requested that we prescribe specific obligations related to best execution. Comment
         Letter of the Healthy Markets Association (Aug. 7, 2018); Comment Letter of ICE Data Services (Aug. 7,
         2018). However, prescribing specific requirements of how an adviser might satisfy its best execution
         obligations is outside of the scope of this Final Interpretation.
49
         Cf. SEC v. Capital Gains, supra footnote 2 (describing advisers’ “basic function” as “furnishing to clients
         on a personal basis competent, unbiased, and continuous advice regarding the sound management of their
         investments” (quoting Investment Trusts and Investment Companies, Report of the Securities and
         Exchange Commission, Pursuant to Section 30 of the Public Utility Holding Company Act of 1935, on
         Investment Counsel, Investment Management, Investment Supervisory, and Investment Advisory Services,
         H.R. Doc. No. 477, 76th Cong. 2d Sess., 1, at 28)). Cf. Barbara Black, Brokers and Advisers-What’s in a
         Name?, 32 Fordham Journal of Corporate and Financial Law XI (2005) (“[W]here the investment adviser’s
         duties include management of the account, [the adviser] is under an obligation to monitor the performance
         of the account and to make appropriate changes in the portfolio.”); Arthur B. Laby, Fiduciary Obligations
         of Broker-Dealers and Investment Advisers, 55 Villanova Law Review 701 (2010) (“Laby Villanova
         Article”) (stating that the scope of an adviser’s activity can be altered by contract and that an adviser’s
         fiduciary duty would be commensurate with the scope of the relationship) (internal citations omitted).
50
         However, an adviser and client may scope the frequency of the adviser’s monitoring (e.g., agreement to
         monitor quarterly or monthly and as appropriate in between based on market events), provided that there is
         full and fair disclosure and informed consent. We consider the frequency of monitoring, as well as any
         other material facts relating to the agreed frequency, such as whether there will also be interim monitoring
         when there are market events relevant to the client’s portfolio, to be a material fact relating to the advisory
         relationship about which an adviser must make full and fair disclosure and obtain informed consent as
         required by its fiduciary duty.



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000721
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                             Page 725 of 852 PageID 2630



one-time financial plan for a one-time fee, the adviser is unlikely to have a duty to monitor. In

other words, in the absence of any agreed limitation or expansion, the scope of the duty to

monitor will be indicated by the duration and nature of the agreed advisory arrangement. 51 As a

general matter, an adviser’s duty to monitor extends to all personalized advice it provides to the

client, including, for example, in an ongoing relationship, an evaluation of whether a client’s

account or program type (for example, a wrap account) continues to be in the client’s best

interest. 52

               C. Duty of Loyalty

         The duty of loyalty requires that an adviser not subordinate its clients’ interests to its

own. 53 In other words, an investment adviser must not place its own interest ahead of its client’s

interests. 54 To meet its duty of loyalty, an adviser must make full and fair disclosure to its clients


51
         See also Laby Villanova Article, supra footnote 49, at 728 (2010) (“If an adviser has agreed to provide
         continuous supervisory services, the scope of the adviser’s fiduciary duty entails a continuous, ongoing
         duty to supervise the client’s account, regardless of whether any trading occurs. This feature of the
         adviser’s duty, even in a non-discretionary account, contrasts sharply with the duty of a broker
         administering a non-discretionary account, where no duty to monitor is required.”) (internal citations
         omitted).
52
         Investment advisers also may consider whether written policies and procedures relating to monitoring
         would be appropriate under Advisers Act rule 206(4)-7, which requires any investment adviser registered
         or required to be registered under the Advisers Act to adopt and implement written policies and procedures
         reasonably designed to prevent violation of the Advisers Act and the rules thereunder by the adviser and its
         supervised persons.
53
         Investment Advisers Act Release 3060, supra footnote 15 (adopting amendments to Form ADV and stating
         that “[u]nder the Advisers Act, an adviser is a fiduciary whose duty is to serve the best interests of its
         clients, which includes an obligation not to subrogate clients’ interests to its own,” citing Investment
         Advisers Act Release 2106, supra footnote 15). The duty of loyalty applies not just to advice regarding
         potential investments, but to all advice the investment adviser provides to an existing client, including
         advice about investment strategy, engaging a sub-adviser, and account type. See supra text accompanying
         footnotes 42-43.
54
         For example, an adviser cannot favor its own interests over those of a client, whether by favoring its own
         accounts or by favoring certain client accounts that pay higher fee rates to the adviser over other client
         accounts. The Commission has brought numerous enforcement actions against advisers that allocated
         trades to their own accounts and allocated less favorable or unprofitable trades to their clients’ accounts.
         See, e.g., SEC v. Strategic Capital Management, LLC and Michael J. Breton, Litigation Release No. 23867
         (June 23, 2017) (partial settlement) (adviser placed trades through a master brokerage account and then
         allocated profitable trades to adviser’s account while placing unprofitable trades into the client accounts in


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000722
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                              Page 726 of 852 PageID 2631



of all material facts relating to the advisory relationship. 55 Material facts relating to the advisory

relationship include the capacity in which the firm is acting with respect to the advice provided.

This will be particularly relevant for firms or individuals that are dually registered as broker-

dealers and investment advisers and who serve the same client in both an advisory and a

brokerage capacity. Thus, such firms and individuals generally should provide full and fair

disclosure about the circumstances in which they intend to act in their brokerage capacity and the

circumstances in which they intend to act in their advisory capacity. This disclosure may be

accomplished through a variety of means, including, among others, written disclosure at the

beginning of a relationship that clearly sets forth when the dual registrant would act in an

advisory capacity and how it would provide notification of any changes in capacity. 56 Similarly,

a dual registrant acting in its advisory capacity should disclose any circumstances under which

its advice will be limited to a menu of certain products offered through its affiliated broker-

dealer or affiliated investment adviser.


         violation of fiduciary duty and contrary to disclosures). In the Proposed Interpretation, we stated that the
         duty of loyalty requires an adviser to “put its client’s interest first.” One commenter suggested that the
         requirement of an adviser to put its client’s interest “first” is very different from a requirement not to
         “subordinate” or “subrogate” clients’ interests, and is inconsistent with how the duty of loyalty had been
         applied in the past. See Comment Letter of the Asset Management Group of the Securities Industry and
         Financial Markets Association (Aug. 7, 2018) (“SIFMA AMG Letter”). Accordingly, we have revised the
         description of the duty of loyalty in this Final Interpretation to be more consistent with how we have
         previously described the duty. See Investment Advisers Act Release 3060, supra footnote 15 (“Under the
         Advisers Act, an adviser is a fiduciary whose duty is to serve the best interests of its clients, which includes
         an obligation not to subrogate clients’ interests to its own.”) (citing Investment Advisers Act Release 2106,
         supra footnote 15). In practice, referring to putting a client’s interest first is a plain English formulation
         commonly used by investment advisers to explain their duty of loyalty in a way that may be more
         understandable to retail clients.
55
         See SEC v. Capital Gains, supra footnote 2 (“Failure to disclose material facts must be deemed fraud or
         deceit within its intended meaning.”); Investment Advisers Act Release 3060, supra footnote 15 (“as a
         fiduciary, an adviser has an ongoing obligation to inform its clients of any material information that could
         affect the advisory relationship”); see also General Instruction 3 to Part 2 of Form ADV (“Under federal
         and state law, you are a fiduciary and must make full disclosure to your clients of all material facts relating
         to the advisory relationship.”).
56
         See also Reg. BI Adoption, supra footnote 3, at 99.



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000723
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                                 Page 727 of 852 PageID 2632



         In addition, an adviser must eliminate or at least expose through full and fair disclosure

all conflicts of interest which might incline an investment adviser—consciously or

unconsciously—to render advice which was not disinterested. 57 We believe that while full and

fair disclosure of all material facts relating to the advisory relationship or of conflicts of interest

and a client’s informed consent prevent the presence of those material facts or conflicts

themselves from violating the adviser’s fiduciary duty, such disclosure and consent do not

themselves satisfy the adviser’s duty to act in the client’s best interest. 58 To illustrate what



57
         In the Proposed Interpretation, we stated that an adviser must seek to avoid conflicts of interest with its
         clients. Proposed Interpretation, supra footnote 6. Some commenters requested clarity on what it means to
         “seek to avoid” conflicts of interest. See, e.g., Comment Letter of Schulte Roth & Zabel LLP (Aug. 8,
         2018); ABA Letter (stating that this wording could be read to require an adviser to first seek to avoid a
         conflict, before addressing a conflict through disclosure, rather than being able to provide full and fair
         disclosure of a conflict, and only seek avoidance if the conflict cannot be addressed through disclosure).
         The Commission first used this phrasing when adopting amendments to the Form ADV Part 2 instructions.
         See Investment Advisers Act Release 3060, supra footnote 15 and General Instruction 3 to Part 2 of Form
         ADV (“As a fiduciary, you also must seek to avoid conflicts of interest with your clients, and, at a
         minimum, make full disclosure of all material conflicts of interest between you and your clients that could
         affect the advisory relationship.”). The release adopting this instruction clarifies the Commission’s intent
         that it capture the fiduciary duty described in SEC v. Capital Gains and Arleen Hughes. See Investment
         Advisers Act Release 3060, supra footnote 15, at n.4 and accompanying text (citing SEC v. Capital Gains,
         supra footnote 2, and Arleen Hughes, supra footnote 18, as the basis of this language). Both of these cases
         emphasized that the adviser, as a fiduciary, should seek to avoid conflicts, but at a minimum must make full
         and fair disclosure of the conflict and obtain the client’s informed consent. See SEC v. Capital Gains,
         supra footnote 2 (“The Advisers Act thus reflects . . . a congressional intent to eliminate, or at least to
         expose, all conflicts of interest which might incline an investment adviser—consciously or
         unconsciously—to render advice which was not disinterested.”); Arleen Hughes, supra footnote 18 (“Since
         loyalty to his trust is the first duty which a fiduciary owes to his principal, it is the general rule that a
         fiduciary must not put himself into a position where his own interests may come in conflict with those of
         his principal” but if a fiduciary “chooses to assume a role in which she is motivated by conflicting interests,
         . . . she may do so if, but only if, she obtains her client’s consent after disclosure . . .”). We believe the
         Commission’s reference to “seek to avoid” conflicts in the Form ADV Part 2 instructions is consistent with
         the Final Interpretation’s statement that an adviser “must eliminate or at least expose all conflicts of interest
         which might incline an investment adviser—consciously or unconsciously—to render advice which was
         not disinterested” as well as the substantively identical statements in SEC v. Capital Gains, supra footnote
         2, and Arleen Hughes, supra footnote 18. While an adviser may satisfy its duty of loyalty by making full
         and fair disclosure of conflicts of interest and obtaining the client’s informed consent, an adviser is
         prohibited from overreaching or taking unfair advantage of a client’s trust.
58
         As noted above, an investment adviser’s obligation to act in the best interest of its client is an overarching
         principle that encompasses both the duty of care and the duty of loyalty. See SEC v. Tambone, supra
         footnote 23 (stating that Advisers Act section 206 “imposes a fiduciary duty on investment advisers to act
         at all times in the best interest of the fund . . . and includes an obligation to provide ‘full and fair disclosure
         of all material facts’”) (emphasis added) (citing SEC v. Capital Gains, supra footnote 2). We describe


                                                            23
000724
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                               Page 728 of 852 PageID 2633



constitutes full and fair disclosure, we are providing the following guidance on (i) the

appropriate level of specificity, including the appropriateness of stating that an adviser “may”

have a conflict, and (ii) considerations for disclosure regarding conflicts related to the allocation

of investment opportunities among eligible clients.

         In order for disclosure to be full and fair, it should be sufficiently specific so that a client

is able to understand the material fact or conflict of interest and make an informed decision

whether to provide consent. 59 For example, it would be inadequate to disclose that the adviser

has “other clients” without describing how the adviser will manage conflicts between clients if

and when they arise, or to disclose that the adviser has “conflicts” without further description.




         above in this Final Interpretation how the application of an investment adviser’s fiduciary duty to its client
         will vary with the scope of the advisory relationship. See supra section II.A.
59
         Arleen Hughes, supra footnote 18, at 4 and 8 (stating, “[s]ince loyalty to his trust is the first duty which a
         fiduciary owes to his principal, it is the general rule that a fiduciary must not put himself into a position
         where his own interests may come in conflict with those of his principal. To prevent any conflict and the
         possible subordination of this duty to act solely for the benefit of his principal, a fiduciary at common law
         is forbidden to deal as an adverse party with his principal. An exception is made, however, where the
         principal gives his informed consent to such dealings,” and adding that, “[r]egistrant has an affirmative
         obligation to disclose all material facts to her clients in a manner which is clear enough so that a client is
         fully apprised of the facts and is in a position to give his informed consent.”); see also Hughes v. Securities
         and Exchange Commission, 174 F.2d 969 (1949) (affirming the SEC decision in Arleen Hughes); General
         Instruction 3 to Part 2 of Form ADV (stating that an adviser’s disclosure obligation “requires that [the
         adviser] provide the client with sufficiently specific facts so that the client is able to understand the
         conflicts of interest [the adviser has] and the business practices in which [the adviser] engage[s], and can
         give informed consent to such conflicts or practices or reject them”); Investment Advisers Act Release
         3060, supra footnote 15; Restatement (Third) of Agency §8.06 (“Conduct by an agent that would otherwise
         constitute a breach of duty as stated in §§ 8.01, 8.02, 8.03, 8.04, and 8.05 [referencing the fiduciary duty]
         does not constitute a breach of duty if the principal consents to the conduct, provided that (a) in obtaining
         the principal’s consent, the agent (i) acts in good faith, (ii) discloses all material facts that the agent knows,
         has reason to know, or should know would reasonably affect the principal’s judgment unless the principal
         has manifested that such facts are already known by the principal or that the principal does not wish to
         know them, and (iii) otherwise deals fairly with the principal; and (b) the principal’s consent concerns
         either a specific act or transaction, or acts or transactions of a specified type that could reasonably be
         expected to occur in the ordinary course of the agency relationship.”). See infra footnotes 67-70 and
         accompanying text for a more detailed discussion of informed consent and how it is generally considered
         on an objective basis and may be inferred.



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000725
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                               Page 729 of 852 PageID 2634



         Similarly, disclosure that an adviser “may” have a particular conflict, without more, is not

adequate when the conflict actually exists. 60 For example, we would consider the use of “may”

inappropriate when the conflict exists with respect to some (but not all) types or classes of

clients, advice, or transactions without additional disclosure specifying the types or classes of

clients, advice, or transactions with respect to which the conflict exists. In addition, the use of

“may” would be inappropriate if it simply precedes a list of all possible or potential conflicts

regardless of likelihood and obfuscates actual conflicts to the point that a client cannot provide

informed consent. On the other hand, the word “may” could be appropriately used to disclose to

a client a potential conflict that does not currently exist but might reasonably present itself in the

future. 61

         Whether the disclosure is full and fair will depend upon, among other things, the nature

of the client, the scope of the services, and the material fact or conflict. Full and fair disclosure

for an institutional client (including the specificity, level of detail, and explanation of

terminology) can differ, in some cases significantly, from full and fair disclosure for a retail

client because institutional clients generally have a greater capacity and more resources than

60
         We have brought enforcement actions in such cases. See, e.g., In the Matter of The Robare Group, Ltd., et
         al., Investment Advisers Act Release No. 4566 (Nov. 7, 2016) (Commission Opinion) (finding, among
         other things, that adviser’s disclosure that it may receive a certain type of compensation was inadequate
         because it did not reveal that the adviser actually had an arrangement pursuant to which it received fees that
         presented a potential conflict of interest); aff’d in part and rev’d in part on other grounds Robare v. SEC,
         supra footnote 20; In re Grossman, supra footnote 41 (indicating that “the use of the prospective ‘may’ in
         [the relevant Form ADV disclosures] is misleading because it suggested the mere possibility that [the
         broker] would make a referral and/or be paid ‘referral fees’ at a later point, when in fact a commission-
         sharing arrangement was already in place and generating income”). Cf. Dolphin & Bradbury, Inc. v. SEC,
         512 F.3d 634, 640 (D.C. Cir. 2008) (“The Commission noted the critical distinction between disclosing the
         risk that a future event might occur and disclosing actual knowledge the event will occur.”) (emphasis in
         original). For Form ADV Part 2 purposes, advisers are instructed that when they have a conflict or engage
         in a practice with respect to some (but not all) types or classes of clients, advice, or transactions, to indicate
         as such rather than disclosing that they “may” have the conflict or engage in the practice. General
         Instruction 2 to Part 2 of Form ADV.
61
         We have added this example of a circumstance where “may” could be appropriately used in response to the
         request of some commenters. See, e.g., Pickard Letter; ICI Letter; Ropes & Gray Letter; IAA Letter.



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000726
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                              Page 730 of 852 PageID 2635



retail clients to analyze and understand complex conflicts and their ramifications. 62

Nevertheless, regardless of the nature of the client, the disclosure must be clear and detailed

enough for the client to make an informed decision to consent to the conflict of interest or reject

it.

         When allocating investment opportunities among eligible clients, an adviser may face

conflicts of interest either between its own interests and those of a client or among different

clients. 63 If so, the adviser must eliminate or at least expose through full and fair disclosure the

conflicts associated with its allocation policies, including how the adviser will allocate

investment opportunities, such that a client can provide informed consent. 64 When allocating

investment opportunities, an adviser is permitted to consider the nature and objectives of the

client and the scope of the relationship. 65 An adviser need not have pro rata allocation policies,

or any particular method of allocation, but, as with other conflicts and material facts, the




62
         Arleen Hughes, supra footnote 18 (the “method and extent of disclosure depends upon the particular client
         involved,” and an unsophisticated client may require “a more extensive explanation than the informed
         investor”).
63
         See Restatement (Third) of Agency, § 8.01 General Fiduciary Principle (2006) (“Unless the principal
         consents, the general fiduciary principle, as elaborated by the more specific duties of loyalty stated in
         §§ 8.02 to 8.05, also requires that an agent refrain from using the agent’s position or the principal’s
         property to benefit the agent or a third party.”).
64
         The Commission has brought numerous enforcement actions alleging that advisers unfairly allocated client
         trades to preferred clients without making full and fair disclosure. See Staff of the U.S. Securities and
         Exchange Commission, Study on Investment Advisers and Broker-Dealers As Required by Section 913 of
         the Dodd-Frank Wall Street Reform and Consumer Protection Act (Jan. 2011), available at
         https://www.sec.gov/news/studies/2011/913studyfinal.pdf, at 23–24 (citing enforcement actions). This
         Final Interpretation sets forth the Commission’s views regarding what constitutes full and fair disclosure.
         See, e.g., supra text accompanying footnote 59; see also Barry Barbash and Jai Massari, The Investment
         Advisers Act of 1940; Regulation by Accretion, 39 Rutgers Law Journal 627 (2008) (stating that under
         section 206 of the Advisers Act and traditional notions of fiduciary and agency law, an adviser must not
         give preferential treatment to some clients or systematically exclude eligible clients from participating in
         specific opportunities without providing the clients with appropriate disclosure regarding the treatment).
65
         An adviser and a client may even agree that certain investment opportunities or categories of investment
         opportunities will not be allocated or offered to a client.



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000727
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                                 Page 731 of 852 PageID 2636



adviser’s allocation practices must not prevent it from providing advice that is in the best interest

of its clients. 66

         While most commenters agreed that informed consent is a component of the fiduciary

duty, a few commenters objected to what they saw as subjectivity in the use of the term

“informed” to describe a client’s consent to a disclosed conflict. 67 The fact that disclosure must

be full and fair such that a client can provide informed consent does not require advisers to make

an affirmative determination that a particular client understood the disclosure and that the

client’s consent to the conflict of interest was informed. Rather, disclosure should be designed to

put a client in a position to be able to understand and provide informed consent to the conflict of

interest. A client’s informed consent can be either explicit or, depending on the facts and

circumstances, implicit. 68 We believe, however, that it would not be consistent with an adviser’s

fiduciary duty to infer or accept client consent where the adviser was aware, or reasonably

should have been aware, that the client did not understand the nature and import of the conflict. 69


66
         In the Proposed Interpretation, we stated that “in allocating investment opportunities among eligible clients,
         an adviser must treat all clients fairly.” Some commenters interpreted this statement to mean that it would
         be impermissible for an adviser to allocate a particular investment to one eligible client instead of a second
         eligible client, even when the second client had received full and fair disclosure and provided informed
         consent to such an investment being allocated to the first client. See, e.g., Ropes & Gray Letter; SIFMA
         AMG Letter. We have removed that sentence from this Final Interpretation and replaced it with this
         discussion that clarifies our views regarding allocation of investment opportunities.
67
         See, e.g., Comment Letter of LPL Financial LLC (Aug. 7, 2018); Ropes & Gray Letter.
68
         We do not interpret an adviser’s fiduciary duty to require that full and fair disclosure or informed consent
         be achieved in a written advisory contract or otherwise in writing. For example, an adviser could provide a
         client full and fair disclosure of all material facts relating to the advisory relationship as well as full and fair
         disclosure of all conflicts of interest which might incline the adviser, consciously or unconsciously, to
         render advice that was not disinterested, through a combination of Form ADV and other disclosure and the
         client could implicitly consent by entering into or continuing the investment advisory relationship with the
         adviser.
69
         See Arleen Hughes, supra footnote 18 (“Registrant cannot satisfy this duty by executing an agreement with
         her clients which the record shows some clients do not understand and which, in any event, does not
         contain the essential facts which she must communicate.”). In the Proposed Interpretation, we stated that
         inferring or accepting client consent to a conflict would not be consistent with the fiduciary duty where “the
         material facts concerning the conflict could not be fully and fairly disclosed.” Some commenters expressed


                                                            27
000728
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                              Page 732 of 852 PageID 2637



In some cases, conflicts may be of a nature and extent that it would be difficult to provide

disclosure to clients that adequately conveys the material facts or the nature, magnitude, and

potential effect of the conflict sufficient for a client to consent to or reject it. 70 In other cases,

disclosure may not be specific enough for a client to understand whether and how the conflict

could affect the advice it receives. For retail clients in particular, it may be difficult to provide

disclosure regarding complex or extensive conflicts that is sufficiently specific, but also

understandable. In all of these cases where an investment adviser cannot fully and fairly disclose

a conflict of interest to a client such that the client can provide informed consent, the adviser

should either eliminate the conflict or adequately mitigate (i.e., modify practices to reduce) the

conflict such that full and fair disclosure and informed consent are possible.

         Full and fair disclosure of all material facts relating to the advisory relationship, and all

conflicts of interest which might incline an investment adviser—consciously or unconsciously—

to render advice which was not disinterested, can help clients and prospective clients in

evaluating and selecting investment advisers. Accordingly, we require advisers to deliver to

their clients a “brochure,” under Part 2A of Form ADV, which sets out minimum disclosure

requirements, including disclosure of certain conflicts. 71 Investment advisers are required to


         agreement with this statement. See, e.g., CFA Letter (agreeing that “advisers should be precluded from
         inferring or accepting client consent to a conflict” where the material facts concerning the conflict could
         not be fully and fairly disclosed). Other commenters expressed doubt that such disclosure could be
         impossible. See, e.g., Allianz Letter (“[W]e have not encountered a situation in which we could not fully
         and fairly disclose the material facts, including the nature, extent, magnitude and potential effects of the
         conflict.”). In response to commenters, we have replaced the general statement about an inability to fully
         and fairly disclose material facts about the conflict with more specific examples of how advisers can make
         such full and fair disclosure. See supra text accompanying footnotes 59-66.
70
         As discussed above, institutional clients generally have a greater capacity and more resources than retail
         clients to analyze and understand complex conflicts and their ramifications. See supra text accompanying
         footnote 62.
71
         Investment Advisers Act Release 3060, supra footnote 15; General Instruction 3 to Part 2 of Form ADV
         (“Under federal and state law, you are a fiduciary and must make full disclosure to your clients of all
         material facts relating to the advisory relationship. As a fiduciary, you also must seek to avoid conflicts of


                                                          28
000729
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                              Page 733 of 852 PageID 2638



deliver the brochure to a prospective client at or before entering into a contract so that the

prospective client can use the information contained in the brochure to decide whether or not to

enter into the advisory relationship. 72 In a concurrent release, we are requiring all investment

advisers to deliver to retail investors, at or before the time the adviser enters into an investment

advisory agreement, a relationship summary, which would include, among other things, a plain

English summary of certain of the firm’s conflicts of interest, and would encourage retail

investors to inquire about those conflicts. 73

III.     ECONOMIC CONSIDERATIONS

         As noted above, this Final Interpretation is intended to reaffirm, and in some cases

clarify, certain aspects of an investment adviser’s fiduciary duty under the Advisers Act. The

Final Interpretation does not itself create any new legal obligations for advisers. Nonetheless,

the Commission recognizes that to the extent an adviser’s practices are not consistent with the

Final Interpretation provided above, the Final Interpretation could have potential economic

effects. We discuss these potential effects below.

         interest with your clients, and, at a minimum, make full disclosure of all material conflicts of interest
         between you and your clients that could affect the advisory relationship. This obligation requires that you
         provide the client with sufficiently specific facts so that the client is able to understand the conflicts of
         interest you have and the business practices in which you engage, and can give informed consent to such
         conflicts or practices or reject them.”). See also Robare v. SEC, supra footnote 20 (“[R]egardless of what
         Form ADV requires, [investment advisers have] a fiduciary duty to fully and fairly reveal conflicts of
         interest to their clients.”).
72
         Investment Advisers Act rule 204-3. See Investment Advisers Act Release 3060, supra footnote 15
         (adopting amendments to Form ADV and stating that, “A client may use this disclosure to select his or her
         own adviser and evaluate the adviser’s business practices and conflicts on an ongoing basis. As a result,
         the disclosure clients and prospective clients receive is critical to their ability to make an informed decision
         about whether to engage an adviser and, having engaged the adviser, to manage that relationship.”). To the
         extent that the information required for inclusion in the brochure does not satisfy an adviser’s disclosure
         obligation, the adviser “may have to disclose to clients information not specifically required by Part 2 of
         Form ADV or in more detail than the brochure items might otherwise require” and this disclosure may be
         made “in [the] brochure or by some other means.” General Instruction 3 to Part 2 of Form ADV.
73
         Form CRS Relationship Summary; Amendments to Form ADV; Required Disclosures in Retail
         Communications and Restrictions on the use of Certain Names or Titles, Investment Advisers Act Release
         No. 5247 (June 5, 2019) (“Relationship Summary Adoption”).



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000730
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                              Page 734 of 852 PageID 2639



             A. Background

         The Commission’s interpretation of the standard of conduct for investment advisers

under the Advisers Act set forth in this Final Interpretation would affect investment advisers and

their associated persons as well as the clients of those investment advisers, and the market for

financial advice more broadly. 74 As of December 31, 2018, there were 13,299 investment

advisers registered with the Commission with over $84 trillion in assets under management as

well as 17,268 investment advisers registered with states with approximately $334 billion in

assets under management and 3,911 investment advisers who submit Form ADV as exempt

reporting advisers. 75 As of December 31, 2018, there are approximately 41 million client

accounts advised by SEC-registered investment advisers. 76

         These investment advisers currently incur ongoing costs related to their compliance with

their legal and regulatory obligations, including costs related to understanding the standard of

conduct. We believe, based on the Commission’s experience, that the interpretations set forth in

this Final Interpretation are generally consistent with investment advisers’ current understanding

of their fiduciary duty under the Advisers Act. 77 However, we recognize that as the scope of the


74
         See Relationship Summary Proposal, supra footnote 5, at section IV.A (discussing the market for financial
         advice generally).
75
         Data on investment advisers is based on staff analysis of Form ADV, particularly Item 5.F.(2)(c) of Part 1A
         for Regulatory Assets under Management. Because this Final Interpretation interprets an adviser’s
         fiduciary duty under section 206 of the Advisers Act, this interpretation would be applicable to both SEC-
         and state-registered investment advisers, as well as other investment advisers that are exempt from
         registration or subject to a prohibition on registration under the Advisers Act.
76
         Item 5.F.(2)(f) of Part 1A of Form ADV.
77
         See supra section II.B.i. For example, some commenters asked that we clarify from the Proposed
         Interpretation that an adviser and its client can tailor the scope of the relationship to which the fiduciary
         duty applies, through contract. See, e.g., MMI Letter; Financial Engines Letter; ABA Letter. See supra
         footnotes 67–69 and accompanying text, including clarifications addressing these commenters’ concerns.
         More generally, some commenters requested clarifications from the Proposed Interpretation, and we are
         issuing this Final Interpretation to address those issues raised by commenters, as discussed in more detail
         above.



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000731
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                        Page 735 of 852 PageID 2640



adviser-client relationship varies and in many cases can be broad, there may be certain current

circumstances where investment advisers interpret their fiduciary duty to require something less,

and other current circumstances where they interpret their fiduciary duty to require something

more, than this Final Interpretation. We lack data to identify which investment advisers

currently understand their fiduciary duty to require something different from the standard of

conduct articulated in this Final Interpretation. Based on our experience over decades of

interacting with the investment management industry as its primary regulator, however, we

generally believe that it is not a significant portion of the market.

         One commenter suggested that the Proposed Interpretation’s discussion of how an

adviser fulfills its fiduciary duty appeared to be based in the context of having as a client an

individual investor, and not a fund. 78 This commenter indicated its concerns about the ability of

a fund manager to infer consent from a client that is a fund, and that issues regarding inferring

consent from funds could significantly increase compliance costs for venture capital funds. 79

Our discussion above in this Final Interpretation includes clarifications to address comments, and

expressly acknowledges that while all investment advisers owe each of their clients a fiduciary

duty, the specific application of the investment adviser’s fiduciary duty must be viewed in the

context of the agreed-upon scope of the adviser-client relationship. 80 This Final Interpretation, as

compared to the Proposed Interpretation, includes significantly more examples of the application

of the fiduciary duty to institutional clients, and clarifies the Commission’s interpretation of what

constitutes full and fair disclosure and informed consent, acknowledging a number of comments


78
         See Comment Letter of National Venture Capital Association (Aug. 7, 2018) (“NVCA Letter”).
79
         Id.
80
         See supra section II.A.



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000732
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                             Page 736 of 852 PageID 2641



on this topic. 81 We believe that these clarifications will help address some of this commenter’s

concerns with respect to increased compliance costs for venture capital funds, in part by

clarifying how the fiduciary duty can apply to institutional clients. We continue to believe,

based on our experience with investment advisers to different types of clients, that advisers

understand their fiduciary duty to be generally consistent with the standards of this Final

Interpretation.

             B. Potential Economic Effects

         Based on our experience as the long-standing regulator of the investment adviser

industry, the Commission’s interpretation of the fiduciary duty under section 206 of the Advisers

Act described in this Final Interpretation generally reaffirms the current practices of investment

advisers. Therefore, we expect there to be no significant economic effects from this Final

Interpretation. However, as with other circumstances in which the Commission speaks to the

legal obligations of regulated entities, we acknowledge that affected firms, including those

whose practices are consistent with the Commission’s interpretation, incur costs to evaluate the

Commission’s interpretation and assess its applicability to them. Further, to the extent certain

investment advisers currently understand the practices necessary to comply with their fiduciary

duty to be different from those discussed in this Final Interpretation, there could be some

economic effects, which we discuss below.

         Clients of investment advisers

         The typical relationship between an investment adviser and a client is a principal-agent

relationship, where the principal (the client) hires an agent (the investment adviser) to perform

81
         In particular, this Final Interpretation expressly notes our belief that a client generally may provide its
         informed consent implicitly “by entering into or continuing the investment advisory relationship with the
         adviser” after disclosure of a conflict of interest. See supra footnote 68.



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000733
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                              Page 737 of 852 PageID 2642



some service (investment advisory services) on the principal’s behalf. 82 Because investors and

investment advisers are likely to have different preferences and goals, the investment adviser

relationship is subject to agency problems, including those resulting from conflicts: that is,

investment advisers may take actions that increase their well-being at the expense of investors,

thereby imposing agency costs on investors. 83 A fiduciary duty, such as the duty investment

advisers owe their clients, can mitigate these agency problems and reduce agency costs by

deterring investment advisers from taking actions that expose them to legal liability. 84

         To the extent this Final Interpretation causes a change in behavior of those investment

advisers, if any, who currently interpret their fiduciary duty to require something different from

this Final Interpretation, we expect a potential reduction in agency problems and, consequently, a

reduction of agency costs to the client. 85 For example, an adviser that, as part of its duty of

loyalty, fully and fairly discloses 86 a conflict of interest and receives informed consent from its

client with respect to the conflict may reduce agency costs by increasing the client’s awareness

of the conflict and improving the client’s ability to monitor the adviser with respect to this

conflict. Alternatively, the client may choose to not consent given the information the adviser
82
         See, e.g., James A. Brickley, Clifford W. Smith, Jr. & Jerold L. Zimmerman, Managerial Economics and
         Organizational Architecture (2004), at 265 (“An agency relationship consists of an agreement under which
         one party, the principal, engages another party, the agent, to perform some service on the principal’s
         behalf.”); see also Michael C. Jensen & William H. Meckling, Theory of the Firm: Managerial Behavior,
         Agency Costs and Ownership Structure, 3 Journal of Financial Economics 305-360 (1976) (“Jensen and
         Meckling”).
83
         See, e.g., Jensen and Meckling, supra footnote 82.
84
         See, e.g., Frank H. Easterbrook & Daniel R. Fischel, Contract and Fiduciary Duty, 36 Journal of Law &
         Economics 425-46 (1993).
85
         To the extent that this Final Interpretation clarifies the fiduciary duty for investment advisers, one
         commenter suggested it may then clarify what clients expect of their investment advisers. See Cambridge
         Letter (stating that “greater clarity on all aspects of an investment adviser’s fiduciary duty will improve the
         ability to craft such policies and procedures, as well as support the elimination of confusion for retail
         clients and investment professionals”).
86
         As discussed above, whether such a disclosure is full and fair will depend upon, among other things, the
         nature of the client, the scope of the services, and the conflict. See supra section II.C.



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000734
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                            Page 738 of 852 PageID 2643



discloses about a conflict of interest if the perceived risk associated with the conflict is too

significant, and instead try to renegotiate the contract with the adviser or look for an alternative

adviser or other financial professional. In addition, the obligation to fully and fairly disclose a

current conflict may cause the adviser to take other actions, for example eliminating or

adequately mitigating (i.e., modifying practices to reduce) that conflict rather than taking the risk

that the client will not provide informed consent or will look for an alternative adviser or other

financial professional. The extent to which agency costs would be reduced by such a disclosure

is difficult to assess given that we are unable to ascertain the total number of investment advisers

that currently interpret their fiduciary duty to require something different from the Commission’s

interpretation, 87 and consequently we are not able to estimate the agency costs such advisers

currently impose on investors. In addition, we believe that there may be potential benefits for

clients of those investment advisers, if any, to the extent this Final Interpretation is effective at

strengthening investment advisers’ understanding of their obligations to their clients. Further, to

the extent that this Final Interpretation enhances the understanding of any investment advisers of

their duty of care, it may potentially raise the quality of investment advice and also lead to

increased compliance with the duty to monitor, for example whether advice about an account or

program type remains in the client’s best interest, thereby increasing the likelihood that the

advice fits with a client’s objectives.

         In addition, to the extent that this Final Interpretation causes some investment advisers to

properly identify circumstances in which conflicts may be of a nature and extent that it would be

87
         One commenter did not agree that the discussion of fiduciary obligations in the Proposed Interpretation
         applied to advisers to funds as well as advisers to retail investors. See NVCA Letter. As discussed above,
         this Final Interpretation has clarified the discussion to address this commenter’s concerns and
         acknowledges that the application of the fiduciary duty of an adviser to a retail client would be different
         from the specific application of the fiduciary duty of an adviser to a registered investment company or
         private fund.



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000735
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                    Page 739 of 852 PageID 2644



difficult to provide disclosure to clients that adequately conveys the material facts or nature,

magnitude, and potential effect of the conflict sufficient for clients to consent to it or reject it, or

in which the disclosure may not be specific enough for clients to understand whether and how

the conflict could affect the advice they receive, this Final Interpretation may lead those

investment advisers to take additional steps to improve their disclosures or to determine whether

adequately mitigating (i.e., modifying practices to reduce) the conflict may be appropriate such

that full and fair disclosure and informed consent are possible. This Final Interpretation may

also cause some investment advisers to conclude in some circumstances that they cannot fully

and fairly disclose a conflict of interest to a client such that the client can provide informed

consent. We would expect that these advisers would either eliminate the conflict or adequately

mitigate (i.e., modify practices to reduce) the conflict such that full and fair disclosure and

informed consent would be possible. Thus, to the extent this Final Interpretation would cause

investment advisers to better understand their obligations and therefore to modify their business

practices in ways that (i) reduce the likelihood that conflicts and other agency costs will cause an

adviser to place its interests ahead of the interests of the client or (ii) help those advisers to

provide full and fair disclosure, it would be expected to ameliorate the agency conflict between

investment advisers and their clients. In turn, this may improve the quality of advice that the

clients receive and therefore produce higher overall returns for clients and increase the efficiency

of portfolio allocation. However, as discussed above, we would generally expect these effects to

be minimal because we believe that the interpretations we are setting forth in this Final

Interpretation are generally consistent with investment advisers’ current understanding of their

fiduciary duty under the Advisers Act. Finally, this Final Interpretation would also benefit




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000736
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                              Page 740 of 852 PageID 2645



clients of investment advisers to the extent it assists the Commission in its oversight of

investment advisers’ compliance with their regulatory obligations.

         Investment advisers and the market for investment advice

         In general, we expect this Final Interpretation to affirm investment advisers’

understanding of the fiduciary duty they owe their clients under the Advisers Act, reduce

uncertainty for advisers, and facilitate their compliance. Further, by addressing in one release

certain aspects of the fiduciary duty that an investment adviser owes to its clients under the

Advisers Act, this Final Interpretation could reduce investment advisers’ costs associated with

comprehensively assessing their compliance obligations. We acknowledge that, as with other

circumstances in which the Commission speaks to the legal obligations of regulated entities,

affected firms, including those whose practices are consistent with the Commission’s

interpretation, incur costs to evaluate the Commission’s interpretation and assess its applicability

to them. Moreover, as discussed above, there may be certain investment advisers who currently

understand their fiduciary duty to require something different from the fiduciary duty described

in this Final Interpretation. Those investment advisers would experience an increase in their

compliance costs as they change their systems, processes, disclosures, and behavior, and train

their supervised persons, to align with this Final Interpretation. However, this increase in costs

would be mitigated by potential benefits in efficiency for investment advisers that are able to

understand aspects of their fiduciary duty by reference to a single Commission release that

reaffirms—and in some cases clarifies—certain aspects of the fiduciary duty. 88 In addition, and

as discussed above, in the case of an investment adviser that believed it owed its clients a lower

88
         As noted above, supra footnote 3, this Final Interpretation is intended to highlight the principles relevant to
         an adviser’s fiduciary duty. It is not, however, intended to be the exclusive resource for understanding
         these principles.



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000737
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                          Page 741 of 852 PageID 2646



standard of conduct, there will be client benefits from the ensuing adaptation of a higher standard

of conduct and related change in policies and procedures.

         Moreover, to the extent any investment advisers that understood their fiduciary duty to

require something different from the fiduciary duty described in this Final Interpretation change

their behavior to align with this Final Interpretation, there could also be some economic effects

on the market for investment advice. For example, any improved compliance may not only

reduce agency costs in current investment advisory relationships and increase the value of those

relationships to current clients, it may also increase trust in the market for investment advice

among all investors, which may result in more investors seeking advice from investment

advisers. This may, in turn, benefit investors by improving the efficiency of their portfolio

allocation. To the extent it is costly or difficult, at least in the short term, to expand the supply of

investment advisory services to meet an increase in demand, any such new demand for

investment advisory services could put some upward price pressure on fees. At the same time,

however, if any such new demand increases the overall profitability of investment advisory

services, then we expect it would encourage entry by new investment advisers—or hiring of new

representatives by current investment advisers—such that competition would increase over time.

Indeed, the recent growth in the investment adviser segment of the market, both in terms of

number of firms and number of representatives, 89 may suggest that the costs of expanding the

supply of investment advisory services are currently relatively low.

         Additionally, we acknowledge that to the extent certain investment advisers recognize, as

a result of this Final Interpretation, that their fiduciary duty is stricter than the fiduciary duty as

they currently interpret it, it could potentially affect competition. Specifically, this Final

89
         See Relationship Summary Proposal, supra footnote 5, at section IV.A.1.d.



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000738
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                             Page 742 of 852 PageID 2647



Interpretation of certain aspects of the standard of conduct for investment advisers may result in

additional compliance costs for investment advisers seeking to meet their fiduciary duty. This

increase in compliance costs, in turn, may discourage competition for client segments that

generate lower revenues, such as clients with relatively low levels of financial assets, which

could reduce the supply of investment advisory services and raise fees for these client segments.

However, the investment advisers who already are complying with the understanding of their

fiduciary duty reflected in this Final Interpretation, and who may therefore currently have a

comparative cost disadvantage, could find it more profitable to compete for the clients of those

investment advisers who would face higher compliance costs as a result of this Final

Interpretation, which would mitigate negative effects on the supply of investment advisory

services. Further, as noted above, there has been a recent growth trend in the supply of

investment advisory services, which is likely to mitigate any potential negative supply effects

from this Final Interpretation. 90

         One commenter discussed that, in its view, any statement in the Proposed Interpretation

that certain circumstances may require the elimination of material conflicts, rather than full and

fair disclosure or the mitigation of such conflicts, could lead to an effect on the market and costs

to advisers, if such a requirement would cause advisers who had not shared that interpretation to

change their business models or product offerings or the ways in which they interact with
90
         Beyond having an effect on competition in the market for investment adviser services, it is possible that
         this Final Interpretation could affect competition between investment advisers and other providers of
         financial advice, such as broker-dealers, banks, and insurance companies. This may be the case if certain
         investors base their choice between an investment adviser and another provider of financial advice, at least
         in part, on their perception of the standards of conduct each owes to their customers. To the extent that this
         Final Interpretation increases investors’ trust in investment advisers’ overall compliance with their standard
         of conduct, certain of these investors may become more willing to hire an investment adviser rather than
         one of their non-investment adviser competitors. As a result, investment advisers as a group may become
         more competitive compared to that of other types of providers of financial advice. On the other hand, if
         this Final Interpretation raises costs for investment advisers, they could become less competitive with other
         financial advice providers.



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000739
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                  Page 743 of 852 PageID 2648



clients. 91 We disagree that this Final Interpretation includes a requirement to eliminate conflicts

of interest. As discussed in more detail above, elimination of a conflict is one method of

addressing that conflict; when appropriate advisers may also address the conflict by providing

full and fair disclosure such that a client can provide informed consent to the conflict. 92 Further,

we believe that any potential costs or market effects resulting from investment advisers

addressing conflicts of interest may be decreased by the flexibility advisers have to meet their

federal fiduciary duty in the context of the specific scope of services that they provide to their

clients, as discussed in this Final Interpretation.

         The commenter also drew particular attention to the question of whether the

Commission’s discussion of the fiduciary duty in the Proposed Interpretation applied to advisers

to institutional clients as well as those to retail clients. The same commenter indicated that

failing to accommodate the application of the concepts in the Proposed Interpretation to

sophisticated clients could risk changing the marketplace or limiting investment opportunities for

sophisticated clients, increasing compliance burdens for advisers to sophisticated clients, or

chilling innovation. As explained above, this Final Interpretation, as compared to the Proposed

Interpretation, discusses in more detail the ability of investment advisers and different types of

clients to shape the scope of the relationship to which the fiduciary duty applies. 93 In particular,

this Final Interpretation acknowledges that while advisers owe each of their clients a fiduciary

duty, the specific obligations of, for example, an adviser providing comprehensive, discretionary

advice in an ongoing relationship with a retail client will be significantly different from the


91
         See Dechert Letter.
92
         See supra section II.C.
93
         See supra footnotes 78-81 and accompanying text.



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000740
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                               Page 744 of 852 PageID 2649



obligations of an adviser to an institutional client, such as a registered investment company or

private fund, where the contract defines the scope of the adviser’s services and limitations on its

authority with substantial specificity. 94

         Finally, to the extent this Final Interpretation causes some investment advisers to reassess

their compliance with their duty of loyalty, it could lead to a reduction in the expected

profitability of advice relating to particular investments for which compliance costs would

increase following the reassessment. 95 As a result, the number of investment advisers willing to

advise a client to make these investments may be reduced. A decline in the supply of investment

adviser advice regarding these types of investments could affect efficiency for investors; it could

reduce the efficiency of portfolio allocation for those investors who might otherwise benefit from

investment adviser advice regarding these types of investments and are no longer able to receive

such advice. At the same time, if providing full and fair disclosure and appropriate monitoring

for highly complex products (e.g., those with a complex payout structure, such as those that

include variable or contingent payments or payments to multiple parties) results in these products

becoming less profitable for investment advisers, investment advisers may be discouraged from

supplying advice regarding such products. However, investors may benefit from (1) no longer

receiving inadequate disclosure or monitoring for such products, (2) potentially receiving advice

regarding other, less complex or expensive products that may be more efficient for the investor,

and (3) only receiving recommendations for highly complex or high cost products for which an




94
         See supra section II.A.
95
         For example, such products could include highly complex, high cost products with risk and return
         characteristics that are hard for retail investors to fully understand, or where the investment adviser and its
         representatives receive complicated payments from affiliates that create conflicts of interest that are
         difficult for retail investors to fully understand.


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000741
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                    Page 745 of 852 PageID 2650



investment adviser can provide full and fair disclosure regarding its conflicts and appropriate

monitoring.



List of Subjects in 17 CFR Part 276


         Securities.

Amendments to the Code of Federal Regulations

         For the reasons set out above, the Commission is amending Title 17, chapter II of the

Code of Federal Regulations as set forth below:




PART 276–INTERPRETATIVE RELEASES RELATING TO THE INVESTMENT

ADVISERS ACT OF 1940 AND GENERAL RULES AND REGULATIONS

THEREUNDER



1.       Part 276 is amended by adding Release No. IA–5428 and the release date of June 5,

         2019, to the end of the list of interpretive releases to read as follows”

         Subject                       Release No.       Date              Fed. Reg. Vol. and Page

                                                * * * * * * *

         Commission Interpretation IA-5248               June 5, 2019      [Insert FR Volume

         Regarding Standard of                                             Number] FR [Insert FR

         Conduct for Investment                                            Page Number]

         Advisers




                                                   41
000742
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 746 of 852 PageID 2651



         By the Commission.



Dated: June 5, 2019.


Vanessa A. Countryman,

Acting Secretary.




                                     42
000743
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 747 of 852 PageID 2652



                              EXHIBIT 9




000744
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 1 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 748 of 852 PageID 2653


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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 In re:                                       §     Case No. 18-30264-SGJ-11
                                              §     Case No. 18-30265-SGJ-11
 ACIS CAPITAL MANAGEMENT, L.P. and            §
 ACIS CAPITAL MANAGEMENT GP, LLC,             §     (Jointly Administered Under Case No.
                                              §     18-30264-SGJ-11)
                                              §
                    Debtors.                  §     Chapter 11

     JOINT OBJECTION OF HIGHLAND CAPITAL MANAGEMENT, L.P. AND
    HIGHLAND CLO FUNDING, LTD. TO FINAL APPROVAL OF DISCLOSURE
 STATEMENT AND TO CONFIRMATION OF THE JOINT PLAN FOR ACIS CAPITAL
       MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC

          Highland Capital Management, L.P. (“Highland”) and Highland CLO Funding, Ltd.

(“HCLOF”) hereby file their joint objection (the “Objection”) to final approval of the

disclosure statement [Doc. No. 442] (as amended, the “Disclosure Statement”) and to

confirmation of the First Amended Joint Plan for Acis Capital Management, L.P. and Acis

PAGE 1
4815-0110-1423.4
000745
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 2 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 749 of 852 PageID 2654



Capital Management GP, LLC [Doc. No. 441] (as amended, the “Plan”),1 and respectfully state

as follows:2


                                                I.
                                      PRELIMINARY STATEMENT

               “If at first you don’t succeed, try, try again.” –William Edward Hickson

         1.        In proposing Plans A, B and C, it would appear that the Chapter 11 Trustee has

taken this old adage to heart. Although originally penned as a motivator to would-be teachers, in

the context of these bankruptcy proceedings, this approach by the Chapter 11 Trustee has proven

to be a colossal waste of time and resources at a cost to the estates that eclipses not only the

value of the estates’ assets, but the very pre-petition claims the Chapter 11 Trustee is purportedly

responsible for paying. The result of this case appears to be nothing more than functionally

administratively insolvent estates with mountains of administrative claims continuing to accrue

daily.

         2.        By their literal interpretation, the Chapter 11 Trustee’s Plans, supported by

unequivocal admissions in his pleadings, establish that post-petition, he has intentionally

breached pre-petition contractual obligations of the Debtors to create a purported $100 million

post-petition claim against the estates for an entity that had no claims against the estates when

the Orders for Relief were entered.                 By his own account, he has rendered the estates

administratively insolvent. Having thus admitted to putting the estates into this predicament—

which under almost every other measure would be considered a flagrant breach of fiduciary


1
 Defined terms herein shall be as set forth in the Plan unless otherwise provided herein.
2
  HCLOF has filed no proof of claim in these cases, seeks no monetary relief from the Debtors, and has moved to
amend its pending adversary proceeding claim to reflect that it no longer seeks the equitable claims that it sought
previously (such claims are moot in any event). Nonetheless, HCLOF objects on the basis that the proposed plans
propose either to take its property or alter its contractual and legal rights. HCLOF asserts no creditor standing in any
of the objections set forth herein, and makes these objections as a party in interest given the substantial harm the
plans propose to impose on it.

PAGE 2
4815-0110-1423.4
000746
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 3 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 750 of 852 PageID 2655



duty—he is now championing to “fix” the situation by either (i) taking non-estate property from

the purported (involuntary) claimant and selling it along with some executory contracts of the

estates that are otherwise valueless, then distributing the ill-gotten proceeds after carving off a

substantial fee for himself, or (ii) re-writing multiple securities contracts to which the estates are

not a party in order to not only insulate the estates from the consequences of his self-proclaimed

intentional breach, but to radically alter the bargained-for rights of third party market participants

in five collateralized loan obligation funds with over $2 billion at stake, none of which ever

belonged to the Debtors.

         3.        What the Chapter 11 Trustee is proposing under each of Plans A, B and C violates

some of the most basic tenets of Title 11 and ignores the very confines of this Court’s

jurisdiction. These Plans are patently unconfirmable with an unconscionable premise: that a

Chapter 11 Trustee should be handsomely rewarded for an intentional post-petition breach of the

estates pre-petition contractual obligations. Such a conclusion is beyond the pale no matter how

allegedly noble the cause. These cases should be either dismissed or, at most, converted back to

Chapter 7 liquidation.


                                            II.
                                   RELEVANT BACKGROUND

         4.        On January 30, 2018, Joshua N. Terry (“Terry”) filed involuntary petitions for

relief under Chapter 7, Title 11 of the United States Code (the “Bankruptcy Code”) against Acis

Capital Management, L.P. and Acis Capital Management GP, LLC (“Acis GP,” and with Acis

LP, the “Debtors”). A Chapter 7 Trustee was thereafter appointed.

         5.        On May 4, 2018, the Chapter 7 Trustee filed an Expedited Motion to Convert

Cases to Chapter 11 [Doc. No. 171] (the “Motion to Convert”). Also on May 4, 2018, Terry

filed an Emergency Motion for an Order Appointing Trustee for the Chapter 11 Estates of Acis

PAGE 3
4815-0110-1423.4
000747
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 4 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 751 of 852 PageID 2656



Capital Management, L.P. and Acis Capital Management GP, LLC Pursuant to Bankruptcy

Code Section 1104(a) [Doc. No. 173] (the “Motion to Appoint Chapter 11 Trustee”).

         6.        On May 11, 2018, after a hearing on the matter, the Court entered orders granting

the Motion to Convert [Doc. No. 205] and the Motion to Appoint Chapter 11 Trustee [Doc. No.

206]. Thereafter, the United States Trustee appointed Robin Phelan as Chapter 11 Trustee (the

“Chapter 11 Trustee”).3

         7.        On July 5, 2018, the Chapter 11 Trustee filed the initial Plan [Doc. No. 383],

which proposed three (3) alternatives – Plans A, B and C. In summary, Plan A of the Chapter 11

Trustee’s Plan proposes to transfer HCLOF’s Equity Notes, along with the portfolio management

agreements (the “PMAs”) to which Acis LP is a counter-party, to a third party “plan funder,”

which is Oaktree. Through this transaction, the Chapter 11 Trustee claims that all creditors will

be satisfied in full. Alternatively, the Chapter 11 Trustee has proposed Plans B and C, which are

effectively identical in their treatment of creditors and call for Acis LP to retain the PMAs and

pay out creditors from future cash flow streams therefrom, as well as potential recoveries from

estates’ causes of action. Both Plans B and C require radical modification to of the CLO

Indentures, ostensibly to ensure the future income stream to the estates.

         8.        On July 13, 2018, the Chapter 11 Trustee filed (i) the Disclosure Statement [Doc.

No. 405]; (ii) the First Modification to the Joint Plan for Acis Capital Management, L.P. and

Acis Capital Management GP, LLC [Doc. No. 406]; and (iii) the Motion for Entry of Order (A)

Conditionally Approving Disclosure Statement; (B) Scheduling Combined Hearing on Final

Approval of Disclosure Statement and Confirmation of Plan, and Setting Related Deadlines; (C)




3
 Mr. Phelan was initially appointed on May 11, 2018 as the Chapter 11 Trustee of Acis LP and was appointed on
May 16, 2018 as the Chapter 11 Trustee of Acis GP.

PAGE 4
4815-0110-1423.4
000748
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 5 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 752 of 852 PageID 2657



Approving Forms for Voting and Notice; and (D) Granting Related Relief [Doc. No. 407] (the

“Motion for Conditional Approval”).

         9.        On July 24, 2018, Highland and HCLOF filed respective objections to the Motion

for Conditional Approval, [Doc. No. 431] and [Doc. No. 432]. On July 28, 2018, Highland filed

a supplement to such objection [Doc. No. 440]. In each objection, Highland and HCLOF

reserved rights to object to the final approval of the Disclosure Statement.

         10.       On July 29, 2018, the Chapter 11 Trustee amended the Plan and Disclosure

Statement following an expedited hearing on the Motion for Conditional Approval held earlier

that day. Thereafter, on July 30, 2018, the Court entered the Order (I) Conditionally Approving

Disclosure Statement, (II) Scheduling Combined Hearing on Final Approval of Disclosure

Statement and Confirmation of Plan, and Setting Related Deadlines, (III) Approving Forms for

Voting and Notice, and (IV) Approving Related Matters [Doc. No. 446] (the “Conditional

Approval Order”), conditionally approving the Disclosure Statement, setting an August 21,

2018 combined hearing for final approval of the Disclosure Statement and confirmation of the

Plan, and setting related deadlines, including a compressed and expedited discovery schedule

(the “Discovery Schedule”).

         11.       The Conditional Approval Order required the Chapter 11 Trustee to file a

“Limited Issues Brief” on or before 4:00 p.m. on August 10, 2018, addressing: (a) issues related

to section 1142 of the Bankruptcy Code in connection with the proposed transfer of HCLOF’s

subordinated notes under the Plan A alternative, and (b) issues related to sections 365 and

1123(a)(5)(F) of the Bankruptcy Code in connection with the proposed modification of the

existing Indentures under the proposed Plan B and Plan C (collectively, the “Limited Issues”).




PAGE 5
4815-0110-1423.4
000749
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 6 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 753 of 852 PageID 2658



Also as per the Conditional Approval Order, the deadline for parties to respond to the Limited

Issues Brief is 4:00 p.m. on August 16, 2018.

         12.       Per the Discovery Schedule, the Chapter 11 Trustee filed the Limited Issues Brief

on August 10, 2018 [Doc. No. 493]. Highland and/or HCLOF intend to timely respond to the

Limited Issues Brief per the Discovery Schedule. As such, while certain Limited Issues are

mentioned herein, Highland and HCLOF reserve all rights on those issues for subsequent

objection. Per the Discovery Schedule, this joint objection is to cover matters other than the

Limited Issues; provided, however, discovery is actually occurring after the deadline to file this

objection. Thus, Highland and HCLOF reserve their rights to supplement these objections.


                                               III.
                                            OBJECTION

         13.       In order to confirm the Plan, the Chapter 11 Trustee bears the burden of

establishing the various provisions of Bankruptcy Code section 1129 by a preponderance of the

evidence. See In re Couture Hotel Corp., 536 B.R. 712, 732 (Bankr. N.D. Tex. 2015). The Plan

is deficient on almost every applicable subsection of 1129 and, as a result, the Plan is

unconfirmable as a matter of law.

A.       The Bankruptcy Court Lacks Subject Matter Jurisdiction to Confirm the Plan

         14.       The Bankruptcy Court lacks subject matter jurisdiction over this proceeding and,

therefore, proceeding with confirmation of any plan will be void ab initio. This Court should

have dismissed the involuntary petitions that were filed by Joshua Terry in bad faith, and because

this Court lacks subject matter jurisdiction over essentially a two-party dispute subject to

arbitration. See Brief of Appellant Neutra (Case No. 3:18-cv-01056 (N.D. Tex.), [Doc. No. 11].

         15.       Even assuming this Court has subject matter over this proceeding, the Plans

violate the strictures of that jurisdiction in at least two critical and insurmountable ways:

PAGE 6
4815-0110-1423.4
000750
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 7 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 754 of 852 PageID 2659



                   a.   Plan A is premised on the taking of non-estate property without its owners
                        consent; and

                   b.   Plans B and C are premised on radically altering non-estate executory
                        contracts.

         16.       The Court’s lack of subject matter jurisdiction is so fundamental, that frankly the

Court need look no further. The Chapter 11 Trustee has presented the Court with patently

unconfirmable Plans. Section 1129(a)(1) and (a)(2) require, respectively, that the plan and the

plan proponent, comply with the applicable provisions of the Bankruptcy Code. The Chapter 11

Trustee’s Plan A, however, asks this Court to exceed its constitutional and statutory authority to

infringe upon the rights of a non-creditor and effect a taking of non-estate property (the “Equity

Notes”) via an equitable subrogation theory that is completely contrary to the law, and convert

that non-estate property into “property of the estate,” so that he can then sell it to a third party

(Oaktree). This Court cannot approve this scheme because it has no jurisdiction to do so.

Confirming Plan B or C likewise would require the Court to exceed its authority because both

plans are premised on the nonconsensual alteration of non-executory contracts. Worse yet, the

amendments will be to the determent of third parties who are not creditors of these estates and

who are not remotely implicated in these proceedings.              This Court simply has no such

jurisdiction.

         17.       It is fundamental that bankruptcy courts do not have subject matter jurisdiction

over property that does not belong to a debtor’s estate. See TMT Procurement Corp. v. Vantage

Drilling Co. (In re TMT Procurement Corp.), 764 F.3d 512, 525 (5th Cir. 2014) (bankruptcy

court did not have in rem jurisdiction over assets that were not “property of the estate”); see also

Scott v. Bierman, 429 F. App’x. 225, 231 (4th Cir. 2011) (“[A] bankruptcy court’s jurisdiction

does not extend to property not part of a debtor’s estate.”); see also NovaCare Holdings, Inc. v.

Mariner Post-Acute Network, Inc. (In re Mariner Post-Acute Network, Inc.), 267 B.R. 46, 59

PAGE 7
4815-0110-1423.4
000751
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 8 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 755 of 852 PageID 2660



(Bankr. D. Del. 2001) (same); In re Funneman, 155 B.R. 197, 199-200 (Bankr. S.D. Ill. 1993)

(partnership property was not property of the debtor-partner’s estate and, therefore, outside the

court’s subject matter jurisdiction).

         18.       These jurisdictional principles exist to protect the very type of non-debtor

property interests that are at issue in this case. And they apply even when the property would

benefit a debtor’s estate. See, e.g., Vineyard v. McKenzie (In re Quality Holstein Leasing), 752

F.2d 1009, 1013 (5th Cir. 1985) (noting the limitations placed on the trustee’s strong arm powers

by section 541, and stating that “Congress did not mean to authorize a bankruptcy estate to

benefit from property that the debtor did not own.”).

         19.       Before the Court can order a transfer of the Equity Notes to Oaktree, it would

necessarily have to find that they constitute “property of the estate.”                    If the Court cannot

conclude that the Equity Notes are property of the estate, then it will lack jurisdiction to order

their transfer by any means. See, e.g., In re Murchison, 54 B.R. 721, 725 (Bankr. N.D. Tex.

1985). (finding that the court was without jurisdiction to approve the sale of property that was

not property of the estate: “Because the criterion of § 541(a)(1) has not been satisfied, §

363(b)(1) cannot apply.”).4

         20.       Section 541 of the Bankruptcy Code defines “property of the estate” as, in

relevant part, (i) “all legal or equitable interests of the debtor in property as of the commence of

the case,” (ii) “[a]ny interest in property that the trustee recovers under section 329(b), 363(n),

543, 550, 553, or 723 of this title,” and (iii) “[a]ny interest in property that the estate acquires

after the commencement of the case.” 11 U.S.C. §§ 541(a)(1), (a)(3), (a)(7).


4
  Bankruptcy courts have been held to be without jurisdiction to order the sale of non-estate assets, even where the
sale was entirely consensual. See, e.g., First Nat’l Bank v. Community Trust Bank, No. 05-1610, 2006 WL 724882,
at *4 (W.D. La. Mar. 21, 2006) (“Since the property was not part of the bankruptcy estate, the Bankruptcy Court had
no authority or jurisdiction to order the consensual sale and, therefore, the sale was void”).

PAGE 8
4815-0110-1423.4
000752
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 9 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 756 of 852 PageID 2661



         21.       Neither the Chapter 11 Trustee nor his proposed transferee, Oaktree, dispute that

the Equity Notes are the property of HCLOF. See July 6, 2018 Hrg. Tr. at 71:19-25; 119:11-18.

Nor has the Chapter 11 Trustee obtained an interest in the Equity Notes via any of the

Bankruptcy Code sections enumerated in section 541(a)(3). Thus, for the Equity Notes to be

“property of the estate,” they would necessarily have to be “property that the estate[s] acquire

after the commencement of the case” under section 541(a)(7).5

         22.       Upon first blush, that would seem to require only that the Chapter 11 Trustee

prevail upon his equitable subrogation theory, thereby converting the Equity Notes into

“property of the estate.” However, even if the Chapter 11 Trustee successfully can obtain

ownership of the Equity Notes, such property acquired post-petition is not “property of the

estate” under section 541(a)(7).

         23.       Under controlling Fifth Circuit law, section 541(a)(7) only applies to “property

interest that are themselves traceable to ‘property of the estate’ or generated in the normal course

of the debtor’s business.” In re TMT Procurement Corp., 764 F.3d at 524-25 (“As we previously

recognized in In re McLain, ‘Congress enacted § 541(a)(7) to clarify its intention that § 541 be

an all-embracing definition and to ensure that property interests created with or by property of

the estate are themselves property of the estate”) (citing In re McLain, 516 F.3d 301 (5th Cir.

2008)) (emphasis added); see also In re Cent. Med. Ctr., 122 B.R. 568 (Bankr. E.D. Mo. 1990)

(“Congress did not intend Section 541 ‘to enlarge a debtor’s rights against others beyond those


5
  The Chapter 11 Trustee also does not, and cannot, dispute the axiom that the debtor in possession or trustee steps
into the shoes of a debtor and possesses no greater rights than that of the debtor. See Majestic Star Casino, LLC v.
Barden Dev., Inc. (In re Majestic Star Casino, LLC), 716 F.3d 736, 748 (3d Cir. 2013) (“It is a given that the trustee
or debtor-in-possession can assert no greater rights than the debtor himself had on the date the bankruptcy case was
commenced.”) (internal alterations omitted)); In re Gibralter Res., Inc., 197 B.R. 246, 253 (Bankr. N.D. Tex. 1996)
(“the general rule is that a trustee has no greater rights than the debtor and stands in the shoes of the debtor”); In re
Brooks, 60 B.R. 155, 160 (Bankr. N.D. Tex. 1986) (“Of course, a bankruptcy trustee can acquire no greater rights in
property than the debtor possessed.”) (citation omitted)). The Debtors had no right to sell the Equity Notes before
the commencement of these bankruptcy cases and have no such rights now.

PAGE 9
4815-0110-1423.4
000753
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 10 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 757 of 852 PageID 2662



 existing at the commencement of the case..’”) (citing In re N.S. Garrott & Sons, 772 F.2d 462,

 466 (8th Cir. 1985)). That is not the case with the Equity Notes, which are not traceable to any

 property of the estate, but under the Chapter 11 Trustee’s (unsupportable) theory, are property of

 the estate as a result of a subrogation right that purportedly vested with the estates post-petition.

         24.        The property at issue in In re TMT Procurement was certain corporate shares that

 were pledged by a non-debtor third party into a court-ordered escrow that served as the collateral

 for the debtors’ DIP loan. In re TMT Procurement Corp., 764 F.3d at 524. The shares never

 belonged to the debtors at issue. Id. at 524-25. The corporation whose shares had been pledged

 appealed the orders of the district court (which had withdrawn the reference from the bankruptcy

 court), arguing that the district court did not have jurisdiction to issue orders with respect to the

 shares, which were not “property of the estate.” Id. at 522-23.

         25.        The Fifth Circuit, vacating the district court’s order, rejected the debtors’

 argument that the shares were property of the estate under section 541(a)(7). In doing so, the

 Fifth Circuit made clear that: “[T]he Vantage Shares are not ‘property of the estate’ under

 § 541(a)(7) because they were not created with or by property of the estate, they were not

 acquired in the estate’s normal course of business, and they are not traceable to or arise out of

 any pre-petition interest included in the bankruptcy estate.”        Id. at 525 (rejecting also the

 argument that the tracing limitation did not apply to corporate debtors in chapter 11

 bankruptcies).

         26.        The Plan does not satisfy sections 1129(a)(1) and (a)(2) because it seeks to

 impermissibly expand the scope of estate property and requires the Court to exceed its

 jurisdiction. The Equity Notes were not “property of the estate” at the commencement of these

 cases and the Chapter 11 Trustee has not obtained the Equity Notes through one of the



 PAGE 10
 4815-0110-1423.4
 000754
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 11 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 758 of 852 PageID 2663



 enumerated sections in Section 541(a)(3). Nor are the Equity Notes traceable to any property of

 the estate. Therefore, the Plan cannot be confirmed. See In re Cent. Med. Ctr., 122 B.R. at 573

 (holding that the plan failed to satisfy section 1129(a) “[b]ecause the Plan violates Section 541(a)

 due to its improper expansion of the estate’s interest” in certain funds in which it only had a

 reversionary interest at the commencement of the case; the plan “baldly seeks to divest the

 bondholders of property which is rightfully theirs.”).

 B.      Sections 1129(a)(1), (3) – The Plan Violates the Bankruptcy Code and Violates
         Other Applicable Law

         27.        Bankruptcy Code section 1129(a)(1) requires that a plan comply “with the

 applicable provisions of this title,” and section 1129(a)(3) states that a plan cannot be proposed

 “by any means forbidden by law.” As to section 1129(a)(1), the Plan violates well-accepted

 tenets of bankruptcy law because the Chapter 11 Trustee seeks to (i) take possession of non-

 estate property and (ii) fundamentally alter non-debtor executory contracts. These are included

 among the Limited Issues and will be set forth in the response to the Limited Issues Brief.

         28.        As to section 1129(a)(3), despite the Chapter 11 Trustee’s obfuscations regarding

 “transfers” and other similar self-serving characterizations, the practical reality is that the Plan A

 transaction effects a sale of the Equity Notes to Oaktree. The Equity Notes are undoubtedly

 securities. See Reves v. Ernst & Young, 494 U.S. 56, 65 (1990); Arco Capital Corps. Ltd. v.

 Deutsche Bank AG, 949 F. Supp. 2d 532, 542-43 (S.D.N.Y. 2013) (finding sale of CLO notes to

 be a sale of a security under Morrison v. Nat’l Australian Bank Ltd., 561 U.S. 247 (2010)). Any

 sale of securities must comport with the requirements of federal securities laws, including the

 Securities Act of 1933 (the “’33 Act”).6


 6
  Moreover, none of the Indentures or other relevant documents permit the Chapter 11 Trustee, on behalf of Acis, or
 otherwise, to market HCLOF’s Equity Notes for sale. The Chapter 11 Trustee cannot sell the Equity Notes in
 violation of the terms of the Indentures, and seek at the same time to retain the benefits of the Indentures.

 PAGE 11
 4815-0110-1423.4
 000755
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 12 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 759 of 852 PageID 2664



         29.        Section 77e of the ’33 Act makes it unlawful “to offer to sell or offer to buy . . .

 any security, unless a registration statement has been filed as to such security.” 15 U.S.C.

 § 77e(c).7 The Chapter 11 Trustee has not filed a registration statement covering his proposed

 sale of the Equity Notes.

         30.        Section 1145(a)(1) and (a)(2) do not absolve the Chapter 11 Trustee from

 compliance with these requirements because Oaktree is not receiving the Equity Notes on

 account of claims against the estates. See also SEC v. Universal Express, Inc., 475 F. Supp. 2d

 412, 425 (S.D.N.Y. 2007) (“[T]he section 1145(a) exemption is available only when the offerees

 are receiving the securities, at least in part, in exchange for claims against or interests in the

 debtor which they hold.” (internal citation omitted)).

         31.        The mechanism set forth in the Plan for the transfer of the Equity Notes makes

 plain that Oaktree is not the initial transferee (or subrogee). Instead, the initial transferee are the

 bankruptcy estates. As described, the estates will then transfer the notes to Oaktree. Because

 Oaktree will not be receiving the Equity Notes in exchange for claims or interests that Oaktree

 has against the Debtors, the section 1145(a) exemption cannot, and does not, apply.

         32.        Bankruptcy Code section 1145 provides a limited exemption when the Chapter 11

 Trustee sells a security “of an issuer other than the debtor or an affiliate”                        11 U.S.C. §

 1145(a)(3). The exemption allows trustees to raise cash for an estate while protecting purchasers

 by requiring that adequate information about the securities is available.                         This “portfolio

 securities” exemption should be strictly construed because public policy strongly supports the

 registration of securities.      See Quinn & Co. v. S.E.C., 452 F.2d 943, 946 (10th Cir. 1971); 8


 7
  In any litigation or enforcement action, it would be the Chapter 11 Trustee’s burden to show the applicability of an
 exemption to this requirement. E.g., SEC v. Carrillo Huettell LLP, No. 13 Civ. 1735(GBD)(JCF), 2017 WL
 213067, at *3 n.7 (S.D.N.Y. Jan. 17, 2017). The Chapter 11 Trustee has not argued that any of these exemptions
 apply. See 15 U.S.C. § 77d (providing exemptions to registration requirements).

 PAGE 12
 4815-0110-1423.4
 000756
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 13 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 760 of 852 PageID 2665



 Collier on Bankr. ¶ 1145.02 (16th ed. 2018). This exemption requires that (1) the debtor own the

 security on the date the bankruptcy petition was filed; (2) any exempt securities are not securities

 of the debtor’s affiliates; (3) the issuer of the securities is in full compliance with registration and

 disclosure laws; and (4) the volume of the securities sold be limited to less than 4% of shares

 outstanding. 11 U.S.C. § 1145(a)(3).

          33.       The Chapter 11 Trustee’s Plan A transaction clearly does not qualify for this

 exemption. First, neither the Chapter 11 Trustee nor the Debtors owned the Equity Notes on the

 date the bankruptcy petition was filed, nor do they own them now. Second, the proposed sale

 would be far in excess of the 4% threshold permitted by the exemption. Because the section

 1145 exemptions do not apply, the Chapter 11 Trustee will be in violation of the ’33 Act.

          34.       In addition to violating the ’33 Act, the Plan violates the Investment Advisors Act

 of 1940 (the “IAA”). It is clear that the Chapter 11 Trustee owes fiduciary duties to HCLOF and

 its investors. In agreeing to manage the CLO investments, Acis LP represented to the CLOs that

 it is “registered as an investment adviser” under the IAA and agreed to perform its portfolio

 management services consistent with the IAA. See, e.g., 2013-1 PMA § 17(b)(i). The IAA

 imposes a fiduciary duty on Acis LP to act for the benefit of the CLO and its investors, including

 Equity Noteholders like HCLOF. See Transamerica Mortg. Advisors v. Lewis, 444 U.S. 11, 36

 (1979) (“Congress intended to impose enforceable fiduciary obligations” in passing the Act); 15

 U.S.C. § 80b-6.8 The scope of Acis LP’s (and thus the Chapter 11 Trustee’s) fiduciary duties is

 broad. The Chapter 11 Trustee’s obligations include a duty to refrain from conduct that directly

 harms the CLOs, as well as the more general duty of undivided loyalty. See Bullmore v. Banc of


 8
   Acis LP also owes fiduciary duties as an investment advisor under New York’s common law. See Bullmore v.
 Ernst & Young Cayman Islands, 846 N.Y.S.2d 145, 148 (N.Y. App. Div. 2007) (“Professionals such as investment
 advisors, who owe fiduciary duties to their clients, ‘may be subject to tort liability for failure to exercise reasonable
 care, irrespective of their contractual duties . . . .”) (citations omitted).

 PAGE 13
 4815-0110-1423.4
 000757
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 14 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 761 of 852 PageID 2666



 Am. Sec. LLC, 485 F. Supp. 2d. 464, 471 (S.D.NY. 2007) (applying New York law). Each of

 the plans proposed by the Chapter 11 Trustee rest upon a flagrant violation of Acis LP’s

 fiduciary duties: Plan A proposes to sell HCLOF’s property without its consent and Plan B and

 Plan C propose to impermissibly modify the Indentures to strip HCLOF and the other

 noteholders of their right to call a redemption. These issues will be more thoroughly addressed

 in HCLOF and Highland’s response to the Chapter 11 Trustee’s Limited Issues Brief.

         35.        Moreover, the Chapter 11 Trustee cannot disclaim the duties he owes to the CLOs

 and the investors under the contracts and securities laws, including the IAA. In one analogous

 case, In re New Center Hospital, 200 B.R. 592 (E.D. Mich. 1996), the chapter 11 trustee sought

 to escape the duties of the debtor-hospital as the administrator of an employee benefit plan

 governed by ERISA. The chapter 11 trustee argued that if he were to administer the plan, he

 would be required to act solely in the interest of the ERISA plan beneficiaries which would be in

 conflict with his duties to the bankruptcy estates; therefore, he could not serve as an ERISA

 fiduciary and a bankruptcy estate fiduciary at the same time. Id. The district court rejected this

 argument and overturned the decision of the bankruptcy court, concluding that, “[t]he

 Bankruptcy Trustee assumes the positon of the debtor as to that debtor’s many obligations.

 Courts have held that statutory obligations that bind the debtor will subsequently bind the

 bankruptcy estate.” Id. (internal citations omitted). Likewise, the Chapter 11 Trustee is bound to

 perform the obligations and duties of Acis LP under relevant contract and applicable law,

 including the IAA. Because the Chapter 11 Trustee has put forth a Plan that violates such duties,

 he cannot meet the section 1129(a)(3) standard that the Plan is not “forbidden by law.”

 C.      Section 1129(a)(3) – The Plan Was Not Proposed in Good Faith

         36.        Bankruptcy Code section 1129(a)(3) further provides that a plan must be

 proposed in good faith. The Chapter 11 Trustee, as proponent of the Plan, bears the burden of
 PAGE 14
 4815-0110-1423.4
 000758
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 15 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 762 of 852 PageID 2667



 demonstrating that it was filed in good faith. In re Barnes, 309 B.R. 888, 892 (Bankr. N.D. Tex.

 2003). A good faith plan “must fairly achieve a result consistent with the [Bankruptcy] Code.”

 Id. (quoting In re Block Shim Dev. Co. – Irving, 939 F.2d 289, 292 (5th Cir. 1991)). Good faith

 itself is “evaluated in light of the totality of the circumstances surrounding establishment of [the]

 plan, mindful of the purposes underlying the Bankruptcy Code.” In re Village at Camp Bowie I,

 L.P., 710 F.3d 239, 247 (5th Cir. 2013). The ultimate goal of the analysis is to determine the

 “subjective motive” of a plan proponent. In re Texas Star Refreshments, LLC, 494 B.R. 684, 694

 (Bankr. N.D. Tex. 2013).

            37.     The record demonstrates there was virtually no negotiation of the economic terms

 of the Oaktree proposal, and in particular there was no effort by the Chapter 11 Trustee to secure

 the highest possible price for the Equity Notes.9 The purported consideration for the PMAs was

 clearly based not on any actual metric of value for those contract rights, but on an amount

 necessary to pay Josh Terry’s claim. Certainly as to the Equity Notes, this was not a negotiation

 between a willing seller and a willing buyer – the seller was not even present. It is instead a

 scheme, concocted in bad faith, to take property from one party and provide a windfall to other

 parties.

            38.     Moreover, improper motives have tainted these bankruptcy cases from the

 beginning. Joshua Terry initiated these proceedings on the eve of a state court hearing to

 consider the very relief he then requested from this Court. From the very beginning, Terry has

 made clear his motivation for initiating the involuntary bankruptcy: to prevent Acis LP from

 9
  The Chapter 11 Trustee has testified that he engaged in no substantive negotiation concerning the sale price of the
 Equity Notes. See Transcript of July 6, 2018 hearing at 75:14-16; 76:6-8:
         MR. MALONEY. Was there any negotiation over the price formula that they were proposing for
         the subordinated notes?
         MR. PHELAN. No . . .
         ...
         Q. Now you didn’t ask that they increase that at all?
         A. No.

 PAGE 15
 4815-0110-1423.4
 000759
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 16 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 763 of 852 PageID 2668



 meeting its contractual obligation to effectuate the reset requested by the equity—so that the

 Debtors could continue to earn management fees they are not entitled to.10

         39.        The Chapter 11 Trustee has adopted Terry’s cause.

         40.        At the end of the day, these bankruptcy cases and the Plan amount to nothing but

 a free option play by Terry, the Chapter 11 Trustee, and Oaktree to monetize PMAs with less

 than nominal value, at the expense of Highland (who is effectively funding the administrative

 expenses of these cases on account of the substantial management fees being withheld from it)

 and HCLOF (who is being denied its contractual rights with non-debtor parties and stripped of

 its own property against its will to fund that payment). The Chapter 11 Trustee has nothing to

 lose from this strategy – he can turn an asset with little or no value into a big pay day for Terry

 and himself. Oaktree similarly has nothing to lose – if it doesn’t end up getting the Equity Notes,

 it walks away with all its expenses paid and a $2.5 million break-up fee for its time.

         41.        In these circumstances, the Court should not make a good faith finding.

 D.      Section 1129(a)(5) – The Plan Does Not Properly Disclose or Address Insider Issues

         42.        Bankruptcy Code section 1129(a)(5)(A)(i) requires a plan proponent to disclose

 “The identity and affiliations of any individual proposed to serve, after confirmation of the plan,

 as a director, officer, or voting trustee of the debtor, an affiliate of the debtor participating in a

 joint plan with the debtor, or a successor to the debtor under the plan.” Under both Plan B and

 Plan C, Terry is slated to receive 100% of the equity in the Reorganized Debtor (as well as,

 inexplicably, any residual assets of the Acis Trust upon payment in full of all creditors). Terry

 therefore clearly comes within the definition of individuals described in section 1129(a)(5)(A)(i).
 10
    Among the things acknowledged by Terry at the involuntary trial in March 2018 was the fact that he “had no
 issues with the rest or refinance transaction. [Rather,] the issue was that these collateral-management agreements
 were transferred for no consideration to Acis.” March 21, 2018 Hrg. Tr. At 132:16-19. Note, however, that fees
 would not continue to be payable under the PMAs following a reset in any circumstance. See also Id. at 27:22-28:1:
 “Q: And you knew there was an extreme likelihood that the [reset] transaction was not going forward as a result of
 the bankruptcy filing, correct? MR. TERRY: Yes, that was our goal on filing the involuntary petitions.”

 PAGE 16
 4815-0110-1423.4
 000760
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 17 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 764 of 852 PageID 2669



 While Terry’s identity is disclosed in Plans B and C, his affiliations are not. Specifically, the

 Chapter 11 Trustee makes no effort to describe Terry’s relationship and affiliations with other

 parties in interest in this case including (without limitation) Oaktree, Brigade Capital

 Management, L.P., and Cortland Capital Markets Services LLC. Furthermore, the Chapter 11

 Trustee does not disclose or otherwise describe the post-petition affiliation between Terry and

 the Chapter 11 Trustee himself. Discovery in this matter has revealed, and evidence at the

 confirmation hearing will further demonstrate, that Terry has essentially acted as the co-trustee in

 this case. This includes: taking it upon himself to market the Debtors’ assets, introducing the

 Chapter 11 Trustee to Oaktree, participating in most substantive communications with Oaktree,

 and participating in the formulation of a Plan that (under Plans B and C) hands control of the

 Debtors over to him. On this record, it is clear that Terry’s affiliations have not been disclosed,

 in violation of section 1129(a)(5)(A)(i).

         43.        While Terry’s undisclosed affiliations is a significant issue in and of itself, the

 relationship between Terry and the Chapter 11 Trustee raises yet another, troubling issue. The

 facts of this case lead inexorably to the conclusion that Terry is an insider of the Plan proponent

 (i.e., the Chapter 11 Trustee). The term “insider” is defined in Bankruptcy Code section 101(31)

 to “include” parties who have certain officer, director, or ownership interests in a debtor.

 However, the concept of a non-statutory insider has been recognized by many courts, including

 the Supreme Court. See U.S. Bank N.A. v. Village at Lakeside, LLC, 138 S. Ct. 960 (2018). The

 Fifth Circuit has identified the following factors to consider when determining whether a party is

 non-statutory insider: (1) the closeness of the relationship between the party and the debtor; and

 (2) whether the transactions between the party and the debtor were conducted at arms-length.

 Browning Interests v. Allison (In re Holloway), 955 F.2d 1008, 1011 (5th Cir. 1992).



 PAGE 17
 4815-0110-1423.4
 000761
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 18 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 765 of 852 PageID 2670



 Importantly, cases recognize that control over the debtor is not a requirement for determining

 non-statutory insider status. See, e.g., In re The Village at Lakeridge, LLC, 814 F.3d 993, 1001

 (9th Cir. 2016); Anstine v. Carl Zeiss Meditec AG (In re U.S. Med., Inc.), 531 F.3d 1272, 1277

 n.5 (10th Cir. 2008).

         44.        The ultimate point of analyzing whether any party is an insider is to determine

 whether such party is using “their privileged position to disadvantage non-insider creditors.” See

 In re South Beach Secs., Inc., 376 B.R. 881, 888 (Bankr. N.D. Ill. 2007). Insider status is also

 critical for determining whether a party’s desire to obtain, or maintain, control over a debtor is

 motivating the party. See In re Rexford Props., LLC, 557 B.R. 788, 799 (Bankr. C.D. Cal. 2016)

 (noting that insiders seeking to retain ownership of the reorganized debtor were “influenced by

 totally different considerations from those motivating the other creditors.”) (quoting In re

 Featherworks Corp., 25 B.R. 634, 640 (1st Cir. BAP 1982)).

         45.        In this case, the Chapter 11 Trustee is the proponent of the Plan. Plan proponent

 insiders should be scrutinized because they, like a debtor insider, may be using a plan process to

 benefit their “privileged position.” For example, in In re Allegheny Int’l, Inc., 118 B.R. 282

 (Bankr. W.D. Pa. 1982), the court found that a non-debtor plan proponent (Japonica Partners,

 L.P.) was considered an insider because Japonica during the case had access to “voluminous and

 thorough” information available only to insiders. Moreover, the court noted that while Japonica

 “did not have actual control or legal decision making power [over the debtor] . . . [Japonica]

 attempted to influence, in not very subtle ways, decisions made by the debtor.” Id. at 298.

         46.        Terry’s actions fit perfectly into such a non-statutory insider analysis. A review

 of the Plan makes plain Terry’s favorable treatment. His claim is separately classified, the claim

 is treated the same as an entirely secured claim would be, despite the fact that Terry did not even



 PAGE 18
 4815-0110-1423.4
 000762
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 19 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 766 of 852 PageID 2671



 alleged his claim was fully secured, he is being permitted to use $1 million to acquire Acis LP’s

 equity, despite the fact that the claim on file is less than $1 million, and the Chapter 11 Trustee

 has made no indication that Terry’s secured claim may be avoided, despite the fact that the

 garnishment took place well within the 90-day pre-petition preference period.

         47.        In addition, while Terry is not in formal “control” of the Chapter 11 Trustee,

 Terry had access to voluminous insider information during the pendency of this case and he

 clearly influenced decisions made by the Chapter 11 Trustee. Nothing about the relationship

 between Terry and the Chapter 11 Trustee suggests that they acted at arms-length. Moreover,

 Terry used his close relationship to further his non-creditor motivation to put into place

 provisions that will allow him to take sole control over the Reorganized Debtor. Thus, Terry

 meets every single element for establishing that he is a non-statutory insider of the Plan

 proponent in this case. Moreover, any attempt by the Chapter 11 Trustee to distinguish the facts

 and cases on the basis that the Chapter 11 Trustee is not the same entity as the Debtors is

 specious. Once again, the Chapter 11 Trustee is the Plan proponent in this case. If a Chapter 11

 trustee were able to hide behind an “I am not the debtor” argument, then it would follow that

 parties could engage in all manner of inside dealing and wrongful acts with a trustee with

 impunity. That makes no sense. The non-statutory insider analysis is designed to identify

 whether a party has a close relationship that allows the party to influence the process to further

 non-creditor goals (i.e., control). Terry meets that test with respect to the Plan proponent in this

 case. And, as discussed below, the fact that Terry is a non-statutory insider means the Chapter

 11 Trustee cannot cram down the Plan.




 PAGE 19
 4815-0110-1423.4
 000763
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 20 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 767 of 852 PageID 2672



 E.         Sections 1129(a)(7) and 1129(b) – The Plan Is Not In the Best Interest of Creditors
            and Is Not Fair And Equitable

            48.      Bankruptcy Code sections 1129(a)(7) and 1129(b) require that a plan be in the

 best interest of creditors and otherwise fair and equitable. First and foremost, Plans A, B, and C

 are premised on actions that are not supported by the law. How could it ever be in the best

 interest of creditors for a plan proponent to act outside the law? The Plan is a legal fallacy and,

 even if confirmed, will be the subject of years of litigation and ever-increasing administrative

 expense claims. That is not in the creditors’ best interests.

            49.      Also, included in a best interest of creditors analysis is a determination that

 creditors who have not accepted the plan will receive no less under the Plan then they would in a

 hypothetical Chapter 7 liquidation. In re Briscoe Enters., Ltd. II, 994 F.2d 1160, 1167 (5th Cir.

 1993). This requires a valuation analysis comparing what the creditor would receive if the

 property were sold today versus the value such creditor would receive as a creditor in a Chapter

 7 case. Id.

            50.      The Chapter 11 Trustee cannot meet his burden on this valuation issue with

 respect to HCLOF.11 It is undisputable that HCLOF was not a creditor as of the Petition Date.

 That is, the basis for the Chapter 11 Trustee asserting that HCLOF is a creditor is the equitable

 relief sought in an adversary proceeding brought by HCLOF against the Chapter 11 Trustee after

 the Petition Date. In a hypothetical Chapter 7 case, there would simply be an orderly liquidation

 and therefore no need to twist the law of equitable relief and subrogation to support a plan

 process and HCLOF would keep its subordinated notes. As such, any liquidation analysis by the

 Chapter 11 Trustee is a non-sequitur from the beginning because it would be based on the

 facially incorrect assumption that HCLOF was a creditor on the Petition Date. Moreover, even if


 11
      As noted, HCLOF asserts no creditor standing.

 PAGE 20
 4815-0110-1423.4
 000764
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 21 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 768 of 852 PageID 2673



 that flaw is simply ignored (and there is no reason to do so), the valuation numbers do not add

 up. The Plan proposes to pay HCLOF amounts based entirely on a May 2018 letter sent by

 Highland. Evidence has shown in this case that circumstances have changed dramatically since

 May 2018, and further, that HCLOF values its Equity Notes much higher than what is being

 proposed under the Plan. The Chapter 11 Trustee bears the burden of rebutting that valuation

 evidence and, based on the record of this case, he will not be able to meet such burden. In fact,

 the Chapter 11 Trustee has not even substantively included HCLOF in its analysis purporting to

 satisfy section 1129(a)(7)12 and he has advanced no expert witness to address the valuation issues

 necessary to do so at the confirmation hearing. Therefore, the Chapter 11 Trustee cannot satisfy

 the required test under section 1129(a)(7).

 F.      Sections 1129(a)(8), (10) and 1129(b) – The Plan Does Not Meet the Requirements
         for Cram Down

         51.        Bankruptcy Code sections 1129(a)(8) requires that each impaired class vote in

 favor of a plan. Bankruptcy Code section 1129(a)(10) permits a plan proponent to cram down a

 plan on non-voting classes, as long as one class of impaired creditors votes in favor of the plan.

 Insider votes are not counted for the purposes of consent under 1129(a)(10). Section 1129(b), in

 turn, requires in a cram down plan that the plan not unfairly discriminate and is fair and equitable

 to the non-voting creditors. Based on the record of this case, it is assumed that Class 3 (the Terry

 Secured Claim) will be the only class with the claim amount and numerosity to be deemed

 (according to the Chapter 11 Trustee) a consenting class. Therefore, in order to meet the cram

 down confirmation requirements, the Chapter 11 Trustee has the burden of showing that:

 (i) Terry is impaired; (ii) Terry is not an insider; and (iii) cramming the Plan down solely on



 12
   The Chapter 11 Trustee’s liquidation analysis is attached as Exhibit 2-D to the Disclosure Statement. The amount
 of the Class 2 HCLOF claim is listed as “TBD.” Id.

 PAGE 21
 4815-0110-1423.4
 000765
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 22 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 769 of 852 PageID 2674



 Terry’s vote does not unfairly discriminate and is fair and equitable to other creditors. The

 Chapter 11 Trustee cannot meet such a burden.

         52.        The Fifth Circuit interprets the concept of impairment broadly to include any

 alternation of a creditor’s rights.      In re Village at Camp Bowie I, L.P., 710 F.3d at 245.

 However, a broad interpretation does not mean that the concept of impairment does not exist.

 The policy reason for requiring an impaired class to accept the plan under a cram down is to

 ensure that at least one group of creditors that is “hurt . . . nonetheless favors the plan.” In re

 One Times Square Assocs. Ltd. P’ship, 165 B.R. 773, 776-77 (S.D.N.Y. 1994) (emphasis added).

         53.        Here, no viable argument can be made that Terry is impaired under Plan A

 because Plan A proposes to pay Terry in full with interest. The interest element, of course,

 compensates Terry for any delay in receiving what he alleges he is owed. Paying a creditor in

 full with interest is the very definition of non-impairment. Using a lone creditor, let alone in

 insider such as Terry, should not be sufficient to fulfill the section 1129(a)(10) requirement.

 This is a textbook case of using artificial impairment to generate an impaired accepting class.

         54.        Moreover, even if Terry were considered impaired under Plan A, Terry’s votes

 should not be counted under any of the plans (A, B, or C) because Terry is a non-statutory

 insider. The basis for deeming Terry a non-statutory insider is set forth above. Because of his

 status as such, the Chapter 11 Trustee is prohibited by the plain language of section 1129(a)(10)

 from relying on Terry’s votes to support a plan.

         55.        The final requirement for a cram down plan is that it is fair and equitable and does

 not unfairly discriminate. Whether a plan is proposed in good faith is a critical element of this

 determination. See In re Village at Camp Bowie I, L.P., 710 F.3d at 247 (citing In re Sandy

 Ridge Dev. Corp., 881 F.2d 1346 (5th Cir. 1989)). Because, as set forth above, the Chapter 11



 PAGE 22
 4815-0110-1423.4
 000766
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 23 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 770 of 852 PageID 2675



 Trustee is unable to establish that the Plan was proposed in good faith, he likewise will be unable

 to establish that he meets the cram down standard. The Plan also unfairly discriminates on a

 number of different bases. Moreover, the Chapter 11 Trustee provides no basis for classifying

 Highland’s claims separately under the Plan, other than to gerrymander the classes.

 G.      Section 1129(a)(10) – The Plan’s Claim Classifications are Improper

         56.        A further requirement under section 1129(a)(10) and related case law is that

 claims be properly classified under a plan. See, e.g., In re Greystone III Joint Venture, 995 F.2d

 1274, 1279 (5th Cir. 1991) (prohibiting the gerrymandering of classes to create a consenting

 impaired class). Claims that are “substantially similar” must be classified together.      Terry’s

 claim treatment under the Plan is a blatant example of gerrymandering. Terry has alleged a

 partial secured claim based on pre-petition garnishment of certain funds.           However, the

 garnishment occurred within the 90-day preference period and is per se avoidable. As such,

 Terry is nothing more than a general unsecured creditor in this case. His claim should be

 classified alongside other general unsecured creditors in Class 4.

         57.        Highland is a general unsecured creditor in the case, but its claim has been

 separately classified from other general unsecured creditors. Similarly, HCLOF is a Class 2

 claimant under Plan A, but is effectively a Class 5B claimant under Plan B and Plan C.

 Presumably, the Chapter 11 Trustee bases such separate classification and disparate treatment on

 his allegation that Highland and/or HCLOF are liable for a fraudulent transfer. However, that

 matter remains subject to an on-going adversary proceeding. In other words, the Chapter 11

 Trustee has simply made an allegation and is yet to prove his case.           Permitting separate

 classification based on unproven allegations would seem an invitation for plan proponents to




 PAGE 23
 4815-0110-1423.4
 000767
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 24 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 771 of 852 PageID 2676



 engage in all manner of mischief in order to craft around the requirement that substantially

 similar claims be classified together.13

 H.       Section 1129(a)(11) – The Plan is Not Feasible

          58.       Bankruptcy Code section 1129(a)(11) has been interpreted to require a finding

 that a plan is economically feasible. This requires the Chapter 11 Trustee to demonstrate that the

 plan has a “reasonable assurance of commercial viability.” In re Briscoe Enters., Ltd. II, 994

 F.2d at 1166.        Moreover, the Chapter 11 Trustee must “present proof through reasonable

 projections that there will be sufficient cash flow to funder the [Plan].” See In re Couture Hotel

 Corp., 536 B.R. 712, 737 (Bankr. N.D. Tex. 2015).

          59.       On the record before the Court, the Chapter 11 Trustee has failed to demonstrate

 sufficient funds to meet all the obligations set forth in the Plan.                     That includes the very

 substantial administrative expense burden that appears to have surpassed the total claims alleged

 by the Chapter 11 Trustee to be payable in this case.



 I.       The Plan Cannot Effect an Assumption and Assignment of the PMAs Without
          Consent.

          60.       The Plan A transaction cannot be confirmed because it proposes to assume and

 assign the PMAs to Oaktree (see Plan § 2.17(c)) in violation of section 365(c)(1) of the

 Bankruptcy Code and without the requisite consent. See 11 U.S.C. § 365(c)(1) (trustee “may not
 13
    HCLOF and Highland object to the Chapter 11 Trustee’s apparent attempt to litigate the fraudulent transfer
 claims currently pending in the adversary proceeding as part of the plan confirmation process. As set forth in their
 separately-filed joint motion to strike the expert report of Kevin Haggard of Miller Buckfire, any such attempts are
 procedurally improper and inconsistent with the parties’ understanding and agreed-upon schedule. Highland and
 HCLOF have a right under the Bankruptcy Code and applicable rules to litigate the fraudulent transfer claims in a
 proceeding subject to the heighted procedural protections available in an adversary proceeding—not in the context
 of a harried and accelerated confirmation process (a process of the Trustee’s own making). See In re Mansaray-
 Ruffin, 530 F.3d 230, 242 (3d Cir. 2008) (“[W]here the Rules require an adversary proceeding—which entails a
 fundamentally different, and heightened, level of procedural protections—to resolve a particular issue, a creditor has
 the due process right not to have that issue without one.”). The Court should not condone this type of “litigation by
 ambush.” See In re Vidal, No. 12-11758 BLS, 2013 WL 441605, at *5 (Bankr. D. Del. Feb. 5, 2013) (applying
 Mansaray-Ruffin to avoid “lien-stripping by ambush”).

 PAGE 24
 4815-0110-1423.4
 000768
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 25 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 772 of 852 PageID 2677



 assume or assign any executory contract . . .if applicable law excuses a party, other than the

 debtor, to such contract . . . from accepting performance from or rendering performance to an

 entity other than the debtor . . . and such party does not consent to such assumption or

 assignment”); In re Cedar Chem. Corp., 294 B.R. 224, 232 (Bankr. S.D.N.Y. 2003) (“a contract

 otherwise unassignable under § 365(c)(1) can be assumed and assigned if the non-debtor party

 consents”). The IAA and New York state law provide the relevant “applicable law” prohibiting

 assignment and excusing HCLOF from accepting performance from anyone other than Acis

 and/or Highland.

         61.        The IAA prohibits the assumption and assignment of the PMAs to Oaktree

 without, among other things, the Equity Noteholders’ consent. Section 205(a)(2) of the IAA

 prohibits investment advisers (i.e., Acis LP) from entering into an investment advisory contract

 with a client (here, the CLOs) that “fails to provide, in substance, that no assignment of such

 contract shall be made by the investment adviser without the consent of the other party by the

 contract.”    15 U.S.C. § 80b–5(a)(2).     Section 202(a)(1) of the IAA defines “assignment”

 generally to include “any direct or indirect transfer . . . of an investment advisory contract” by an

 adviser. 15 U.S.C. § 80b–2(a)(1) (emphasis added).

         62.        Section 14 of the PMAs (titled “Delegations/Assignments”) provides the

 provisions intended to satisfy section 205(a)(2) of the IAA. Those sections, in relevant part,

 prohibit Acis from assigning its responsibilities under the PMAs without the written consent of

 each relevant CLO, at least a majority of the Equity Notes of each CLO, at least a majority of the

 Controlling Class (as defined in the indentures), and satisfaction of the Global Rating Agency

 Condition. See, e.g., 2013-1 PMA, § 14(a). Acis cannot transfer, either directly or indirectly, its

 responsibilities under the PMAs without first satisfying the requisite conditions, including



 PAGE 25
 4815-0110-1423.4
 000769
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 26 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 773 of 852 PageID 2678



 obtaining the written consent of a majority of the Equity Noteholders of each CLO (which the

 Chapter 11 Trustee has not obtained).

         63.        The CWCapital Cobalt VR Ltd. v. CWCapital Invs. LLC, No. 17 Civ. 9463, 2018

 U.S. Dist. LEXIS 90174 (S.D.N.Y. May 23, 2018) case does not mandate a different result.

 First, the language the Trustee quotes is from a decades-old SEC no-action letter. Id. at *12

 (quoting SEC No-Action Letter, Am. Century Cos., 1997 WL 1879138, at *5 (Dec. 23, 1997)).

 SEC no-action letters are only binding with respect to the party requesting guidance, have no

 precedential value unless the SEC agrees to allow a party to rely on them, and the SEC is free to

 change their interpretation at any time.             See SEC, Fast Answers, available at

 https://www.sec.gov/fast-answers/answersnoactionhtm.html. Second, CWCapital did not decide

 whether the IAA separately requires client consent. 2018 U.S. Dist. LEXIS 90174, at *12-13.

 Third, a reported case from a court in this District recently found to be well-pleaded a cause of

 action for “assigning the benefits of [an] agreement to provide investment advisory services to

 others” based on the IAA. Douglass v. Beakley, 900 F. Supp. 2d 736, 748 (N.D. Tex. 2012).

         64.        The proposed assumption and assignment undermines the public policy reasons

 for section 205(a)(2) of the IAA. The Chapter 11 Trustee’s transfer of portfolio management

 duties to Oaktree thus violates section 205(a)(2) of the IAA, and in turn, violates section

 365(c)(1) of the Bankruptcy Code. The Chapter 11 Trustee and this Court cannot ignore the

 dictates of the IAA. Cf. In re Adelphia Commc’ns Corp., 359 B.R. 65, 78-79 (Bankr. S.D.N.Y.

 2007) (local ordinances provided “applicable law” that prohibited assignment).

         65.        The PMAs are also a personal services contract that cannot be assigned under

 New York law without consent. See Wien & Malkin LLP v. Helmsley-Spear, Inc., 6 N.Y.3d 471,

 482 (N.Y. 2006) (hotel management contract held below to be personal services contract;



 PAGE 26
 4815-0110-1423.4
 000770
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 27 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 774 of 852 PageID 2679



 “personal services contracts generally may not be assigned absent the principal's consent”)

 (citing 9 Corbin, Contracts § 865 [interim ed.]; 3 Farnsworth, Contracts §§ 11.4, 11.10 [3d ed]);

 Marriott Int’l, Inc. v. Eden Roc, LLLP, 104 A.D.3d 583, 584 (N.Y. App. Div. 1st Dep’t 2013)

 (“The parties’ detailed management agreement places full discretion with plaintiffs to manage

 virtually every aspect of the hotel. Such an agreement, in which a party has discretion to execute

 tasks that cannot be objectively measured, is a classic example of a personal services contract

 that may not be enforced by injunction”); see also 6A N.Y. Jur., Assignments § 11 (“[T]he

 principle that all ordinary business contracts are assignable is subject to the exception that

 executory contracts for personal services or those involving a relationship of personal confidence

 are not assignable by one party unless the other party consents or waives the right to object.

 Thus, as a general rule, an employment contract for the performance of personal duties or

 services is not assignable by the employer so as to vest in the assignee the right to the labor of

 someone who never agreed to such employment. In fact, generally, no executory contract for

 personal services can be assigned by either party.”).

         66.        Under New York law, personal service contracts are generally those that depend

 on the skill or reputation of the performing party. See In re Schick, 235 B.R. 318, 323 (Bankr.

 S.D.N.Y. 1999) (“Faced with a state law restricting assignment . . . a court must inquire into its

 rationale and uphold the restriction under section 365(c) if the identity of the contracting party is

 material to the agreement”). As one bankruptcy court has stated with respect to New York law

 on the issue:

         It is well settled that when an executory contract is of such a nature as to be based
         upon personal services or skills, or upon personal trust or confidence, the debtor-
         in-possession or trustee is unable to assume or assign the rights of the bankrupt in
         such contract. . . . It is patently unfair in such cases to require a non-debtor third
         party to accept performance from anyone other than the original contract vendee,



 PAGE 27
 4815-0110-1423.4
 000771
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 28 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 775 of 852 PageID 2680



         unless the contract clearly provides for the right to assign to another contract
         vendee.

 In re Grove Rich Realty Corp., 200 B.R. 502, 510 (Bankr. E.D.N.Y. 1996); see also Donald

 Rubin, Inc. v. Schwartz, 559 N.Y.S. 2d 307, 310 (N.Y. App. Div. 1990) (describing a consulting

 agreement as being “in the nature of a personal services contract”); Carbo Indus., Inc. v. Coastal

 Ref & Mktg., Inc., 154 F. App’x 218, 220 (2d Cir. 2005) (“this case does not fall within the

 limited exception developed for ‘personal services contracts’—e.g., consulting contracts.”)

 (citing Donald Rubin, 559 N.Y.S. 2d at 310) (emphasis added).

         67.        As has been previously explained, HCLOF and its investors invested in reliance

 on the skill and expertise of Highland to manage the CLOs. In this case, a witness put on by the

 Chapter 11 Trustee – Zach Alpern of Stifel, Niocolas – testified to the fact investors pick sub-

 advisors based on the fact that different advisors “have different styles and make different

 creditor choices.”14 Mr. Alpern further testified that “equity holders make an informed decision

 when they make their investment and their opinion of the advisor is one of the considerations

 that they may make at the time of their investment, and it’s a consideration that they probably

 take into account whether they hold or sell that investment.”15

         68.        Replacing Acis/Highland with Oaktree/Brigade frustrates the investment

 objective of the parties, denies them the benefit of their bargain, and undermines and violates the

 IAA as well as black-letter New York law relating to personal service contracts. The assumption

 and assignment of the PMAs cannot be approved.




 14
     See Transcript of August 1, 2018 hearing on the Chapter 11 Trustee’s Emergency Motion to Approve
 Replacement Sub-Advisory and Shared Services Providers, Brigade Capital Management, LP and Cortland Capital
 Markets Services LLC, at 67:24-25.
 15
    Id. at 69:9-14.

 PAGE 28
 4815-0110-1423.4
 000772
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 29 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 776 of 852 PageID 2681



 J.      The Disclosure Statement Should Not be Finally Approved

         69.        As to the Disclosure Statement, Highland and HCLOF renew their objections to

 its final approval based on the fact that it describes a patently unconfirmable Plan. See In re

 Quigley Co., 377 B.R. 110, 115-16 (Bankr. S.D.N.Y. 2007); In re Arnold, 471 B.R. 578, 586

 (Bankr. C.D. Cal. 2002).


                                             IV.
                                    RESERVATION OF RIGHTS

         70.        Nothing herein shall be construed as an admission of, or concession to, any fact

 contained in the Disclosure Statement or the Plan, and Highland and HCLOF reserve all rights to

 contest and rebut any and all factual allegations at the Confirmation Hearing. As previously

 mentioned herein, because discovery is ongoing per the Discovery Schedule, Highland and

 HCLOF reserve their rights to amend these Objections.



         WHEREFORE, Highland and HCLOF respectfully request entry of an order (i) denying

 confirmation of the Plan; (ii) denying final approval of the Disclosure Statement; and (iii)

 granting such other and further relief to which Highland and HCLOF are entitled.




 PAGE 29
 4815-0110-1423.4
 000773
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 30 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 777 of 852 PageID 2682



 Dated: August 13, 2018              Respectfully submitted,

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 PAGE 30
 4815-0110-1423.4
 000774
Case 18-30264-sgj11 Doc 497 Filed 08/13/18 Entered 08/13/18 15:52:24 Page 31 of 31
 Case 3:21-cv-00842-B Document 43 Filed 07/13/21 Page 778 of 852 PageID 2683



                                CERTIFICATE OF SERVICE

         This is to certify that on August 13, 2018, a true and correct copy of the foregoing was
 served electronically via the Court’s ECF system on those parties registered to receive such
 service.

                                                  /s/ Melina Bales
                                                  Melina Bales




 PAGE 31
 4815-0110-1423.4
 000775
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 779 of 852 PageID 2684



                              EXHIBIT 10




000776
Case
 Case3:21-cv-00842-B
       3:21-cv-00842-BDocument
                       Document4336Filed
                                     Filed
                                         07/13/21
                                           06/29/21 Page
                                                     Page780
                                                           1 of
                                                             of26
                                                                852PageID
                                                                    PageID1706
                                                                           2685



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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS

 CHARITABLE DAF FUND, L.P.                    §
 and CLO HOLDCO, LTD.,                        §
 directly and derivatively,                   §
                                              §
                Plaintiffs,                   §
                                              §
                   v.                         §   CAUSE NO. 3:21-cv-00842-B
                                              §
 HIGHLAND CAPITAL MANAGEMENT,                 §
 L.P., HIGHLAND HCF ADVISOR, LTD.,            §
 and HIGHLAND CLO FUNDING, LTD.,              §
 nominally,                                   §
                                              §
               Defendants.                    §

 PLAINTIFFS’ RESPONSE TO DEFENDANT HIGHLAND CAPITAL MANAGEMENT, L.P.’S
        MOTION FOR AN ORDER TO ENFORCE THE ORDER OF REFERENCE




000777
Case
 Case3:21-cv-00842-B
       3:21-cv-00842-BDocument
                       Document4336Filed
                                     Filed
                                         07/13/21
                                           06/29/21 Page
                                                     Page781
                                                           2 of
                                                             of26
                                                                852PageID
                                                                    PageID1707
                                                                           2686



                                                 TABLE OF CONTENTS


TABLE OF CONTENTS .............................................................................................................. i

TABLE OF AUTHORITIES ....................................................................................................... ii

I.        PRELIMINARY STATEMENT ......................................................................................1

II.       BACKGROUND ..............................................................................................................2

III.      ARGUMENT & AUTHORITY .......................................................................................3

          A.        The Motion Should Be Denied Because Withdrawal of
                    the Reference is Mandatory ..................................................................................3

          B.        Automatic Referral is Unnecessary and Would Be Inefficient .............................9

                    1.         The causes of action asserted by the Plaintiffs do not
                               “arise under,” or “arise in” Title 11 are not “core”
                               proceedings .............................................................................................10

                    2.         The Bankruptcy Court has limited post-confirmation
                               “related to” jurisdiction ...........................................................................12

          C.        The Res Judicata Argument is Not Relevant to the Relief
                    Sought in This Motion ........................................................................................15

          D.        The Local Rule 3.3 Argument is Unavailing ......................................................16

          E.        The Litigious-Nature Argument is Likewise Unavailing ...................................17

          F.        Plaintiffs’ Cross-Motion Should be Granted ......................................................18

VI.       CONCLUSION ...............................................................................................................19




                                                                     i

000778
Case
 Case3:21-cv-00842-B
       3:21-cv-00842-BDocument
                       Document4336Filed
                                     Filed
                                         07/13/21
                                           06/29/21 Page
                                                     Page782
                                                           3 of
                                                             of26
                                                                852PageID
                                                                    PageID1708
                                                                           2687



                                               TABLE OF AUTHORITIES


Cases

Applewood Chair Co. v. Three Rivers Planning & Dev. Dist. (In re Applewood Chair Co.),
 203 F.3d 914 (5th Cir. 2000) ...................................................................................................15

Bank of La. v. Craig’s Stores of Tex., Inc. (In re Craig’s Stores of Tex., Inc.),
 266 F.3d 388 (5th Cir.2001) ....................................................................................................18

Beitel v. OCA, Inc. (In re OCA, Inc.),
 551 F.3d 359 (5th Cir. 2008) ...................................................................................................13

Belmont v. MB Inv. Partners, Inc.,
 708 F.3d 470 (3d Cir. 2013).......................................................................................................6

Beta Operating Co., LLC v. Aera Energy, LLC (In re Mem'l Prod. Partners, L.P.),
 No. H-18-411, 2018 U.S. Dist. LEXIS 161159 (S.D. Tex. 2018) .............................................7

Burch v. Freedom Mortg. Corp. (In re Burch),
835 F. App’x 741 (5th Cir. 2021) ...............................................................................................18

Celotex Corp. v. Edwards,
 514 U.S. 300 (1995) .................................................................................................................15

Chalmers v. Gavin,
 No. 3:01-CV-528-H, 2002 U.S. Dist. LEXIS 5636 (N.D. Tex., Apr. 2, 2002) ......................15

Coho Oil & Gas, Inc. v. Finley Res., Inc. (In re Coho Energy, Inc.),
 309 B.R. 217 (Bankr. N.D. Tex. 2004) ....................................................................................14

Davis v. Dall. Area Rapid Transit,
 383 F.3d 309 (5th Cir. 2004) ...................................................................................................15

Davis v. Life Inv’rs Ins. Co. of Am.,
 282 B.R. 186 (S.D. Miss.2002) ................................................................................................10

Faulkner v. Eagle View Capital Mmgt. (In re The Heritage Org., L.L.C.),,
 454 B.R. 353 (Bankr. N.D. Tex. 2011) ....................................................................................13

Faulkner v. Kornman,
 No. 10-301, 2015 Bankr. LEXIS 700 (Bankr. S.D. Tex. 2015) ..............................................14

Feld v. Zale Corp. (In re Zale Corp.),
 62 F.3d 746 (5th Cir.1995) ......................................................................................................12


                                                                    ii

000779
Case
 Case3:21-cv-00842-B
       3:21-cv-00842-BDocument
                       Document4336Filed
                                     Filed
                                         07/13/21
                                           06/29/21 Page
                                                     Page783
                                                           4 of
                                                             of26
                                                                852PageID
                                                                    PageID1709
                                                                           2688



Gupta v. Quincy Med. Ctr.,
 858 F.3d 657 (1st Cir. 2017) ............................................................................................ 11-124

In re Cont’l Airlines Corp.,
  50 B.R. 342 (S.D. Tex. 1985), aff’d, 790 F.2d 5th Cir. 1986) ...................................................4

In re Exide Techs.,
  544 F.3d 196 (3d Cir. 2008).....................................................................................................10

In re Harrah’s Entm’t,
  No. 95-3925, 1996 U.S. Dist. LEXIS 18097 (E.D. La. 1996) .....................................1, 5, 9, 19

In re IQ Telecomms., Inc.,
  70 B.R. 742 (N.D. Ill. 1987) ......................................................................................................6

In re Nat’l Gypsum Co.,
 134 B.R. 188 (N.D. Tex. 1991)...................................................................................................8

In re Pegasus Gold Corp.,
  394 F.3d 1189 (9th Cir. 2005) .................................................................................................14

Investor Prot. Corp. v. Bernard L. Madoff Inv. Sec. LLC,
  454 B.R. 307 (S.D.N.Y. 2011)............................................................................................... 3-4

Kuzmin v. Thermaflo, Inc.,
 No. 2:07-cv-00554-TJW, 2009 U.S. Dist. LEXIS 42810
 (E.D. Tex. May 20, 2009) .................................................................................................. 16-17

Legal Xtranet, Inc. v. AT&T Mgmt. Servx., l.P. (In re Legal Xtranet, Inc.),
 453 B.R. 699, 708–09 (Bankr. W.D. Tex. 2011) ...............................................................10, 11

LightSquared Inc. v. Deere & Co.,
  2014 U.S. Dist. LEXIS 14752 (S.D.N.Y. 2014) .................................................................... 3-4

Memphis-Shelby Cty. Airport Auth. v. Braniff Airways, Inc. (In re Braniff Airways, Inc).,
 783 F.2d 1283 (5th Cir. 1986) .................................................................................................15

Montana v. Goldin (In re Pegasus Gold Corp.),
 394 F.3d 1189 (9th Cir. 2005) ..................................................................................................14

Price v. Rochford,
 947 F.2d 829 (7th Cir. 1991) ...................................................................................................14

Rannd Res. v. Von Harten (In re Rannd Res.),
 175 B.R. 393 (D. Nev. 1994) ................................................................................................. 5-6



                                                                   iii

000780
Case
 Case3:21-cv-00842-B
       3:21-cv-00842-BDocument
                       Document4336Filed
                                     Filed
                                         07/13/21
                                           06/29/21 Page
                                                     Page784
                                                           5 of
                                                             of26
                                                                852PageID
                                                                    PageID1710
                                                                           2689



Reynolds v. Tombone,
 Civil No. 3:96-CV-3330-BC, 1999 U.S. Dist. LEXIS 9995
 (N.D. Tex., June 24, 1999).......................................................................................................15

Risby v. United States,
  No. 3:04-CV-1414-H, 2006 U.S. Dist. LEXIS 8798 (N.D. Tex. 2006) ..................................15

SEC v. Capital Gains Research Bureau, Inc.,
 375 U.S. 180, 84 S. Ct. 275 (1963) ............................................................................................6

S. Pac. Transp. Co. v. Voluntary Purchasing Grps.
  252 B.R. 373 (E.D. Tex. 2000) ..................................................................................................8

Stern v. Marshall,
  564 U.S. 462 (2011) ...........................................................................................................10, 13

Stoe v. Flaherty,
  436 F.3d 209 (3d Cir. 2006).....................................................................................................11

TMT Procurement Corp. v. Vantage Drilling Co. (In re TMT Procurement Corp.),
 764 F.3d 512 (5th Cir. 2014) ...............................................................................................3, 18

Travelers Indem. Co. v. Bailey,
 557 U.S. 137 (2009) .................................................................................................................15

Travelers Ins. Co. v. St. Jude Hosp.,
 37 F.3d 193 (5th Cir. 1994) .....................................................................................................15

Triad Guar. Ins. v. Am. Home Mortg. Inv. Corp. (In re Am. Home Mortg. Holding),
 477 B.R. 517 (Bankr. D. Del. 2012) ........................................................................................14

TXMS Real Estate Invs., Inc. v. Senior Care Ctrs., LLC (In re Senior Care Centers, LLC,
 622 B.R. 680 (Bankr. N.D. Tex. 2020) ....................................................................................10

UPH Holdings, Inc. v. sprint Nextel Corp.,
 No. A-13-CA-748-SS, 2013 U.S. Dist. LEXIS 189349
 (W.D. Tex. 2013) ................................................................................................................... 7-8

United States. Brass Corp. v. Travelers Ins. Grp., Inc. (In re United States Brass Corp.),
 301 F.3d 296 (5th Cir. 2002) ...................................................................................................10

Valley Historic Ltd. P'ship v. Bank of N.Y.,
 486 F.3d 831 (4th Cir. 2007) ...................................................................................................15

Wood v. Wood (In re Wood),
 825 F.2d 90 (5th Cir.1987) ......................................................................................................11

                                                                    iv

000781
Case
 Case3:21-cv-00842-B
       3:21-cv-00842-BDocument
                       Document4336Filed
                                     Filed
                                         07/13/21
                                           06/29/21 Page
                                                     Page785
                                                           6 of
                                                             of26
                                                                852PageID
                                                                    PageID1711
                                                                           2690



Zerand-Bernal Grp. v. Cox,
 23 F.3d 159 (7th Cir. 1994) -----------------------------------------------------------------------------15

Rules & Statutes

Fed. R. Civ. P. 12(b)(6)...............................................................................................................18

LRCi 3.3................................................................................................................................16, 17

LRCi 7(a) ....................................................................................................................................17

LRCi 7(h) ....................................................................................................................................17

LRCi 7(i) .....................................................................................................................................17

LRCi 7.1(i) ..................................................................................................................................17

17 C.F.R. 275.206(4)-7 .................................................................................................................7

27 C.F.R. part 275 .........................................................................................................................7

15 U.S.C. § 80b-1 .........................................................................................................................8

28 U.S.C. § 157(d) .............................................................................................................6,18, 19

28 U.S.C. § 1927 .........................................................................................................................18

Other

Collier on Bankruptcy ¶ 3.02[2] (16th ed. 2010) ........................................................................13

Investment Advisers Act of 1940 ....................................................................................... passim

Investment Advisers Act Release No. 2106 (Jan. 31, 2003) ........................................................7

Investment Advisers Act Release No. 3060 (July 28, 2010) ........................................................7

Investment Advisers Act Release No. 4197 (Sept. 17, 2015) .......................................................7

Racketeer Influenced and Corrupt Organizations Act (RICO) ........................................... passim

Securities Act of 1933, § 12(2) .....................................................................................................6

Securities Exchange Act of 1934, § 10 .........................................................................................6

Securities Exchange Act, Rule 10b-5 ...........................................................................................6

                                                                         v

000782
Case
 Case3:21-cv-00842-B
       3:21-cv-00842-BDocument
                       Document4336Filed
                                     Filed
                                         07/13/21
                                           06/29/21 Page
                                                     Page786
                                                           7 of
                                                             of26
                                                                852PageID
                                                                    PageID1712
                                                                           2691



            PLAINTIFFS’ RESPONSE TO DEFENDANT HIGHLAND CAPITAL
             MANAGEMENT, L.P.’S MOTION FOR AN ORDER TO ENFORCE
                 THE ORDER OF REFERENCE AND CROSS MOTION


                                                   I.

                                  PRELIMINARY STATEMENT

         Plaintiffs The Charitable DAF Fund, L.P. and CLO Holdco Ltd. oppose Defendant

Highland Capital Management, L.P.’s Motion for an Order to Enforce the Order of Reference.

         This action primarily involves fiduciary duties imposed upon Registered Investment

Advisers by the Investment Advisers Act of 1940 (“Advisers Act”) and corresponding state law

claims for breach of those duties. It also involves causes of action under the civil RICO statute, for

which breaches of Advisers Act fiduciary duties serve as the predicate act. As a result, presiding

over this action will require extensive consideration of federal laws regulating interstate

commerce, which renders withdrawal of the reference to bankruptcy court mandatory under 28

U.S.C. § 157(d) (“The district court shall, on timely motion of a party, so withdraw a proceeding

if the court determines that resolution of the proceeding requires consideration of both title 11 and

other laws of the United States regulating organizations or activities affecting interstate

commerce.”).

         No authority requires this Court to refer this action to the bankruptcy court, only to have it

return on a motion for withdrawal of the reference. The opposite is true. In re Harrah’s Entm’t,

No. 95-3925, 1996 U.S. Dist. LEXIS 18097, at *11 (E.D. La. 1996) (Clement, J.) (“Although

‘related to’ bankruptcy jurisdiction exists over the non-debtor plaintiffs’ non-bankruptcy federal

securities claims against non-debtor defendants, placing that bankruptcy jurisdiction in the

bankruptcy court is inappropriate because plaintiffs would be entitled to a mandatory withdrawal

______________________________________________________________________________
Plaintiffs’ Response to Defendant’s Motion for an Order to Enforce
the Order of Reference and Cross Motion                                  Page 1

000783
Case
 Case3:21-cv-00842-B
       3:21-cv-00842-BDocument
                       Document4336Filed
                                     Filed
                                         07/13/21
                                           06/29/21 Page
                                                     Page787
                                                           8 of
                                                             of26
                                                                852PageID
                                                                    PageID1713
                                                                           2692



of the reference. Rather than waste judicial resources on a meaningless referral to bankruptcy

court, the Court will retain jurisdiction over this suit.” (emphasis added)). Defendant’s arguments

to the contrary are unsupported by law.

         Defendant’s attempts to smear Plaintiffs with 12 pages of irrelevant facts and a 926-page

appendix provide no additional support for the Motion. This action involves matters well outside

the experience of bankruptcy courts and requires adjudication in an Article III court.

         Because the reasons for denying Defendant’s Motion are also reasons that this Court should

withdraw the reference under 28 U.S.C. § 157(d), and because deciding the same issue twice would

be inefficient and unnecessary, Plaintiffs cross-move for withdrawal of the reference.

                                                 II.

                                          BACKGROUND

         Defendant’s factual assertions include considerable bluster and vitriol, unsupported by the

lengthy materials in its appendix. Importantly, the opening sentence under the heading “Factual

Background” is unsupported and false. Memorandum of Law [Doc. 23] ¶ 7. Plaintiffs are not

controlled or directed by James Dondero; Plaintiffs are both controlled and directed by Mark

Patrick. APP_16-17, 22; see also APP_10-14; see generally APP_1-22. And Patrick’s testimony

to this extent went unchallenged in a hearing before the bankruptcy court earlier this month. Id.

         Of equal importance is Defendant’s assertion that all aspects of the Harbourvest settlement,

including the valuation of the assets involved, were fully disclosed. Memorandum of Law [Doc.

23] ¶ 12. This statement is unsupported by the appendix cite accompanying it, which at most

constitutes a self-serving denial. And it is a hotly contested issue between the parties. The impetus

to this action, in fact, was Plaintiffs having learned that the value of the assets transferred in the

Harbourvest settlement was not as represented. Original Complaint (“Complaint” [Doc. 1]), ¶¶ 36-
______________________________________________________________________________
Plaintiffs’ Response to Defendant’s Motion for an Order to Enforce
the Order of Reference and Cross Motion                                                  Page 2

000784
Case
 Case3:21-cv-00842-B
       3:21-cv-00842-BDocument
                       Document4336Filed
                                     Filed
                                         07/13/21
                                           06/29/21 Page
                                                     Page788
                                                           9 of
                                                             of26
                                                                852PageID
                                                                    PageID1714
                                                                           2693



48. Plaintiffs disagree with much of the remainder of what Defendant presents as “fact” in its

Memorandum of Law. But Plaintiffs respectfully submit that none of it is relevant to resolution of

the present Motion. And so, for brevity’s sake, Plaintiffs have not elected to engage in a blow-by-

blow effort to litigate those issues.

         Instead, Plaintiffs’ brief will focus on the nature of their causes of action as that pertains to

which court—district or bankruptcy—should preside over them.

                                                   III.

                                   ARGUMENT & AUTHORITY

         Plaintiffs respectfully submit that Defendant’s Motion should be denied and Plaintiffs’

cross-motion granted for the reasons provided below:

A. The Motion Should Be Denied Because Withdrawal of the Reference Is Mandatory

         Because the Complaint relies extensively on and largely is predicated on the Investment

Advisers Act of 1940, withdrawal of the reference to the bankruptcy court is mandatory here under

28 U.S.C. § 157(d). That statute requires withdrawal of the reference when a proceeding “requires

consideration” of non-bankruptcy federal laws regulating interstate commerce:

             The district court may withdraw, in whole or in part, any case or proceeding
             referred under this section, on its own motion or on timely motion of any
             party, for cause shown. The district court shall, on timely motion of a party,
             so withdraw a proceeding if the court determines that resolution of the
             proceeding requires consideration of both title 11 and other laws of the
             United States regulating organizations or activities affecting interstate
             commerce.

28 U.S.C. § 157(d); cf. TMT Procurement Corp. v. Vantage Drilling Co. (In re TMT Procurement

Corp.), 764 F.3d 512, 523 & n.40 (5th Cir. 2014) (noting bankruptcy court’s “more limited

jurisdiction” as a result of its “limited power” under 28 U.S.C. § 157); LightSquared Inc. v. Deere

& Co., 2014 U.S. Dist. LEXIS 14752 (S.D.N.Y. 2014) (quoting Investor Prot. Corp. v. Bernard
______________________________________________________________________________
Plaintiffs’ Response to Defendant’s Motion for an Order to Enforce
the Order of Reference and Cross Motion                                              Page 3

000785
Case
 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                36 Filed
                                    Filed07/13/21
                                          06/29/21 Page
                                                    Page789
                                                         10 of 26
                                                               852 PageID
                                                                    PageID1715
                                                                           2694



L. Madoff Inv. Sec. LLC, 454 B.R. 307, 312 (S.D.N.Y. 2011), for the proposition that, “[i]n

determining whether withdrawal is mandatory, the Court ‘need not evaluate the merits of the

parties’ claims; rather, it is sufficient for the Court to determine that the proceeding will involve

consideration of federal non-bankruptcy law’”); In re Cont’l Airlines Corp., 50 B.R. 342, 360 (S.D.

Tex. 1985), aff’d, 790 F.2d 5th Cir. 1986) (“While that second clause [of § 157(d)] might not apply

when some ‘other law’ only tangentially affects the proceeding, it surely does apply when federal

labor legislation will likely be material to the proceeding’s resolution.”) (emphasis added).

         Plainly here, the claims in the Complaint at least involve federal laws “regulating

organizations or activities affecting interstate commerce.” The Advisers Act and the RICO statute

are such laws, and at least the first and fourth counts of the Complaint sound under them. See, e.g.,

Complaint ¶¶ 57 & n.5, 66, 69, 74 & n.6, 89 (explicitly invoking various provisions of the Advisers

Act and accompanying regulations), 114, 117, 131, 132 (invoking the RICO statute). Defendant’s

entire argument against withdrawal of the reference thus turns on whether these laws “must be

considered.”

         It is remarkable that Defendant suggests these statutes need not be considered. The briefing

already puts at issue significant, hotly contested issues regarding the interplay of bankruptcy law

and the Advisers Act, including

    1. Whether Defendant owed fiduciary duties under the Advisers Act that are
       unwaivable;

    2. To whom such duties are owed and whether they were violated;

    3. Whether such Advisers Act fiduciary duties can be terminated by a blanket release
       in a bankruptcy settlement;

    4. Whether res judicata applies to bar claims for breach of Advisers Act duties that
       had not yet accrued at the time of the action alleged to have barred them;

______________________________________________________________________________
Plaintiffs’ Response to Defendant’s Motion for an Order to Enforce
the Order of Reference and Cross Motion                                  Page 4

000786
Case
 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                36 Filed
                                    Filed07/13/21
                                          06/29/21 Page
                                                    Page790
                                                         11 of 26
                                                               852 PageID
                                                                    PageID1716
                                                                           2695



    5. Whether a contractual jury waiver is enforceable as to claims for breach of
       unwaivable Advisers Act fiduciary duties;

    6. Whether such waivers can be enforced as to non-parties to the waiver;

    7. Whether breach of Advisers Act fiduciary duties can serve as a predicate for civil
       RICO liability under the RICO statute, among other significant legal issues.

Presiding over this action most certainly will require consideration of all these issues.

         Before joining the Fifth Circuit, Judge Clement addressed a motion similar to Defendant’s

during her time in the Eastern District of Louisiana. There, in In re Harrah’s Entm’t, 1996 U.S.

Dist. LEXIS 18097, at *7-8 (E.D. La. 1996), she denied a motion to refer a federal securities action

to bankruptcy court, despite finding that the bankruptcy court had related-to jurisdiction. Judge

Clement wrote,

              Although “related to” bankruptcy jurisdiction exists over the non-debtor
              plaintiffs’ non-bankruptcy federal securities claims against non-debtor
              defendants, placing that bankruptcy jurisdiction in the bankruptcy court is
              inappropriate because plaintiffs would be entitled to a mandatory
              withdrawal of the reference. Rather than waste judicial resources on a
              meaningless referral to bankruptcy court, the Court will retain jurisdiction
              over this suit.

Id. at *11.

         Judge Clement rejected the argument Defendant parrots here that the case would “only

involve the simple application of established federal securities laws.” Id. at *7. Instead, she relied

on alleged “violations of several federal securities laws” and the plaintiff’s attempt “to hold

defendants directly liable and secondarily liable based on a ‘controlling person’ theory for certain

acts and omissions.” Id. Without any need to analyze how “established” the applicable law might

be, Judge Clement concluded, [t]his federal securities litigation involves more than simple

application of federal securities laws and will be complicated enough to warrant mandatory

withdrawal under § 157(d).” Id. (citing Rannd Res. v. Von Harten (In re Rannd Res.), 175 B.R.
______________________________________________________________________________
Plaintiffs’ Response to Defendant’s Motion for an Order to Enforce
the Order of Reference and Cross Motion                                                Page 5

000787
Case
 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                36 Filed
                                    Filed07/13/21
                                          06/29/21 Page
                                                    Page791
                                                         12 of 26
                                                               852 PageID
                                                                    PageID1717
                                                                           2696



393, 396 (D. Nev. 1994), for the proposition that withdrawal of the reference is mandatory where

resolution requires more than simple application of federal securities laws, even though that court’s

determination was based solely on a review of the complaint’s alleged violations of § 12(2) of the

Securities Act of 1933, § 10 of the Securities Exchange Act of 1934, and Rule 10b-5).

         This authority applies here. In the Complaint, Plaintiffs allege violations of federal

securities law (the Advisers Act), as well as the RICO statute. Deciding even the pending motion

to dismiss will require far more than simple application of these laws. Nothing more is necessary

to satisfy § 157(d). Cf. In re IQ Telecomms., Inc., 70 B.R. 742, 745 (N.D. Ill. 1987) (“Nevertheless,

Central’s second amended complaint easily meets [the § 157(d)] standard. Count 2 of the

complaint consists of 76 pages and alleges that 29 individuals and entities violated RICO by

engaging in a pattern of mail fraud, 18 U.S.C. § 1341, wire fraud, 18 U.S.C. § 1343, and 139

specific instances of bankruptcy fraud, 18 U.S.C. § 152.”).

         Although it is unnecessary here to demonstrate that Plaintiffs’ Advisers Act allegations

will require application of underdeveloped law, that is certainly the case. As the Third Circuit

pointed out in 2013, there is considerable “confusion” in the case law stemming from the fact that

federal law (the Advisers Act) provides “the duty and the standard to which investment advisers

are to be held,” but “the cause of action is presented as springing from state law.” Belmont v. MB

Inv. Partners, Inc., 708 F.3d 470, 502 (3d Cir. 2013). The Belmont court further suggests the

“confusion [that this situation] engenders may explain why there has been little development in

either state or federal law on the applicable standards.” Id. (emphasis added). “Half a century

later,” the Belmont court tells us, “courts still look primarily to Capital Gains Research [,Inc., 375

U.S. 180, 192 (1963),] for a description of an investment adviser’s fiduciary duties.” Id. at 503;


______________________________________________________________________________
Plaintiffs’ Response to Defendant’s Motion for an Order to Enforce
the Order of Reference and Cross Motion                                  Page 6

000788
Case
 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                36 Filed
                                    Filed07/13/21
                                          06/29/21 Page
                                                    Page792
                                                         13 of 26
                                                               852 PageID
                                                                    PageID1718
                                                                           2697



see also Plaintiffs’ Response to Motion to Dismiss (addressing Defendant’s erroneous argument

that the Advisers Act creates no private right of action).

         This observation is bolstered by the necessity of relying extensively on SEC regulations

and rulings in the Complaint. See Complaint ¶ 57 & n.5 (invoking Investment Advisers Act

Release Nos. 3060 (July 28, 2010), and 2106 (Jan. 31, 2003), 66 (17 C.F.R. 275.206(4)-7), 69 (27

C.F.R. part 275 and Rule 10b5-1), 74 & n.6 (Advisers Act Release No. 4197 (Sept. 17, 2015)).

         None of the cases Defendant cites even remotely suggests that this type of complicated

litigation involving underdeveloped securities laws does not require “consideration” of federal

laws. In its lead case, Beta Operating Co., LLC v. Aera Energy, LLC (In re Mem’l Prod. Partners,

L.P.), No. H-18-411, 2018 U.S. Dist. LEXIS 161159 (S.D. Tex. 2018), the court only held that a

state-law contract claim did not require substantial reliance on federal law merely because it

involved a trust created under federal law (the OCSLA). Id. at *16-17. Moreover, the court’s

determination appears to have relied primarily, if not solely, on the fact that the bankruptcy court

had already submitted a memorandum opinion on the defendant’s summary judgment motion,

disposing of the case without the need to rely on non-bankruptcy federal law. Id. at *14-15, 17.

         Next, Defendant cites UPH Holdings, Inc. v. Sprint Nextel Corp., No. A-13-CA-748-SS,

2013 U.S. Dist. LEXIS 189349 (W.D. Tex. 2013), which is, at most, only slightly on point. There,

the court declined to withdraw the reference with regard to a turnover action under the Bankruptcy

Code, with little analysis other than having repeated the parties’ arguments. Thus, it is difficult to

draw any significance from the decision. But the court seems to rely on the fact that “the primary

dispute center[ed] around the existence of a ‘regulatory black hole,’ a span of time during which

the rules concerning how to set [a telecom] intercarrier compensation rate were left undetermined.”

Id. at *6. And for that reason, the court seemed to believe there was little non-bankruptcy federal
______________________________________________________________________________
Plaintiffs’ Response to Defendant’s Motion for an Order to Enforce
the Order of Reference and Cross Motion                                                     Page 7

000789
Case
 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                36 Filed
                                    Filed07/13/21
                                          06/29/21 Page
                                                    Page793
                                                         14 of 26
                                                               852 PageID
                                                                    PageID1719
                                                                           2698



law to consider. Id. at 7. Here, in contrast, the causes of action do not arise under the Bankruptcy

Code, and there is an extensive regulatory scheme that, plainly, must be considered.

         The other cases Defendant cites add little to the analysis, except that S. Pac. Transp. Co. v.

Voluntary Purchasing Gps, 252 B.R. 373, 382 (E.D. Tex. 2000), holds against Defendant’s

position, having determined that even the court’s “limited” role in approving a CERCLA

settlement “necessarily involves the substantial and material consideration of CERCLA and not

merely its straightforward application to the facts of this case.” Id. at 384. The court’s reason for

this conclusion: its decision “will require the court to examine the unique facts of the case in light

of those CERCLA provisions which create the causes of action at issue.” Id. Of course, the same

examination will be necessary here.

         Notably, in S. Pac. Transp., the court also stated, “[i]t is well settled that CERCLA is a

statute “‘rooted in the commerce clause’ and is precisely ‘the type of law . . . Congress had in mind

when it enacted the statutory withdrawal provision [in § 157(d)].’” Id. at 382 (quoting In re Nat’l

Gypsum Co., 134 B.R. 188, 191 (N.D. Tex. 1991), (alterations in original)). The court could just

as easily have been talking about the Advisers Act. See 15 U.S.C. § 80b-1 (“Upon the basis of

facts disclosed by the record and report of the Securities and Exchange Commission made pursuant

to section 30 of the Public Utility Holding Company Act of 1935, and facts otherwise disclosed

and ascertained, it is hereby found that investment advisers are of national concern, in that, among

other things—(1) their advice, counsel, publications, writings, analyses, and reports are furnished

and distributed, and their contracts, subscription agreements, and other arrangements with clients

are negotiated and performed, by the use of the mails and means and instrumentalities of interstate

commerce; (2) their advice, counsel, publications, writings, analyses, and reports customarily

relate to the purchase and sale of securities traded on national securities exchanges and in interstate
______________________________________________________________________________
Plaintiffs’ Response to Defendant’s Motion for an Order to Enforce
the Order of Reference and Cross Motion                                                         Page 8

000790
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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                36 Filed
                                    Filed07/13/21
                                          06/29/21 Page
                                                    Page794
                                                         15 of 26
                                                               852 PageID
                                                                    PageID1720
                                                                           2699



over-the-counter markets, securities issued by companies engaged in business in interstate

commerce, and securities issued by national banks and member banks of the Federal Reserve

System; and (3) the foregoing transactions occur in such volume as substantially to affect interstate

commerce, national securities exchanges, and other securities markets, the national banking

system and the national economy.”).

         In sum, the Complaint alleges violations of non-bankruptcy federal law. In presiding over

the case—indeed, in addressing the currently pending Motion to Dismiss—this Court will have to

substantially and materially consider those laws and their interplay with bankruptcy law. Under

§ 157(d), this requires withdrawal of the reference, and Defendant’s motion should be denied.

B. Automatic Referral Is Unnecessary and Would Be Inefficient

         As noted previously, Judge Clement’s ruling in In re Harrah’s Entm’t, 1996 U.S. Dist.

LEXIS 18097 (E.D. La. 1996), establishes that reference to the bankruptcy court—only to have

the reference withdrawn—is unnecessary:

            Although “related to” bankruptcy jurisdiction exists over the non-debtor
            plaintiffs’ non-bankruptcy federal securities claims against non-debtor
            defendants, placing that bankruptcy jurisdiction in the bankruptcy court is
            inappropriate because plaintiffs would be entitled to a mandatory
            withdrawal of the reference. Rather than waste judicial resources on a
            meaningless referral to bankruptcy court, the Court will retain jurisdiction
            over this suit.

Id. at *11 (emphasis added).

         Defendant nonetheless argues this Court must do precisely that. Plaintiffs submit this is

both wrong and tenuous, because at this stage of the bankruptcy proceedings—post confirmation—

it is unclear that the bankruptcy court has jurisdiction at all.




______________________________________________________________________________
Plaintiffs’ Response to Defendant’s Motion for an Order to Enforce
the Order of Reference and Cross Motion                                  Page 9

000791
Case
 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                36 Filed
                                    Filed07/13/21
                                          06/29/21 Page
                                                    Page795
                                                         16 of 26
                                                               852 PageID
                                                                    PageID1721
                                                                           2700



         1. The causes of action asserted by the Plaintiffs do not “arise under,” or “arise in”
            Title 11 and are not “core” proceedings.

         In the Complaint, Plaintiffs do not seek relief that would undo or reverse any settlement

approved by the bankruptcy court. Neither do they attempt an end run around the provisions of

any approval, Defendant’s protestations notwithstanding. A proper jurisdictional analysis

demonstrates Plaintiffs’ causes of action asserted here are not core proceedings within the

bankruptcy court’s jurisdiction, for the reasons addressed below.

         First of all, “the ‘core proceeding’ analysis is properly applied not to the case as a whole,

but as to each cause of action within a case.” Legal Xtranet, Inc. v. AT&T Mgmt. Servs., L.P. (In

re Legal Xtranet, Inc.), 453 B.R. 699, 708–09 (Bankr. W.D. Tex. 2011); Davis v. Life Inv’rs Ins.

Co. of Am., 282 B.R. 186, 193 n. 4 (S.D. Miss.2002); see also In re Exide Techs., 544 F.3d 196,

206 (3d Cir. 2008) (“A single cause of action may include both core and non-core claims. The

mere fact that a non-core claim is filed with a core claim will not mean the second claim becomes

‘core.’”).

         Second, the Fifth Circuit has explained that “§ 157 equates core proceedings with the

categories of ‘arising under’ and ‘arising in’ proceedings; therefore, a proceeding is core under

section 157 if it invokes a substantive right provided by title 11[, it ‘arises under’ the Bankruptcy

Code,] or if it is a proceeding that, by its nature, could arise only in the context of a bankruptcy

case[, it ‘arises in’ a bankruptcy case].” United States. Brass Corp. v. Travelers Ins. Grp., Inc. (In

re United States Brass Corp.), 301 F.3d 296, 304 (5th Cir. 2002); TXMS Real Estate Invs., Inc. v.

Senior Care Ctrs., LLC (In re Senior Care Centers, LLC), 622 B.R. 680, 692–93 (Bankr. N.D.

Tex. 2020); Stern v. Marshall, 564 U.S. 462, 476 (2011).



______________________________________________________________________________
Plaintiffs’ Response to Defendant’s Motion for an Order to Enforce
the Order of Reference and Cross Motion                                 Page 10

000792
Case
 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                36 Filed
                                    Filed07/13/21
                                          06/29/21 Page
                                                    Page796
                                                         17 of 26
                                                               852 PageID
                                                                    PageID1722
                                                                           2701



         Third, none of the Plaintiffs’ five causes of action—breach of fiduciary duty under the

Advisers Act, breach of contract related to the HCLOF Company Agreement, negligence, RICO,

and tortious interference—arise under title 11. That is, none of the substantive rights of recovery

are created by federal bankruptcy law. And plainly so. Because “[a]rising under’ jurisdiction [only]

involve[s] cause[s] of action created or determined by a statutory provision of title 11,” this is

indisputably the case. Wood v. Wood (In re Wood), 825 F.2d 90, 97 (5th Cir.1987) (noting that a

proceeding does not “arise under” Title 11 if it does not invoke a substantive right, created by

federal bankruptcy law, that could not exist outside of bankruptcy).

         Fourth and finally, for similar reasons, none of Plaintiffs’ causes of action “arise in” a

bankruptcy case. “Claims that ‘arise in’ a bankruptcy case are claims that by their nature, not their

particular factual circumstance, could only arise in the context of a bankruptcy case.” Legal

Xtranet, Inc., 453 B.R. at 708–09 (emphasis added) (citing Stoe v. Flaherty, 436 F.3d 209, 216 (3d

Cir. 2006). Defendants contend that, because the factual circumstances giving rise to the causes of

action included the HarbourVest Settlement, which was approved by the bankruptcy court, this

somehow transforms these causes of action into core claims. See Memorandum of Law ¶ 36. But

it is the nature of the causes of action that determines whether they are core, not their “particular

factual circumstance.”

         To illustrate the point, in Gupta v. Quincy Med. Ctr., 858 F.3d 657, 660 (1st Cir. 2017), the

bankruptcy court issued a sale order which approved an asset purchase agreement whereby the

purchaser became obligated to make certain payments to employees. The purchaser failed to make

these payments so the employees sued the purchaser in bankruptcy court, and the bankruptcy

rendered a judgment in favor of the employees. On appeal, the district court concluded that the

bankruptcy court lacked subject matter jurisdiction over the claims—claims plainly related to and
______________________________________________________________________________
Plaintiffs’ Response to Defendant’s Motion for an Order to Enforce
the Order of Reference and Cross Motion                                                  Page 11

000793
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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                36 Filed
                                    Filed07/13/21
                                          06/29/21 Page
                                                    Page797
                                                         18 of 26
                                                               852 PageID
                                                                    PageID1723
                                                                           2702



existing only because of the approved sale order that gave rise to them. The First Circuit affirmed,

explaining as follows:

         [T]he fact that a matter would not have arisen had there not been a bankruptcy case
         does not ipso facto mean that the proceeding qualifies as an ‘arising in’ proceeding.
         Instead, the fundamental question is whether the proceeding by its nature, not its
         particular factual circumstance, could arise only in the context of a bankruptcy
         case. In other words, it is not enough that Appellants’ claims arose in the context
         of a bankruptcy case or even that those claims exist only because Debtors
         (Appellants’ former employer) declared bankruptcy; rather, “arising in”
         jurisdiction exists only if Appellants’ claims are the type of claims that can only
         exist in a bankruptcy case.

Id. at 664–65 (emphasis added).

         Like the claims in Gupta, the Plaintiffs’ causes of action here arose in the context of a

transaction approved in a bankruptcy case. But obviously, the causes of action are not “the type of

claims that can only exist in a bankruptcy case.” And that ends the analysis. Because Plaintiffs’

causes of action do arise under the Bankruptcy Code, and because they are not claims that could

only arise in the context of bankruptcy, this action is not a core proceeding.

         2. The Bankruptcy Court has limited post-confirmation “related to” jurisdiction.

         Plaintiffs do not contest that this action is related to the bankruptcy case in some fashion.

That is why they amended the Civil Cover Sheet to note the bankruptcy matter. But “related to”

jurisdiction is a term of art with differing requirements depending on the status of the bankruptcy

case. In its current, post-confirmation status, Plaintiffs submit that the bankruptcy court lacks even

“related to” jurisdiction over this action.

         “Related to” jurisdiction is meant to avoid piecemeal adjudication and promote judicial

economy by aiding in the efficient and expeditious resolution of all matters connected to the

debtor’s estate. See Feld v. Zale Corp. (In re Zale Corp.), 62 F.3d 746, 752 (5th Cir.1995).

Importantly, proceedings merely “related to” a case under title 11 are considered “non-core”
______________________________________________________________________________
Plaintiffs’ Response to Defendant’s Motion for an Order to Enforce
the Order of Reference and Cross Motion                                              Page 12

000794
Case
 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                36 Filed
                                    Filed07/13/21
                                          06/29/21 Page
                                                    Page798
                                                         19 of 26
                                                               852 PageID
                                                                    PageID1724
                                                                           2703



proceedings. Stern, 564 U.S. at 477; Collier on Bankruptcy ¶ 3.02[2], p. 3–26, n.5 (16th ed. 2010)

(“The terms ‘non-core’ and ‘related’ are synonymous.”). The jurisdictional standard for related to

jurisdiction varies depending on whether the proceeding at issue was commenced pre or post

confirmation. See Beitel v. OCA, Inc. (In re OCA, Inc.), 551 F.3d 359, 367 at n.10 (5th Cir. 2008).

And “after confirmation of a reorganization plan, a stricter post-confirmation standard applies.”

See Bank of La. v. Craig’s Stores of Tex., Inc. (In re Craig’s Stores of Tex., Inc.), 266 F.3d 388,

390–91 (5th Cir.2001) (explaining this distinction).

         Essentially, “after a debtor’s reorganization plan has been confirmed, the debtor’s estate,

and thus bankruptcy jurisdiction, ceases to exist, other than for matters pertaining to the

implementation or execution of the plan.” Id. 266 F.3d at 390; Faulkner v. Eagle View Capital

Mmgt. (In re The Heritage Org., L.L.C.), 454 B.R. 353, 358 (Bankr. N.D. Tex. 2011).

         Here, on February 22, 2021, the Bankruptcy Court entered the Order (I) Confirming the

Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (as Modified) and

(II) Granting Related Relief [Bankruptcy Court Dkt. No. 1943]. The Complaint was filed on April

12, 2021. Thus, the proceeding was commenced post confirmation.

         Defendant does not argue that this action involves “matters pertaining to the

implementation or execution of the plan,” as required under Craig’s Stores. It does not even cite

to that authority. Certainly Plaintiffs can think of no way that their action affects plan

implementation or execution. Thus, it seems, Defendant’s argument for bankruptcy court

jurisdiction fails entirely.

         While Defendant does argue that the bankruptcy court has “related to” jurisdiction as a

result of a judgment potentially reducing available cash to pay creditors under the Confirmed Plan,

Memorandum of Law ¶ 39, this is precisely the argument that the Fifth Circuit rejected in Craig’s
______________________________________________________________________________
Plaintiffs’ Response to Defendant’s Motion for an Order to Enforce
the Order of Reference and Cross Motion                                                   Page 13

000795
Case
 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                36 Filed
                                    Filed07/13/21
                                          06/29/21 Page
                                                    Page799
                                                         20 of 26
                                                               852 PageID
                                                                    PageID1725
                                                                           2704



Stores. See Coho Oil & Gas, Inc. v. Finley Res., Inc. (In re Coho Energy, Inc.), 309 B.R. 217, 220

(Bankr. N.D. Tex. 2004) (recognizing the rejection of this argument). As the Fifth Circuit

explained: “while Craig’s insists that the status of its contract with the Bank will affect its

distribution to creditors under the plan, the same could be said of any other post-confirmation

contractual relations in which Craig’s is engaged.” 266 F.3d at 391. And that type of effect does

not meet the threshold for post-confirmation related-to jurisdiction.

         Defendant also contends that there is post-confirmation “related to” jurisdiction because

the lawsuit will delay payments to creditors under the Confirmed Plan. Id. But this is just a re-

packaged reduction-in-assets argument. The same would be true of any post-confirmation lawsuit

against Defendant and does not meet the “more exacting theory of post-confirmation bankruptcy

jurisdiction” required by Craig’s Stores.

         Defendant may argue that the bankruptcy court’s confirmation order has not yet gone

effective due to having been appealed. But even if this distinction matters, at minimum, there ought

to be a sliding scale toward narrower application of “related to” jurisdiction once the bankruptcy

court has issued a final confirmation order. See Montana v. Goldin (In re Pegasus Gold Corp.),

394 F.3d 1189, 1194 (9th Cir. 2005) (stating “post-confirmation bankruptcy court jurisdiction is

necessarily more limited than pre-confirmation jurisdiction, and … the Pacor formulation [used

to analyze related-to jurisdiction] may be somewhat overbroad in the post-confirmation context”);

Faulkner v. Kornman, No. 10-301, 2015 Bankr. LEXIS 700 (Bankr. S.D. Tex. 2015) (stating “[t]he

general rule is that post-confirmation subject matter jurisdiction is limited”); Triad Guar. Ins. v.

Am. Home Mortg. Inv. Corp (In re Am. Home Mortg. Holding), 477 B.R. 517, 529-30 (Bankr. D.

Del. 2012) (stating “[a]fter confirmation… the test for ‘related to ’jurisdiction becomes more


______________________________________________________________________________
Plaintiffs’ Response to Defendant’s Motion for an Order to Enforce
the Order of Reference and Cross Motion                                 Page 14

000796
Case
 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                36 Filed
                                    Filed07/13/21
                                          06/29/21 Page
                                                    Page800
                                                         21 of 26
                                                               852 PageID
                                                                    PageID1726
                                                                           2705



stringent if the plaintiff files its action after the confirmation date”) (emphasis in original); cf.

rabbd

         v. Rochford, 947 F.2d 829, 832 n.1 (7th Cir. 1991) (noting that “after a bankruptcy is over,

it may well be more appropriate to bring suit in district court”).

         Finally, the retention of jurisdiction in the confirmed plan does nothing to alter the forgoing

analysis. Travelers Indem. Co. v. Bailey, 557 U.S. 137, 151 (2009). A bankruptcy court may not

“retain” jurisdiction it does not have. Celotex Corp. v. Edwards, 514 U.S. 300, 307 (1995).

“[N]either the parties nor the bankruptcy court can create § 1334 jurisdiction by simply inserting

a retention of jurisdiction provision in a plan of reorganization if jurisdiction otherwise is lacking.”

Valley Historic Ltd. P'ship. v. Bank of N.Y., 486 F.3d 831, 837 (4th Cir. 2007); see also Zerand–

Bernal Group, Inc. v. Cox, 23 F.3d 159, 164 (7th Cir. 1994) (“[O]rders approving [a] bankruptcy

sale [or] . . . plan of reorganization . . . [cannot] confer jurisdiction. A court cannot write its own

jurisdictional ticket.”).

C. The Res Judicata Argument Is Not Relevant to the Relief Sought in This Motion

         Defendant’s res-judicata argument does not belong in this Motion. It has no bearing on the

issue presented here. This is because, to begin with, res judicata is always addressed by the second

court in the second action. See, e.g., Memphis-Shelby Cty. Airport Auth. v. Braniff Airways, Inc.

(In re Braniff Airways, Inc)., 783 F.2d 1283 (5th Cir. 1986); Davis v. Dall. Area Rapid Transit,

383 F.3d 309 (5th Cir. 2004); Travelers Ins. Co. v. St. Jude Hosp., 37 F.3d 193 (5th Cir. 1994);

Applewood Chair Co. v. Three Rivers Planning & Dev. Dist. (In re Applewood Chair Co.), 203

F.3d 914 (5th Cir. 2000); Risby v. United States, No. 3:04-CV-1414-H, 2006 U.S. Dist. LEXIS

8798 (N.D. Tex. 2006); Chalmers v. Gavin, 2002 U.S. Dist. LEXIS 5636, 2002 WL 511512 (N.D.

Tex. Apr. 2, 2002); Reynolds v. Tombone, Civil No. 3:96-CV-3330-BC, 1999 U.S. Dist. LEXIS
______________________________________________________________________________
Plaintiffs’ Response to Defendant’s Motion for an Order to Enforce
the Order of Reference and Cross Motion                                            Page 15

000797
Case
 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                36 Filed
                                    Filed07/13/21
                                          06/29/21 Page
                                                    Page801
                                                         22 of 26
                                                               852 PageID
                                                                    PageID1727
                                                                           2706



9995 (N.D. Tex. June 24, 1999). Moreover, res judicata is not a basis for referring a matter to the

bankruptcy court, and Defendant offers no authority for the notion that it is.

         Instead of arguing that its res judicata affirmative defense should result in referral to the

bankruptcy court, Defendant argues that “the Complaint . . . must be dismissed on the basis of res

judicata. Memorandum of Law at 24; see also id. at 23 (subheading: “The Complaint Is Barred by

the Doctrine of Res Judicata”). But dismissal is the relief sought in Defendant’s pending Motion

to Dismiss, which raises the same res judicata arguments asserted here. Plaintiffs therefore will

address res judicata in their concurrently filed response to the Motion to Dismiss.

D. The Local Rule 3.3 Argument Is Unavailing

         Defendant argues that Plaintiffs failed to disclose the related bankruptcy case by omitting

it on the Civil Cover Sheet accompanying the Complaint, although Defendant does not request

that the Court take any action as a result of the omission.

         Plaintiffs submit that the omission was inadvertent, harmless, and has been corrected. The

omission was inadvertent in that Plaintiffs intended to identify the Highland bankruptcy on the

Civil Cover Sheet but inadvertently failed to do so and have since submitted an amended Civil

Cover Sheet correcting the error. [Doc. 33]. The omission was harmless because the Complaint

discloses both the bankruptcy and its relationship to the present action, a disclosure that was

supplemented by Plaintiffs’ Motion for Leave to Amend, which provides additional detail

regarding the related bankruptcy case and attaches two orders issued in that case. Complaint ¶¶

15-36; Motion for Leave and Exhibits [Docs. 6, 6-1, 6-2].

         Defendant refers the Court to Kuzmin v. Thermaflo., No. 2:07-cv-00554-TJW, 2009 U.S.

Dist. LEXIS 42810, at *4-7 (E.D. Tex. May 20, 2009), for the proposition that failing to disclose

a related case is a violation of the Local Rules. In Kuzmin, however, the plaintiff was faulted for
______________________________________________________________________________
Plaintiffs’ Response to Defendant’s Motion for an Order to Enforce
the Order of Reference and Cross Motion                                                    Page 16

000798
Case
 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                36 Filed
                                    Filed07/13/21
                                          06/29/21 Page
                                                    Page802
                                                         23 of 26
                                                               852 PageID
                                                                    PageID1728
                                                                           2707



numerous failings, including (1) the failure to submit a Civil Cover Sheet at all, (2) the failure,

upon receiving notice of the deficiency, to provide sufficient information for the clerk to identify

the related action, and (3) filing a third action without any information indicating it was related to

the previous two. Id. at *5. The court continued, finding that plaintiff’s counsel in that case had

also committed violations of the mandate for professionalism in the Texas Lawyer’s Creed by

failing to communicate about the filings with known counsel for the opposition. Id. at *6-12.

         Plaintiffs respectfully submit that the Kuzmin case is inapposite. Plaintiffs here did not fail

to submit a Civil Cover Sheet. They corrected the omission after it was brought to their attention,

and their original filing did disclose, in the text of the Complaint, the information that was

inadvertently omitted from the Civil Cover Sheet. Further, Plaintiffs here communicated promptly

with counsel for the Defendant regarding the action and the related bankruptcy case by asking the

Defendant’s counsel in the related action if they would accept service of the Complaint and

whether they objected to Plaintiffs’ Motion for Leave to Amend.

         These circumstances, Plaintiffs submit, do not rise to the level of a violation of Local Rule

3.3 or, alternatively, they constitute a harmless, corrected error at most. Plaintiffs ask the Court to

treat them as no worse than Defendant’s failure to include a certificate of conference with this

Motion (Local Rule 7(h)), or its failure to confer with Plaintiffs’ counsel before filing it (Local

Rule 7(a)), or its failure to paginate its appendix consecutively (Local Rule 7(i)).

         Finally, Plaintiffs submit that the omission complained of does not justify or even relate to

the relief sought in this Motion.




______________________________________________________________________________
Plaintiffs’ Response to Defendant’s Motion for an Order to Enforce
the Order of Reference and Cross Motion                                 Page 17

000799
Case
 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                36 Filed
                                    Filed07/13/21
                                          06/29/21 Page
                                                    Page803
                                                         24 of 26
                                                               852 PageID
                                                                    PageID1729
                                                                           2708



E. The Litigious-Nature Argument Is Likewise Unavailing

         Defendant’s claims regarding James Dondero’s litigiousness are likewise unconnected to

the relief they are requesting here. Dondero is not a party to this case. Neither does he control

either Plaintiff. APP_16-17.

         For this argument, Defendant relies solely on Burch v. Freedom Mortg. Corp. (In re

Burch), 835 F. App’x 741 (5th Cir. 2021), and 28 U.S.C. § 1927 (“Any attorney or other person . . .

who so multiples the proceedings in any case unreasonably and vexatiously may be required by

the court to satisfy personally the excess costs, expenses, and attorneys’ fees reasonably incurred

because of such conduct.”). Neither authority addresses whether jurisdiction appropriately lies here

or in the bankruptcy court. It appears that they are cited here merely to raise the specter of potential

sanctions.

         Plaintiffs respectfully submit that their claims here have merit and are not frivolous. And

Defendant’s contrary position can and should be addressed in connection with Defendant’s

pending motion under Rule 12(b)(6) rather than in connection with this Motion.

F. Plaintiffs’ Cross-Motion Should Be Granted

         For the same reasons Defendant’s Motion should be denied, Plaintiffs’ cross-motion should

be granted. Presiding over this action will require consideration of non-bankruptcy federal laws

regulating interstate commerce, as well as their interplay with the Bankruptcy Code. Thus, the

mandatory-withdrawal-of-the-reference provision of 28 U.S.C. § 157(d) applies.

         Moreover, the bankruptcy court’s jurisdiction is limited, both by § 157(d) and by plan

confirmation. See TMT Procurement Corp. v. Vantage Drilling Co. (In re TMT Procurement

Corp.), 764 F.3d 512, 523 & n.40 (5th Cir. 2014) (noting bankruptcy court’s “more limited

jurisdiction” as a result of its “limited power” under 28 U.S.C. § 157); Bank of La. v. Craig’s
______________________________________________________________________________
Plaintiffs’ Response to Defendant’s Motion for an Order to Enforce
the Order of Reference and Cross Motion                                                 Page 18

000800
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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                36 Filed
                                    Filed07/13/21
                                          06/29/21 Page
                                                    Page804
                                                         25 of 26
                                                               852 PageID
                                                                    PageID1730
                                                                           2709



Stores of Tex., Inc. (In re Craig’s Stores of Tex., Inc.), 266 F.3d 388, 390–91 (5th Cir.2001)

(explaining that, “after confirmation of a reorganization plan, a stricter post-confirmation standard

applies,” and “after a debtor’s reorganization plan has been confirmed, the debtor’s estate, and

thus bankruptcy jurisdiction, ceases to exist, other than for matters pertaining to the

implementation or execution of the plan.”).

          No authority requires this Court to refer this action to the bankruptcy court, only to have it

return on a motion for withdrawal of the reference. The opposite is true. In re Harrah’s Entm’t,

No. 95-3925, 1996 U.S. Dist. LEXIS 18097, at *11 (E.D. La. 1996) (Clement, J.). Thus, this Court

should deny Defendant’s Motion, withdraw the reference under § 157(d), and retain jurisdiction

over this action.

                                                   VI.

                                            CONCLUSION

          For all of these reasons, Plaintiffs respectfully submit Defendant’s Motion should be

denied.




______________________________________________________________________________
Plaintiffs’ Response to Defendant’s Motion for an Order to Enforce
the Order of Reference and Cross Motion                                 Page 19

000801
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 Case3:21-cv-00842-B
      3:21-cv-00842-B Document
                       Document43
                                36 Filed
                                    Filed07/13/21
                                          06/29/21 Page
                                                    Page805
                                                         26 of 26
                                                               852 PageID
                                                                    PageID1731
                                                                           2710



Dated: June 29, 2021                      Respectfully submitted,

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______________________________________________________________________________
Plaintiffs’ Response to Defendant’s Motion for an Order to Enforce
the Order of Reference and Cross Motion                                 Page 20

000802
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 806 of 852 PageID 2711



                             EXHIBIT 11




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CaseCase
     3:21-cv-00842-B
         3:21-cv-00842-B
                      Document
                         Document
                               43 Filed
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                                        07/13/21
                                           04/12/21Page
                                                     Page
                                                        8071of
                                                            of852
                                                               26 PageID
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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS

    CHARITABLE DAF FUND, L.P.          §
    and CLO HOLDCO, LTD.,              §
    directly and derivatively,         §
                                       §
                  Plaintiffs,          §
                                       §
                      v.               §                   Cause No. __________________________
                                       §
    HIGHLAND CAPITAL MANAGEMENT, §
    L.P. , HIGHLAND HCF ADVISOR, LTD., §
    and HIGHLAND CLO FUNDING, LTD., §
    nominally,                         §
                                       §
                 Defendants.           §



                                         ORIGINAL COMPLAINT


                                                      I.
                                              INTRODUCTION
           This action arises out of the acts and omissions of Defendant Highland Capital

Management, L.P. (“HCM”), which is the general manager of Highland HCF Advisor, Ltd.

(“HCFA”), both of which are registered investment advisers under the Investment Advisers Act of

1940 (the “Advisers Act”),1 and nominal Defendant Highland CLO Funding, Ltd. (“HCLOF”)

(HCM and HCFA each a “Defendant,” or together, “Defendants”). The acts and omissions which

have recently come to light reveal breaches of fiduciary duty, a pattern of violations of the

Advisers Act’s anti-fraud provisions, and concealed breaches of the HCLOF Company Agreement,

among others, which have caused and/or likely will cause Plaintiffs damages.




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    https://adviserinfo.sec.gov/firm/summary/110126



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     3:21-cv-00842-B
         3:21-cv-00842-B
                      Document
                         Document
                               43 Filed
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                                        07/13/21
                                           04/12/21Page
                                                     Page
                                                        8082of
                                                            of852
                                                               26 PageID
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         At all relevant times, HCM was headed by CEO and potential party James P. Seery

(“Seery”). Seery negotiated a settlement with the several Habourvest2 entities who owned 49.98%

of HCLOF. The deal had HCM (or its designee) purchasing the Harbourvest membership interests

in HCLOF for $22.5 million. Recent revelations, however, show that the sale was predicated upon

a sales price that was vastly below the Net Asset Value (“NAV”) of those interests. Upon

information and belief, the NAV of HCLOF’s assets had risen precipitously, but was not disclosed

to Harbourvest nor to Plaintiffs.

         Under the Advisers Act, Defendants have a non-waivable duty of loyalty and candor, which

includes its duty not to inside trade with its own investors, i.e., not to trade with an investor to

which HCM and Seery had access to superior non-public information. Upon information and

belief, HCM’s internal compliance policies required by the Advisers Act would not generally have

allowed a trade of this nature to go forward—meaning, the trade either was approved in spite of

compliance rules preventing it, or the compliance protocols themselves were disabled or amended

to a level that leaves Defendants HCM and HCLOF exposed to liability. Thus, Defendants have

created an unacceptable perpetuation of exposure to liability.

         Additionally, Defendants are liable for a pattern of conduct that gives rise to liability for

their conduct of the enterprise consisting of HCM in relation to HCFA and HCLOF, through a

pattern of concealment, misrepresentation, and violations of the securities rules. In the alternative,

HCFA and HCM, are guilty of self-dealing, violations of the Advisers Act, and tortious

interference by (a) not disclosing that Harbourvest had agreed to sell at a price well below the

current NAV, and (b) diverting the Harbourvest opportunity to themselves.



  2
   “Habourvest” refers to the collective of Harbourvest Dover Street IX Investment, L.P., Harbourvest
2017 Global AIF, L.P., Harbourvest 2017 lobal Fund, L.P., HV International VIII Secondary, L.P., and
Harbourvest Skew Base AIF, L.P. Each was a member of Defendant Highland CLO Funding, Ltd.

Original Complaint                                                                                Page 2
000805
CaseCase
     3:21-cv-00842-B
         3:21-cv-00842-B
                      Document
                         Document
                               43 Filed
                                  1 Filed
                                        07/13/21
                                           04/12/21Page
                                                     Page
                                                        8093of
                                                            of852
                                                               26 PageID
                                                                  PageID32714



         For these reasons, judgment should be issued in Plaintiffs’ favor.

                                                  II.
                                              PARTIES
         1.     Plaintiff CLO Holdco, Ltd. is a limited company incorporated under the laws of

the Cayman Islands.

         2.     Plaintiff Charitable DAF Fund, L.P., (“DAF”) is a limited partnership formed under

the laws of the Cayman Islands.

         3.     Defendant Highland Capital Management, L.P. is a limited partnership with its

principal place of business at 300 Crescent Court, Suite 700, Dallas, Texas 75201. It may be served

at its principal place of business or through its principal officer, James P. Seery, Jr., or through the

Texas Secretary of State, or through any other means authorized by federal or state law.

         4.     Defendant Highland HCF Advisor, Ltd. is a limited company incorporated under

the laws of the Cayman Islands. Its principal place of business is 300 Crescent Court, Suite 700,

Dallas, Texas 75201. It is a registered investment adviser (“RIA”) subject to the laws and

regulations of the Investment Advisers Act of 1940 (the “Adviser’s Act”). It is a wholly-owned

subsidiary of Highland Capital Management, L.P.

         5.     Nominal Defendant Highland CLO Funding, Ltd. is a limited company

incorporated under the laws of the Island of Guernsey. Its registered office is at First Floor, Dorey

Court, Admiral Park, St. Peter Port, Guernsey GY1 6HJ, Channel Islands. Its principal place of

business is 300 Crescent Court, Suite 700, Dallas, Texas 75201.

         6.     Potential party James P. Seery, Jr. (“Seery”) is an officer and/or director and/or

control person of Defendants Highland Capital Management, L.P., Highland CLO Funding, Ltd.,

and Highland HCF Advisor, Ltd., and is a citizen of and domiciled in Floral Park, New York.




Original Complaint                                                                                Page 3
000806
CaseCase
     3:21-cv-00842-B
         3:21-cv-00842-B
                      Document
                         Document
                               43 Filed
                                  1 Filed
                                        07/13/21
                                           04/12/21Page
                                                     Page
                                                        8104of
                                                            of852
                                                               26 PageID
                                                                  PageID42715



                                                   III.
                                  JURISDICTION AND VENUE
         7.     This Court has subject matter jurisdiction over this dispute under 28 U.S.C. § 1331

as one or more rights and/or causes of action arise under the laws of the United States. This Court

has supplemental subject matter jurisdiction over all other claims under 28 U.S.C. § 1367.

         8.     Personal jurisdiction is proper over the Defendants because they reside and/or have

continual contacts with the state of Texas, having regularly submitted to jurisdiction here.

Jurisdiction is also proper under 18 U.S.C. § 1965(d).

         9.     Venue is proper in this Court under 28 U.S.C. § 1391(b) and (c) because one or

more Defendants reside in this district and/or a substantial part of the events or omissions giving

rise to the claim occurred or a substantial part of property that is the subject of the action is situated

in this district. Venue in this district is further provided under 18 U.S.C. § 1965(d).

                                                   IV.
                                   RELEVANT BACKGROUND
                                        HCLOF IS FORMED
         10.    Plaintiff DAF is a charitable fund that helps several causes throughout the country,

including providing funding for humanitarian issues (such as veteran’s welfare associations and

women’s shelters), public works (such as museums, parks and zoos), and education (such as

specialty schools in underserved communities). Its mission is critical.

         11.    Since 2012, DAF was advised by its registered investment adviser, Highland

Capital Management, L.P., and its various subsidiaries, about where to invest. This relationship

was governed by an Investment advisory Agreement.




Original Complaint                                                                                 Page 4
000807
CaseCase
     3:21-cv-00842-B
         3:21-cv-00842-B
                      Document
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                               43 Filed
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                                        07/13/21
                                           04/12/21Page
                                                     Page
                                                        8115of
                                                            of852
                                                               26 PageID
                                                                  PageID52716



         12.    At one point in 2017, HCM advised DAF to acquire 143,454,001 shares of HCLOF,

with HCFA (a subsidiary of HCM) serving as the portfolio manager. DAF did so via a holding

entity, Plaintiff CLO Holdco, Ltd.

         13.    On November 15, 2017, through a Subscription and Transfer Agreement, the DAF

entered into an agreement with others to sell and transfer shares in HCLOF, wherein the DAF

retained 49.02% in CLO Holdco.

         14.    Pursuant to that agreement, Harbourvest acquired the following interests in the

following entities:

         Harbourvest Dover Street IX Investment, L.P., acquired 35.49%;

         Harbourvest 2017 Global AIF, L.P., acquired 2.42%;

         Harbourvest 2017 lobal Fund, L.P., acquired 4.85%;

         HV International VIII Secondary, L.P., acquired 6.5%; and

         Harbourvest Skew Base AIF, L.P., acquired 0.72%;

for a total of 49.98% (altogether, the “Harbourvest interests”).

         15.    On or about October 16, 2019, Highland Capital Management filed for Chapter 11

bankruptcy in Delaware Bankruptcy Court, which was later transferred to the Northern District of

Texas Bankruptcy Court, in the case styled In Re: Highland Capital Management, L.P., Debtor,

Cause No. 19-34054, (the “HCM Bankruptcy” and the Court is the “Bankruptcy Court”).

                              The Harbourvest Settlement with
                        Highland Capital Management in Bankruptcy

         16.    On April 8, 2020, Harbourvest submitted its proofs of claim in the HCM bankruptcy

proceeding. Annexed to its proofs of claims was an explanation of the Proof of Claim and the basis

therefor setting out various pre-petition allegations of wrongdoing by HCM. See, e.g., Case No.

19-bk-34054, Doc. 1631-5.


Original Complaint                                                                          Page 5
000808
CaseCase
     3:21-cv-00842-B
         3:21-cv-00842-B
                      Document
                         Document
                               43 Filed
                                  1 Filed
                                        07/13/21
                                           04/12/21Page
                                                     Page
                                                        8126of
                                                            of852
                                                               26 PageID
                                                                  PageID62717



         17.    The debtor, HCM, made an omnibus response to the proofs of claims, stating they

were duplicative of each other, overstated, late, and otherwise meritless.

         18.    Harbourvest responded to the omnibus objections on September 11, 2020. See

Cause No. 19-bk-34054, Doc. 1057.

         19.    Harbourvest represented that it had invested in HCLOF, purchasing 49.98% of

HCLOF’s outstanding shares.

         20.    Plaintiff CLO Holdco was and is also a 49.02% holder of HCLOF’s member

interests.

         21.    In its Omnibus Response, Harbourvest explained that its claims included

unliquidated legal claims for fraud, fraud in the inducement, RICO violations under 18 U.S.C.

1964, among others (the “Harbourvest Claims”). See Cause No. 19-bk-34054, Doc. 1057.

         22.    The Harbourvest Claims centered on allegations that when Harbourvest was

intending to invest in a pool of Collateralized Loan Obligations, or CLOs, that were then-managed

by Acis Capital Management (“Acis”), a subsidiary of HCM, HCM failed to disclose key facts

about ongoing litigation with a former employee, Josh Terry.

         23.    Harbourvest contended that HCM never sufficiently disclosed the underlying facts

about the litigation with Terry, and HCM’s then-intended strategy to fight Terry caused HCLOF

to incur around $15 million in legal fees and costs. It contended that had it known the nature of the

lawsuit and how it would eventually turn out, Harbourvest never would have invested in HCLOF.

See Cause No. 19-bk-34054, Doc. 1057.

         24.    HCLOF’s portfolio manager is HCFA. HCM is the parent of HCFA and is managed

by its General Partner, Strand Management, who employs Seery and acts on behalf of HCM.




Original Complaint                                                                             Page 6
000809
CaseCase
     3:21-cv-00842-B
         3:21-cv-00842-B
                      Document
                         Document
                               43 Filed
                                  1 Filed
                                        07/13/21
                                           04/12/21Page
                                                     Page
                                                        8137of
                                                            of852
                                                               26 PageID
                                                                  PageID72718



         25.     Before acceding to the Harbourvest interests, HCM was a 0.6% holder of HCLOF

interests.

         26.     While even assuming Harbourvest’s underlying claims were valid as far as the lost

$15 million went, the true damage of the legal fees to Harbourvest would have been 49.98% of the

HCLOF losses (i.e., less than $7.5 million). Harbourvest claimed that it had lost over $100 million

in the HCLOF transaction due to fraud, which, after trebling under the racketeering statute, it

claimed it was entitled to over $300 million in damages.

         27.     In truth, as of September 2020, Harbourvest had indeed lost some $52 million due

to the alleged diminishing value of the HCLOF assets (largely due to the underperformance of the

Acis entities3)—and the values were starting to recover.

         28.     HCM denied the allegations in the Bankruptcy Court. Other than the claim for

waste of corporate assets of $15 million, HCM at all times viewed the Harbourvest legal claims as

being worth near zero and having no merit.

         29.     On December 23, 2020, HCM moved the Court to approve a settlement between

itself and Harbourvest. No discovery had taken place between the parties, and Plaintiff did not

have any notice of the settlement terms or other factors prior to the motion’s filing (or even during

its pendency) in order to investigate its rights.

         30.     HCM set the hearing right after the Christmas and New Year’s holidays, almost

ensuring that no party would have the time to scrutinize the underpinnings of the deal.

         31.     On January 14, 2021, the Bankruptcy Court held an evidentiary hearing and

approved the settlement in a bench ruling, overruling the objections to the settlement.




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  Acis was being managed by Joshua Terry. JP Morgan had listed the four ACIS entities under his management as
the four worst performers of the 1200 CLOs it evaluated.

Original Complaint                                                                                       Page 7
000810
CaseCase
     3:21-cv-00842-B
         3:21-cv-00842-B
                      Document
                         Document
                               43 Filed
                                  1 Filed
                                        07/13/21
                                           04/12/21Page
                                                     Page
                                                        8148of
                                                            of852
                                                               26 PageID
                                                                  PageID82719



         32.    An integral part of the settlement was allowing $45 million in unsecured claims

that, at the time of the agreement, were expected to net Harbourvest around 70 cents on the dollar.

In other words, Harbourvest was expected to recover around $31,500,000 from the allowed claims.

         33.    As part of the consideration for the $45 million in allowed claims, Harbourvest

agreed to transfer all of its interests in HCLOF to HCM or its designee.

         34.    HCM and Seery rationalized the settlement value by allocating $22.5 million of the

net value of the $45 million in unsecured claims as consideration to purchase Harbourvest’s

interests in HCLOF, meaning, if 70% of the unsecured claims—i.e., $31.5 million—was realized,

because $22.5 million of that would be allocated to the purchase price of the Harbourvest interests

in HCLOF, the true “settlement” for Harbourvest’s legal claims was closer to $9 million.

         35.    Plaintiffs here are taking no position at this time about the propriety of settling the

Harbourvest legal claims for $9 million. That is for another day.

         36.    At the core of this lawsuit is the fact that HCM purchased the Harbourvest interests

in HCLOF for $22.5 million knowing that they were worth far more than that.

         37.    It has recently come to light that, upon information and belief, the Harbourvest

interests, as of December 31, 2020, were worth in excess of $41,750,000, and they have continued

to go up in value.

         38.    On November 30, 2020, which was less than a month prior to the filing of the

Motion to Approve the Settlement, the net asset value of those interests was over $34.5 million.

Plaintiffs were never made aware of that.

         39.    The change is due to how the net asset value, or NAV, was calculated. The means

and methods for calculating the “net asset value” of the assets of HCLOF are subject to and




Original Complaint                                                                               Page 8
000811
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     3:21-cv-00842-B
         3:21-cv-00842-B
                      Document
                         Document
                               43 Filed
                                  1 Filed
                                        07/13/21
                                           04/12/21Page
                                                     Page
                                                        8159of
                                                            of852
                                                               26 PageID
                                                                  PageID92720



governed by the regulations passed by the SEC pursuant to the Adviser’s Act, and by HCM’s

internal policies and procedures.

          40.     Typically, the value of the securities reflected by a market price quote.

          41.     However, the underlying securities in HCLOF are not liquid and had not been

traded in a long while.

          42.     There not having been any contemporaneous market quotations that could be used

in good faith to set the marks4 meant that other prescribed methods of assessing the value of the

interests, such as the NAV, would have been the proper substitutes.

          43.     Seery testified that the fair market value of the Harbourvest HCLOF interests was

$22.5 million. Even allowing some leeway there, it was off the mark by a mile.

          44.     Given the artifice described herein, Seery and the entity Defendants had to know

that the representation of the fair market value was false. But it does not appear that they disclosed

it to Harbourvest to whom they owed fiduciary duties as the RIA in charge of HCLOF, and they

certainly did not disclose the truth to the Plaintiff.

          45.     It is either the case that (i) Defendants conducted the proper analysis to obtain a

current value of the assets but decided to use a far lower valuation in order to whitewash the

settlement or enrich the bankruptcy estate; or (ii) Defendants never conducted the proper current

valuation, and therefore baselessly represented what the current value of the assets was, despite

knowingly having no reasonable basis for making such a claim.

          46.     For years HCM had such internal procedures and compliance protocols. HCM was

not allowed by its own compliance officers to trade with an investor where HCM had superior

knowledge about the value of the assets, for example. While Plaintiff has no reason to believe that



  4
      The term “mark” is shorthand for an estimated or calculated value for a non-publicly traded instrument.

Original Complaint                                                                                    Page 9
000812
Case
  Case
     3:21-cv-00842-B
        3:21-cv-00842-B
                      Document
                        Document
                               43 1Filed
                                     Filed
                                         07/13/21
                                           04/12/21 Page
                                                     Page816
                                                           10of
                                                              of852
                                                                 26 PageID
                                                                    PageID10
                                                                           2721



those procedures were scrapped in recent months, it can only assume that they were either

overridden improperly or circumvented wholesale.

         47.    Upon finalizing the Harbourvest Settlement Agreement and making representations

to the Bankruptcy Court to the Plaintiffs about the value of the Harbourvest Interests, Seery and

HCM had a duty to use current values and not rely on old valuations of the assets or the HCLOF

interests.

         48.    Given Defendants’ actual or constructive knowledge that they were purchasing

Harbourvest’s Interests in HCLOF for a less than 50% of what those interests were worth—

Defendants owed Plaintiff a fiduciary duty not to purchase them for themselves.

         49.    Defendants should have either had HCLOF repurchase the interests with cash, or

offer those interests to Plaintiff and the other members pro rata, before HCM agreed to purchase

them all lock, stock and barrel, for no up-front cash.

         50.    Indeed, had Plaintiff been offered those interests, it would have happily purchased

them and therefore would have infused over $20 million in cash into the estate for the purpose of

executing the Harbourvest Settlement.

         51.    That Defendants (and to perhaps a lesser extent, the Unsecured Creditors

Committee (the “UCC”)) agreed to pay $22.5 million for the HCLOF assets, where they had

previously not consented to any such expenditure by the estate on behalf of HCLOF, strongly

indicates their awareness that they were purchasing assets for far below market value.

         52.    The above is the most reasonable and plausible explanation for why Defendants

and the UCC forwent raising as much as $22.5 million in cash now in favor of hanging on to the

HCLOF assets.




Original Complaint                                                                          Page 10
000813
Case
  Case
     3:21-cv-00842-B
        3:21-cv-00842-B
                      Document
                        Document
                               43 1Filed
                                     Filed
                                         07/13/21
                                           04/12/21 Page
                                                     Page817
                                                           11of
                                                              of852
                                                                 26 PageID
                                                                    PageID11
                                                                           2722



         53.     Indeed, in January 2021 Seery threatened Ethen Powell that “[Judge Jernigan] is

laughing at you” and “we are coming after you” in response to the latter’s attempt to exercise his

right as beneficial holder of the CLO, and pointing out a conflict of interest in Seery’s plan to

liquidate the funds.

         54.     HCM’s threat, made by Seery, is tantamount to not only a declaration that he

intends to liquidate the funds regardless of whether the investors want to do so, and whether it is

in their best interests, but also that HCM intends to leverage what it views as the Bankruptcy

Court’s sympathy to evade accountability.

                                                      V.

                                         CAUSES OF ACTION

                                        FIRST CAUSE OF ACTION
                                       Breaches of Fiduciary Duty

         55.     Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

forth herein and further alleges the following:

         56.     HCM is a registered investment advisor and acts on behalf of HCFA. Both are

fiduciaries to Plaintiffs.

         57.     The Advisers Act establishes an unwaivable federal fiduciary duty for investment

advisers.5




5
  See e.g, SEC v. Capital Gains Research Bureau, Inc., 375 U.S. 180, 194 (1963); Transamerica Mortg.
Advisors (tama) v. Lewis, 444 U.S. 11, 17 (1979) (“§ 206 establishes ‘federal fiduciary standards’ to govern
the conduct of investment advisers.”); Santa Fe Indus, v. Green, 430 U.S. 462, 471, n.11 (1977) (in
discussing SEC v. Capital Gains, stating that the Supreme Court’s reference to fraud in the “equitable”
sense of the term was “premised on its recognition that Congress intended the Investment Advisers Act to
establish federal fiduciary standards for investment advisers”). See also Investment Advisers Act Release
No. 3060 (July 28, 2010) (“Under the Advisers Act, an adviser is a fiduciary whose duty is to serve the best
interests of its clients, which includes an obligation not to subrogate clients’ interests to its own”) (citing
Proxy Voting by Investment Advisers, Investment Advisers Act Release No. 2106 (Jan. 31, 2003)).

Original Complaint                                                                                     Page 11
000814
Case
  Case
     3:21-cv-00842-B
        3:21-cv-00842-B
                      Document
                        Document
                               43 1Filed
                                     Filed
                                         07/13/21
                                           04/12/21 Page
                                                     Page818
                                                           12of
                                                              of852
                                                                 26 PageID
                                                                    PageID12
                                                                           2723



         58.    HCM and the DAF entered into an Amended and Restated Investment Advisory

Agreement, executed between them on July 1, 2014 (the “RIA Agreement”). It renews annually

and continued until the end of January 2021.

         59.    In addition to being the RIA to the DAF, HCM was appointed the DAF’s attorney-

in-fact for certain actions, such as “to purchase or otherwise trade in Financial Instruments that

have been approved by the General Partner.” RIA Agreement ¶ 4.

         60.    The RIA Agreement further commits HCM to value financial assets “in accordance

with the then current valuation policy of the Investment Advisor [HCM], a copy of which will

provided to the General Partner upon request.” RIA Agreement ¶ 5.

         61.    While HCM contracted for the recognition that it would be acting on behalf of

others and could be in conflict with advice given the DAF, (RIA Agreement ¶ 12), nowhere did it

purport to waive the fiduciary duties owed to the DAF not to trade as a principal in a manner that

harmed the DAF.

         62.    HCFA owed a fiduciary duty to Holdco as an investor in HCLOF and to which

HCFA was the portfolio manager. HCM owed a fiduciary duty to the DAF (and to Holdco as its

subsidiary) pursuant to a written Advisory Agreement HCM and the DAF had where HCM agreed

to provide sound investment advice and management functions.

         63.    As a registered investment adviser, HCM’s fiduciary duty is broad and applies to

the entire advisor-client relationship.

         64.    The core of the fiduciary duty is to act in the best interest of their investors—the

advisor must put the ends of the client before its own ends or the ends of a third party.




Original Complaint                                                                           Page 12
000815
Case
  Case
     3:21-cv-00842-B
        3:21-cv-00842-B
                      Document
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                               43 1Filed
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                                         07/13/21
                                           04/12/21 Page
                                                     Page819
                                                           13of
                                                              of852
                                                                 26 PageID
                                                                    PageID13
                                                                           2724



         65.    This is manifested in a duty of loyalty and a duty of utmost care. It also means that

the RIA has to follow the terms of the company agreements and the regulations that apply to the

investment vehicle.

         66.    The fiduciary duty that HCM and Seery owed to Plaintiff is predicated on trust and

confidence. Section 204A of the Advisers Act requires investment advisors (whether SEC-

registered or not) to establish, maintain, and enforce written policies and procedures reasonably

designed to prevent the RIA from trading on material, non-public information. See 17 C.F.R. §

275.206(4)-7. That means that Plaintiff should be able to take Defendants at their word and not

have to second guess or dig behind representations made by them.

         67.    The simple thesis of this claim is that Defendants HCFA and HCM breached their

fiduciary duties by (i) insider trading with Harbourvest and concealing the rising NAV of the

underlying assets—i.e., trading with Harbourvest on superior, non-public information that was

neither revealed to Harbourvest nor to Plaintiff; (ii) concealing the value of the Harbourvest

Interests; and (iii) diverting the investment opportunity in the Harbourvest entities to HCM (or its

designee) without offering it to or making it available to Plaintiff or the DAF.

         68.    HCM, as part of its contractual advisory function with Plaintiffs, had expressly

recommended the HCLOF investment to the DAF. Thus, diverting the opportunity for returns on

its investment was an additional breach of fiduciary duty.

         69.    This violated a multitude of regulations under 27 C.F.R. part 275, in addition to

Rules 10b-5 and 10b5-1. 17 CFR 240.10b5-1 (“Rule 10b5-1”) explains that one who trades while

possessing non-public information is liable for insider trading, and they do not necessarily have to

have used the specific inside information.

         70.    It also violated HCM’s own internal policies and procedures.



Original Complaint                                                                            Page 13
000816
Case
  Case
     3:21-cv-00842-B
        3:21-cv-00842-B
                      Document
                        Document
                               43 1Filed
                                     Filed
                                         07/13/21
                                           04/12/21 Page
                                                     Page820
                                                           14of
                                                              of852
                                                                 26 PageID
                                                                    PageID14
                                                                           2725



         71.     Also, the regulations impose obligations on Defendants to calculate a current

valuation when communicating with an investor, such as what may or may not be taken into

account, and what cannot pass muster as a current valuation. Upon information and belief, these

regulations were not followed by the Defendants.

         72.     HCM’s internal policies and procedures, which it promised to abide by both in the

RIA Agreement and in its Form ADV SEC filing, provided for the means of properly calculating

the value of the assets.

         73.     HCM either did not follow these policies, changed them to be out of compliance

both with the Adviser Act regulations and its Form ADV representations, and/or simply

misrepresented or concealed their results.

         74.     In so doing, because the fiduciary duty owed to Plaintiff is a broad one, and because

Defendants’ malfeasance directly implicates its relationship with Plaintiff, Defendants have

breached the Advisers Act’s fiduciary duties owed to Plaintiff as part of their fiduciary

relationship.6

         75.     At no time between agreeing with Harbourvest to the purchase of its interests and

the court approval did Defendants disclose to either Harbourvest or to Plaintiff (and the

Bankruptcy Court for that matter) that the purchase was at below 50% the current net asset value

as well, and when they failed to offer Plaintiff (and the other members of HCLOF) their right to

purchase the interests pro rata at such advantageous valuations. Plaintiff’s lost opportunity to



6
  See Advisers Act Release No. 4197 (Sept. 17, 2015) (Commission Opinion) (“[O]nce an investment
Advisory relationship is formed, the Advisers Act does not permit an adviser to exploit that fiduciary
relationship by defrauding his client in any investment transaction connected to the Advisory
relationship.”); see also SEC v. Lauer, No. 03-80612-CIV, 2008 U.S. Dist. LEXIS 73026, at 90 (S.D. Fla.
Sept. 24, 2008) (“Unlike the antifraud provisions of the Securities Act and the Exchange Act, Section 206
of the Advisers Act does not require that the activity be ‘in the offer or sale of any’ security or ‘in connection
with the purchase or sale of any security.’”).

Original Complaint                                                                                        Page 14
000817
Case
  Case
     3:21-cv-00842-B
        3:21-cv-00842-B
                      Document
                        Document
                               43 1Filed
                                     Filed
                                         07/13/21
                                           04/12/21 Page
                                                     Page821
                                                           15of
                                                              of852
                                                                 26 PageID
                                                                    PageID15
                                                                           2726



purchase has harmed Plaintiff. Plaintiff had been led to believe by the Defendants that the value

of what was being purchased in the Harbourvest settlement by HCM (or its designee) was at fair

market value. This representation, repeated again in the Bankruptcy Court during the Harbourvest

confirmation, implicitly suggested that a proper current valuation had been performed.

         76.    Defendant’s principal, Seery, testified in January 2021 that the then-current fair

market value of Habourvests’s 49.98% interest in HCLOF was worth around $22.5 million. But

by then, it was worth almost double that amount and has continued to appreciate. Seery knew or

should have known that fact because the value of some of the HCLOF assets had increased, and

he had a duty to know the current value. His lack of actual knowledge, while potentially not overtly

fraudulent, would nonetheless amount to a breach of fiduciary duty for acting without proper

diligence and information that was plainly available.

         77.    Furthermore, HCLOF holds equity in MGM Studios and debt in CCS Medical via

various CLO positions. But Seery, in his role as CEO of HCM, was made aware during an advisors

meeting in December 2020 that Highland would have to restrict its trading in MGM because of its

insider status due to activities that were likely to apply upward pressure on MGM’s share price.

         78.    Furthermore, Seery controlled the Board of CCS Medical. And in or around

October 2020, Seery was advocating an equatization that would have increased the value of the

CCS securities by 25%, which was not reflected in the HCM report of the NAV of HCLOF’s

holdings.

         79.    Seery’s knowledge is imputed to HCM.

         80.    Moreover, it is a breach of fiduciary duty to commit corporate waste, which is

effectively what disposing of the HCLOF assets would constitute in a rising market, where there




Original Complaint                                                                           Page 15
000818
Case
  Case
     3:21-cv-00842-B
        3:21-cv-00842-B
                      Document
                        Document
                               43 1Filed
                                     Filed
                                         07/13/21
                                           04/12/21 Page
                                                     Page822
                                                           16of
                                                              of852
                                                                 26 PageID
                                                                    PageID16
                                                                           2727



is no demand for disposition by the investors (save for HCM, whose proper 0.6% interest could

easily be sold to the DAF at fair value).

         81.    As holder of 0.6% of the HCLOF interests, and now assignee of the 49.98%

Harbourvest Interests), HCM has essentially committed self-dealing by threatening to liquidate

HCLOF now that it may be compelled to do so under its proposed liquidation plan, which perhaps

inures to the short term goals of HCM but to the pecuniary detriment of the other holders of

HCLOF whose upside will be prematurely truncated.

         82.    Seery and HCM should not be allowed to benefit from the breach of their fiduciary

duties because doing so would also cause Plaintiffs irreparable harm. The means and methods of

disposal would likely render the full scope of damages to the DAF not susceptible to specific

calculation—particularly as they would relate to calculating the lost opportunity cost. Seery and

HCM likely do not have the assets to pay a judgment to Plaintiffs that would be rendered, simply

taking the lost appreciation of the HCLOF assets.

         83.    Defendants are thus liable for diverting a corporate opportunity or asset that would

or should have been offered to Plaintiff and the other investors. Because federal law makes the

duties invoked herein unwaivable, it is preposterous that HCM, as a 0.6% holder of HCLOF,

deemed itself entitled to the all of the value and optionality of the below-market Harbourvest

purchase.

         84.    Defendants cannot rely on any contractual provision that purports to waive this

violation. Nothing in any agreement purports to permit, authorize or otherwise sanitize

Defendants’ self-dealing. All such provisions are void.

         85.    In the fourth quarter of 2020, Seery and HCM notified staff that they would be

terminated on December 31, 2020. That termination was postponed to February 28, 2021.



Original Complaint                                                                           Page 16
000819
Case
  Case
     3:21-cv-00842-B
        3:21-cv-00842-B
                      Document
                        Document
                               43 1Filed
                                     Filed
                                         07/13/21
                                           04/12/21 Page
                                                     Page823
                                                           17of
                                                              of852
                                                                 26 PageID
                                                                    PageID17
                                                                           2728



Purchasing the Harbourvest assets without staffing necessary to be a functioning Registered

Investment Advisor was a strategic reversal from prior filings that outlined canceling the CLO

management contracts and allowing investors to replace Highland as manager.

         86.    Seery’s compensation agreement with the UCC incentivizes him to expedite

recoveries and to prevent transparency regarding the Harbourvest settlement.

         87.    What is more, Seery had previously testified that the management contracts for the

funds—HCLOF included—were unprofitable, and that he intended to transfer them. But he later

rejected offers to purchase those management contracts for fair value and instead decided to

continue to manage the funds—which is what apparently gave rise to the Harbourvest Settlement,

among others. He simultaneously rejected an offer for the Harbourvest assets of $24 million,

stating that they were worth much more than that.

         88.    Because of Defendants’ malfeasance, Plaintiffs have lost over $25 million in

damages—a number that continues to rise—and the Defendants should not be able to obtain a

windfall.

         89.    For the same reason, Defendants’ malfeasance has also exposed HCLOF to a

massive liability from Harbourvest since the assignment of those interests is now one that is likely

unenforceable under the Advisers Act, Section 47(b), if there was unequal information.

         90.    HCM and HCFA are liable as principals for breach of fiduciary duty, as are the

principals and compliance staff of each entity.

         91.    Plaintiffs seek disgorgement, damages, exemplary damages, attorneys’ fees and

costs. To the extent the Court determines that this claim had to have been brought derivatively on

behalf of HCLOF, then Plaintiffs represent that any pre-suit demand would have been futile since

asking HCM to bring suit against its principal, Seery, would have been futile.



Original Complaint                                                                           Page 17
000820
Case
  Case
     3:21-cv-00842-B
        3:21-cv-00842-B
                      Document
                        Document
                               43 1Filed
                                     Filed
                                         07/13/21
                                           04/12/21 Page
                                                     Page824
                                                           18of
                                                              of852
                                                                 26 PageID
                                                                    PageID18
                                                                           2729



                                  SECOND CAUSE OF ACTION
                             Breach of HCLOF Company Agreement
                         (By Holdco against HCLOF, HCM and HCFA)

           92.   Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

 forth herein and further alleges the following:

           93.   On November 15, 2017, the members of HCLOF, along with HCLOF and HCFA,

executed the Members Agreement Relating to the Company (the “Company Agreement”).

           94.   The Company Agreement governs the rights and duties of the members of HCLOF.

           95.   Section 6.2 of HCLOF Company Agreement provides that when a member “other

than … CLO Holdco [Plaintiff] or a Highland Affiliate,” intends to sell its interest in HCLOF to a

third party (i.e., not to an affiliate of the selling member), then the other members have the first

right of refusal to purchase those interests pro rata for the same price that the member has agreed

to sell.

           96.   Here, despite the fact that Harbourvest agreed to sell its interests in HCLOF for

$22.5 million when they were worth more than double that, Defendants did not offer Plaintiff the

chance to buy its pro rata share of those interests at the same agreed price of $22.5 million (adjusted

pro rata).

           97.   The transfer and sale of the interests to HCM were accomplished as part of the

Harbourvest Settlement which was approved by the Bankruptcy Court.

           98.   Plaintiff was not informed of the fact that Harbourvest had offered its shares to

Defendant HCM for $22.5 million—which was under 50% of their true value.

           99.   Plaintiff was not offered the right to purchase its pro rata share of the Harbourvest

interests prior to the agreement being struck or prior to court approval being sought.




Original Complaint                                                                              Page 18
000821
Case
  Case
     3:21-cv-00842-B
        3:21-cv-00842-B
                      Document
                        Document
                               43 1Filed
                                     Filed
                                         07/13/21
                                           04/12/21 Page
                                                     Page825
                                                           19of
                                                              of852
                                                                 26 PageID
                                                                    PageID19
                                                                           2730



         100.   Had Plaintiff been allowed to do so, it would have obtained the interests with a net

equity value over their purchase price worth in excess of $20 million.

         101.   No discovery or opportunity to investigate was afforded Plaintiff prior to lodging

an objection in the Bankruptcy Court.

         102.   Plaintiff is entitled to specific performance or, alternatively, disgorgement,

constructive trust, damages, attorneys’ fees and costs.

                                   THIRD CAUSE OF ACTION
                                         Negligence
                     (By the DAF and CLO Holdco against HCM and HCFA)

         103.   Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

forth herein, and further alleges the following:

         104.   Plaintiffs incorporate the foregoing causes of action and note that all the foregoing

violations were breaches of the common law duty of care imposed by law on each of Seery, HCFA

and HCM.

         105.   Each of these Defendants should have known that their actions were violations of

the Advisers Act, HCM’s internal policies and procedures, the Company Agreement, or all three.

         106.   Seery and HCM owed duties of care to Plaintiffs to follow HCM’s internal policies

and procedures regarding both the propriety and means of trading with a customer [Harbourvest],

the propriety and means of trading as a principal in an account but in a manner adverse to another

customer [the DAF and Holdco], and the proper means of valuing the CLOs and other assets held

by HCLOF.

         107.   It would be foreseeable that failing to disclose the current value of the assets in the

HCLOF would impact Plaintiffs negatively in a variety of ways.




Original Complaint                                                                             Page 19
000822
Case
  Case
     3:21-cv-00842-B
        3:21-cv-00842-B
                      Document
                        Document
                               43 1Filed
                                     Filed
                                         07/13/21
                                           04/12/21 Page
                                                     Page826
                                                           20of
                                                              of852
                                                                 26 PageID
                                                                    PageID20
                                                                           2731



         108.   It would be reasonably foreseeable that failing to correctly and accurately calculate

the current net asset value of the market value of the interests would cause Plaintiffs to value the

Harbourvest Interests differently.

         109.   It would be reasonably foreseeable that referring to old and antiquated market

quotations and/or valuations of the HCLOF assets or interests would result in a mis-valuation of

HCLOF and, therefore, a mis-valuation of the Harbourvest Interests.

         110.   Likewise, it would have been foreseeable that Plaintiff’s failure to give Plaintiff the

opportunity to purchase the Harbourvest shares at a $22.5 million valuation would cause Plaintiff

damages. Defendants knew that the value of those assets was rising. They further knew or should

have known that whereas those assets were sold to HCM for an allowance of claims to be funded

in the future, selling them to Plaintiff would have provided the estate with cash funds.

         111.   Defendants’ negligence foreseeably and directly caused Plaintiff harm.

         112.   Plaintiff is thus entitled to damages.

                                     FOURTH CAUSE OF ACTION
                      Racketeering Influenced Corrupt Organizations Act
                              (CLO Holdco and DAF against HCM)

         113.   Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

forth herein, and further alleges the following:

         114.   Defendants are liable for violations of the Racketeer Influenced and Corrupt

Organizations (“RICO”) Act, 18 U.S.C. § 1961 et seq., for the conduct of an enterprise through a

pattern of racketeering activity.

         115.   HCLOF constitutes an enterprise under the RICO Act. Additionally, or in the

alternative, HCM, HCLA, and HCLOF constituted an association-in-fact enterprise. The purpose

of the association-in-fact was the perpetuation of Seery’s position at HCM and using the



Original Complaint                                                                              Page 20
000823
Case
  Case
     3:21-cv-00842-B
        3:21-cv-00842-B
                      Document
                        Document
                               43 1Filed
                                     Filed
                                         07/13/21
                                           04/12/21 Page
                                                     Page827
                                                           21of
                                                              of852
                                                                 26 PageID
                                                                    PageID21
                                                                           2732



Harbourvest settlement as a vehicle to enrich persons other than the HCLOF investors, including

Holdco and the DAF, and the perpetuation of HCM’s holdings in collateralized loan obligations

owned by HCLOF, while attempting to deny Plaintiffs the benefit of its rights of ownership.

         116.   The association-in-fact was bound by informal and formal connections for years

prior to the elicit purpose, and then changed when HCM joined it in order to achieve the

association’s illicit purpose. For example, HCM is the parent and control person over HCFA,

which is the portfolio manager of HCLOF pursuant to a contractual agreement—both are

registered investment advisors and provide advisory and management services to HCLOF.

         117.   Defendants injured Plaintiffs through their continuous course of conduct of the

HCM-HCLA-HCLOF association-in-fact enterprise. HCM’s actions (performed through Seery

and others) constitute violations of the federal wire fraud, mail fraud, fraud in connection with a

case under Title 11, and/or securities fraud laws, pursuant to 18 U.S.C. § 1961(1)(B) and (D).

         118.   HCM operated in such a way as to violate insider trading rules and regulations when

it traded with Harbourvest while it had material, non-public information that it had not supplied to

Harbourvest or to Plaintiffs.

         119.   In or about November 2020, HCM and Harbourvest entered into discussions about

settling the Harbourvest Claims. Seery’s conduct of HCLOF and HCLA on behalf of HCM through

the interstate mails and/or wires caused HCM to agree to the purchase of Harbourvest’s interests

in HCLOF.

         120.   On or about each of September 30, 2020, through December 31, 2020, Seery,

through his conduct of the enterprise, utilized the interstate wires and/or mails to obtain or arrive

at valuations of the HCLOF interests. Seery’s conduct of the enterprise caused them to cease




Original Complaint                                                                            Page 21
000824
Case
  Case
     3:21-cv-00842-B
        3:21-cv-00842-B
                      Document
                        Document
                               43 1Filed
                                     Filed
                                         07/13/21
                                           04/12/21 Page
                                                     Page828
                                                           22of
                                                              of852
                                                                 26 PageID
                                                                    PageID22
                                                                           2733



sending the valuation reports to Plaintiffs, which eventually allowed Plaintiffs to be misled into

believing that Seery had properly valued the interests.

         121.   On or about September 30, 2020, Seery transmitted or caused to be transmitted

though the interstate wires information to HCLOF investors from HCM (via HCFA), including

Harbourvest, regarding the value of HCLOF interests and underlying assets.

         122.   Additionally, Seery operated HCM in such a way that he concealed the true value

of the HCLOF interests by utilizing the interstate wires and mails to transmit communications to

the court in the form of written representations on or about December 23, 2020, and then further

transmitted verbal representations of the current market value (the vastly understated one) on

January 14, 2021, during live testimony.

         123.   However, Harbourvest was denied the full picture and the true value of the

underlying portfolio. At the end of October and November of 2020, HCM had updated the net

asset values of the HCLOF portfolio. According to sources at HCM at the time, the HCLOF assets

were worth north of $72,969,492 as of November 30, 2020. Harbourvest’s share of that would

have been $36,484,746.

         124.   The HCLOF net asset value had reached $86,440,024 as of December 31, 2021,

which means that by the time Seery was testifying in the Bankruptcy Court on January 14, 2021,

the fair market value of the Harbourvest Assets was $22.5 million, when it was actually closer to

$43,202,724. Seery, speaking on behalf of HCM, knew of the distinction in value.

         125.   On January 14, 2021, Seery also testified that he (implying HCM, HCLA and

HCLOF) had valued the Harbourvest Assets at their current valuation and at fair market value.

This was not true because the valuation that was used and testified to was ancient. The ostensible

purpose of this concealment was to induce Plaintiff and other interest holdings to take no action.



Original Complaint                                                                          Page 22
000825
Case
  Case
     3:21-cv-00842-B
        3:21-cv-00842-B
                      Document
                        Document
                               43 1Filed
                                     Filed
                                         07/13/21
                                           04/12/21 Page
                                                     Page829
                                                           23of
                                                              of852
                                                                 26 PageID
                                                                    PageID23
                                                                           2734



         126.   In supporting HCM’s motion to the Bankruptcy Court to approve the Harbourvest

Settlement, Seery omitted the fact that HCM was purchasing the interests at a massive discount,

which would violate the letter and spirit of the Adviser’s Act.

         127.   Seery was informed in late December 2020 at an in-person meeting in Dallas to

which Seery had to fly that HCLOF and HCM had to suspend trading in MGM Studios’ securities

because Seery had learned from James Dondero, who was on the Board of MGM, of a potential

purchase of the company. The news of the MGM purchase should have caused Seery to revalue

the HCLOF investment in MGM.

         128.   In or around October 2020, Seery (who controls the Board of CSS Medical) was

pursuing “equatization” of CSS Medical’s debt, which would have increased the value of certain

securities by 25%. In several communications through the U.S. interstate wires and/or mails, and

with Plaintiffs, and the several communications with Harbourvest during the negotiations of the

settlement, Seery failed to disclose these changes which were responsible in part for the ever-

growing value of the HCLOF CLO portfolio.

         129.   Seery was at all relevant times operating as an agent of HCM.

         130.   This series of related violations of the wire fraud, mail fraud, and securities fraud

laws, in connection with the HCM bankruptcy, constitute a continuing pattern and practice of

racketeering for the purpose of winning a windfall for HCM and himself--a nearly $30,000,000

payday under the confirmation agreement.

         131.   The federal RICO statute makes it actionable for one’s conduct of an enterprise to

include “fraud in connection with a [bankruptcy case]”. The Advisers’ Act antifraud provisions

require full transparency and accountability to an advisers’ investors and clients and does not

require a showing of reliance or materiality. The wire fraud provision likewise is violated when,



Original Complaint                                                                            Page 23
000826
Case
  Case
     3:21-cv-00842-B
        3:21-cv-00842-B
                      Document
                        Document
                               43 1Filed
                                     Filed
                                         07/13/21
                                           04/12/21 Page
                                                     Page830
                                                           24of
                                                              of852
                                                                 26 PageID
                                                                    PageID24
                                                                           2735



as here, the interstate wires are used as part of a “scheme or artifice … for obtaining money or

property by means of false … pretenses, [or] representations[.]”

         132.   Accordingly, because Defendants’ conduct violated the wire fraud and mail fraud

laws, and the Advisers’ Act antifraud provisions, and their acts and omissions were in connection

with the HCM Bankruptcy proceedings under Title 11, they are sufficient to bring such conduct

within the purview of the RICO civil action provisions, 18 U.S.C. § 1964.

         133.   Plaintiffs are thus entitled to damages, treble damages, attorneys’ fees and costs of

suit, in addition to all other injunctive or equitable relief to which they are justly entitled.

                                      FIFTH CAUSE OF ACTION
                                        Tortious Interference
                                    (CLO Holdco against HCM)

         134.   Plaintiff respectfully incorporates the foregoing factual averments as if fully set

forth herein and further alleges the following:

         135.   At all relevant times, HCM owned a 0.6% interest in HCLOF.

         136.   At all relevant times, Seery and HCM knew that Plaintiff had specific rights in

HCLOF under the Company Agreement, § 6.2.

         137.   Section 6.2 of HCLOF Company agreement provides that when a member “other

than … CLO Holdco [Plaintiff] or a Highland Affiliate,” intends to sell its interest in HCLOF to a

third party (i.e., not an affiliate of the member), then the other members have the first right of

refusal to purchase those interests pro rata for the same price that the member has agreed to sell.

         138.   HCM, through Seery, tortiously interfered with Plaintiff’s contractual rights with

HCLOF by, among other things, diverting the Harbourvest Interests in HCLOF to HCM without

giving HCLOF or Plaintiff the option to purchase those assets at the same favorable price that

HCM obtained them.



Original Complaint                                                                                 Page 24
000827
Case
  Case
     3:21-cv-00842-B
        3:21-cv-00842-B
                      Document
                        Document
                               43 1Filed
                                     Filed
                                         07/13/21
                                           04/12/21 Page
                                                     Page831
                                                           25of
                                                              of852
                                                                 26 PageID
                                                                    PageID25
                                                                           2736



         139.    HCM and Seery tortiously interfered with Plaintiff’s contractual rights with

HCLOF by, among other things, misrepresenting the fair market value as $22.5 million and

concealing the current value of those interests.

         140.   But for HCM and Seery’s tortious interference, Plaintiff would have been able to

acquire the Harbourvest Interests at a highly favorable price. HCM and Seery’s knowledge of the

rights and intentional interference with these rights has caused damage to Plaintiff CLO Holdco.

         141.   Plaintiff is therefore entitled to damages from HCM and Seery, as well as

exemplary damages.

                                                   VI.

                                          JURY DEMAND

         142.   Plaintiff demands trial by jury on all claims so triable.

                                                   VII.

                                     PRAYER FOR RELIEF

         143.   Wherefore, for the foregoing reasons, Plaintiffs respectfully pray that the Court

enter judgment in its favor and against Defendants, jointly and severally, for:

            a. Actual damages;

            b. Disgorgement;

            c. Treble damages;

            d. Exemplary and punitive damages;

            e. Attorneys’ fees and costs as allowed by common law, statute or contract;

            f. A constructive trust to avoid dissipation of assets;

            g. All such other relief to which Plaintiff is justly entitled.




Original Complaint                                                                        Page 25
000828
Case
  Case
     3:21-cv-00842-B
        3:21-cv-00842-B
                      Document
                        Document
                               43 1Filed
                                     Filed
                                         07/13/21
                                           04/12/21 Page
                                                     Page832
                                                           26of
                                                              of852
                                                                 26 PageID
                                                                    PageID26
                                                                           2737



Dated: April 12, 2021                     Respectfully submitted,

                                          SBAITI & COMPANY PLLC

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                                          Counsel for Plaintiffs




Original Complaint                                                         Page 26
000829
Case 3:21-cv-00842-B Document 43 Filed 07/13/21   Page 833 of 852 PageID 2738




                        EXHIBIT 12




000830
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                    Page 834 of 852 PageID 2739



SECURITIES AND EXCHANGE COMMISSION

17 CFR Parts 275

[Release No. IA-2628; File No. S7-25-06]

RIN 3235-AJ67

Prohibition of Fraud by Advisers to Certain Pooled Investment Vehicles

AGENCY: Securities and Exchange Commission.

ACTION: Final rule.

SUMMARY: The Securities and Exchange Commission is adopting a new rule that prohibits

advisers to pooled investment vehicles from making false or misleading statements to, or

otherwise defrauding, investors or prospective investors in those pooled vehicles. This rule is

designed to clarify, in light of a recent court opinion, the Commission’s ability to bring

enforcement actions under the Investment Advisers Act of 1940 against investment advisers who

defraud investors or prospective investors in a hedge fund or other pooled investment vehicle.

EFFECTIVE DATE: September 10, 2007.

FOR FURTHER INFORMATION CONTACT: David W. Blass, Assistant Director, Daniel

S. Kahl, Branch Chief, or Vivien Liu, Senior Counsel, at 202-551-6787, Division of Investment

Management, Securities and Exchange Commission, 100 F Street, NE, Washington, DC 20549

5041.

SUPPLEMENTARY INFORMATION: The Commission is adopting new rule 206(4)-8

under the Investment Advisers Act of 1940 (“Advisers Act”).1




1
         15 U.S.C. 80b. Unless otherwise noted, when we refer to the Advisers Act, or any paragraph of
         the Advisers Act, we are referring to 15 U.S.C. 80b of the United States Code, at which the
         Advisers Act is codified.



000831
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                      Page 835 of 852 PageID 2740
                                     2


I.       INTRODUCTION

         On December 13, 2006, we proposed a new rule under the Advisers Act that would

prohibit advisers to pooled investment vehicles from defrauding investors or prospective

investors in pooled investment vehicles they advise.2 We proposed the rule in response to the

opinion of the Court of Appeals for the District of Columbia Circuit in Goldstein v. SEC, which

created some uncertainty regarding the application of sections 206(1) and 206(2) of the Advisers

Act in certain cases where investors in a pool are defrauded by an investment adviser to that

pool.3 In addressing the scope of the exemption from registration in section 203(b)(3) of the

Advisers Act and the meaning of “client” as used in that section, the Court of Appeals expressed

the view that, for purposes of sections 206(1) and (2) of the Advisers Act, the “client” of an

investment adviser managing a pool is the pool itself, not an investor in the pool. As a result, it

was unclear whether the Commission could continue to rely on sections 206(1) and (2) of the

Advisers Act to bring enforcement actions in certain cases where investors in a pool are

defrauded by an investment adviser to that pool.4


2
         Prohibition of Fraud by Advisers to Certain Pooled Investment Vehicles; Accredited Investors in
         Certain Private Investment Vehicles, Investment Advisers Act Release No. 2576 (Dec. 27, 2006)
         [72 FR 400 (Jan. 4, 2007)] (the “Proposing Release”). In the Proposing Release, we also
         proposed two new rules that would define the term “accredited natural person” under Regulation
         D and section 4(6) of the Securities Act of 1933 [15 USC 77d(6)] (“Securities Act”). As
         proposed, these rules would add to the existing definition of “accredited investor” and apply to
         private offerings of certain unregistered investment pools. On May 23, 2007, we voted to
         propose more general amendments to the definition of accredited investor. Proposed
         Modernization of Smaller Company Capital-Raising and Disclosure Requirements, Securities Act
         Release No.      (   , 2007) [72 FR ( , 2007)]. We plan to defer consideration of our
         proposal to define the term accredited natural person until we have had the opportunity to
         evaluate fully the comments we received on that proposal together with those we receive on our
         May 2007 proposal.
3
         451 F.3d 873 (D.C. Cir. 2006) (“Goldstein”).
4
         Prior to the issuance of the Goldstein decision, we brought enforcement actions against advisers
         alleging false and misleading statements to investors under sections 206(1) and (2) of the
         Advisers Act. See, e.g., SEC v. Kirk S. Wright, International Management Associates, LLC,
         Litigation Release No. 19581 (Feb. 28, 2006); SEC v. Wood River Capital Management, LLC,



000832
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                       Page 836 of 852 PageID 2741
                                     3

         In its opinion, the Court of Appeals distinguished sections 206(1) and (2) from section

206(4) of the Advisers Act, which is not limited to conduct aimed at clients or prospective clients

of investment advisers.5 Section 206(4) provides us with rulemaking authority to define, and

prescribe means reasonably designed to prevent, fraud by advisers.6 We proposed rule 206(4)-8

under this authority.

         We received 45 comment letters in response to our proposal.7 Most commenters

generally supported the proposal. Eighteen endorsed the rule as proposed, noting that the rule

would strengthen the antifraud provisions of the Advisers Act or that the rule would clarify the

Commission’s enforcement authority with respect to advisers.8 Others, however, urged that we




         Litigation Release No. 19428 (Oct. 13, 2005); SEC v. Samuel Israel III; Daniel E. Marino; Bayou
         Management, LLC; Bayou Accredited Fund, LLC; Bayou Affiliates Fund, LLC; Bayou No
         Leverage Fund, LLC; and Bayou Superfund, LLC, Litigation Release No. 19406 (Sept. 29,
         2005); SEC v. Beacon Hill Asset Management LLC, Litigation Release No. 18745A (June 16,
         2004).
5
         See Goldstein, supra note 3, at note 6. See also United States v. Elliott, 62 F.3d 1304, 1311 (11th
         Cir. 1995).
6
         Section 206(4) of the Advisers Act makes it unlawful for an investment adviser to “engage in any
         act, practice, or course of business which is fraudulent, deceptive, or manipulative” and
         authorizes us “by rules and regulations [to] define, and prescribe means reasonably designed to
         prevent, such acts, practices, and courses of business as are fraudulent, deceptive, or
         manipulative.”
7
         We received over 600 comment letters that addressed the proposed amendments to the term
         “accredited natural person” under Regulation D and section 4(6) of the Securities Act. All of the
         public comments we received are available for inspection in our Public Reference Room at 100 F
         Street, NE, Washington DC, 20549 in File No. S7-25-06, or may be viewed at
         www.sec.gov/comments/s7-25-06/s72506.shtml.
8
         E.g., Letter of the Alternative Investments Compliance Association (Mar. 5, 2007); Letter of the
         CFA Center for Financial Market Integrity (Mar. 9, 2007) (“CFA Center Letter”); Letter of the
         Coalition of Private Investment Companies (Mar. 9, 2007); Letter of the Commonwealth of
         Massachusetts (Mar. 9, 2007) (“Massachusetts Letter”); Letter of the Department of Banking of
         the State of Connecticut (Mar. 8, 2007); Letter of the North America Securities Administrators
         Association (Apr. 2, 2007) (“NASAA Letter”); and Letter of the U.S. Chamber of Commerce
         (Mar. 9, 2007). Another commenter observed that the proposed rules are broadly similar to
         current U.K. legislation and regulations. See Letter of Alternative Investment Management
         Association (Mar. 9, 2007) (“AIMA Letter”).



000833
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                    Page 837 of 852 PageID 2742
                                     4

make revisions that would restrict the scope of the rule to more narrowly define the conduct or

acts it prohibits.9

         Today, we are adopting new rule 206(4)-8 as proposed. The rule prohibits advisers from

(i) making false or misleading statements to investors or prospective investors in hedge funds

and other pooled investment vehicles they advise, or (ii) otherwise defrauding these investors.

The rule clarifies that an adviser’s duty to refrain from fraudulent conduct under the federal

securities laws extends to the relationship with ultimate investors and that the Commission may

bring enforcement actions under the Advisers Act against investment advisers who defraud

investors or prospective investors in those pooled investment vehicles.

II.      DISCUSSION

         Rule 206(4)-8 prohibits advisers to pooled investment vehicles from (i) making false or

misleading statements to investors or prospective investors in those pools or (ii) otherwise

defrauding those investors or prospective investors. We will enforce the rule through civil and

administrative enforcement actions against advisers who violate it.

         Section 206(4) authorizes the Commission to adopt rules and regulations that “define,

and prescribe means reasonably designed to prevent, such acts, practices, and courses of business

as are fraudulent, deceptive, or manipulative.” In adopting rule 206(4)-8, we intend to employ

all of the broad authority that Congress provided us in section 206(4) and direct it at adviser

conduct affecting an investor or potential investor in a pooled investment vehicle.




9
         E.g., Letter of American Bar Association (Mar. 12, 2007) (“ABA Letter”); Letter of Davis Polk &
         Wardwell (Mar. 9, 2007) (“Davis Polk Letter”); Letter of Dechert LLP (Mar. 8, 2007) (“Dechert
         Letter”); Letter of New York City Bar (Mar. 8, 2007) (“NYCB Letter”); Letter of Schulte Roth &
         Zabel LLP (Mar. 9, 2007) (“Schulte Roth Letter”); and Letter of Sullivan & Cromwell LLP (Mar.
         9, 2007) (“Sullivan & Cromwell Letter”).



000834
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                       Page 838 of 852 PageID 2743
                                     5


         A. Scope of Rule 206(4)-8

         Some commenters questioned the scope of the rule, arguing that the Commission should

define fraud.10 We believe that we have done so, only more broadly than some commenters

would have us do. As the Proposing Release indicated, our intent is to prohibit all fraud on

investors in pools managed by investment advisers. Congress expected that we would use the

authority provided by section 206(4) to “promulgate general antifraud rules capable of

flexibility.”11 The terms material false statements or omissions and “acts, practices, and courses

of business as are fraudulent, deceptive, or manipulative” encompass the well-developed body of

law under the antifraud provisions of the federal securities laws. The legal authorities

identifying the types of acts, practices, and courses of business that are fraudulent, deceptive, or

manipulative under the federal securities laws are numerous, and we believe that the conduct

prohibited by rule 206(4)-8 is sufficiently clear and well understood.12

10
         E.g., ABA Letter, supra note 9; Letter of Debevoise & Plimpton LLP (Mar. 14, 2007); and NYCB
         Letter, supra note 9.
11
         S.Rep. No. 1760, 86th Cong., 2d. Sess. (June 28, 1960) at 4. See rule 206(4)-1(a)(5) [17 CFR.
         275.206(4)-1(a)(5)] under the Advisers Act; rule 17j-1(b) [17 CFR 270.17j-1(b)] under the
         Investment Company Act of 1940 [15 U.S.C. 80a-1] (“Investment Company Act”); and rule 13e
         3(b)(1) [17 CFR 240.13e-3(b)(1)] under the Securities Exchange Act of 1934 [15 U.S.C. 77a]
         (“Exchange Act”).
12
         Loss, Seligman, & Paredes, Securities Regulation, Chap. 9 (Fraud) (Fourth Ed. 2006); Hazen,
         Treatise on The Law of Securities Regulation, Vol. 3, Ch. 12 (Manipulation and Fraud – Civil
         Liability; Implied Private Remedies; SEC Rule 10b-5; Fraud in Connection With the Purchase or
         Sale of Securities; Improper Trading on Nonpublic Material Information) (Fifth Ed. 2005). See,
         e.g., Superintendent of Insurance of New York v. Bankers Life & Casualty Co., 404 U.S. 6, 11 n.
         7 (1971) (“‘We believe that section 10(b) and Rule 10b-5 prohibit all fraudulent schemes in
         connection with the purchase or sale of securities, whether the artifices employed involve a
         garden type variety of fraud, or present a unique form of deception. Novel or atypical methods
         should not provide immunity from the securities laws.’” (quoting A. T. Brod & Co. v. Perlow,
         375 F.2d 393, 397 (CA2 1967))); Santa Fe Industries, Inc. v. Green, 430 U.S. 462, 477 (1977)
         (“No doubt Congress meant to prohibit the full range of ingenious devices that might be used to
         manipulate securities prices.”). Moreover, the established legal principles are sufficiently flexible
         to encompass future novel factual scenarios. United States v. Brown, 555 F.2d 336, 339-40 (2d
         Cir. 1977) (“The fact that there is no litigated fact pattern precisely in point may constitute a
         tribute to the cupidity and ingenuity of the malefactors involved but hardly provides an escape
         from the penal sanctions of the securities fraud provisions here involved.”).



000835
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                       Page 839 of 852 PageID 2744
                                     6


                 1. Investors and Prospective Investors

         Rule 206(4)-8 prohibits investment advisers from making false or misleading statements

to, or engaging in other fraud on, investors or prospective investors in a pooled investment

vehicle they manage. The scope of the rule is modeled on that of sections 206(1) and (2) of the

Advisers Act, which make unlawful fraud by advisers against clients or prospective clients. Rule

206(4)-8 prohibits false or misleading statements made, for example, to existing investors in

account statements as well as to prospective investors in private placement memoranda, offering

circulars, or responses to “requests for proposals,” electronic solicitations, and personal meetings

arranged through capital introduction services.

         Some commenters argued that the rule should not prohibit fraud against prospective

investors in a pooled investment vehicle, asserting that such fraud does not actually harm

investors until they, in fact, make an investment.13 We disagree. False or misleading statements

and other frauds by advisers are no less objectionable when made in an attempt to draw in new

investors than when made to existing investors.14 For similar policy reasons that we believe led

Congress to apply the protections of sections 206(1) and (2) to prospective clients, we have

decided to apply those of rule 206(4)-8 to prospective investors.15 We believe that prohibiting

false or misleading statements made to, or other fraud on, any prospective investors is a means

reasonably designed to prevent fraud.

13
         Davis Polk Letter, supra note 9; Dechert Letter, supra note 9; NYCB Letter, supra note 9; Letter
         of the Securities Industry and Financial Markets Association (Mar. 9, 2007); Sullivan &
         Cromwell Letter, supra note 9.
14
         See CFA Center Letter, supra note 8.
15
         We have used the term “prospective investor” to give the term similar scope to the term
         “prospective client” in sections 206(1) and (2). See, e.g., In the Matter of Ralph Harold Seipel,
         38 S.E.C. 256, 257-58 (1958) (the solicitation of clients is part of the activity of an investment
         adviser and it is immaterial for purposes of an enforcement action under sections 206(1) and (2)
         that an adviser engaging in fraudulent solicitations was not successful in his efforts to obtain
         clients).



000836
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                      Page 840 of 852 PageID 2745
                                     7


                 2. Unregistered Investment Advisers

         Rule 206(4)-8 applies to both registered and unregistered investment advisers.16 As we

noted in the Proposing Release, many of our enforcement cases against advisers to pooled

investment vehicles have been brought against advisers that are not registered under the Advisers

Act, and we believe it is critical that we continue to be in a position to bring actions against

unregistered advisers that manage pools and that defraud investors in those pools.17 The two

commenters that expressed an explicit view on this aspect of the proposal supported our

application of the rule to advisers that are not registered with the Commission.18

                 3. Pooled Investment Vehicles

         The rule we are adopting today applies to investment advisers with respect to any “pooled

investment vehicle” they advise. The rule defines a pooled investment vehicle19 as any

investment company defined in section 3(a) of the Investment Company Act20 and any privately

offered pooled investment vehicle that is excluded from the definition of investment company by

reason of either section 3(c)(1) or 3(c)(7) of the Investment Company Act.21 As a result, the rule


16
         A few commenters requested that we clarify how we intend to apply rule 206(4)-8 to offshore
         advisers’ interaction with non-U.S. investors. See AIMA Letter, supra note 8; Letter of Jones
         Day (Mar. 9, 2007); Sullivan & Cromwell Letter, supra note 9. Our adoption of this rule will not
         alter our jurisdictional authority.
17
         Proposing Release, supra note 2, at note 14.
18
         Massachusetts Letter, supra note 8; NASAA Letter, supra note 8.
19
         Rule 206(4)-8(b).
20
         15 U.S.C. 80a-3(a). Unless otherwise noted, when we refer to the Investment Company Act, or
         any paragraph of the Investment Company Act, we are referring to 15 U.S.C. 80a of the United
         States Code, at which the Company Act is codified.
21
         Section 3(c)(1) of the Investment Company Act excludes from the definition of investment
         company an issuer the securities (other than short-term paper) of which are beneficially owned by
         not more than 100 persons and that is not making or proposing to make a public offering of its
         securities. Section 3(c)(7) of the Investment Company Act excludes from the definition of
         investment company an issuer the outstanding securities of which are owned exclusively by
         persons who, at the time of acquisition of such securities, are “qualified purchasers” and that is
         not making or proposing to make a public offering of its securities. “Qualified purchaser” is



000837
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                     Page 841 of 852 PageID 2746
                                     8

applies to advisers to hedge funds, private equity funds, venture capital funds, and other types of

privately offered pools that invest in securities, as well as advisers to investment companies that

are registered with us.22

         Several commenters supported applying the protection of the new antifraud rule to

investors in all these kinds of pooled investment vehicles, noting, for example, that every

investor, not just the wealthy or sophisticated that typically invest in private pools, should be

protected from fraud.23 Some other commenters urged us not to apply the rule to advisers to

registered investment companies, arguing that the rule is unnecessary because other provisions of

the federal securities laws prohibiting fraud are available to the Commission to address these

matters.24 They expressed concern that application of another antifraud provision with different

elements would be burdensome. These commenters claimed that the rule would, for example,

make it necessary for advisers to conduct extensive reviews of all communications with clients.

But the other antifraud provisions available to us contain different elements because they were

not specifically designed to address frauds by investment advisers with respect to investors in

pooled investment vehicles. In some cases, the other antifraud provisions may not permit us to

         defined in section 2(a)(51) of the Investment Company Act generally to include a natural person
         (or a company owned by two or more related natural persons) who owns not less than $5,000,000
         in investments; a person, acting for its own account or accounts of other qualified purchasers,
         who owns and invests on a discretionary basis, not less than $25,000,000; and a trust whose
         trustee, and each of its settlors, is a qualified purchaser.
22
         We have brought enforcement actions under the Advisers Act against advisers to these types of
         funds. See, e.g., In the Matter of Askin Capital Management, L.P and David J. Askin, Investment
         Advisers Act Release No. 1492 (May 23, 1995) (hedge fund); In the Matter of Thayer Capital
         Partners, Investment Advisers Act Release No. 2276 (Aug. 12, 2004) (private equity fund); SEC
         v. Michael A. Liberty, Litigation Release No. 19601 (Mar. 8, 2006) (venture capital fund).
23
         E.g., NASAA Letter, supra note 8.
24
         E.g., ABA Letter, supra note 9; Letter of Investment Adviser Association (Mar. 9, 2007); Letter
         of Investment Company Institute (Mar. 9, 2007) (“ICI Letter”); Sullivan & Cromwell Letter,
         supra note 9. Commenters noted in particular that section 34(b) of the Investment Company Act
         already prohibits an adviser from making fraudulent material statements or omissions in a fund’s
         registration statement or in required records.



000838
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                      Page 842 of 852 PageID 2747
                                     9

proceed against the adviser.25 As a result, the existing antifraud provisions may not be available

to us in all cases. As we discussed above, before the Goldstein decision we had brought actions

against advisers to mutual funds under sections 206(1) and (2) for defrauding investors in mutual

funds.26 Because, before the Goldstein decision, advisers to pooled investment vehicles operated

with the understanding that the Advisers Act prohibited the conduct that this rule prohibits, we

believe that advisers that are attentive to their traditional compliance responsibilities will not

need to alter their business practices or take additional steps and incur new costs as a result of

this rule’s adoption.

         B. Prohibition on False or Misleading Statements

         Rule 206(4)-8(a)(1) prohibits any investment adviser to a pooled investment vehicle from

making an untrue statement of a material fact to any investor or prospective investor in the

pooled investment vehicle, or omitting to state a material fact necessary in order to make the

statements made to any investor or prospective investor in the pooled investment vehicle, in the

light of the circumstances under which they were made, not misleading.27

         The provision is very similar to those in many of our antifraud laws and rules that,

depending upon the circumstances, may also be applicable to the same investor


25
         This may be the case with respect to section 34(b) of the Investment Company Act, for example,
         if the adviser’s fraudulent statements are not made in a document described in that section, or
         with respect to rule 10b-5 under the Exchange Act, where the fraudulent conduct does not relate
         to a misstatement or omission in connection with the purchase or sale of any security.
26
         See, e.g., In the Matter of Van Kampen Investment Advisory Corp., Investment Advisers Act
         Release No. 1819 (Sept. 8, 1999); In the Matter of The Dreyfus Corporation, Investment
         Advisers Act Release No. 1870 (May 10, 2000); In the Matter of Federated Investment
         Management Company, Investment Advisers Act Release No. 2448 (Nov. 28, 2005).
27
         A fact is material if there is a substantial likelihood that a reasonable investor in making an
         investment decision would consider it as having significantly altered the total mix of information
         available. Basic, Inc. v. Levinson, 485 U.S. 224, 231-32 (1988); TSC Industries, Inc. v.
         Northway, Inc., 426 U.S. 438, 449 (1976). See also In the Matter of Van Kampen Investment
         Advisory Corp., supra note 26; In the Matter of the Dreyfus Corporation, supra note 26.



000839
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                     Page 843 of 852 PageID 2748
                                     10

communications.28 Sections 206(1) and (2) have imposed similar obligations on advisers since

1940 and, before Goldstein, were commonly accepted as imposing similar requirements on

communications with investors in a fund. For these reasons, and because the nature of the duty

to communicate without false statements is so well developed in current law, we believe that

commenters’ concerns about the breadth of the prohibition or any chilling effect the new rule

might have on investor communications are misplaced.29 Advisers to pooled investment vehicles

attentive to their traditional compliance responsibilities will not need to alter their

communications with investors.

         Rule 206(4)-8(a)(1) prohibits advisers to pooled investment vehicles from making any

materially false or misleading statements to investors in the pool regardless of whether the pool

is offering, selling, or redeeming securities. While the new rule differs in this aspect from rule

10b-5 under the Exchange Act, the conduct prohibited is similar. The new rule prohibits, for

example, materially false or misleading statements regarding investment strategies the pooled

investment vehicle will pursue, the experience and credentials of the adviser (or its associated

persons), the risks associated with an investment in the pool, the performance of the pool or other

funds advised by the adviser, the valuation of the pool or investor accounts in it, and practices




28
         See, e.g., sections 12 and 17 of the Securities Act [15 U.S.C. 77l, 77q]; section 14 of the
         Exchange Act [15 U.S.C. 78n]; section 34 of the Investment Company Act; rules 156, 159, and
         610 under the Securities Act [17 CFR 230.156, 230.159, 230.610]; rules 10b-5, 13e-3, 13e-4, and
         15c1-2 under the Exchange Act [17 CFR 240.10b-5, 240.13e-3, 240.13e-4, 240.15c1-2]; and rule
         17j-1 under the Investment Company Act [17 CFR 270.17j-1]).
29
         Letter of Managed Funds Association (Mar. 9, 2007) (“MFA Letter”); NYCB Letter, supra note
         9; Davis Polk Letter, supra note 9; Dechert Letter, supra note 9; Letter of Seward & Kissel LLP
         (Mar. 8, 2007) (“Seward & Kissel Letter”).



000840
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                      Page 844 of 852 PageID 2749
                                     11

the adviser follows in the operation of its advisory business such as how the adviser allocates

investment opportunities.30

         C. Prohibition of Other Frauds

         Rule 206(4)-8(a)(2) makes it a fraudulent, deceptive, or manipulative act, practice, or

course of business for any investment adviser to a pooled investment vehicle to “otherwise

engage in any act, practice, or course of business that is fraudulent, deceptive, or manipulative

with respect to any investor or prospective investor in the pooled investment vehicle.”31 As we

noted in the Proposing Release, the wording of this provision is drawn from the first sentence of

section 206(4) and is designed to apply more broadly to deceptive conduct that may not involve

statements.32

         Some commenters asserted that section 206(4) provides us authority only to adopt

prophylactic rules that explicitly identify conduct that would be fraudulent under the new rule.33

We believe our authority is broader. We do not believe that the commenters’ suggested

approach would be consistent with the purposes of the Advisers Act or the protection of

investors. That approach would have us adopt the rule prohibiting fraudulent communications

but not fraudulent conduct.34 But, section 206(4) itself specifically authorizes us to adopt rules

defining and prescribing “acts, practices and courses of business,” (i.e., conduct), and does not

explicitly refer to communications, which, nonetheless, represent a form of an act, practice, or



30
         We have previously brought enforcement actions alleging these or similar types of frauds. See
         Proposing Release, supra note 2, at note 29.
31
         Rule 206(4)-8(a)(2).
32
         See Section II.C of the Proposing Release, supra note 2.
33
         ABA Letter, supra note 9; ICI Letter, supra note 24; Schulte Roth Letter, supra note 9; Sullivan &
         Cromwell Letter, supra note 9.
34
         See, e.g., ABA Letter, supra note 9.



000841
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                      Page 845 of 852 PageID 2750
                                     12

course of business. In addition, rule 206(4)-8 as adopted would provide greater protection to

investors in pooled investment vehicles.

         Alternatively, commenters would have us adopt a rule prohibiting identified known

fraudulent conduct or would have us provide detailed commentary describing specific forms of

fraudulent conduct that the rule would prohibit.35 Either approach would fail to prohibit

fraudulent conduct we did not identify, and could provide a roadmap for those wishing to engage

in fraudulent conduct. This approach would be inconsistent with our historical application of the

federal securities laws under which broad prohibitions have been applied against specific

harmful activity.

         D. Other Matters

         We noted in the Proposing Release that, unlike violations of rule 10b-5 under the

Exchange Act, the Commission would not need to demonstrate that an adviser violating rule

206(4)-8 acted with scienter.36 Commenters questioned whether the rule should encompass

negligent conduct, arguing that it would “expand the concept of fraud itself beyond its original

meaning.”37 We read the language of section 206(4) as not by its terms limited to knowing or

deliberate conduct. For example, section 206(4) encompasses “acts, practices, and courses of

business as are . . . deceptive,” thereby reaching conduct that is negligently deceptive as well as

conduct that is recklessly or deliberately deceptive. In addition, the Court of Appeals for the

District of Columbia Circuit concluded that “scienter is not required under section 206(4).”38


35
         Id.
36
         Section II.B of the Proposing Release, supra note 2.
37
         See ABA Letter, supra note 9 at page 3.
38
         SEC v. Steadman, 967 F.2d 636, at 647 (D.C. Cir. 1992). The court in Steadman analogized
         section 206(4) of the Advisers Act to section 17(a)(3) of the Securities Act, which the Supreme
         Court had held did not require a finding of scienter, id. (citing Aaron v. SEC, 446 U.S. 680
         (1980)). In discussing section 17(a)(3) and its lack of a scienter requirement, the Steadman court



000842
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                       Page 846 of 852 PageID 2751
                                     13

We believe use of a negligence standard also is appropriate as a method reasonably designed to

prevent fraud. As the Supreme Court noted in U.S. v. O’Hagan, “[a] prophylactic measure,

because its mission is to prevent, typically encompasses more than the core activity

prohibited.”39 In O’Hagan, the Court held that under section 14(e) “the Commission may

prohibit acts, not themselves fraudulent under the common law or §10(b), if the prohibition is

‘reasonably designed to prevent . . . acts and practices [that] are fraudulent.’”40 Along these

lines, the prohibitions in rule 206(4)-8 are reasonably designed to prevent fraud. We believe

that, by taking sufficient care to avoid negligent conduct, advisers will be more likely to avoid

reckless deception. Since the Commission clearly is authorized to prescribe conduct that goes

beyond fraud as a means reasonably designed to prevent fraud, prohibiting deceptive conduct

done negligently is a way to accomplish this objective.

         Rule 206(4)-8 does not create under the Advisers Act a fiduciary duty to investors or

prospective investors in a pooled investment vehicle not otherwise imposed by law. Nor does

the rule alter any duty or obligation an adviser has under the Advisers Act, any other federal law

or regulation, or any state law or regulation (including state securities laws) to investors in a

pooled investment vehicle it advises.41 The rule, for example, will permit us to bring an

enforcement action against an investment adviser that violates a fiduciary duty imposed by other

law if the violation of such law or obligation also constitutes an act, practice, or course of


         observed that, similarly, a violation of section 206(2) of the Advisers Act could rest on a finding
         of simple negligence. Id. at 643, note 5. But see Aaron at 690-91 (citing Ernst & Ernst v.
         Hochfelder, 425 U.S. 185, 199 (1976)); cf. S. Rep. No. 1760, 86th Cong., 2d. Sess. (June 28,
         1960) at 8 and H. R. Rep. 2179, 86th Cong., 2d Sess. (Aug. 26, 1960) at 8 (comparing section
         206(4) to section 15(c)(2) of the Exchange Act).
39
         U.S. v. O’Hagan, 521 U.S. 642, 672-73 (1997).
40
         Id. at 673.
41
         For example, under the Uniform Limited Partnership Act, advisers who serve as general partners
         owe fiduciary duties to the limited partners. UNIF. LIMITED PARTNERSHIP ACT § 408 (2001).



000843
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                        Page 847 of 852 PageID 2752
                                     14

business that is fraudulent, deceptive, or manipulative within the meaning of the rule and section

206(4).42

         Finally, the rule does not create a private right of action.43

III.     PAPERWORK REDUCTION ACT

         The Paperwork Reduction Act of 1995 does not apply because rule 206(4)-8 does not

impose a new “collection of information” within the meaning of the Paperwork Reduction Act of

1995. The rule does not create any filing, reporting, recordkeeping, or disclosure requirements

for investment advisers subject to the rule. Accordingly, there is no “collection of information”

under the Paperwork Reduction Act that requires the approval of the Office of Management and

Budget under 44 U.S.C. 3501.

IV.      COST-BENEFIT ANALYSIS

         The Commission is sensitive to costs imposed by our rules and the benefits that derive

from them. In the Proposing Release, we encouraged commenters to discuss any potential costs

and benefits that we did not consider in our discussion. Three commenters addressed the issue of

cost. Two of them stated their belief that the rule would increase advisers’ costs of compliance,

by, for example, making it necessary for advisers to conduct extensive reviews of all

communications with clients.44 One stated that the rule would achieve a reasonable balance of




42
         For example, if an adviser has a duty from a source other than the rule to make a material
         disclosure to an investor in a fund and negligently or deliberately fails to make the disclosure, the
         rule would apply to the failure.
43
         The Supreme Court has held that “there exists a limited private remedy under the Investment
         Advisers Act of 1940 to void an investment adviser’s contract, but that the Act confers no other
         private causes of action, legal or equitable.” Transamerica Mortgage Advisors, Inc. v. Lewis, 444
         U.S. 11 at 24 (1979) (footnote omitted).
44
         NYCB Letter, supra note 9; Seward & Kissel Letter, supra note 29.



000844
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                        Page 848 of 852 PageID 2753
                                     15

providing important benefits to investors at an acceptable cost.45 None of the three commenters,

however, provided analysis or empirical data in connection with their statements.

         The rule makes it a fraudulent, deceptive, or manipulative act, practice, or course of

business within the meaning of section 206(4) for any investment adviser to a pooled investment

vehicle to make any untrue statement of a material fact or to omit to state a material fact

necessary in order to make the statements made, in the light of the circumstances under which

they were made, not misleading, to any investor or prospective investor in the pooled investment

vehicle. The rule also makes it a fraudulent, deceptive, or manipulative act, practice, or course

of business within the meaning of section 206(4) for any investment adviser to a pooled

investment vehicle to otherwise engage in any act, practice, or course of business that is

fraudulent, deceptive, or manipulative with respect to any investor or prospective investor in the

pooled investment vehicle. For the reasons discussed, we do not believe that the rule will require

advisers to incur new or additional costs.

         Investment advisers to pooled investment vehicles should not be making untrue

statements or omitting material facts or otherwise be engaged in fraud with respect to investors

or prospective investors in pooled investment vehicles today, because federal authorities, state

authorities, and private litigants often can, and do, seek redress from the adviser for the untrue

statements or omissions or other frauds. In most cases, the conduct that the rule prohibits is

already prohibited by federal securities statutes,46 other federal statutes (including federal wire

fraud statutes),47 as well as state law.48



45
         CFA Center Letter, supra note 8.
46
         See, e.g., section 10(b) of the Exchange Act [15 U.S.C. 78j(b)] and section 17(a) of the Securities
         Act [15 U.S.C. 77q] which would apply when the false statements are made “in connection with
         the purchase or sale of a security” or involve the “offer or sale” of a security, and section 34(b) of
         the Investment Company Act which makes it unlawful “to make any untrue statement of a



000845
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                       Page 849 of 852 PageID 2754
                                     16

         We recognize that there are costs involved in assuring that communications to investors

and prospective investors do not contain untrue or misleading statements and preventing other

frauds. Advisers have incurred, and will continue to incur, these costs due to the prohibitions

and deterrent effect of the law and rules that apply under these circumstances. While each of the

provisions noted above may have different limitation periods, apply in different factual

circumstances, or require the government (or a private litigant) to prove different states of mind

than the rule, as discussed above we believe that the multiple prohibitions against fraud, and the

consequences under both criminal and civil law for fraud, should currently cause an adviser to

take the precautions it deems necessary to refrain from such conduct.

         Furthermore, prior to Goldstein, advisers operated with the understanding that the

Advisers Act prohibited the same conduct that would be prohibited by the rule. Accordingly, we

do not believe that advisers to pooled investment vehicles attentive to their traditional

compliance responsibilities will need to take steps or alter their business practices in such a way

that will require them to incur new or additional costs as a result of the adoption of the rule.




         material fact in any registration statement, application, report, account, record, or other document
         filed or transmitted pursuant to [the Investment Company Act] . . . . ”
47
         See, e.g., 18 U.S.C. 1341 (Frauds and Swindles) and 18 U.S.C. 1343 (Fraud by wire, radio, or
         television) which make it a criminal offense to use the mails or to communicate by means of wire,
         having devised a scheme to defraud or for obtaining money or property by means of false or
         fraudulent pretenses, and 18 U.S.C. 1957 (Engaging in monetary transactions in property derived
         from specified unlawful activity) which makes it a criminal racketeering offense to engage or
         attempt to engage in a transaction in criminally derived property of a value greater than $10,000.
48
         See, e.g., Metro Communications Corp. BVI v. Advanced Mobilecomm Technologies, 854 A.2d
         121, 156 (Del. Ch. 2004) (court held that plaintiff-former member of LLC had sufficiently
         alleged a common law fraud claim based on allegation that a series of reports by LLC’s managers
         contained misleading statements; court stated that “[i]n the usual fraud case, the speaking party
         who is subject to an accusation of fraud is on the opposite side of a commercial transaction from
         the plaintiff, who alleges that but for the material misstatements or omissions of the speaking
         party he would not have contracted with the speaking party”).



000846
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                     Page 850 of 852 PageID 2755
                                     17

         We also recognize that the rule may cause some advisers to pay more attention to the

information they present to better guard against making an untrue or misleading statement to an

investor or prospective investor and to reevaluate measures that are intended to prevent fraud.

As a consequence, some advisers might seek guidance, legal or otherwise, and more closely

review the information that they disseminate to investors and prospective investors and the

antifraud related policies and procedures they have implemented. While increased concern about

making false statements or committing fraud could be attributable to the new rule, advisers

should already be incurring these costs to ensure truthfulness and prevent fraud, regardless of the

rule, because of the myriad of laws or regulations that may already apply.

         The principal benefit of the rule is that it clearly enables the Commission to bring

enforcement actions under the Advisers Act, if an adviser to a pooled investment vehicle

disseminates false or misleading information to investors or prospective investors or otherwise

commits fraud with respect to any investor or prospective investor. As noted above, the existing

antifraud provisions may not be available to us in all cases. Through our enforcement actions we

are able to protect fund investor assets by stopping ongoing frauds,49 barring persons that have

committed certain specified violations or offenses from being associated with an investment

adviser,50 imposing penalties,51 seeking court orders to protect fund assets,52 and to order

disgorgement of ill-gotten gains.53 Moreover, we believe that rule 206(4)-8 will deter advisers to

pooled investment vehicles from engaging in fraudulent conduct with respect to investors in

49
         See section 203(k) of the Advisers Act (Commission authority to issue cease and desist orders).
50
         See section 203(f) of the Advisers Act (Commission authority to bar a person from being
         associated with an investment adviser).
51
         See section 203(i) of the Advisers Act (Commission authority to impose civil penalties).
52
         See section 209(d) of the Advisers Act (Commission authority to seek injunctions and restraining
         orders in federal court).
53
         See section 203(j) of the Advisers Act (Commission authority to order disgorgement).



000847
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                      Page 851 of 852 PageID 2756
                                     18

those pools and will provide investors with greater confidence when investing in pooled

investment vehicles.

V.       REGULATORY FLEXIBILITY ACT ANALYSIS

         The Commission certified, pursuant to section 605(b) of the Regulatory Flexibility Act,

that rule 206(4)-8 will not have a significant economic impact on a substantial number of small

entities.54 This certification was included in the Proposing Release.55 While we encouraged

written comment regarding this certification, none of the commenters responded to this request.

VI.      STATUTORY AUTHORITY

         We are adopting new rule 206(4)-8 pursuant to our authority set forth in sections 206(4)

and 211(a) of the Advisers Act (15 U.S.C. 80b-6(4) and 80b-11(a)).

List of Subjects

17 CFR Part 275

         Reporting and recordkeeping requirements, Securities.

VII.     TEXT OF RULES

         For the reasons set out in the preamble, Title 17, Chapter II of the Code of Federal

Regulations is amended as follows:

PART 275 – RULES AND REGULATIONS, INVESTMENT ADVISERS ACT OF 1940

         1.      The authority citation for Part 275 continues to read in part as follows:

Authority: 15 U.S.C. 80b-2(a)(11)(F), 80b-2(a)(17), 80b-3, 80b-4, 80b-4a, 80b-6(4), 80b

6a, and 80b-11, unless otherwise noted.

                                        *       *       *        *      *



54
         5 U.S.C. 605(b).
55
         Section VII.A of the Proposing Release, supra note 2.



000848
Case 3:21-cv-00842-B Document 43 Filed 07/13/21                 Page 852 of 852 PageID 2757
                                     19

         2.    Section 275.206(4)-8 is added to read as follows:

§206(4)-8 Pooled investment vehicles.

         (a)   Prohibition. It shall constitute a fraudulent, deceptive, or manipulative act,

practice, or course of business within the meaning of section 206(4) of the Act (15 U.S.C. 80b

6(4)) for any investment adviser to a pooled investment vehicle to:

         (1)   Make any untrue statement of a material fact or to omit to state a material fact

necessary to make the statements made, in the light of the circumstances under which they were

made, not misleading, to any investor or prospective investor in the pooled investment vehicle;

or

         (2)   Otherwise engage in any act, practice, or course of business that is fraudulent,

deceptive, or manipulative with respect to any investor or prospective investor in the pooled

investment vehicle.

         (b)   Definition. For purposes of this section “pooled investment vehicle” means any

investment company as defined in section 3(a) of the Investment Company Act of 1940 (15

U.S.C. 80a-3(a)) or any company that would be an investment company under section 3(a) of

that Act but for the exclusion provided from that definition by either section 3(c)(1) or section

3(c)(7) of that Act (15 U.S.C. 80a-3(c)(1) or (7)).


         By the Commission.


                                              Nancy M. Morris
                                              Secretary

         August 3, 2007




000849
